 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 1 of 514




           Index for Defendant’s Summary Judgment Appendix

Tab                                   Document
 76   Sources Sought Notice (SA001-004)

77    Request for Quotes (SA005-113)

78    Contract modification 8 (SA114-115)

79    Contract modification 11 (SA116)

80    Contract modification 12 (SA117)

81    Contract modification 17 (SA118)

82    Contract modification 18 (SA119)

83    ACLR I certified claim (SA120-124)

84    ACLR I certified claim denial (SA125-132)

85    ACLR I initial disclosure (SA133-148)

86    ACLR II certified claim (SA149-152)

87    ACLR II complaint (SA153-160)

88    ACLR II expert disclosure (SA161-168)

89    OMB Circular A-123 App. C (SA169-223)

90    ACLR Rule 30(b)(6) deposition excerpts in ACLR I (SA224-295)

91    ACLR Rule 30(b)(6) deposition excerpts in ACLR II (SA296-356)

92    Livanta Rule 30(b)(6) deposition excerpts in ACLR I (SA357-363)

93    Health Integrity Rule 30(b)(6) deposition excerpts in ACLR II (SA364-368)
      CONFIDENTIAL

94    C. Mucke deposition excerpts in ACLR II (SA369-373)

95    C. Mucke expert deposition excerpts in ACLR I and ACLR II (SA374-381)

96    CMS Rule 30(b)(6) deposition excerpts in ACLR I (SA382-385)
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 2 of 514




97    CMS Rule 30(b)(6) deposition excerpts in ACLR II (SA386-403)

98    C. Brown deposition excerpts (SA404-412)

99    T. Downs deposition excerpts (SA413-419)

100   D. Wheeler deposition excerpts (SA420-424)

101   R. Abankwah deposition excerpts (SA425-427)

102   Livanta contract (SA428-462)

103   ACLR Authority to Operate (SA463-466)

104   Health Integrity Statement of Work (excerpts) (SA467-472)

105   PDE Participant Guide (excerpts) (SA473-480)

106   ACLR Duplicate payment report of findings (SA481-491)

107   ACLR Revised duplicate payment NAIRP (SA492-496)

108   8/29/11 email chain & attachments (SA497-596)

109   10/10/11 email chain (SA597-601)

110   12/1/11 email (SA602)

111   5/31/13 email chain (SA603-605)

112   5/28/14 email (SA606-607)

113   6/26/14 email & attachments (SA608-618)

114   9/15/14 email (SA619-620)

115   10/1/14 email (SA621-622)

116   11/7/14 email (SA623)

117   11/14/14 email chain (SA624-627)

118   1/12/15 email chain (SA628-629)

119   Express Scripts email (SA630-632)


                                        2
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 3 of 514




120   1/7/14 email (SA633-636)

121   Health Integrity 10/31/14 report (SA637-646)

122   Health Integrity 11/3/14 report (SA647-656)

123   Health Integrity 11/26/14 report (SA657-666)

124   Health Integrity 8/10/15 report (SA667-676)

125   Health Integrity 8/28/15 (SA677-682)

126   Health Integrity vulnerability report (SA683-688)

127   Medica letter (SA689-695)

128   UCare letter (SA696-700)

129   Health Integrity Minnesota executive summary (SA701-703)

130   CMS Louisiana 8/13/10 memo (SA704)

131   CMS Louisiana 9/1/10 memo (SA705)

132   CMS Louisiana 12/21/10 memo (SA706)

133   CMS Louisiana 4/11/11 memo (SA707)

134   CMS Louisiana 12/14 memo (SA708-710)

135   CMS Louisiana 2/15 notice (SA711)

136   Louisiana Insurance Directive 208 (SA712-716)

137   Minnesota Attorney General’s Office letter (SA717-737)

138   Health Integrity Minnesota executive summary (SA738-741)

139   Health Integrity meeting minutes (SA742-744)

140   CMS spreadsheet of ACLR audit issues status (SA745-747)

141   Medpac, Part D Payment System (available at
      http://www.medpac.gov/docs/default-source/payment-
      basics/medpac_payment_basics_16_partd_final.pdf?sfvrsn=0) (SA748-752)


                                       3
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 4 of 514




142   CMS, Medicare Part D – Direct and Indirect Remuneration (available at
      https://www.cms.gov/Newsroom/MediaReleaseDatabase/Fact-sheets/2017-Fact-
      Sheet-items/2017-01-19-2.html) (SA753-757)




                                    4
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 5 of 514




             TAB 76
                                                                                                                A00005
ACLRII00005       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 6 of 514


          From:             ebuy_admin@gsa.gov
          To:               Christopher Mucke
          Subject:          GSA eBuy RFQs and Quotes (Consolidated Notice) - GS-23F-0074W
          Date:             Monday, October 18, 2010 5:18:54 PM


          Dear GSA Vendor,

          RFQ NOTICES - please note the Action below:

                                                                    Quotes
              RFQ ID       Action         Date/Buyer                                         RFQ Title
                                                                    Due By
                                     10/18/2010                 11/01/2010            RECOVERY AUDIT SERVICES
                          PLEASE
              RFQ526473              04:13:14 PM                11:00:00 AM           IN SUPPORT OF MEDICARE
                          QUOTE   No
                                     EDT                        EDT                   PAR

          Please click here to view RFQ specifics and/or submit a quote. This links to GSA's eBuy
          quote system at www.ebuy.gsa.gov. You will be required to login with your contract
          number and VSC password. Once logged in, click on "RFQs" to view the RFQ. If a quote is
          requested above and you chose not to quote, click the "No" link.

          Please note: you may also have the opportunity to quote on other RFQs for which you
          have not received an email invite if those RFQs have been placed under categories (i.e.
          SINs) that you have been awarded. We suggest a proactive approach to finding
          opportunities by checking the eBuy website each day.

          QUOTE NOTICES - please note the Action below:

              QUOTE ID Action Date RFQ Title
              No Quote Notice Received

          If you would like to have these e-mails sent to another individual in your organization or
          if you do not wish to receive these notices, please login to eBuy at www.ebuy.gsa.gov and
          modify your e-mail notices at the "Profile" tab.

          For questions about the eBuy system, contact vendor.support@gsa.gov or call (877) 495-
          4849.

          NOTE: PLEASE DO NOT REPLY TO THIS E-MAIL.

          Thank you!




                                                               SA001
                                                                 5
                                                                                                             A00006
ACLRII00006      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 7 of 514




                  RECOVERY AUDIT SERVICES IN SUPPORT OF MEDICARE PART D


               THIS IS NOT A FORMAL REQUEST FOR PROPOSAL (RFP) AND DOES NOT
              COMMIT THE CENTERS FOR MEDICARE & MEDICAID SERVICES (CMS) TO
                          AWARD A CONTRACT NOW OR IN THE FUTURE

         INTRODUCTION

         This is a SOURCES SOUGHT NOTICE (SSN) to determine the availability of small businesses
         that have the capability to support CMS in identifying and recouping underpayments and
         overpayments made under the Medicare Prescription Drug Coverage Program, also known as
         Medicare Part D. CMS is interested in responses to this notice from small businesses (including
         8(a) businesses, service-disabled veteran owned small businesses, HUBZone small businesses,
         veteran-owned small businesses, women-owned small businesses and small disadvantaged
         business).

         THIS IS STRICTLY MARKET RESEARCH TO ASSIST IN DETERMINING THE
         APPROPRIATE ACQUISITION STRATEGY TO OBTAIN CONTRACTOR SUPPORT
         SERVICES TO PERFORM THE SAME OR SIMILAR REQUIREMENTS TO THOSE
         DESCRIBED IN THIS NOTICE. THE CENTERS FOR MEDICARE & MEDICAID
         SERVICES (CMS) MAY OR MAY NOT ISSUE A REQUEST FOR PROPOSAL OR
         REQUEST FOR QUOTATION. RESPONSES TO THIS SOURCES SOUGHT NOTICE
         SHALL BE THE SUBMISSION OF A CAPABILITY STATEMENT; ACCORDINGLY, CMS
         WILL NOT ENTERTAIN QUESTIONS REGARDING THIS MARKET RESEARCH.

         BACKGROUND

         The Centers for Medicare & Medicaid Services (CMS) is performing market research to
         determine capabilities in the marketplace for identifying and recouping underpayments and
         overpayments made under Medicare Part D in accordance with The Patient Protection and
         Affordance Care Act of 2010 (Section 6411).

         RESPONSE REQUIREMENTS/INFORMATION

         In order for CMS to evaluate a firm's capacity, Capability Statements submitted in response to
         this SSN, shall include written responses that demonstrate extensive knowledge, experience and
         ability to perform recovery audits under the Medicare Part D program. Specifically, Capability
         Statements (not exceeding 10 pages) shall include sufficient details that clearly demonstrate the
         ability to provide the following services:

              1. Demonstrate experience and/or knowledge in performing recovery audits on a national
                 basis.

              2. Demonstrate an understanding of the Medicare Part D program to sufficiently devise a
                 plan for identifying and recovering improper payments.




                                                      SA002
                                                        6
                                                                                                              A00007
ACLRII00007      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 8 of 514




              3. Demonstrate experience and/or knowledge of recovery audit activities performed on
                 other public or commercial pharmacy benefit programs.

              4. Demonstrate experience and/or knowledge of data mining and analysis and how it could
                 be adapted to support Medicare Part D recovery audits.

              5. Demonstrate experience and/or knowledge of the Medicare Advantage Prescription Drug
                 (MA-PD) program and Medicare Advantage Prescription Drug Plans (MA-PDP).

         Along with the above, the following specific information is requested in your response: (a)
         company descriptive literature; (b) specific related corporate experience; (c) experience with the
         type of performance expectations mentioned above; and (d) Business information outlined
         below.

         Business information:

         a.      DUNS.
         b.      Company Name.
         c.      Company Address.
         d.      Company Point of Contact, phone number and email address.
         e.      Type of company (i.e., small business, 8(a), woman owned, veteran
                 owned, etc.), as validated via the Central Contractor Registration (CCR). All offerors
                 must register on the CCR located at http://www.ccr.gov/index.asp. Additional
                 information on NAICS codes can be found at www.sba.gov.
         f.      Point of Contact, phone number and email address of individuals who can verify
                 the demonstrated capabilities identified in the responses.

         Teaming Arrangements: All teaming arrangements should also include the above-cited
         information and certifications for each entity on the proposed team.

         This Sources Sought Notice is for information and planning purposes only and is not to be
         construed as a commitment by the Government. This is not a solicitation announcement for
         Request for Proposal (RFP) and no contract or task order award will result from this Notice. No
         reimbursement will be made for any costs associated with providing information in response to
         this Notice. Respondents will not be notified of the results of the evaluation. All information
         submitted in response to this announcement must arrive on or before the closing date.

         All Capability Statements shall be submitted via e-mail to the Contract Specialist at
         Jessica.Sanders@cms.hhs.gov listed below. Responses must be submitted not later than 11:00
         am EST on November 1, 2010. Capability Statements will not be returned and will not be
         accepted after the due date. Responses shall be limited to 10 pages.




                                                       SA003
                                                         7
                                                                                    A00008
ACLRII00008     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 9 of 514




         CONTACT INFORMATION:

         Contract Specialist:   Jessica Sanders
         E-mail:                Jessica.Sanders@cms.hhs.gov
         Telephone:             (410) 786-1076

         Contracting Officer: Debra Stidham
         E-mail:               debra.stidham@cms.hhs.gov
         Telephone:           (410) 786-5129




                                                    SA004
                                                      8
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 10 of 514




             TAB 77
                                                                                                         A00022
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 11 of 514


      DEPARTMENT OF HEALTH & HUMAN SERVICES                       Centers for Medicare & Medicaid Services
                                                                  Office of Acquisition and Grants Management
                                                                  Division of Support Contracts
                                                                  7500 Security Boulevard
                                                                  Baltimore, Maryland 21244


DATE:         December 2, 2010

TO:           Selected FABS Schedule Holders

SUBJECT:      Request for Quote (RFQ) Recovery Audit Services in Support of
              Medicare Part D; CMS-RFQ-2011-110462


You are invited to submit a proposal/quotation in response to this RFQ.

The Centers for Medicare & Medicaid Services (CMS) intends to award a Firm-Fixed
Price Contingency Fee Task Order for the subject work in accordance with the terms
and conditions of your GSA FINANCIAL AND BUSINESS SOLUTIONS (FABS)
Federal Supply Schedule and the terms and conditions in the attached Sample Task
Order Terms and Conditions. The period of performance for the resulting task order
shall a 12 month base period commencing at the date of award. The task order will
also include four (4) 12-month option periods.

In order to receive a task order award resulting from this RFQ, your FABS schedule
must include Contingency Fee Percentage pricing/ceiling.

Please be advised that this RFQ does not commit the Government to pay any cost
for the preparation and submission of a quotation. In addition, the Contracting
Officer is the only individual who can legally commit the Government to the
expenditure of public funds in connection with this procurement. CMS anticipates
making awards without discussions.

Thank you in advance for your interest.

Sincerely,



Debra Stidham
Contracting Officer


Attachments

(1)   Attachment A:   Statement of Objectives/Schedule of Deliverables
(2)   Attachment B:   Quotation Submission Instructions
(3)   Attachment C:   Evaluation Criteria for Award
(4)   Attachment D:   Draft Task Order Terms and Conditions
(5)   Attachment E:   Past Performance Questionnaire




                                          SA005
                                            22
                                                                          A00023
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 12 of 514




Attachment A:     Statement of Objectives/Schedule of Deliverables

(In a separate Word Document)




                                     SA006
                                       23
                                                                                               A00024
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 13 of 514




Attachment B:        Quotation Submission Instructions


1. In order to receive a task order award resulting from this RFQ, your FABS schedule
   must include Contingency Fee Percentage pricing/ceiling. The proposed
   contingency fee percentage shall not exceed the percentage ceiling in your firm’s
   FABS schedule contract. If your firm’s FABS schedule does not currently include
   contingency fee percentage pricing, it must be modified to incorporate a contingency
   fee percentage ceiling; in order to receive the task order award. If it is necessary to
   modify your FABS schedule contact Ms. Diane Trice, Contracting Officer at the
   General Services Administration (GSA) at diane.trice@gsa.gov or (703) 605-9204.

2. Questions concerning this RFQ shall be submitted in writing via electronic mail to
   Jessica.Sanders@cms.hhs.gov and Debra.Stidham@cms.hhs.gov no later than
   Thursday, December 9, 2010, 11:00 a.m. local time, Baltimore, MD. Questions
   shall reference the particular section of the RFQ. Answers to all relevant and timely
   questions will be conveyed to all solicited offerors in sufficient time for submission of
   a quotation.

3. Notice of intent to propose shall be submitted in writing via electronic mail to Jessica
   Sanders at Jessica.Sanders@cms.hhs.gov and Debra.Stidham@cms.hhs.gov no
   later than Wednesday, December 15, 2010, 11:00 a.m. local time, Baltimore, MD
   21244-1850. Notice of Intent submissions should include the following information;
   submitters name, title, organization, and e-mail address.

4. The quotation shall be submitted in no later than Thursday, December 16, 2010,
   11:00 a.m. local time, Baltimore, MD. The quotation shall be submitted to Jessica
   Sanders, Contract Specialist or other designated individual. Ms. Sanders’ address
   and contact information is as follows:

                     Centers for Medicare & Medicaid Services
                     Mail Stop C2-21-15
                     7500 Security Boulevard
                     Baltimore, MD 21244-1850
                     Telephone 410-786-1076

   For the purpose of establishing timely receipt of a quotation, the time will be
   established based upon submission of a hard copy version of the quotation.
   Offerors are hereby advised that the place for submission of proposals (CMS Single
   Site at 7500 Security Boulevard, Baltimore (Woodlawn), Maryland), is a secure
   building. Therefore, when hand-delivering or utilizing a mail carrier service to deliver
   proposals, offerors should allow for sufficient time to obtain a visitor’s parking pass
   and registration at the Security Guard’s desk located in the Central Building (main
   entrance to the complex). Proposal delivery must be made to the exact location
   stated above on or before the date and time specified. Proposal delivered by a mail
   carrier service other than the U.S. Postal Service are not accepted in the CMS




                                           SA007
                                             24
                                                                                         A00025
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 14 of 514




mailroom and therefore, offerors’ proposals may not be delivered timely to the
location and person specified in this RFQ solicitation. Offerors are advised to take
that possibility into consideration in determining when and how a proposal must be
received at the specified location to meet the date and time requirements.

Any proposal, modification, or revision, received after 11:00 a.m. local time,
Baltimore, MD on Wednesday, December 15, 2010, will be deemed “late” and will
not be considered unless it is received before award is made and there is acceptable
evidence to establish that it was received at the Government installation prior to the
time set for receipt of offers; and the Contracting Officer determines that accepting
the late offer would not unduly delay the acquisition; or it is the only proposal
received.

However, a late modification of an otherwise successful proposal that makes its
terms more favorable to the Government will be considered at any time it is received
and may be accepted.

Offerors are also advised to make sure that the proposal is clearly marked as to:

   •   The RFQ number,
   •   The due date and time,
   •   The intended room location,
   •   The intended recipient, and
   •   The telephone number of the intended recipient.

5. The quotation must be prepared in three parts – (see paragraph below). Each of
   the parts shall be separate and complete in itself so that evaluation of one may
   be accomplished independently of the other. However, resource information
   such as data concerning labor hours and categories, materials, subcontract, etc.,
   shall be contained in the technical quotation so that the understanding of the
   scope of the work may be evaluated. Both the technical and business quotation
   shall be submitted in hard copy to:

          Centers for Medicare & Medicaid Services
          OAGM/Division of Support Contracts
          ATTN: Jessica Sanders, Contract Specialist
          7500 Security Blvd., M/S C2-21-15
          Baltimore, MD 21244-1850

6. Assumptions:

   Offerors shall assume the following when developing proposals. Any additional
   assumptions relied upon shall be clearly stated in the proposal:




                                      SA008
                                        25
                                                                                        A00026
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 15 of 514




      a. Task Order type: The Government contemplates awarding a contingency
         fee type task order.

      b. Period of Performance: The Government anticipates an initial period of
         performance of 12 months from the award date, with four (4) 12-month
         option periods.

      c. Proposal Validity Timeframe: Proposals in response to this task order
         request for quotation shall be valid for 180 days (unless a different period
         is proposed by the offeror).

7. General Proposal Format and Submission Requirements:

      a. Proposal Volumes: Proposals shall consist of three separate volumes.
         The Technical Proposal shall be designated as Volume I, the Business
         Proposal as Volume II, and the Organizational Conflict of Interest as
         Volume III. Each volume shall include the chapters specified below:

         Volume 1 – Technical Proposal

         Preface – Transmittal Letter and Table of Contents
         Chapter 1 – Performance Work Statement (PWS) inclusive of a
         performance metrics and measures.
         Chapter 2 – Past Performance (Quality of Services on Relevant Work)
         Chapter 3 – Task Order Management/Staffing Plan/Key Personnel

         Volume II –Business Proposal

         Chapter 1 – Cost Proposal Narrative
         Chapter 2 – Completed Task Order Template/Terms and Conditions

         Volume III – Organizational Conflict of Interest (OCI)
         Chapter 1 – Organizational Conflict of Interest (OCI) Disclosure Statement

   Each volume shall be signed by an official authorized to bind your organization.
   Specifically, the name, title, and signature of the person authorized, shall be
   included on the first page of each original volume. Each shall be separately
   labeled (e.g. Volume I: Technical Proposal – Original, Volume II - Business
   Proposal, copy 1 of 5). Please provide the number of hard copies and compact
   disc (CD) as specified below:

Volume                 Hard Copies           CDs                  Due Date
I – Technical          Original              Four (4) – see       11:00 am,
Proposal – Chapters                          specifications for   December 16,
1, 2, and 3                                  CDs below.           2010
II – Business          Original              Four (4) – see       11:00 am,




                                     SA009
                                       26
                                                                                            A00027
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 16 of 514




Proposal – Chapters                            specifications for   December 16,
1 and 2                                        CDs below.           2010
III – Conflict of        Original              Four (4) – see       11:00 am,
Interest Disclosure                            specifications for   December 16,
Statement – Chapter                            CDs below.           2010
1

   Specifications for CD submissions:

     i.    The files on each CD shall be compatible with Microsoft (MS) Office 2007.

    ii.    Each file shall be printable to 8x11 paper and be readable (12 pt font or
           larger) without requiring formatting adjustments.

    iii.   The offeror is responsible for document/file version control and as such
           shall ensure the multiple CDs contain the exact documents that make up
           the official proposal submission.

    iv.    The offeror shall certify that each CD has been checked using the latest
           version of virus detection software and is virus free. The certification shall
           identify the virus detection software and version used.

a. Technical Proposal Submission:

   Chapter 1 - Performance Work Statement (PWS):

   The offeror shall submit a Performance Work Statement (PWS) that fully explains
   how the Statement of Objectives (SOO) will be met and how performance quality
   will be measured. Offeror’s must demonstrate their organization’s understanding
   of the requirement and provide a well-thought-out approach for accomplishing
   the work in a timely and accurate manner. The PWS shall not exceed 40 single-
   sided pages. The PWS including performance metrics/measures will be
   incorporated into the resultant task order.

   Chapter 2 - Past Performance (Quality of Services on Relevant Work)

   For commercial and government contracts performed with the last three years for
   related work either as a prime or subcontractor, the offeror shall send a copy of
   Task Order RFP Attachment 5, Past Performance Questionnaire directly to the
   Program Manager for each contract. The offeror shall request that the Program
   Manager complete the questionnaire and return it directly to CMS by 11:00 am
   on December 15, 2010, to the attention of Jessica Sanders, Contract Specialist,
   via email to Jessica.sanders@cms.hhs.gov or the following address:

                  Centers for Medicare & Medicaid Services
                  Office of Acquisition and Grants Management




                                       SA010
                                         27
                                                                                       A00028
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 17 of 514




              Attn: Jessica Sanders, Contract Specialist
              Mail Stop: C2-21-15
              7500 Security Boulevard
              Baltimore, MD 21244-1850

The Government is not specifying a required minimum number of past
performance references. However, a maximum number of 5 past performance
references is established for efficiency purposes. Therefore, the Contractor shall
determine the appropriate number applicable to its unique experiences to
demonstrate a record of quality of services on relevant work.

The proposal shall include a list of the references that are requested to complete
and submit past performance questionnaires .This information shall include the
task order/contract/project number, brief description of the work performed, name
and contact information for the Program Manager (telephone number and email
address).

In the case of an offeror without a record of relevant past performance or for
whom information on past performance is not available, the offeror may not be
evaluated favorably or unfavorably on past performance and accordingly, will
receive a neutral rating for past performance.

Chapter 3 – Task Order Management/Staffing Plan/Key Personnel

Describe the proposed approach for providing skilled personnel together with the
supervisory, managerial, and administrative services necessary to successfully
meet the requirements of the SOO. Describe the approach meeting the SOO
requirements including a staffing plan consisting of labor categories for key and
non-key personnel as well as subcontractor personnel as applicable.

The staffing plan shall include the names of individuals proposed as key
personnel. This Staffing Plan shall describe the educational background,
professional experience, and special qualifications which directly relate to work of
all professional personnel to be involved in this task order. When consultants or
subcontractors are to be used, their special qualifications, educational
background, and experience shall be included. The Staffing Plan shall specify
how the personnel proposed under this task order will be integrated
organizationally and what their responsibilities and percentage of time under the
task order will be.

The proposal shall include resumes for all proposed key personnel positions.
Resumes shall not exceed three pages each. The proposal shall also include a
letter of commitment reflecting the date of availability and the time period the
individual’s commitment is binding and shall be signed by the individual and the
offeror’s authorized official.




                                   SA011
                                     28
                                                                                        A00029
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 18 of 514




   The Task Order Management/Staffing Plan/Key Personnel submission shall not
   exceed 10 single-sided pages.

b. Business Proposal Submission:

   The business submission shall include the contingency fee percentage proposed.
   The proposed contingency fee percentage shall not exceed the percentage
   ceiling in your firm’s FABS schedule contract. If your firm’s FABS schedule does
   not currently include contingency fee percentage pricing, it must be modified to
   incorporate a contingency fee percentage ceiling; in order to receive the task
   order award.

   The submission shall also address the offeror’s financial capability, including a
   demonstration of the ability to sustain performance given the likelihood that
   several months may elapse before recoveries are made. In addition, the
   business submission shall provide information on any subcontractors to be used
   in this effort.

    Each submission shall contain the most recent copy of your GSA 520 contract.
   A copy of the GSA contract includes all the terms and conditions of the original
   contract including all clauses, along with any modifications affecting the terms
   and conditions of the original contract.

   The award resulting from this RFQ will be a Firm-Fixed Price Contingency Fee
   task order with no funding provided by the Government; the winning offeror will
   receive payment based on the contingency fee percentage after the debt has
   been collected. Please see the Statement of Objectives for further explanation.
   Since there is no funding being obligated to this task order, the business
   proposal shall include a signed statement of your understanding of how the
   reimbursement for your services will be made. In addition, the Government is not
   responsible for nor will it reimburse any offeror direct costs associated with the
   preparation of a proposal in response to this RFQ.

c. Organizational Conflict of Interest (OCI) Disclosure Statement Submission:

   A Conflict of Interest Disclosure Statement is required for the Task Order. The
   number of pages for the Conflict of Interest Disclosure Statement is unlimited.
   The Offerors shall submit the following information in its Conflict of Interest
   Disclosure Statement:

          i.    The Government intends to avoid conflict of interest or the
                appearance of conflicts of interest on the part of the FABS
                Contractor, subcontractors, joint venture, or any other entity acting
                in a similar capacity. Therefore, as part of this proposal
                submission, Volume III shall include an affirmation of the absence




                                     SA012
                                       29
                                                                                          A00030
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 19 of 514




                of any conflict of interest in serving as the Medicare Part D
                Recovery Audit Contractor (RAC).

         ii.    The FABS Contractor must disclose all potential, apparent and
                actual conflicts of interest to the Contracting Officer during the term
                of the task order. The FABS Contractor shall submit a plan to
                mitigate all potential, apparent and actual conflicts identified during
                the term of the task order and a disclosure statement that all work
                to be performed under this task order is free of conflicts of interest.
                The FABS Contractor is also responsible for determining if a
                conflict of interest exists with subcontractors at any tier and for
                ensuring that the subcontractor at any tier has mitigated any
                potential, apparent or actual conflict of interest prior to the award,
                and during the term of any subcontract for furnishing supplies or
                services under the prime contract.

         iii.   Financial disclosure statements for managers and key personnel.

d. Award Without Discussion

   Offerors are advised that CMS intends to award a task order based on initial
   proposal submissions. Accordingly, proposals should be submitted initially on
   the most favorable terms from a price/cost and technical standpoint. However,
   CMS reserves the right to request final proposal revisions if it is in its best
   interest.




                                     SA013
                                       30
                                                                                                    A00031
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 20 of 514




Attachment C—Evaluation Criteria

Evaluation Process

1. The Government will select the offer based upon an assessment of the technical and
   business proposals that, in the Government’s estimation, provides the best value.
   The Government seeks to award this Task Order to the offeror who gives the
   Government the greatest confidence that it will best meet or exceed the
   requirements for a fair and reasonable price/contingency fee percentage. The
   Government will use a tradeoff process to determine which Offeror provides the best
   overall value to the Government. CMS considers the non-cost evaluation factors,
   when combined, to be equally important to price/contingency fee percentage.

2. Although overall responsibility has been determined for each FABS contractor, in
   accordance with FAR 9.405-1, the Government will access the Federal Awardee
   Performance and Integrity Information System (FAPIIS) in accordance with FAR
   9.104-6 and consider the information in making the award determination. Further,
   the Government will evaluate Volume III Conflict of Interest to ensure that any real,
   potential, or perceived organizational conflicts of interests are adequately mitigated.

3. The following non-cost/price evaluation criteria will be used in the technical
   evaluation of the quotes that comply with the minimum requirements.

                                   Evaluation Criteria                                       Weig
                                                                                              ht
                                                                                             (%)
                                                                                             45%
1 Technical Understanding and Approach (all sub-factors listed below are
  equal in importance)

      •   Technical understanding of and ability to meet or exceed the SOO

      •   Knowledge of Medicare Part D and other pertinent statutes and regulations

      •   The approach for identifying and recovering improper payments under the
          National Medicare Part D Program




2 Task Order Management/Staffing Plan/Key Personnel (all sub-factors listed
                                                                                             30%
  below are equal in importance)

      •   Management
            • Experience managing large-scale projects related to identification
               and recovery of funds



                                          SA014
                                            31
                                                                                             A00032
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 21 of 514




             •   First-hand experience with health care claims and adjudication
                 processes
             •   Degree of knowledge of Medicare Part D Payment Policy
             •   Degree of knowledge of data analysis techniques and capability to
                 sort and present data using multiple variables

      •   Subject Matter Expertise
            • Experience with prescription drug benefit program or pharmacy
                benefit manager (PBM) experience
            • Experience researching insurance regulations, Medicare Part D
                policy, statutes, and guidance
            • Clinical understanding of Part D Benefit



3 Past Performance (all sub-factors listed below are equal in importance)

      •   The Government will assess the Offeror's past performance on comparable
          projects in order to evaluate the relative competence of the Offeror,
          including all subcontractors, to successfully meet the requirements of the
          task order. The Government reserves the right to obtain information          25%
          regarding the Offeror’s past performance from any and all sources,
          including sources outside of the Government, and include this data in the
          evaluation.




                                        SA015
                                          32
                                                                                                 A00033
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 22 of 514




Attachment D—Sample Task Order Terms and Conditions

1.     TASK ORDER SUPPORT:

This task order is issued under General Services Administration (GSA) Contract
Number GS-XXX-XXXXX to perform the work required in accordance with the attached
performance work statement (PWS) and deliverable schedule entitled, “Medicare Part D
Recovery Audit Contractor.” . This task order shall be performed in accordance with
the terms and conditions of the GSA contract under the FABS Schedule and the terms
and conditions contained herein. Only those contract sections, which differ from the
GSA schedule contract terms and conditions, or provide more detailed information
specific to this particular task order, are provided below. For those contract sections not
identified below, all terms and conditions of the GSA contract remain in effect.

2.     TYPE OF TASK ORDER:

This is a Firm-Fixed Price Contingency Fee task order. The Contingency Fee is to be
determined (TBD) %.

3.     PERIOD OF PERFORMANCE

The 12 month base period of the task order is from TBD to TBD. The task order also
includes four (4) 12-month optional periods. No contingency fees shall be paid after the
end of the period of performance.

4.     TASK ORDER PRICE SUMMARY

All payments shall be paid only on a contingency basis. The recovery audit contractor
will receive ____% of all amounts collected. The contingency fees shall be paid once
the recovery audit contractor collects the Medicare overpayments. The recovery audit
contractor shall be paid a percentage of the amount that is collected through their
recovery efforts. The recovery audit contractor shall not receive any payments for the
identification of the underpayments or overpayments not recovered/collected. The
recovery audit contractor shall submit vouchers on a monthly basis (see Attachment 2)
with supporting documentation of the recovery. Once verified, CMS shall pay the
voucher pursuant to the Prompt Payment Provisions.

If the provider files an appeal disputing the overpayment determination and the appeal
is adjudicated in the provider’s favor at the first level, the recovery audit contractor shall
repay Medicare the contingency payment for that recovery. If the appeal is adjudicated
in the agency’s favor at the first level, the recovery audit contractor shall retain the
contingency payment for that recovery. Subsequent appeals, after the first level of
appeal, will not affect the recovery audit contractor’s ability to retain the contingency
payment.




                                            SA016
                                              33
                                                                                                      A00034
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 23 of 514




5.       OMB A-130 INFORMATION RESOURCE POLICY

Each RAC is required to follow the established comprehensive approach to improve the
acquisition and management of their information resources in accordance with this OMB
Circular. This circular is issued pursuant to the Paperwork Reduction Act (PRA) of
1980, as amended by the PRA of 1995, the Clinger-Cohen Act of 1996, et al. The PRA
establishes a broad mandate to perform information resources management activities in
an efficient, effective, and economical manner.

6.1      HHSAR 352.242-70 Key personnel Key Personnel (January 2006)

The key personnel specified in this contract are considered to be essential to work performance.
At least 30 days prior to diverting any of the specified individuals to other programs or contracts
(or as soon as possible, if an individual must be replaced, for example, as a result of leaving the
employ of the Contractor), the Contractor shall notify the Contracting Officer and shall submit
comprehensive justification for the diversion or replacement request (including proposed
substitutions for key personnel) to permit evaluation by the Government of the impact on
performance under this contract. The Contractor shall not divert or otherwise replace any key
personnel without the written consent of the Contracting Officer. The Government may modify
the contract to add or delete key personnel at the request of the contractor or Government.

(End of clause)

6.2 The following are designated Key Personnel Positions



         Position TBD (Name TBD, Phone TBD, Email Address TBD)


7.       SUBCONTRACT CONSENT

To facilitate the review of a proposed subcontract by the Contracting Officer Technical
Representative and the Contracting Officer, the Contractor shall submit the information
required by the FAR clause 52.244-2 entitled, SUBCONTRACTS, to the COTR who
shall in turn forward the information with his/her recommendation to the Contracting
Officer. The Contracting Officer shall review the request for subcontract approval and
the COTR’s recommendation and advise the Contractor of his/her decision to consent
to or dissent from the proposed subcontract, in writing. Consent is hereby given to
issue the following subcontract(s):

                TBD

      8. In accordance with the Health and Human Services Supplemental Acquisition Regulation
         (HHSAR) and FAR 52.202–1(a)(1), substitute the following as paragraph (a) of 52.202-
         1(a)(1) with :



                                              SA017
                                                34
                                                                                                        A00035
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 24 of 514




       “(a) The term “Secretary” or “Head of the Agency” (also called “Agency Head”) means
       the Secretary, Deputy Secretary, or any Assistant Secretary, Administrator or
       Commissioner of the Department of Health and Human Services; and the term “his/her
       duly authorized representative” means any person, persons, or board authorized to act for
       the Secretary.”


       Add the following paragraph ‘h’ to 52.202-1

“(h) The term “Contracting Officer's Technical Representative” means the person who monitors
the technical aspects of contract performance. The Contracting Officer's Technical
Representative is not authorized to issue any instructions or directions which cause any increase
or decrease in the Statement of Work/Performance Work Statement/Specifications which would
result in the increase or decrease in the price of this contract, or changes in the delivery schedule
or period of performance of this contract. If applicable, the Contracting Officer's Technical
Representative is not authorized to receive or act upon any notification or revised cost estimate
provided by the Contractor in accordance with the Limitation of Cost or Limitation of Funds
clauses of this contract.”

8.     Contracting Officer’s Technical Representative (COTR) and/CONTRACT
       SPECIALIST:

TBD is designated as the COTR for this order. TBD address is:

               Centers for Medicare and Medicaid Services
               7500 Security Blvd.
               ATTN:
               Mailstop:
               Baltimore, MD 21244-1850
               (410) 786-

All technical correspondence should be directed to the COTR with a copy to the
Contract Specialist.

The responsibilities and duties of the COTR include:

       a) Provide technical direction as needed to the contractor as long as the terms
          and conditions of the contract are not changed.
       b) Monitor contractor’s ongoing efforts.
       c) Serve as liaison between the contractor, Project Officer and project team.
       d) Review deliverables and advise Contracting Officer of the contractor’s
          performance.
       e) Advise the Contracting Officer on the contractor’s compliance with technical
          performance requirements.
       f) Ensures that the contractor input and/or recommendations are considered by
          CMS project management.




                                               SA018
                                                 35
                                                                                              A00036
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 25 of 514




The Contract Specialist for this task order is Ms. Jessica Sanders. Her address is:

                Centers for Medicare and Medicaid Services
                7500 Security Blvd.
                ATTN: Ms. Jessica Sanders
                Mailstop: C2-21-15
                Baltimore, MD 21244-1850
                (410) 786-1076

The Contracting Officer for this task order is Ms. Debra Stidham. Her address is:

                Centers for Medicare and Medicaid Services
                7500 Security Blvd.
                ATTN: Ms. Debra Stidham
                Mailstop: C2-21-15
                Baltimore, MD 21244-1850
                (410) 786-5129

9.       CONFIDENTIALITY

As a result of this task order, the GSA Schedule Contractor may have access to
confidential information (i.e., information considered proprietary as well as information
that may fall under the Privacy Act). The GSA Schedule Contractor shall not disclose
any such information or findings to any parties other than the Project Officer and staff
assigned to this effort. Appropriate administrative, technical, procedural and physical
safeguards shall be established by the GSA Schedule Contractor to protect the
confidentiality of the data and to prevent unauthorized access to such data.

10.      DESIGNATION OF PROPERTY ADMINSTRATOR AND PROPERTY
         ADMINISTRATION

      a. The CMS Property Administrator, Administrative Services Group, Office of
         Property and Space Management at (410) 786-3346, is hereby designated the
         property administration function for this contract. The Contractor agrees to
         furnish information regarding Government Property to the Property Administrator
         in the manner and to the extent required by the Property Administrator, his duly
         designated successors, and in accordance with FAR Part 45 and DHHS Manual
         entitled, Contractor’s Guide for Control of Government Property (1990).

      b. The contractor is responsible for an annual physical inventory accounting for all
         Government property under this contract. The inventory must be conducted by
         September 30th and the form 565, Report of Accountable Personal Property (J-
         15) submitted by October 31st of each year.

      c. The inventory report shall include all items acquired, furnished, rented or leased
         under the contract. Employees who conduct the inventories should not be the




                                            SA019
                                              36
                                                                                                A00037
            Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 26 of 514




            same individuals who maintain the property records. Following the physical
            inventory, the contractor shall prepare an inventory report and submit the report
            to the CMS Property Administrator at the following address:

                         Centers for Medicare & Medicaid Services
                         OICS, Administrative Services Group
                         Division of Property and Space management
                         7500 Security Blvd., Mailstop: SLL-14-06
                         Baltimore, MD 21244-1850

      d. Commercially leased software is subject to these reporting requirements.

      e. The RAC shall submit a consolidated report of all accountable Government
         property under this contract, including subcontractor inventory information.

      f. The final inventory report shall indicate that all items required for continued
         contract performance are acceptable and free from contamination. Property that
         is no longer usable or required shall be reported and disposition requested.

11.         INVOICING AND PAYMENT

Invoicing and Payment

a. Submission of Invoices and Place of Payment

      (i)      No more than once each month following the effective date of this contract,
               the Contractor may submit to the Government an invoice (or public voucher)
               for payment, in accordance with FAR Clause 52.216-7 "Allowable Cost &
               Payment." Invoices shall be prepared in accordance with this contract. All
               invoices shall be reconciled against the RAC Database (40700NMSPB) or
               other documentation as appropriate to ensure collection has been made and
               funds recouped deposited prior to any invoice being paid.

      (ii) To expedite payment, invoices shall be sent, as follows:

                  Monthly invoices (original and four copies) shall be sent directly to the
                  address below (where applicable, the Contractor shall submit the invoice
                  to said office via the cognizant government auditor):

                  Department of Health and Human Services
                  Centers for Medicare & Medicaid Services
                  P.O. BOX 7520
                  7500 Security Boulevard
                  Baltimore, Maryland 21207-0520

      (iii) Content of Invoice (If Applicable):




                                                  SA020
                                                    37
                                                                                             A00038
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 27 of 514




               Contractor's name and invoice date;
               Contract number of other authorization for delivery of
                property and/or services;
               Description, cost or price, and quantity of property
                 and/or services actually delivered or rendered;
               Shipping and payment terms;
               Other substantiating documentation or information as
                required by the contract; and
               Name (where practicable), title, phone number, and complete
                mailing address of responsible official to whom payment is
                to be sent.

b. Invoice Payment

   (i)    In accordance with FAR 52.232-33, the Centers for Medicare and Medicaid
          Services (CMS) shall only make an electronic reimbursement/payment.

          In accordance with FAR 52.204-7, the contractor must register in the Central
          Contractor Registration (CCR) database. Failure to register in CCR may prohibit
          CMS from making awards to your organization.

         The contractor shall notify CMS’ Division of Accounting Operations of all EFT and
         address changes in CCR via the following email address:
         CCRChanges@cms.hhs.gov

   (ii) The target date for payment pursuant to the provision of FAR Clause, 52.216-7
        “Allowable Cost and Payment” of this contract shall be 30 calendar days after an
        invoice containing the information set forth in Paragraph “a” of this article is
        received in the7 payment office designated herein.

   (iii) Upon receipt of the Contractor’s “completion invoice” in the payment office
        designated in Paragraph “a” of this article, payment of any remaining cost and
        fee determined to be allowable pursuant to the provisions of FAR Clause,
        52.216-7 “Allowable Cost and Payment” of this contract shall be due 30 calendar
        days after the Contracting Officer approves the “completion invoice” for payment.

   (iv) Payment shall be authorized after the Division of Accounting has audited the
       invoice in accordance with Federal Regulations. This audit includes verification
       that the invoice contains the rates/unit prices, those indicated in the contract or
       purchase order. Any discrepancies determined as a result of the audit, could
       delay the processing of the invoice and may result in the invoice being returned
       to the vendor for correction. Inquiries relating to payments should be directed to
       Jean Katzen on (410) 786-5423 or Suzanne Turgeon on (410) 786-1924.




                                           SA021
                                             38
                                                                                             A00039
           Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 28 of 514




      c. See Attachment 2 for additional information on the MSP RAC Payment Voucher
         Process.

12.        PAYMENT BY ELECTRONIC FUNDS TRANSFER - CENTRAL CONTRACTOR
           REGISTRATION

      a. Method of payment. (1) All payments by the Government under this contract shall
         be made by electronic funds transfer (EFT), except as provided in paragraph
         (a)(2) of this clause. As used in this clause, the term “EFT” refers to the funds
         transfer and may also include the payment information transfer. (2) In the event
         the Government is unable to release one or more payments by EFT, the
         Contractor agrees to either -

           (i) Accept payment by check or some other mutually agreeable method of
                payment; or

           (ii) Request the Government to extend the payment due date until such time as
                the Government can make payment by EFT (but see paragraph (d) of this
                clause).

      b. Contractor's EFT information. The Government shall make payment to the
         Contractor using the EFT information contained in the Central Contractor
         Registration (CCR) database. In the event that the EFT information changes, the
         Contractor shall be responsible for providing the updated information to the CCR
         database.

      c.    Mechanisms for EFT payment. The Government may make payment by EFT
           through either the Automated Clearing House (ACH) network, subject to the rules
           of the National Automated Clearing House Association, or the Fedwire Transfer
           System. The rules governing Federal payments through the ACH are contained
           in 31 CFR part 210.

      d. Suspension of payment. If the Contractor's EFT information in the CCR
         database is incorrect, then the Government need not make payment to the
         Contractor under this contract until correct EFT information is entered into the
         CCR database; and any invoice or contract-financing request shall be deemed
         not to be a proper invoice for the purpose of prompt payment under this contract.
         The prompt payment terms of the contract regarding notice of an improper
         invoice and delays in accrual of interest penalties apply.

      e. Liability for uncompleted or erroneous transfers. (1) If an uncompleted or
         erroneous transfer occurs because the Government used the Contractor's EFT
         information incorrectly, the Government remains responsible for -

           (i) Making a correct payment;




                                            SA022
                                              39
                                                                                          A00040
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 29 of 514




     (ii) Paying any prompt payment penalty due; and

     (iii) Recovering any erroneously directed funds.

        If an uncompleted or erroneous transfer occurs because the Contractor's EFT
        information was incorrect, or was revised within 30 days of Government
        release of the EFT payment transaction instruction to the Federal Reserve
        System, and -

     (iv) If the funds are no longer under the control of the payment office, the
         Government is deemed to have made payment and the Contractor is
         responsible for recovery of any erroneously directed funds; or

     (v) If the funds remain under the control of the payment office, the Government
         shall not make payment, and the provisions of paragraph (d) of this clause
         shall apply.

f.    EFT and prompt payment. A payment shall be deemed to have been made in a
     timely manner in accordance with the prompt payment terms of this contract if, in
     the EFT payment transaction instruction released to the Federal Reserve
     System, the date specified for settlement of the payment is on or before the
     prompt payment due date, provided the specified payment date is a valid date
     under the rules of the Federal Reserve System.

g. EFT and assignment of claims. If the Contractor assigns the proceeds of this
   contract as provided for in the assignment of claims terms of this contract, the
   Contractor shall require as a condition of any such assignment, that the assignee
   shall register separately in the CCR database and shall be paid by EFT in
   accordance with the terms of this clause. Notwithstanding any other requirement
   of this contract, payment to an ultimate recipient other than the Contractor, or a
   financial institution properly recognized under an assignment of claims pursuant
   to subpart 32.8, is not permitted. In all respects, the requirements of this clause
   shall apply to the assignee as if it were the Contractor. EFT information that
   shows the ultimate recipient of the transfer to be other than the Contractor, in the
   absence of a proper assignment of claims acceptable to the Government, is
   incorrect EFT information within the meaning of paragraph (d) of this clause.

h. Liability for change of EFT information by financial agent. The Government is not
   liable for errors resulting from changes to EFT information made by the
   Contractor's financial agent.

i.    Payment information. The payment or disbursing office shall forward to the
     Contractor available payment information that is suitable for transmission as of
     the date of release of the EFT instruction to the Federal Reserve System. The
     Government may request the Contractor to designate a desired format and
     method(s) for delivery of payment information from a list of formats and methods



                                        SA023
                                          40
                                                                                            A00041
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 30 of 514




      the payment office is capable of executing. However, the Government does not
      guarantee that any particular format or method of delivery is available at any
      particular payment office and retains the latitude to use the format and delivery
      method most convenient to the Government. If the Government makes payment
      by check in accordance with paragraph (a) of this clause, the Government shall
      mail the payment information to the remittance address contained in the CCR
      database.

13.   DELIVERABLES/INTERNET – INTRANET APPLICATIONS

      If applicable, all written deliverables will include a version in HyperText Mark-Up
      Language (HTML) formatted according to Centers for Medicare and Medicaid
      (CMS) Internet, Intranet, and Extranet Standards; available online at
      http:www.cms.gov/about/web/inetspecx.htm.

      All websites, Internet applications, and content developed by Contractor shall
      reside on CMS servers, follow CMS Standards and Guidelines, and filter through
      the standard agency Internet Clearance process.

      If CMS agents or Contractor include information that appears on www.cms.gov or
      www.medicare.gov as part of their websites, they must link directly to these sites
      to ensure the validity and timeliness of the information. Duplication of content is
      not permitted.

      Contractor performing work on projects that include the development of Internet,
      Intranet, or Extranet applications, shall schedule and meet with CMS’s Web
      Support Team for guidance before they begin to develop the project.

14.   HHSAR 352.224-70 PRIVACY ACT (January 2006)
      This contract requires the Contractor to perform one or more of the following: (a)
      Design; (b) develop; or (c) operate a Federal agency system of records to
      accomplish an agency function in accordance with the Privacy Act of 1974 (Act)
      (5 U.S.C. 552a(m)(1)) and applicable agency regulations. The term “system of
      records” means a group of any records under the control of any agency from
      which information is retrieved by the name of the individual or by some identifying
      number, symbol, or other identifying particular assigned to the individual.
      Violations of the Act by the Contractor and/or its employees may result in the
      imposition of criminal penalties (5 U.S.C. 552a(i)). The Contractor shall ensure
      that each of its employees knows the prescribed rules of conduct and that each
      employee is aware that he/she is subject to criminal penalties for violation of the
      Act to the same extent as Department of Health and Human Services
      employees. These provisions also apply to all subcontracts the Contractor
      awards under this contract which require the design, development or operation of
      the designated system(s) of records [5 U.S.C. 552a(m)(1)]. The contract work
      statement: (a) identifies the system(s) of records and the design, development, or




                                         SA024
                                           41
                                                                                             A00042
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 31 of 514




      operation work the Contractor is to perform; and (b) specifies the disposition to
      be made of such records upon completion of contract performance.
(End of clause)

15.   ORGANIZATIONAL CONFLICTS OF INTEREST

      “Organizational conflict of interest” as defined per FAR 2.101, “means that
      because of other activities or relationships with other persons, a person is unable
      or potentially unable to render impartial assistance or advice to the Government,
      or the person’s objectivity in performing the contract work is or might be
      otherwise impaired, or a person has an unfair competitive advantage.”

      (A) Purpose: The purpose of this clause is to ensure that the Contractor (1) is
      not biased because of its financial, contractual, organizational, or other interests
      which relate to the work under this contract, and (2) does not obtain any unfair
      competitive advantage over other parties by virtue of its performance of this
      contract. This clause has been created to implement the organizational conflict of
      interest requirements of FAR 9.5.

      (B) Scope: The restrictions described herein shall apply to performance or
      participation by the Contractor and any of its affiliates or their successors in
      interest (hereinafter collectively referred to as “Contractor”) in the activities
      covered by this clause as a prime contractor, subcontractor, co-sponsor, joint
      venture, consultant, or in any similar capacity. For the purpose of this clause,
      affiliation occurs when a business concern is controlled by or has the power to
      control another or when a third party has the power to control both.

      (C) Use of Contractor’s Work Product: If the Contractor performs advisory,
      consulting, analytical, evaluation, study, or similar work under this contract, it
      shall be ineligible thereafter to participate in any capacity in Government
      contractual efforts (solicited or unsolicited) which stem directly from such work,
      and the Contractor agrees not to perform similar work for prospective Offeror’s
      with respect to any such contractual efforts. The Contractor shall be ineligible to
      participate in any contracts, subcontracts, or proposals (solicited and unsolicited)
      which stem directly from the Contractor’s performance of work under this contract
      for a period of one (1) year after the completion of this contract. Furthermore,
      unless so directed in writing by the Contracting Officer, the Contractor shall not
      perform any system engineering or technical direction support work under this
      contract on any of its products or services or the products or services of another
      firm if the Contractor is or has been substantially involved in their development or
      marketing. Nothing in this subparagraph shall preclude the Contractor from
      competing for follow-on contracts or subcontracts for advisory and assistance
      services.

      (D) If, under this contract, the Contractor prepares a complete or essentially
      complete statement of work or specifications to be used in competitive



                                         SA025
                                           42
                                                                                       A00043
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 32 of 514




acquisitions, the Contractor shall be ineligible to perform or participate in any
capacity in any contractual effort which is based on such statement of work or
specifications. The Contractor shall not incorporate its products or services in
such statement of work or specifications unless so directed in writing by the
Contracting Officer, in which case the restriction in this subparagraph shall not
apply.

(E) Access to and use of information:

       (1) If the Contractor, in the performance of this contract, obtains access to
       information, such as Government plans, policies, reports, studies, financial
       plans, internal data protected by the Privacy Act of 1974 (5 U.S.C. 552a),
       or data which has not been released or otherwise made available to the
       public, the Contractor agrees that it shall not:

              (a) Use such information for any private purpose unless the
              information has been released or otherwise made available to the
              public;

              (b) Compete for work based on such information for a period of one
              (1) year after either the completion of this contract, or until such
              information is released or otherwise made available to the public,
              whichever is first;

              (c) Submit an unsolicited proposal which is based on such
              information until six (6) months after such information is released or
              otherwise made available to the public; and,

              (d) Release such information unless such information has
              previously been released or otherwise made available to the public
              by the Government.

       (2) In addition, the Contractor agrees that to the extent it receives or is
       given access to proprietary data, data protected by the Privacy Act of
       1974 (5 U.S.C. 552a), or other confidential or privileged technical,
       business, or financial information under this contract, it shall treat such
       information in accordance with any restrictions imposed on such
       information.

(F) Disclosure after award:

       (1) The Contractor agrees that, if changes, including additions, to the facts
       disclosed by it prior to award of this Contract, occur during the
       performance of this Contract, it shall make an immediate and full
       disclosure of such changes in writing to the Contracting Officer. Such
       disclosure shall include a description of any action which the Contractor




                                    SA026
                                      43
                                                                                                A00044
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 33 of 514




              has taken or proposes to take to avoid, neutralize, or mitigate any
              resulting conflict of interest. The Government may, however, terminate for
              convenience if it deems such termination to be in the best interest of the
              Government.

              (2) In the event that the Contractor was aware of facts required to be
              disclosed or the existence of an actual or potential organizational conflict
              of interest and did not disclose such facts or such conflict of interest to the
              Contracting Officer, the Contracting Officer may terminate for default.

       (G) Remedies: For breach of any of the above restrictions or for nondisclosure
       or misrepresentation of any facts required to be disclosed concerning this
       contract, including the existence of an actual or potential organizational conflict of
       interest at the time of or after award, the Government may terminate for default,
       and pursue such other remedies as may be permitted by law.

       (H) Waiver: In accordance with FAR 9.503, any request for waiver must be in
       writing, shall set forth the extent of the conflict, and requires approval by the
       agency head or a designee. Agency heads shall not delegate waiver authority
       below the level of head of a contracting activity. The agency head or a designee
       may waive any general rule or procedure of this subpart by determining that its
       application in a particular situation would not be in the Government’s interest.

       (I) Subcontracts: This Organizational Conflict of Interest clause shall flow down
       to all subcontractors unless an exemption is specifically approved by Contracting
       Officer, CMS.

16.    CONDITIONS FOR PERFORMANCE

In addition to the performance requirement of this contract as set forth under
Performance Work Statement, the Contractor may be required to comply with the
requirements of any revisions in legislation or regulations which may be enacted or
implemented during the period of performance of this contract, and are directly
applicable to the performance requirements of this contract.

In the event new legislation or regulations impacting the Contract require immediate
implementation, the Contracting Officer shall issue a change order pursuant to FAR
Clause 52.243-1, entitled Changes – Fixed-Price.

17.    CONFLICT OF INTEREST

The Contractor shall disclose any known or potential conflicts of interest, in accordance
with FAR Part 9.5, for the purpose of meeting the requirements of this contract. The
Contractor agrees that if an actual or potential organizational conflict of interest is
discovered after an award of a task order, the Contractor shall make full disclosure in
writing to the Contracting Officer. This disclosure shall include a description of actions




                                           SA027
                                             44
                                                                                              A00045
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 34 of 514




that the Contractor has taken or proposes to take to mitigate the actual or potential
conflict. The Contracting Officer shall determine whether a conflict of interest disclosed
after award has been adequately resolved.

19.    CONTRACTOR PERFORMANCE EVALUATION(S)

In accordance with Federal Acquisition Regulation (FAR) 42.15, CMS will complete
annual and final contractor performance evaluations. Annual evaluations will be
prepared to coincide with the anniversary date of the contract. Additional interim
performance evaluations may be prepared at Contracting Officer discretion, as
necessary. Final performance evaluations will be completed upon contract expiration.

CMS will utilize the Contractor Performance Assessment Reporting System (CPARS) in
order to execute annual and final contractor performance evaluations. CPARS is a
secure Internet website located at http://www.cpars.csd.disa.mil/cparsmain.htm. CMS
will register the contractor in CPARS upon receipt of the name and email address of two
(2) individuals who will be responsible for serving as the Contractor’s primary and
alternate CPARS contacts. Once CMS registers the contractor in CPARS, the
Contractor will receive an automated CPARS email message that contains User IDs
and instructions for creating a password.

Once a performance evaluation is issued, the Contractor’s primary and alternate
CPARS contact will receive an email instructing them to logon to CPARS in order to
review the performance evaluation. The Contractor has 30 days from the date of
performance evaluation issuance in which to review the evaluation. If the Contractor is
in agreement with the performance evaluation outcome, the evaluation becomes final.
Should the Contractor be in disagreement with the performance evaluation outcome,
rebuttal comments must be submitted via the CPARS within 30 days from date the
evaluation was issued by CMS. Any disagreement between the Contracting Officer and
the Contractor will be referred to the Deputy Director, CMS Office of Acquisition and
Grants Management, whose decision will be final.

Copies of each performance evaluation and contractor responses, if any, will be
retained as part of the official contract file and will be used to support future award
decisions. Evaluations will also be stored for a 3-year period in the Past Performance
Information Retrieval System (PPIRS) at www.ppirs.gov.

Contractors may obtain CPARS training material and register for on-line training at
http://www.cpars.csd.disa.mil/allapps/cpcbtdlf.htm. There is no fee for registration or use
of the CPARS.

21.    DISPOSAL OF IMAGED MEDICAL RECORDS

Imaged medical records must be disposed of in a manner than leaves no trace of data.
The RAC shall use a method compliant with CMS operating procedures and standards.
In addition, a log of all disposed records shall be maintained by the RAC.




                                          SA028
                                            45
                                                                                                  A00046
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 35 of 514




22.    HIPAA BUSINESS ASSOCIATE PROVISION

HIPAA Business Associate Provision II

Definitions:

All terms used herein and not otherwise defined shall have the same meaning as in the
Health Insurance Portability and Accountability Act of 1996 (“HIPAA,” 42 U.S.C. sec.
1320d) and the corresponding implementing regulations. Provisions governing the
Contractor’s duties and obligations under the Privacy Act (including data use
agreements) are covered elsewhere in the contract.
"Business Associate'' shall mean the Contractor.
"Covered Entity" shall mean CMS’ Medicare Fee for Service program and/or Medicare’s
Prescription Drug Discount Care and Transitional Assistance Programs.
"Secretary" shall mean the Secretary of the Department of Health and Human Services
or the Secretary’s designee.

Obligations and Activities of Business Associate

(a) Business Associate agrees to not use or disclose Protected Health Information
    (“PHI”), as defined in 45 C.F.R. § 160.103, created or received by Business
    Associate from or on behalf of Covered Entity other than as permitted or required by
    this Contract or as required by law.
(b) Business Associate agrees to use safeguards to prevent use or disclosure of PHI
    created or received by Business Associate from or on behalf of Covered Entity other
    than as provided for by this Contract. Furthermore, Business Associate agrees to
    use appropriate administrative, physical and technical safeguards that reasonably
    and appropriately protect the confidentiality, integrity and availability of the electronic
    protected health information (“EPHI”), as defined in 45 C.F.R. 160.103, it creates,
    receives, maintains or transmits on behalf of the Covered Entity to prevent use or
    disclosure of such EPHI.
(c) Business Associate agrees to mitigate, to the extent practicable, any harmful effect
    that is known to Business Associate of a use or disclosure of PHI by Business
    Associate in violation of the requirements of this Contract.
(d) Business Associate agrees to report to Covered Entity any use or disclosure
    involving PHI it receives/maintains from/on behalf of the Covered Entity that is not
    provided for by this Contract of which it becomes aware. Furthermore, Business
    Associate agrees to report to Covered Entity any security incident involving EPHI of
    which it becomes aware.
(e) Business Associate agrees to ensure that any agent, including a subcontractor, to
    whom it provides PHI received from Covered Entity, or created or received by
    Business Associate on behalf of Covered Entity, agrees to the same restrictions and
    conditions that apply through this Contract to Business Associate with respect to
    such information. Furthermore, Business Associate agrees to ensure that its agents




                                            SA029
                                              46
                                                                                             A00047
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 36 of 514




     and subcontractors implement reasonable and appropriate safeguards for the PHI
     received from or on behalf of the Business Associate.
(f) Business Associate agrees to provide access, at the request of Covered Entity, to
     PHI received by Business Associate in the course of contract performance, to
     Covered Entity or, as directed by Covered Entity, to an Individual in order to meet
     the requirements under 45 CFR § 164.524.
(g) Business Associate agrees to make any amendment(s) to PHI in a Designated
     Record Set that Covered Entity directs or agrees to pursuant to 45 CFR § 164.526
     upon request of Covered Entity.
(h) Business Associate agrees to make internal practices, books, and records, including
     policies and procedures and PHI, relating to the use and disclosure of PHI received
     from, or created or received by Business Associate on behalf of Covered Entity,
     available to Covered Entity, or to the Secretary for purposes of the Secretary
     determining Covered Entity's compliance with the various rules implementing the
     HIPAA.
(i) Business Associate agrees to document such disclosures of PHI and information
     related to such disclosures as would be required for Covered Entity to respond to a
     request by an Individual for an accounting of disclosures of PHI in accordance with
     45 CFR § 164.528.
(j) Business Associate agrees to provide to Covered Entity, or an individual identified by
     the Covered Entity, information collected under this Contract, to permit Covered
     Entity to respond to a request by an Individual for an accounting of disclosures of
     PHI in accordance with 45 CFR § 164.528.

Permitted Uses and Disclosures by Business Associate

Except as otherwise limited in this Contract, Business Associate may use or disclose
PHI on behalf of, or to provide services to, Covered Entity for purposes of the
performance of this Contract, if such use or disclosure of PHI would not violate the
HIPAA Privacy or Security Rules if done by Covered Entity or the minimum necessary
policies and procedures of Covered Entity.

Obligations of Covered Entity

(a) Covered Entity shall notify Business Associate of any limitation(s) in its notice of
    privacy practices of Covered Entity in accordance with 45 CFR § 164.520, to the
    extent that such limitation may affect Business Associate's use or disclosure of PHI.
(b) Covered Entity shall notify Business Associate of any changes in, or revocation of,
    permission by Individual to use or disclose PHI, to the extent that such changes may
    affect Business Associate's use or disclosure of PHI.
(c) Covered Entity shall notify Business Associate of any restriction to the use or
    disclosure of PHI that Covered Entity has agreed to in accordance with 45 CFR §
    164.522, to the extent that such restriction may affect Business Associate's use or
    disclosure of PHI.

Permissible Requests by Covered Entity




                                          SA030
                                            47
                                                                                                 A00048
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 37 of 514




Covered Entity shall not request Business Associate to use or disclose PHI in any
manner that would not be permissible under the HIPAA Privacy or Security Rules.

Term of Provision

(a) The term of this Provision shall be effective as of March 10, 2005, and shall
    terminate when all of the PHI provided by Covered Entity to Business Associate, or
    created or received by Business Associate on behalf of Covered Entity, is destroyed
    or returned to Covered Entity, or, if it is infeasible to return or destroy PHI,
    protections are extended to such information, in accordance with the termination
    provisions in this Section.
(b) Upon Covered Entity's knowledge of a material breach by Business Associate,
    Covered Entity shall either:
        (1) Provide an opportunity for Business Associate to cure the breach or end the
            violation consistent with the termination terms of this Contract. Covered
            Entity may terminate this Contract for default if the Business Associate does
            not cure the breach or end the violation within the time specified by Covered
            Entity; or
        (2) Consistent with the terms of this Contract, terminate this Contract for default if
            Business Associate has breached a material term of this Contract and cure is
            not possible; or
        (3) If neither termination nor cure is feasible, Covered Entity shall report the
            violation to the Secretary.
(c) Effect of Termination.
        (1) Except as provided in paragraph (2) of this section, upon termination of this
            Contract, for any reason, Business Associate shall return or destroy all PHI
            received from Covered Entity, or created or received by Business Associate
            on behalf of Covered Entity. This provision shall apply to PHI that is in the
            possession of subcontractors or agents of Business Associate. Business
            Associate shall retain no copies of the PHI.
        (2) In the event that Business Associate determines that returning or destroying
            the PHI is infeasible, Business Associate shall provide to Covered Entity
            notification of the conditions that make return or destruction infeasible. Upon
            such notice that return or destruction of PHI is infeasible, Business Associate
            shall extend the protections of this Contract to such PHI and limit further uses
            and disclosures of such PHI to those purposes that make the return or
            destruction infeasible, for so long as Business Associate maintains such PHI.

Miscellaneous

(a) A reference in this Contract to a section in the Rules issued under HIPAA means the
    section as in effect or as amended.
(b) The Parties agree to take such action as is necessary to amend this Contract from
    time to time as is necessary for Covered Entity to comply with the requirements of
    the Rules issued under HIPAA.




                                           SA031
                                             48
                                                                                                 A00049
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 38 of 514




(c) The respective rights and obligations of Business Associate under paragraph (c) of
    the section entitled “term of Provision” shall survive the termination of this Contract.
(d) Any ambiguity in this Contract shall be resolved to permit Covered Entity to comply
    with the Rules implemented under HIPAA.

23.      COPYRIGHTS

      a. Data first produced in the performance of this contract.

         (i) The contractor agrees not to assert, establish, or authorize others to assert or
              establish, any claim to copyright subsisting in any data first produced in the
              performance of this contract without prior written permission of the contracting
              officer. When claim to copyright is made, the contractor shall affix the
              appropriate copyright notice of 17 U.S.C. 401 or 402 and acknowledgment of
              government sponsorship (including contract number) to such data when
              delivered to the government, as well as when the data are published or
              deposited for registration as a published work in the U.S. Copyright Office.
              The contractor grants to the government, and others acting on its behalf, a
              paid-up nonexclusive, irrevocable, worldwide license for all such data to
              reproduce, prepare derivative works, distribute copies to the public, and
              perform publicly and display publicly, by or on behalf of the government.
         (ii) If the government desires to obtain copyright in data first produced in the
              performance of this contract and permission has not been granted as set forth
              above, the contracting officer may direct the contractor to establish, or
              authorize the establishment of, claim to copyright in such data and to assign,
              or obtain the assignment of, such copyright to the government or its
              designated assignee.

      b. Data not first produced in the performance of this contract.

         The contractor shall not, without prior written permission of the contracting
         officer, incorporate in data delivered under this contract any data not first
         produced in the performance of this contract and which contain the copyright
         notice of 17 U.S.C. 401 or 402, unless the contractor identifies such data and
         grants to the government.

24.      DISSEMINATION, PUBLICATION AND DISTRIBUTION OF INFORMATION

      a. Subject to Section H.8, data and information either provided to the contractor or
         any subcontractor generated by activities under this contract or derived from
         research or studies supported by this contract shall be used only for purposes of
         this contract.

      b. Data and information either provided to the contractor, or to any subcontractor,
         generated by activities under this contract, or derived from research or studies
         supported by this contract, shall be used only for the purposes of the contract. It




                                            SA032
                                              49
                                                                                             A00050
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 39 of 514




   shall not e duplicated, used or disclosed for any purpose other than the fulfillment
   of the requirements set forth in this contract. This restriction does not limit the
   contractor’s right to use data or information obtained from a non-restrictive
   source. Any questions concerning “privileged information” shall be referred to
   the contracting officer.

c. Some data or information may require special consideration with regard to the
   timing of its disclosure. Also, some data or information, which relate to policy
   matters under consideration by the government, may also require special
   consideration with regard to the timing of its disclosure so that the open and
   vigorous debate, within the government, of possible policy options is not
   damaged.

d. Any requests for or questions about use or release of the data or information or
   handling of material under this contract shall be referred to the contracting officer
   who must render a written determination. The contracting officer’s
   determinations will reflect the results of internal coordination with appropriate
   program and legal officials.

e. The contractor agrees not to release Medicare data and information either
   provided to the contractor, generated by activities under contract, or derived from
   research or studies supported by this contract without the prior permission of the
   contracting officer.

f. Any presentation of any report, statistical or analytical material based on
   information obtained from this contract which requires special consideration with
   regard to the protection of the privacy of individuals or of trade secrets or
   privileged or confidential commercial information shall be subject to review by the
   contracting officer before dissemination, publication, or distribution. Presentation
   includes, but is not limited to, papers, articles, professional publications,
   speeches, testimony or interviews with public print or broadcast media.

g. Written advance notice of at least forty-five (45) days shall be provided to the
   contracting officer of the contractor’s desire to release information where there
   may be a question of the protection of the privacy of individuals or of trade
   secrets or privileged or confidential commercial information.

h. The contracting officer’s review shall cover confidentiality issues and the
   protection of the privacy of individuals. If the review reveals that the privacy of
   individuals, trade secrets or privileged or confidential commercial information is,
   or may be violated, the release/use of the presentation shall be denied until the
   offending material is removed or until the contracting officer makes a formal
   determination, in writing, that confidentiality provisions, the privacy of individuals,
   trade secrets or privileged or confidential commercial information is not being
   violated.




                                        SA033
                                          50
                                                                                                A00051
           Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 40 of 514




      i.   The contractor agrees to acknowledge support by CMS whenever reports of
           projects funding, in whole or in part, by this contract are published in any
           medium. The contractor shall include in any publication resulting from work
           under this contract, an acknowledgment substantially, as follows:

           “The analyses upon which this publication is based were performed under
           contract number HHSM-500-2005-00002I, entitled, “MMA Section 306 Recovery
           Audit Demonstration,” sponsored by the Centers for Medicare and Medicaid
           Services, Department of Health and Human Services.” The conclusions and
           opinions expressed, and methods used herein are those of the author. They do
           not necessarily reflect CMS policy. The author assumes full responsibility for the
           accuracy and completeness of the ideas presented. Ideas and contributions to
           the author concerning experience in engaging with issues presented are
           welcomed. Any deviation from the above legend shall be approved, in writing, by
           the contracting officer.



26.        CODE OF CONDUCT

      SMOKING

      Effective June 2004, smoking is not permitted anywhere on the CMS single site
      campus. This includes all areas outside the building, such as off-site facility,
      entranceways, sidewalks and parking areas. Smoking will not be permitted
      anywhere in Regional Offices or Washington, DC office locations unless permitted
      by GSA guidelines or local landlord requirements. Contractor employees are subject
      to the same restrictions as government personnel. Fines up to $50 per occurrence
      will be issued and enforced by the Federal Protective Service.

      DRESS

      The preferred dress codes at CMS facilities are professional attire, business attire,
      or business casual attire.

26.        ATTACHMENTS

The following attachments are incorporated in this task order:
   (1) Statement of Objectives and Schedule of Deliveries


27. HHSAR 352.203-70 ANTI-LOBBYING (January 2006)
Pursuant to the current HHS annual appropriations act, except for normal and
recognized executive-legislative relationships, the Contractor shall not use any HHS
contract funds for (i) publicity or propaganda purposes; (ii) the preparation, distribution,
or use of any kit, pamphlet, booklet, publication, radio, television or video presentation



                                             SA034
                                               51
                                                                                                A00052
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 41 of 514




designed to support or defeat legislation pending before the Congress or any State
legislature, except in presentation to the Congress or any State legislature itself; or (iii)
payment of salary or expenses of the Contractor, or any agent acting for the Contractor,
related to any activity designed to influence legislation or appropriations pending before
the Congress or any State legislature.
(End of clause)


28. HHSAR 352.222-70 CONTRACTOR COOPERATION IN EQUAL EMPLOYMENT
OPPORTUNITY INVESTIGATIONS.
Contractor Cooperation in Equal Employment Opportunity Investigations (January 2010)
(a) In addition to complying with the clause in FAR 52.222–26, Equal Opportunity, the
Contractor shall, in good faith, cooperate with the Department of Health and Human
Services (Agency) in investigations of Equal Employment Opportunity (EEO) complaints
processed pursuant to 29 CFR Part 1614. For purposes of this clause, the following
definitions apply:
(1) “Complaint” means a formal or informal complaint that has been lodged with Agency
management, Agency EEO officials, the Equal Employment Opportunity Commission
(EEOC), or a court of competent jurisdiction.
(2) “Contractor employee” means all current Contractor employees who work or worked
under this contract. The term also includes current employees of subcontractors who
work or worked under this contract. In the case of Contractor and subcontractor
employees, who worked under this contract, but who are no longer employed by the
Contractor or subcontractor, or who have been assigned to another entity within the
Contractor's or subcontractor's organization, the Contractor shall provide the Agency
with that employee's last known mailing address, e-mail address, and telephone
number, if that employee has been identified as a witness in an EEO complaint or
investigation.
(3) “Good faith cooperation” cited in paragraph (a) includes, but is not limited to, making
Contractor employees available for: (i) Formal and informal interviews by EEO
counselors or other Agency officials processing EEO complaints; (ii) formal or informal
interviews by EEO investigators charged with investigating complaints of unlawful
discrimination filed by Federal employees; (iii) reviewing and signing appropriate
affidavits or declarations summarizing statements provided by such Contractor
employees during the course of EEO investigations; (iv) producing documents
requested by EEO counselors, EEO investigators, Agency employees, or the EEOC in
connection with a pending EEO complaint; and (v) preparing for and providing testimony
in hearings before the EEOC and U.S. District Court.
(b) The Contractor shall include the provisions of this clause in all subcontract
solicitations and subcontracts awarded at any tier under this contract.
(c) Failure on the part of the Contractor or its subcontractors to comply with the terms of
this clause may be grounds for the Contracting Officer to terminate this contract for
default.




                                           SA035
                                             52
                                                                                             A00053
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 42 of 514




(End of clause)


29. HHSAR 352.227-70 PUBLICATIONS AND PUBLICITY.
Publications and Publicity (January 2006)
(a) Unless otherwise specified in this contract, the Government encourages the
Contractor to publish the results of its work under this contract. A copy of each article
the Contractor submits for publication shall be promptly sent to the Contracting Officer's
Technical Representative. The Contractor shall also inform the Contracting Officer's
Technical Representative when the article or other publication is published, and furnish
a copy of it as finally published.
(b) Unless authorized by the Contracting Officer's Technical Representative, the
Contractor shall not display the HHS logo on any publications.
(End of clause)



30. HHSAR 30. 352.231-71 PRICING OF ADJUSTMENTS (January 2001)
When costs are a factor in determination of a contract price adjustment pursuant to the
“Changes” clause or any provision of this contract, the applicable cost principles and
procedures set forth below shall form the basis for determining such costs:

              Principles                             Types of organizations

(a) Subpart 31.2 of the Federal          Commercial.
Acquisition Regulation

(b) Subpart 31.3 of the Federal          Educational.
Acquisition Regulation

(c) Subpart 31.6 of the Federal          State, local, and Federally recognized
Acquisition Regulation                   Indian Tribal governments.

(d) 45 CFR Part 74 Appendix E            Hospitals (performing research and
                                         development contracts only).

(e) Subpart 31.7 of the Federal          Other nonprofit organizations.
Acquisition Regulation

(End of clause)




                                          SA036
                                            53
                                                                                             A00054
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 43 of 514




40. FAR 52.223-18, Contractor Policy to Ban Text Messaging While Driving (Sep
2010)
(a) Definitions. As used in this clause--
“Driving”—
(1) Means operating a motor vehicle on an active roadway with the motor running,
including while temporarily stationary because of traffic, a traffic light, stop sign, or
otherwise.
(2) Does not include operating a motor vehicle with or without the motor running when
one has pulled over to the side of, or off, an active roadway and has halted in a location
where one can safely remain stationary.
“Text messaging” means reading from or entering data into any handheld or other
electronic device, including for the purpose of short message service texting, e-mailing,
instant messaging, obtaining navigational information, or engaging in any other form of
electronic data retrieval or electronic data communication. The term does not include
glancing at or listening to a navigational device that is secured in a commercially
designed holder affixed to the vehicle, provided that the destination and route are
programmed into the device either before driving or while stopped in a location off the
roadway where it is safe and legal to park.
(b) This clause implements Executive Order 13513, Federal Leadership on Reducing
Text Messaging while Driving, dated October 1, 2009.
(c) The Contractor should—
(1) Adopt and enforce policies that ban text messaging while driving—
(i) Company-owned or -rented vehicles or Government-owned vehicles; or
(ii) Privately-owned vehicles when on official Government business or when performing
any work for or on behalf of the Government.
(2) Conduct initiatives in a manner commensurate with the size of the business, such
as—
(i) Establishment of new rules and programs or re-evaluation of existing programs to
prohibit text messaging while driving; and
(ii) Education, awareness, and other outreach to employees about the safety risks
associated with texting while driving.
(d) Subcontracts. The Contractor shall insert the substance of this clause, including this
paragraph (d), in all subcontracts that exceed the micro-purchase threshold.
                                       (End of clause)


50. HHSAR 352.239–70, STANDARD FOR SECURITY CONFIGURATIONS


(a) The Contractor shall configure its computers that contain HHS data with the
applicable Federal Desktop Core Configuration (FDCC) (see



                                            SA037
                                              54
                                                                                            A00055
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 44 of 514




http://nvd.nist.gov/fdcc/index.cfm) and ensure that its computers have and maintain
the latest operating system patch level and anti-virus software level. (Note: FDCC is
applicable to all computing systems using Windows XP™ and Windows Vista™,
including desktops and laptops—regardless of function—but not including servers.)
(b) The Contractor shall apply approved security configurations to information
technology (IT) that is used to process information on behalf of HHS. The following
security configuration requirements apply:
(NOTE: The Contracting Officer shall specify applicable security configuration
requirements in solicitations and contracts based on information provided by the Project
Officer, who shall consult with the OPDIV/STAFFDIV Chief Information Security
Officer.)
(c) The Contractor shall ensure IT applications operated on behalf of HHS are fully
functional and operate correctly on systems configured in accordance with the above
configuration requirements. The Contractor shall use Security Content Automation
Protocol (SCAP)-validated tools with FDCC Scanner capability to ensure its products
operate correctly with FDCC configurations and do not alter FDCC settings – see
http://scap.nist.gov/validation/. The Contractor shall test applicable product versions
with all relevant and current updates and patches installed. The Contractor shall ensure
currently supported versions of information technology products meet the latest FDCC
major version and subsequent major versions.
(d) The Contractor shall ensure IT applications designed for end users run in the
standard user context without requiring elevated administrative privileges.
(e) The Contractor shall ensure hardware and software installation, operation,
maintenance, update, and patching will not alter the configuration settings or
requirements specified above.
(f) The Contractor shall (1) include Federal Information Processing Standard (FIPS)
201-compliant (see http://csrc.nist.gov/publications/fips/fips201-1/FIPS-201-1-
chng1.pdf), Homeland Security Presidential Directive 12 (HSPD-12) card readers with
the purchase of servers, desktops, and laptops; and (2) comply with FAR Subpart 4.13,
Personal Identity Verification.
(g) The Contractor shall ensure that its subcontractors (at all tiers) which perform work
under this contract comply with the requirements contained in this clause.
                                     (End of clause)


51. HHSAR 352.239–72, SECURITY REQUIREMENTS FOR FEDERAL
INFORMATION TECHNOLOGY RESOURCES


(a) Applicability. This clause applies whether the entire contract or order (hereafter
“contract”), or portion thereof, includes information technology resources or services in
which the Contractor has physical or logical (electronic) access to, or operates a



                                          SA038
                                            55
                                                                                               A00056
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 45 of 514




Department of Health and Human Services (HHS) system containing, information that
directly supports HHS’ mission. The term “information technology (IT)”, as used in this
clause, includes computers, ancillary equipment (including imaging peripherals, input,
output, and storage devices necessary for security and surveillance), peripheral
equipment designed to be controlled by the central processing unit of a computer,
software, firmware and similar procedures, services (including support services) and
related resources. This clause does not apply to national security systems as defined in
FISMA.
(b) Contractor responsibilities. The Contractor is responsible for the following:
    (1) Protecting federal information and federal information systems in order to ensure
their—
   (i) Integrity, which means guarding against improper information modification or
destruction, and includes ensuring information non-repudiation and authenticity;
   (ii) Confidentiality, which means preserving authorized restrictions on access and
disclosure, including means for protecting personal privacy and proprietary information;
and.
    (iii) Availability, which means ensuring timely and reliable access to and use of
information.
   (2) Providing security of any Contractor systems, and information contained therein,
connected to an HHS network or operated by the Contractor, regardless of location, on
behalf of HHS.
    (3) Adopting, and implementing, at a minimum, the policies, procedures, controls,
and standards of the HHS Information Security Program to ensure the integrity,
confidentiality, and availability of federal information and federal information systems for
which the Contractor is responsible under this contract or to which it may otherwise
have access under this contract. The HHS Information Security Program is outlined in
the HHS Information Security Program Policy, which is available on the HHS Office of
the Chief Information Officer’s (OCIO) website.
(c) Contractor security deliverables. In accordance with the timeframes specified, the
Contractor shall prepare and submit the following security documents to the Contracting
Officer for review, comment, and acceptance:
   (1) IT Security Plan (IT-SP) – due within 30 days after contract award. The IT-SP
shall be consistent with, and further detail the approach to, IT security contained in the
Contractor’s bid or proposal that resulted in the award of this contract. The IT-SP shall
describe the processes and procedures that the Contractor will follow to ensure
appropriate security of IT resources that are developed, processed, or used under this
contract. If the IT-SP only applies to a portion of the contract, the Contractor shall
specify those parts of the contract to which the IT-SP applies.
       (i) The Contractor’s IT-SP shall comply with applicable federal laws that include,
but are not limited to, the Federal Information Security Management Act (FISMA) of



                                           SA039
                                             56
                                                                                             A00057
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 46 of 514




2002 (PDF) (Title III of the E-Government Act of 2002, Public Law 107-347), and the
following federal and HHS policies and procedures:
          (A) Office of Management and Budget (OMB) Circular A-130, Management
of Federal Information Resources, Appendix III, Security of Federal Automated
Information Resources.
           (B) National Institute of Standards and Technology (NIST) Special
Publication (SP) 800-18 (PDF), Guide for Developing Security Plans for Federal
Information Systems, in form and content, and with any pertinent contract Statement of
Work/Performance Work Statement (SOW/PWS) requirements. The IT-SP shall identify
and document appropriate IT security controls consistent with the sensitivity of the
information and the requirements of Federal Information Processing Standard (FIPS)
200, Recommended Security Controls for Federal Information Systems. The Contractor
shall review and update the IT-SP in accordance with NIST SP 800-26, Security Self-
Assessment Guide for Information Technology Systems and FIPS 200, on an annual
basis.
      (C) HHS-OCIO Information Systems Security and Privacy Policy.
        (ii) After resolution of any comments provided by the Government on the draft IT-
SP, the Contracting Officer shall accept the IT-SP and incorporate the Contractor’s final
version into the contract for Contractor implementation and maintenance. On an annual
basis, the Contractor shall provide to the Contracting Officer verification that the IT-SP
remains valid.
    (2) IT Risk Assessment (IT-RA) – due within 30 days after contract award. The IT-
RA shall be consistent, in form and content, with NIST SP 800-30, Risk Management
Guide for Information Technology Systems, and any additions or augmentations
described in the HHS-OCIO Information Systems Security and Privacy Policy. After
resolution of any comments provided by the Government on the draft IT-RA, the
Contracting Officer shall accept the IT-RA and incorporate the Contractor’s final version
into the contract for Contractor implementation and maintenance. The Contractor shall
update the IT-RA on an annual basis.
    (3) FIPS 199 Standards for Security Categorization of Federal Information and
Information Systems Assessment (FIPS 199 Assessment) – due within 30 days after
contract award. The FIPS 199 Assessment shall be consistent with the cited NIST
standard. After resolution of any comments by the Government on the draft FIPS 199
Assessment, the Contracting Officer shall accept the FIPS 199 Assessment and
incorporate the Contractor’s final version into the contract.
    (4) IT Security Certification and Accreditation (IT-SC&A) – due within 3 months after
contract award. The Contractor shall submit written proof to the Contracting Officer that
an IT-SC&A was performed for applicable information systems – see paragraph (a) of
this clause. The Contractor shall perform the IT-SC&A in accordance with the HHS
Chief Information Security Officer’s Certification and Accreditation Checklist; NIST SP
800-37, Guide for the Security Certification and Accreditation of Federal Information
Systems; and NIST SP 800-53, Recommended Security Controls for Federal



                                         SA040
                                           57
                                                                                              A00058
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 47 of 514




Information Systems. An authorized senior management official shall sign the draft IT-
SC&A and provide it to the Contracting Officer for review, comment, and acceptance.
      (i) After resolution of any comments provided by the Government on the draft IT-
SC&A, the Contracting Officer shall accept the IT-SC&A and incorporate the
Contractor’s final version into the contract as a compliance requirement.
       (ii) The Contractor shall also perform an annual security control assessment and
provide to the Contracting Officer verification that the IT-SC&A remains valid. Evidence
of a valid system accreditation includes written results of (A) annual testing of the
system contingency plan and (B) the performance of security control testing and
evaluation.
(d) Personal identity verification. The Contractor shall identify its employees with access
to systems operated by the Contractor for HHS or connected to HHS systems and
networks. The Contracting Officer’s Technical Representative (COTR) shall identify, for
those identified employees, position sensitivity levels that are commensurate with the
responsibilities and risks associated with their assigned positions. The Contractor shall
comply with the HSPD-12 requirements contained in “HHS-Controlled Facilities and
Information Systems Security” requirements specified in the SOW/PWS of this contract.
(e) Contractor and subcontractor employee training. The Contractor shall ensure that its
employees, and those of its subcontractors, performing under this contract complete
HHS-furnished initial and refresher security and privacy education and awareness
training before being granted access to systems operated by the Contractor on behalf of
HHS or access to HHS systems and networks. The Contractor shall provide
documentation to the COTR evidencing that Contractor employees have completed the
required training.
(f) Government access for IT inspection. The Contractor shall afford the Government
access to the Contractor’s and subcontractors’ facilities, installations, operations,
documentation, databases, and personnel used in performance of this contract to the
extent required to carry out a program of IT inspection (to include vulnerability testing),
investigation, and audit to safeguard against threats and hazards to the integrity,
confidentiality, and availability, of HHS data or to the protection of information systems
operated on behalf of HHS.
(g) Subcontracts. The Contractor shall incorporate the substance of this clause in all
subcontracts that require protection of federal information and federal information
systems as described in paragraph (a) of this clause, including those subcontracts
that—
(1) Have physical or electronic access to HHS' computer systems, networks, or IT
infrastructure; or
   (2) Use information systems to generate, store, process, or exchange data with
HHS or on behalf of HHS, regardless of whether the data resides on a HHS or the
Contractor's information system.




                                           SA041
                                             58
                                                                                                A00059
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 48 of 514




(h) Contractor employment notice. The Contractor shall immediately notify the
Contracting Officer when an employee either begins or terminates employment (or is no
longer assigned to the HHS project under this contract), if that employee has, or had,
access to HHS information systems or data.
(i) Document information. The Contractor shall contact the Contracting Officer for any
documents, information, or forms necessary to comply with the requirements of this
clause.
(j) Contractor responsibilities upon physical completion of the contract. The Contractor
shall return all HHS information and IT resources provided to the Contractor during
contract performance and certify that all HHS information has been purged from
Contractor-owned systems used in contract performance .
(k) Failure to comply. Failure on the part of the Contractor or its subcontractors to
comply with the terms of this clause shall be grounds for the Contracting Officer to
terminate this contract.
                                      (End of clause)


52. HHSAR 352.239–73, ELECTRONIC AND INFORMATION TECHNOLOGY
ACCESSIBILITY.


(a) Section 508 of the Rehabilitation Act of 1973 (29 U.S.C. 794d), as amended by the
Workforce Investment Act of 1998, and the Architectural and Transportation Barriers
Compliance Board Electronic and Information (EIT) Accessibility Standards (36 CFR
Part 1194), require that, unless an exception applies, all EIT products and services
developed, acquired, maintained, or used by any federal department or agency permit—
   (1) Federal employees with disabilities to have access to and use information and
data that is comparable to the access and use of information and data by federal
employees who are not individuals with disabilities; and
   (2) Members of the public with disabilities seeking information or services from a
federal agency to have access to and use of information and data that is comparable to
the access and use of information and data by members of the public who are not
individuals with disabilities.
(b) Accordingly, any vendor submitting a proposal/quotation/bid in response to this
solicitation must demonstrate compliance with the established EIT accessibility
standards. Information about Section 508 is available at http://www.section508.gov/.
The complete text of Section 508 Final Provisions can be accessed at
http://www.access-board.gov/sec508/standards.htm.
(c) The Section 508 accessibility standards applicable to this solicitation are identified in
the Statement of Work/Specification/Performance Work Statement. In order to facilitate
the Government’s evaluation to determine whether EIT products and services proposed
meet applicable Section 508 accessibility standards, offerors must prepare an HHS



                                           SA042
                                             59
                                                                                             A00060
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 49 of 514




Section 508 Product Assessment Template, in accordance with its completion
instructions, and provide a binding statement of conformance. The purpose of the
template is to assist HHS acquisition and program officials in determining that EIT
products and services proposed support applicable Section 508 accessibility standards.
The template allows vendors or developers to self-evaluate their products or services
and document in detail how they do or do not conform to a specific Section 508
accessibility standard. Instructions for preparing the HHS Section 508 Evaluation
Template may be found under Section 508 policy on the HHS Office on Disability
website (http://www.hhs.gov/od/).
(d) Respondents to this solicitation must also provide any additional detailed information
necessary for determining applicable Section 508 accessibility standards conformance,
as well as for documenting EIT products or services that are incidental to the project,
which would constitute an exception to Section 508 requirements. If a vendor claims its
products or services, including EIT deliverables such as electronic documents and
reports, meet applicable Section 508 accessibility standards in its completed HHS
Section 508 Product Assessment Template, and it is later determined by the
Government – i.e., after award of a contract/order, that products or services delivered
do not conform to the described accessibility standards in the Product Assessment
Template, remediation of the products or services to the level of conformance specified
in the vendor’s Product Assessment Template will be the responsibility of the Contractor
and at its expense.
                                    (End of provision)




                                         SA043
                                           60
                                                                                       A00061
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 50 of 514




27.      ACKNOWLEDGEMENT OF RECEIPT

Pursuant to the terms and conditions of Contract GS-XXX-XXXXX and this task order,
HHSM-500-2004-XXXXX, the contractor shall perform the work required in accordance
with the Statement of Work entitled, “Recovery Audit Contractor Demonstration.”

Signature of the Contractor represents acceptance of this task order.



___________________________________________                _____________
Contractor                                                    Date

      NOTE: Only those contract sections that differ from the Umbrella GSA
      contract terms and conditions, or provide more detailed information specific
      to this particular Task Order, are provided below. For those contract sections
      not identified below, all terms and conditions of the Umbrella GSA contract
      remain in effect.




                                        SA044
                                          61
                                                                          A00062
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 51 of 514




Attachment E:     Past Performance Questionnaire

(In a separate Word Document)




                                    SA045
                                      62
                                                                                            A00063
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 52 of 514




                     MSP RAC PAYMENT VOUCHER PROCESS

The MSP RAC will submit a SF-1034 voucher and four (4) copies, along with detailed
supporting documentation of the amount on the voucher in the format as show in the
attached template, to the CMS Accounting Office as prescribed in Section TBD,
Invoicing and Payment. Accounting will forward the vouchers to the CMS Project
Officer and Contracting Officer. The amount on the voucher shall be the amount the
RAC believes is due to them. The amount will be the amount collected for the prior
month (July’s submission will include monies collected from June 1-June 30). The
supporting documentation shall include the beneficiary HIC number, the date
demanded, the date collected, the amount collected and the required contingency fee.
The amount on the voucher shall take into consideration any reduction because of a
high error rate.

The CMS Project Officer will reconcile the amount on the voucher with the attached
supporting documentation. The CMS Project Officer will also reconcile the amount on
the voucher with supporting documentation received from the Electronic
Correspondence Referral System, the Treasury deposit ticket, and the Affiliated
Medicare Contractor. The CMS Project Officer will contact the RAC to resolve
discrepancies and will certify the information is correct only once all discrepancies are
resolved. The CMS Project Officer will forward the certified voucher to the Contracting
Officer for approval. If a discrepancy cannot be resolved within a 14 calendar day time
period, the amount in discrepancy will be suspended and may be billed on a future
voucher once the discrepancy is resolved. This will allow for the timely approval and
payment of the voucher.




                                          SA046
                                            63
                                                                                                    A00064
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 53 of 514




                    Statement of Objectives
           Centers for Medicare & Medicaid Services
           Part D Recovery Audit Contractor (RAC)
1.0 Background
 Title I of the Medicare Prescription Drug, Improvement and Modernization Act of 2003
 (MMA) (P.L. 108-173) was signed into law on December 8, 2003. The MMA established a
 new voluntary outpatient prescription drug benefit under Part D of Title XVIII of the Social
 Security Act (the Act). The prescription drug benefit, referred to as Medicare Part D, as well
 as an employer subsidy for qualified retiree health plans, began on January 1, 2006. Coverage
 for the drug benefit will be provided by private prescription drug plans (PDPs) that offer drug-
 only coverage or through Medicare Advantage (MA) plans that offer both prescription drug
 and health care coverage (known as MA-PD plans). These plans must offer a standard drug
 benefit, but will have the flexibility to vary the drug benefit within certain parameters. The
 Centers for Medicare & Medicaid Services (CMS) has identified 26 MA Regions and 34 PDP
 Regions, not including territories, each of which is its own PDP region.
 Section 6411(b) of the Affordable Care Act expanded the use of the statutory 1893 Recovery
 Audit Contract provisions to utilize RACs under the Medicare Integrity Program to identify
 underpayments and overpayments and recoup overpayments under the Medicare program
 associated with medications for which payment is made under Part D of Title XVIII of the
 Social Security Act. The effective date for this provision is December 31, 2010.

 To gain additional knowledge, potential bidders may research the following documents:

 •    The Debt Collection Improvement Act of 1996
 •    The Federal Claims Collection Act, as amended and related regulations found in 42 CFR;
 •    CMS Financial Report
      http://www.cms.gov/CFOReport/Downloads/2009_CMS_Financial_Report.pdf
 •    The Medicare Prescription Drug Benefit Manual:
      http://www.cms.gov/Manuals/IOM/itemdetail.asp?filterType=none&filterByDID=-
      99&sortByDID=1&sortOrder=ascending&itemID=CMS050485&intNumPerPage=10
 •    Part D Claims Data:
      http://www.cms.gov/PrescriptionDrugCovGenIn/08_PartDData.asp#TopOfPage
 •    Part D Program Analysis:
      http://www.cms.gov/PrescriptionDrugCovGenIn/09_ProgramReports.asp#TopOfPage
 •    Part D Regulations:
      http://www.cms.gov/PrescriptionDrugCovGenIn/PDR/list.asp#TopOfPage
 •    Plan Communication Guide:
      http://www.cms.gov/MAPDHelpDesk/02_Plan_Communications_User_Guide.asp
  •   Part D Reporting Requirements:
      http://www.cms.gov/PrescriptionDrugCovContra/08_RxContracting_ReportingOversight
      .asp



                                            SA047
                                              64
                                                                                                   A00065
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 54 of 514




2.0 Overall Objectives
 The RAC for the Medicare Part D Program mission is to reduce Medicare improper payments
 through the efficient detection and collection of overpayments, the identification of
 underpayments, and the implementation of actions that will prevent future improper
 payments.


3.0 Purpose
 The purpose of this contract is to obtain contractor support for the Centers for Medicare &
 Medicaid Services (CMS) in the identification of improper payments and the recoupment of
 overpayments in Medicare Part D. The Part D RAC will be responsible for identification and
 recovery of improper payments on a national scale. The Part D RAC will be paid only from
 amounts recovered and on a contingent basis consistent with Section 1893(h)(1) of the Social
 Security Act. Throughout this document the term “improper payment” is used to refer
 collectively to overpayments and underpayments.

4.0 Contract Objectives
 The contractor shall identify and recover improper payments made under Medicare Part D.
 Independently, and not as an agent of the Government, the Contractor shall furnish all the
 necessary services, qualified personnel, material, equipment, and facilities, not otherwise
 provided by the Government, as needed to meet the objectives below:

 4.1 – METHODOLOGY: Establish and follow a methodology for identifying Medicare
 improper payments under Part D of Title XVIII of the Social Security Act.

      4.1.1 Develop innovative methodologies to determine Part D improper payments utilizing
 resources such as the Office of Inspector General and Government Accountability Office
 reports, the Part D reporting requirements as described at the CMS.gov Prescription Drug
 Coverage Contracting webpage (see web address above) and the Part D error rate information
 in the annual CFO reports. The methodology shall be efficient and maximize recoveries as
 well as meet all regulatory and security requirements. The methodology should include a
 detailed description of data sources, scope of analysis, anticipated outcomes, and analysis
 time frame.

       4.1.2 Develop methodologies and techniques, such as data analysis tools, to identify and
 /or target areas most likely to contain improper payments tools associated with each type of
 data identified. A specific Part D claim may not be targeted solely because it is a high dollar
 claim, but a claim may be targeted if it contains other information that leads the RAC to
 believe it is likely to contain an improper payment. Attempting to identify improper payments
 arising from any program other than Part D; this includes Medicare Advantage, and the
 Medicare Fee-For-Service program is strictly prohibited.




                                           SA048
                                             65
                                                                                                   A00066
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 55 of 514




     4.1.3 The RAC shall develop a recovery methodology for investigating Direct and
Indirect Remuneration (DIR) under the Medicare Part D program. Identify and investigate
sources of underreported and/or unreported DIR, which may include:

 •    DIR amounts retained by PBM’s and not reported by Plan Sponsors.

 •    Price concessions received by manufacturers and not reported by Plan Sponsors.

 •    Any other source constituting DIR.

     4.1.4 CMS plans to establish an oversight board to govern the Part D RAC. Develop a
plan/process for interacting with the board; the interaction will require presenting issues, and
proposing future action(s). New approaches or changes in approaches developed after
contract award shall require preapproval by CMS.

4.2 - DATA STORE. In order to meet the objective of ensuring the RAC and entities, such
as, Medicare audit contractors or law enforcement, are not simultaneously working on the
same payment data, CMS will establish a Data Storage System to support recovery audits for
Medicare Part D. The Data Storage System shall be used by the RAC for the identification of
payment information. The Data Storage System will include a master table of data with action
specific identifiers.
   4.2.1 Establish a methodology to securely transmit and interface with the Data Storage
System. The methodology shall also provide for updating the master table. [Securely transmit
means sent in accordance with the CMS business systems security manual – e.g., mailed CD,
MDCN line, through a clearinghouse.] Consideration should be made for the inclusion of
various types and sources of data. Provide technical parameters such as potential size,
housing (e.g. web-based), and access limitations.

4.3 - COMMUNICATIONS. Establish a communication plan for Part D Sponsor outreach
and education. The plan shall ensure that processes and procedures are in place to notify Plan
Sponsors of the RAC’s purpose and direction.

4.4 – APPEALS. CMS anticipates an appeals process requirement once the Part D RAC is
operational. Establish an appeals assistance process for any RAC-identified improper
payment that is appealed by the Sponsor, and any subsequent support required by CMS
throughout the process, including Federal Court cases.
4.5 – ANNUAL REPORT. CMS is required to submit an annual report to Congress on the
use of RACs. Develop an approach for providing input to this report.

4.6 – ADMINISTRATION. Develop an overall project plan, implementation schedule(s),
organizational charts, and monthly reports that account for all work accomplished during the
previous month. Monthly reports shall include, at a minimum, vulnerability reports, progress
reports and financial reports. The project plan shall include methodologies for responding to
CMS requests for input.




                                           SA049
                                             66
                                                                                                      A00067
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 56 of 514




5.0 Schedule of Deliverables. Establish a schedule of deliverables necessary to meet
the objectives listed above as well as program initiatives. The deliverables schedule below is
provided as a template only and may be revised/tailored to correspond with the performance
work statement.


Deliverable                                        Schedule
Kick-Off Meeting                                   14 days post contract award date or earlier
Base Year Project Plan                             14 days post contract award date
Annual Report Input                                TBD
Implementation Schedule                            14 days post contract award date
Organizational Charts                              14 days post contract award date
Monthly Vulnerability Report                       TBD
Monthly Progress Report                            TBD
Monthly Financial Report                           TBD



6.0 Constraints and Assumptions
6.1     Information Security. The Part D RAC shall be required to comply with system
security guidelines. Information regarding system security requirements is available at the
following links:
http://www.cms.gov/manuals/downloads/117_systems_security.pdf
http://www.cms.gov/InformationSecurity/01_Overview.asp#TopOfPage.

The Federal Information Security Management Act of 2002 (P.L. 107-347) (FISMA) requires
each agency to develop, document, and implement an agency-wide information security program
to safeguard information and information systems that support the operations and assets of the
agency, including those provided or managed by another agency, contractor (including
subcontractor), or other source on behalf of an agency. That is, agency information security
programs apply to all organizations (sources) which possess or use Federal information – or
which operate, use, or have access to Federal information systems (whether automated or
manual) – on behalf of a Federal agency. This includes services which are either fully or partially
provided; including other agency hosted, outsourced, and cloud computing solutions. The
Centers for Medicare & Medicaid Services (CMS) and the National Institute of Standards and
Technology (NIST) have issued a number of publications that provide guidance in the
establishment of minimum security controls for management, operational and technical
safeguards needed to protect the confidentiality, integrity and availability of a CMS system and
its information.
If the Statement of Objectives (SOO) requires the successful offeror to (1) process, (2) store, (3)
facilitate transport of, or (4) host/maintain Federal information; pursuant to Federal, HHS, and
CMS Information Security Program Policies the following requirements apply:




                                              SA050
                                                67
                                                                                                       A00068
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 57 of 514




INFORMATION SECURITY RESPONSIBILITIES

The Contractor/Subcontractor shall appoint a Systems Security Officer (SSO) as a full-time
position to oversee its compliance with the CMS security requirements.
The offeror shall include in the “Information Security” portion of its Technical Proposal the
name, title, and professional credentials of its official who shall be responsible for all
information security requirements should the offeror be selected for an award. Those
responsibilities shall include implementation and oversight of the following:

   6.1.1     System Security Level

For solicitations requiring the Contractor/Subcontract to (1) process, (2) store, (3) facilitate
transport of, or (4) host/maintain Federal information, either at the Contractor/Subcontractor site,
or at a Federal hosting facility, the offeror shall develop appropriate security controls for CMS
security requirements (located on the CMS Information Security “Virtual Handbook” Web site
at: http://www.cms.gov/InformationSecurity) in accordance with the below-listed parameters:
       (a)      Information Type (as defined on the CMS Information Security “Virtual
                Handbook” Web site at: http://www.cms.gov/InformationSecurity).
       (b)      Systems Security Level (Low, Moderate, or High as defined on the CMS
                Information Security “Virtual Handbook” Web site at:
                http://www.cms.gov/InformationSecurity).
       (c)      E-Authentication level (Level 1, 2, 3, 4, or N/A as applicable by NIST 800-53
                controls IA-2 and IA-8 and as defined on the CMS Information Security “Virtual
                Handbook” Web site at: http://www.cms.gov/InformationSecurity).
The offeror must coordinate with CMS to develop and/or clarify the above listed criteria within
30 days of contract award or when a major modification has been made to its internal system, as
defined by the CMS CISO.

   6.1.2     Security Services

The Contractor/Subcontractor shall provide security services in support of CMS, which shall
include coordination among the CMS CISO, business owners, and other stakeholders. The sites
and related infrastructure services shall have policies and procedures and implement controls or
plans that fulfill the CMS Information Security Policy requirements, including all applicable
CMS standards and procedures. The collection of CMS policies, procedures, standards, and
guidelines are located on the CMS Information Security “Virtual Handbook” Web site at:
http://www.cms.gov/InformationSecurity.

   6.1.3     Tracking and Correcting Security Deficiencies

The Contractor/Subcontractor shall track and correct any applicable security deficiencies,
conditions, weaknesses, findings, and gaps identified by audits, reviews, Security Assessments,
and tests, including those identified in Chief Financial Officer (CFO) Audits, FISMA Audits,
Statement on Auditing Standards (SAS) 70 reviews, MMA Section 912 evaluations and tests,



                                              SA051
                                                68
                                                                                                       A00069
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 58 of 514




Inspector General Audits, A-123 audits, other applicable reviews and audits, and CMS Security
Operations Center (SOC) continuous monitoring activities such as, but not limited to,
vulnerability and compliance scanning of all the CMS information systems, in a timely manner.

   6.1.4   Incident Response

A security incident is a violation, or an imminent threat of a violation, of an explicit or implied
security policy, acceptable use policies, or standard security practices. While certain adverse
events, (e.g., floods, fires, electrical outages, and excessive heat) can cause system crashes, they
are not considered computer-security incidents. A security incident becomes a breach when the
incident involves the suspected or actual loss of personally identifiable information. CMS
information and information system security related incidents should be reported using the
Computer Security Incident Report (CSIR) form. Incidents that concern PII should be reported
using the CSIR form set forth in the CMS Incident Handling procedures available at the CMS
Information Security “Virtual Handbook” Web site at: http://www.cms.gov/InformationSecurity

   6.1.5   Information Security Awareness Training

CMS policy requires Contractors/Subcontractors receive security training commensurate with
their responsibilities for performing work under the terms and conditions of their contractual
agreements.
Contractor shall retain the results of security awareness and role-based information security
technical training. CMS requires basic security awareness training for employees and
contractors that support the operation of the Contractor/Subcontractor system. CMS requires
information security technical training to information system security roles. Training shall be
consistent with the requirements contained in C.F.R. Part 5 Subpart C (5 C.F.R. 930.301) and
conducted at least annually.

   6.1.6   Privacy Documentation

Contractor shall be responsible for coordinating with the CMS Privacy Office
(http://www.cms.gov/PrivacyOffice/) in preparing and maintaining current all documentation
including but not limited to System of Records Notification (SORN) and Privacy Impact
Assessments (PIA) which directly and indirectly relating to its program(s) designed to ensure the
confidentiality, integrity, and availability of Federal Information and Federal Information
System, and its assets that enable its possession or control.

   6.1.7   System Authorization and Assessment

The implementation of a Federal Government IT system requires a formal Government
Authorization to Operate (ATO), formerly certification and accreditation, of infrastructure
systems and/or all application systems developed, hosted and/or maintained on behalf of CMS.
NIST Special Publication 800-37, (hereafter described as NIST 800-37) and CMS procedures
(located on the CMS Information Security “Virtual Handbook” Web site at:
http://www.cms.gov/InformationSecurity) give guidelines for performing the system ATO
process. The system/application must have a valid ATO (conveyed through the CMS CIO



                                              SA052
                                                69
                                                                                                   A00070
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 59 of 514




authorization decision process) before going into operation and processing CMS information.
The failure to obtain and maintain a valid ATO may be grounds for termination of the contract.
1) The Contractor shall comply with Authorization to Operate (ATO) requirements as mandated
   by Federal laws and policies, including making available any documentation, physical
   access, and logical access needed to support this requirement. The Level of Effort for the
   ATO is based on the System’s NIST Federal Information Processing Standard (FIPS)
   Publication 199 categorization and CMS procedures (located on the CMS Information
   Security “Virtual Handbook” Web site at: http://www.cms.gov/InformationSecurity). The
   contractor shall coordinate with the CMS business owner to create, maintain and update all
   applicable ATO documentation as defined by CMS Information Security procedures.
2) At the Moderate and High impact levels, all CMS systems and infrastructures must obtain an
   independent Security Assessment in accordance with CMS procedures (located on the CMS
   Information Security “Virtual Handbook” Web site at:
   http://www.cms.gov/InformationSecurity). The Contractor shall allow CMS employees (or
   CMS designated third-party contractors) to conduct Security Assessment activities to include
   control reviews in accordance with NIST 800-53/NIST 800-53A and CMS procedures
   (located on the CMS Information Security “Virtual Handbook” Web site at:
   http://www.cms.gov/InformationSecurity). This includes the general support system
   infrastructure.
3) Identified gaps between required controls and the Contractor’s implementation as
   documented in the Security Assessment report shall be tracked for mitigation in a Plan of
   Action and Milestones (POA&M) document completed in accordance with CMS procedures
   (located on the CMS Information Security “Virtual Handbook” Web site at:
   http://www.cms.gov/InformationSecurity). Depending on the severity of the gaps, the
   Government may require them to be remediated before an Authorization to Operate is issued.
4) The Contractor shall be responsible for mitigating all applicable security risks found during
   the ATO process and continuous monitoring activities. All high-risk vulnerabilities must be
   mitigated within 30 days and all moderate risk vulnerabilities must be mitigated within 90
   days from the date vulnerabilities are formally identified. The Government will determine
   the risk rating of vulnerabilities.

   6.1.8   Continuous Monitoring

CMS has the right to perform manual or automated audits, scans, reviews, or other inspections of
the Contractor’s/Subcontractor’s IT environment being used to provide or facilitate services for
CMS in support of the Federal requirements to perform continuous monitoring.
Automated scans can be performed by Government personnel, or agents acting on behalf of the
Government, using Government operated equipment, and Government specified tools.
CMS established a centralized Security Operations Center (SOC) to provide a robust enterprise
continuous monitoring program to improve situational awareness and provide near real-time risk
management. The SOC provides information security oversight and monitoring of security
events across all information systems that support the operations and assets of CMS, and will
notify the appropriate security operations staff of potentially malicious traffic.




                                            SA053
                                              70
                                                                                                      A00071
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 60 of 514




In addition to the requirements to meet all of the CMS Information Security requirements
documented in the http://www.cms.gov/InformationSecurity Web site, the
Contractor/Subcontractor shall work closely with the SOC to undertake security related activities
including but not limited to the following:
1) Contractor/Subcontractor shall be responsible for supporting the CMS continuous monitoring
   program by providing automated data feeds to the SOC as required by the CMS CISO. The
   SOC will supplement this by conducting independent oversight continuous monitoring
   activities such as, but not limited to, vulnerability and compliance scanning as well as other
   network monitoring related activities of all the CMS information systems.
2) Contractor/Subcontractor shall provide updated network architecture, IP address ranges, and
   security points of contact information for the systems they operate on behalf of CMS to the
   SOC on a quarterly basis (Jan 1, April 1, July 1, and Oct 1).
3) Contractor/Subcontractor shall maintain and provide changes to the system accounts needed
   for the SOC credentialed scanning two weeks before the passwords expire or when other
   changes to the accounts are needed.
4) Contractor/Subcontractor shall provide rack space, cabling, connectivity, and appropriate
   environmental support for SOC-managed systems/appliances as required by the CMS CISO.

      6.1.9 Federal Desktop Core Configuration (as applicable)

The Contractor shall certify applications are fully functional and operate correctly as intended on
systems using the Federal Desktop Core Configuration (FDCC). This includes Internet Explorer
7 configured to operate on Windows. The standard installation, operation, maintenance, updates,
and/or patching of software shall not alter the configuration settings from the approved FDCC
configuration. The information technology should also use the Windows Installer Service for
installation to the default “program files” directory and should be able to silently install and
uninstall. Applications designed for normal end users shall run in the standard user context
without elevated system administration privileges. The contractor shall use Security Content
Automation Protocol (SCAP) validated tools with FDCC Scanner capability to certify their
products operate correctly with FDCC configurations and do not alter FDCC settings.
Deviations must be approved by the CMS CISO.

      6.1.10 Security Planning

If the Statement of Objectives (SOO) requires the successful offeror to develop, host and/or
maintain a Federal information system(s), the following requirements apply:
(1)      Draft Information System Security Plan - The offeror shall include a draft System
         Security Plan (SSP) using the current template available at the CMS Information Security
         “Virtual Handbook” Web site at: http://www.cms.gov/InformationSecurity. The details
         contained in the offeror’s draft SSP shall be commensurate with the size and complexity
         of the requirements of the SOW based on the System Categorization determined
         elsewhere in the document.
(2)      Subcontracts: The offeror shall include similar information for any proposed
         subcontractor that shall perform under the SOW with the offeror whenever the
         submission of an SSP is required.



                                              SA054
                                                71
                                                                                                       A00072
          Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 61 of 514




(3)       Note to Offerer: The resultant contract shall require the draft SSP to be finalized in
          coordination with the Project Officer no later than 90 calendar days after contract award.
          Also, a contractor shall be required to update and resubmit its SSP to CMS every three
          years (at a minimum) following award or when a major modification has been made to its
          internal system, as defined by the CMS CISO.

REQUIRED POLICIES AND REGULATIONS

The CMS Information Technology (IT) Security program was developed in accordance with
applicable Federal mandates and CMS requirements for the handling and processing of CMS’
information and information systems. The CMS Information Security Web site at
http://www.cms.gov/InformationSecurity provides a list of applicable security policies and
procedures across the program. Some applicable references are provided below:

      •   CMS Policy for information Security (As amended) – The high level CMS policy for the
          CMS Information Security Program.
      •   CMS Policy for the Information Security Program (PISP) (As amended) - Sets the
          ground rules under which CMS shall operate and safeguard its information and
          information systems to reduce the risk and minimize the effect of security incidents. This
          document will subsequently reference Contractors/Subcontractors applicable CMS
          security Standards and procedure.
      •   CMS Policy for Investment Management and Governance (As amended) - Establishes the
          policy for systematic review, selection/reselection, implementation/control, and continual
          evaluation of IT investments at CMS.
Contractors/Subcontractors are also required to comply with Federal Information Processing
Standards (FIPS), the “Special Publications 800 series” guidelines published by NIST and other
Government-wide laws and regulations for protection and security of CMS Information and
information technology:

      •   Federal Information Security Management Act (FISMA) of 2002.
      •   HIPAA, 1996, P.L. 104-191
      •   Medicare Modernization Act of 2003, P.L. 108-173
      •   American Recovery and Reinvestment Act of 2009
      •   Health Information Technology for Economic and Clinical Health (HITECH) Act (part of
          the American Recovery and Reinvestment Act of 2009)
      •   Clinger-Cohen Act of 1996 also known as the “Information Technology Management
          Reform Act of 1996.”
      •   Privacy Act of 1974 (5 U.S.C. § 552a).
      •   Homeland Security Presidential Directive (HSPD-12), “Policy for a Common
          Identification Standard for Federal Employees and Contractors” (as amended).
      •   Office of Management and Budget (OMB) Circular A-130, “Management of Federal
          Information Resources”, and Appendix III, “Security of Federal Automated Information
          Systems” (as amended).
      •   OMB Memorandum M-04-04, “E-Authentication Guidance for Federal Agencies.”




                                               SA055
                                                 72
                                                                                                      A00073
       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 62 of 514




   •   FIPS PUB 199, “Standards for Security Categorization of Federal Information and
       Information Systems.”
   •   FIPS PUB 200, “Minimum Security Requirements for Federal Information and
       Information Systems” (as amended).
   •   FIPS PUB 140-2, “Security Requirements for Cryptographic Modules”
   •   NIST Special Publication 800-18 (as amended), “Guide for Developing Security Plans
       for Federal Information Systems.”
   •   NIST Special Publication 800-30 (as amended), “Risk Management Guide for
       Information Technology Security Risk Assessment Procedures for Information
       Technology Systems.”
   •   NIST Special Publication 800-34 (as amended), “Contingency Planning Guide for
       Information Technology Systems.”
   •   NIST SP 800-37, (as amended), “Guide for the Security Certification and Accreditation
       of Federal Information Systems.”
   •   NIST Special Publication 800-47 (as amended), “Security Guide for Interconnecting
       Information Technology Systems.”
   •   NIST Special Publication 800-53 (as amended), “Recommended Security Controls for
       Federal Information Systems.”
   •   NIST Special Publication 800-53A (as amended), “Guide for Assessing the Security
       Controls in Federal Information Systems.”
Additional CMS documents were used as references in the development of this manual. The
CMS Information Security “Virtual Handbook” Web site at
http://www.cms.gov/InformationSecurity provides a list of additional applicable documents
across the Information Security program.
6.2    Data Use Agreement. A data use agreement will be required for the execution of this
work.
http://www.cms.gov/PrivProtectedData/01_Overview.asp#TopOfPage

6.3     Conflict of Interest. Real, perceived, or potential significant Conflicts of Interests
arising as a result of an entity performing as the RAC for Medicare Part D shall be
avoided, neutralized or mitigated to prevent an unfair competitive advantage or the
existence of conflicting roles that might impair a contractor’s objectivity. Establish a process
for ensuring conflicts of interests are avoided, neutralized or mitigated. Additionally the process
shall include a methodology for determining if an organizational conflict of interest exists with
subcontractors and in subcontracts and for ensuring that the subcontractor has mitigated any
conflict or potential conflict prior to the award of any subcontract for furnishing supplies or
services under the prime contract.
6.4     Background Investigation. Contractor personnel performing services for CMS under
this contract shall be required to undergo a background investigation. CMS will initiate and pay
for any required background investigation(s). (See clause included in task order template).
6.5    Payment Methodology. Assume payment will be made after validation of recoveries and
in accordance with the terms and conditions of the GSA Schedule Contract and RAC Part D
Task order.



                                              SA056
                                                73
                                                                                                 A00074
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 63 of 514




Assume the agreed to contingency fee may be reduced if a recovery is the result of an external
referral, e.g. CMS audit findings. Reference Payment Methodology provided in task order
template.




                                             SA057
                                               74
                                                                                                 A00075
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 64 of 514




Attachment D—Sample Task Order Terms and Conditions

1.     TASK ORDER SUPPORT:

This task order is issued under General Services Administration (GSA) Contract
Number GS-XXX-XXXXX to perform the work required in accordance with the attached
performance work statement (PWS) and deliverable schedule entitled, “Medicare Part D
Recovery Audit Contractor.” . This task order shall be performed in accordance with
the terms and conditions of the GSA contract under the FABS Schedule and the terms
and conditions contained herein. Only those contract sections, which differ from the
GSA schedule contract terms and conditions, or provide more detailed information
specific to this particular task order, are provided below. For those contract sections not
identified below, all terms and conditions of the GSA contract remain in effect.

2.     TYPE OF TASK ORDER:

This is a Firm-Fixed Price Contingency Fee task order. The Contingency Fee is to be
determined (TBD) %.

3.     PERIOD OF PERFORMANCE

The 12 month base period of the task order is from TBD to TBD. The task order also
includes four (4) 12-month optional periods. No contingency fees shall be paid after the
end of the period of performance.

4.     TASK ORDER PRICE SUMMARY

All payments shall be paid only on a contingency basis. The recovery audit contractor
will receive ____% of all amounts collected. The contingency fees shall be paid once
the recovery audit contractor collects the Medicare overpayments. The recovery audit
contractor shall be paid a percentage of the amount that is collected through their
recovery efforts. The recovery audit contractor shall not receive any payments for the
identification of the underpayments or overpayments not recovered/collected. The
recovery audit contractor shall submit vouchers on a monthly basis (see Attachment 2)
with supporting documentation of the recovery. Once verified, CMS shall pay the
voucher pursuant to the Prompt Payment Provisions.

If the provider files an appeal disputing the overpayment determination and the appeal
is adjudicated in the provider’s favor at the first level, the recovery audit contractor shall
repay Medicare the contingency payment for that recovery. If the appeal is adjudicated
in the agency’s favor at the first level, the recovery audit contractor shall retain the
contingency payment for that recovery. Subsequent appeals, after the first level of
appeal, will not affect the recovery audit contractor’s ability to retain the contingency
payment.




                                            SA058
                                              75
                                                                                                      A00076
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 65 of 514




5.       OMB A-130 INFORMATION RESOURCE POLICY

Each RAC is required to follow the established comprehensive approach to improve the
acquisition and management of their information resources in accordance with this OMB
Circular. This circular is issued pursuant to the Paperwork Reduction Act (PRA) of
1980, as amended by the PRA of 1995, the Clinger-Cohen Act of 1996, et al. The PRA
establishes a broad mandate to perform information resources management activities in
an efficient, effective, and economical manner.

6.1      HHSAR 352.242-70 Key personnel Key Personnel (January 2006)

The key personnel specified in this contract are considered to be essential to work performance.
At least 30 days prior to diverting any of the specified individuals to other programs or contracts
(or as soon as possible, if an individual must be replaced, for example, as a result of leaving the
employ of the Contractor), the Contractor shall notify the Contracting Officer and shall submit
comprehensive justification for the diversion or replacement request (including proposed
substitutions for key personnel) to permit evaluation by the Government of the impact on
performance under this contract. The Contractor shall not divert or otherwise replace any key
personnel without the written consent of the Contracting Officer. The Government may modify
the contract to add or delete key personnel at the request of the contractor or Government.

(End of clause)

6.2 The following are designated Key Personnel Positions



         Position TBD (Name TBD, Phone TBD, Email Address TBD)


7.       SUBCONTRACT CONSENT

To facilitate the review of a proposed subcontract by the Contracting Officer Technical
Representative and the Contracting Officer, the Contractor shall submit the information
required by the FAR clause 52.244-2 entitled, SUBCONTRACTS, to the COTR who
shall in turn forward the information with his/her recommendation to the Contracting
Officer. The Contracting Officer shall review the request for subcontract approval and
the COTR’s recommendation and advise the Contractor of his/her decision to consent
to or dissent from the proposed subcontract, in writing. Consent is hereby given to
issue the following subcontract(s):

                TBD

      1. In accordance with the Health and Human Services Supplemental Acquisition Regulation
         (HHSAR) and FAR 52.202–1(a)(1), substitute the following as paragraph (a) of 52.202-
         1(a)(1) with :



                                              SA059
                                                76
                                                                                                        A00077
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 66 of 514




       “(a) The term “Secretary” or “Head of the Agency” (also called “Agency Head”) means
       the Secretary, Deputy Secretary, or any Assistant Secretary, Administrator or
       Commissioner of the Department of Health and Human Services; and the term “his/her
       duly authorized representative” means any person, persons, or board authorized to act for
       the Secretary.”


       Add the following paragraph ‘h’ to 52.202-1

“(h) The term “Contracting Officer's Technical Representative” means the person who monitors
the technical aspects of contract performance. The Contracting Officer's Technical
Representative is not authorized to issue any instructions or directions which cause any increase
or decrease in the Statement of Work/Performance Work Statement/Specifications which would
result in the increase or decrease in the price of this contract, or changes in the delivery schedule
or period of performance of this contract. If applicable, the Contracting Officer's Technical
Representative is not authorized to receive or act upon any notification or revised cost estimate
provided by the Contractor in accordance with the Limitation of Cost or Limitation of Funds
clauses of this contract.”

8.     Contracting Officer’s Technical Representative (COTR) and/CONTRACT
       SPECIALIST:

TBD is designated as the COTR for this order. TBD address is:

               Centers for Medicare and Medicaid Services
               7500 Security Blvd.
               ATTN:
               Mailstop:
               Baltimore, MD 21244-1850
               (410) 786-

All technical correspondence should be directed to the COTR with a copy to the
Contract Specialist.

The responsibilities and duties of the COTR include:

       a) Provide technical direction as needed to the contractor as long as the terms
          and conditions of the contract are not changed.
       b) Monitor contractor’s ongoing efforts.
       c) Serve as liaison between the contractor, Project Officer and project team.
       d) Review deliverables and advise Contracting Officer of the contractor’s
          performance.
       e) Advise the Contracting Officer on the contractor’s compliance with technical
          performance requirements.
       f) Ensures that the contractor input and/or recommendations are considered by
          CMS project management.




                                               SA060
                                                 77
                                                                                              A00078
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 67 of 514




The Contract Specialist for this task order is Ms. Jessica Sanders. Her address is:

                Centers for Medicare and Medicaid Services
                7500 Security Blvd.
                ATTN: Ms. Jessica Sanders
                Mailstop: C2-21-15
                Baltimore, MD 21244-1850
                (410) 786-1076

The Contracting Officer for this task order is Ms. Debra Stidham. Her address is:

                Centers for Medicare and Medicaid Services
                7500 Security Blvd.
                ATTN: Ms. Debra Stidham
                Mailstop: C2-21-15
                Baltimore, MD 21244-1850
                (410) 786-5129

9.       CONFIDENTIALITY

As a result of this task order, the GSA Schedule Contractor may have access to
confidential information (i.e., information considered proprietary as well as information
that may fall under the Privacy Act). The GSA Schedule Contractor shall not disclose
any such information or findings to any parties other than the Project Officer and staff
assigned to this effort. Appropriate administrative, technical, procedural and physical
safeguards shall be established by the GSA Schedule Contractor to protect the
confidentiality of the data and to prevent unauthorized access to such data.

10.      DESIGNATION OF PROPERTY ADMINSTRATOR AND PROPERTY
         ADMINISTRATION

      a. The CMS Property Administrator, Administrative Services Group, Office of
         Property and Space Management at (410) 786-3346, is hereby designated the
         property administration function for this contract. The Contractor agrees to
         furnish information regarding Government Property to the Property Administrator
         in the manner and to the extent required by the Property Administrator, his duly
         designated successors, and in accordance with FAR Part 45 and DHHS Manual
         entitled, Contractor’s Guide for Control of Government Property (1990).

      b. The contractor is responsible for an annual physical inventory accounting for all
         Government property under this contract. The inventory must be conducted by
         September 30th and the form 565, Report of Accountable Personal Property (J-
         15) submitted by October 31st of each year.

      c. The inventory report shall include all items acquired, furnished, rented or leased
         under the contract. Employees who conduct the inventories should not be the




                                            SA061
                                              78
                                                                                                A00079
            Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 68 of 514




            same individuals who maintain the property records. Following the physical
            inventory, the contractor shall prepare an inventory report and submit the report
            to the CMS Property Administrator at the following address:

                         Centers for Medicare & Medicaid Services
                         OICS, Administrative Services Group
                         Division of Property and Space management
                         7500 Security Blvd., Mailstop: SLL-14-06
                         Baltimore, MD 21244-1850

      d. Commercially leased software is subject to these reporting requirements.

      e. The RAC shall submit a consolidated report of all accountable Government
         property under this contract, including subcontractor inventory information.

      f. The final inventory report shall indicate that all items required for continued
         contract performance are acceptable and free from contamination. Property that
         is no longer usable or required shall be reported and disposition requested.

11.         INVOICING AND PAYMENT

Invoicing and Payment

a. Submission of Invoices and Place of Payment

      (i)      No more than once each month following the effective date of this contract,
               the Contractor may submit to the Government an invoice (or public voucher)
               for payment, in accordance with FAR Clause 52.216-7 "Allowable Cost &
               Payment." Invoices shall be prepared in accordance with this contract. All
               invoices shall be reconciled against the RAC Database (40700NMSPB) or
               other documentation as appropriate to ensure collection has been made and
               funds recouped deposited prior to any invoice being paid.

      (ii) To expedite payment, invoices shall be sent, as follows:

                  Monthly invoices (original and four copies) shall be sent directly to the
                  address below (where applicable, the Contractor shall submit the invoice
                  to said office via the cognizant government auditor):

                  Department of Health and Human Services
                  Centers for Medicare & Medicaid Services
                  P.O. BOX 7520
                  7500 Security Boulevard
                  Baltimore, Maryland 21207-0520

      (iii) Content of Invoice (If Applicable):




                                                  SA062
                                                    79
                                                                                             A00080
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 69 of 514




               Contractor's name and invoice date;
               Contract number of other authorization for delivery of
                property and/or services;
               Description, cost or price, and quantity of property
                 and/or services actually delivered or rendered;
               Shipping and payment terms;
               Other substantiating documentation or information as
                required by the contract; and
               Name (where practicable), title, phone number, and complete
                mailing address of responsible official to whom payment is
                to be sent.

b. Invoice Payment

   (i)    In accordance with FAR 52.232-33, the Centers for Medicare and Medicaid
          Services (CMS) shall only make an electronic reimbursement/payment.

          In accordance with FAR 52.204-7, the contractor must register in the Central
          Contractor Registration (CCR) database. Failure to register in CCR may prohibit
          CMS from making awards to your organization.

         The contractor shall notify CMS’ Division of Accounting Operations of all EFT and
         address changes in CCR via the following email address:
         CCRChanges@cms.hhs.gov

   (ii) The target date for payment pursuant to the provision of FAR Clause, 52.216-7
        “Allowable Cost and Payment” of this contract shall be 30 calendar days after an
        invoice containing the information set forth in Paragraph “a” of this article is
        received in the7 payment office designated herein.

   (iii) Upon receipt of the Contractor’s “completion invoice” in the payment office
        designated in Paragraph “a” of this article, payment of any remaining cost and
        fee determined to be allowable pursuant to the provisions of FAR Clause,
        52.216-7 “Allowable Cost and Payment” of this contract shall be due 30 calendar
        days after the Contracting Officer approves the “completion invoice” for payment.

   (iv) Payment shall be authorized after the Division of Accounting has audited the
       invoice in accordance with Federal Regulations. This audit includes verification
       that the invoice contains the rates/unit prices, those indicated in the contract or
       purchase order. Any discrepancies determined as a result of the audit, could
       delay the processing of the invoice and may result in the invoice being returned
       to the vendor for correction. Inquiries relating to payments should be directed to
       Jean Katzen on (410) 786-5423 or Suzanne Turgeon on (410) 786-1924.




                                           SA063
                                             80
                                                                                             A00081
           Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 70 of 514




      c. See Attachment 2 for additional information on the MSP RAC Payment Voucher
         Process.

12.        PAYMENT BY ELECTRONIC FUNDS TRANSFER - CENTRAL CONTRACTOR
           REGISTRATION

      a. Method of payment. (1) All payments by the Government under this contract shall
         be made by electronic funds transfer (EFT), except as provided in paragraph
         (a)(2) of this clause. As used in this clause, the term “EFT” refers to the funds
         transfer and may also include the payment information transfer. (2) In the event
         the Government is unable to release one or more payments by EFT, the
         Contractor agrees to either -

           (i) Accept payment by check or some other mutually agreeable method of
                payment; or

           (ii) Request the Government to extend the payment due date until such time as
                the Government can make payment by EFT (but see paragraph (d) of this
                clause).

      b. Contractor's EFT information. The Government shall make payment to the
         Contractor using the EFT information contained in the Central Contractor
         Registration (CCR) database. In the event that the EFT information changes, the
         Contractor shall be responsible for providing the updated information to the CCR
         database.

      c.    Mechanisms for EFT payment. The Government may make payment by EFT
           through either the Automated Clearing House (ACH) network, subject to the rules
           of the National Automated Clearing House Association, or the Fedwire Transfer
           System. The rules governing Federal payments through the ACH are contained
           in 31 CFR part 210.

      d. Suspension of payment. If the Contractor's EFT information in the CCR
         database is incorrect, then the Government need not make payment to the
         Contractor under this contract until correct EFT information is entered into the
         CCR database; and any invoice or contract-financing request shall be deemed
         not to be a proper invoice for the purpose of prompt payment under this contract.
         The prompt payment terms of the contract regarding notice of an improper
         invoice and delays in accrual of interest penalties apply.

      e. Liability for uncompleted or erroneous transfers. (1) If an uncompleted or
         erroneous transfer occurs because the Government used the Contractor's EFT
         information incorrectly, the Government remains responsible for -

           (i) Making a correct payment;




                                            SA064
                                              81
                                                                                          A00082
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 71 of 514




     (ii) Paying any prompt payment penalty due; and

     (iii) Recovering any erroneously directed funds.

        If an uncompleted or erroneous transfer occurs because the Contractor's EFT
        information was incorrect, or was revised within 30 days of Government
        release of the EFT payment transaction instruction to the Federal Reserve
        System, and -

     (iv) If the funds are no longer under the control of the payment office, the
         Government is deemed to have made payment and the Contractor is
         responsible for recovery of any erroneously directed funds; or

     (v) If the funds remain under the control of the payment office, the Government
         shall not make payment, and the provisions of paragraph (d) of this clause
         shall apply.

f.    EFT and prompt payment. A payment shall be deemed to have been made in a
     timely manner in accordance with the prompt payment terms of this contract if, in
     the EFT payment transaction instruction released to the Federal Reserve
     System, the date specified for settlement of the payment is on or before the
     prompt payment due date, provided the specified payment date is a valid date
     under the rules of the Federal Reserve System.

g. EFT and assignment of claims. If the Contractor assigns the proceeds of this
   contract as provided for in the assignment of claims terms of this contract, the
   Contractor shall require as a condition of any such assignment, that the assignee
   shall register separately in the CCR database and shall be paid by EFT in
   accordance with the terms of this clause. Notwithstanding any other requirement
   of this contract, payment to an ultimate recipient other than the Contractor, or a
   financial institution properly recognized under an assignment of claims pursuant
   to subpart 32.8, is not permitted. In all respects, the requirements of this clause
   shall apply to the assignee as if it were the Contractor. EFT information that
   shows the ultimate recipient of the transfer to be other than the Contractor, in the
   absence of a proper assignment of claims acceptable to the Government, is
   incorrect EFT information within the meaning of paragraph (d) of this clause.

h. Liability for change of EFT information by financial agent. The Government is not
   liable for errors resulting from changes to EFT information made by the
   Contractor's financial agent.

i.    Payment information. The payment or disbursing office shall forward to the
     Contractor available payment information that is suitable for transmission as of
     the date of release of the EFT instruction to the Federal Reserve System. The
     Government may request the Contractor to designate a desired format and
     method(s) for delivery of payment information from a list of formats and methods



                                        SA065
                                          82
                                                                                            A00083
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 72 of 514




      the payment office is capable of executing. However, the Government does not
      guarantee that any particular format or method of delivery is available at any
      particular payment office and retains the latitude to use the format and delivery
      method most convenient to the Government. If the Government makes payment
      by check in accordance with paragraph (a) of this clause, the Government shall
      mail the payment information to the remittance address contained in the CCR
      database.

13.   DELIVERABLES/INTERNET – INTRANET APPLICATIONS

      If applicable, all written deliverables will include a version in HyperText Mark-Up
      Language (HTML) formatted according to Centers for Medicare and Medicaid
      (CMS) Internet, Intranet, and Extranet Standards; available online at
      http:www.cms.gov/about/web/inetspecx.htm.

      All websites, Internet applications, and content developed by Contractor shall
      reside on CMS servers, follow CMS Standards and Guidelines, and filter through
      the standard agency Internet Clearance process.

      If CMS agents or Contractor include information that appears on www.cms.gov or
      www.medicare.gov as part of their websites, they must link directly to these sites
      to ensure the validity and timeliness of the information. Duplication of content is
      not permitted.

      Contractor performing work on projects that include the development of Internet,
      Intranet, or Extranet applications, shall schedule and meet with CMS’s Web
      Support Team for guidance before they begin to develop the project.

14.   HHSAR 352.224-70 PRIVACY ACT (January 2006)
      This contract requires the Contractor to perform one or more of the following: (a)
      Design; (b) develop; or (c) operate a Federal agency system of records to
      accomplish an agency function in accordance with the Privacy Act of 1974 (Act)
      (5 U.S.C. 552a(m)(1)) and applicable agency regulations. The term “system of
      records” means a group of any records under the control of any agency from
      which information is retrieved by the name of the individual or by some identifying
      number, symbol, or other identifying particular assigned to the individual.
      Violations of the Act by the Contractor and/or its employees may result in the
      imposition of criminal penalties (5 U.S.C. 552a(i)). The Contractor shall ensure
      that each of its employees knows the prescribed rules of conduct and that each
      employee is aware that he/she is subject to criminal penalties for violation of the
      Act to the same extent as Department of Health and Human Services
      employees. These provisions also apply to all subcontracts the Contractor
      awards under this contract which require the design, development or operation of
      the designated system(s) of records [5 U.S.C. 552a(m)(1)]. The contract work
      statement: (a) identifies the system(s) of records and the design, development, or




                                         SA066
                                           83
                                                                                             A00084
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 73 of 514




      operation work the Contractor is to perform; and (b) specifies the disposition to
      be made of such records upon completion of contract performance.
(End of clause)

15.   ORGANIZATIONAL CONFLICTS OF INTEREST

      “Organizational conflict of interest” as defined per FAR 2.101, “means that
      because of other activities or relationships with other persons, a person is unable
      or potentially unable to render impartial assistance or advice to the Government,
      or the person’s objectivity in performing the contract work is or might be
      otherwise impaired, or a person has an unfair competitive advantage.”

      (A) Purpose: The purpose of this clause is to ensure that the Contractor (1) is
      not biased because of its financial, contractual, organizational, or other interests
      which relate to the work under this contract, and (2) does not obtain any unfair
      competitive advantage over other parties by virtue of its performance of this
      contract. This clause has been created to implement the organizational conflict of
      interest requirements of FAR 9.5.

      (B) Scope: The restrictions described herein shall apply to performance or
      participation by the Contractor and any of its affiliates or their successors in
      interest (hereinafter collectively referred to as “Contractor”) in the activities
      covered by this clause as a prime contractor, subcontractor, co-sponsor, joint
      venture, consultant, or in any similar capacity. For the purpose of this clause,
      affiliation occurs when a business concern is controlled by or has the power to
      control another or when a third party has the power to control both.

      (C) Use of Contractor’s Work Product: If the Contractor performs advisory,
      consulting, analytical, evaluation, study, or similar work under this contract, it
      shall be ineligible thereafter to participate in any capacity in Government
      contractual efforts (solicited or unsolicited) which stem directly from such work,
      and the Contractor agrees not to perform similar work for prospective Offeror’s
      with respect to any such contractual efforts. The Contractor shall be ineligible to
      participate in any contracts, subcontracts, or proposals (solicited and unsolicited)
      which stem directly from the Contractor’s performance of work under this contract
      for a period of one (1) year after the completion of this contract. Furthermore,
      unless so directed in writing by the Contracting Officer, the Contractor shall not
      perform any system engineering or technical direction support work under this
      contract on any of its products or services or the products or services of another
      firm if the Contractor is or has been substantially involved in their development or
      marketing. Nothing in this subparagraph shall preclude the Contractor from
      competing for follow-on contracts or subcontracts for advisory and assistance
      services.

      (D) If, under this contract, the Contractor prepares a complete or essentially
      complete statement of work or specifications to be used in competitive



                                         SA067
                                           84
                                                                                       A00085
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 74 of 514




acquisitions, the Contractor shall be ineligible to perform or participate in any
capacity in any contractual effort which is based on such statement of work or
specifications. The Contractor shall not incorporate its products or services in
such statement of work or specifications unless so directed in writing by the
Contracting Officer, in which case the restriction in this subparagraph shall not
apply.

(E) Access to and use of information:

       (1) If the Contractor, in the performance of this contract, obtains access to
       information, such as Government plans, policies, reports, studies, financial
       plans, internal data protected by the Privacy Act of 1974 (5 U.S.C. 552a),
       or data which has not been released or otherwise made available to the
       public, the Contractor agrees that it shall not:

              (a) Use such information for any private purpose unless the
              information has been released or otherwise made available to the
              public;

              (b) Compete for work based on such information for a period of one
              (1) year after either the completion of this contract, or until such
              information is released or otherwise made available to the public,
              whichever is first;

              (c) Submit an unsolicited proposal which is based on such
              information until six (6) months after such information is released or
              otherwise made available to the public; and,

              (d) Release such information unless such information has
              previously been released or otherwise made available to the public
              by the Government.

       (2) In addition, the Contractor agrees that to the extent it receives or is
       given access to proprietary data, data protected by the Privacy Act of
       1974 (5 U.S.C. 552a), or other confidential or privileged technical,
       business, or financial information under this contract, it shall treat such
       information in accordance with any restrictions imposed on such
       information.

(F) Disclosure after award:

       (1) The Contractor agrees that, if changes, including additions, to the facts
       disclosed by it prior to award of this Contract, occur during the
       performance of this Contract, it shall make an immediate and full
       disclosure of such changes in writing to the Contracting Officer. Such
       disclosure shall include a description of any action which the Contractor




                                    SA068
                                      85
                                                                                                A00086
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 75 of 514




              has taken or proposes to take to avoid, neutralize, or mitigate any
              resulting conflict of interest. The Government may, however, terminate for
              convenience if it deems such termination to be in the best interest of the
              Government.

              (2) In the event that the Contractor was aware of facts required to be
              disclosed or the existence of an actual or potential organizational conflict
              of interest and did not disclose such facts or such conflict of interest to the
              Contracting Officer, the Contracting Officer may terminate for default.

       (G) Remedies: For breach of any of the above restrictions or for nondisclosure
       or misrepresentation of any facts required to be disclosed concerning this
       contract, including the existence of an actual or potential organizational conflict of
       interest at the time of or after award, the Government may terminate for default,
       and pursue such other remedies as may be permitted by law.

       (H) Waiver: In accordance with FAR 9.503, any request for waiver must be in
       writing, shall set forth the extent of the conflict, and requires approval by the
       agency head or a designee. Agency heads shall not delegate waiver authority
       below the level of head of a contracting activity. The agency head or a designee
       may waive any general rule or procedure of this subpart by determining that its
       application in a particular situation would not be in the Government’s interest.

       (I) Subcontracts: This Organizational Conflict of Interest clause shall flow down
       to all subcontractors unless an exemption is specifically approved by Contracting
       Officer, CMS.

16.    CONDITIONS FOR PERFORMANCE

In addition to the performance requirement of this contract as set forth under
Performance Work Statement, the Contractor may be required to comply with the
requirements of any revisions in legislation or regulations which may be enacted or
implemented during the period of performance of this contract, and are directly
applicable to the performance requirements of this contract.

In the event new legislation or regulations impacting the Contract require immediate
implementation, the Contracting Officer shall issue a change order pursuant to FAR
Clause 52.243-1, entitled Changes – Fixed-Price.

17.    CONFLICT OF INTEREST

The Contractor shall disclose any known or potential conflicts of interest, in accordance
with FAR Part 9.5, for the purpose of meeting the requirements of this contract. The
Contractor agrees that if an actual or potential organizational conflict of interest is
discovered after an award of a task order, the Contractor shall make full disclosure in
writing to the Contracting Officer. This disclosure shall include a description of actions




                                           SA069
                                             86
                                                                                              A00087
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 76 of 514




that the Contractor has taken or proposes to take to mitigate the actual or potential
conflict. The Contracting Officer shall determine whether a conflict of interest disclosed
after award has been adequately resolved.

19.    CONTRACTOR PERFORMANCE EVALUATION(S)

In accordance with Federal Acquisition Regulation (FAR) 42.15, CMS will complete
annual and final contractor performance evaluations. Annual evaluations will be
prepared to coincide with the anniversary date of the contract. Additional interim
performance evaluations may be prepared at Contracting Officer discretion, as
necessary. Final performance evaluations will be completed upon contract expiration.

CMS will utilize the Contractor Performance Assessment Reporting System (CPARS) in
order to execute annual and final contractor performance evaluations. CPARS is a
secure Internet website located at http://www.cpars.csd.disa.mil/cparsmain.htm. CMS
will register the contractor in CPARS upon receipt of the name and email address of two
(2) individuals who will be responsible for serving as the Contractor’s primary and
alternate CPARS contacts. Once CMS registers the contractor in CPARS, the
Contractor will receive an automated CPARS email message that contains User IDs
and instructions for creating a password.

Once a performance evaluation is issued, the Contractor’s primary and alternate
CPARS contact will receive an email instructing them to logon to CPARS in order to
review the performance evaluation. The Contractor has 30 days from the date of
performance evaluation issuance in which to review the evaluation. If the Contractor is
in agreement with the performance evaluation outcome, the evaluation becomes final.
Should the Contractor be in disagreement with the performance evaluation outcome,
rebuttal comments must be submitted via the CPARS within 30 days from date the
evaluation was issued by CMS. Any disagreement between the Contracting Officer and
the Contractor will be referred to the Deputy Director, CMS Office of Acquisition and
Grants Management, whose decision will be final.

Copies of each performance evaluation and contractor responses, if any, will be
retained as part of the official contract file and will be used to support future award
decisions. Evaluations will also be stored for a 3-year period in the Past Performance
Information Retrieval System (PPIRS) at www.ppirs.gov.

Contractors may obtain CPARS training material and register for on-line training at
http://www.cpars.csd.disa.mil/allapps/cpcbtdlf.htm. There is no fee for registration or use
of the CPARS.

21.    DISPOSAL OF IMAGED MEDICAL RECORDS

Imaged medical records must be disposed of in a manner than leaves no trace of data.
The RAC shall use a method compliant with CMS operating procedures and standards.
In addition, a log of all disposed records shall be maintained by the RAC.




                                          SA070
                                            87
                                                                                                  A00088
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 77 of 514




22.    HIPAA BUSINESS ASSOCIATE PROVISION

HIPAA Business Associate Provision II

Definitions:

All terms used herein and not otherwise defined shall have the same meaning as in the
Health Insurance Portability and Accountability Act of 1996 (“HIPAA,” 42 U.S.C. sec.
1320d) and the corresponding implementing regulations. Provisions governing the
Contractor’s duties and obligations under the Privacy Act (including data use
agreements) are covered elsewhere in the contract.
"Business Associate'' shall mean the Contractor.
"Covered Entity" shall mean CMS’ Medicare Fee for Service program and/or Medicare’s
Prescription Drug Discount Care and Transitional Assistance Programs.
"Secretary" shall mean the Secretary of the Department of Health and Human Services
or the Secretary’s designee.

Obligations and Activities of Business Associate

(a) Business Associate agrees to not use or disclose Protected Health Information
    (“PHI”), as defined in 45 C.F.R. § 160.103, created or received by Business
    Associate from or on behalf of Covered Entity other than as permitted or required by
    this Contract or as required by law.
(b) Business Associate agrees to use safeguards to prevent use or disclosure of PHI
    created or received by Business Associate from or on behalf of Covered Entity other
    than as provided for by this Contract. Furthermore, Business Associate agrees to
    use appropriate administrative, physical and technical safeguards that reasonably
    and appropriately protect the confidentiality, integrity and availability of the electronic
    protected health information (“EPHI”), as defined in 45 C.F.R. 160.103, it creates,
    receives, maintains or transmits on behalf of the Covered Entity to prevent use or
    disclosure of such EPHI.
(c) Business Associate agrees to mitigate, to the extent practicable, any harmful effect
    that is known to Business Associate of a use or disclosure of PHI by Business
    Associate in violation of the requirements of this Contract.
(d) Business Associate agrees to report to Covered Entity any use or disclosure
    involving PHI it receives/maintains from/on behalf of the Covered Entity that is not
    provided for by this Contract of which it becomes aware. Furthermore, Business
    Associate agrees to report to Covered Entity any security incident involving EPHI of
    which it becomes aware.
(e) Business Associate agrees to ensure that any agent, including a subcontractor, to
    whom it provides PHI received from Covered Entity, or created or received by
    Business Associate on behalf of Covered Entity, agrees to the same restrictions and
    conditions that apply through this Contract to Business Associate with respect to
    such information. Furthermore, Business Associate agrees to ensure that its agents




                                            SA071
                                              88
                                                                                             A00089
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 78 of 514




     and subcontractors implement reasonable and appropriate safeguards for the PHI
     received from or on behalf of the Business Associate.
(f) Business Associate agrees to provide access, at the request of Covered Entity, to
     PHI received by Business Associate in the course of contract performance, to
     Covered Entity or, as directed by Covered Entity, to an Individual in order to meet
     the requirements under 45 CFR § 164.524.
(g) Business Associate agrees to make any amendment(s) to PHI in a Designated
     Record Set that Covered Entity directs or agrees to pursuant to 45 CFR § 164.526
     upon request of Covered Entity.
(h) Business Associate agrees to make internal practices, books, and records, including
     policies and procedures and PHI, relating to the use and disclosure of PHI received
     from, or created or received by Business Associate on behalf of Covered Entity,
     available to Covered Entity, or to the Secretary for purposes of the Secretary
     determining Covered Entity's compliance with the various rules implementing the
     HIPAA.
(i) Business Associate agrees to document such disclosures of PHI and information
     related to such disclosures as would be required for Covered Entity to respond to a
     request by an Individual for an accounting of disclosures of PHI in accordance with
     45 CFR § 164.528.
(j) Business Associate agrees to provide to Covered Entity, or an individual identified by
     the Covered Entity, information collected under this Contract, to permit Covered
     Entity to respond to a request by an Individual for an accounting of disclosures of
     PHI in accordance with 45 CFR § 164.528.

Permitted Uses and Disclosures by Business Associate

Except as otherwise limited in this Contract, Business Associate may use or disclose
PHI on behalf of, or to provide services to, Covered Entity for purposes of the
performance of this Contract, if such use or disclosure of PHI would not violate the
HIPAA Privacy or Security Rules if done by Covered Entity or the minimum necessary
policies and procedures of Covered Entity.

Obligations of Covered Entity

(a) Covered Entity shall notify Business Associate of any limitation(s) in its notice of
    privacy practices of Covered Entity in accordance with 45 CFR § 164.520, to the
    extent that such limitation may affect Business Associate's use or disclosure of PHI.
(b) Covered Entity shall notify Business Associate of any changes in, or revocation of,
    permission by Individual to use or disclose PHI, to the extent that such changes may
    affect Business Associate's use or disclosure of PHI.
(c) Covered Entity shall notify Business Associate of any restriction to the use or
    disclosure of PHI that Covered Entity has agreed to in accordance with 45 CFR §
    164.522, to the extent that such restriction may affect Business Associate's use or
    disclosure of PHI.

Permissible Requests by Covered Entity




                                          SA072
                                            89
                                                                                                 A00090
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 79 of 514




Covered Entity shall not request Business Associate to use or disclose PHI in any
manner that would not be permissible under the HIPAA Privacy or Security Rules.

Term of Provision

(a) The term of this Provision shall be effective as of March 10, 2005, and shall
    terminate when all of the PHI provided by Covered Entity to Business Associate, or
    created or received by Business Associate on behalf of Covered Entity, is destroyed
    or returned to Covered Entity, or, if it is infeasible to return or destroy PHI,
    protections are extended to such information, in accordance with the termination
    provisions in this Section.
(b) Upon Covered Entity's knowledge of a material breach by Business Associate,
    Covered Entity shall either:
        (1) Provide an opportunity for Business Associate to cure the breach or end the
            violation consistent with the termination terms of this Contract. Covered
            Entity may terminate this Contract for default if the Business Associate does
            not cure the breach or end the violation within the time specified by Covered
            Entity; or
        (2) Consistent with the terms of this Contract, terminate this Contract for default if
            Business Associate has breached a material term of this Contract and cure is
            not possible; or
        (3) If neither termination nor cure is feasible, Covered Entity shall report the
            violation to the Secretary.
(c) Effect of Termination.
        (1) Except as provided in paragraph (2) of this section, upon termination of this
            Contract, for any reason, Business Associate shall return or destroy all PHI
            received from Covered Entity, or created or received by Business Associate
            on behalf of Covered Entity. This provision shall apply to PHI that is in the
            possession of subcontractors or agents of Business Associate. Business
            Associate shall retain no copies of the PHI.
        (2) In the event that Business Associate determines that returning or destroying
            the PHI is infeasible, Business Associate shall provide to Covered Entity
            notification of the conditions that make return or destruction infeasible. Upon
            such notice that return or destruction of PHI is infeasible, Business Associate
            shall extend the protections of this Contract to such PHI and limit further uses
            and disclosures of such PHI to those purposes that make the return or
            destruction infeasible, for so long as Business Associate maintains such PHI.

Miscellaneous

(a) A reference in this Contract to a section in the Rules issued under HIPAA means the
    section as in effect or as amended.
(b) The Parties agree to take such action as is necessary to amend this Contract from
    time to time as is necessary for Covered Entity to comply with the requirements of
    the Rules issued under HIPAA.




                                           SA073
                                             90
                                                                                                 A00091
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 80 of 514




(c) The respective rights and obligations of Business Associate under paragraph (c) of
    the section entitled “term of Provision” shall survive the termination of this Contract.
(d) Any ambiguity in this Contract shall be resolved to permit Covered Entity to comply
    with the Rules implemented under HIPAA.

23.      COPYRIGHTS

      a. Data first produced in the performance of this contract.

         (i) The contractor agrees not to assert, establish, or authorize others to assert or
              establish, any claim to copyright subsisting in any data first produced in the
              performance of this contract without prior written permission of the contracting
              officer. When claim to copyright is made, the contractor shall affix the
              appropriate copyright notice of 17 U.S.C. 401 or 402 and acknowledgment of
              government sponsorship (including contract number) to such data when
              delivered to the government, as well as when the data are published or
              deposited for registration as a published work in the U.S. Copyright Office.
              The contractor grants to the government, and others acting on its behalf, a
              paid-up nonexclusive, irrevocable, worldwide license for all such data to
              reproduce, prepare derivative works, distribute copies to the public, and
              perform publicly and display publicly, by or on behalf of the government.
         (ii) If the government desires to obtain copyright in data first produced in the
              performance of this contract and permission has not been granted as set forth
              above, the contracting officer may direct the contractor to establish, or
              authorize the establishment of, claim to copyright in such data and to assign,
              or obtain the assignment of, such copyright to the government or its
              designated assignee.

      b. Data not first produced in the performance of this contract.

         The contractor shall not, without prior written permission of the contracting
         officer, incorporate in data delivered under this contract any data not first
         produced in the performance of this contract and which contain the copyright
         notice of 17 U.S.C. 401 or 402, unless the contractor identifies such data and
         grants to the government.

24.      DISSEMINATION, PUBLICATION AND DISTRIBUTION OF INFORMATION

      a. Subject to Section H.8, data and information either provided to the contractor or
         any subcontractor generated by activities under this contract or derived from
         research or studies supported by this contract shall be used only for purposes of
         this contract.

      b. Data and information either provided to the contractor, or to any subcontractor,
         generated by activities under this contract, or derived from research or studies
         supported by this contract, shall be used only for the purposes of the contract. It




                                            SA074
                                              91
                                                                                             A00092
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 81 of 514




   shall not e duplicated, used or disclosed for any purpose other than the fulfillment
   of the requirements set forth in this contract. This restriction does not limit the
   contractor’s right to use data or information obtained from a non-restrictive
   source. Any questions concerning “privileged information” shall be referred to
   the contracting officer.

c. Some data or information may require special consideration with regard to the
   timing of its disclosure. Also, some data or information, which relate to policy
   matters under consideration by the government, may also require special
   consideration with regard to the timing of its disclosure so that the open and
   vigorous debate, within the government, of possible policy options is not
   damaged.

d. Any requests for or questions about use or release of the data or information or
   handling of material under this contract shall be referred to the contracting officer
   who must render a written determination. The contracting officer’s
   determinations will reflect the results of internal coordination with appropriate
   program and legal officials.

e. The contractor agrees not to release Medicare data and information either
   provided to the contractor, generated by activities under contract, or derived from
   research or studies supported by this contract without the prior permission of the
   contracting officer.

f. Any presentation of any report, statistical or analytical material based on
   information obtained from this contract which requires special consideration with
   regard to the protection of the privacy of individuals or of trade secrets or
   privileged or confidential commercial information shall be subject to review by the
   contracting officer before dissemination, publication, or distribution. Presentation
   includes, but is not limited to, papers, articles, professional publications,
   speeches, testimony or interviews with public print or broadcast media.

g. Written advance notice of at least forty-five (45) days shall be provided to the
   contracting officer of the contractor’s desire to release information where there
   may be a question of the protection of the privacy of individuals or of trade
   secrets or privileged or confidential commercial information.

h. The contracting officer’s review shall cover confidentiality issues and the
   protection of the privacy of individuals. If the review reveals that the privacy of
   individuals, trade secrets or privileged or confidential commercial information is,
   or may be violated, the release/use of the presentation shall be denied until the
   offending material is removed or until the contracting officer makes a formal
   determination, in writing, that confidentiality provisions, the privacy of individuals,
   trade secrets or privileged or confidential commercial information is not being
   violated.




                                        SA075
                                          92
                                                                                                A00093
           Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 82 of 514




      i.   The contractor agrees to acknowledge support by CMS whenever reports of
           projects funding, in whole or in part, by this contract are published in any
           medium. The contractor shall include in any publication resulting from work
           under this contract, an acknowledgment substantially, as follows:

           “The analyses upon which this publication is based were performed under
           contract number HHSM-500-2005-00002I, entitled, “MMA Section 306 Recovery
           Audit Demonstration,” sponsored by the Centers for Medicare and Medicaid
           Services, Department of Health and Human Services.” The conclusions and
           opinions expressed, and methods used herein are those of the author. They do
           not necessarily reflect CMS policy. The author assumes full responsibility for the
           accuracy and completeness of the ideas presented. Ideas and contributions to
           the author concerning experience in engaging with issues presented are
           welcomed. Any deviation from the above legend shall be approved, in writing, by
           the contracting officer.



26.        CODE OF CONDUCT

      SMOKING

      Effective June 2004, smoking is not permitted anywhere on the CMS single site
      campus. This includes all areas outside the building, such as off-site facility,
      entranceways, sidewalks and parking areas. Smoking will not be permitted
      anywhere in Regional Offices or Washington, DC office locations unless permitted
      by GSA guidelines or local landlord requirements. Contractor employees are subject
      to the same restrictions as government personnel. Fines up to $50 per occurrence
      will be issued and enforced by the Federal Protective Service.

      DRESS

      The preferred dress codes at CMS facilities are professional attire, business attire,
      or business casual attire.

26.        ATTACHMENTS

The following attachments are incorporated in this task order:
   (1) Statement of Objectives and Schedule of Deliveries


27. HHSAR 352.203-70 ANTI-LOBBYING (January 2006)
Pursuant to the current HHS annual appropriations act, except for normal and
recognized executive-legislative relationships, the Contractor shall not use any HHS
contract funds for (i) publicity or propaganda purposes; (ii) the preparation, distribution,
or use of any kit, pamphlet, booklet, publication, radio, television or video presentation



                                             SA076
                                               93
                                                                                                A00094
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 83 of 514




designed to support or defeat legislation pending before the Congress or any State
legislature, except in presentation to the Congress or any State legislature itself; or (iii)
payment of salary or expenses of the Contractor, or any agent acting for the Contractor,
related to any activity designed to influence legislation or appropriations pending before
the Congress or any State legislature.
(End of clause)


28. HHSAR 352.222-70 CONTRACTOR COOPERATION IN EQUAL EMPLOYMENT
OPPORTUNITY INVESTIGATIONS.
Contractor Cooperation in Equal Employment Opportunity Investigations (January 2010)
(a) In addition to complying with the clause in FAR 52.222–26, Equal Opportunity, the
Contractor shall, in good faith, cooperate with the Department of Health and Human
Services (Agency) in investigations of Equal Employment Opportunity (EEO) complaints
processed pursuant to 29 CFR Part 1614. For purposes of this clause, the following
definitions apply:
(1) “Complaint” means a formal or informal complaint that has been lodged with Agency
management, Agency EEO officials, the Equal Employment Opportunity Commission
(EEOC), or a court of competent jurisdiction.
(2) “Contractor employee” means all current Contractor employees who work or worked
under this contract. The term also includes current employees of subcontractors who
work or worked under this contract. In the case of Contractor and subcontractor
employees, who worked under this contract, but who are no longer employed by the
Contractor or subcontractor, or who have been assigned to another entity within the
Contractor's or subcontractor's organization, the Contractor shall provide the Agency
with that employee's last known mailing address, e-mail address, and telephone
number, if that employee has been identified as a witness in an EEO complaint or
investigation.
(3) “Good faith cooperation” cited in paragraph (a) includes, but is not limited to, making
Contractor employees available for: (i) Formal and informal interviews by EEO
counselors or other Agency officials processing EEO complaints; (ii) formal or informal
interviews by EEO investigators charged with investigating complaints of unlawful
discrimination filed by Federal employees; (iii) reviewing and signing appropriate
affidavits or declarations summarizing statements provided by such Contractor
employees during the course of EEO investigations; (iv) producing documents
requested by EEO counselors, EEO investigators, Agency employees, or the EEOC in
connection with a pending EEO complaint; and (v) preparing for and providing testimony
in hearings before the EEOC and U.S. District Court.
(b) The Contractor shall include the provisions of this clause in all subcontract
solicitations and subcontracts awarded at any tier under this contract.
(c) Failure on the part of the Contractor or its subcontractors to comply with the terms of
this clause may be grounds for the Contracting Officer to terminate this contract for
default.




                                           SA077
                                             94
                                                                                             A00095
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 84 of 514




(End of clause)


29. HHSAR 352.227-70 PUBLICATIONS AND PUBLICITY.
Publications and Publicity (January 2006)
(a) Unless otherwise specified in this contract, the Government encourages the
Contractor to publish the results of its work under this contract. A copy of each article
the Contractor submits for publication shall be promptly sent to the Contracting Officer's
Technical Representative. The Contractor shall also inform the Contracting Officer's
Technical Representative when the article or other publication is published, and furnish
a copy of it as finally published.
(b) Unless authorized by the Contracting Officer's Technical Representative, the
Contractor shall not display the HHS logo on any publications.
(End of clause)



30. HHSAR 30. 352.231-71 PRICING OF ADJUSTMENTS (January 2001)
When costs are a factor in determination of a contract price adjustment pursuant to the
“Changes” clause or any provision of this contract, the applicable cost principles and
procedures set forth below shall form the basis for determining such costs:

              Principles                             Types of organizations

(a) Subpart 31.2 of the Federal          Commercial.
Acquisition Regulation

(b) Subpart 31.3 of the Federal          Educational.
Acquisition Regulation

(c) Subpart 31.6 of the Federal          State, local, and Federally recognized
Acquisition Regulation                   Indian Tribal governments.

(d) 45 CFR Part 74 Appendix E            Hospitals (performing research and
                                         development contracts only).

(e) Subpart 31.7 of the Federal          Other nonprofit organizations.
Acquisition Regulation

(End of clause)




                                          SA078
                                            95
                                                                                             A00096
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 85 of 514




40. FAR 52.223-18, Contractor Policy to Ban Text Messaging While Driving (Sep
2010)
(a) Definitions. As used in this clause--
“Driving”—
(1) Means operating a motor vehicle on an active roadway with the motor running,
including while temporarily stationary because of traffic, a traffic light, stop sign, or
otherwise.
(2) Does not include operating a motor vehicle with or without the motor running when
one has pulled over to the side of, or off, an active roadway and has halted in a location
where one can safely remain stationary.
“Text messaging” means reading from or entering data into any handheld or other
electronic device, including for the purpose of short message service texting, e-mailing,
instant messaging, obtaining navigational information, or engaging in any other form of
electronic data retrieval or electronic data communication. The term does not include
glancing at or listening to a navigational device that is secured in a commercially
designed holder affixed to the vehicle, provided that the destination and route are
programmed into the device either before driving or while stopped in a location off the
roadway where it is safe and legal to park.
(b) This clause implements Executive Order 13513, Federal Leadership on Reducing
Text Messaging while Driving, dated October 1, 2009.
(c) The Contractor should—
(1) Adopt and enforce policies that ban text messaging while driving—
(i) Company-owned or -rented vehicles or Government-owned vehicles; or
(ii) Privately-owned vehicles when on official Government business or when performing
any work for or on behalf of the Government.
(2) Conduct initiatives in a manner commensurate with the size of the business, such
as—
(i) Establishment of new rules and programs or re-evaluation of existing programs to
prohibit text messaging while driving; and
(ii) Education, awareness, and other outreach to employees about the safety risks
associated with texting while driving.
(d) Subcontracts. The Contractor shall insert the substance of this clause, including this
paragraph (d), in all subcontracts that exceed the micro-purchase threshold.
                                       (End of clause)


50. HHSAR 352.239–70, STANDARD FOR SECURITY CONFIGURATIONS


(a) The Contractor shall configure its computers that contain HHS data with the
applicable Federal Desktop Core Configuration (FDCC) (see



                                            SA079
                                              96
                                                                                            A00097
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 86 of 514




http://nvd.nist.gov/fdcc/index.cfm) and ensure that its computers have and maintain
the latest operating system patch level and anti-virus software level. (Note: FDCC is
applicable to all computing systems using Windows XP™ and Windows Vista™,
including desktops and laptops—regardless of function—but not including servers.)
(b) The Contractor shall apply approved security configurations to information
technology (IT) that is used to process information on behalf of HHS. The following
security configuration requirements apply:
(NOTE: The Contracting Officer shall specify applicable security configuration
requirements in solicitations and contracts based on information provided by the Project
Officer, who shall consult with the OPDIV/STAFFDIV Chief Information Security
Officer.)
(c) The Contractor shall ensure IT applications operated on behalf of HHS are fully
functional and operate correctly on systems configured in accordance with the above
configuration requirements. The Contractor shall use Security Content Automation
Protocol (SCAP)-validated tools with FDCC Scanner capability to ensure its products
operate correctly with FDCC configurations and do not alter FDCC settings – see
http://scap.nist.gov/validation/. The Contractor shall test applicable product versions
with all relevant and current updates and patches installed. The Contractor shall ensure
currently supported versions of information technology products meet the latest FDCC
major version and subsequent major versions.
(d) The Contractor shall ensure IT applications designed for end users run in the
standard user context without requiring elevated administrative privileges.
(e) The Contractor shall ensure hardware and software installation, operation,
maintenance, update, and patching will not alter the configuration settings or
requirements specified above.
(f) The Contractor shall (1) include Federal Information Processing Standard (FIPS)
201-compliant (see http://csrc.nist.gov/publications/fips/fips201-1/FIPS-201-1-
chng1.pdf), Homeland Security Presidential Directive 12 (HSPD-12) card readers with
the purchase of servers, desktops, and laptops; and (2) comply with FAR Subpart 4.13,
Personal Identity Verification.
(g) The Contractor shall ensure that its subcontractors (at all tiers) which perform work
under this contract comply with the requirements contained in this clause.
                                     (End of clause)


51. HHSAR 352.239–72, SECURITY REQUIREMENTS FOR FEDERAL
INFORMATION TECHNOLOGY RESOURCES


(a) Applicability. This clause applies whether the entire contract or order (hereafter
“contract”), or portion thereof, includes information technology resources or services in
which the Contractor has physical or logical (electronic) access to, or operates a



                                          SA080
                                            97
                                                                                               A00098
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 87 of 514




Department of Health and Human Services (HHS) system containing, information that
directly supports HHS’ mission. The term “information technology (IT)”, as used in this
clause, includes computers, ancillary equipment (including imaging peripherals, input,
output, and storage devices necessary for security and surveillance), peripheral
equipment designed to be controlled by the central processing unit of a computer,
software, firmware and similar procedures, services (including support services) and
related resources. This clause does not apply to national security systems as defined in
FISMA.
(b) Contractor responsibilities. The Contractor is responsible for the following:
    (1) Protecting federal information and federal information systems in order to ensure
their—
   (i) Integrity, which means guarding against improper information modification or
destruction, and includes ensuring information non-repudiation and authenticity;
   (ii) Confidentiality, which means preserving authorized restrictions on access and
disclosure, including means for protecting personal privacy and proprietary information;
and.
    (iii) Availability, which means ensuring timely and reliable access to and use of
information.
   (2) Providing security of any Contractor systems, and information contained therein,
connected to an HHS network or operated by the Contractor, regardless of location, on
behalf of HHS.
    (3) Adopting, and implementing, at a minimum, the policies, procedures, controls,
and standards of the HHS Information Security Program to ensure the integrity,
confidentiality, and availability of federal information and federal information systems for
which the Contractor is responsible under this contract or to which it may otherwise
have access under this contract. The HHS Information Security Program is outlined in
the HHS Information Security Program Policy, which is available on the HHS Office of
the Chief Information Officer’s (OCIO) website.
(c) Contractor security deliverables. In accordance with the timeframes specified, the
Contractor shall prepare and submit the following security documents to the Contracting
Officer for review, comment, and acceptance:
   (1) IT Security Plan (IT-SP) – due within 30 days after contract award. The IT-SP
shall be consistent with, and further detail the approach to, IT security contained in the
Contractor’s bid or proposal that resulted in the award of this contract. The IT-SP shall
describe the processes and procedures that the Contractor will follow to ensure
appropriate security of IT resources that are developed, processed, or used under this
contract. If the IT-SP only applies to a portion of the contract, the Contractor shall
specify those parts of the contract to which the IT-SP applies.
       (i) The Contractor’s IT-SP shall comply with applicable federal laws that include,
but are not limited to, the Federal Information Security Management Act (FISMA) of



                                           SA081
                                             98
                                                                                             A00099
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 88 of 514




2002 (PDF) (Title III of the E-Government Act of 2002, Public Law 107-347), and the
following federal and HHS policies and procedures:
          (A) Office of Management and Budget (OMB) Circular A-130, Management
of Federal Information Resources, Appendix III, Security of Federal Automated
Information Resources.
           (B) National Institute of Standards and Technology (NIST) Special
Publication (SP) 800-18 (PDF), Guide for Developing Security Plans for Federal
Information Systems, in form and content, and with any pertinent contract Statement of
Work/Performance Work Statement (SOW/PWS) requirements. The IT-SP shall identify
and document appropriate IT security controls consistent with the sensitivity of the
information and the requirements of Federal Information Processing Standard (FIPS)
200, Recommended Security Controls for Federal Information Systems. The Contractor
shall review and update the IT-SP in accordance with NIST SP 800-26, Security Self-
Assessment Guide for Information Technology Systems and FIPS 200, on an annual
basis.
      (C) HHS-OCIO Information Systems Security and Privacy Policy.
        (ii) After resolution of any comments provided by the Government on the draft IT-
SP, the Contracting Officer shall accept the IT-SP and incorporate the Contractor’s final
version into the contract for Contractor implementation and maintenance. On an annual
basis, the Contractor shall provide to the Contracting Officer verification that the IT-SP
remains valid.
    (2) IT Risk Assessment (IT-RA) – due within 30 days after contract award. The IT-
RA shall be consistent, in form and content, with NIST SP 800-30, Risk Management
Guide for Information Technology Systems, and any additions or augmentations
described in the HHS-OCIO Information Systems Security and Privacy Policy. After
resolution of any comments provided by the Government on the draft IT-RA, the
Contracting Officer shall accept the IT-RA and incorporate the Contractor’s final version
into the contract for Contractor implementation and maintenance. The Contractor shall
update the IT-RA on an annual basis.
    (3) FIPS 199 Standards for Security Categorization of Federal Information and
Information Systems Assessment (FIPS 199 Assessment) – due within 30 days after
contract award. The FIPS 199 Assessment shall be consistent with the cited NIST
standard. After resolution of any comments by the Government on the draft FIPS 199
Assessment, the Contracting Officer shall accept the FIPS 199 Assessment and
incorporate the Contractor’s final version into the contract.
    (4) IT Security Certification and Accreditation (IT-SC&A) – due within 3 months after
contract award. The Contractor shall submit written proof to the Contracting Officer that
an IT-SC&A was performed for applicable information systems – see paragraph (a) of
this clause. The Contractor shall perform the IT-SC&A in accordance with the HHS
Chief Information Security Officer’s Certification and Accreditation Checklist; NIST SP
800-37, Guide for the Security Certification and Accreditation of Federal Information
Systems; and NIST SP 800-53, Recommended Security Controls for Federal



                                         SA082
                                           99
                                                                                              A00100
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 89 of 514




Information Systems. An authorized senior management official shall sign the draft IT-
SC&A and provide it to the Contracting Officer for review, comment, and acceptance.
      (i) After resolution of any comments provided by the Government on the draft IT-
SC&A, the Contracting Officer shall accept the IT-SC&A and incorporate the
Contractor’s final version into the contract as a compliance requirement.
       (ii) The Contractor shall also perform an annual security control assessment and
provide to the Contracting Officer verification that the IT-SC&A remains valid. Evidence
of a valid system accreditation includes written results of (A) annual testing of the
system contingency plan and (B) the performance of security control testing and
evaluation.
(d) Personal identity verification. The Contractor shall identify its employees with access
to systems operated by the Contractor for HHS or connected to HHS systems and
networks. The Contracting Officer’s Technical Representative (COTR) shall identify, for
those identified employees, position sensitivity levels that are commensurate with the
responsibilities and risks associated with their assigned positions. The Contractor shall
comply with the HSPD-12 requirements contained in “HHS-Controlled Facilities and
Information Systems Security” requirements specified in the SOW/PWS of this contract.
(e) Contractor and subcontractor employee training. The Contractor shall ensure that its
employees, and those of its subcontractors, performing under this contract complete
HHS-furnished initial and refresher security and privacy education and awareness
training before being granted access to systems operated by the Contractor on behalf of
HHS or access to HHS systems and networks. The Contractor shall provide
documentation to the COTR evidencing that Contractor employees have completed the
required training.
(f) Government access for IT inspection. The Contractor shall afford the Government
access to the Contractor’s and subcontractors’ facilities, installations, operations,
documentation, databases, and personnel used in performance of this contract to the
extent required to carry out a program of IT inspection (to include vulnerability testing),
investigation, and audit to safeguard against threats and hazards to the integrity,
confidentiality, and availability, of HHS data or to the protection of information systems
operated on behalf of HHS.
(g) Subcontracts. The Contractor shall incorporate the substance of this clause in all
subcontracts that require protection of federal information and federal information
systems as described in paragraph (a) of this clause, including those subcontracts
that—
(1) Have physical or electronic access to HHS' computer systems, networks, or IT
infrastructure; or
   (2) Use information systems to generate, store, process, or exchange data with
HHS or on behalf of HHS, regardless of whether the data resides on a HHS or the
Contractor's information system.




                                           SA083
                                            100
                                                                                                A00101
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 90 of 514




(h) Contractor employment notice. The Contractor shall immediately notify the
Contracting Officer when an employee either begins or terminates employment (or is no
longer assigned to the HHS project under this contract), if that employee has, or had,
access to HHS information systems or data.
(i) Document information. The Contractor shall contact the Contracting Officer for any
documents, information, or forms necessary to comply with the requirements of this
clause.
(j) Contractor responsibilities upon physical completion of the contract. The Contractor
shall return all HHS information and IT resources provided to the Contractor during
contract performance and certify that all HHS information has been purged from
Contractor-owned systems used in contract performance .
(k) Failure to comply. Failure on the part of the Contractor or its subcontractors to
comply with the terms of this clause shall be grounds for the Contracting Officer to
terminate this contract.
                                      (End of clause)


52. HHSAR 352.239–73, ELECTRONIC AND INFORMATION TECHNOLOGY
ACCESSIBILITY.


(a) Section 508 of the Rehabilitation Act of 1973 (29 U.S.C. 794d), as amended by the
Workforce Investment Act of 1998, and the Architectural and Transportation Barriers
Compliance Board Electronic and Information (EIT) Accessibility Standards (36 CFR
Part 1194), require that, unless an exception applies, all EIT products and services
developed, acquired, maintained, or used by any federal department or agency permit—
   (1) Federal employees with disabilities to have access to and use information and
data that is comparable to the access and use of information and data by federal
employees who are not individuals with disabilities; and
   (2) Members of the public with disabilities seeking information or services from a
federal agency to have access to and use of information and data that is comparable to
the access and use of information and data by members of the public who are not
individuals with disabilities.
(b) Accordingly, any vendor submitting a proposal/quotation/bid in response to this
solicitation must demonstrate compliance with the established EIT accessibility
standards. Information about Section 508 is available at http://www.section508.gov/.
The complete text of Section 508 Final Provisions can be accessed at
http://www.access-board.gov/sec508/standards.htm.
(c) The Section 508 accessibility standards applicable to this solicitation are identified in
the Statement of Work/Specification/Performance Work Statement. In order to facilitate
the Government’s evaluation to determine whether EIT products and services proposed
meet applicable Section 508 accessibility standards, offerors must prepare an HHS



                                           SA084
                                            101
                                                                                             A00102
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 91 of 514




Section 508 Product Assessment Template, in accordance with its completion
instructions, and provide a binding statement of conformance. The purpose of the
template is to assist HHS acquisition and program officials in determining that EIT
products and services proposed support applicable Section 508 accessibility standards.
The template allows vendors or developers to self-evaluate their products or services
and document in detail how they do or do not conform to a specific Section 508
accessibility standard. Instructions for preparing the HHS Section 508 Evaluation
Template may be found under Section 508 policy on the HHS Office on Disability
website (http://www.hhs.gov/od/).
(d) Respondents to this solicitation must also provide any additional detailed information
necessary for determining applicable Section 508 accessibility standards conformance,
as well as for documenting EIT products or services that are incidental to the project,
which would constitute an exception to Section 508 requirements. If a vendor claims its
products or services, including EIT deliverables such as electronic documents and
reports, meet applicable Section 508 accessibility standards in its completed HHS
Section 508 Product Assessment Template, and it is later determined by the
Government – i.e., after award of a contract/order, that products or services delivered
do not conform to the described accessibility standards in the Product Assessment
Template, remediation of the products or services to the level of conformance specified
in the vendor’s Product Assessment Template will be the responsibility of the Contractor
and at its expense.
                                    (End of provision)




                                         SA085
                                          102
                                                                                     A00103
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 92 of 514




27.   ACKNOWLEDGEMENT OF RECEIPT

Pursuant to the terms and conditions of Contract GS-XXX-XXXXX and this task order,
HHSM-500-2004-XXXXX, the contractor shall perform the work required in accordance
with the Statement of Work entitled, “Recovery Audit Contractor Demonstration.”

Signature of the Contractor represents acceptance of this task order.



___________________________________________              _____________
Contractor                                                  Date

NOTE: Only those contract sections that differ from the Umbrella GSA contract
terms and conditions, or provide more detailed information specific to this
particular Task Order, are provided below. For those contract sections not
identified below, all terms and conditions of the Umbrella GSA contract




                                      SA086
                                       103
                                                                                                             A00104
               Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 93 of 514




       ACKNOWLEDGEMENT OF RECEIPT:

       The Contractor is required to acknowledge receipt of CMS Task Order No. _TBD____________
       under 8(a) Streamlined Technology Acquisition Resources for Services (STARS) Government
       Wide Acquisition Contract (GWAC) Contract No. _TBD______________ by returning to the
       Contracting Officer a signed original and within 10 calendar days after its receipt. Signature of
       the Contractor represents acceptance of this task order.

       ACCEPTED BY:

       ___________________________           ____________
       Signature & Title                     Date

       B.1      General:

       Pursuant to the terms and conditions of the General Services Administration (GSA) 8(a) STARS
       contract, and the special clauses provided herein, the contractor shall perform the work required
       in accordance with the attached statement of work and deliverable schedule entitled, “Recovery
       Audit Contractor (RAC) Data Warehouse (RW)”. Section numbers herein align with the section
       numbers in the 8(a) STARS contract or pick up where the 8(a) STARS contract sections end as
       applicable. Only those contract sections, which differ from the 8(A) STARS contract terms and
       conditions, or provide more detailed information specific to this particular task order, are
       provided herein. For those contract sections not identified below, all terms and conditions of the
       8(A) are applicable.

       B.1.2 Type of Task Order:

       This is a hybrid type task order consisting of firm fixed price (FFP) contract line item numbers
       (CLIN)/sub-CLINs and optional Labor Hour sub-CLINs.

       The current total not-to-exceed (NTE) amount of the task order is: _____TBD_____.

       The potential (if all options are exercised) not-to-exceed amount is: ____TBD_______.


       B.3 Price/Costs/Ceiling Rates

       The table below illustrates the Firm Fixed Price or Ceiling Amount applicable to each sub-
       CLIN:

                                                                FFP or
                                                                Ceiling            Amount          Period of
CLIN         Service                                       Type Amount             Funded          Performance
0001         Base Period

                                                    SA087
                                                     104
                                                                                                      A00105
            Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 94 of 514




                                                           FFP or
                                                           Ceiling       Amount         Period of
CLIN      Service                                     Type Amount        Funded         Performance
                                                                                        9/22/2010 -
0001AA    Base Period - Core Operations/Maintenance   FFP                               9/21/2011
                                                                                        9/22/2010 -
0001AB    Base Period Hosting                         FFP                               9/21/2011
                                                                                        TBD within
        Base Period - Major Enhancements                                                9/22/2010 -
0001AC* (optional)                                    LH                                9/21/2011

0002      Optional Period 1
          Optional Period 1 -Core                                                       9/22/2011 -
0002AA    Operations/Maintenance                      FFP                               9/21/2012
                                                                                        9/22/2011 -
0002AB    Optional Period 1 Hosting (optional)        FFP                               9/21/2012
                                                                                        TBD
        Optional Period 1 - Major Enhancements                                          9/22/2011 -
0002AC* (optional)                                    LH                                9/21/2012

0003      Optional Period 2
          Optional Period 2 - Core                                                      9/22/2012 -
0003AA    Operations/Maintenance                      FFP                               9/21/2013
                                                                                        9/22/2012 -
0003AB    Optional Period 2 - Hosting (optional)      FFP                               9/21/2013
                                                                                        TBD
        Optional Period 2 - Major Enhancements                                          9/22/2012 -
0003AC* (optional)                                    LH                                9/21/2013

0004      Optional Period 3
          Optional Period 3 - Core                                                      9/22/2013 -
0004AA    Operations/Maintenance                      FFP                               5/21/2014
                                                                                        9/22/2013 -
0004AB    Optional Period 3 - Hosting - (optional)    FFP                               5/21/2014
                                                                                        TBD
        Optional Period 3 - Major Enhancements                                          9/22/2013 -
0004AC* (optional)                                    LH                                5/21/2014

Totals



The tables below illustrate the optional labor hour sub-CLINs (0001AC, 0002AC, 0003AC, and
      0004AC):
                                                  SA088
                                                     105
                                                                             A00106
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 95 of 514




 CLIN 0001AC - Major Enhancements - Optional During Base Period
Labor Category      Labor Rate     Hours     Ceiling Amount




Total


CLIN 0002AC - Major Enhancements - Optional During Option Period
                               1
Labor Category      Labor Rate     Hours     Ceiling Amount




Total



CLIN 0003AC - Major Enhancements - Optional During Option Period
                               2
Labor Category      Labor Rate     Hours     Ceiling Amount




                                      SA089
                                       106
                                                                                                     A00107
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 96 of 514




Total



CLIN 0004AC - Major Enhancements - Optional During Option Period
                               3
Labor Category      Labor Rate     Hours     Ceiling Amount




Total


F.3      Period of Performance

This task order has a 12-month base period of performance from September 22, 2010 –
September 21, 2011 and optional periods as follows:

                          Optional Period 1 9/22/2011 - 9/21/2012
                          Optional Period 2 9/22/2012 - 9/21/2013
                          Optional Period 3 9/22/2013 - 5/21/2014

G.2      Invoice Submission:

      A. Submission of Invoices and Payment Office

         Invoices/vouchers shall be prepared and submitted with an original and four copies unless
            otherwise specified. The contractor shall invoice by period of performance, the
            services performed during the invoice period, the number of labor hours, the
            discounted rate, and the total amount of the invoice. A Standard Form (SF) 1034,
            Public Voucher for Purchases and Services Other than Personal, shall be used.

         To expedite payment, invoices shall be submitted as follows:

                                              SA090
                                               107
                                                                                                  A00108
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 97 of 514




      (a) Original and four (4) copies shall be submitted to the following address:

                  Department of Health and Human Services
                  Centers for Medicare and Medicaid Services
                  OFM/Division of Accounting
                  P.O. Box 7520
                  Baltimore, MD 21207-0520

       If overnight delivery is desired:

                  Department of Health and Human Services
                  Centers for Medicare and Medicaid Services
                  Director, Division of Accounting, OFM
                  C3-09-27 Central Building
                  7500 Security Boulevard
                  Baltimore, MD 21244-1850

      (b) One (1) copy shall be sent to the Project Officer and the Contract Specialist.

          (i)     Content of Invoice (If Applicable):

                  a. Contractor’s name and address.
                  b. Invoice date and number
                  c. Purchase Order Number and GSA Schedule Contract Number or other
                     authorization for delivery of property and/or services.
                  d. Individually identify the names of all personnel with
                     appropriate/applicable labor categories and their hours, rates and a
                     breakdown of Other Direct Costs.
                  e. Travel costs shall be broken down to include number of trips, number
                     and name of individuals per trip, mode of transportation, mileage
                     charge, and length of stay.
                  f. Shipping and payment terms.
                  g. Other substantiating documentation or information as required by the
                     task order.
                  h. Name, title, phone number of person to notify in event of defective
                     invoice.

B. Invoice Payment

   Payments will only be made by electronic funds transfer (EFT) using the Contractor’s
   EFT information from the Central Contractor Registration (CCR) database. In the event
   that during the performance of this contract, the Contractor elects to designate a different
   financial institution for receipt of payment using the electronic funds transfer procedures,
   the contractor shall notify CMS’s Division of Accounting Operations of all EFT and
   address changes made in CCR via the following email address:
                                           SA091
                                             108
                                                                                                      A00109
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 98 of 514




       CCRChanges@cms.hhs.gov. The contractor’s email notification must contain the
       contractor’s name, DUNS or DUNS+4 number, contract and/or order number, and the
       name, title, and telephone number of the Contractor’s official representative authorized to
       provide their information.

   C. Prompt Payment

       Invoices will be handled in accordance with the Prompt Payment Act (31 U.S.C. 3903)
       and Office of Management and Budget (OMB) prompt payment regulations at 5 CFR
       part 1315.


G.10 Subcontracting

To facilitate the review of a proposed subcontract by the Project Officer and the Contracting
Officer, the Contractor shall submit the information required by the FAR clause 52.244-2
entitled, SUBCONTRACTS, to the Project officer who shall in turn forward the information
with his/her recommendation to the Contracting Officer. The Contracting Officer shall review
the request for subcontract approval and the Project Officer’s recommendation and advise the
Contractor of his/her decision to consent to or dissent from the proposed subcontract, in writing.

G.18. For Accounting Purposes Only:

       Requisition     Appropriation CAN            Object Class    Amount


G.18 Exercise of Options

As a result of an analysis of the contractor’s performance this contract may be extended by the
Contracting Officer giving written notice of extension to the contractor prior to the expiration
date of this contract; provided that the Contracting Officer shall have given preliminary notice of
the Government’s intent to extend, not later than sixty (60) calendar days prior to the expiration
of the contract.

G.19. Government Representatives

The following CMS personnel are points of contact for this task order:

       Contracting Officer:           Debra Stidham          (410) 786-5129
       Contract Specialist:           Jessica Sanders        (410) 786-1076
       Technical Representative:      Terry Lew              (410) 786-9213


G.20. Contracting Officer Technical Representative (COTR):

                                              SA092
                                               109
                                                                                                      A00110
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 99 of 514




Mr. Terry Lew is designated as the Contracting Officer’s Technical Representative (COTR) for
this order. His address is:

               Centers for Medicare and Medicaid Services
               7500 Security Blvd.
               ATTN: Mr. Terry Lew
               Baltimore, MD 21244-1850
               (410) 786-9213

All technical correspondence should be directed to the COTR with a copy to the Contract
Specialist.

The COTR is responsible for: (1) monitoring the Contractor’s technical progress, including the
surveillance and assessment of performance and compliance with all substantive project
objectives; (2) interpreting the statement of work and any other technical performance
requirements; (3) performing technical evaluation as required; (4) performing technical
inspections and acceptances required by this contract; (5) assisting in the resolution of technical
problems encountered during performance; and (6) providing technical direction in accordance
with Section G.21; and, (7) reviewing of invoices/vouchers.

The COTR does not have the authority to act as agent of the Government under this contract
beyond the roles defined in G.20. above. Only the Contracting Officer has authority to: (1) direct
or negotiate any changes in the statement of work; (2) modify or extend the period of
performance; (3) change the delivery schedule; (4) authorize reimbursement to the Contractor
any costs incurred during the performance of this contract; or (5) otherwise change any terms
and conditions of this contract.


G.21 TECHNICAL DIRECTION

       a.      Performance of the work under this contract shall be subject to the technical
               direction of the COTR. The term “Technical Direction” is defined to include,
               without limitation, the follows:

               1.     Directions to the Contractor that redirect the contract effort, shift work
                      emphasis between work areas or tasks, require pursuit of certain lines of
                      inquiry, fill in details or otherwise serve to accomplish the contractual
                      statement of work.

               2.     Provision of information to the Contractor that assists in the interpretation
                      of drawings, specifications, or technical portions of the work description.

               3.     Review and, where required by the contract, approval of technical reports,
                      drawings, specifications, and technical information to be delivered by the
                      Contractor to the Government under the contract.
                                             SA093
                                              110
                                                                                                         A00111
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 100 of 514




       b. Technical direction must be within the general Statement of Work stated in the
          contract. The COTR does not have the authority to, and may not issue, any technical
          directions which:

                 1. Constitutes an assignment of additional work outside the general Statement of
                    Work of the contract.

                 2. Constitutes a change as defined in FAR 52.243-1 Changes – Fixed-Price
                    (Aug 1987) – Alternate I (Apr 1984) or FAR 52.243-3 Changes – Time &
                    Materials or Labor Hours

                 3. In any manner causes an increase or decrease in the total estimated contract
                    cost, fixed-fee, or the time required for contract performance.

                 4. Change any of the expressed terms, conditions, or specifications of the
                    contract.

       c.        All technical direction shall be issued in writing by the Project Officer or shall be
                 confirmed by him/her in writing within 5 working days after issuance.

       d.        The Contractor shall proceed promptly with the performance of technical
                 direction duly issued by the Project Officer in the manner prescribed by this
                 article and within his/her authority under the provisions of this article.

       e.        If, in the opinion of the Contractor, any instruction or direction issued by the
                 Project Officer is within one of the categories as defined in G.21. b(l) through (4)
                 above, the Contractor shall not proceed but shall notify the Contracting Officer in
                 accordance with FAR 52.243-7 Notification of Changes.


H.3.2 HHSAR 352.270-5 Key Personnel (APR 1984)

The personnel specified in this contract are considered to be essential to the work being
performed hereunder. Prior to diverting any of the specified individuals to other programs, the
Contractor shall notify the Contracting Officer reasonably in advance and shall submit
justification (including proposed substitutions) in sufficient detail to permit evaluation of the
impact on the program. No diversion shall be made by the Contractor without the written consent
of the Contracting


Position Title                   Name                            Phone Number/Email
                                                                 Address


                                                SA094
                                                 111
                                                                                                    A00112
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 101 of 514




H.18. Confidentiality

As a result of this Task Order, the GSA Schedule Contractor may have access to confidential
information (i.e., information considered proprietary as well as information that may fall under
the Privacy Act). The GSA Schedule Contractor shall not disclose any such information or
findings to any parties other than the COTR and staff assigned to this effort. Appropriate
administrative, technical, procedural and physical safeguards shall be established by the GSA
Schedule Contractor to protect the confidentiality of the data and to prevent unauthorized access
to such data.




H.19. HIPPA BUSINESS ASSOCIATE PROVISION:

       HIPAA Business Associate Provision II

       Definitions:

       All terms used herein and not otherwise defined shall have the same meaning as in the
       Health Insurance Portability and Accountability Act of 1996 (“HIPAA,” 42 U.S.C. sec.
       1320d) and the corresponding implementing regulations. Provisions governing the
       Contractor’s duties and obligations under the Privacy Act (including data use
       agreements) are covered elsewhere in the contract.
       "Business Associate'' shall mean the Contractor.
       "Covered Entity" shall mean CMS’ Medicare Fee for Service program and/or Medicare’s
       Prescription Drug Discount Care and Transitional Assistance Programs.
       "Secretary" shall mean the Secretary of the Department of Health and Human Services or
       the Secretary’s designee.

       Obligations and Activities of Business Associate

       (a) Business Associate agrees to not use or disclose Protected Health Information
       (“PHI”), as defined in 45 C.F.R. § 160.103, created or received by Business Associate
       from or on behalf of Covered Entity other than as permitted or required by this Contract
       or as required by law.


                                             SA095
                                              112
                                                                                              A00113
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 102 of 514




 (b) Business Associate agrees to use safeguards to prevent use or disclosure of PHI
 created or received by Business Associate from or on behalf of Covered Entity other than
 as provided for by this Contract. Furthermore, Business Associate agrees to use
 appropriate administrative, physical and technical safeguards that reasonably and
 appropriately protect the confidentiality, integrity and availability of the electronic
 protected health information (“EPHI”), as defined in 45 C.F.R. 160.103, it creates,
 receives, maintains or transmits on behalf of the Covered Entity to prevent use or
 disclosure of such EPHI.
 (c) Business Associate agrees to mitigate, to the extent practicable, any harmful effect
 that is known to Business Associate of a use or disclosure of PHI by Business Associate
 in violation of the requirements of this Contract.
 (d) Business Associate agrees to report to Covered Entity any use or disclosure involving
 PHI it receives/maintains from/on behalf of the Covered Entity that is not provided for by
 this Contract of which it becomes aware. Furthermore, Business Associate agrees to
 report to Covered Entity any security incident involving EPHI of which it becomes
 aware.
 (e) Business Associate agrees to ensure that any agent, including a subcontractor, to
 whom it provides PHI received from Covered Entity, or created or received by Business
 Associate on behalf of Covered Entity, agrees to the same restrictions and conditions that
 apply through this Contract to Business Associate with respect to such information.
 Furthermore, Business Associate agrees to ensure that its agents and subcontractors
 implement reasonable and appropriate safeguards for the PHI received from or on behalf
 of the Business Associate.
 (f) Business Associate agrees to provide access, at the request of Covered Entity, to PHI
 received by Business Associate in the course of contract performance, to Covered Entity
 or, as directed by Covered Entity, to an Individual in order to meet the requirements
 under 45 CFR § 164.524.
 (g) Business Associate agrees to make any amendment(s) to PHI in a Designated Record
 Set that Covered Entity directs or agrees to pursuant to 45 CFR § 164.526 upon request
 of Covered Entity.
 (h) Business Associate agrees to make internal practices, books, and records, including
 policies and procedures and PHI, relating to the use and disclosure of PHI received from,
 or created or received by Business Associate on behalf of Covered Entity, available to
 Covered Entity, or to the Secretary for purposes of the Secretary determining Covered
 Entity's compliance with the various rules implementing the HIPAA.
 (i)Business Associate agrees to document such disclosures of PHI and information
 related to such disclosures as would be required for Covered Entity to respond to a
 request by an Individual for an accounting of disclosures of PHI in accordance with 45
 CFR § 164.528.
 (j) Business Associate agrees to provide to Covered Entity, or an individual identified by
 the Covered Entity, information collected under this Contract, to permit Covered Entity
 to respond to a request by an Individual for an accounting of disclosures of PHI in
 accordance with 45 CFR § 164.528.

 Permitted Uses and Disclosures by Business Associate
                                   SA096
                                     113
                                                                                                  A00114
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 103 of 514




 Except as otherwise limited in this Contract, Business Associate may use or disclose PHI
 on behalf of, or to provide services to, Covered Entity for purposes of the performance of
 this Contract, if such use or disclosure of PHI would not violate the HIPAA Privacy or
 Security Rules if done by Covered Entity or the minimum necessary policies and
 procedures of Covered Entity.

 Obligations of Covered Entity

 (a) Covered Entity shall notify Business Associate of any limitation(s) in its notice of
 privacy practices of Covered Entity in accordance with 45 CFR § 164.520, to the extent
 that such limitation may affect Business Associate's use or disclosure of PHI.
 (b) Covered Entity shall notify Business Associate of any changes in, or revocation of,
 permission by Individual to use or disclose PHI, to the extent that such changes may
 affect Business Associate's use or disclosure of PHI.
 (c) Covered Entity shall notify Business Associate of any restriction to the use or
 disclosure of PHI that Covered Entity has agreed to in accordance with 45 CFR §
 164.522, to the extent that such restriction may affect Business Associate's use or
 disclosure of PHI.

 Permissible Requests by Covered Entity

 Covered Entity shall not request Business Associate to use or disclose PHI in any manner
 that would not be permissible under the HIPAA Privacy or Security Rules.

 Term of Provision

 (a) The term of this Provision shall be effective as of {insert effective date}, and shall
 terminate when all of the PHI provided by Covered Entity to Business Associate, or
 created or received by Business Associate on behalf of Covered Entity, is destroyed or
 returned to Covered Entity, or, if it is infeasible to return or destroy PHI, protections are
 extended to such information, in accordance with the termination provisions in this
 Section.
 (b) Upon Covered Entity's knowledge of a material breach by Business Associate,
 Covered Entity shall either:
     (1) Provide an opportunity for Business Associate to cure the breach or end the
     violation consistent with the termination terms of this Contract. Covered Entity may
     terminate this Contract for default if the Business Associate does not cure the breach
     or end the violation within the time specified by Covered Entity; or
     (2) Consistent with the terms of this Contract, terminate this Contract for default if
     Business Associate has breached a material term of this Contract and cure is not
     possible; or
     (3) If neither termination nor cure is feasible, Covered Entity shall report the violation
     to the Secretary.
(c) Effect of Termination.
                                          SA097
                                            114
                                                                                                         A00115
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 104 of 514




           (1) Except as provided in paragraph (2) of this section, upon termination of this
           Contract, for any reason, Business Associate shall return or destroy all PHI received
           from Covered Entity, or created or received by Business Associate on behalf of
           Covered Entity. This provision shall apply to PHI that is in the possession of
           subcontractors or agents of Business Associate. Business Associate shall retain no
           copies of the PHI.
           (2) In the event that Business Associate determines that returning or destroying the
           PHI is infeasible, Business Associate shall provide to Covered Entity notification of
           the conditions that make return or destruction infeasible. Upon such notice that return
           or destruction of PHI is infeasible, Business Associate shall extend the protections of
           this Contract to such PHI and limit further uses and disclosures of such PHI to those
           purposes that make the return or destruction infeasible, for so long as Business
           Associate maintains such PHI.

       Miscellaneous

       (a) A reference in this Contract to a section in the Rules issued under HIPAA means the
       section as in effect or as amended.
       (b) The Parties agree to take such action as is necessary to amend this Contract from time
       to time as is necessary for Covered Entity to comply with the requirements of the Rules
       issued under HIPAA.
       (c) The respective rights and obligations of Business Associate under paragraph (c) of the
       section entitled “term of Provision” shall survive the termination of this Contract.
       (d) Any ambiguity in this Contract shall be resolved to permit Covered Entity to comply
       with the Rules implemented under HIPAA.

H.20. Conflict of Interest

The Contractor shall disclose any known or potential conflicts of interest, in accordance with
FAR Part 9.5, for the purpose of meeting the requirements of this contract. The Contractor
agrees that if an actual or potential organizational conflict of interest is discovered after an award
of a Task Order, the Contractor shall make full disclosure in writing to the Contracting Officer.
This disclosure shall include a description of actions that the Contractor has taken or proposes to
take to mitigate the actual or potential conflict. The Contracting Officer shall determine whether
a conflict of interest disclosed after award has been adequately resolved.


H.21. Code of Conduct

       SMOKING
       Effective June 9, 2004, smoking is not permitted anywhere on the CMS single site
       campus. This includes all areas outside the building, such as off-site facility,
       entranceways, sidewalks and parking areas. Smoking will not be permitted anywhere in
       Regional Offices or Washington, D.C. Office locations unless permitted by GSA
       guidelines or local landlord requirements. Contractor employees are subject to the same
                                             SA098
                                               115
                                                                                                      A00116
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 105 of 514




      restrictions as government personnel. Fines up to $50 per occurrence will be issued and
      enforced by the Federal Protective Service.

      DRESS
      The preferred dress codes at CMS facilities are professional attire, business attire or
      business casual attire.

H.22. Post Award Evaluation of Contractor Performance

   a. Contractor Performance Evaluations

      Interim annual, and final evaluations of contractor performance will be prepared on this
      contract in accordance with FAR 42.15. The final performance evaluation will be
      prepared at the time of completion of work. At the discretion of the Contracting Officer,
      interim evaluations should be considered. Annual evaluations shall be prepared to
      coincide with the anniversary date of the contract.

      A copy of all evaluations should be provided to the Contractor as soon as practicable
      after completion of the annual and final evaluation. The Contractor will be permitted
      thirty (30) days to review the document and to submit additional information or a
      rebutting statement. Any disagreement between the parties regarding an evaluation will
      be referred to the Deputy Director, Acquisition and Grants Group, whose decision will be
      final.

      Copies of the evaluation, contractor responses, and review comments, if any, will be
      retained as part of the contract file, and will be used to support future award decisions.


   b. Electronic Access to Contractor Performance Evaluations

      Contractors that have Internet capability may access evaluations through a secure Web
      site for review and comment by completing the registration form that can be obtained at
      the following address: https://cpscontractor.nih.gov.

      To register, simply logon and click on the “Register Here” link. This site provides
      instructions on how to register and offers computer-based training for contractors through
      the “CPS Contractor On-Line Training” hyperlink. There is no fee for registration or use
      of this system. Electronic evaluations are available to registered contractors for review
      30 days from the date the evaluation is sent.

      The registration process requires the contractor to identify an individual that will serve as
      a primary contact and who will be authorized access to the evaluation for review and
      comment. In addition, the contractor will be required to identify an alternate contact who
      will be responsible for notifying the cognizant contracting official in the event the

                                             SA099
                                              116
                                                                                                     A00117
       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 106 of 514




        primary contact is unavailable to process the evaluation within the required 30-day time
        frame.

H.23. Approval of Contractor Acquired Information Technology (IT)

A.      The Contractor must obtain the Contracting Officer’s written approval prior to the
        acquisition of any IT investments (see FAR Part 2.101, for definition of IT) to ensure
        compatibility and successful integration with CMS’s infrastructure/architecture.

B.      In the performance of a system life cycle development project, the Contractor must
        submit to the Project Officer the technical specifications for each of the following
        incremental phase of the projected life cycle prior to the commencement of work:

                       1. Design and Engineering
                       2. Development, and
                       3. Testing

C.      Upon written approval from the Contracting Officer, the Contractor shall commence
        work under the approved technical specification for the authorized incremental phase.

D.      In either instance of an approved IT investment acquisition, or an incremental phase of a
        system life cycle development project, the contract shall be modified accordingly and the
        Contractor shall proceed.

E.      CMS may disallow any contractor incurred cost that would not be allocated to the
        approved IT investment acquisition.


H.24. Section 508, Accessibility of Electronic and Information Technology (EIT)

     A. This contract is subject to Section 508 of the Rehabilitation Act of 1973 (29 U.S.C. 794d)
        as amended by the Workforce Investment Act of 1998 (P.L. 105-220). Specifically,
        subsection 508(a)(1) requires that when the Federal Government procures Electronic and
        Information Technology (EIT), the EIT must allow all Federal employees and individuals
        of the public with disabilities comparable access to and use of information and data that
        is provided to Federal employees and individuals of the public without disabilities.

     B. The EIT accessibility standards at 36 CFR Part 1194 were developed by the Architectural
        and Transportation Barriers Compliance Board ("Access Board") and apply to contracts
        and task/delivery orders, awarded under indefinite quantity contracts on or after June 25,
        2001.

     C. Each Electronic and Information Technology (EIT) product or service furnished under
        this contract shall comply with the Electronic and Information Technology Accessibility
        Standards (36 CRF 1194), as specified in the contract, as a minimum. If the Contracting
                                              SA100
                                                 117
                                                                                                        A00118
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 107 of 514




       Officer determines any furnished product or service is not in compliance with the
       contract, the Contracting Officer will promptly inform the Contractor in writing. The
       Contractor shall, without charge to the Government, repair or replace the non-compliant
       products or services within the period of time to be specified by the Government in
       writing. If such repair or replacement is not completed within the time specified, the
       Government shall have the following recourses:

           1. Cancellation of the contract, delivery or task order, purchase order, or line item
              without termination liabilities; or

           2. In the case of custom EIT being developed by a Contractor for the Government,
              the Government shall have the right to have any necessary changes made or
              repairs performed, by itself, or by another firm for the non-compliant EIT, with
              the Contractor liable for reimbursement to the Government for any expenses
              incurred thereby.

   D. The contractor must ensure that all EIT products that are less tan fully compliant with the
      accessibility standards are provided pursuant to extensive market research and are the
      most current compliant products or services available to satisfy this contract's
      requirements.

   E. For every EIT product or service accepted under this contract by the Government that
      does not comply with 36 CRF 1194, the contractor shall, at the discretion of the
      Government, make every effort to replace or upgrade it with a compliant equivalent
      product or service, if commercially available and cost neutral, on either the planned
      refresh cycle of the product or service, or on the contract renewal/effective option date,
      whichever shall occur first.


H.25 CMS Information Security - This clause applies to all organizations which possess
or use Federal information, or which operate, use or have access to Federal information
systems (whether automated or manual), on behalf of CMS.

The central tenet of the CMS Information Security (IS) Program is that all CMS information and
information systems shall be protected from unauthorized access, disclosure, duplication, modification,
diversion, destruction, loss, misuse, or theft—whether accidental or intentional. The security safeguards
to provide this protection shall be risk-based and business-driven with implementation achieved through
a multi-layered security structure. All information access shall be limited based on a least-privilege
approach and a need-to-know basis, i.e., authorized user access is only to information necessary in the
performance of required tasks. Most of CMS' information relates to the health care provided to the
nation’s Medicare and Medicaid beneficiaries, and as such, has access restrictions as required under
legislative and regulatory mandates.

The CMS IS Program has a two-fold purpose:

                                             SA101
                                              118
                                                                                                            A00119
       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 108 of 514




        (1) To enable CMS’ business processes to function in an environment with commensurate
        security protections, and

        (2) To meet the security requirements of federal laws, regulations, and directives.

The principal legislation for the CMS IS Program is Public Law (P.L.) 107-347, Title III, Federal
Information Security Management Act of 2002 (FISMA), http://csrc.nist.gov/drivers/documents/FISMA-
final.pdf. FISMA places responsibility and accountability for IS at all levels within federal agencies as
well as those entities acting on their behalf. FISMA directs Office of Management and Budget (OMB)
through the Department of Commerce, National Institute of Standards and Technology (NIST), to
establish the standards and guidelines for federal agencies in implementing FISMA and managing cost-
effective programs to protect their information and information systems. As a contractor acting on
behalf of CMS, this legislation requires that the Contractor shall:

   •    Establish senior management level responsibility for IS,
   •    Define key IS roles and responsibilities within their organization,
   •    Comply with a minimum set of controls established for protecting all Federal information, and
   •    Act in accordance with CMS reporting rules and procedures for IS.

Additionally, the following laws, regulations and directives and any revisions or replacements of same
have IS implications and are applicable to all CMS contractors.
   • P.L. 93-579, The Privacy Act of 1974,
       http://www.usdoj.gov/oip/privstat.htm , (as amended);
   • P.L. 99-474, Computer Fraud & Abuse Act of 1986,
       www.usdoj.gov/criminal/cybercrime/ccmanual/01ccma.pdf P.L. 104-13,
       Paperwork Reduction Act of 1978, as amended in 1995, U.S. Code 44
       Chapter 35, www.archives.gov/federal-register/laws/paperwork-reduction;
   • P.L. 104-208, Clinger-Cohen Act of 1996 (formerly known as the Information
       Technology Management Reform Act),
       http://www.cio.gov/Documents/it_management_reform_act_Feb_1996.html;
   • P.L. 104-191, Health Insurance Portability and Accountability Act of 1996
       (formerly known as the Kennedy-Kassenbaum Act)
       http://aspe.hhs.gov/admnsimp/pl104191.htm;
   • OMB Circular No. A-123, Management’s Responsibility for Internal
       Control, December 21, 2004,
       http://www.whitehouse.gov/omb/circulars/a123/a123_rev.html;
   • OMB Circular A-130, Management of Federal Information Resources,
       Transmittal 4, November 30, 2000,
       http://www.whitehouse.gov/omb/circulars/a130/a130trans4.html;
   • NIST standards and guidance, http://csrc.nist.gov/; and,
   • Department of Health and Human Services (DHHS) regulations, policies, standards and
       guidance http://www.hhs.gov/policies/index.html


                                              SA102
                                               119
                                                                                                              A00120
       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 109 of 514




These laws and regulations provide the structure for CMS to implement and manage a cost-effective IS
program to protect its information and information systems. Therefore, the Contractor shall monitor
and adhere to all IT policies, standards, procedures, directives, templates, and guidelines that govern the
CMS IS Program, http://www.cms.hhs.gov/informationsecurity and the CMS System Lifecycle
Framework, http://www.cms.hhs.gov/SystemLifecycleFramework.

The Contractor shall comply with the CMS IS Program requirements by performing, but not limited
to, the following:

   •    Implement their own IS program that adheres to CMS IS policies, standards, procedures, and
        guidelines, as well as industry best practices;
   •    Participate and fully cooperate with CMS IS audits, reviews, evaluations, tests, and assessments
        of contractor systems, processes, and facilities;
   •    Provide upon request results from any other audits, reviews, evaluations, tests and/or
        assessments that involve CMS information or information systems;
   •    Report and process corrective actions for all findings, regardless of the source, in accordance
        with CMS procedures;
   •    Document its compliance with CMS security requirements and maintain such documentation in
        the systems security profile;
   •    Prepare and submit in accordance with CMS procedures, an incident report to CMS of any
        suspected or confirmed incidents that may impact CMS information or information systems; and
   •    Participate in CMS IT information conferences as directed by CMS.

If the contractor believes that an updated IS-related requirement posted to the CMS website may
result in a significant cost impact, the contractor may submit a request for equitable cost
adjustment before implementing change.

H. 26 Security Clause -Background - Investigations for Contractor Personnel

If applicable, Contractor personnel performing services for CMS under this contract, task order
or delivery order shall be required to undergo a background investigation. CMS will initiate and
pay for any required background investigation(s).

After contract award, the CMS Project Officer (PO) and the Security and Emergency
Management Group (SEMG), with the assistance of the Contractor, shall perform a position-
sensitivity analysis based on the duties contractor personnel shall perform on the contract, task
order or delivery order. The results of the position-sensitivity analysis will determine first,
whether the provisions of this clause are applicable to the contract and second, if applicable,
determine each position’s sensitivity level (i.e., high risk, moderate risk or low risk) and dictate
the appropriate level of background investigation to be processed. Investigative packages may
contain the following forms:

           1. SF-85, Questionnaire for Non-Sensitive Positions, 09/1995
           2. SF-85P, Questionnaire for Public Trust Positions, 09/1995
                                               SA103
                                                120
                                                                                                     A00121
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 110 of 514




           3.   OF-612, Optional Application for Federal Employment, 12/2002
           4.   OF-306, Declaration for Federal Employment, 01/2001
           5.   Credit Report Release Form
           6.   FD-258, Fingerprint Card, 5/99, and
           7.   CMS-730A, Request for Physical Access to CMS Facilities (NON-CMS ONLY),
                11/2003.

The Contractor personnel shall be required to undergo a background investigation commensurate
with one of these position-sensitivity levels:

1) High Risk (Level 6)
Public Trust positions that would have a potential for exceptionally serious impact on the
integrity and efficiency of the service. This would include computer security of a major
automated information system (AIS). This includes positions in which the incumbent’s actions
or inaction could diminish public confidence in the integrity, efficiency, or effectiveness of
assigned government activities, whether or not actual damage occurs, particularly if duties are
especially critical to the agency or program mission with a broad scope of responsibility and
authority.

Major responsibilities that would require this level include:

       a. development and administration of CMS computer security programs, including
          direction and control of risk analysis and/or threat assessment;
       b. significant involvement in mission-critical systems;
       c. preparation or approval of data for input into a system which does not necessarily
          involve personal access to the system but with relatively high risk of causing grave
          damage or realizing significant personal gain;
       d. other responsibilities that involve relatively high risk of causing damage or realizing
          personal gain;
       e. policy implementation;
       f. higher level management duties/assignments or major program responsibility; or
       g. independent spokespersons or non-management position with authority for
          independent action.

Approximate cost of each investigation: $2,900

2) Moderate Risk (Level 5)
Level 5 Public Trust positions include those involving policymaking, major program
responsibility, and law enforcement duties that are associated with a “Moderate Risk.” Also
included are those positions involving access to or control of unclassified sensitive, proprietary
information, or financial records, and those with similar duties through which the incumbent can
realize a significant personal gain or cause serious damage to the program or Department.
Responsibilities that would require this level include:


                                              SA104
                                               121
                                                                                                    A00122
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 111 of 514




       a. the direction, planning, design, operation, or maintenance of a computer system and
          whose work is technically reviewed by a higher authority at the High Risk level to
          ensure the integrity of the system;
       b. systems design, operation, testing, maintenance, and/or monitoring that are carried
          out under the technical review of a higher authority at the High Risk level;
       c. access to and/or processing of information requiring protection under the Privacy Act
          of 1974;
       d. assists in policy development and implementation;
       e. mid-level management duties/assignments;
       f. any position with responsibility for independent or semi-independent action; or
       g. delivery of service positions that demand public confidence or trust.

Approximate cost of each investigation: $2,400

3) Low Risk (Level 1)
Positions having the potential for limited interaction with the agency or program mission, so the
potential for impact on the integrity and efficiency of the service is small. This includes
computer security impact on AIS.

Approximate cost of each investigation: $550

The Contractor shall submit the investigative package(s) to SEMG within three (3) days after
being advised by the SEMG of the need to submit packages. Investigative packages shall be
submitted to the following address:

       Centers for Medicare & Medicaid Services
       Office of Operations Management
       Security and Emergency Management Group
       Mail Stop SL-13-15
       7500 Security Boulevard
       Baltimore, Maryland 21244-1850

The Contractor shall submit a copy of the transmittal letter to the Contracting Officer (CO).

Contractor personnel shall submit a CMS-730A (Request for Badge) to the SEMG (see
attachment in Section J). The Contractor and the PO shall obtain all necessary signatures on the
CMS-730A prior to any Contractor employee arriving for fingerprinting and badge processing.

The Contractor must appoint a Security Investigation Liaison as a point of contact to resolve any
issues of inaccurate or incomplete form(s). Where personal information is involved, SEMG may
need to contact the contractor employee directly. The Security Investigation Liaison may be
required to facilitate such contact.

SEMG will fingerprint contractor personnel and send their completed investigative package to
the Office of Personnel Management (OPM). OPM will conduct the background investigation.
                                            SA105
                                              122
                                                                                                      A00123
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 112 of 514




Badges will not be provided by SEMG until acceptable finger print results are received; until
then the contractor employee will be considered an escorted visitor. The Contractor remains
fully responsible for ensuring contract, task order or delivery order performance pending
completion of background investigations of contractor personnel.

SEMG shall provide written notification to the CO with a copy to the PO of all suitability
decisions. The PO shall then notify the Contractor in writing of the approval of the Contractor’s
employee(s), at that time the Contractor’s employee(s) will receive a permanent identification
badge. Contractor personnel who the SEMG determines to be ineligible may be required to
cease working on the contract immediately.

The Contractor shall report immediately in writing to SEMG with copies to the CO and the PO,
any adverse information regarding any of its employees that may impact their ability to perform
under this contract, task order or delivery order. Reports should be based on reliable and
substantiated information, not on rumor or innuendo. The report shall include the contractor
employee’s name and social security number, along with the adverse information being reported.

Contractor personnel shall be provided an opportunity to explain or refute unfavorable
information found in an investigation to SEMG before an adverse adjudication is made.
Contractor personnel may request, in writing, a copy of their own investigative results by
contacting:

       Office of Personnel Management
       Freedom of Information
       Federal Investigations Processing Center
       PO Box 618
       Boyers, PA 16018-0618.

At the Agency’s discretion, if an investigated contractor employee leaves the employment of the
contractor, or otherwise is no longer associated with the contract, task order, or delivery order
within one (1) year from the date the background investigation was initiated by CMS, then the
Contractor may be required to reimburse CMS for the full cost of the investigation. Depending
upon the type of background investigation conducted, the cost could be approximately $550 to
$2,900. The amount to be paid by the Contractor shall be due and payable when the CO submits
a written letter notifying the Contractor as to the cost of the investigation. The Contractor shall
pay the amount due within thirty (30) days of the date of the CO’s letter by check made payable
to the “United States Treasury.” The Contractor shall provide a copy of the CO’s letter as an
attachment to the check and submit both to the Office of Financial Management at the following
address:

       Centers for Medicare & Medicaid Services
       PO Box 7520
       Baltimore, Maryland 21207


                                              SA106
                                               123
                                                                                                       A00124
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 113 of 514




The Contractor must immediately provide written notification to SEMG (with copies to the CO
and the PO) of all terminations or resignations of Contractor personnel working on this contract,
task order or delivery order. The Contractor must also notify SEMG (with copies to the CO and
the PO) when a Contractor’s employee is no longer working on this contract, task order or
delivery order.

At the conclusion of the contract, task order or delivery order and at the time when a contractor
employee is no longer working on the contract, task order or delivery order due to termination or
resignation, all CMS-issued parking permits, identification badges, access cards, and/or keys
must be promptly returned to SEMG. Contractor personnel who do not return their government-
issued parking permits, identification badges, access cards, and/or keys within 48 hours of the
last day of authorized access shall be permanently barred from the CMS complex and subject to
fines and penalties authorized by applicable federal and State laws.


Work Performed Outside the United States and its Territories

The contractor, and its subcontractors, shall not perform any activities under this contract at a
location outside of the United States, including the transmission of data or other information
outside the United States, without the prior written approval of the Contracting Officer. The
factors that the Contracting Officer will consider in making a decision to authorize the
performance of work outside the United States include, but are not limited to the following:

         1.    All contract terms regarding system security
         2.    All contract terms regarding the confidentiality and privacy requirements for
               information and data protection
         3.    All contract terms that are otherwise relevant, including the provisions of the
               statement of work
         4.    Corporate compliance
         5.    All laws and regulations applicable to the performance of work outside the United
               States
         6.    The best interest of the United States

In requesting the Contracting Officer’s authorization to perform work outside the United States,
the contractor must demonstrate that the performance of the work outside the United States
satisfies all of the above factors. If, in the Contracting Officer’s judgment, the above factors are
not fully satisfied, the performance of work outside the United States will not be authorized.
Any approval to employ or outsource work outside of the United States must have the
concurrence of the CMS SEMG Director or designee.

I.12.    Contractual Clauses

All deliverables for this task order will adhere to the specifications, requirements, and guidance
as prescribed in the task order, Statement of Work, and 8AStars GWAC contractual clauses and
content.
                                               SA107
                                                  124
                                                                          A00125
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 114 of 514




J. Attachments

J.1 SOW – Recovery Audit Contractor Data Warehouse (RAC DW)
Maintenance, Enhancement, Migration and Interim Hosting Contractor




                                      SA108
                                       125
                                                                                                    A00126
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 115 of 514




          PAST PERFORMANCE QUESTIONNAIRE
                   Sample Cover Letter

[COMPANY LETTERHEAD (Prime or subcontractor)]
Reference Name and Address                                         Date


SUBJECT: RFP # CMS-RFP-2011-110462

Dear ___(Client)______:

We are currently responding to the Centers for Medicare and Medicaid Services (CMS) Request
for Proposal number CMS-RFP-2011-110462. The purpose of this contract is to provide
Recovery Audit Services in support of Medicare Part D.

There is an increased emphasis on past performance in the federal source selection process.
CMS is requesting that customers and clients of offerors provide the information as described
within the attached questionnaire and return it to them for evaluation. We have identified you as
one of our references and respectfully request that you complete and sign the attached
questionnaire and then return it to CMS.

Questionnaires are due to CMS no later than 11:00 AM, local prevailing time Baltimore, MD
Friday, December 3, 2010, however, we would appreciate an earlier response if at all possible.

We sincerely appreciate your cooperation in this matter.

                                                     Sincerely,




                                             SA109
                                              126
                                                                                                     A00127
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 116 of 514




DEPA RTM EN T OF H EA LTH & H UM A N SERVICES
Centers for M edicare & M edicaid Services
7500 Security Boulevard, M ail Stop C2-21-15
Baltimore, M aryland 21244-1850

Office of Acquisition and Grants M anagement

SUBJECT:       Solicitation CMS-RFP-2011-110462

To Whom It May Concern:

The Centers for Medicare & Medicaid Services (CMS) very much appreciates your time and
thoughtfulness in completing the attached questionnaire. The information obtained from this
questionnaire will be utilized to evaluate the past performance of Offerors/Contractors who wish
to be awarded a contract with CMS. Please be advised that neither your name, nor position or
organization, will be divulged either before, during or after this survey has been completed.

The questionnaire is arranged by general performance areas, e.g., quality of service/performance,
cost control, timeliness, management, etc. Each area consists of a few basic questions relating to
these aspects of performance with regard to the Offeror/Contractor with which you worked.
Please complete the questionnaire as indicated on the form.

Finally, please sign your name and identify your position during your association with the
referenced Offeror/Contractor. Once completed, please submit the questionnaire in one of the
following manner:

       Email PDF (Preferred):        Jessica.Sanders@cms.hhs.gov E-mail is the preferred
                                     method.

       Mail Original:                Centers for Medicare and Medicaid Services
                                     Office of Acquisition and Grants Management
                                     Division of Medicare Support Contracts
                                     ATTN: Jessica Sanders
                                     (410) 786-1076
                                     Contract Specialist
                                     7500 Security Blvd., C22115
                                     Baltimore, MD 21244-1850

Thank you very much for completing the questionnaire!

                                                        Sincerely,
                                                        Jessica Sanders
                                                        Contract Specialist




                                                SA110
                                                 127
                                                                                                      A00128
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 117 of 514




                        PAST PERFORMANCE QUESTIONNAIRE

CMS Solicitation No. CMS-RFP-2011-110462

Company Being Evaluated (Offeror)

Offeror/Contractor:   ______________________________

Address:              ______________________________

                      ______________________________

Please complete the following questionnaire about the Offeror/Contractor and indicate
your responses in the blocks or columns, as appropriate. Numerical ratings are as
indicated in the Rating Scale below for Q6-Q11. Other Ratings are as indicated in each
block. Note: Use of the term “Agency” can be interpreted as also Government/non-
Government agencies or customers.

Rating Scale:
    0    Unsatisfactory: Non-conformances are jeopardizing the achievement of contract
         requirements, despite use of Agency resources. Recovery is not likely. If performance
         cannot be substantially corrected, it constitutes a significant impediment in
         consideration for future awards containing similar requirements.
    1    Poor: Overall compliance requires significant Agency resources to ensure
         achievement of contract requirements.
    2    Fair: Overall compliance requires minor Agency resources to ensure achievement of
         contract requirements
    3    Good: There are no, or very minimal, quality problems, and the Contractor has met
         the contract requirements.
    4    Excellent: There are no quality issues, and the Contractor has substantially exceeded
         the contract performance requirements without commensurate additional costs to the
         Government.
    5    Outstanding: The contractor has demonstrated an outstanding performance level that
         was significantly in excess of anticipated achievements and is commendable as an
         example for others, so that it justifies adding a point to the score. It is expected that
         this rating will be used in those rare circumstances where contractor performance
         clearly exceeds the performance levels described as "Excellent".

Although not required, we request that you justify each of your ratings with a comment. Please
be as specific in your comment as possible, especially in situations that warrant very high or very
low ratings. Use extra pages as necessary or expand the form electronically as needed.




                                              SA111
                                               128
                                                                                                          A00129
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 118 of 514




Q1. What type of Product(s)/service(s) was/are provided by the Offeror?


Q2. What type of contract(s) (Firm Fixed Price, Cost Reimbursement, Time and Material, etc.), quantity,
and subtotal dollar value of each type of contract(s) do/did you have with the Offeror?

Q3. Was the contract/subcontract(s) solicited competitively or noncompetitively?

Q4. Total value of the contract/subcontract(s) with the Offeror?

Q5. Period of Performance of the contract/subcontract(s)?

Q6. How was the contractor's quality of     Comments:                               Rating:
products/services? (Compliance with
contract requirements? Accuracy of reports
submitted? Technical excellence?
Appropriateness of personnel?) – See rating
scale narrative on previous page.
Q7. How well did the contractor control      Comments:                              Rating:
costs? Was it within budget (over/under
target costs?) If an Earned Value
Management System (EVMS) was used,
was the Contractor in compliance with the
EVMS plan? Did the Contractor provide
current, accurate and complete billings?
Relationships of negotiated costs to actual
costs? Cost efficiencies?) Fixed Price = N/A
– See rating scale narrative on previous
page.
Q8. How well did the contractor comply with Comments:                               Rating:
timeliness? (Did contractor meet interim
milestones and delivery dates on time?) –
See rating scale narrative on previous page.



Q9. How well did the contractor work with     Comments:                             Rating:
Project/Contracting Officers? (Prompt
notification of problems? Reasonable,
cooperative, flexible? Proactive?
Responsive to contract requirements?
Recommended solutions?) – See rating
scale narrative on previous page.
Q10. How would you describe the               Comments:                             Rating:
contractor's commitment to customer
satisfaction? (How well did the contractor
interface with the end user of the
product/service?) – See rating scale
narrative on previous page.
Q11. How well do you assess the               Comments:                             Rating:
contractor's key personnel? (How long did
key personnel stay on contract? Did they
effectively manage contract? Were they
responsive to technical direction?) – See
rating scale narrative on previous page.


                                                 SA112
                                                  129
                                                                                                      A00130
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 119 of 514




Q12. If there was a cost overrun(s) or         a.   All
delivery delay(s), in your opinion, how much   b.   Most
of the overrun/delay was attributable to       c.   Half
contractor’s management?                       d.   Little
                                               e.   None
                                               f.   Not applicable
Q13. Based on your experience with this        a. Yes
contractor, do you think it can be relied upon b. No
to delivery quality products/services by a
specific delivery date?
Q14. Regarding resolving difficulties of a     a.   Highly Cooperative and Responsive
Technical, Business, Performance, and/or       b.   Moderately Cooperative and Responsive
Quality nature, how responsive/effective was   c.   Slightly Cooperative and Responsive
the Contractor?                                d.   Slightly Uncooperative and Unresponsive
                                               e.   Moderately Uncooperative and Unresponsive
                                               f.   Highly Uncooperative and Unresponsive
                                               g.   No opinion
Q15. Do you believe the contractor can be      a. Yes
relied upon to control the cost of             b. Uncertain
performance?                                   c. No
Q16. How frequently did you have to direct     a. None
the contractor to re-perform the services      b. Occasionally
because it had been performed                  c. Often
unsatisfactorily the first time?               d. Always or almost always
Q17. Was the contractor's performance      a. Yes
generally satisfactory?                    b. No
Q18. Would you hire this contractor again? a. Yes
                                           b. No
Q19. Would you recommend this contractor a. Yes
to others?                                 b. No
Q20. Any other comments regarding the      Comments:
contractor's performance?




Company COMPLETING Questionnaire

Company Name:           ___________________________

Address:                ___________________________

                        ___________________________

Signature of Individual Completing the Questionnaire:       _____________________________
                                                                                    Date

Name:           ___________________________                 Telephone No.: ________________________

Title:          ___________________________                 Email Address: ________________________

                                                    SA113
                                                     130
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 120 of 514




              TAB 78
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 121 of 514




                              SA114
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 122 of 514




                              SA115
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 123 of 514




              TAB 79
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 124 of 514




                              SA116
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 125 of 514




              TAB 80
                                                                                                                                                                                                         A00474
                              Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 126 of 514
                                                                                                                    6'%).#'. +'%+$                                        1,$ % 1,$2
                                                             
                                                                                                                                                                                                 
7-$)+-$).=-%+  '. %))%                                 B $$'. /$ +.$                          ;#$A" 2 . %)=1"#'02$#$A)%                            91#%3$'.)%""# $#

                                                                                           
@ 22"$+&                                            '%+$    /                                ?+- ) 2.$#$+& !                    '%+$         !
    /                                                                                          !-,$*#)#).))
102/3 4                                                                          "#$%&'$()'*&+*,$
01/



8)-$)+++#$22%'%).#'.%#                                         >-$)+-$).%2%! ' .. %))%
                                                                                                          

 
$$#451                                                                                               >+.$+        

 1211
1
                                                                                                                6<-%+  '. %)%'%).#'.=%#+$#)%
                                                                                               
                                                                                                                
                                                                                                                6<+.$+         
'%+$                                                   ' ! .&'%+$                                   
                                                                                                           

    . 4                6;.          %                                   5            
    %                                5        : 
       8695                                
                                !"#$%&%"#'()%*!$+,$-$)..%$#$'$ /$+.
  .0$1!'$+$2 ,).$+%#.0$#$'$ 1.%%$#21# %#.%.0$0%"#)++.$21$'  $+-&#$2"!. )#$3$'. %)%&%"#%$# 
  4                 5            54       
                 5   4           
67''%"). ),)+11#%1# . %)+. 

                                                                                                   


 '0$'(%)$      .0 2'0),$%#+$# 2 22"$+1"#2")..%: "   .0$'0),$22$.%#.0 ) .$-6;#$-+$ ).0$'%).#'.
                  %#+$#)% ) .$-6<

                .0$%/$)"-$#$+'%).#'.=%#+$# 2-%+  $+.%#$!$'..0$+- ) 2.#. /$'0),$2% " % 
                  """    2$.%#.0 ) .$-6;51"#2")..%.0$".0%# .&%#;B6<B

                '.0 22"11!$-$).!,#$$-$). 2$).$#$+ ).%1"#2")..%".0%# .&%:

      9            3 6&70*+&$)%&+"8*.*'&$*"#
                +%.0$# " "      



             '                          5                                                                 
                                                                      C                                        

6;+$2'# 1. %)%-$)+-$).=-%+  '. %)&% ' $()  % # %#   *$+ , $#
& /-:;)%4  
/-:;)%4
<)(-%(",)".$<*,:"8*.*'&$*"#*,$") $)#8$<)()%*"8".()%."%:&#')-#$*+/)'):;)% 
 3

1#8"."8*.*'&$*"#
)%*"8".)%."%:&#')4 $" 




$   4    5                                >6<5      5                    
69)-$)+. .!$%2 ,)$#""                                                                 6@)-$)+. .!$%'%).#'. ),% '$#"" 

     Christopher Mucke                                                                                      *'"+)")=
69 '%).#'.%#=%$#%#                                                           69'+.$2 ,)$+          6@") .$+2..$2%-$# '                                            6@'+.$2 ,)$+

                                                                                        11/27/13
                %" '  %                                                                           % %& 
)2)?9;<D<6D697D8<?<                                                                                                                                                2.)+#+%#-B<#$/6<D8B
1 4                                                                                                                                                   1   ,2

                                                                                                          SA117
                                                                                                           123                                                      #;8'#9B7;B
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 127 of 514




              TAB 81
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 128 of 514




                              SA118
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 129 of 514




              TAB 82
                                 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 130 of 514
                                                                                                                                 6'%).#'. +'%+$                                         1,$ % 1,$2
                                                                         
                                                                                                                                                                                                                 
7-$)+-$).=-%+  '. %))%                                             B $$'. /$ +.$                          ;#$A" 2 . %)=1"#'02$#$A)%                               91#%3$'.)%""# $#

                                                                                                       
@ 22"$+&                                                        '%+$    /                                 ?+- ) 2.$#$+& !                      '%+$             !
    /                                                                                                      !-,$*#)#).))
102/3 4                                                                                      "#$%&'$()'*&+*,$
01/



8)-$)+++#$22%'%).#'.%#                                                      >-$)+-$).%2%! ' .. %))%
                                                                                                                       

 
$$#451                                                                                                            >+.$+        

 1211
1
                                                                                                                             6<-%+  '. %)%'%).#'.=%#+$#)%
                                                                                                            
                                                                                                                             
                                                                                                                             6<+.$+         
'%+$                                                               ' ! .&'%+$                                    
                                                                                                                       

    . 4                6; .          %                                   5           
    %                                 5        : 
       8695                                 
                                 !"#$%&%"#'()%*!$+,$-$)..%$#$'$ /$+.
  .0$1!'$+$2 ,).$+%#.0$#$'$ 1.%%$#21# %#.%.0$0%"#)++.$21$'  $+-&#$2"!. )#$3$'. %)%&%"#%$# 
  4                  5            54       
                 5   4           
67''%"). ),)+11#%1# . %)+. 

                                                                                                                   


 '0$'(%)$        .0 2'0),$%#+$# 2 22"$+1"#2")..%: "   .0$'0),$22$.%#.0 ) .$-6;#$-+$ ).0$'%).#'.
                    %#+$#)% ) .$-6<

                  .0$%/$)"-$#$+'%).#'.=%#+$# 2-%+  $+.%#$!$'..0$+- ) 2.#. /$'0),$2% " % 
                    """    2$.%#.0 ) .$-6;51"#2")..%.0$".0%# .&%#;B6<B

                  '.0 22"11!$-$).!,#$$-$). 2$).$#$+ ).%1"#2")..%".0%# .&%:

      9              3 6&70*+&$)%&+"8*.*'&$*"#
                  +%.0$# " "      



               '                                    5                                                                 
                                                                                  C                                          

6;+$2'# 1. %)%-$)+-$).=-%+  '. %)&% ' $()  % # %#   *$+ , $#
& /-:;)%4  
/-:;)%4
<)(-%(",)".$<*,:"8*.*'&$*"#*,$"4

31 $)#8($*"#)%*"88:*#*,$%&$*=)&#8(()&+,($*"#$<%"-></)'):;)%  3.
&++&(()&+,<&=)#"$'"#'+-8)8&#8'":(+)$)8(&?:)#$'"++)'$*"#;?/)'):;)%   $<)
&8:*#*,$%&$*=)&#8&(()&+,"($*"#()%*"8,<&++;)) $)#8)8&,%)@-*%)8A

388!&:*)'"$$&,$<)"#$%&'$*#>..*')%)(%),)#$&$*=)3
)%*"8".)%."%:&#')4 $" 



$   4    5                                            > 6<5      5                           
69)-$)+. .!$%2      ,)$#"" 
                      Digitally signed by Christopher Mucke
                                                                                                                         6@)-$)+. .!$%'%).#'. ),% '$#"" 
                               DN: cn=Christopher Mucke, o=ACLR,
           Christopher Mucke   ou, email=cmucke@aclrsbs.com, c=US
                               Date: 2017.01.25 11:05:58 -05'00'
                                                                                                                         *'"+)")?
69 '%).#'.%#=%$#%#                                                                       69'+.$2 ,)$+          6@") .$+2..$2%-$# '                                                   6@'+.$2 ,)$+
                                                                                                                                                                Digitally signed by Nicole Hoey -S
                                                                                                                             Nicole Hoey -S                     Date: 2017.01.25 15:45:52 -05'00'
                 %" '  %                                                                                       % %& 
)2)?9;<D<6D697D8<?<                                                                                                                                                              2.)+#+%#-B<#$/6<D8B
1 4                                                                                                                                                                 1   ,2

                                                                                                                      SA119                                                       #;8'#9B7;B
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 131 of 514




              TAB 83
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 132 of 514




                              SA120
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 133 of 514




                              SA121
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 134 of 514




                              SA122
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 135 of 514




                              SA123
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 136 of 514




                              SA124
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 137 of 514




              TAB 84
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 138 of 514




                              SA125
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 139 of 514




                              SA126
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 140 of 514




                              SA127
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 141 of 514




                              SA128
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 142 of 514




                              SA129
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 143 of 514




                              SA130
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 144 of 514




                              SA131
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 145 of 514




                              SA132
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 146 of 514




              TAB 85
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 147 of 514




                              SA133
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 148 of 514




                              SA134
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 149 of 514




                              SA135
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 150 of 514




                              SA136
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 151 of 514




                              SA137
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 152 of 514




                              SA138
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 153 of 514




                              SA139
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 154 of 514




                              SA140
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 155 of 514




                              SA141
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 156 of 514




                              SA142
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 157 of 514




                              SA143
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 158 of 514




                              SA144
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 159 of 514




                              SA145
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 160 of 514




                              SA146
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 161 of 514




                              SA147
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 162 of 514




                              SA148
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 163 of 514




              TAB 86
ACLRII02019     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 164 of 514


                                                                                      38705 Seven Mile Rd.
                                                                                      Suite 251
                                                                                      Livonia, Michigan 48152
                                                                                      Ph: 734.744.4400 Fax: 734.744.4150




          September 10, 2015

          Nicole Hoey
          Department of Health & Human Services
          Centers for Medicare and Medicaid
          7500 Security Blvd; M/S C2-21-15
          Baltimore, MD 21244-1850

          To: Contracting Officer - Hoey:

          ACLR, LLC (“ACLR”), hereby requests the Contracting Officer’s Final Decision in accordance with the
          Contract Disputes Act of 1978, as amended, 41 USC §§601, 605(a) (the “CDA”) and FAR Subpart 33.2,
          with respect to the breaches of the terms of the above-referenced Contract by the Center for Medicaid
          and Medicare Services (“CMS” or the “Government”). ACLR seeks a final determination by your office on
          the propriety of the CMS’ actions.

                                                          FACTS

              1. On December 31, 2014, CMS executed Modification 000016, which incorporated a Statement of
                 Work (OY2 SOW) that required the RAC to track Part D payment PDE records that were
                 identified as UFR and restricted from Part D RAC requirements.

              2. OY2 SOW Section 1.2.3 defines UFR criteria as Terminated Contracts, Contracts Already Deemed
                 to Have No Findings, Contracts Already Included in an Offset, and Contracts Already Included in
                 an Appeal.

              3. On January 7, 2014, CMS commenced submitting PY12 PDEs to ACLR; all PDEs associated with
                 Terminated Contracts were separately tracked and no additional RAC requirements were
                 performed on these PDEs by ACLR.

              4. During 2014, ACLR submitted 9 New Audit Issue Review Packages (NAIRPs) for improper
                 payments totaling $490,924,393. Each of these NAIRPs was denied or approved and
                 subsequently rescinded by CMS and no additional UFR PY12 PDEs were identified utilizing
                 Section 1.2.3 OY2 SOW requirements.

              5. On or about March 30, 2015, ACLR received PY13 PDE data from CMS.

              6. On March 31, 2015, CMS issued “IDR End User Notification #15-19”, which stated that PY13 PDE
                 data was incomplete, that the file would be updated to include missing data, and that a
                 notification would be provided upon completion of the update.




                                                         SA149
ACLRII02020     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 165 of 514



              7. On June 5, 2015, CMS resubmitted updated PY13 PDE data to ACLR; all PDEs associated with
                 Terminated Contracts were separately tracked and no additional RAC requirements were
                 performed on these PDEs by ACLR.

              8. As of August 31, 2015, ACLR has submitted 4 NAIRPs for improper payments totaling
                 $794,589,240. Each of these audit issues was denied or is currently pending approval or denial
                 by CMS; no additional UFR PY12-PY13 PDEs were identified utilizing Section 1.2.3 OY2 SOW
                 requirements.

              9. On October 29, 2010, ACLR notified CMS of improper sales tax computations as an audit issue
                 subject to recovery.

              10. On March 10, 2015, ACLR commenced development of the PY12-PY13 Sales Tax Errors NAIRP
                  including a comprehensive multistate statutory review to determine the state and local
                  taxability of Part D PDEs.

              11. On March 10, 2015, ACLR commenced a review of all sales tax related CMS actions and
                  identified 4 CMS memorandums dated December 21, 2010, August 13, 2010, September 1,
                  2010, and April 11, 2011 pertaining to PY10 improper Louisiana sales tax collections by
                  pharmacies and the subsequent resubmission of corrected PDES for affected transactions. No
                  other CMS actions related to sales tax on Part D PY07-PY13 PDE were identified.

              12. On August 21, 2015, ACLR submitted a New Audit Issue Review Package (NAIRP) for PY12-PY13
                  Sales Tax Errors encompassing improper payments where CMS paid for sales tax in states with
                  no sales tax is imposed, Louisiana and Minnesota where prescription drugs are exempt from
                  sales tax, and in states where the gross sales tax exceeded 50 percent of the drug cost.

              13. On September 3, 2015, CMS informed ACLR that its NAIRP for PY12-PY13 Sales Tax Errors was
                  denied in accordance with OY2 SOW Section 1.2.3.

              14. On January 22, 2014, CMS notified ACLR the MEDIC does not recover improper payments and
                  ACLR was permitted to recover improper payments pertaining to veterinarians, previously
                  identified by the MEDIC, in Unauthorized Prescriber Reviews previously conducted by ACLR.

              15. CMS did not notify ACLR that it had contracted with another contractor for the recovery of Part
                  D improper payments.

              16. As of the date of this filing, CMS has not provided ACLR with a listing of the Contracts Already
                  Deemed to Have No Findings, Contracts Already Included in an Offset, and Contracts Already
                  Included in an Appeal as identified by the contractor hired by CMS to recover improper
                  payments associated with improper sales tax collections.

              17. As of the date of this filing, CMS has not provided ACLR a listing of the PDEs that have been
                  identified by the by the contractor hired by CMS to recover improper payments associated with
                  improper sales tax collections to ensure that duplicative audit efforts on identified PDEs are also
                  not selected for other ACLR audit issue submissions.




                                                           SA150
ACLRII02021     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 166 of 514



              18. As of the date of this filing, ACLR was unable to identify any CMS internal or public notifications
                  to plan sponsors or other Part D RAC stakeholders that it had contracted with another
                  contractor for the recovery of Part D improper payments.

              19. As of the date of this filing, ACLR was unable to identify any CMS internal or public notifications
                  pertaining to the recovery of improper payments related to sales tax collections issued
                  subsequent to ACLR PY12-PY13 Sales Tax Errors NAIRP submission.

              20. ACLR identified $98,923,096 in Minnesota improper sales tax collections from beneficiaries
                  and/or the subsequent improper collection of sales taxes from plan sponsors and/or related
                  downstream entities for PY07-PY13 Part D payment PDEs; Medicare Part D improper payments
                  totaled $1,497,577,277.

              21. ACLR identified $12,918,782 in Louisiana improper sales tax collections from beneficiaries
                  and/or the subsequent improper collection of sales taxes from plan sponsors and/or related
                  downstream entities for PY07-PY13 Part D payment PDEs; Medicare Part D improper payments
                  totaled $164,124,020.

              22. ACLR identified $305,419 in Alaska, Delaware, Montana, New Hampshire, and Oregon improper
                  sales tax collections from beneficiaries and/or the subsequent improper collection of sales taxes
                  from plan sponsors and/or related downstream entities for PY07-PY13 Part D payment PDEs;
                  Medicare Part D improper payments totaled $8,814,920.

              23. ACLR identified $3,173,601 in sales tax collections by pharmacies for PY07-PY13 Part D payment
                  PDEs where the sales tax rate exceeded 50%; Medicare Part D improper payments totaled
                  $2,168,577.

                                                        CONCLUSIONS

          CMS clearly breached the Contract with respect to its express obligations thereunder in that it had no
          legal justification to deny the NAIRP for PY12-PY13 Sales Tax Errors without prior identification of PDE
          records as UFR. As a result of this breach, ACLR is entitled to damages.

          CMS clearly breached the Contract with respect to its express obligations thereunder in that it had no
          legal justification to contract with another entity to recover improper payments on PY12-PY13 Sales Tax
          Errors for the Part D RAC Program. As a result of this breach, ACLR is entitled to damages.

          CMS clearly breached the Contract with respect to its implied duty of good faith by in that it did not
          identify and communicate to ACLR all UFR PDEs contained within PY12-PY13 PDE payment data resulting
          in the expenditure of resources by ACLR on PDEs for which no recovery is permissible. As a result of this
          breach, ACLR is entitled to damages.

          CMS clearly breached the Contract with respect to its implied duty of good faith by engaging another
          contractor to recover sales tax improper payments for an issue previously identified by ACLR or failing to
          notify ACLR of MEDIC related actions under the purview of ACLR and subsequently misrepresented CMS
          ongoing recovery actions as it relates to the specific sales tax issues and associated improper payments
          identified for PY12-PY13 Sales Tax Errors NAIRP. As a result of this breach, ACLR is entitled to damages.




                                                            SA151
ACLRII02022        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 167 of 514



                                                               RELIEF REQUESTED1

          1. A determination that ACLR is entitled to the amount of $79,302,575 representing the contractual
             contingency fee amount related to $658,354,795 improper payments identified in the PY12-PY13
             Sales Tax Errors NAIRP submission.

          2. A determination that ACLR is entitled to an additional amount of $12,000 representing an equitable
             adjustment to the Contract for estimated internal corporate expenses related to the preparation
             and filing of this Claim, as well as an amount for reasonable attorney’s fees and related expenses

          3. A determination that ACLR is entitled to interest on the above amounts from the date of the
             submission of this claim, in accordance with 41 U.S.C. §611.

                                                                                           Respectfully submitted,




                                                                 CERTIFICATION

          I certify that the foregoing Claim by ACLR, dated September 10, 2015, is made in good faith,
          that the supporting data are accurate and complete to the best of my knowledge and belief,
          that the amount requested accurately reflects the contract adjustment for which the contractor
          believes the Government is liable, and that I am duly authorized to certify the Claim on behalf
          of the contractor.




          BY: Christopher A. Mucke
          TITLE: Managing Principal, ACLR

          September 10, 2015




          1
              ACLR reserves the right to supplement this Claim and seek further damages.




                                                                      SA152
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 168 of 514




              TAB 87
      CaseCase
           1:15-cv-00767-PEC   Document
               1:16-cv-00309-JFM        54-11 Filed
                                  Document     Filed05/25/18
                                                     03/09/16 Page
                                                               Page169
                                                                    1 ofof
                                                                         8 514
                                      ORIGINAL
                                                                                     FILED
            IN TIIE UNITED STATES COI]RT OF FtrDERAL                   CLAIMS
 #CFC100001871                                                                       ilAR , 9 2016
                                                                                    U.S. COURT OF
                                                                                   FEDERAL CLAIMS
ACLR,LLC                                             )
38705 Seven Mile Road                                )
Suite 251                                            )
Livonia, Michigan 481 52                             )
                                                     )
       Plaintiff                                     )
                                                     )
            v.
THEUNITEDSTATES
                                                     )
                                                     )
                                                     )
                                                            No.
                                                                       16-309                        C
                                                     )
       Defendant                                     )




                                          COMPLAINT

       Plaintiff ACLR, LLC ('ACLR), by and tkough undersigned counsel, hereby files its

Complaint against Defendant the United States of America and states as follows:

                                            PARTIES

       1.        ACLR is a Michigan limited liability company with a principal place of business

at 38705 Seven Mile Road, Suite 251, Livonia, Michigan 48152.

       2.        Defendant is the United States of America acting by and through the United

States Deparfinent   of Health & Human Services, Center for Medicare & Medicaid         Senaces

("cMS',).

                                          JURISDICTION

       3.     This Court has jurisdiction over the subject matter of this action pursuant to the

Tucker Act, 28 U.S.C. 1491 and the Contract Disputes Act ("CDA),41 U.S.C. 7101-7109.




                                              SA153
       CaseCase
            1:15-cv-00767-PEC   Document
                1:16-cv-00309-JFM        54-11 Filed
                                   Document     Filed05/25/18
                                                      03/09/16 Page
                                                                Page170
                                                                     2 ofof
                                                                          8 514




                                          BACKGROUND

       4.       Title I of the Medicare Prescription Drug, hnprovement and Modemization Act of

2003   ('MMA') was signed into law on December 3,2003. The MMA                  established a new

voluntary outpatient prescription drug benefit under Part D of Title   XVIII of the Social Security

Act ("SSA'). Coverage for the drug benefit is provided by private prescription drug plans that

offer drug-only coverage or through Medicare Advantage ("MA") plans that offer both

prescription drug and health care coverage.

        5.      Section 6411(b) of the Affordable Care Act    ('ACA)      expanded the use of the

statutory 1893 Recovery Audit Contract provisions to utilize Recovery Audit Contracts under the

Medicare Integrity Program       to identif'     underpayments and overpayments and recoup

overpaj4nents under the Medicare program associated with medications for which payment is

made under Part D of Title   XVIII of the SSA.

        6.      Section 6411(b) of the ACA required that CMS enter into contracts to conduct

recovery audits "no later than Decernber 31,2010" and that such contracts include, inter alia, the

requirement that recovery audit contractors: (a) ensure prescription drug plans implanented

antifiaud plans and review the effectiveness of such plans; (b) examine claims for reinsurance

payments to ascertain whether incurred costs were in excess of allowable costs; and (c) revtew

estimates pertaining   to the enrollment of high cost beneficiaries against actual beneficiaries

enrolled.

        '7.     On January 13, 2011, CMS awarded Contract No. GS-23F-0074WTask Order

No. HHSM-500-2011-00006G to ACLR ("Part D RAC").

        8.      On Decemb er 31,2013, CMS awarded the first option year under the Part D RAC

to ACLR     ("OYl SOW').




                                                 SA154
      CaseCase
           1:15-cv-00767-PEC   Document
               1:16-cv-00309-JFM        54-11 Filed
                                  Document     Filed05/25/18
                                                     03/09/16 Page
                                                               Page171
                                                                    3 ofof
                                                                         8 514




       9.        On December 31, 2014, CMS awarded the second option year under the Part D

RAC to ACLR ("OY2 SOW').

        10.      OY1 SOW and OY2 SOW Section 1.2.3 restricted ACLR fiom reviewing records

pertaining to terminated contracts and contracts already deemed to have no findings or included

in an offset or an appeal that have      are "already identified, being audited, and haVe been

corrected/reimbursed elsewhere in CMS for the same audit issue" ("Unavailable for Review" or

*uFR').

        1   1.   CMS contracts with a National Benefit Integrity ('NBI") MEDIC that is

"responsible for preventing, detecting, and deterring Part D fraud, waste, and abuse."

        12.      On November 13,2013, CMS notified ACLR that          it   could pursue recovenes

pertaining to veterinarian written prescriptions that had been previously identifred by the NBI

MEDIC on the basis that "recoveries are not made until the CY is reopened and the reprocessing

of the reconciliation occurs."

        13.      On June 9, 2015, CMS provided completed 2013 Patt D payment claims data

("PYl3 PDEs") to ACLR.

        14.      MnrN. SrAr. g 297 A.6'1(7) (2012) provides an exemption for sales of "drugs and

medical devices for human use."

        15.      MINN. SrAr. S 297 A.99(7) (2012) prohibits political subdivisions from imposing

"a general sales tax" on any "goods or services that are otherwise exempt from taxation" under

state law.

        16.      MINN. SrAr. 5 297 A.67(7) (2013) provide a tax exernption for items covered by

"Medicare as defined under title   XVIII of the Social Security Act, United States Code, title 42,

section 1395, et seq. commencing on dates after June 30,2013.




                                              SA155
      CaseCase
           1:15-cv-00767-PEC   Document
               1:16-cv-00309-JFM        54-11 Filed
                                  Document     Filed05/25/18
                                                     03/09/16 Page
                                                               Page172
                                                                    4 ofof
                                                                         8 514




          17.    Subject to "health care provider taxes under sections 295.50 to 295.59," Mn${.

SrAr. g 295.53(1)(a)(1) excludes, from gross revenues for "payments received for                   services

provided under the Medicare progam, including payments received from the government, and

organizations governed by sections 1833 and 1876 of title             XVIII of the federal Social Security

Act, United States Code, title 42, section 1395, and enrollee deductibles, coinsurance, and co-

payments, whether paid by the Medicare enrollee or by a Medicare supplemental coverage as

defined in section 62A.01 1 , subdivision 3, clause   (   l0)."

          18.    ACLR identified $30,492,677 in improper Minnesota sales tax charges on

38,145,596 Part D claims included in 2012-2013 Medicare Part D claim reimbursernents totaling

$889,596.525 to plan sponsors.

          19.    ACLR identified 3,514 pharmacies and 613 contracts receiving payments for Part

D claims included in 2012-2013 Medicare Part D claim reimbursements for improper Minnesota

sales tax charges.

          20.    ACLR identified many instances where Minnesota pharmacies had both billed

and not   billed sales taxes on prescription drugs on the same day.

          21.    LA. REV. SrArE. ANN. $ a7:305(D)(1)(1)(2011) exempts state sales and use taxes

on "drugs prescribed by a physician or dentist."

          22.    LA. REV. SrArE. ANN. g 47:301(10)(u)(2011) prohibit the lerying of local sales

and use taxes on sales of "tangible personal property       if    such sale is made under the provisions   of
Medicare."

          23.   ACLR identilied 9243,059 in improper sales tax charges by Louisiana pharmacies

on 2,045,929 Part D claims included in 2Ol2-2O13 Medicare Part D claim reimbwsements

totaling $32,032,166 to plan sponsors.




                                                SA156
          CaseCase
               1:15-cv-00767-PEC   Document
                   1:16-cv-00309-JFM        54-11 Filed
                                      Document     Filed05/25/18
                                                         03/09/16 Page
                                                                   Page173
                                                                        5 ofof
                                                                             8 514




            24.      ACLR identified 1,441 pharmacies and 93 contracts receiving payrnents for Part

    D claims included tn 2012-2013 Medicare Part D claim reimbursements for improper Louisiana

    sales tax charges.

           25.       The states of Alaska, Delaware, Montana, New Hampshire, and Oregon have no

    applicable state or local sales taxes that were imposdd during the Part D RAC.

           26.       ACLR identified $150,415 sales tax charges by pharmacies located in states with

    no sales or use taxes on 2,292 Part D claims included in 2012-2013 Medicare Part D claim

    reimbursernents totaling $5,518,803 to plan sponsors.

           27.       ACLR identified 29 pharmacies and 43 contracts receiving payments for improper

'   Alaska, Delaware, Montana, New Hampshire, and Oregon sales tax charges.

           28.       Dwing its review of 2012-2013 Part D claims data, ACLR identified 264,119

    claims and $2,009,005 in sales tax pa).rnents arising from the imposition of sales taxes from tax

    rates exceeding 50% included     in 2012-2013 Medicare Part D claim reimbursements totaling

    S3,706,582 to plan sponsors.

           29.       During its review of 2007-2008 Part D claims data, ACLR identified 17,860,312

    claims totaling 923,421,962 in erroneous Minnesota sales tax charges by 3,417 pharmacies and

    454 contracts.

           30.       Dwing its review of 2009-2011 Part D claims data, ACLR identified 34,791,275

    claims totaling $44,556,648 in erroneous Minnesota sales tax chmges by 3,339 pharmacies and

    845 contracts.

           31.       On August 21,2015, ACLR submitted a New Audit Issue Review             Package

    C'NAIRP') to CMS, which identified improper payments arising from sales tax overpayments

    ("Sales Tax NAIRP") in 2012-2013 Part D claims data.




                                                  SA157
      CaseCase
           1:15-cv-00767-PEC   Document
               1:16-cv-00309-JFM        54-11 Filed
                                  Document     Filed05/25/18
                                                     03/09/16 Page
                                                               Page174
                                                                    6 ofof
                                                                         8 514




         32.   On September 3,2015, CMS denied the Sales Tax NAIRP on the basis that this

audit issue is currently open and active with another CMS contractor. According to Section 1.2.3

of the SOW, "CMSiCPI consistently ensures RAC efforts are not duplicative and do not focus on

improper payments        that are already identified, being audited, and have been
corrected/reimbursed elsewhere in CMS for the same audit idsue."

         33.   On September 10, 2015, ACLR submitted a claim under the CDA alleging

contract breach by CMS on the basis that CMS had not identified these claim records as "UFR."

         34.   CMS denied ACLR's claim on January 15, 2016 noting "the NBI MEDIC had

commenced fraud and abuse work with respect to the Sales Tax Error Audit in October 30,

2014."

         35.   The NBI MEDIC audits are not subject to Part D RAC regulations and appeal

proceedings as outlined under CMS 4159-F.

         36.   On January 19, 2016, ACLR contacted the NBI MEDIC regarding ACLR's

concems pertaining to possible sales tax fraud perpetuated on the State of Minnesota.

         37.   On January 19,2016, ACLR was informed by the NBI MEDIC that                 it   had

completed its initial review but that CMS had recently directed the NBI MEDIC "not to expend

any additional resources" on the issue and that "CMS is considering various options at this time."

                                            Count I:
                                       Breach of Contract

         38.   ACLR incorporates and restates here the allegations set forth in Paragraphs        1



through 37 of the Complaint.

         39.   ACLR and CMS had a contract for ACLR to perform certain work for CMS.

         40.   CMS breached the contract by, among other things, the following:

               a.   failing to notify ACLR ofrecords that were unavailable for review;




                                              SA158
      CaseCase
           1:15-cv-00767-PEC   Document
               1:16-cv-00309-JFM        54-11 Filed
                                  Document     Filed05/25/18
                                                     03/09/16 Page
                                                               Page175
                                                                    7 ofof
                                                                         8 514




               b.    falsifuing the disposition of sales tax improper payments identified by ACLR

                     for recovery by asserting that 40,457,936 PartD claims totaling $930,854,076

                     had been "correctedireimbursed elsewhere in CMS";

               c.    failing to permit ACLR to recover improper payments pertaining to illegal

                     sales tax collections that had not been identified/cohected;

               d. utilizing the MBI MEDIC to conduct recovery              audits outside   of   express

                     contracted terms and conditions; and

                e.   mitigating the impact of the Part       D RAC    progmm on plan sponsors by

                     impeding the execution of recovery audit activities by ACLR concerning

                     improper sales tax payments.

        41.    As a direct and proximate result of the CMS's actions, ACLR has suffered, and

will suffer, substantial losses and   damages.

                                            Count II
                         Breach of Duty of Good Faith and Fair Dealing

       42.     ACLR incorporates and restates here the allegations set forth in Paragraphs             1



through 41 of the Complaint.

       43.      CMS owed ACLR a fiduciary duty based upon their relationship

       44.      CMS breached its duty of good faith and fair dealing to ACLR by, among other

things, the following:

                a.   failing to notify ACLR ofrecords that were unavailable for review;

               b.    falsif ing the disposition of   sales tax improper payments identified by   ACLR

                     for recovery by asserting that 40,457,936 PartD claims totaling $930,854,076

                     had been "corrected/reimbursed elsewhere     in CMS:"




                                                 SA159
     CaseCase
          1:15-cv-00767-PEC   Document
              1:16-cv-00309-JFM        54-11 Filed
                                 Document     Filed05/25/18
                                                    03/09/16 Page
                                                              Page176
                                                                   8 ofof
                                                                        8 514




              c.   failing to pemit ACLR to recover improper payments pertaining to illegal

                   sales tax collections that had not been identified/conected; and

              d.   impeding the execution     of recovery audit activities by ACLR     concerning

                   improper sales tax payments.

       45.    As a direct and proximate result of CMS's breach of its duty of good faith and fair

dealing, ACLR has suffered, and   will suffer, substantial losses and   damages.

       WHEREFORE, Plaintiff ACLR prays for judgnent against Defendant as follows:

       1.     Damages in the amount of not less than $1 12,002,489;

       2.     The costs of pursuing the relief sought herein, including, but not limited to,

   attorneys fees and costs pursuant to the Equal Access to Justice Act; and

       3.     Additional reliefas the Court deerns just and proper.



Dated: March 9, 2016



                                                    Respectfu lly submitted,

                                                    DAVID, BRODY & DONDERSHINE, LLP


                                                              \,,\--L
                                                    ThomE's K. David. Eso.
                                                    John A. Bonello. Eso.
                                                    12355 Sunrise Valley Drive, Suite 650
                                                    Reston, VA 20191
                                                    Phone:703-264-2220
                                                    Fax:703-264-2226

                                                    Attomeys for Plaintiff ACLR, LLC




                                              SA160
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 177 of 514




              TAB 88
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 178 of 514




                              SA161
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 179 of 514




                              SA162
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 180 of 514




                              SA163
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 181 of 514




                              SA164
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 182 of 514




                              SA165
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 183 of 514




                              SA166
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 184 of 514




                              SA167
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 185 of 514




                              SA168
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 186 of 514




              TAB 89
             Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 187 of 514
                                   EXECUTIVE OFFICE OF THE PRESIDENT
                                       OFFICE OF MANAGEMENT AND BUDGET
                                                 WASHINGTON , D. C . 20503




THE   DIRECTOR
                                                     October 20, 2014



       M-15-02

                                              ADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

       FROM:


       SUBJECT:         Appendix C to Circular No. A-123 , Requirements for Effective Estimation and
                        Remediation ofImproper Payments


                The Administration has made reducing improper payments-payments made to the
       wrong entity, in the wrong amount, or for the wrong reason-a top priority. Since coming into
       office, the President has signed two laws and issued three directives- including an Executive
       Order- that created a robust infrastructure for agencies to reduce improper payments in their
       programs. Through thi s committed focus , the government-wide improper payment rate has
       declined for four consecutive years, from 5.42 percent in fiscal year (FY) 2009 to 3.53 percent in
       FY2013.

               The enactment of the Improper Payments Elimination and Recovery Improvement Act
       (IPERIA) of201 2 provided an opportunity for the Office of Management and Budget (OMB) to
       re-examine existing guidance to ensure agencies are able to more efficiently reduce their
       improper payment rates, while also complying with multiple legislative and administrative
       requirements. The goal of this overhauled version of Appendix C to Circular No . A-123 1 is to
       transform the improper payment compliance framework to create a more unified,
       comprehensive, and less burdensome set of requirements. Appendix C accomplishes the
       following:

                 •   Consolidates and streamlines reporting requirements for agencies and Inspectors
                     General, and eliminates duplicative and old one-time requirements so agencies can
                     spend less time producing compliance reports and more time focusing on game­
                     changing solutions for achieving payment accuracy;
                 •   Establishes new categories for reporting improper payments that will provide more
                     granularity on improper payment estimates- thus leading to more effective corrective
                     actions at the program level and more focused strategies for reducing improper
                     payments at the government-wide level;

       1
         Appendix C implements req uirements from the following: (1) the Improper Payments Information Act of2002
       (!PIA), as amended; (2) the Improper Payments E limination and Recovery Act of20 I 0 (IPERA) ; (3) the Improper
       Payments Elimination and Recovery Improvem ent Act of2012 (IPERIA) ; and (4) Executive Order 13520­
       Reducing Improper Payments- iss ued November 20, 2009.



                                                           SA169
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 188 of 514




       •   Introduces a new internal control framework to ensure that payments are made in the
           right amount, to the right entity, and for the right purpose; and
       •   Provides guidance to agencies- as required by the most recent statute, IPERIA- to
           strengthen the statistical validity of estimates and include payments to Federal
           employees in the definition of improper payments, among other things.

       OMB Circular A-123 , Appendix C, Patis I and II (which were issued in April2011 as
OMB Memorandum M-11-16) and Pati III (which was issued in March 2010 as OMB
Memorandum M-10-13) are hereby modified. Unless otherwise noted in the guidance, the
requirements found in Appendix Care effective starting in FY 2014. OMB will continue to
work closely with agencies and Inspectors General to provide further implementation guidance
as needed.

       Please contact Flavia Menasce (fmenasce@omb.eop.gov), Heather Pajak
(hpajak@omb.eop.gov), or Mike Wetklow (mwetklow@omb.eop.gov) in OMB's Office of
Federal Financial Management with any questions regarding this guidance.

Attachment




                                               2




                                             SA170
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 189 of 514




                            APPENDIXC

                      Requirements for Effective
                     Estimation and Remediation of
                          Improper Payments




                               SA171
       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 190 of 514




                                                          TABLE OF CONTENTS

INTRODUCTION ...............................................................................................................................               5
OVERVIEW ......................................................................................................................................            5
PART I- IMPROPER PAYMENTS ELIMINATION AND RECOVERY ••••••••••••••••••••••••••••••••••••••••••••••••••                                                      7
A. RISK-ASSESSING, ESTIMATING, AND REPORTING IMPROPER PAYMENTS........ ....... ... ....... .. ...... .... 7
   1) Which agencies are required to comply with the requirements of IPIA, IPERA, and
       IPERIA? .... ...... ..... ........ ..... ..... ........ ..................... ............ ..... ............................ ..... ............ .. 7
    2)      What is an improper payment? ........... ....... .... ..... .... .... ...... ........ ... ....... ... .......... ................. .. 7
    3)      What is a payment for an ineligible good or service? ....... ..... .. .... ....... .... .. .... ... ........ ......... .. 7
    4)      What is a program or activity? ............................................................... .......... ..... ... ..... .... .. 8
    5)     Must agencies include payments to employees in improper payment risk assessments? ... 8
    6)     Must agencies include payments related to charge cards in improper payment risk
           assessments? ............................ ...... ......... ...................... ... ............. ......... ... .... ............. ....... .. 8
    7)     Must agencies review intra-governmental transactions? ....... ................ ..... ..... ................... 9
    8)      What constitutes an improper loan or loan guarantee payment? ...... ............ ........ .. ... .. ..... .. 9
    9)      What specific steps are agencies required to take? ..... ........... ....... .... ... ......... .... ......... .. ..... .. 9
               Step 1: Review all programs and activities and identify those that are susceptible to
               significant improper payments .... ..... .. .. ... .. .. ......... ......... ................. ............................ .... .. 9
              Step 2: Obtain a statistically valid estimate of the annual amount of improper payments
              in programs and activities for those programs that are identified in Step 1 as susceptible
              to significant improper payments ..... ...... ... .. ......... .... ..... ............... .................................. 11
               Step 3: Implement a plan to reduce improper payments ........... ............ ........ ..... ........... 15
               Step 4: Report annually in the AFR or PAR. ... ....................... ............. ....... ........... ....... 16
    10) When must agencies conduct risk assessments? ...........•.......................... ..... .... ..... ....... .... 16
    11) What information should agencies provide to persons or entities producing improper
        payment estimates? ... .......... ..... ... ... ......... ... .... ........................ ....... ..... ............... ...... ....... ... 17
    12) Are agencies allowed to rely upon self-reporting by recipients of agency payments when
        estimating improper payments? ..... .... ......... ...... ... .................... .......... ...... ..... .......... ....... ... 17
    13) Are agencies allowed to implement an estimation approach that excludes improper
        payments that have been subsequently corrected and recovered from the annual estimate?
        ·· ···· ··············· ···· ····· ····· ····· ····················· ········ ········· ········ ····· ······· ········································· 18
    14) May agencies use alternative sampling and estimation approaches? ...... ....... ........... .... ... 18
    15) Should data used for estimating improper payments coincide with the fiscal year being
        reported in the AFR or PAR? ... ......... .......... .. ..... .......... ..... ....... .......... ...... ....... .................. 20
    16) What are Federally-funded, State-administered programs, and may agencies consider
        other approaches for these types of programs? ...... ...... ... ...... ............. ............................... 21




                                                                         SA172                                                                                   1
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 191 of 514




    17) Are programs that are identified as susceptible to significant improper payments, and that
        annually report improper payment estimates, permanently subject to improper payments
        reporting requirements? ...................................... ................ ..... ..... .... ..... ...... .... .... .... ..... .... 21
    18) Are programs and activities that have been deemed susceptible to significant improper
        payments as a result of the Disaster Relief Appropriations Act, 2013, permanently subject
        to improper payments reporting requirements? ................................................................ 22
B. IMPROVING THE DETERMINATION OF IMPROPER PAYMENTS ..................................................... 23
   1) How           will
               OMB determine the "high-priority" programs as required under IPERIA? .... . 23
    2)     What are the requirements under IPERIA for establishing semi-annual or quarterly
           actions for reducing improper payments? ......................................................................... 23
    3)     Do high-priority programs have any specific requirements regarding corrective actions?
           .. ...... .. ......... .... ..... ............. ..... .... ... ......... ....................................... .. ..... .. .... ..... .. ......... ... ...... 24
    4)     Are there any additional reporting requirements for agencies that have high-priority
           programs? ...... ...... ........ .......... .. .. .... ............ .................... .. .... ...... ... ............... ............ .... ...... 24
                                                                                                 24
C. CATEGORIES FOR REPORTING IMPROPER P AYMENTS ................................................................
    1)     What categories should agencies use when reporting improper payment estimates? ...... 24
    2)     How should agencies focus on fraudulent activities? ....................................................... 28
                                                                                                        28
D. pAYMENT RECAPTURE AUDITS ... ..... .............. ... .......... .................. ........ ...... ... ................... ........
    1)     What are the definitions used for payment recapture auditing in this guidance? ............. 28
    2)     What are the general agency requirements for implementing a payment recapture audit
           program? ................................................................................... .......................... ... ........... 29
    3)     Should agencies establish targets for their payment recapture audit programs? .............. 30
    4)     What is the scope for payment recapture audit programs? ............................................... 30
    5)     What criteria should an agency consider in determining whether a payment recapture
           audit is cost-effective? ...................................................................................................... 31
    6)     What should an agency do if it determines that a payment recapture audit program would
           not be cost-effective? ........................................................................................................ 32
    7)     Should the agency follow any particular procedures when conducting payment recapture
           audits of grants payments? .... .. ...................... .. ......................................................... .. ....... 32
    8)     Can Federal agencies provide money to States and Local governments for Financial
           Management Improvement efforts? ....... .. .... .. ..... ... ..... ........... ....... ..... .... ............... ........ .... 33
    9)     Who may perform payment recapture audits? .................................................................. 33
    10) May contractors perform payment recapture audit services? ........................................... 33
    11) Are there any specific requirements when using a contracted payment recapture auditing
        firm? ................................................................................................................... ;............ .. 33
    12) Are there any prohibitions when using a payment recapture audit contractor? ................ 34
    13) Who performs recovery activities once the improper payments are discovered and
        verified? ....... ....... ........................ ... ....... ... .......... ........ ........... ....................... ........ ...... ..... .. 34
    14) What is the proper disposition of recovered amounts? .................................. .. ...... ........... 3 5


                                                                             SA173                                                                                         2
       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 192 of 514




    15) Are agencies authorized to implement Financial Management Improvement Programs? 37
    16) What are the reporting requirements for payment recapture audits? .... .......... ... .. ...... .. ... .. 37
    17) How are improper payment estimates different from payment recapture audit efforts? .. 3 8
PART II- COMPLIANCE WITH THE IMPROPER PAYMENT REQUIREMENTS ............................... 39
A. RESPONSIBILITIES OF AGENCY INSPECTORS G ENERAL ........... ... ...... .... ... ....... .. ..... ..................... 39
   1) When should each agency Inspector General begin reviewing improper payment
       performance to determine whether the agency is in compliance under IPERA? ............. 39
    2)      When should the agency Inspector General complete its review of agency compliance
            under IPERA? .... .... .... ..... ....... ....... ................................. .. .. ..... ....... ... .... ... .... ... ... ........ ....... 39
    3)      What should each agency Inspector General review to determine if an agency is in
            compliance under IPERA? ... ......... .. ... ............ .... ... ... .... .. ... .... ......... .................... ... .... ........ 39
    4)      What else should the agency Inspector General include in its compliance review and
            report? ... .. ............... ................ ....... .. .... .......... ...... ... .......... ..... ....... .............. ............... ....... . 40
    5)      Who should the agency Inspector General notify when it has completed its determination
            of whether an agency is in compliance under IPERA? ......... ................. ................ .......... . 40
B. RESPONSIBILITIES FOR AGENCIES ........... .. ... ........ .... .... ... ............... .... ............. ....................... ... . 40
   1) What are the requirements for agencies not compliant under IPERA? ........... ... .............. 40
C. INTERNAL CONTROL OVER IMPROPER PAYMENTS .. ..... ..... ... .......... .... ..... .... .... .... .... .................. . 42
    1)      What are the criteria as to when an agency should initially be required to obtain an
            opinion on internal control over improper payments? ................... ........ ....... .. ....... .. ......... 42
    2)      How do internal control standards apply to improper payments? ....... .......... ........ .......... . 43
PART III- REQUIREMENTS FOR IMPLEMENTING EXECUTIVE ORDER 13520 ........................... 46
A. GENERAL G UIDANCE .. .. ...... ..... ....... ... ...... .. .... .. ......... ...... ...... ......... ...... ... .......... ... ... ........... ....... . 46
    1)      Which agencies are subject to the requirements of Executive Order 13520? ... ... ... .. ...... .. 46
    2)      How will OMB determine the "high-priority" programs as required under Section 2(a)(i)
            of the Executive Order? ....... ......... ..... .... ..... ......... ......... ... ...... .. ......................... ... .... ... ...... 46
    3)      What are agencies required to submit for the improper payments website as required
            under Section 2(b) of the Executive Order? .................. .. ....... ... .. ......... ....... ... ... ............... 46
    4)      Why is program access important? ..... ... .. ... ......... ........... ...................... ....... ... ... ............... 46
    5)      Does this guidance create any special rights? ................. ........................ ........ ....... ......... .. 4 7
B. SUPPLEMENTAL MEASURES ... .......................... ...... ........ ................. ........... ...... ..... ......... .. ... ....... 47
   1) What are the requirements for establishing annual or semi-annual measurements in high­
       priority programs, also known as supplemental measures? ..... ....... .... ....... .... ................... 47
    2)      Which tools should agencies use to identify supplemental measures? ... ... ............ .... ....... 4 7
    3)      Who is required to establish annual or semi-annual measurements under the Executive
            Order? ...... ......... ... ...... ... ... ............ .. .......... ............. ....... .......... ........... .............. ....... .. .. ....... 48
    4)      How should agencies establish annual or semi-annual targets for supplemental measures?
            ········ ··················· ············· ·········· ····· ··· ······ ·· ···· ··· ···· ············· ··············· ······· ··· ······ ········ ·········· 49




                                                                             SA174                                                                                       3
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 193 of 514




   5)    Are the reduction targets described in section I.A.9 of this guidance the same as the
         supplemental targets that agencies will set to comply with the Executive Order? ........... 49
   6)    How will agencies report annual or semi-annual supplemental measures and targets? ... 49
C. ACCOUNTABLE OFFICIAL REQUIREMENTS .. .. ..... ... ... ............... ........................... ....................... 50
   1)    Which agencies are responsible for establishing accountable officials under Section 3(a)
         of the Executive Order? ........ ....................................... ........ .......... ................. .... .. ...... ... ... 50
   2)    Who may serve as an agency or component accountable official under Section 3(a) of the
         Executive Order? .. ..... ..................... .. ............................................. ........... .. .... ...... ... ......... 50
   3)    What are the accountable officials' roles and responsibilities? ...... .................. .............. .. 50
   4)    What are the agency requirements for providing a report to their IGs in response to
         Section 3(b) of the Executive Order? ......... ..... .............. .. ..... .. ................... ........................ 50
   5)    What are the Inspector General' s responsibilities with respect to the report under Section
         3(b) ofthe Executive Order? ........ .. .......... ..... .... ....... .... .. ................ ................ ................... 51
D. AGENCY HEAD QUARTERLY HIGH-DOLLAR REPORT TO THE INSPECTOR GENERAL ........ ...... ...                                       51
   1)    What is a "high-dollar" overpayment? .... ..... ..................... ............................................... 51
   2)    Which sources should agencies utilize to identify high-dollar overpayments? ................ 52
   3)    What information should be included in agency reporting on high-dollar overpayments?
         .......... ................................. .......... ..................................... ............. .................................... 52
   4)    Which agencies must report on high-dollar overpayments? Where shall agencies report
         high-dollar overpayments to the public? What if an agency has no high-dollar
         overpayments? ......... ........ .. .. ..... ... .... ....... ...... ... .......... .. .. .... ...... .... ......... .. .... ............ .......... 52
   5)    Are there exceptions to the reporting requirements for the high-dollar report? ..... .......... 52




                                                                      SA175                                                                                   4
       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 194 of 514




INTRODUCTION

Unless otherwise noted, the requirements found in this guidance are effective for fiscal year (FY)
2014 and beyond. This guidance implements the requirements from the following:
   • Improper Payments Information Act of2002 (IPIA; Pub. L. No. 107-300), as amended;
   • Improper Payments Elimination and Recovery Act of2010 (IPERA; Pub. L. No. 111­
       204);
   • Improper Payments Elimination and Recovery Improvement Act of2012 (IPERIA; Pub.
       L. No. 112-248) 1; and
   • Executive Order 13520-Reducing Improper Payments-issued November 20,2009.

Issuance of this guidance hereby modifies the Office of Management and Budget (OMB)
Circular A-123, Appendix C, Parts I and II (which were issued in April2011 as OMB
Memorandum M-11-16) and Part III (which was issued in March 2010 as OMB Memorandum
M-10-13).

OVERVIEW

Before the passage ofiPIA, there was no overarching government-wide framework for
measuring-let alone reducing-Federal improper payments. Between 2002 and 2009, as more
agencies began measuring and reporting improper payment estimates for their programs, it
became increasingly clear that Federal improper payments represented a significant loss to the
government. As a result, between 2009 and present time, the Federal government has built a
robust infrastructure of legislative and administrative requirements with which agencies must
comply in order to achieve tangible results. These requirements-which apply to a wide array of
stakeholders-are described in detail in Appendix C to OMB Circular A-123 . The six
paragraphs below, as well as Figure 1, provide only a cursory overview of some key Appendix C
requirements. However, for a more precise and comprehensive description, readers should
consult the subsequent pages of the guidance.

Payment Recapture Audits. One fundamental requirement that agencies must meet is to recover
any Federal dollars that should not have gone out the door. IPERA requires any program that
expends at least $1 million to implement payment recapture audits, if cost effective to the
agency, in order to recover improper payments (see section I.D).

Low-Risk Programs. Independent of any payment recapture activities, IPERA also requires that
all programs assess their risk for improper payments. If an agency deems a program to be at a
low risk for improper payments, the agency will re-assess that program' s risk at least every three
years (see section I.A.9, step 1).

Programs Susceptible to Significant Improper Payments. If an agency deems a program to be
susceptible to significant improper payments, the agency is required to estimate and report
improper payments for that program annually, in addition to implementing corrective actions to
reduce its improper payments (see section I.A.9, steps 2-4). In doing so, agencies should identify

1
    This guidance does not address the Do Not Pay initiative, which is found in Section 5 ofiPERIA.


                                                      SA176                                           5
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 195 of 514




the root causes of, and implement appropriate corrective actions to prevent and reduce the related
improper payments. Agencies should continuously identify innovative corrective actions to
prevent and reduce improper payments. For example, corrective actions could leverage new
technologies and advanced techniques-such as forensic tools, pre-payment software, and data
matches. In addition, for all programs that are susceptible to significant improper payments,
Executive Order 13520-Reducing Improper Payments-requires agencies to produce a
quarterly report of any "high-dollar" overpayments (see section III.D).

High-Priority Programs. IPERIA reinforces the requirements from Executive Order 13520 by:
fostering greater agency accountability; requiring OMB to designate the programs with the most
egregious cases of improper payments as high-priority; and requiring those programs to develop
indicators of improper payments (called supplemental measures) that are more frequent than the
annual estimates, as a tool for tracking progress (see section III.B). Furthermore, Executive
Order 13520 also requires those agencies with high-priority programs to name accountable
officials to oversee efforts to reduce program improper payments (see section III. C).

Annual Reporting. Once a year, agencies will report in the Agency Financial Report (AFR) or
the Performance and Accountability Report (PAR) most of the required components listed in
Appendix C. 2 As agencies implement Appendix C, they should approach improper payments
with an internal control framework in mind and provide a thoughtful analysis linking agency
efforts in establishing internal controls and reducing improper payment rates (see section II. C).

Annual Inspector General Compliance Review. IPERA adds an important component of
accountability to the entire spectrum of improper payment efforts. Every year, each agency
Inspector General reviews agency improper payment reporting in the agency's AFR or PAR to
determine if the agency is in compliance with Appendix C requirements listed under section
II.A.3.

                                     Figure 1: Appendix C at a Glance

                                     • IP > $750 M
                                       • Accountable Officials
                                         • Supplemental Measures


                                            • Meets $10M & 1.5% (or $100M)
                   Susceptible to         ...lrlr... • Annual Estimates
                   Significant IPs        ~ • Corrective Actions
                                                   • High-Dollar Reports



                      Low Risk


                                                                   • If Program> $1 M
                                                                     • If Cost-Effective

2
 Per OMB Circular No. A-136, agencies may choose either to produce a consolidated PAR or to produce a separate
AFR and Annual Performance Report (APR).


                                                   SA177                                                     6
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 196 of 514




PART I- IMPROPER PAYMENTS ELIMINATION AND RECOVERY

Part I discusses the requirements ofiPIA3, IPERA, and IPERIA.


A. RISK-ASSESSING, ESTIMATING, AND REPORTING IMPROPER PAYMENTS

1) Which agencies are required to comply with the requirements of IPIA, IPERA, and
   IPERIA?

The agencies required to comply with IPIA, IPERA, and IPERIA are defined broadly as "a[ny]
department, agency, or instrumentality in the executive branch of the United States" as defined in
Title 31, Section 102 of the United States Code.

2) What is an improper payment?

An improper payment is any payment that should not have been made or that was made in an
incorrect amount under statutory, contractual, administrative, or other legally applicable
requirements. Incorrect amounts are overpayments or underpayments that are made to eligible
recipients (including inappropriate denials of payment or service, any payment that does not
account for credit for applicable discounts 4 , payments that are for an incorrect amount, and
duplicate payments). An improper payment also includes any payment that was made to an
ineligible recipient or for an ineligible good or service, or payments for goods or services not
received (except for such payments authorized by law). In addition, when an agency's review is
unable to discern whether a payment was proper as a result of insufficient or lack of
documentation, this payment must also be considered an improper payment.

The term "payment" in this guidance means any disbursement or transfer of Federal funds
(including a commitment for future payment, such as cash, securities, loans, loan guarantees, and
insurance subsidies) to any non-Federal person, non-Federal entity, or Federal employee, that is
made by a Federal agency, a Federal contractor, a Federal grantee, or a governmental or other
organization administering a Federal program or activity. The term "payment" includes Federal
awards subject to the Single Audit Act and the Uniform Guidance for Federal assistance (2 CFR
200 Subpart F) (Single Audits) that are expended by both recipients and sub-recipients.

3) What is a payment for an ineligible good or service?

A payment for an ineligible good or service includes a payment for any good or service that is
not permitted under any provision of a contract, grant, lease, cooperative agreement, or other
funding mechanism.



3
  Unless otherwise indicated, from this point forward in the guidance the term "IPIA" will imply "IPIA, as amended
by IPERA and IPERIA."
4
  Applicable discounts are only those discounts where it is both advantageous and within the agency's control to
claim them.



                                                    SA178                                                        7
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 197 of 514




4) What is a program or activity?

The law anticipates that agencies will examine the risk of, and feasibility of recapturing,
improper payments in all programs and activities administered. The term "program" includes
activities or sets of activities recognized as programs by the public, OMB, or Congress, as well
as those that entail program management or policy direction. 5 This definition includes, but is not
limited to, all grants including competitive grant programs and block/formula grant programs,
non-competitive grants such as single-source awards, regulatory activities, research and
development activities, direct Federal programs, all types of procurements (including capital
assets and service acquisition), and credit programs. It also includes the activities engaged in by
the agency in support of its programs.

For Federal awards subject to the Single Audit Act or otherwise listed in the Catalog of Federal
Domestic Assistance (CFDA), agencies should consider using the groupings in the Compliance
Supplement for Single Audits (referred to as "clusters of programs") and the CFDA. However,
unless otherwise specified in OMB Circular A-11, each Federal agency, after consultation with
OMB, is authorized to determine the grouping of programs which most clearly identifies and
reports improper payments for their agency. Agencies must1 not put programs or activities into
groupings that may mask significant improper payment rates by the large size or scope of a
groupmg. For transparency, the basis for these groupings must be reported in the agency's AFR
or PAR.

5) Must agencies include payments to employees in improper payment risk assessments?

Yes. IPERIA amended the definition of"payment" in IPIA to include payments made to Federal
employees, in addition to payments made to non-Federal persons or entities. Therefore, agencies
must include payments made to employees (including salary, locality pay, travel pay, and other
payments to Federal employees) in the risk assessments (beginning in FY 2014) and, if
applicable, in improper payment estimates (the following fiscal year). For improper payment
reporting purposes, when a shared service provider is responsible for the actual disbursements of
payments to employees (for example, payroll) on behalf of a customer agency, the customer
agency and shared service provider6 should assess only the portions of the process that are within
their respective control.

6) Must agencies include payments related to charge cards in improper payment risk
   assessments?

Yes. Agencies should include such payments in risk assessments (beginning in FY 2014) and, if
applicable, in improper payment estimates (the following year). Agencies should leverage
guidance in OMB Circular A-123, Appendix B-Jmproving the Management ofGovernment
Charge Card Programs-and OMB Memorandum M-13-21-Jmplementation ofthe


5
 The term "program" in this guidance implies "program and activity."
6
 Shared service providers can leverage service organization internal control reports such as Reports on Controls at a
Service Organization Relevant to User Entities' Internal Control over Financial Reporting (also known as SOC 1
Reports) or other OMB A-123 assessments.



                                                     SA179                                                         8
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 198 of 514




Government Charge Card Abuse Prevention Act of2012-when performing these risk
assessments.

7) Must agencies review intra-governmental transactions?

No. IPIA does not require agencies to include payments made by a Federal agency to another
Federal agency. Therefore, agencies are not obligated to review intra-governmental transactions.
However, any agency may review such payments, and must do so if directed by OMB.

8) What constitutes an improper loan or loan guarantee payment?

Under a direct loan program, improper payments may include disbursements to borrowers or
other payments by the Government to non-Federal entities that are based on incomplete,
inaccurate, or fraudulent information. They may also include disbursements or other payments
that are duplicate, in an incorrect amount, or for purposes other than those allowed by law,
program regulations, or agency policy.

Under a loan guarantee program, an improper payment may include payments by the
Government to non-Federal entities for defaults, delinquencies, interest and other subsidies, or
other payments that are based on incomplete, inaccurate, or fraudulent information. They may
also include duplicate payments, payments in an incorrect amount, or any payments that are not
in compliance with law, program regulations, or agency policy.

9) What specific steps are agencies required to take?

Unless an agency has specific written approval from OMB to deviate from the steps explained
below, agencies are required to follow these steps to determine whether the risk of improper
payments is significant and to provide valid annual estimates of improper payments 7• The
agency is responsible for maintaining the documentation to demonstrate that the following steps
(if applicable) were satisfied.

        Step 1: Review all programs and activities and identify those that are susceptible to
        significant improper payments.

        a. Definition. For the purposes of this guidance, beginning with FY 2014 reporting and
           beyond, "significant improper payments" are defined as gross annual improper
           payments (i.e., the total amount of overpayments and underpayments) in the program
           exceeding (1) both 1.5 percent of program outlays and $10,000,000 of all program or
           activity payments made during the fiscal year reported or (2) $100,000,000
           (regardless of the improper payment percentage of total program outlays).




7
 Improper payment rates referenced here and throughout this guidance should be based on dollars rather than
number of occurrences. In other words, the improper payment rate should be the amount in improper payments
divided by the amount in program outlays for a given program in a given fiscal year (rather than the number of
improper payments divided by the total number of payments).


                                                    SA180                                                        9
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 199 of 514




  b. Systematic Method. All agencies shall institute a systematic method of reviewing all
     programs and identify programs susceptible to significant improper payments. This
     systematic method could be a quantitative evaluation based on a statistical sample or
     a qualitative method (e.g., a risk-assessment questionnaire). At a minimum, agencies
     shall take into account the following risk factors likely to contribute to improper
     payments, regardless of which method (quantitative or qualitative) is used:
        1.   Whether the program or activity reviewed is new to the agency;
       11.   The complexity of the program or activity reviewed, particularly with respect
             to determining correct payment amounts;
      111.   The volume of payments made annually;
      1v.    Whether payments or payment eligibility decisions are made outside of the
             agency, for example, by a State or local government, or a regional Federal
             office;
       v.    Recent major changes in program funding, authorities, practices, or
             procedures;
      v1.    The level, experience, and quality of training for personnel responsible for
             making program eligibility determinations or certifying that payments are
             accurate;
      Vll.   Inherent risks of improper payments due to the nature of agency programs or
             operations;
     vm.     Significant deficiencies in the audit reports of the agency including, but not
             limited to, the agency Inspector General or the Government Accountability
             Office (GAO) audit report findings, or other relevant management findings
             that might hinder accurate payment certification; and
      1x.    Results from prior improper payment work.

     When appropriate, agencies may leverage other existing processes to help implement
     this systematic method. For example, if an agency chose to develop and implement
     an improper payment risk-assessment questionnaire, the agency might consider
     leveraging another existing similar tool, such as an internal control questionnaire.

  c. Other Risk Susceptible Programs. OMB may determine on a case-by-case basis (e.g.,
     if an audit report raises questions about an agency's risk assessment or improper
     payments results) that certain programs that do not meet the threshold requirements
     described above may still be subject to the annual AFR or PAR reporting
     requirement.

  d. Examples. To further clarify use of the quantitative evaluation method for
     performing risk assessments in this step, we provide four examples:

         Example 1: Under the analysis in Step 1, a program has a potential improper
         payment rate of 1.2 percent or $14 million. Under this guidance an agency need
         not perform Step 2-obtaining a statistically valid estimate of improper payments
         in the program-because even though the potential amount of improper payments
         in the program exceeds $10 million, the potential improper payment rate does not
         exceed 1. 5 percent.



                                      SA181                                              10
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 200 of 514




                 Example 2: Under the analysis in Step 1, a program has a potential improper
                 payment rate of 1.8 percent or $9 million. Under this guidance, an agency need
                 not perform Step 2-obtaining a statistically valid estimate of improper payments
                 in the program-because even though the potential improper payment rate
                 exceeds 1.5 percent, the potential amount of improper payments in the program
                 does not exceed $1 0 million.

                 Example 3: Under the analysis in Step 1, a program has a potential improper
                 payment rate of 1.8 percent and $11 million. Under this guidance, an agency
                 must perform Step 2-obtaining a statistically valid estimate of improper
                 payments in the program-because the potential improper payment rate exceeds
                 1.5 percent and the potential amount of improper payments exceeds $10 million.
                 The agency must report a statistically valid improper payment rate for the
                 program in its annual AFR or PAR.

                 Example 4: Under the analysis in Step 1, a program has a potential improper
                 payment rate of0.6 percent and $125 million. Under this guidance, regardless of
                 the potential improper payment rate, the agency must perform Step 2-obtaining
                 a statistically valid estimate of improper payments in the program-because the
                 potential amount of improper payments in the program exceeds $100 million.

        Step 2: Obtain a statistically valid estimate of the annual amount of improper
        payments in programs and activities for those programs that are identified in Step 1
        as susceptible to significant improper payments. 8

        Programs reporting improper payments for the first time and programs revising their
        current methodology shall conform to the process and content described below in steps
        2.1 and 2.2. Programs that are currently using methodologies approved by OMB under
        the previous version ofOMB A-123 Appendix C do not need to resubmit a methodology
        plan-unless an update to the plan is warranted. Programs should consider updating their
        plan if the program undergoes any significant changes such as legislative, funding,
        structural, etc.

        Step 2.1: Process. All programs and activities susceptible to significant improper
        payments shall design and implement appropriate statistical sampling and estimation
        methods to produce statistically valid improper payment estimates. In doing so, agencies
        shall conform to the following process:

        a. Annual Estimated Amount. For all programs and activities susceptible to significant
           improper payments, agencies shall determine an annual estimated amount of
           improper payments made in those programs and activities. When calculating a
           program's annual improper payment amount, agencies should only utilize the amount
           paid improperly. For example, if a $100 payment was due, but a $110 payment was

8
 Step 2 should occur in the fiscal year following the fiscal year in which the risk assessment was conducted under
Step 1.



                                                     SA182                                                       11
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 201 of 514




            made erroneously, then the amount applied to the annual estimated improper payment
            amount should be $10, rather than the payment amount of $110. Similarly, if a $100
            payment was due, but a $90 payment was made erroneously, then the amount applied
            to the annual estimated improper payment amount should be $10, rather than the
            payment amount of $90. However, if a $100 payment was due and made, but there is
            insufficient documentation to support the appropriateness of the payment or if a
            duplicate payment was made, then the amount applied to the annual estimated
            improper payment amount should be $100. Agencies are required to determine an
            annual estimate that is a gross total of both over and underpayments (i.e.,
            overpayments plus underpayments). However, in addition to the gross total, agencies
            are also allowed to calculate and disclose in their AFRs or PARs the net total (i.e. ,
            overpayments minus underpayments).

        b. Statistical Sampling and Estimation Plans. Agencies are responsible for designing
           and documenting their sampling and estimation plan. Each plan shall be prepared by
           a statistician9 (either an agency employee or a contractor) and submitted to OMB no
           later than June 30 of the fiscal year for which the estimate is being produced (e.g. , the
           sampling methodology to be used for the FY 2014 reporting cycle must be submitted
           by June 30, 2014). The agency shall also include a summary oftheir sampling
           methodology plan in its AFR or PAR. The sampling and estimation plan shall be
           accompanied by a document certifying that the methodology will yield a statistically
           valid improper payment estimate (see below).

        c. Certification. IPERA requires agencies to produce statistically valid estimates of
           improper payments, and therefore each plan shall be accompanied by a certification
           stating that the methodology will produce a statistically valid estimate. The
           certification shall be signed by an agency official ofthe agency's choosing (e.g., this
           could be the Chief Financial Officer, his/her Deputy, a program official, etc.). Upon
           receipt, OMB will review the documents (i.e., the proposed statistical sampling plan
           and the accompanying signed certification) to verify that they are complete and
           include all the requisite components listed in Step 2.2 below. It is important to note
           that OMB will not be issuing a formal approval to the agency for the sampling plan­
           rather, it is the agency's responsibility to produce a statistically valid methodology.
           The signed certification will serve as evidence that the agency believes the
           methodology is statistically sound. OMB does reserve the right to raise questions
           about the particular methodology, should the need arise.

        d. Working with other Entities. Agencies should consider working with entities-such
           as grant recipients-that are subject to Single Audits to leverage ongoing audits to
           assist in the process to estimate an improper payment rate and amount.

        e. Incorporating Recommendations. Whenever possible, agencies should incorporate
           refinements to their improper payment methodologies based on recommendations

9
  This person should have training and experience designing statistical samples and using statistical methods to
calculate population estimates and sampling errors from a probability sample. This person would generally have an
advanced degree in statistics, biostatistics, mathematics, a quantitative social science, or a similar field.



                                                   SA183                                                       12
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 202 of 514




     from agency staff or auditors (such as their agency Inspector General, GAO, or
     private auditors).

  f. Example Plans from Other Agencies. OMB will make available to agencies
     examples of statistical sampling and estimation plans submitted by agencies.
     Agencies are encouraged to review these examples and consult with other agencies
     when preparing their sampling plans. While each plan will likely be slightly different
     given the unique nature of each program, there are some characteristics that are
     common across many programs, and agencies should benefit from each other's work.
     However, each agency is responsible for designing and executing an appropriate
     sample to statistically estimate improperly paid dollars that meets the requirements in
     this guidance.

  Step 2.2: Content of Statistical Sampling and Estimation Plans. Agencies shall clearly
  and concisely describe the statistical methods that will be used to design and draw the
  sample and produce an improper payment estimate for the program in question. The
  plans shall explain and justify why the proposed methodology is appropriate for the
  program in question-this explanation must be supported by accurate statistical formulas,
  tables, and any additional materials to demonstrate how the sampling and estimation will
  be conducted and the appropriateness of those statistical methods for the program.
  Agency sampling and estimation plans must be complete and internally consistent. The
  following aspects must be clearly addressed:

  a. Probability Sampling. Improper payment estimates shall generally be based on
     probability samples and shall provide estimates of the sampling error for the amount
     of the improper payments. Agencies may use simple random samples if those are
     appropriate, but many agencies have employed more complex stratified or multi-stage
     or clustered samples in order to obtain estimates of different components of the
     program that are more actionable than can be afforded by simpler sample designs.
     Depending on the nature and distribution of the payments made by a program, many
     agencies also use unequal probabilities of selection to capture larger payments with
     higher probability (i.e., probability proportionate to size). If the universe of payments
     for a program or a component/stratum of the program is small, agencies may review a
     complete census of payments in those cases and would not have any sampling error
     for that component or stratum-assuming a statistician is consulted on this approach.

  b. Assumptions about the amount of Improper Payments. The agency may use their
     initial determination of the potential improper payment in Step 1, above, to aid in
     determining the sample size. Since most agencies have been conducting ongoing
     reviews of their improper payments for some time, they should utilize results from
     previous years and make appropriate adjustments to the sample size and even the
     sample design based on previous findings in order to obtain a more efficient sample
     or obtain more useful estimates of improper payments by program component.

  c. Appropriate Sample Sizes. Because of the imprecision of the risk assessment
     performed in Step 1, agencies should ensure that they select a sample that will meet



                                       SA184                                                13
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 203 of 514




             the minimum precision requirements in Step 2.2.d below. For initial estimates of
             improper payments, agencies should take a conservative approach and use higher
             estimated improper payments in their sample size calculations to ensure that they will
             meet the precision targets. As noted above, since most agencies have been
             conducting ongoing reviews of their improper payments for some time, they should
             utilize results from previous years and make appropriate adjustments to the sample
             SIZe.


        d. Precision. Agencies should design the sample and select a sample size sufficient to .
           yield an estimate of improper payments with a 90 percent confidence interval of plus
           or minus 2.5 percent of the total amount of all payments for a program around the
                                                                    °
           estimate of the dollars of improper payments. 1 For example, if the total amount of
           all payments for a program was $1 ,000,000,000 and the estimated total of improper
           payments based upon the statistical sample was $80,000,000, the 90 percent
           confidence interval around the estimate should be no more than plus or minus
           $25,000,000-i.e., $55,000,000 to $105,000,000. These guidelines for precision shall
           be taken as the minimum, and agencies are encouraged to increase samples above the
           minimum to achieve greater precision in their estimates in order for agencies to better
           understand underlying causes of improper payments and creating action plans.
           Agencies shall maintain documentation to support the calculation of these estimates.

        e. Sample Design Documentation. Agency sampling and estimation plans shall .
           generally provide sufficient documentation of the sample design so that a qualified
           statistician would be able to replicate what was done or so that OMB, agency
           Inspector General, or GAO personnel can evaluate the design. Agencies shall clearly
           identify the frame or source for sampling payments and document its accuracy and
           completeness. All stages of selection, any stratification, and/or any clustering shall
           be clearly described. Explicit strata shall be clearly defined, as should any variables
           used for implicit stratification. Tables shall generally be provided showing the size of
           the universe and sample by strata (if applicable). Sampling plans shall also specify
           whether cases are selected with equal or unequal probabilities and how the
           probabilities of selection are determined when they are unequal.

        f. Documentation of Estimation Formulas. Agency sampling and estimation plans shall
           include documentation of the statistical formulas that will be used to estimate the
           amount of improper payments (and the associated confidence intervals for the
           sample) and to project those results to the entire program. Documentation should
           include appropriate citations for these formulas. Agency sampling and estimation
           plans must be complete and internally consistent (for instance, estimation formulas
           must appropriately reflect the complexity of the sample design).

        g. Updates and Changes to Agency Plans. Agencies should update their sampling and
           estimation plans, as needed, to reflect the current design and methods being used and
           incorporate refinements based on previous results, consultations with others, and/or

10
  Agencies may alternatively use a 95 percent confidence interval of plus or minus 3 percent around the estimate of
the dollar amount of improper payments.



                                                    SA185                                                       14
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 204 of 514




     recommendations from Inspectors General, GAO, or OMB. Any updated plans will
     need to be submitted to OMB no later than June 30 of the fiscal year for which the
     estimate is being produced (e.g., the sampling methodology to be used for the FY
     2014 reporting cycle must be submitted by June 30, 2014). The plans shall include
     all the components described in steps 2.1 and 2.2 above. A plan that is being updated
     or changed should include some language explaining why the plan is changing and
     how the plan is different from the one previously submitted.

 Agencies shall submit an explanation and justification to OMB for any instances where a
 program is not able to fulfill the requirements described in Step 2. OMB will review
 requests for deviation from these requirements and must approve any alternative methods
 (see section I.A.14 below).

 Step 3: Implement a plan to reduce improper payments.

 a. Root Causes and Corrective Actions. For all programs and activities as determined
    under Step 2 with improper payments exceeding the thresholds listed earlier in Step 1,
    agencies shall identify the reasons their programs and activities are at risk of
    improper payments and put in place a corrective action plan to reduce them. In many
    cases, agencies will implement long-term, on-going corrective actions that will be
    implemented and refined on a continuous basis (e.g., the corrective action is in place
    for many years, though it may be refined from year to year). Agencies should
    annually review their existing corrective actions to determine if any existing action
    can be intensified or expanded, resulting in a high-impact, high return-on-investment
    in terms of reduced or prevented improper payments. In addition, IPERIA requires
    agencies to tailor their corrective actions for programs that are deemed high-priority
    to better reflect the unique processes, procedures, and risks involved in each specific
    program. This information shall be reported in the agency's AFR or PAR annually.
    More detailed information about high-priority programs can be found below in
    section I.B.

 b. Reduction Targets. When compiling plans to reduce improper payments, agencies
    shall set reduction targets for future improper payment levels and a timeline within
    which the targets will be reached. Reduction targets must be approved by the
    Director of OMB (this approval process will take place during the OMB review and
    approval process of draft AFRs and PARs). In cases in which a program needs a few
    years to fully establish an improper payment rate baseline (for example, state­
    administered programs with a "rolling rate" in which only a fraction of the states
    report each year), OMB does not expect the program to publish a reduction target
    until a full baseline has been established and reported.

  c. Accountability. Agencies must ensure that managers and accountable officers
     (including the agency head), programs and program officials, and where applicable
     States and local partners, are held accountable for reducing improper payments. In
     addition, for programs that are not implemented directly by Federal or State agencies
     or government, agencies may also consider establishing these accountability



                                      SA186                                              15
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 205 of 514




           mechanisms. For example, non-Federal entities could include colleges that disburse
           grants and loans to students, or banks that disburse loans to students. Agencies shall
           assess whether the organizations have the internal controls, human capital,
           information systems, and other infrastructure needed to reduce improper payments to
           minimal cost-effective levels, and identify any statutory or regulatory barriers which
           may limit the agencies' corrective actions in reducing improper payments. This
           information shall be reported in the agency' s AFR or PAR annually.

       Step 4: Report annually in the AFR or PAR.

       a. Reporting. Agencies shall report to the President and Congress (through AFRs or
          PARs in the format required by 0 MB Circular A -13 6 for improper payment
          reporting) an estimate of the annual amount and rate of improper payments for all
          programs and activities determined to be susceptible to significant improper payments
          under Step 1, regardless of the dollar amount of the estimate, as further explained
          below. OMB approval of some improper payment requirements (e.g. , reduction
          targets) occurs through OMB ' s review of the improper payment section of each
          agency's AFR or PAR. Improper payment information from AFRs and PARs is
          subsequently analyzed for inclusion in OMB ' s government-wide reporting on
          improper payments. This information (i.e., government-wide improper payment rates
          and improper payment amount estimates) is also posted on PaymentAccuracy.gov­
          the improper payments website created under Executive Order 13520, Reducing
          Improper Payments.

       b. Improper payment estimates that meet statutory thresholds. For programs and
          activities reporting improper payment estimates that meet the statutory thresholds
          described in Step 1(a) above, agencies shall follow all the improper payment
          reporting requirements delineated in OMB Circular A-136. The improper payments
          section in Circular A-136 outlines what information agencies are required to include
          in their annual AFRs or PARs regarding improper payment estimates, reduction
          targets, root causes, corrective actions, and other areas.

       c. Improper payment estimates that DO NOT meet statutory thresholds. For programs
          and activities reporting improper payment estimates that DO NOT meet the statutory
          thresholds described in Step 1(a) above, agencies are still required to report an
          estimate of the annual amount and rate of improper payments, as well as reduction
          targets, in their annual AFRs or PARs, but they are not required to complete the
          additional steps referenced above in Step 4(b) and outlined in Circular A-136 (e.g. ,
          root causes, corrective actions, etc.).

10) When must agencies conduct risk assessments?

IPERA required agencies to conduct improper payment risk assessments for all programs starting
in FY 2011 , unless they received a waiver from OMB. For programs that are deemed to be low
risk of significant improper payments, agencies must perform risk assessments at least once
every three years thereafter (programs that have been determined to be susceptible to significant



                                            SA187                                              16
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 206 of 514




improper payments and that are already reporting an estimate-or in the process of establishing
an estimate-do not have to perform additional risk assessments). However, if a low risk
program experiences a significant change in legislation and/or a significant increase in its
funding level, agencies are required to re-assess the program's risk susceptibility during the next
annual cycle, even if it is less than three years from the last risk assessment.

11) What information should agencies provide to persons or entities producing improper
    payment estimates?

IPERIA requires OMB to instruct agencies to give persons or entities producing improper
payment estimates access to all necessary payment data, including access to relevant
documentation. In order to produce accurate improper payment estimates, agencies must provide
full documentation to persons or entities producing their improper payment estimates. In
addition, this documentation must be maintained for the length oftime required by the National
Archives and Records Administration for the particular type of material being held in order for
post-payment audits to be performed and to allow internal and external auditors to replicate
reported results. For specific records retention requirements, agencies may contact their Senior
Agency Official, a listing of which can be found at http://www.archives.gov/records­
mgmt/agencyI sao-list.html.

12) Are agencies allowed to rely upon self-reporting by recipients of agency payments when
    estimating improper payments?

IPERIA requires OMB to explicitly bar agencies from relying on self-reporting by the recipients
of agency payments as the sole source basis for improper payments estimates. Specifically,
agencies shall not base their improper payment estimates solely on self-reporting of actual
improper payments by the sub-agencies that made the payments or individuals or entities who
received the payments. In other words, agencies may not use self-reporting by recipients of
actual improper payments in lieu of a statistical estimate.

However, agencies may continue to utilize sub-agencies and recipients of Federal funding to
assist in the improper payment rate estimation process if the methodology is statistically valid
(or, in the case of alternative methodologies, if approved by OMB) and if the appropriate checks
and balances are in place, including Federal oversight to ensure the integrity of the process. For
example, a Federal agency overseeing a Federally-funded, State-administered program may
choose to ensure that a structured sampling methodology and procedures are prescribed for
states' use for estimating and reporting improper payments using information from a variety of
sources 11 , and not just from the beneficiaries of the program.

Historically, some agencies used alternative methodologies for estimating and reporting
improper payments that relied solely on self-reporting of actual improper payments. Current law
no longer supports alternative methodologies that are comprised strictly of self-reporting or
identification of actual improper payments by employees, vendors, or agency staff, instead of a


11
  These sources should be reliable and the information provided should be accurate and complete. Documentation
of data reliability testing should be maintained by the sources.



                                                  SA188                                                      17
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 207 of 514




statistical sample resulting in program estimates. Therefore, self-reported improper payments
may be reported, but only in addition to the agency's statistical estimates.

13) Are agencies allowed to implement an estimation approach that excludes improper
    payments that have been subsequently corrected and recovered from the annual
    estimate?

IPERIA requires agencies to include all improper payments that were identified in the sample in
the reported estimate, regardless of whether the improper payment has been or is being
recovered. Prior to the passage of IPERIA, OMB guidance allowed agencies-in limited cases,
and with prior approval from OMB-to implement an estimation approach that excluded
improper payments that had been subsequently corrected and recovered from the annual estimate
reported in the agency's AFR or PAR. Therefore, any program that currently excludes recovered
amounts identified in the sample from its estimate shall update its methodology to reflect the
new IPERIA requirement. In this case, OMB will work with the agency to help determine how
and when the new methodology will go into effect, and how to report the change in the AFR or
PAR (for example, possibly allowing the agency to use an additional figure to disclose the effect
of recovered funds on the improper payment rate).

14) May agencies use alternative sampling and estimation approaches?

Yes, Section 2(b) of IPERA requires agencies to produce a statistically valid estimate, or "an
estimate that is otherwise appropriate using a methodology approved" by the Director of
OMB. This means that if, and only if, agencies are unable to develop a sampling methodology
that follows the guidance described above in section I.A.9, step 2, they may utilize an alternative
sampling and estimation approach after obtaining OMB approval. A request for approval and
the proposed alternative sampling and estimation approach must be submitted in writing to OMB
no later than June 30 in the fiscal year for which the alternative approach is being developed
(e.g., an alternative approach to be used for the FY 2014 reporting cycle must be submitted by
June 30, 2014). The request must describe the proposed alternative methodology in detail, and
clearly explain why the agency is unable to produce a statistically valid estimate (as described in
section I.A.9, step 2). OMB anticipates that a statistician 12 (either an agency employee or a
contractor) will be consulted when preparing an alternative sampling and estimation approach.

If approved by OMB, agencies are responsible for maintaining documentation for the alternative
sampling and estimation approach. The agency shall also include a summary of this alternative
methodology in its AFR or PAR, including the justification for using an alternative
methodology.

The scenarios described below are examples of the types of approaches that may be approved by
OMB as alternatives to section I.A.9, step 2 of this guidance. However, agencies are required to



12
  This person should have training and experience designing statistical samples and using statistical methods to
calculate population estimates and sampling errors from a probability sample. This person would generally have an
advanced degree in statistics, biostatistics, mathematics, a quantitative social science, or a similar field.



                                                    SA189                                                      18
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 208 of 514




obtain OMB approval prior to implementation. The scenarios below are merely illustrations, and
other alternatives may be presented to OMB.

       Scenario 1. An agency has a previous baseline improper payment rate, and has a plan in
       place to obtain another full program improper payment rate within five years from the
       baseline year.

       Step 1: Aging the baseline rate. The agency should use statistical methods to update or
       "age" the baseline improper payment rate in the intervening years, until the next program
       rate is established. Specifically, the agency should use available data to extrapolate
       updates of the baseline rate. At a minimum, the analysis should provide a reasonable
       basis to conclude whether the baseline rate is trending upward, downward, or remaining
       static.

       Step 2: Program component annual estimate. The agency should develop an annual
       improper payment rate for a component of the program. The component can be defined
       based on population, program area, or known problem area. To the extent possible, the
       component chosen for analysis should be based on risk so that the agency is targeting an
       area of the program in which a significant amount of improper payments is expected to
       occur. This approach could mean choosing an area because of overall financial exposure,
       or in the case of State-administered programs, possibly selecting larger states to cover
       more of the risk. This program component should be statistically sampled annually to
       obtain an improper payment rate consistent with the statistical rigor requirements of this
       guidance. The goal for the component study is not to extrapolate an improper payment
       rate for the program as a whole. Rather, the goal is only to estimate an improper payment
       amount for the relevant program component being studied. Component-specific baseline
       and target rates, as well as corrective action plans, should be developed to assess agency
       progress in reducing improper payments in the program component.

Please note, that both Steps 1 and 2 in Scenario 1 are required if this alternative is chosen by the
agency and approved by OMB.

       Scenario 2. No baseline comprehensive improper payment rate is established and no
       statistically valid methodology is yet developed to obtain one.

       Step 1: Plan for comprehensive baseline improper payment rate. A methodology to
       obtain a comprehensive baseline improper payment rate must be developed with a
       time line that would allow for the first estimate to occur within three years of when the
       plan was approved by OMB. Statistical rigor must meet, at a minimum, the requirements
       previously stated in this guidance.

       Step 2: Program component annual improper payment rate. While the agency is working
       toward a comprehensive baseline rate, the agency should annually identify a component
       to assess, and begin to report an improper payment rate for that component within one
       year of the plan's approval by OMB (see Step 2 in Scenario 1 above).




                                              SA190                                                19
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 209 of 514




       Step 3: Determine rate. Once the baseline rate is established, and if the rate cannot be re­
       estimated annually, the agency should perform both Steps 1 and 2 of Scenario 1 above to
       ensure that adequate information on improper payments is obtained on an annual basis.
       If an agency decides to utilize one of the scenarios listed above, it must complete all of
       the steps for the scenario selected. It is important to note that agencies are not restricted
       to using only these two approaches; different strategies may be necessary because of pre­
       existing legislative requirements and/or prohibitions, or because a different method may
       be more appropriate in providing results for a particular program. Agencies may also
       consider non-probabilistic sampling approaches, such as purposive sampling or cut-off
       samples, when legislative requirements make probabilistic samples untenable.

       Scenario 3. The risk of improper payments in a program may be part of a larger
       inefficiency that the agency is attempting to address. For instance, the improper
       payments in the program may be a subset of a larger initiative, and the agency may only
       focus on one portion of the improper payments within the program that is under its
       control rather than the entire inefficiency.

       Step 1: Identify program component. The agency should identify the component of the
       program that it wants to estimate and report on. This selection should be a component of
       the program that is within its control, is a driver of improper payments within the
       program, and whose estimation would produce benefits that outweigh their costs. Once
       this selection is identified, the agency should implement an estimation plan that meets the
       statistical rigors stated in this guidance.

       Step 2: Continue broader program estimate. During and after the development of the
       program component improper payment rate, the agency should continue to report the
       overall program improper payment estimate. Eventually, OMB may notify the agency
       that it may stop conducting the overall program estimate and instead use the program
       component estimate in its place, but the agency should continue to report both the
       component and program improper payment rate until OMB notifies the agency that it
       may stop doing so.

As detailed above, whether an agency decides to use one of these three scenarios, or proposes a
different process, all deviations from section I.A.9, step 2, shall be submitted to OMB no later
than June 30 in the fiscal year for which the estimate is being produced and documented in the
AFR or PAR. In addition, programs should consider updating their alternative methodology if
the program undergoes any significant changes such as legislative, funding, structural, etc.

15) Should data used for estimating improper payments coincide with the fiscal year being
    reported in the AFR or PAR?

To the extent possible, data used for estimating improper payments in a given program should
coincide with the fiscal year being reported (for example, the estimate reported in the FY 2014
AFR or PAR should be based on data from FY 20 14). However, agencies may utilize a different
12-month reporting period with approval from OMB. This request for approval shall be
submitted to OMB no later than June 30 in the fiscal year for which the estimate is being



                                             SA191                                               20
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 210 of 514




reported and shall be documented in the AFR or PAR. For example, the estimate reported in the
FY 2014 AFR or PAR could be based on data from FY 2013, if approved by OMB. As another
example, the estimate reported in the FY 2014 AFR or PAR could be based on data from the last
two quarters ofFY 2013 and the first two quarters ofFY 2014, if approved by OMB. For
consistency purposes, the agency shall continue using the same time period for subsequent
reporting years, unless a different time period is proposed by the agency and approved by OMB.
Therefore, agencies do not need to re-submit a request for approval every year, only when they
are planning to change their reporting time period.

16) What are Federally-funded, State-administered programs, and may agencies consider
    other approaches for these types of programs?

Federally-funded, State-administered programs (e.g. , Medicaid, Unemployment Insurance,
TANF, Title I Grants to States, Child and Adult Care Food Program) receive at least part of their
funding from the Federal Government, but are administered, managed, and operated at the State
or local level. Where programs are administered at the State level, statistically valid estimates of
improper payments may be provided at the State level either for all States or for all sampled
States annually. If the improper payment estimates are provided at the State level, these State­
level estimates should then be used to generate a national improper payment dollar estimate and
rate. However, agencies may submit a plan to OMB for approval to provide national level
estimates for State-administered programs based on a systematic selection of such states each
year. This request for approval must be submitted in writing to OMB no later than June 30 of the
fiscal year for which the approach is being developed (in other words, an approach to be used for
the FY 2014 reporting cycle would be submitted by June 30, 2014).

One example of this type of approach can be seen in the Title JV.:.E Foster Care Program,
wherein current regulations require that programs be reviewed every three years for compliance.
With prior OMB approval, this program has taken the review cycle already in place and
leveraged it for estimating improper payments, providing a rolling three-year average improper
payment rate.

Alternate methodologies, such as those described above, must be approved by OMB in advance
of implementation. The justification to use this type of approach must include a description of
the States to be selected each year, the methodology for generating annual national estimates,
and a justification for using the proposed plan rather than an estimate based on a random
statistical sample.

17) Are programs that are identified as susceptible to significant improper payments, and
    that annually report improper payment estimates, permanently subject to improper
    payments reporting requirements?

No. If an agency' s program is currently estimating and reporting improper payments, but has
documented a minimum of two consecutive years of improper payments that are below the
statutory thresholds described in section I.A.9, the agency may request relief from the annual
reporting requirements for this program or activity. This request must be submitted in writing to
OMB, and must include an assertion from the agency' s Office oflnspector General that it



                                             SA192                                               21
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 211 of 514




concurs with the agency's request for relief. The request for approval must be submitted to
OMB no later than June 30 in the fiscal year for which the agency is requesting to halt reporting
(e.g., a request to halt reporting for a program beginning with the FY 2014 reporting cycle must
be submitted by June 30, 2014).

OMB will not grant automatic approval. Rather, OMB will review the request and will also take
into account the following criteria:
    a. Burden-does measuring and reporting improper payments lead to a heavy burden (e.g.,
        in terms of funding, program staffhours, etc.)?
    b. Legislative considerations-are there any legislative requirements or recent changes that
        affect the program's ability or inability to estimate and report improper payments?
    c. Audit findings-are there any audit findings (i.e., by the Inspector General or GAO) that
        point to reasons why the program might want to continue measuring and reporting
        improper payments?
    d. Ongoing risk mitigation strategies-are there any appropriate controls, policies, or
        corrective actions that have been put in place to mitigate the risk of fraud and error in the
        program?
    e. Other considerations-are there any other key factors that should be considered in
        deciding whether or not to grant relief from measuring and reporting improper payments?

In order to expedite OMB's review, agencies should consider the five criteria above and discuss
them, if appropriate, in the written request. If OMB approves the request, the agency shall
incorporate that program or activity into its risk assessment cycle. However, if significant
legislative changes occur, if program funding is significantly increased, or if any change results
in substantial program impact, agencies must perform a risk assessment of this program as part
of its next reporting cycle, even if it has been less than three years since the last risk assessment.
If the risk assessment indicates that the program is again susceptible to significant improper
payments, the agency will return to the full estimation and reporting process as required by IPIA.
Agencies must continue to report improper payment rates, amounts, and remediation efforts as
long as annual improper payments for a program exceed the reporting thresholds.

18) Are programs and activities that have been deemed susceptible to significant improper
    payments as a result of the Disaster Relief Appropriations Act, 2013, permanently
    subject to improper payments reporting requirements?

No. Improper payment measuring and reporting for funds received under the Disaster Relief
Appropriations Act, 2013, for Hurricane Sandy-related activities must only be performed until
those funds are expended. According to the Disaster Relief Appropriations Act, 20 13, all
Federal programs or activities receiving funds under that Act are automatically considered
susceptible to significant improper payments, regardless of any previous improper payment risk­
assessment results, and are required to calculate and report an improper payment estimate. For
further guidance on Hurricane Sandy-related improper payment requirements, please refer to
OMB Memorandum M-13-07, Accountability for Funds Provided by the Disaster Relief
Appropriations Act, issued on March 12, 2013.




                                              SA193                                                 22
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 212 of 514




B. IMPROVING THE DETERMINATION OF IMPROPER PAYMENTS

1) How will OMB determine the "high-priority" programs as required under IPERIA?

High-priority programs will be determined by OMB based on improper payment reporting in
agencies' AFRs or PARs.

OMB may classify a program as high-priority if the program meets the following conditions:

    a. It is susceptible to significant improper payments as defined by statute and OMB
       implementing guidance and either:
          1. Estimated and reported improper payments above the threshold determined by
              OMB or contributed to the majority of government-wide improper payments in the
              most recent reporting year; or
         ii. Did not report an improper payment estimate in the most recent reporting year, but
              had reported improper payments before and did not receive relief from OMB from
              measuring and reporting; or
        111. Has not yet reported an overall program improper payment estimate amount, but the
              aggregate of the program's component improper payments are above the threshold.

   b. For those programs with improper payment amounts above the threshold, but with
      improper payment rates below 1.5 percent of program outlays, agencies may work with
      OMB to determine if the program can be exempted from fulfilling certain OMB
      requirements for high-priority programs.

The threshold for high-priority program determinations for FY 2014 reporting, and for
subsequent years, is $750 million in estimated improper payments as reported in the AFR or
PAR (regardless ofthe improper payment rate estimate). OMB may revise this threshold in
future years and, if so, will notify agencies of the new threshold and if any programs shall be
added or removed (based on reporting errors above or below the new threshold) from the high­
priority list. If a program is identified as high-priority (e.g., because it did not report an improper
payment estimate, or reported an improper payment estimate above $750 million), but in
subsequent years reports an improper payment estimate below $750 million, it will no longer be
considered a high-priority program.

2) What are the requirements under IPERIA for establishing semi-annual or quarterly
   actions for reducing improper payments?

IPERIA requires OMB, in coordination with agencies responsible for administering high-priority
programs, to establish semi-annual or quarterly actions for reducing improper payments
associated with each high-priority program. IPERIA codified parts of Executive Order 13520,
including this particular requirement, which stems from the Executive Order supplemental
measures and targets. For more details, please see section III.B of this guidance.




                                              SA194                                                 23
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 213 of 514




3) Do high-priority programs have any specific requirements regarding corrective
   actions?

High-priority programs are already required to develop corrective actions, as discussed in section
LA. However, IPERIA requires agencies to tailor their corrective actions for high-priority
programs. Therefore, any agency that has any programs identified as high-priority shall explain
in its AFR or PAR how it has specifically tailored its corrective actions for high-priority
programs to better reflect the unique processes, procedures, and risks involved in each specific
program.

4) Are there any additional reporting requirements for agencies that have high-priority
   programs?

Yes. IPERIA requires each agency that has any programs identified as high-priority to report to
their Inspector General, and make available to the public (including availability through the
internet): (1) any action the agency has taken-or plans to take-to recover improper payments;
and (2) any action the agency intends to take to prevent future improper payments. In order to
avoid duplication and reduce the number of agency reports related to improper payments,
agencies shall fulfill this requirement by including this information in their AFRs or PARs
starting with FY 2014 reporting. Please note that this reporting requirement will also fulfill the
"accountable official" report required under Section 3(b) of Executive Order 13520.

Inspectors General shall review this information (i.e., the information discussed in this question,
in the paragraph above) when they conduct their annual compliance reviews (see Part II of this
guidance). OMB will make the improper payments portions of AFRs and PARs publicly
available on PaymentAccuracy.gov starting with the FY 2014 reporting cycle. As required by
IPERIA, the agency shall not include any referrals the agency made or anticipates making to the
Department of Justice, or any information provided in connection with such referrals. In
addition, this requirement shall not prohibit any referral or information being made available to
an Inspector General as otherwise provided by law.


C. CATEGORIES FOR REPORTING IMPROPER PAYMENTS

1) What categories should agencies use when reporting improper payment estimates?

Prior to FY 2015 reporting, agencies were required to categorize their improper payment
estimates based on three categories of improper payments: documentation and administrative
errors; authentication and medical necessity errors; and verification errors. However, those
categories proved to be limited and not necessarily applicable to most programs. Therefore,
OMB-in consultation with agencies-developed new improper payment categories. Reporting
information based on these categories shall be required for FY 2015 reporting and beyond. To
the extent possible, for FY 2014 reporting OMB encourages agencies with programs that are
susceptible to significant improper payments to report information in their AFR or PAR based on
the categories described below.




                                             SA195                                               24
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 214 of 514




These new categories will: (1) prove more pertinent to the vast array of programs across the
Federal landscape; (2) help agencies better present the different categories of improper payments
in their programs and the percentage of the total improper payment estimate that each category
represents; and (3) provide more granularity on improper payment estimates-thus leading to
more effective corrective actions at the program level and more focused strategies for reducing
improper payments at the government-wide level.

The matrix below provides a cross-tabulation framework for the way in which each program
shall categorize and report its improper payment estimate.

                 Table 1: Matrix of Improper Payment Categories ($ in millions)


            Reason for Improper Payment


   Program Design or Structural Issue
                                                          ~                                 1

   Inability to Authenticate Eligibility                                                    2
                       Death Data                                                           3
                       Financial Data                                                       4
   Failure to Verify: Excluded Party Data                                                   5

                       Prisoner Data                                                        6
                       Other Eligibility Data (explain)                                     7
                       Federal Agency                                                       8

                       State or Local Agency                                                9
   Administrative
   or Process          Other Party (e.g., participating
   Error Made by:      lender, health care provider, or
                       any other organization                                               10
                       administering Federal dollars)

   Medical Necessity                                                                        11

   Insufficient Documentation to Determine

   Other Reason (explain)
                                                                         ><                 12

                                                                                            13

                                                             A                    8

In the matrix, columns A and B include two categories based on the type of improper payment,
and rows 1 through 13 include thirteen categories based on the reason why the improper payment
was made (each category is explained in more detail below). The matrix has a total of 25 cells
(i.e., coordinates AI through B13, where B12 is not to be used, as indicated by the ' X' in cell



                                                SA196                                            25
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 215 of 514




B12 in the matrix). Each program shall distribute its total improper payment estimate (which is
based on dollars, as opposed to number of occurrences) across the 25 cells in the matrix-with
the understanding, of course, that not every cell will apply to every program.

For example, suppose a program reported $100 million in estimated improper payments. Here is
an example of how the table might be filled out:

    •     If $70 million were overpayments caused by the inability to authenticate eligibility, then
          that amount would go in cell A2.
    •     If $10 million were underpayments caused by process errors at State agencies
          administering the program, then that amount would go in cell B9.
    •     If $20 million were cases where there was insufficient documentation to determine if
          payments were proper or improper, in which case it is assumed those are overpayments,
          then that amount would go in cell A12.

Ultimately, the amounts placed across the different cells in the matrix need to add up to the total
reported estimated improper payment amount for that given program. Please note that, taken by
themselves, the amounts placed in each cell do not need to meet the statistical requirements
described above in section I.A.9, step 2. Also note that, although there are 25 cells in the matrix
below, agencies should only fill in relevant cells, and may leave cells blank if they are not
relevant to the program's estimated improper payments. Finally, it is important to note that in
cases where the agency believes more than one cell might be suitable to any given improper
payment category, the agency should determine which cell it believes to be the most appropriate.

All categories found in the matrix are described as follows:

    a. Overpayments (column A) and Underpayments (column B): An overpayment is a
       payment that is evidently higher than it should have been (including a duplicate
       payment), and an underpayment is a payment that is evidently lower than it should have
       been.

    b. Program Design or Structural Issue (row 1): A situation in which improper payments are
       the result of the design of the program or a structural issue. For example, a scenario in
       which a program has a statutory (or regulatory) requirement to pay benefits when due,
       regardless of whether or not all the information has been received to confirm payment
       accuracy.

    c. Inability to Authenticate Eligibility (row 2): A situation in which an improper payment is
       made because the agency is unable to authenticate eligibility criteria. Though other
       scenarios are also possible, here we discuss three likely ways in which this can happen.
       First, the inability to authenticate eligibility can happen because no databases or other
       resources exist to help the agency make a determination of eligibility (for example, the
       inability to establish that a child lived with a family for a certain amount of time-for the
       purpose of determining that a family is eligible for a tax credit-because no database
       exists to do so). Second, a beneficiary has failed to report information to an agency that
       is needed for determining eligibility (for example, a beneficiary failing to provide an



                                               SA197                                               26
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 216 of 514




     agency with information on earnings, and the agency does not have access to databases
     containing the earnings information). Finally, statutory constraints prevent a program
     from being able to access information that would help prevent improper payments (for
     example, not confirming a recipient's earnings or work status through existing databases
     due to statutory constraints).

d. Failure to Verify Data (rows 3-7): A situation where the agency (Federal, State, or local),
   or another party administering Federal dollars, fails to verify appropriate data to
   determine whether or not a recipient should be receiving a payment, even though such
   data exist in government or third-party databases. For reporting purposes, the kind of
   data in question would include, but are not limited to, the following:
       1.  Death Data (row 3)-failure to verify that an individual is deceased, and the
           agency pays that individual.
      ii.  Financial Data (row 4)-failure to verify that an individual's or household's
           financial resources (for example, current income or assets) do not meet the
           threshold to qualify him or her for a benefit, and the agency makes a benefit
           payment to that individual or household.
    iii.   Excluded Party Data (row 5)-failure to verify that an individual or entity has
           been excluded from receiving Federal payments, and the agency pays that
           individual or entity.
     iv.   Prisoner Data (row 6)-failure to verify that an individual is incarcerated and
           ineligible for receiving a payment, and the agency pays that individual.
      v.   Other Eligibility Data (row 7)-any other type of data not already listed above,
           causing the agency to make an improper payment as a result.

e. Administrative or Process Errors (Rows 8-10): Errors caused by incorrect data entry,
   classifying, or processing of applications or payments. For example, an eligible
   beneficiary receives a payment that is too high or too low due to a data entry mistake, or
   an agency enters an incorrect invoice amount into its financial system. These types of
   errors can be made by:
      i.   Federal Agency (row 8)
     11.   State or Local Agency (row 9)
    111.   Other Party (row 1 0)-for example, a participating lender, or any other type of
           organization administering Federal dollars that is not a Federal or State agency.

f.   Medical Necessity (row 11): A situation in which a medical provider delivers a service or
     item that does not meet coverage requirements for medical necessity (for example,
     providing a power wheelchair to a patient whose medical record does not support
     meeting coverage requirements for a power wheelchair).

g. Insufficient Documentation to Determine (row 12): A situation where there is a lack of
   supporting documentation necessary to verify the accuracy of a payment identified in the
   improper payment testing sample. For example, a program does not have documentation
   to support a beneficiary's eligibility for a benefit (in this case, the beneficiary may have
   been eligible, but the documentation is not present to confirm it during the review
   period).



                                         SA198                                               27
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 217 of 514




   h. Other Reason (row 13): If none of the above categories apply, include any other reasons
      for the improper payment under this category-and please explain the reasons in more
      detail either in footnotes or in the narrative below the table. In instances where agencies
      are able to identify improper payments resulting from fraud, they should report those
      dollar amounts in this row-unless they already report fraud through a mechanism
      outside of the annual improper payment process (e.g., an annual report to Congress).
      Additional considerations for fraudulent activities are discussed below.

2) How should agencies focus on fraudulent activities?

When agencies are reviewing the root causes of improper payments, or analyzing areas for
supplemental measures and targets, agencies should be mindful of maintaining a focus on
fraudulent activity within the program. For instance, fraudulent actions (e.g. , using fraudulent
documents to receive a benefit or contract payment) may have an impact on agency outlays, and
may also be something that agencies can reduce through improved pre-payment reviews and
additional safeguards. Agencies should refer matters involving possible fraudulent activities to
the appropriate parties as determined by specific agency policy. Such parties may include, but
are not limited to, the Office of Inspector.General or the Department of Justice.


D. PAYMENT RECAPTURE AUDITS

This section of the guidance implements the requirements of IPERA Section 2(h), which requires
agencies to' conduct payment recapture audits (also known as recovery audits) for each program
and activity that expends $1 million or more annually if conducting such audits would be cost­
effective. Before IPERA, payment recapture audits were only required for agencies that entered
into contracts with a total value in excess of $500 million in a fiscal year, and for certain other
programs.

A more recent law, IPERIA, requires OMB to determine current and historical rates and amounts
of improper payment recoveries (or, in cases in which improper payments are identified solely
on the basis of a sample, recovery rates and amounts estimated on the basis of the applicable
sample), including a list of agency recovery audit contract programs and specific information of
amounts and payments recovered by recovery audit contractors.

1) What are the definitions used for payment recapture auditing in this guidance?

For purposes of this guidance the following terms and definitions are used:

   a. Post-Award Audit refers to a post-award examination of the accounting and financial
      records of a payment recipient that is performed by an agency official, or an authorized
      representative of the agency official, pursuant to the audit and records clauses
      incorporated in the contract or award. A post-award audit is normally performed by an
      internal or external auditor that serves in an advisory capacity to the agency official. A
      post-award audit, as distinguished from a payment recapture audit, is normally performed



                                            SA199                                               28
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 218 of 514




        for the purpose of determining if amounts claimed by the recipient are in compliance with
        the terms of the award or contract, and with applicable laws and regulations. Such
        reviews involve the recipient's accounting records, including the internal control systems.
        A post-award audit may also include a review of other pertinent records (e.g. , reviews to
        determine if a proposal was complete, accurate, and current); and reviews of recipients'
        systems established for identifying and returning any improper payments received under
        its Federal awards.

   b. Payment Recapture Audit is a review and analysis of an agency's or program' s
      accounting and financial records, supporting documentation, and other pertinent
      information supporting its payments, that is specifically designed to identify
      overpayments. It is not an audit in the traditional sense covered by Government Auditing
      Standards. Rather, it is a detective and corrective control activity designed to identify
      and recapture overpayments, and, as such, is a management function and responsibility.

   c. Payment Recapture Audit Program is an agency's overall plan for risk analysis and the
      performance of payment recapture audits and recovery activities. The agency head will
      determine the manner and/or combination of payment recapture activities to use that are
      expected to yield the most cost-effective results (see definition below).

   d. Cost-Effective Payment Recapture Audit Program is one in which the benefits (i.e.,
      recaptured amounts) exceed the costs (e.g., stafftime and resources, or payments for the
      payment recapture audit contractor) associated with implementing and overseeing the
      program.

   e. Payment Recapture Audit Contingency Contract is a contract for payment recapture audit
      services in which the contractor is paid for its services as a percentage of overpayments
      actually collected. The contractor must provide clear evidence of overpayments to the
      appropriate agency official. More information on contingency contracts can be found in
      the remaining questions of section I.D.

   f.   Recapture Activity is any activity by an agency to attempt to identify and recover
        overpayments identified by a payment recapture audit or a post-award audit.

   g. Financial Management Improvement Program is an agency-wide program to address the
      deficiencies in an agency's internal controls over payments identified during the course of
      implementing a payment recapture audit program, or other agency activities and reviews.
      The first priority of such a program is to address problems that contribute directly to
      agency improper payments and other instances of waste, fraud, and abuse.

2) What are the general agency requirements for implementing a payment recapture audit
   program?

Agencies shall have a cost-effective program of internal control to prevent, detect, and recover
overpayments. A program of internal control may include policies .and activities such as
prepayment reviews, a requirement that all relevant documents be made available before making



                                             SA200                                              29
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 219 of 514




payment, and performance of post-award audits. Effective internal controls could include
payment recapture auditing techniques such as data matching with Federal, State, and local
databases; and data mining and predictive modeling to identify improper payments. However,
for agencies that have programs and activities that expend more than $1 million in a fiscal year, a
payment recapture audit program is a required element of their internal controls over payments if
conducting such audits is cost-effective. These payment recapture audits should be implemented
in a manner designed to ensure the greatest financial benefit to the Federal government.

3) Should agencies establish targets for their payment recapture audit programs?

Yes, all agencies are required to establish annual targets for their payment recapture audit
programs that will drive their annual performance. Agencies shall develop their own payment
recapture targets for review and approval by OMB (this approval process will take place during
the OMB review and approval process of draft AFRs and PARs). Agencies are expected to set
targets that show an increase in recoveries over time, and OMB reserves the right to notify
specific agencies that they need to establish stricter targets. An agency may set different
payment recapture targets for the different types of payments it makes (for example, a given
agency might set a target that encompasses all contract payments lumped together, and another
target that encompasses all grant payments lumped together), or for each program. Lastly,
agencies may also identify and implement additional metrics beyond these targets to evaluate
their payment recapture audit programs, but these metrics shall not be used as a substitute for
establishing annual recovery targets.

4) What is the scope for payment recapture audit programs?

    a. All programs and activities that expend $1 million or more annually-including grant,
       benefit, loan and contract programs-shall be considered for payment recapture audits.

   b. Agencies shall review their different types of programs and activities and prioritize
      conducting payment recapture audits on those categories that have a higher potential for
      overpayments and recoveries. Agencies should utilize known sources of improper
      payment information and give priority to recent payments and to payments made in
      programs identified as susceptible to significant improper payments. Possible sources of
      improper payment information include: statistical samples and risk assessments, agency
      post-payment reviews, prior payment recapture audits, agency Inspector General reviews,
      Government Accountability Office reports, self-reported errors, reports from the public,
      audit reports, and the results of the agency audit resolution and follow-up process.

    c. Agencies shall conduct a payment recapture audit program in a manner that will ensure
       the greatest financial benefit for the government.

    d. Agencies may exclude payments from certain programs and activities from payment
       recapture audit activities if the agency determines that payment recapture audits are not a
       cost-effective method for identifying and recapturing improper payments.




                                             SA201                                              30
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 220 of 514




   e. The payment recapture audit contractor may, with the consent of the employing agency,
      notify entities (including individuals) of potential overpayments made to such entities,
      respond to questions concerning potential overpayments, and take other administrative
      actions with respect to overpayment claims made or to be made by the agency. However,
      the payment recapture audit contractor will not have the authority to make determinations
      relating to whether any overpayment occurred and whether to compromise, settle, or
      terminate overpayment claims.

   f.    To the extent possible, any underpayments identified through the payment recapture audit
         process should also be corrected by the agencies. Agencies may include provisions that
         authorize payments to payment recapture auditors for underpayments identified.

   g. Payment recapture auditing activities should not duplicate other audits of the same
      (recipient or agency) records that specifically employ payment recapture audit techniques
      to identify and recapture overpayments. At a minimum, agencies should coordinate with
      their Inspectors General and other organizations with audit jurisdiction over agency
      programs and activities.

   h. Instances of potential fraud discovered through payment recapture audit and recapture
      activities shall be reported immediately to the appropriate parties as determined by
      specific agency policy. Such parties may include, but are not limited to, the Office of
      Inspector General or the Department of Justice.

5) What criteria should an agency consider in determining whether a payment recapture
   audit is cost-effective?

An agency may consider the following criteria in determining whether a payment recapture audit
is cost-effective:

   a. The likelihood that identified overpayments will be recaptured. For example:
         1.  Whether laws or regulations allow recovery;
        11.  Whether the recipient of the overpayment is likely to have resources to repay
             overpayments from non-Federal funds;
       111.  Whether the evidence of overpayment is clear and convincing (e.g., the same
             exact invoice was paid twice) as opposed to whether the recipient of an apparent
             overpayment has grounds to contest, and the agency's assessment of the strength
             of the recipient's counterargument; and
       IV.   Whether the overpayment is truly an improper payment that can be recovered
             rather than a failure to properly document compliance.

   b. The likelihood that the expected recoveries will be greater than the costs incurred to
      identify and recover the overpayments. For example:
        1.    Can efficient techniques such as sophisticated software and matches be used to
              identify significant overpayments at a low cost per overpayment or will labor­
              intensive manual reviews of paper documentation be required?




                                                                                                31
                                             SA202
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 221 of 514




         n.    Are tools available to efficiently perform the payment recapture audit and
               minimize payment recapture audit costs? Payment recapture audits are generally
               most efficient and effective where there is a central electronic database (e.g., a
               database that contains information on transactions and eligibility information)
               where sophisticated software can be used to perform matches and analysis to
               identify recoverable overpayments (e.g., duplicate payments).
        111.   How expensive will attempts to recover some or all of the overpayments be,
               particularly in complex financial situations, and when recipients may contest the
               assertion of an overpayment, especially when litigation is anticipated (in which
               situations, the agency should consult with its counsel and, as appropriate, with the
               Department of Justice)?

Agencies are encouraged to use limited scope pilot payment recapture audits in areas deemed of
highest risk (e.g., based on IPIA risk assessments or estimation process) to assess the likelihood
of cost-effective payment recapture audits on a larger scale.

6) What should an agency do if it determines that a payment recapture audit program
   would not be cost-effective?

If an agency determines that it would be unable to conduct a cost-effective payment recapture
audit program for certain programs and activities that expend more than $1 million, then it must
notify OMB and the agency's Inspector General of this decision and include any analysis used
by the agency to reach this decision. OMB may review these materials and determine that the
agency should conduct a payment recapture audit to review these programs and activities. In
addition, the agency shall report in its annual AFR or PAR: 1) a list of programs and activities
where it has determined conducting a payment recapture audit program would not be cost­
effective; and 2) a description of the justifications and analysis that it used to determine that
conducting a payment recapture audit program for these programs and activities was not cost­
effective.

7) Should the agency follow any particular procedures when conducting payment
   recapture audits of grants payments?

Agencies with grant programs shall consider payment recapture auditing contracts at the grant
recipient level. Federal agencies should work with State and local governments to ensure that
they have enough resources to conduct payment recapture audits (for example, through direct
funding, allowable administrative expenses, or contingency contracts). Whenever applicable,
agencies should leverage work already being carried out outside of payment recapture audits.
For example, agencies are encouraged to rely on and use the audit work already being carried out
under the Single Audit Act and the Uniform Guidance for federal assistance (2 CFR 200 Subpart
F). Generally, Federal agencies should not look to pass-through entities for repayment of
improper payments identified by payment recapture audits for funds they pass-through until
repayment has been made by the sub-recipient or the final payee. Federal agencies should also
coordinate among themselves to reach partnerships with grant recipients to ensure a coordinated,
cost-effective approach to implement these payment recapture audit requirements. The




                                             SA203                                               32
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 222 of 514




cognizant agency assignment model used in the Single Audit or cost allocation processes can
help in streamlining the coordination between the Federal agencies and grant recipients.

8) Can Federal agencies provide money to States and Local governments for Financial
   Management Improvement efforts?

Yes. Many programs are Federally-funded but State-administered, and Federal agencies should
support State efforts to reduce improper payments in these programs. As authorized in IPERA
and this guidance, agencies may use up to 25 percent of funds recovered under a payment
recapture audit program to support Financial Management Improvement Programs (as described
in more detail in section I.D.14 below), including making a portion of this funding available to
State and local governments to support their Financial Management Improvement Programs.

9) Who may perform payment recapture audits?

Payment recapture audits may be performed by employees of the agency, by any other
department or agency of the Federal government acting on behalf of the agency, by non-Federal
entities (as defined in the Uniform Guidance, 2 CFR Subpart A, section 200.69) expending
Federal awards, by contractors performing payment recapture audit services under contracts
awarded by the executive agency, or any combination of these options.

10) May contractors perform payment recapture audit services?

Yes. With respect to contracts with private sector contractors performing payment recapture
audits, agencies may utilize a number of options, including a contingency contract with a private
sector contractor, to conduct payment recapture audit services. With the passage ofiPERA,
agencies are allowed and encouraged to utilize contingency contracts for private sector
contractors to implement the ~uthorities under the new law to review all types of payments and
activities.

However, certain types of payments recovered may not be available to pay the payment
recapture audit costs (for instance, amounts recovered due to interim improper payments made
under ongoing contracts if these amounts are still needed to make subsequent payments under the
contract, recoveries from an appropriation other than a discretionary appropriation, or recovered
overpayments from an appropriation that has not expired-please refer to section I.D.14 below
for more details). Therefore, agencies would need to establish other funding arrangements (such
as through appropriations) when making payments to private sector payment recapture audit
contractors in such cases where recoveries cannot be used to pay contingency fee contracts.

11) Are there any specific requirements when using a contracted payment recapture
    auditing firm?

Agencies should require contractors to become familiar with the agency' s specific policies and
procedures, and take steps to safeguard the confidentiality of sensitive financial information that
has not been released for use by the general public and any information that could be used to
identify a person.



                                             SA204                                               33
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 223 of 514




At a minimum, each contract for payment recapture audit services shall require the contractor to:

   a. Provide periodic reports to the agency on conditions giving rise to overpayments (e.g. ,
      root causes of overpayments) identified by the auditor and any recommendations on how
      to mitigate such conditions. If requested, the agency should provide the results of such
      analyses and related recommendations to its Office of Inspector General;

   b. Notify the agency of any overpayment identified by the contractor pertaining to the
      agency or to any other agency or agencies that are beyond the scope of the contracts; and

   c. Report to the agency and the agency's Office of Inspector General credible evidence of
      fraud or vulnerabilities to fraud, and conduct appropriate training of contractor personnel
      on identification of fraud.

Agencies may allow payment recapture auditors to establish a presence on, or visit, the property,
premises, or offices of any subject of payment recapture audits. Such physical presence is not
prohibited, and may in fact allow the payment recapture auditor to do a more thorough review of
the subject's payments, and related documentation and payment files.

12) Are there any prohibitions when using a payment recapture audit contractor?

In addition to provisions that describe the scope of payment recapture audits (and any other
provisions required by law, regulation, or agency policy), any contract with a private sector firm
for payment recapture audit services shall include provisions that prohibit the payment recapture
audit contractor from:

   a. Requiring production of any records or information by the agency's contractors. Only
      duly authorized employees of the agency can compel the production of information or
      records from the agency's contractors, in accordance with applicable contract terms and
      agency regulations;

   b. Using or sharing sensitive financial information with any individual or organization,
      whether associated with the Federal government or not, that has not been officially
      released for use by the general public, except for an authorized purpose of fulfilling the
      payment recapture audit contract; and

   c. Disclosing any information that identifies an individual, or reasonably can be used to
      identify an individual, for any purpose other than as authorized for fulfilling its
      responsibilities under the payment recapture audit contract.

13) Who performs recovery activities once the improper payments are discovered and
    verified?

The actual collection activity may be carried out by Federal agencies or non-Federal entities
expending Federal awards, as appropriate. However, agencies or non-Federal entities may use



                                            SA205                                                  34
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 224 of 514




another private sector entity, such as a private collection agency, to perform this function, if this
practice is permitted by statute. As noted above, the payment recapture audit contractor may not
perform the collection activity, unless it meets the definition of a private collection agency, and
the agency involved has statutory authority to utilize private collection agencies. Agencies shall
ensure that applicable laws and regulations governing collection of amounts owed to the Federal
government are followed.

14) What is the proper disposition of recovered amounts?

Funds collected under a payment recapture audit program can be used for the following
purposes:

    a. Recaptured overpayments from expired discretionary fund accounts that were
        appropriated after enactment ofiPERA (i.e. , July 22, 2010) shall be available to the
        agency to reimburse the actual expenses incurred by the agency for the following
        purposes:
           1.  To reimburse the actual expenses incurred by the agency for the administration of
               the program (including payments made to other agencies that carry out payment
               recapture audit services on behalf of the agency); and
           11. To pay contractors for payment recapture audit services.


   b. Recaptured overpayments from expired discretionary fund accounts that were
      appropriated after enactment ofiPERA (i.e. , July 22, 2010) that are not used to
      reimburse expenses of the agency or pay payment recapture audit contractors-as
      described above in section I.D.l4.a-shall be used for: a financial management
      improvement program, the original purpose of the funds, Inspector General activities, or
      returned to the Treasury as miscellaneous receipts or returned to trust or special fund
      accounts. Each agency shall determine the actual percentage of recovered overpayments
      used for the purposes outlined here (up to the maximum amount allowed in the law and
      this guidance). Specifically:
          1.  Up to 25 percent of the recaptured funds may be used for the financial
              management improvement program described below in section I.D.l5. This
              funding shall be credited, if applicable, for that purpose identified by the agency
              head to any agency appropriations and funds that are available for obligation at
              the time of collection. These funds shall be used to supplement and not supplant
              any other amounts available for that purpose, and shall remain available until
              expended. As discussed in section I.D.8, such funds can go to non-Federal
              entities such as State and local governments if the agency determines that is the
              best disposition of the funds to support its financial management improvement
              program.
          11. Up to 25 percent of the recaptured funds may be used for the original purpose.
              This funding shall be credited to the appropriation or fund, if any, available for
              obligation at the time of collection for the same general purposes as the
              appropriation or fund from which the overpayment was made, and shall remain
              available for the same period of availability and purposes as the appropriation or
              fund to which credited. If the appropriation from which the overpayment was



                                              SA206                                                35
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 225 of 514




             made has expired, the funds shall be newly available for the same time period as
             the funds were originally available for obligation. However, any funds that are
             recovered more than five fiscal years after the last fiscal year in which the funds
             were available for obligation shall be deposited in the Treasury as miscellaneous
             receipts.
        iii. Up to 5 percent of the recaptured funds shall be available to the agency Inspector
             General. The agency Inspector General may use this funding to carry out the
             law's requirements, and perform other activities relating to investigating improper
             payments or auditing internal controls associated with payments. However, the
             funding shall remain available for the same period of availability and purposes as
             the appropriation or fund to which it is credited.
        iv. The remainder of the recaptured, expired discretionary funds that were
             appropriated after enactment ofiPERA (i.e., July 22, 2010)-including
             recaptured overpayment amounts from trust and special fund accounts-that
             are not applied in accordance with the preceding 14.a.i, 14.a.ii, 14.b.i, 14.b.ii, and
             14.b.iii shall be credited to the expired account from which the overpayment was
             made.

c. Recaptured overpayments from unexpired discretionary fund accounts that were
   appropriated after enactment ofiPERA (i.e. , July 22, 2010) shall be credited to the
   account from which the overpayments were made without using it for any purposes
   outlined above in 14.a and 14.b.

d. Recaptured overpayments from mandatory fund accounts shall be credited to the
   account from which the overpayments were made without using it for any purposes
   outlined above in 14.a and 14.b.

e. In the case of recaptured overpayments from expired or unexpired discretionary fund
   accounts that were appropriated before enactment ofiPERA (i.e., July 22, 2010),
   agencies have the same authorities as before IPERA was enacted. Therefore, in this case
   recaptured overpayments may be applied in accordance with the preceding 14.a, but shall
   not be applied in accordance with the preceding 14.b. The remainder shall be credited to
   the expired account from which the overpayment was made.

f.   In the case of closed accounts, the budgetary resources are cancelled, and all recaptured
     overpayments shall be deposited in the Treasury as miscellaneous receipts.

g. Contingency fee contracts shall preclude any payment to the payment recapture audit
   contractor until the recoveries are actually collected by the agency.

h. All funds collected and all direct expenses incurred as part of the payment recapture audit
   program shall be accounted for specifically. The identity of all funds recovered shall be
   maintained as necessary to facilitate the crediting of recovered funds to the correct .
   appropriations and to identify applicable time limitations associated with the appropriated
   funds recovered.




                                          SA207                                                 36
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 226 of 514




   1.   Overpayments that are identified by the payment recapture auditor, but that are
        subsequently determined not to be collectable or not to be improper, shall not be
        considered "collected" for the disposition purposes outlined above.

   J.   Some programs and payments have separate statutory authority or requirements to
        conduct payment recapture audits, and thus are not required to follow the disposition of
        recovered funds outlined above for funds recovered from these programs and payments.
        For instance, under Section 302 of Division B of the Tax Relief and Health Care Act
        (Section 1893 ofthe Social Security Act; 42 U.S.C. 1395ddd) and Section 6411 ofthe
        Patient Protection and Affordable Care Act (Pub. L. No. 111-148), the Department of
        Health and Human Services is required to conduct reviews of certain Medicare program
        payments to identify and recover improper payments, and States are required to conduct
        similar reviews under Medicaid. In a similar example, under the authority of 31 U.S.C.
        3726, the General Services Administration audits agency transportation payments for
        improper payments. Agencies with oversight of such programs and payments may
        choose to follow the disposition uses outlined in this guidance-provided that is
        consistent with any other applicable statutory requirements-but are not required to do
        so. Disposition of payments associated with loans and loan guarantees must conform to
        the requirements of the Federal Credit Reform Act of 1990, as amended (2 U.S.C. 661a
        et. seq.)

15) Are agencies authorized to implement Financial Management Improvement Programs?

Yes. IPERA authorizes agencies to implement "financial management improvement programs."
Such programs shall take the information obtained from the payment recapture audit program (as
well as other audits, reviews, or information that identify weaknesses in an agency's internal
controls), and ensure that actions are taken to improve the agency's internal controls to address
problems that directly contribute to agency improper payments. In conducting its fmancial
management improvement programs, agency heads may also seek to reduce errors and waste in
programs and activities other than where funds are recaptured.

16) What are the reporting requirements for payment recapture audits?

Agencies shall annually report information on their payment recapture audit program in their
AFRs or PARs, as outlined in OMB Circular A-136.

In addition, by November 1, agencies are required to complete a separate, annual report to OMB
as well as the Senate Committee on Homeland Security and Governmental Affairs and the House
Committee on Oversight and Government Reform. This report shall describe any
recommendations identified by the payment recapture auditor on how to mitigate conditions
giving rise to overpayments, and any corrective actions the agency took during the preceding
fiscal year to address the auditor recommendations. This report shall describe agency efforts
during the previous fiscal year (for example, for the November 1, 2014 report, the agency would
describe recommendations and actions between October 1, 2013, and September 30, 2014;
subsequent reports would describe efforts for subsequent fiscal years). This report is required
only for Federal agencies utilizing external contractors to conduct their payment recapture audits



                                             SA208                                             37
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 227 of 514




and only in instances where these contractors have provided any recommendations, as described
above. This report is not required for state agencies utilizing contractors to conduct their
payment recapture audits.

17) How are improper payment estimates different from payment recapture audit efforts?

Improper payment estimates evaluate a small number of payments in a program or activity to
determine if the payments were improper or proper. The results of these reviews are then
extrapolated to the universe of payments in a program or activity to determine the program or
activity's annual improper payment amount and rate. Payment recapture audits are not statistical
samples, and instead are targeted examinations of high-risk payments which most likely can be
cost-effectively recaptured (e.g., cash collected from the final payee exceeding collection costs).




                                             SA209                                               38
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 228 of 514




PART II- COMPLIANCE WITH THE IMPROPER PAYMENT REQUIREMENTS

Part II provides guidance to assist Inspectors General and agency management in implementing
improper payment requirements.


A. RESPONSIBILITIES OF AGENCY INSPECTORS GENERAL

1) When should each agency Inspector General begin reviewing improper payment
   performance to determine whether the agency is in compliance under IPERA?

Each agency Inspector General should annually review agency improper payment reporting in
the agency's annual AFR or PAR, and accompanying materials, to determine if the agency is in
compliance under IPERA.

2)   When should the agency Inspector General complete its review of agency compliance
     under IPERA?

An agency Inspector General should review the agency's annual AFR or PAR, and
accompanying materials, and complete its review and determination within 180 days of their
publication.

3)   What should each agency Inspector General review to determine if an agency is in
     compliance under IPERA?

To determine compliance under IPERA, the agency Inspector General should review the
agency's AFR or PAR (and any accompanying information) for the most recent fiscal year.
Compliance under IPERA means that the agency has:
   a. Published an AFR or PAR for the most recent fiscal year and posted that report and any
       accompanying materials required by OMB on the agency website;
   b. Conducted a program specific risk assessment for each program or activity that conforms
       with Section 3321 note of Title 31 U.S.C. (if required);
   c. Published improper payment estimates for all programs and activities identified as
       susceptible to significant improper payments under its risk assessment (if required);
   d. Published programmatic corrective action plans in the AFR or PAR (if required);
   e. Published, and is meeting 13 , annual reduction targets for each program assessed to be at
       risk and estimated for improper payments (if required and applicable); and
   f. Reported a gross improper payment rate of less than 10 percent for each program and
       activity for which an improper payment estimate was obtained and published in the AFR
       or PAR.

If an agency does not meet one or more of these requirements, then it is not compliant under
IPERA.


13
  A program will have met a reduction target if the improper payment rate for that program in the current year falls
within plus or minus 0.1 percentage points of the reduction target set in the previous year's AFR or PAR.


                                                     SA210                                                        39
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 229 of 514




4)   What else should the agency Inspector General include in its compliance review and
     report?

The report must contain a high-level summary toward the beginning of the report that (a) clearly
states the agency's compliance status (i.e., compliant or non-compliant) and (b) indicates which
of the six requirements the agency complied with and which requirements the agency did not
comply with.

As part of this review, the agency Inspector General may also evaluate the accuracy and
completeness of agency reporting, and evaluate agency performance in reducing and recapturing
improper payments. For example, when reviewing the program improper payment rates,
corrective action plans, and improper payment reduction targets, the Inspector General should
determine if the corrective action plans are robust and focused on the appropriate root causes of
improper payments, effectively implemented, and prioritized within the agency, to allow it to
meet its reduction targets. As part of its report, the agency Inspector General may include its
evaluation of agency efforts to prevent and reduce improper payments, and any
recommendations for actions to further improve: the agency' s or program's performance in
reducing improper payments; corrective actions; or internal controls (see section II.C below).

Finally, as part of the annual compliance review, for agencies that have high-priority programs,
the agency Inspector General shall: evaluate the agency' s assessment ofthe level of risk
associated with the high-priority programs and the quality of the improper payment estimates
and methodology; determine the extent of oversight warranted; and provide the agency head with
recommendations, if any, for modifying the agency's methodology, promoting continued
program access and participation, or maintaining adequate internal controls.

5)   Who should the agency Inspector General notify when it has completed its
     determination of whether an agency is in compliance under IPERA?

Each fiscal year, the agency Inspector General should determine whether the agency is in
compliance under IPERA. Once it has completed its assessment, the agency Inspector General
must submit its results to:
   a. The agency head;
   b. The Senate Committee on Homeland Security and Governmental Affairs;
   c. The House Committee on Oversight and Government Reform;
   d. The Comptroller General; and
   e. The OMB Controller.


B. RESPONSIBILITIES FOR AGENCIES

1) What are the requirements for agencies not compliant under IPERA?

Agencies that are not compliant under IPERA must complete several actions, as described
below:




                                            SA211                                              40
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 230 of 514




   a. For agencies that are not compliant for one fiscal year, within 90 days of the
      determination of non-compliance, the agency shall submit a plan to the Senate
      Committee on Homeland Security and Governmental Mfairs, the House Committee on
      Oversight and Government Reform, and the OMB, describing the actions that the agency
      will take to become compliant. The plan shall include:
         1.   Measurable milestones to be accomplished in order to achieve compliance for
              each program or activity;
        11.   The designation of a senior agency official who shall be accountable for the
              progress of the agency in coming into compliance for each program or activity;
              and
       111.   The establishment of an accountability mechanism, such as a performance
              agreement, with appropriate incentives and consequences tied to the success of
              the senior agency official in leading agency efforts to achieve compliance for each
              program and activity.

   b. For agencies that are not compliant for two consecutive fiscal years for the same
      program or activity, the Director of OMB will review the program and determine if
      additional funding would help the agency come into compliance. This process will
      unfold as part of the annual development of the President's Budget. If the Director of
      OMB determines that additional funding would help the agency become compliant, the
      agency shall obligate an amount of additional funding determined by the Director of
      OMB to intensify compliance efforts. When providing additional funding for compliance
      efforts, the agency shall:
         1.    Exercise reprogramming or transfer authority to provide additional funding to
               meet the level determined by the Director of OMB; and
        11.    Submit a request to Congress for additional reprogramming or transfer authority if
               additional funding is needed to meet the full level of funding determined by the
               Director of OMB.

   c. For agencies that are not compliant for three consecutive fiscal years for the same
      program or activity, within 30 days of the determination of non-compliance, the agency
      will submit to Congress the following, in order to bring the program or activity in
      question into compliance:
         1.   Reauthorization proposals for each (discretionary) program or activity that has not
              been in compliance for three or more consecutive fiscal years; or
        11. . Proposed statutory changes necessary to bring the program or activity into
              compliance.

In addition, OMB may require agencies that are not compliant with the law (for one, two, or
three years in a row) to complete additional requirements beyond those requirements listed
above. For example, if a program is not compliant with the law, OMB may determine that the
agency must re-evaluate or re-prioritize its corrective actions, intensify and expand existing
corrective action plans, or implement or pilot new tools and methods to prevent improper
payments. OMB will notify agencies of additional required actions as needed. Lastly, agencies
should share.any plans or proposals required by this section with their respective Inspectors
General.



                                           SA212                                              41
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 231 of 514




C. INTERNAL CONTROL OVER IMPROPER PAYMENTS

1) What are the criteria as to when an agency should initially be required to obtain an
   opinion on internal control over improper payments?

As agencies implement the requirements described in Parts I, II, and III of this guidance, they
should approach improper payments with an internal control framework in mind. IPERA
introduced the concept of internal control over improper payments. Agencies should first be
given the opportunity to establish, maintain, and assess internal controls before a requirement to
obtain an audit opinion on internal control over improper payments. Beginning in FY 2015, each
agency reporting improper payments shall summarize the status of internal control over improper
payments within the agency's AFR or PAR using: (1) a narrative explaining efforts undertaken
to provide reasonable assurance that controls are in place and working; and (2) the table
illustrated below. The primary purpose of the summary is to provide a thoughtful analysis
linking agency efforts in establishing internal controls and reducing improper payment rates.
Agencies should leverage existing internal control plans and at a minimum should address the
internal control standards provided in question C.2 below. An illustrative example for the table
is provided below (see Table 2). The programs listed at the top of each column would be the
programs susceptible to significant improper payments currently reporting improper payments.

                         Table 2: Example ofthe Status of Internal Controls


    Internal Control Standards          Program A      Program B      Program C       Program D   Program E


 Control Environment                         3              2               2              4          1
 Risk Assessment                             4               1              4              4          1
 Control Activities                          4               3              2              2          2
 Information and Communication               3               1              3              1          2
 Monitoring                                  2               1              4              3          1

      Legend:
      4 = Sufficient controls are in place to prevent improper payments
      3 = Controls are in place to prevent improper payments but there is room for improvement
      2 =Minimal controls are in place to prevent improper payments
      1 = Controls are not in place to prevent improper payments

OMB will utilize the agency internal control summaries to monitor progress and ensure that
planned actions result in the outcome of reducing improper payment rates. In addition, OMB
will review the status of an agency's internal control over improper payments against the
following factors to determine when an agency should be required to obtain an internal control
over improper payments audit:



                                                  SA213                                                   42
       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 232 of 514




       a. Current Condition of Internal Control over Improper Payments: The current
          condition of internal control over improper payments can be assessed by a number of
          factors, including recent audit findings (e.g. , financial statement, performance, or
          compliance audit results) and the nature of material weaknesses or scope of
          management' s control. In addition, management's overall assurance statement required
          by Section 2 of the Federal Managers Financial Integrity Act should inform agency
          internal control plans. However, no separate assurance statement for internal control
          over improper payments is required.

       b. Agency Demonstration of Progress: Ifthe agency is not demonstrating measurable
          improvements in its internal control, OMB may encourage progress by requiring an audit
          of internal controls over improper payments, as it may assist agencies to identify and
          prioritize corrective actions to long-standing internal control weaknesses. In addition,
          innovative and cost-effective audit resolution approaches such as the Cooperative Audit
          Resolution and Oversight Initiative (CAROI) 14 will be encouraged to address internal
          control weaknesses related to improper payments.

In deciding when to require an opinion on internal control over improper payments, the facts and
circumstances of individual agencies will be considered on a case-by-case basis. It is expected
that Inspectors General or firms contracted with to provide an audit opinion will work to
leverage resources deployed as part of financial statement or performance audits and an efficient
and cost-effective audit approach will be developed.

2) How do internal control standards apply to improper payments?

Robust internal control processes should lead to fewer improper payments. Establishing and
maintaining effective internal controls-including an internal control system that prevents
improper payments from being made and promptly detects and recovers any improper payments
that are made-should be a priority. It is important to note that the five standards and attributes
below should be applied to the specific facts and circumstances of the various agency operations
and programs. In addition, management has discretion in determining the breadth and depth of
the scope of assessing internal control over improper payments. These standards and attributes
can be implemented to fit the circumstances, conditions, and risks relevant to the situation of
each agency. For example, one agency' s program might lend itself to effective improper
payment detection controls at the point of agency disbursement, while another program might be
primarily administered by state or local entities where the appropriateness of a disbursement can
only be determined at the state or local level. In these cases, agencies should describe efforts to
provide oversight to state and local governments.

       a. Control Environment. The agency has created a control environment that instills a
          cultural framework of accountability over improper payments by:
            1.    Fostering an atmosphere in which reducing improper payments are a top
                  management priority.


14
     CAROl is described in detail at http://www.agacgfm.org/AGA/ToolsResources/documents/CAROI.pdf.



                                                  SA214                                               43
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 233 of 514




     11.   Providing a cultural framework for managing risk by engaging key stakeholders
           in the risk management process.
    m.     Increasing accountability and providing leadership in setting and maintaining the
           agency's ethical code of conduct and laying out defined consequences for
           violations.
    1v.    Clearly defining key areas of authority and responsibility and establishing
           appropriate lines of reporting within and external to the agency (e.g., program
           offices or state governments).
     v.    Ensuring that personnel involved in developing, maintaining, and implementing
           control activities have the requisite skills and knowledge, recognizing that staff
           expertise needs to· be frequently updated in evolving areas such as information
           technology and fraud investigation.

b. Risk Assessment. The agency has determined the nature and extent of improper
   payments by:
      1.  Establishing well defined goals and objectives for eliminating improper payments
          and execution of corrective actions.
     11.  Determining where risks exist, what those risks are, and the potential or actual
          impact of those risks on program goals, objectives, and operations.
    111.  Using risk-assessment results to target high-risk areas and focus resources where
          the greatest exposure exists and return on investment can be maximized.
    1v.   Reassessing risks on a periodic basis to evaluate the impact of changing
          conditions, both external and internal, on program operations.
     v.   Establishing an inventory of root causes of improper payments and internal
          control deficiencies to develop corrective action plans for risk-susceptible
          programs. The inventory should include an explanation of how root causes were
          identified, prioritized, and analyzed to ensure corrective actions produce the
          highest return on investment for resolving improper payment control deficiencies.

c. Control Activities. The agency has developed control activities to help management
   achieve the objective of reducing improper payments by:
      1.  Establishing internal control activities that are responsive to management's
          directives to mitigate risks of improper payments (e.g. , policies and procedures
          related to transaction authorization and approvals of program activities).
     11.  Implementing pre-award and pre-payment reviews where detailed criteria are
          evaluated before funds are expended.
    111.  Utilizing data analytics tools, such as Treasury' s Do Not Pay Program, to
          compare information from different sources to help ensure that payments are
          appropriate.
    1v.   Performing cost-benefit analyses of potential control activities before
          implementation to help ensure that the cost ofthose activities to the organization
          is not greater than the potential benefit of the control.

d. Information and Communications. The agency has effectively used and shared
   knowledge to manage improper payments by:




                                        SA215                                               44
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 234 of 514




      1.   Determining what information is needed by managers to meet and support
           initiatives aimed at preventing, reducing, and recapturing improper payments.
     11.   Ensuring that needed information is provided to managers in an accurate and
           timely manner.
    111.   Providing managers with timely feedback on applicable performance measures so
           they can use the information to effectively manage their programs.
     IV.   Developing educational programs to assist program participants in understanding
           program requirements.
     v.    Ensuring that there are adequate means of communicating with, and obtaining
           information from, external stakeholders that may have a significant impact on
           improper payment initiatives.
    v1.    Developing working relationships with other organizations to share information
           and pursue potential instances of waste, fraud and abuse.
    VII.   Making the results of performance reviews widely available to permit
           independent evaluations ofthe success of efforts to reduce improper payments.

e. Monitoring. The agency has assessed the success of improper payment initiatives by:
       1.  Adhering to existing laws and OMB guidance to institute a statistical
           methodology to estimate the level of improper payments being made by the
           agency' s programs.
      11.  Using an internal control assessment methodology that includes testing of control
           design and operating effectiveness and the evaluation of the significance of
           internal control deficiencies related to improper payments.
     iii.  Establishing program-specific targets for reducing improper payments in
           programs that measure and report annual improper payment estimates.
     IV. , Assessing the progress of implementation of corrective actions over time and
           ensuring that the root causes of improper payment internal control deficiencies are
           resolved.
      v.   Considering the possibility of contracting activities out to firms that specialize in
           specific areas where in-house expertise is not available, such as payment
           recapture audits and fraud detection analytics.
     v1.   Ensuring timely resolution of problems identified by audits and other reviews.
    v11.   Adjusting control activities, as necessary, based on the results of monitoring
           activities. The agency should periodically test the controls to ensure they are
           effective in identifying, preventing, and recapturing improper payments.
   vm.     Understanding any statutory or regulatory barriers that may limit the agency's
           corrective actions in reducing improper payments and actions taken by the agency
           to mitigate the barriers' effects.




                                         SA216                                               45
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 235 of 514




PART III- REQUIREMENTS FOR IMPLEMENTING EXECUTIVE ORDER 13520

Part III discusses the requirements of Executive Order 13520-Reducing Improper Payments­
issued November 20, 2009. IPERIA essentially codified a number of requirements from the
Executive Order. Therefore, in order to reduce duplication in this document, Part III makes
reference to Part I for all requirements that are found both in IPERIA and in the Executive Order.


A. GENERAL GUIDANCE

1) Which agencies are subject to the requirements of Executive Order 13520?

The agencies required to comply with Executive Order 13520 are defined broadly as "a[ny]
department, agency, or instrumentality in the executive branch of the United States" as defined in
Title 31, Section 102 of the United States Code .

2) How will OMB determine the "high-priority" programs as required under Section
   2(a)(i) of the Executive Order?

This is also an IPERIA requirement. Please refer to section I.B of this guidance.

3) What are agencies required to submit for the improper payments website as required
   under Section 2(b) of the Executive Order?

Agencies shall submit the following information, subject to Federal privacy policies and to the
extent permitted by law:
    a. The names of the accountable officials;
    b. Current and historical rates and amounts of estimated improper payments, including,
        where known and appropriate, causes of the improper payments;
    c. Current and historical rates and amounts of recovery of improper payments, where
        appropriate (or, where improper payments are identified solely on the basis of a sample,
        recovery rates and amounts estimated on the basis of the applicable sample);
    d. Targets for reducing as well as recovering improper payments, where appropriate; and
    e. The entities that have received the greatest amount of outstanding improper payments (or,
        where improper payments are identified solely on the basis of a sample, the entities that
        have received the greatest amount of outstanding improper payments in the applicable
        sample).

4) Why is program access important?

The purpose of the Executive Order is to reduce improper payments while continuing to ensure
that Federal programs serve and provide access to their intended beneficiaries. Because the
Executive Order targets waste, fraud, and abuse, efforts to reduce improper payments must
protect access to Federal programs by their intended beneficiaries. Therefore, efforts to reduce
improper payments in high-priority programs should not deter eligible beneficiaries from seeking
and receiving benefits. Furthermore, eligible beneficiaries who are receiving benefits should not



                                            SA217                                              46
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 236 of 514




be improperly denied or removed from program benefits as a result of agency efforts to reduce
improper payments.

5) Does this guidance create any special rights?

This guidance is not intended to, and does not create, any right or benefit, substantive or
procedural, enforceable at law or in equity by a party against ~he United States, its departments,
agencies, or entities, its officers, employees, or agents, or any other person. Further, this
guidance is not intended to impose, and does not impose, liability on the United States, its
departments, agencies, or entities, its officers, employees, or agents, or any other person for
action taken pursuant to the guidance.


B. SUPPLEMENTAL MEASURES

1) What are the requirements for establishing annual or semi-annual measurements in
   high-priority programs, also known as supplemental measures?

Agencies with high-priority programs shall establish annual or semi-annual (or more frequent, if
possible) supplemental measures (or actions) for reducing improper payments. Supplemental
measures should focus on higher risk areas within the high-priority programs and report on root
causes of improper payments that agencies can resolve through corrective actions. In addition,
the measures should use available and accessible information (e.g. , claims, payments, files) for
the current year rather than previous years to the extent possible. Lastly, the supplemental
measures do not have to meet the statistical requirements of section I.A.9.

Possible measurement examples include:
   a. A measurement that focuses on the main cause ofimproper payments in the program.
       For example, if documentation is the leading cause of improper payments in a high­
       priority program, then the program could establish a measurement that focuses on that
       specific issue;
   b. A measurement that focuses on one ofthe main causes ofimproper payments in the
       program. For example, if an agency is unable to identify the leading root cause of
       improper payments, it could establish a measure to examine another major root cause of
       improper payments; or
   c. A measurement or set ofmeasurements ofcontributing factors or proxy indicators of
       improper payments in the program. For example, if an agency can identify a timely
       measured factor known to move in the same or inverse direction of improper payments,
       while not a main cause, it could establish a measure or set of factor measures.

2) Which tools should agencies use to identify supplemental measures?

When identifying areas within the high-priority program that should be part of the supplemental
measurement requirement, agencies should focus on areas that will provide the greatest rate of
return on investment to the program. To identify such areas where agencies could achieve




                                             SA218                                               47
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 237 of 514




optimal impact on improper payment prevention and reduction, the agencies should analyze their
programs and root causes of improper payments through two perspectives:
    a. The degree to which an agency has control over reducing improper payments within a
       program:
          1.  More Control- Improper payments that could be addressed through
              administrative or regulatory changes based on existing program requirements;
         11.  Less Control- Improper payments that require statutory changes at the Federal or
              State level
    b. The impact on agency outlays:
          1.  High-Impact Improper Payments- High-dollar improper payments that may be
              intentional (e.g. , fraud), or unintentional (but still high dollar) and have a large
              impact on Federal outlays;
         11.  Low-Impact Improper Payments- Small-dollar improper payments (e.g.
              infrequent data entry mistakes, errors due to lack of supporting documentation)
              that likely have a minimal impact on Federal outlays.

Using these two identified areas, the matrix below shows four different quadrants that agencies
can consider when developing supplemental measures for high-priority programs (i.e., high­
impact improper payments within agency control, low-impact improper payments within agency
control, high-impact improper payments not within agency control, and low-impact improper
payments not within agency control). OMB recommends that agencies focus on root causes of
improper payments within high-priority programs that would be within the program's ability (or
control) to reduce, or which would impact program outlays.

                 Table 3: Considerations for Developing Supplemental Measures

                         More Control                                 Less Control
           • Fraud
   High
           • System errors                             • Statutory definitions and requirements
 Impact
           • Agency policies
                                                       • Infrequent instances of State agencies
   Low     • Infrequent data entry errors by Federal
                                                         lacking minor documentation (with
 Impact      agencies (with low-dollar impact)
                                                         low-dollar impact)



3) Who is required to establish annual or semi-annual measurements under the Executive
   Order?

Under the Executive Order, agencies with high-priority programs are required to establish annual
or semi-annual measurements or actions for reducing improper payment:
    a. For high-priority programs that already report an annual estimate, agencies should
       develop annual or semi-annual supplemental measurements within 180 days of a program
       being deemed high-priority; or
    b. For high-priority programs that are establishing or revising their estimation methodology,
       agencies should work with OMB to establish a plan for meeting the Executive Order



                                             SA219                                                48
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 238 of 514




        supplemental measure requirements within 180 days of a program being deemed high­
        priority.

  If a high-priority program is unable to conduct or report supplemental measurements (e.g., due to
. data restrictions, or resource constraints), it may work with OMB to meet this requirement in
  another manner (e.g., to develop a supplemental measure using an alternative time frame or an
  alternative type of information).

 4) How should agencies establish annual or semi-annual targets for supplemental
    measures?

 Agencies with high-priority programs will work with OMB to establish-and/or update-annual
 or semi-annual supplemental measures and targets required by the Executive Order. When
 establishing supplemental measures, agencies should set aggressive targets (e.g., targets for
 improved performance in the future) and develop supporting analytics (e.g., projected impact of
 corrective actions or regulatory changes that might lead to lower rates) on how the agency chose
 those targets. Targets for supplemental measures in high-priority programs will be set once an
 initial supplemental measurement is reported. If the program shows significant progress in
 reducing improper payments or meeting supplemental measure targets, the program may work
 with OMB to develop different supplemental measures and targets to focus on another high­
 impact area.

 5) Are the reduction targets described in section I.A.9 of this guidance the same as the
    supplemental targets that agencies will set to comply with the Executive Order?

 No, agencies will need to establish two sets of targets for high-priority programs:
    a. Reduction targets for all programs susceptible to significant improper payments under
        IPIA, as described in section I.A.9, step 3.b of this guidance and OMB Circular A-136;
        and
    b. Annual or semi-annual supplemental measures and related targets.

 6) How will agencies report annual or semi-annual supplemental measures and targets?

 Agencies shall post supplemental measures to PaymentAccuracy.gov annually or semi­
 annually-depending on the frequency of the measure and to the extent possible. In addition,
 agencies shall ensure that their AFRs or PARs contain a basic summary discussing the
 supplemental measures, the frequency of each supplemental measurement (i.e., how often will
 the area be measured and reported on PaymentAccuracy.gov), the measurement baseline, a
 discussion of how information from this measurement will help the program reduce improper
 payments, and the actual (or planned) targets, including any reasons for meeting, exceeding, or
 failing to meet the supplemental targets.




                                              SA220                                                49
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 239 of 514




C. ACCOUNTABLE OFFICIAL REQUIREMENTS

1) Which agencies are responsible for establishing accountable officials under Section 3(a)
   of the Executive Order?

Agencies with high-priority programs, as determined under Section 2 of the Executive Order, are
required to designate an agency accountable official to oversee agency efforts to reduce improper
payments. Agencies with high-priority programs should also designate a component accountable
official-responsible for efforts within a component or bureau-if a single component or bureau
makes up a significant portion of the agency's improper payments. The component accountable
official should work within the component or bureau to coordinate the bureau's program
integrity efforts.

OMB encourages all agencies to appoint improper payment accountable officials and to
continually assess the effectiveness of its internal controls for preventing and detecting improper
payments. However, if an agency without a high-priority program elects to appoint an
accountable official, the agency is not expected to fulfill the specific requirements under the
Order related to high-priority programs.

2) Who may serve as an agency or component accountable official under Section 3(a) of
   the Executive Order?

An agency's accountable official must hold an existing position that requires Senate
confirmation; in other words, agencies do not have to create a new position. The second
component accountable official does not have to hold a Senate-confirmed position. Agencies
must submit each accountable official's name and position to the Director of OMB (including
any acting accountable officials) for review and approval by the Director within 30 calendar days
of a vacancy (e.g., retirement or resignation).

In subsequent years, if an agency did not previously have a high-priority program but has a
newly designated high-priority program, the agency has 30 calendar days from the date of the
announcement of a new high-priority program to submit the name and position of proposed
agency and component accountable officials.

3) What are the accountable officials' roles and responsibilities?

Each accountable official is responsible for the agency's or component's efforts to implement the
Executive Order and its requirements. For instance, accountable officials are responsible for
meeting improper payment reduction targets in a manner that does not negatively impact
program access. Implementing the Executive Order should represent a significant responsibility
and be a major focus of the accountable official and the second component accountable official.

4) What are the agency requirements for providing a report to their IGs in response to
   Section 3(b) of the Executive Order?

This is also an IPERIA requirement. Please refer to section I.B.4 of this guidance.



                                                                                                 50
                                             SA221
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 240 of 514




5) What are the Inspector General's responsibilities with respect to the report under
   Section 3(b) of the Executive Order?

This is also an IPERIA requirement. Please refer to section I.B.4 ofthis guidance.


D. AGENCY HEAD QUARTERLY HIGH-DOLLAR REPORT TO THE INSPECTOR GENERAL

1) What is a "high-dollar" overpayment?

A high-dollar overpayment can be made to an individual 15 or an entity 16 . A high-dollar
overpayment is any overpayment that is in excess of 50 percent of the correct amount ofthe
intended payment under the following circumstances:
    a. Where the total payment to an individual exceeds $25,000 as a single payment or in
       cumulative payments for the quarter; or
    b. Where the total payment to an entity exceeds $100,000 as a single payment or in
       cumulative payments for the quarter.

The Executive Order requires some agencies to report on their high-dollar overpayments on a
quarterly basis. The following are examples, for illustrative purposes only, of overpayments that
would need to be included in an agency's quarterly report on high-dollar overpayments:

        Scenario 1: A single payment, or cumulative payments for the quarter, to the wrong
         individual or entity that exceeds the respective $25,000 or $100,000 limit. In this case,
         the full payment would be reported as a high-dollar overpayment.

        Scenario 2: A single payment, or cumulative payments for the quarter, to the correct
         individual of $26,000 (the payment exceeds $25,000) when the intended amount was
         $16,000. In this case, an overpayment was made in the amount of $10,000 (which is
         more than 50 percent higher than the intended amount). Therefore, this scenario meets
         the criteria to qualify as a high-dollar improper payment to an individual. The amount
         to be reported as a high-dollar overpayment is $10,000.

         Scenario 3: A single payment, or cumulative payments for the quarter, to the correct
         entity of$106,000 (the payment exceeds $100,000) when the intended amount was
         $70,000. In this case, an overpayment was made in the amount of $36,000 (which is
         more than 50 percent higher than the intended amount). Therefore, this scenario meets
         the criteria to qualify as a high-dollar improper payment to an entity. The amount to be
         reported as a high-dollar overpayment is $36,000.

Please note that if the agency has corrected the overpayment within the quarter in which the
payment was made, it does not need to be reported as a high-dollar overpayment.


15
   For purposes of this guidance, an individual is someone acting in either a personal or commercial capacity (that is,
a sole proprietor).
16
   For purposes of this guidance, an entity is a non-individual or a Federal, State, and local government agency.


                                                                                                                    51
                                                      SA222
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 241 of 514




2) Which sources should agencies utilize to identify high-dollar overpayments?

High-dollar overpayments can be identified by examining one or more relevant sources of
information available to agencies. For instance, agencies could identify high-dollar
overpayments, where applicable and cost-effective, through:
    a. Annual improper payment testing samples;
    b. Payment recapture audits; or
    c. Other sources identified by the agency.

3) What information should be included in agency reporting on high-dollar
   overpayments?

This information is subject to Federal privacy laws, regulations, and policies, and should not
include information about improper payments or recipients that the agency has referred, or
anticipates referring, to the Department of Justice for enforcement, collection, or other legal
action. At a minimum, the report should describe:
    a. The total amount of high-dollar overpayments made by the agency (the agency does not
        need to list each individual high-dollar overpayment in the report);
    b. Any actions the agency has taken or plans to take to recover high-dollar overpayments
        (the report should address overall actions and strategies); and
    c. Any actions the agency will make to prevent overpayments from occurring in the future
        (the report should address overall actions and strategies).

4) Which agencies must report on high-dollar overpayments? Where shall agencies report
   high-dollar overpayments to the public? What if an agency has no high-dollar
   overpayments?

Agencies with programs susceptible to significant improper payments under the IPIA are
required to report quarterly on high-dollar overpayments that occurred within those specific
programs. Agencies may report this information to the public on their own website, or through
other mechanisms designed to allow the public to access agency information. For any given
quarter, if an agency with programs susceptible to significant improper payments has had no
high-dollar overpayments, then the agency should inform OMB and the agency's Inspector
General that the agency had no high-dollar overpayments in that quarter. Agencies without any
programs susceptible to significant improper payments do not need to report or notify either
OMB or the Inspector General.

5) Are there exceptions to the reporting requirements for the high-dollar report?

If an agency believes that the high-dollar report is duplicative of other reports compiled by the
agency, they may submit a written request to OMB for an alternative reporting structure.
Included in the request should be a listing ofthe other report(s) and a detailed description of how
those reports provide the same information as the high-dollar report. After reviewing any such
request, OMB may permit agencies to leverage existing reporting mechanisms in lieu of separate
quarterly high-dollar overpayment reports.



                                            SA223                                                52
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 242 of 514




              TAB 90
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 243 of 514

&KULVWRSKHU0XFNH E                                           1RYHPEHU
                                     5HVWRQ9$

                                                                         3DJH
       ,17+(81,7('67$7(6&28572))('(5$/&/$,06

       

       

       $&/5//&

       

       3ODLQWLII

       

       Y&LYLO$FWLRQ1R

       

      81,7('67$7(62)$0(5,&$&

      

      'HIHQGDQW

      

      

       E         'HSRVLWLRQRI&+5,6723+(508&.(D

      ZLWQHVVKHUHLQDWWKHODZRIILFHVRI'DYLG%URG\

      'RQGHUVKLQH//36XQULVH9DOOH\'ULYH6XLWH

      5HVWRQ9LUJLQLDFRPPHQFLQJDWDPRQ

      7XHVGD\1RYHPEHUDQGWKHSURFHHGLQJVEHLQJ

      WDNHQGRZQE\VWHQRW\SHDQGWUDQVFULEHGE\&DWKHULQH

      %&UXPSD1RWDU\3XEOLFLQDQGIRUWKH&RPPRQZHDOWK

      RI9LUJLQLD




                               $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                            ZZZDOGHUVRQUHSRUWLQJFRP
                                    SA224
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 244 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       7KDWZDVP\SULPDU\XQGHUVWDQGLQJIRUZKDW

       WKHGDWDEDVHZDVXVHGIRU

       4,QWKH$DQG%"

       $,QWKH0HGLFDUH$DQG%,NQRZWKDW

       ORRNLQJDWVRPHRIWKH3DUW'VWXIILWVHHPHG

       DSSDUHQWDWOHDVWWRPHZKHQZHGLGWKH6WDWHPHQW

       RI2EMHFWLYHVWKDWWKH\ZHUHJRLQJWRGRWKHVDPH

       WKLQJ:HZHUHUHTXLUHGWRRUWKHGDWDEDVHZDV

       JRLQJWRKDYHDFWLRQVSHFLILFLGHQWLILHUV,EHOLHYH

      LVWKHFRUUHFWWHUPLQRORJ\DQGZHZRXOGEHUHTXLUHG

      WRLQWHUIDFHEDFNDQGIRUWKZLWKLW

      0\XQGHUVWDQGLQJZDVLWZRXOGEHXVHGLQWKH

      VDPHZD\WKDWWKH$DQG%5$&VZHUH$WOHDVWWKDW V

      ZKDW,EHOLHYHGDWWKHWLPHZHGLGWKHSURSRVDO

      4,QVWHDGLQWKH3DUW'5$&SURJUDP

      XOWLPDWHO\&06HQGHGXSWUDQVPLWWLQJ3'(GDWD

      GLUHFWO\WR$&/5IRUUHYLHZDQGSURFHVVLQJLVWKDW

      KRZLWZRUNHG"

      $<HVLWLV

      4'LG$&/5XQGHUVWDQGDWWKHWLPHLW

      VXEPLWWHGDUHVSRQVHWRWKH5)4WKDW$&/5ZRXOGQHHG

      WRREWDLQDQDXWKRUL]DWLRQWRRSHUDWHRU$72"




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA225
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 245 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                    3DJH
       $<HV

       47REHDEOHWRSHUIRUPDVWKH3DUW'5$&"

       $<HV

       4/HWPHKDYH\RXWXUQWR6HFWLRQ

       $2ND\

       47KDW VWKHV\VWHPDXWKRUL]DWLRQDQG

       DVVHVVPHQWVHFWLRQ,WUHIHUHQFHVWKH$72'R\RX

       VHHWKDW"

       $<HV,GR

      47KDWVHFWLRQDOVRUHIHUHQFHVFHUWDLQ&06

      SURFHGXUHVLQZKDWWKH\UHIHUWRDVWKH9LUWXDO

      +DQGERRNDWWKHZHEVLWH'R\RXVHHWKDW"

      $<HV,GR

      4:DVWKDWLQIRUPDWLRQWKDW$&/5UHYLHZHG

      DWWKDWZHEVLWHLQWKH9LUWXDO+DQGERRNDWWKHWLPH

      ZDVVXEPLWWLQJDUHVSRQVHWRWKH5)4"

      $<HV

      46R$&/5XQGHUVWRRGZKDWZDVLQYROYHGLQ

      WKHSURFHVVRIREWDLQLQJDQ$72"

      $<HV

      4$&/5XQGHUVWRRGWKDWLWZDVWKH

      FRPSDQ\ VUHVSRQVLELOLW\WRREWDLQWKH$72IURP&06




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA226
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 246 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       LVWKDWFRUUHFW"

       $7KDW VFRUUHFW

       4'LG$&/5DOVRXQGHUVWDQGWKDWDIDLOXUH

       WRREWDLQDQ$72FRXOGEHJURXQGVIRUWHUPLQDWLQJWKH

       FRQWUDFW"

       $,GLGQ WXQGHUVWDQGWKDWWREHWKHFDVH

       EXW,ZRXOGDVVXPHWKDW\HVLIZHFRXOGQHYHUJHW

       DQ$72WKDWZHZRXOGQ WEHDOORZHGWRSURFHHGDQG,

       JXHVVLQSDUODQFHZRXOGKDYHEHHQDEUHDFKEXWWKDW

      GRHVPDNHVHQVHEXW,GRQ WUHFDOOWKLQNLQJWKDWDW

      WKHWLPH

      4/HWPHKDYH\RXORRNDWWKHQH[WSDJH

      WKHWRSRIWKHQH[WSDJH'R\RXVHHMXVWWRRULHQW

      \RXLQWKDWVHFRQGVHQWHQFHLWVD\VWKHILUVW

      IXOOVHQWHQFHRQWKDWSDJH7KHIDLOXUHWRREWDLQ

      DQGPDLQWDLQDYDOLG$72PD\EHJURXQGVIRU

      WHUPLQDWLRQRIWKHFRQWUDFW

      $2ND\<HV,VHHWKDWDQG,FRQILUP

      WKDW VLWWKHUH

      4:DVLW$&/5 VXQGHUVWDQGLQJWKDW$&/5

      ZRXOGEHUHVSRQVLEOHIRUPLWLJDWLQJRUFRUUHFWLQJDQ\

      VHFXULW\ULVNVWKDWZHUHIRXQGGXULQJWKH$72




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA227
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 247 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                    3DJH
       SURFHVV"

       $<HV

       4)RUSXUSRVHVRIWKHGHSRVLWLRQWRGD\LI

       ,UHIHUWR\RXMXVWWREHFOHDU, PUHIHUULQJWR

       \RXDVLQ$&/5DVRSSRVHGWR\RXSHUVRQDOO\MXVWVR

       ZH UHFOHDUDERXWWKDWLVWKDWIDLU"

       $2ND\7KDW VIDLU

       >$&/5([KLELW1RZDV

       PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      4, PVKRZLQJ\RXZKDWZHKDYHPDUNHGDV

      ([KLELWZKLFKDSSHDUVWREHWKH-DQXDU\

      2UGHUIRU6XSSOLHVRU6HUYLFHVIURP&06WR$&/5:DV

      WKLVWKHLQLWLDO3DUW'5$&FRQWUDFW"

      $<HVLWLV

      4:HWDONHGDERXWWKLVLQ\RXURWKHU

      GHSRVLWLRQEXWLWZDV$&/5 VXQGHUVWDQGLQJDVSDUW

      RIWKLV5$&FRQWUDFWWKDW$&/5ZRXOGEHSDLGRQD

      FRQWLQJHQWIHHEDVLVXQGHUWKHFRQWUDFWLVWKDW

      FRUUHFW"

      $7KDW VFRUUHFW

      4$QGWKDWZRXOGEHDFRQWLQJHQWIHHEDVHG




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA228
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 248 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       RQDPRXQWVDFWXDOO\UHFRYHUHGE\$&/5DVLQSURSHU

       SD\PHQWV"

       $8QGHUWKHRULJLQDO3HUIRUPDQFH:RUN

       6WDWHPHQWLWZRXOGEHDPRXQWFROOHFWHGE\XV7KH

       WDVNRUGHUZDVSUHWW\VSHFLILFWKDWZHZRXOGEH

       UHFRYHULQJWKRVHDPRXQWV

       42ND\7KDW VDIDLUSRLQW8QGHUWKH

       RULJLQDO3:6LWZRXOGEHDFRQWLQJHQWIHHEDVHGRQ

       DPRXQWVUHFRYHUHGE\VRPHERG\ZKHWKHULWZDV\RXRU

      &06"

      $7KDW VFRUUHFW

      4$QGLWZDV\RXUXQGHUVWDQGLQJWKDWWKH

      FRQWUDFWGLGQ WSURYLGHIRUDQ\IRUPRIFRPSHQVDWLRQ

      IRU$&/5RWKHUWKDQWKHFRQWLQJHQWIHHEDVHGRQ

      DPRXQWVUHFRYHUHG"

      $, PYHU\IDPLOLDUZLWKWKDW,DPDOVR

      IDPLOLDUWKDWLIP\FRQWUDFWODSVHGEHIRUHWKRVH

      DPRXQWVZHUHUHFRYHUHG,ZRXOGQ WEHSDLGHLWKHU

      6R\HV,WZDVDYHU\LPSRUWDQWLWZDVYHU\

      LPSRUWDQWODQJXDJHWRXV

      4$QGWKDWZDV\RXUXQGHUVWDQGLQJRIWKH

      FRQWUDFW"




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA229
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 249 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                    3DJH
       $<HV

       4<RXPHQWLRQHGWKH3:6WKDW V

       LQFRUSRUDWHGLQWRWKHFRQWUDFWWKH3HUIRUPDQFH:RUN

       6WDWHPHQW:DVWKDWGUDIWHGE\$&/5"

       $<HVLWZDV

       47KDW VWKHGRFXPHQWRUSRUWLRQRIWKH

       GRFXPHQWWKDWVWDUWVDWSDJH$LVWKDWFRUUHFW"

       $7KDW VFRUUHFW

       4'LG$&/5FRQWHPSODWHWKURXJKWKH

      3HUIRUPDQFH:RUN6WDWHPHQWWKDWPDQ\RIWKHDXGLW

      LVVXHVWKDWLWPLJKWEHHQJDJHGLQXQGHUWKH3DUW'

      FRQWUDFWZRXOGLQYROYHUHYLHZRIDGGLWLRQDOGRFXPHQWV

      EH\RQGWKH3'(UHFRUGVWKHPVHOYHV"

      $,EHOLHYHWKDWWKHUHZRXOGEHOLPLWHG

      FDVHVZKHUHZHZRXOGKDYHWRUHYLHZDGGLWLRQDO

      GRFXPHQWV<HV

      4<RXDQWLFLSDWHGWKDWWKHUHZRXOGEHVRPH

      DXGLWVWKDWUHTXLUHGUHYLHZRIRXWVLGHGRFXPHQWV

      EH\RQGWKH3'(V"

      $<HVDQGWKDWWKH3:6GRHVDGGUHVVWKDW

      :HKDGWZRIRUPVRIDXGLWV2QHZDVFRQVLGHUHGD

      ZKDWZHFRQVLGHUHGWREHDGRFXPHQWDWLRQDXGLWRULQ




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA230
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 250 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       WKH3'(UHFRUGVPDWFKHVWKHXQGHUO\LQJGRFXPHQWDWLRQ

       IURPWKHSODQVSRQVRUVLVWKDWFRUUHFW"

       $<HVLWLV

       4'LG$&/5XQGHUVWDQGIURPWKHRXWVHWRI

       WKLVFRQWUDFWWKDWD6WDWHPHQWRI:RUNZDVJRLQJWR

       EHUHTXLUHGWRUHSODFHWKH3HUIRUPDQFH:RUN

       6WDWHPHQW"

       $)URPWKHRXWVHWRIWKHFRQWUDFW\RX

       PHDQIURPZKHQWKH3:6ZDVDZDUGHG"

      4/HW VVWDUWWKHUH$VRIWKHGDWHRI

      WKHFRQWUDFW-DQXDU\GLG$&/5XQGHUVWDQG

      DVRIWKDWSRLQWWKDWD6WDWHPHQWRI:RUNZDVJRLQJ

      WREHUHTXLUHGWRUHSODFHWKH3:6"

      $1R0\XQGHUVWDQGLQJZDVWKDWZHZRXOG

      PDNHDOORIWKRVHGHWHUPLQDWLRQV:HZRXOGFRQGXFW

      DOORIWKHUHYLHZV:HZRXOGFROOHFWWKHPRQLHVDQG

      WKHQSURFHHGIURPWKHUH

      4:KHQGLG$&/5ILUVWOHDUQWKDWD

      6WDWHPHQWRI:RUNZDVJRLQJWREHUHTXLUHGWRUHSODFH

      WKH3:6"

      05%21(//22EMHFWLRQIRUP

      7+(:,71(66,WZDVUHODWLYHO\ODWHLQWKH




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA231
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 251 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       \HDU:HNQHZWKDW&06ZDVGRLQJDORWRIGLIIHUHQW

       WKLQJVDQGSURFHVVHVEXW,GRQ WUHPHPEHU,GLGQ W

       NQRZXQWLO1RYHPEHUWKWKDWZHZHUHQ WJRLQJWREH

       DOORZHGWRH[HFXWHRXU3:6

       %<05325$'$

       41RYHPEHUWKRI"

       $7KDWLVFRUUHFW

       4$VRI1RYHPEHUGLG$&/5

       DOUHDG\NQRZDWWKDWSRLQWWKDWD6WDWHPHQWRI:RUN

      ZDVEHLQJGUDIWHGRUGLVFXVVHGRUZDVLWDIWHUWKDW

      WKDW\RXILUVWOHDUQHGRIWKDW"

      $,FDQ WUHFDOOZKHWKHUWKHUHZDVD

      6WDWHPHQWRI:RUNEHLQJGRQHEHIRUHWKDW7KHUHPD\

      KDYHEHHQEXWDJDLQWKURXJKWKHHYHQWKURXJKRXW

      WKH\HDUDIWHUZKHQZHZHUHDZDUGHGWKH

      3HUIRUPDQFH:RUN6WDWHPHQWLWZDVP\XQGHUVWDQGLQJ

      WKDWZHZHUHJRLQJWRGRDOORIWKHZRUNWKDWZH

      PDGHWKHGHWHUPLQDWLRQVRILPSURSHUSD\PHQWZH

      DORQHQRW&06RUDQ\RWKHUFRQWUDFWRUWKDWZHZRXOG

      EHUHFRYHULQJWKHDPRXQWV

      ,WKLQNHDUO\RQZHUHFRJQL]HGWKDWZHPD\

      QRWEHUHFRYHULQJWKRVHDQGWKDWPD\EHLWZRXOGEH




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA232
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 252 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       JRLQJWKURXJK7UHDVXU\,GLGQ WNQRZWKDWVRPHRI

       WKRVHFRQYHUVDWLRQVZHUHWDNLQJSODFH

       :LWKUHVSHFWWRDVSHFLILF6WDWHPHQWRI:RUN

       EHLQJJHQHUDWHG,FDQ WUHFDOO,NQRZWKDW&06

       SXEOLVKHGJXLGDQFHLQ0DUFKRU,EHOLHYHLWPD\KDYH

       EHHQ0D\WKDWZHZHUHJRLQJWRFRPPHQFHRU$&/5ZDV

       JRLQJWRFRPPHQFHUHFRYHU\DXGLWVLQWKHWKLUG

       TXDUWHURI&HUWDLQO\DWWKDWSRLQWLQWLPH

       ZKLFKZRXOGKDYHEHHQULJKWDIWHUWKDWZHKDGQ W

      VHHQD6WDWHPHQWRI:RUN

      7KHILUVW6WDWHPHQWRI:RUNWKDW,UHPHPEHU

      VHHLQJZDV'HFHPEHUEXWXQWLOWKDWWLPH,

      WKRXJKWZHZHUHJRLQJWREHDEOHWRH[HFXWH,Q

      IDFWZKHQZHZHQWLQWRWKDW1RYHPEHUWKSKRQH

      FDOO,KDGVXVSLFLRQVWKDW&06RU&3,ZDVGRLQJVRPH

      WKLQJVWKDWZHUHFRQWUDU\WRWKH3:6EXWZLWK

      UHVSHFWWRD6WDWHPHQWRI:RUNVSHFLILFDOO\,FDQ W

      UHFDOOWKDWDQG,GRQ WNQRZWKDWWKDWZDVJRLQJWR

      KDSSHQ

      4<RXGRQ WNQRZZKDWZDVJRLQJWRKDSSHQ"

      $7KH\ZHUHJRLQJWRJLYHXVDQHZ

      6WDWHPHQWRI:RUNDQGQRWDOORZXVWRGRWKH3:6




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA233
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 253 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       4$VRI1RYHPEHU\RXGLGQ WNQRZ

       WKDWLVWKDWZKDW\RX UHVD\LQJ"

       $<HV,EHOLHYHWKDW VWKHILUVWWLPH,

       NQHZWKHUHZRXOGEHQR6WDWHPHQWRI:RUN,QIDFW,

       WKLQN,UHFDOOIURPWKHFRQYHUVDWLRQWKHQ7DQHWWH

       'RZQVZDVVXUSULVHGWKDWRXU3:6ZDVDFWXDOO\WKH

       ,JXHVVWKH62:IRUODFNRIDEHWWHUZRUGWKH

       SURFHVVE\ZKLFKWKHDXGLWZDVJRLQJWREHFRQGXFWHG

       ,WZDVDWWKDWSRLQWLQWLPHVKHWROGWKHFRQWUDFWLQJ

      RIILFHUWKDW1RQRZHGRQ WZDQWWRGRWKDWDQG

      ZHZHUHVKXWGRZQ

      )URPWKHQ,FDQFRQILUPDWWKDWGDWHDW

      OHDVW,NQHZWKDWVRPHWKLQJHOVHZDVJRLQJWREH

      GHYHORSHG

      4'LG$&/5REMHFWWR&06UHSODFLQJWKH3:6

      ZLWKD6WDWHPHQWRI:RUN"

      $:HOOZHUDLVHGRXUFRQFHUQVPDQ\WLPHV

      QRWWKHOHDVWRIZKLFKWKDWZHZHUHQ WDEOHWRGRDQ\

      UHFRYHULHVEXWZHDWWKDWWLPHZHUHZRUNLQJZLWK

      WKHP:KLOH,ZRXOGVD\WKDWZKLOHZHFHUWDLQO\

      REMHFWHGWRLWZHGLGXQGHUVWDQGWKDWWKH\ZHUH

      JRLQJWRGRRQHDQGWKH\KDGWKHLURZQSURFHVVHVIRU




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA234
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 254 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       $7KDW VFRUUHFW

       46RWKLVWKHQZDVWKHILUVW6WDWHPHQW

       RI:RUNWKDWZDVLPSOHPHQWHGIRUWKH$&/5FRQWUDFW"

       $7KDW VFRUUHFW

       41RWKLQJLQWKH6WDWHPHQWRI:RUNFKDQJHG

       WKHPHWKRGIRU$&/5 VSD\PHQWXQGHUWKHFRQWUDFWIURP

       FRQWLQJHQWIHHWRVRPHWKLQJHOVHLVWKDWFRUUHFW"

       $:HOOWKHSULFHVXPPDU\WKHFRQWLQJHQF\

       EDVLVRUKRZWKHSD\PHQWVZHUHPDGHZDVFRPSOHWHO\

      PRGLILHGEXWZHVWLOOLI,XQGHUVWRRGFRUUHFWO\

      ZHVWLOOUHFHLYHGDFRQWLQJHQF\IHHIRUDPRXQWVWKDW

      ZHUHXOWLPDWHO\UHFRYHUHG

      45LJKWDQGWKHPRGLILFDWLRQRUWKH

      6WDWHPHQWRI:RUNGLGQ WFRQWDLQDQ\SURYLVLRQIRU

      SD\PHQWVWR$&/5RQVRPHWKLQJRWKHUWKDQWKDW

      FRQWLQJHQWIHHEDVLVEDVHGRQDPRXQWVUHFRYHUHG

      &RUUHFW"

      $7KDW VFRUUHFW

      4$QGORRNLQJDWWKDWWDEOHWKDW\RX UH

      ORRNLQJDWDWSDJHRIRIWKHFRQWUDFWLW

      SURYLGHVWKDWWKHFRQWLQJHQF\IHHUDWHZDVLQFUHDVHG

      WRSHUFHQWDQGWKHQIRUFHUWDLQLVVXHVLWZDV




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA235
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 255 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       LQFUHDVHGDERYHDQGEH\RQGWKDWWRSHUFHQWRU

       SHUFHQWRUSHUFHQWLVWKDWFRUUHFW"

       $7KDW VFRUUHFW

       46RWKRVHUDWHVZHUHDJDLQWKH\ZHUH

       VXEVWDQWLDOO\KLJKHUWKDQWKHSHUFHQWWKDWZDVLQ

       WKHEDVH&RUUHFW"

       $7KDW VFRUUHFW

       4:DVLW$&/5 VXQGHUVWDQGLQJWKDWE\

       SURYLGLQJIRUWKHVHLQFUHDVHGFRQWLQJHQF\IHHUDWHV

      WKDW&06ZDVDWWHPSWLQJWRFRPSHQVDWH$&/5IRU

      DJDLQIRUDQ\LVVXHVWKDWKDGDULVHQZLWKWKH

      FRQWUDFWXSWRWKDWSRLQW"

      $<HV,WZDVRXUXQGHUVWDQGLQJWKDWWKH\

      ZHUHDWWHPSWLQJWRGRWKDW

      4$QGDVSDUWRIWKLVPRGLILFDWLRQIRUDQ\

      QHZDXGLWLVVXHVWKDWZHUHDSSURYHGDIWHUWKLV

      6WDWHPHQWRI:RUNZHQWLQWRHIIHFWWKHFRQWLQJHQF\

      IHHUDWHZDVLQFUHDVHGWRSHUFHQWIRUWKHILUVW

      PLOOLRQLQUHFRYHULHVDQGWKHQSHUFHQWIRUDQ\

      UHFRYHULHVEH\RQGWKHPLOOLRQLVWKDWFRUUHFW"

      $7KDW VFRUUHFW

      47KH6WDWHPHQWRI:RUNLQFRUSRUDWHGWKH




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA236
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 256 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       SURYLVLRQVWKDWVHWRXWWKHQHZDXGLWLVVXHUHYLHZ

       SDFNDJHSURFHVV&RUUHFW"

       $7KDW VFRUUHFW

       4$QGWKDW VZKDW VDOVRNQRZQDVWKH

       1$,53"

       $7KDW VFRUUHFW

       4:DVLW$&/5 VXQGHUVWDQGLQJWKDWDVSDUW

       RIWKH1$,53SURFHVV&06KDGWRDSSURYHDQ\QHZ

       DXGLWSURSRVDOVIURP$&/5EHIRUHWKH\FRXOGEH

      FRPPHQFHG"

      $7KDW VFRUUHFW

      4:DVLW$&/5 VXQGHUVWDQGLQJWKDWDIWHU

      WKLV6WDWHPHQWRI:RUNZDVLQFRUSRUDWHGLQWRWKH

      FRQWUDFWWKDWLWUHSODFHGWKH3HUIRUPDQFH:RUN

      6WDWHPHQWWKDWZDVDSDUWRIWKHLQLWLDOFRQWUDFW"

      $7KDW VFRUUHFW

      46RDIWHUWKDWWKH3HUIRUPDQFH:RUN

      6WDWHPHQWZDVQRORQJHULQHIIHFWXQGHU$&/5 V

      XQGHUVWDQGLQJ"

      $7KDW VFRUUHFW

      47KH6WDWHPHQWRI:RUNLWVHOIDV\RX

      GHVFULEHGHDUOLHUDOVRWDONVDERXWWKHGDWD




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA237
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 257 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                   3DJH
       4:KDWZDVWKHUHVXOWRIWKDWUHFRYHU\

       DXGLWSURFHVVIRUWKHGXSOLFDWHSD\PHQWLVVXHV"

       $,EHOLHYHZHLGHQWLILHG,ZDQWWRVD\

       PLOOLRQLQLPSURSHUSD\PHQWV,EHOLHYHWKDW

       ZDVWKHILQDOUHVXOWRIWKDW

       4$QGZKDWXOWLPDWHO\KDSSHQHGZLWKWKDW"

       :HUHWKRVHDPRXQWVUHFRYHUHG"

       $1R&06NLOOHGWKHUHYLHZ

       4:KHQGLG&06NLOOWKHUHYLHZ"

      $1RYHPEHURI1RYHPEHU

      4'XULQJWKDWFRQIHUHQFHFDOO\RX

      GHVFULEHGHDUOLHU"

      $7KDW VFRUUHFW

      4:H OOGHOYHPRUHLQWRWKHGHWDLOVRIWKH

      GXSOLFDWHSD\PHQWLVVXHEXW,ZDQWWRMXVWJHW

      VRUWRIDQRYHUYLHZILUVW'LG$&/5ODWHUFRQGXFW

      DXGLWDFWLYLWLHVIRUWKHGXSOLFDWHSD\PHQWLVVXHIRU

      RWKHUSD\PHQW\HDUVEH\RQG"

      $:KHQ\RX UHDVNLQJGLGZHSHUVRQDOO\GR

      WKDWRUEDVHGLQWKHFRQWH[WRIZKDWZHGLGRUZLWK

      WKHPRGLILFDWLRQVRUWKH1$,53VWKDW&06DSSURYHG"

      4, PDVNLQJPRUHJHQHUDOO\'LG$&/5LQ




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA238
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 258 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       46RDVRIWKDWSRLQWLQWLPH$XJXVW

       &06KDGQ W\HWVLJQHGRIIRQRUDSSURYHGDQ\

       SDUWLFXODUPHWKRGRORJ\RUSURFHVVIRUJRLQJDERXWWKH

       GXSOLFDWHSD\PHQWDXGLWLVWKDWFRUUHFW"

       05%21(//22EMHFWLRQIRUP

       7+(:,71(66$WWKDWSRLQWLQWLPHWKH\

       GLGQ WKDYHWKHDELOLW\WRDSSURYHRUQRWDSSURYH,

       ZDVMXVWVHQGLQJWKH\KDGUHTXHVWHGDFRS\RIRXU

       SURFHVVHV,WKLQN,HYHQQRWHWKDWWKHLUGUDIW

      SURFHVVHVDQGDJDLQDWWKDWSRLQWLQWLPHZH

      KDGQRWUHFHLYHGDQ\SD\PHQWGDWD6R,ZRXOGQ WEH

      DEOHWRDGMXVWRUPRGLI\RXUSURFHVVHV

      $WWKHHQGRIWKHGD\WKLVLVMXVWRXU

      TXDOLW\WKHTXDOLW\SURFHVVHVWKDWZHKDGLQSODFH

      WRFRQGXFWWKHVHDXGLWV

      %<05325$'$

      4$QG$&/5KDGQ W\HWUHFHLYHGDQ\3'(

      GDWDDVRI$XJXVW&RUUHFW"

      $7KDW VFRUUHFW

      4$QG\RXGLGQ W\HWKDYHWKH$72XQWLO

      2FWREHULVWKDWULJKW"

      $7KDW VFRUUHFW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA239
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 259 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       SURFHVVHV"

       $<HV7KDW VFRUUHFW

       47KHQVKHVDLG:KDWFULWHULDDUH\RX

       JRLQJWRXVHWRGHWHUPLQHD3'(LVDVGXSOLFDWH"

       'R\RXVHHWKDW"

       $<HV,GR

       4<RXZURWHEDFNRQ6HSWHPEHUDQG

       SURYLGHGLQIRUPDWLRQIRUH[FOXGHGSURYLGHUVDQGWKHQ

       IRUGXSOLFDWHSD\PHQWV\RXLGHQWLILHGVHYHQ

      GLIIHUHQWILHOGVZLWKLQWKH3'(UHFRUGVWKDW$&/5DW

      WKDWSRLQW,JXHVVZDVSURSRVLQJWRXVHDVSDUWRI

      LWVPHWKRGRORJ\IRULGHQWLI\LQJGXSOLFDWHSD\PHQWV

      LVWKDWULJKW"

      $7KDW VFRUUHFW:HKDGQ WVHHQWKH3'(

      GDWD\HWEXWZHLQWKLVFDVHDFWXDOO\XVHGWKH

      1DWLRQDO&RXQFLOIRU3UHVFULSWLRQ'UXJ3URJUDPVRU

      1&3'3 VSURFHVVIRULGHQWLI\LQJGXSOLFDWHV

      46RZRXOGWKDWKDYHEHHQWKHILUVWSRLQW

      LQWLPHZKHQ$&/5KDGLGHQWLILHGIRU&06WKHVSHFLILF

      ILHOGVZLWKLQWKH3'(UHFRUGVWKDWLWZDVSURSRVLQJ

      WRXVHWRLGHQWLI\WKHGXSOLFDWHSD\PHQWV"

      $,EHOLHYHVR\HVDQGWKHRQO\UHDVRQ,




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA240
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 260 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       KHGJHLVWKDW, PQRWUHDOO\VXUHRQVRPHRIWKH

       RWKHUGRFXPHQWV,NQRZWKDWLQDORWRIWKH

       GRFXPHQWDWLRQWKDWZHVXEPLWWHGIRUGXSOLFDWH

       SD\PHQWVDQGH[FOXGHGSURYLGHUVDOVRLQFOXGHGWKRVH

       ILHOGV,GRQ WNQRZLIWKDW VZKDWWKHILUVWRQH

       GLG0D\EHQRWEHFDXVH0HUUL(OOHQGLGFRPHEDFN

       EXWLWZRXOGKDYHEHHQDWRUDURXQGWKLVWLPH

       UHJDUGOHVVEXWWKLVYHU\ZHOOFRXOGKDYHEHHQWKH

       ILUVWWLPH

      42YHURQWKHILUVWSDJHRIWKDWH[KLELW

      DWWKHERWWRPWKHUH VDQ(PDLOIURP\RXIURP

      2FWREHU<RXVDLG, PSUREDEO\DOLWWOH

      RYHUVHQVLWLYHDERXWWKHGDWDDQGWHQGWRRYHUDQDO\]H

      DQ\LQIRUPDWLRQZHUHFHLYHDERXWWKHP

      'R\RXVHHWKDW"

      $<HV,GR

      4:KDWGLG\RXPHDQE\WKDW"

      $2QHRIWKHLVVXHVWKDWZHKDGEDFNWKHQ

      LVGHWHUPLQLQJZKDW3'(UHFRUGVZHZRXOGORRNDW,Q

      WKHQRUPDOSURFHVV\RXKDGRULQDVSHFLILFSODQ

      \HDUIRUH[DPSOHLQ&06PDNHVSD\PHQWRQ

      EDVLFDOO\DVXEVLG\SD\PHQWEDVLVRUVXEVLG\SD\PHQWV




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA241
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 261 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       WLPHOLQHV

       4%XWXOWLPDWHO\$&/5ZDVORRNLQJ

       H[FOXVLYHO\DWUHFRQFLOHGGDWDLVWKDWFRUUHFW"

       $7KDW VFRUUHFW

       05325$'$:K\GRQ WZHWDNHMXVWDVKRUW

       EUHDN

       05'$9,'2ND\

       >5HFHVV@

       %<05325$'$

      47KH1RYHPEHUFRQIHUHQFHFDOO

      WKDW\RXPHQWLRQHGGR\RXUHPHPEHUZKRPDGHWKH

      DUUDQJHPHQWVWRVHWXSWKDWFDOO":DVLW$&/5RU

      &06"

      $&06XOWLPDWHO\DUUDQJHGWRKDYHWKHFDOO

      DWRXUXUJLQJEXW,WKLQNXOWLPDWHO\WKH\VHWXS

      WKHFDOO

      4:KRSDUWLFLSDWHGIURP$&/5LQWKDWFDOO"

      $,WKLQNLWZDVMXVWPH, PSUHWW\VXUH

      LWZDVMXVWPH,WPLJKWKDYHEHHQ-DVRQ%DUQHVP\

      DXGLWGLUHFWRUEXW,GRQ WUHDOO\UHFDOO

      4'R\RXUHPHPEHUZKRZDVRQWKHFDOOIRU

      IURP&06"




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA242
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 262 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       $'HVLUHH:KHHOHURXUFRQWUDFWLQJ

       RIILFHU7DQHWWH'RZQVWKHQHZGLUHFWRUIRU'32$

       DQGRXU&2750DUQLH'RUVH\DQGWKHFRQWUDFW

       VSHFLDOLVW-HVVLFD6DQGHUV

       4:DVWKDWRQHRIWKHDGGLWLRQDOWHOHSKRQH

       FRQYHUVDWLRQVWKDW\RXUHFRUGHG"

       $<HV

       4$QGQRRQHIURP&06ZDVDVNHGWRJLYH

       SHUPLVVLRQIRUWKDWSDUWLFXODUUHFRUGLQJLVWKDW

      FRUUHFW"

      $7KDW VFRUUHFW

      4:DVWKDWWKHILUVWWLPHWKDW$&/5

      LQIRUPHG&06RIWKHDSSUR[LPDWHGROODUDPRXQWRIWKH

      LPSURSHUSD\PHQWVWKDWLWKDGLGHQWLILHGWRGDWH"

      $,EHOLHYHVR\HV

      47KRVHDPRXQWVDOOFDPHIURP3'(

      GDWDLVWKDWFRUUHFW"

      $<HV,WKLQNWKDWLWZDVDFWXDOIDLUO\

      OLPLWHGDWWKDWSRLQWLQWLPH:HZHUHUHFHLYLQJ

      GDWD,WKLQNWKDWZDVEDVHGRQWKHILUVWWZR

      TXDUWHUVPD\EHWKHILUVWWKUHHTXDUWHUV,FDQ W

      UHFDOOEXWZHZHUHVWLOOUHFHLYLQJGDWD




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA243
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 263 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       46RWKHQXPEHUWKDW\RXGLVFXVVHGLQWKDW

       FDOOLWZRXOGKDYHEHHQLPSURSHUSD\PHQWVWKDW$&/5

       WKRXJKWLWKDGLGHQWLILHGIURPVRPHSRUWLRQRIWKH

       3'(GDWDLVWKDWFRUUHFW"

       $7KDW VFRUUHFW

       4'R\RXUHPHPEHUKRZPXFK\RXLGHQWLILHG

       GXULQJWKDWSKRQHFDOODVLPSURSHUSD\PHQWV\RX

       LGHQWLILHG"

       $1R7KHQXPEHUPLOOLRQNHHSVFRPLQJ

      LQWRSOD\EXW,GRQ WUHDOO\UHFDOODVSHFLILF

      QXPEHURUHYHQDQXPEHU

      47KHDPRXQWWKDW\RXLGHQWLILHGDQG

      GLVFXVVHGGXULQJWKDWFDOOZDVWKDWDOOIRUDOOHJHG

      GXSOLFDWHSD\PHQWVWKDW\RXKDGLGHQWLILHGIURPWKH

      3'(GDWDWKDW\RXKDGUHFHLYHGWRGDWH"

      $,EHOLHYHVR\HV,UHPHPEHUWKHILUVW

      WKLQJWKDWZHGLGZDVUXQWKHGXSOLFDWHSD\PHQW

      SURWRFRODJDLQVWLWEHFDXVHWKDWZDVRQHLVVXHWKDW

      HYHQWKRXJKLWZDVLQRXU3:6LWKDGDOVREHHQ

      DSSURYHGE\&06

      4$VSDUWRIWKDWFDOOGLG\RXSURYLGH

      GLG$&/5SURYLGH&06DQ\GRFXPHQWDWLRQWKDW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA244
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 264 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       TXDQWLILHGRUGRFXPHQWHGWKRVH3'(VWKDW\RXKDG

       LGHQWLILHGDVLPSURSHUSD\PHQWVLQYROYLQJGXSOLFDWH

       SD\PHQWVIRURUZDVLWMXVWWKHWRWDOQXPEHU

       WKDW\RXGLVFXVVHGGXULQJWKHFDOO"

       $,WZDVMXVWWKHWRWDOQXPEHU:HKDGQ W

       VXEPLWWHGDQ\GRFXPHQWDWLRQDWWKDWWLPH

       4$QGWKH3'(UHSRUWVWKDW$&/5KDG

       EHHQDQDO\]LQJWRLGHQWLI\WKRVHSRWHQWLDOGXSOLFDWH

       SD\PHQWVWKRVHILQGLQJVWKDWPLOOLRQWKDW\RX

      GLVFXVVHGLQWKHFDOOWKDWKDGQ WEHHQYDOLGDWHGE\

      DQ\RWKHUHQWLW\RWKHUWKDQ$&/5LVWKDWFRUUHFW"

      $$JDLQRXUFRQWUDFWGLGQ WUHTXLUHVXFK

      YDOLGDWLRQRUSHUPLWVXFKYDOLGDWLRQ

      46RQRRQHHOVHKDG"

      $7KDW VFRUUHFW

      4:KDWZDVWKHPHWKRGRORJ\WKDW$&/5XVHG

      WRLGHQWLI\WKRVHGXSOLFDWHSD\PHQWVIRU":DV

      LWWKHPHWKRGRORJ\WKDW\RXKDGODLGRXWLQ\RXU

      (PDLOWKDWZHORRNHGDWLQ([KLELW\RXU(PDLO

      RI6HSWHPEHU"

      $,WZDVFORVHWRWKDWPHWKRGRORJ\EXW

      VOLJKWO\PRGLILHG




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA245
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 265 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       WKHUHEXWLWPD\KDYHEHHQLQFOXGHGEXW,GR

       EHOLHYHWKDWWKHVHZHUHWKHRQO\RQHVWKDWZHGLG

       MXVWSURYLGLQJDKHGJHEHFDXVH, PQRWVXUHLI,DOVR

       LQFOXGHGWKHQDWLRQDOGUXJFRGH

       4'LG&06GLVFXVVZLWK$&/5GXULQJWKDW

       FDOOIURP1RYHPEHUWKDW&06ZDVZRUNLQJRQD

       GUDIW6WDWHPHQWRI:RUNWRUHSODFHWKH3:6"

       $,GRQ WUHFDOOLIWKH\ZHUHDFWXDOO\

       WDONLQJDERXWLWEXW,GRUHFDOO7DQHWWHVWDWLQJ

      DORQJWKHOLQHVWKDWWKH6WDWHPHQWRI:RUNWKDWVKH

      KDGSRVVHVVLRQRIZDVQRWWKHRQHWKDWZDVLQSODFH

      XQGHUWKHFRQWUDFW6RDJDLQ,GRQ WNQRZLI,

      DFWXDOO\GRQ WUHPHPEHUDFWXDOO\SODFLQJPXFKVWRUH

      LQWKDWEXWWKDWZDVDWOHDVWRQHHDUO\HYHQWWKDW,

      ZRXOGKDYHEHHQDEOHWRLGHQWLI\DVHSDUDWHRUD

      GLIIHUHQW6WDWHPHQWRI:RUNZDVLGHQWLILHG

      4<RXGRQ WUHPHPEHUWKHUHEHLQJD

      GLVFXVVLRQGXULQJWKDWFDOODERXWWKHGUDIW6WDWHPHQW

      RI:RUNEHLQJSUHSDUHGDQGEHLQJIRUWKFRPLQJWR$&/5

      LQWKHFRPLQJZHHGV"

      $2K, PVRUU\<HV7RZDUGWKHHQGRI

      WKHFRQYHUVDWLRQDIWHUWKDWRFFXUUHGWKHUHZDVVRPH




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA246
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 266 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       GLVFXVVLRQDERXWXVRUDERXW&06IRUZDUGLQJXVWKDW

       GRFXPHQW,WKLQNLWZDVDSSDUHQWDWOHDVWIURPWKH

       FDOOWKDWWKHFRQWUDFWLQJRIILFHUDQGWKHFRQWUDFW

       VSHFLDOLVWKDGGLGQRWNQRZWKDW&3,KDGLJQRUHG

       RXU3:6RUWKDWWKH\GLGQ W,PHDQDWDSRLQWLQ

       WLPH,WKLQNRXU&275HYHQVDLGLWZDVMXVWD

       SURSRVHGSURFHVVDQGGLGQ WUHFRJQL]HWKDWLWZDVD

       VLJQHGFRQWUDFWWKDWZDVVXSSRVHGWREHH[HFXWHGDQG

       RQFH0V'RZQVPDGHWKHFRPPHQWWKDW:DLWDPLQXWH

      WKLVLVQ WWKH6WDWHPHQWRI:RUNWKDW, PKROGLQJ

      DIWHUWKDWVKHVDLGWKDWZHGRQ WZDQWWRGRWKLV

      ZRUNDQGWROGWKHFRQWUDFWLQJRIILFHUDQGDWWKDW

      SRLQWLQWLPHWKHFRQWUDFWLQJRIILFHUVDLGVKHZRXOG

      IRUZDUGXVD6WDWHPHQWRI:RUN

      4'XULQJWKDWFDOOZKHQ\RXLGHQWLILHG

      WKDWRUVRPLOOLRQGROODUVRILPSURSHUSD\PHQWV

      WKDW\RXKDGIODJJHGDWWKDWSRLQWLQWLPHGLG\RX

      VD\WKDW\RXZHUH$&/5ZDVSUHSDUHGWRVWDUW

      VHQGLQJRXWQRWLFHVRILPSURSHUSD\PHQWVWRWKRVH

      SODQVSRQVRUVWKHIROORZLQJZHHN"

      $2K\HV

      4$QGDWWKDWSRLQW&06DGYLVHG\RXWKDW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA247
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 267 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       HQGRIWKHGD\,WKLQNZKHQVKHXQGHUVWRRGLWVKH

       UHFRJQL]HGZHKDGDFRQWUDFWWREHGRQH,VD\WKDW

       WRVD\WKDWEHLQJFRPSHWHQW\RXNQRZVKH VD

       FRQWUDFWLQJRIILFHU,QP\H[SHULHQFHRUDWOHDVWLQ

       P\GLVFXVVLRQVZLWKP\EURWKHUZKRKDGGRQHDORWRI

       FRQWUDFWLQJZRUNIRUWKH1DY\RUKDGSDUWLFLSDWHGLQ

       DORWRIFRQWUDFWV\RXNQRZWKHLUDXWKRULW\ZDV

       SDUDPRXQW,PHDQWKH\GLUHFWHG\RX

       :KHQVKHVDLGWKDWP\ELJJHVWFRQFHUQDWWKDW

      SRLQWLQWLPHZDV, YHDOUHDG\DVSHQWPLOOLRQ

      GROODUVRUZKDWHYHULWZDVDQGZKHWKHURUQRW,ZDV

      JRLQJWRHYHQJHWSDLG6R\HDK,IHOWLPPHQVHO\

      WKUHDWHQHG

      47KUHDWHQHGWKDWZKDW"7KDWWKHFRQWUDFW

      PLJKWEHWHUPLQDWHG"

      $$EVROXWHO\\HDKDQGDWWKDWSRLQWLQ

      WLPH,KDGQRLGHDZKDWP\UHFRXUVHZRXOGEH

      46RGLG$&/5KDYHDQXQGHUVWDQGLQJDVD

      UHVXOWRIWKDWFRQIHUHQFHFDOOIURP1RYHPEHU

      DVWRZKHWKHU&06ZDQWHG$&/5WRSHUIRUPXQGHUWKH

      WHUPVRIWKH3:6ZKLOHWKLVQHZ6WDWHPHQWRI:RUNZDV

      EHLQJGUDIWDQGILQDOL]HG"




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA248
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 268 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       $<RXPHDQWKURXJKRXWWKH\HDUSULRUWR

       1RYHPEHUWK"

       41R)URPWKDWSRLQWIRUZDUG

       $,ZRXOGVD\DWWKDWSRLQWIRUZDUGLW

       ZDVSUHWW\REYLRXVWKDWZHZRXOGQ WEHSHUIRUPLQJWKH

       3HUIRUPDQFH:RUN6WDWHPHQW,QP\SDUODQFHRUDW

       OHDVWP\XQGHUVWDQGLQJRIZKDWWKDWPHDQWZDVWKDW

       EDVLFDOO\ZHKDGEHHQHIIHFWLYHO\JLYHQDVWRSZRUN

       RUGHU

      4$OWKRXJKQRZULWWHQVWRSZRUNRUGHUZDV

      LVVXHGLVWKDWFRUUHFW"

      $<HV&06LVUHDOO\JRRGDERXWQRW

      WU\LQJWRFRYHUWKHLUUHDUHQGVRQZKHWKHURUQRW

      \RXNQRZWKH\ OOWHOO\RXWRVWRSDQGWKHQQRW

      IROORZXSZLWKLWEXW\HV6KHGLGQRWIROORZXS

      ZLWKDVWRSZRUNRUGHU

      4<RXVD\&06LVUHDOO\JRRGDWWKDW

      7KDW VEDVHGRQWKLVRQHFRQWUDFW\RXKDGZLWK&06"

      $<HV%DVLFDOO\WKH3DUW'5$&

      &RQWUDFW:HKDGDQRWKHULQVWDQFHLQ'HFHPEHURI

      ZKHUHZHDOVRWKUHDWHQHGWRVHQGLW,QWKLV

      FDVHZHDFWXDOO\VXEPLWWHGWKHLPSURSHUSD\PHQWVWR




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA249
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 269 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       $,WKLQNLWZRXOGEHPRUHDFFXUDWHWRVD\

       WKDW&06RUWKHFRQWUDFWLQJRIILFHUWROGXVWKDWWKH\

       ZRXOGUHVROYHWKHLVVXHTXLFNO\WKDWZHZRXOGJHWD

       6WDWHPHQWRI:RUNWKDWZRXOGDOORZXVWRUHFRYHU

       DPRXQWV,ZDVWKDQNLQJKHUIRUWKDWDQG\HV,

       ZRXOGQRWSHUIRUPWKDWSRUWLRQRIWKH3:6ZKLOHZH

       ZHUHGRLQJWKDW

       46R$&/5KDGDJUHHGWRIROORZ&06 V

       UHTXHVWWKDW\RXQRWLVVXHWKRVHGHPDQGOHWWHUVIRU

      LQVWDQFHIRUWKHGXSOLFDWHSD\PHQWLVVXH"

      $7KDW VFRUUHFW

      >$&/5([KLELW1RZDV

      PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      4, YHVKRZQ\RXZKDWZHKDYHQRZPDUNHG

      DV([KLELWZKLFKLVD'HFHPEHUOHWWHU

      IURP\RXWR'HVLUHH:KHHOHUWKDWVD\VLWLV$&/5 V

      UHTXHVWIRUHTXLWDEOHDGMXVWPHQW'R\RXUHPHPEHU

      WKLVGRFXPHQW"

      $,GR

      47KDW V\RXUVLJQDWXUHRQWKHVHFRQG

      SDJH"




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA250
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 270 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       DPRXQWVDUHLQFOXGHGZLWKLQWKHGDPDJHVWKDWDUH

       FODLPHGLQWKH$&/5FRPSODLQW"

       $:HOOOHWPHEHPRUHFOHDU6RIRURXU

       FRPSODLQWWKHZD\WKDWLW VVWUXFWXUHGLVWKDWIRU

       ZHEDVHGWKHFRPSODLQWLVEDVHGRQWKH

       LPSURSHUSD\PHQWVZHLGHQWLILHGGXULQJWKDWSHULRGRU

       GXSOLFDWHSD\PHQWVDQGLPSURSHUSD\PHQWVWKDWZH

       LGHQWLILHGIRU

       :LWKUHVSHFWWR-DQXDU\RUDOODPRXQWVIRU

      WKURXJK'HFHPEHUWKDWZDVD

      UHSUHVHQWDWLRQRIRXUFRVWOHVVVRPHRIWKHDPRXQWV

      WKDWZHUHFHLYHGLQWKHFRQWUDFW7KDWQHWDPRXQWLV

      ZKDWZHUHTXHVWHGWKHUH

      4,QWKHFRPSODLQW"

      $7KDW VFRUUHFW

      46RWKLVWKDWZDVLQ\RXU

      UHTXHVWIRUHTXLWDEOHDGMXVWPHQWWKDWLVWKH

      FRPSRQHQWRIWKHGHOD\GDPDJHVWKDWDUHFRQWDLQHGLQ

      \RXUFRPSODLQWLVWKDWFRUUHFW"

      $QGWKHQ\RXUFRPSODLQWLQFOXGHVDQG

      DGGLWLRQDOGHOD\FRVWVLVWKDWFRUUHFW"

      $<HV6REDVLFDOO\ZKDWZHGLGZDVLQ




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA251
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 271 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       RXUFRPSODLQWZHGLGQ WUHTXHVWDQ\DPRXQWV

       DVVRFLDWHGZLWKGHOD\FRVWV:LWKUHVSHFWWR

       ZKDWZHGLGZDVZHUHYHUWHGEDFNWRZKDWWKHFRQWUDFW

       VWDWHGDQGXVHG2ND\ZKDWGLGZHGRLQWKHSHULRG

       RI:HLGHQWLILHGPLOOLRQLQGXSOLFDWH

       SD\PHQWVWKDWDQGZHDSSOLHGRXUFRQWLQJHQF\IHH

       WRWKDW

       :LWKUHVSHFWWRGHOD\FRVWVEHWZHHQ DQG

        ZHDOVRUHTXHVWHGWKRVHDPRXQWVWKDWZHUHRXU

      H[SHQVHVRUDPRXQWVLQFXUUHG6RIRUH[DPSOHIRU

      PHOHVVRXUUHFRYHULHVDQGWKHQWKDWJDYHXVDQHW

      DPRXQW

      4)RUWR "

      $7KDW VFRUUHFW

      46RWKHQIRUWKHLWZDV

      LQ\RXUUHTXHVWIRUHTXLWDEOHDGMXVWPHQW7KDWLV

      QRWDSDUWRIWKHVSHFLILFGDPDJHDPRXQWVWKDWDUH

      LQFOXGHGLQ\RXUFRPSODLQWEHFDXVHIRUDOO

      \RX UHFODLPLQJLVWKHORVVFRQWLQJHQWIHHRQWKDW

      VRPHPLOOLRQGROODUVRQGXSOLFDWHSD\PHQWV

      LVWKDWULJKW"

      $7KDW VFRUUHFW\HV7KHRQO\DPRXQWV




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA252
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 272 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       47KDW VWKHVDPHDPRXQWWKDW\RXZHUH

       MXVWGHVFULELQJHDUOLHUWKDWLVSDUWRI$&/5 V

       FRPSODLQWLQWKLVFDVHWKDWUHODWHVWR

       &RUUHFW"

       $,EHOLHYHVR\HV

       4$QGWKHHQWLUHW\RIWKDWDPRXQWUHODWHV

       WRWKH3'(UHFRUGV&RUUHFW"

       $7KDW VFRUUHFW

       4$QGLW VDOOIRUDOOHJHGGXSOLFDWH

      SD\PHQWVWKDW$&/5LGHQWLILHGLQWKH3'(GDWD"

      $7KDW VFRUUHFW

      4$IWHUWKH1RYHPEHUFRQIHUHQFH

      FDOOWKDWZHWDONHGDERXWHDUOLHUGLG$&/5HYHU

      DJDLQSURSRVHFRQGXFWLQJDUHFRYHU\DXGLWIRU

      GXSOLFDWHSD\PHQWVDIWHUWKDWFDOO"

      $<HV

      4:KHQZDVWKDW"

      $,QWKHZHKDGDPHHWLQJ,EHOLHYHLQ

      HDUO\-DQXDU\RIZKHUHZHPHWZLWK'HVLUHH

      :KHHOHU7KHUHVD6FKXOW]7DQHWWH'RZQVDQG,

      EHOLHYH)UDQN&KDUWLHUZKRZDVWKH&25RQWKH

      FRQWUDFWRUZDVJRLQJWREHWKH&25RQWKHFRQWUDFW




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA253
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 273 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       DQGZHSXVKHGYHU\KDUGWREHDEOHWRGRGXSOLFDWH

       SD\PHQWVEHFDXVHWKHH[FOXGHGSURYLGHUUHYLHZ

       IUDQNO\ZDVQ WJRLQJWREHPXFKPRQH\

       6RZHZHUHWU\LQJWRJHWSDUWLFXODUO\VLQFH

       &06KDGDOUHDG\SXEOLVKHGRUSXEOLFL]HGWKDW

       GXSOLFDWHSD\PHQWVKDGEHHQDQLPSURYHGLVVXHDQG

       WKDW\RXNQRZLWZDVSDUWRIRXU3:6DQGWKDWWKH\

       KDGDSSURYHGLWDOUHDG\

       4:DVWKDWDQLQSHUVRQPHHWLQJRUDSKRQH

      FRQIHUHQFH"

      $7KDWZDVDQLQSHUVRQPHHWLQJ

      4,Q0DU\ODQG"

      $<HVLWZDV

      47KDWPHHWLQJLVQRWGHVFULEHGLQWKLV

      DQQXDOUHSRUW

      $2ND\,WSUREDEO\LVQ W,JXHVV

      4'R\RXUHFDOOZKHWKHUWKHUHZDVDQ\

      ZULWWHQVXEPLVVLRQE\$&/5UHJDUGLQJWKH

      GXSOLFDWHSD\PHQWDXGLWLVVXHWKDWRFFXUUHGLQ

      FRQQHFWLRQZLWKWKDW-DQXDU\PHHWLQJWKDW\RX

      GHVFULEHGKDYLQJ"

      $7KH\ZHUH,WRRNDSUHVHQWDWLRQZLWK




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA254
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 274 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       PHRU,KDGVXEPLWWHGLWEDFNWRWKHP,GRQ W

       WKLQNLWZDVLQ,WKLQNLWZDVHDUO\RI

       ZKHUHZKHQZHZHUHVHWWLQJXSRXUPHHWLQJWR

       GLVFXVVLVVXHVLQFOXGLQJRXUUHTXHVWIRUHTXLWDEOH

       DGMXVWPHQWWKDW,KDGLQFOXGHGDSUHVHQWDWLRQWKDW

       LQFOXGHGGXSOLFDWHSD\PHQWVDQGLWZDV,WKLQNDW

       WKDWWLPHSUREDEO\WKURXJKRU ,

       FDQ WUHFDOOH[DFWO\ZKDWLWZDVEXWWKDWGRFXPHQW

       VKRZHGWKDWLQDGGLWLRQWRH[FOXGHGSURYLGHUVZH

      DOVRZDQWHGWRJRDIWHUGXSOLFDWHSD\PHQWV

      4$QG\RXUPHPRU\ZDVWKDWPHHWLQJ

      RFFXUUHGLQ-DQXDU\"

      $7KDW VFRUUHFW

      46RDVRI-DQXDU\$&/5KDGDOUHDG\

      UHFHLYHG3'(GDWDXSWKURXJK"

      $<HV7KH\ZHUHDFWLYHO\VHQGLQJLWWR

      XV,FDQ WUHFDOOH[DFWO\ZKDWLWZDV,WPLJKW

      KDYHEHHQRQO\QLQHEXWRQFHZHVWDUWHGUHFHLYLQJ

      GDWDZHUHFHLYHGLWRQDFRQWLQXDOEDVLV

      $WWKDWSRLQWLQWLPHLWWRRNXVDERXWDZHHN

      WRGRD\HDUPD\EHDZHHNWRWZRZHHNV7KH\ZHUH

      DEOHWRVWUHDPOLQHWKDWSURFHVV6RZHPD\KDYHKDG




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA255
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 275 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       :HGLGQRWVXEPLW,FDQ WUHPHPEHUKRZPDQ\

       FRQWUDFWVLWZDVSUREDEO\DFRXSOHRIWKRXVDQG

       FRQWUDFWVZRUWKRIFRQWUDFWGDWD6RDJDLQ,GLG

       QRWVD\PLOOLRQEXWWKLVFRQWUDFWRUWKDWZH

       LGHQWLILHGDQGSUHSDUHGDQRWLILFDWLRQRILPSURSHU

       SD\PHQWZDVEDVHGRQWKDWUHYLHZ

       6RWKHRQO\DJDLQWKHUHZDVDVOLJKW

       GLIIHUHQFHLQWKHDPRXQWEXWWKDWZDVEHFDXVHRIWKH

       GHFLPDOSRLQWOLPLWDWLRQ

      46RWKHQLI, PXQGHUVWDQGLQJ\RX

      FRUUHFWO\SULRUWR\RXUVXEPLVVLRQRIWKLV

      UHSRUW$&/5KDGQRWLGHQWLILHGWKDWWRWDOVXPRI

      PLOOLRQDVSRWHQWLDOGXSOLFDWHSD\PHQWVIRU

      WR&06EHIRUHWKDWLVWKDWFRUUHFW"

      $,ZRXOGKDYHWRORRNDWWKHWLPHOLQH

      :HDOVRGLGDGXSOLFDWHSD\PHQWDXGLWUHSRUW,

      GRQ WNQRZZKHQWKDWZDVGRQH,GRQ WNQRZZKHQZH

      GLGWKDW7KDWPD\KDYHRFFXUUHGSULRUWRWKLVRU

      DIWHUWKLVUHSRUWEXWWKHUHZDVDQRWKHUGRFXPHQW

      ZKHUHZHGLGLGHQWLI\LWEXWLWZDVDGXSOLFDWH

      SD\PHQWDXGLWLVVXHUHSRUWWKDWZHGLG

      4'LG$&/5HYHUSURYLGHWR&06VSHFLILF




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA256
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 276 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       GRFXPHQWDWLRQLGHQWLI\LQJDOORIWKH3'(VWKDWLW

       FRQWHQGHGZHUHGXSOLFDWHSD\PHQWVIRU"

       $1R:HGLGLQGLVFRYHU\,EHOLHYHZKHQ

       ZHZHQWWKURXJKGLVFRYHU\EXWQRWSULRUWRWKDW

       46RSULRUWRWKHOLWLJDWLRQLQWKLVFDVH

       $&/5KDGQRWLGHQWLILHGIRU&06WKHVSHFLILF3'(V

       WKDWLWFRQWHQGHGZHUHGXSOLFDWHSD\PHQWVIRU

       LVWKDWULJKW"

       $7KDW VFRUUHFW

      4%DVHGRQZKDW\RXWHVWLILHGHDUOLHU

      WKHUHFDPHDSRLQWLQWLPH,JXHVVODWHURQZKHQ

      $&/5EHJDQDQDO\]LQJGXSOLFDWHSD\PHQWVIRU

      VXEVHTXHQWSD\PHQW\HDUVDIWHULVWKDWULJKW"

      $7KDW VFRUUHFW

      4$QG,EHOLHYHHDUOLHU\RXWHVWLILHG

      WKHDGGLWLRQDOFKXQNRIWLPHLI\RXZLOOZKHQ$&/5

      ZDVDQDO\]LQJGXSOLFDWHSD\PHQWVZDVIRUWKH

      WKURXJK SD\PHQW\HDUVLVWKDWULJKW"

      $7KDWZDVZKDWZDVLQWKHDSSURYHG1$,53

      \HVEXWZHDOVRFRQGXFWHGUHYLHZVRIDQG

      47KHWKDWZDVDGGUHVVHGLQWKH

      PRGLILFDWLRQIRUWKRVHWKUHHVSHFLILFFRQWUDFWV




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA257
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 277 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       XQGHUVWDQGLQJZDVWKDW&06ZDQWHGDFRPSOH[UHYLHZ

       WKDWDFWXDOO\ZRXOGORRNDWWKHXQGHUO\LQJ

       GRFXPHQWDWLRQIURPWKHSODQVSRQVRUVLQDGGLWLRQWR

       ZKDWHYHUZDVLQWKH3'(ILHOGVWKHPVHOYHV&RUUHFW"

       $7KDW VFRUUHFW

       43ULRUWRWKLVKDG&06JLYHQFRQWLQJHQW

       DSSURYDOWRWKHGXSOLFDWHSD\PHQW1$,53SULRUWRWKLV

       UHYLVHGVXEPLVVLRQ"

       $1R

      42ND\

      $2K, PVRUU\7KH\PD\KDYH7KHRQO\

      UHDVRQ, PKHGJLQJRQWKDWLVWKDWWKHUHZHUHD

      FRXSOHRIRWKHUWKLQJVSULRUWRWKDW/HWPHVHH

      KHUH

      <HV7KH\KDG

      46RDWWKDWSDJHWKDWVD\VDWWKH

      ERWWRPXSDWWKHWRSWKHUHWKHUH VDVHULHVRI

      GLIIHUHQWGDWHVWKDWUHIHUHQFHSULRUVXEPLVVLRQVWKDW

      $&/5KDGPDGHDQGSULRUUHVSRQVHVIURP&06RQWKH

      VDPHGXSOLFDWHSD\PHQWDXGLWLVVXHLVWKDWULJKW"

      $7KDW VFRUUHFW

      4$VSDUWRIWKHSURFHVV$&/5KDGDJUHHG




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA258
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 278 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       WRUHPRYH3'(VWKDWZHUHDVVRFLDWHGZLWKSDUWLDO

       ILOOVLVWKDWULJKW"

       $7KDW VFRUUHFW

       4$VZHOODV3'(VDVVRFLDWHGZLWK

       ORQJWHUPFDUHRUYDFFLQDWLRQDGPLQLVWUDWLYHIHHV"

       $7KDW VFRUUHFW

       4$QG$&/5DOVRKDGDJUHHGWRUHPRYH3'(V

       WKDWDURVHIURPSUHVFULSWLRQVWKDWZHUHWUDQVLWLRQLQJ

       IURPDUHWDLOSKDUPDF\WRDPDLORUGHUSKDUPDF\

      5LJKW"

      $,WKLQNWKDW VFRUUHFW\HV

      4$WWKLVSRLQWIRUWKLVDXGLWLVVXH

      $&/5ZDVJRLQJWRXVHDSURFHVVWKDWLGHQWLILHGWZR

      3'(VWKDWKDGWKHVDPHLQIRUPDWLRQWKDWRFFXUUHG

      ZLWKLQSHUFHQWRIDGD\ VVXSSO\LVWKDWULJKW"

      ,I\RXORRNDWSDJHQHDUWKHERWWRPRI

      WKDWSDUDJUDSK

      $<HV

      4:K\KDGWKDWFKDQJHGIURPWKHSHUFHQW

      WKDW\RXXVHGLQWKDWVWXG\RIGXSOLFDWH

      SD\PHQWV"

      $:HOOSULPDULO\WKHVWXG\WKDWZH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA259
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 279 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       FRQGXFWHGGLGQ WUHDOO\JLYHXVPXFKXVHIXO

       LQIRUPDWLRQ,QIDFWLWGHPRQVWUDWHGWKDWPD\EH

       VRPHWKHSURWRFROVZHUHQ WDVVWURQJDVWKH\VKRXOG

       KDYHEHHQEXWWKHUHDVRQWKDWZHGLGSHUFHQWZDV

       NLQGRIWROLPLWWKHEXUGHQIRUWKHSXUSRVHVRIWKH

       VSHFLDOVWXG\:HZHUHRQO\JRLQJDIWHUWKUHHSODQV

       7KLVRQHZHZHUHJRLQJDIWHUWKHRWKHUVDQG

       LWZDVMXVWPRUHDFFXUDWH7\SLFDOO\LQVXUDQFH

       FRPSDQLHVKDYHDGHDGOLQHWKDWHDUO\UHILOORIWR

      SHUFHQW,QWKLVFDVHZHWKRXJKWJRLQJZLWK

      SHUFHQWRIWKDWVWLOOZHOOEHORZWKHSODQVXEPLVVLRQ

      UHTXLUHPHQWVZRXOGEHDGHTXDWHRUPRUHDFFXUDWHDW

      OHDVW

      46RWKLVSURFHVVZRXOGFDSWXUHWZR3'(V

      WKDWKDGWKHVDPHLQIRUPDWLRQLQWKHLGHQWLILHG

      ILHOGVWKDWZHUHRFFXUULQJZLWKLQSHUFHQWRIZKHQ

      WKHRULJLQDOSUHVFULSWLRQZDVILOOHGLVWKDWULJKW"

      $7KDW VFRUUHFW)RUH[DPSOHLILWZDV

      DGD\VXSSO\WKHQZHZRXOGORRNDW3'(VXSWR

      GD\VLVVXHGSULRUWRWKDWGD\ZLQGRZ

      4:LWKLQWKHILUVWGD\VRIWKHILUVW

      SUHVFULSWLRQ"




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA260
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 280 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       $7KDW VFRUUHFW

       4$QGWKLVSURFHVVRQSDJHGHVFULEHV

       KRZDIWHUWKHLQLWLDOUHYLHZLVFRPSOHWHGWKHUH

       ZRXOGEH5),VJHQHUDWHGWKDWZRXOGJRRXWWRWKHSODQ

       VSRQVRUVWKDWZRXOGUHTXHVWGHWDLOHGSUHVFULSWLRQ

       GDWD'R\RXVHHWKDW"

       $<HV,GR

       46RDVRIWKLVSRLQW$&/5XQGHUVWRRG

       WKDWWKHGXSOLFDWHSD\PHQWDXGLWLVVXHZDVJRLQJWR

      EHFRQGXFWHGDVDFRPSOH[UHYLHZ"

      $7KDW VFRUUHFW

      >$&/5([KLELW1RZDV

      PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      4,KDYHJLYHQ\RX([KLELWZKLFKLVD

      0D\(PDLOIURP,QGLD7KRPDVEDFNWR\RX

      :DVWKLVWKHQRWLFHWKDW$&/5JRWWKDW&06KDG

      DSSURYHGWKHGXSOLFDWHSD\PHQWUHYLVHG1$,53WKDWZH

      MXVWORRNHGDWWKDWZDV([KLELW"

      $<HVLWLV

      4$QG0V7KRPDVLQIRUPHG\RXWKDW&06ZDV

      VWLOOUHYLHZLQJWKHLU5),VIRUWKLVDXGLWUHYLHZDQG




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA261
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 281 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       ZDVJRLQJWRSURYLGHFRPPHQWVLVWKDWULJKW"

       $<HV

       4:DVLW$&/5 VXQGHUVWDQGLQJXQGHUWKH

       FRQWUDFWLWKDGZLWK&06WKDW&06KDGWKHDXWKRULW\

       XQGHUWKHFRQWUDFWWRGHWHUPLQHWKHWHUPVIRU

       DSSURYLQJWKHGXSOLFDWHSD\PHQWUHFRYHU\DXGLW"

       $0\XQGHUVWDQGLQJRIWKH62:DVLWZDV

       ZULWWHQLVWKDWWKH\ZRXOGZRUNZLWKXVWRDSSURYH

       LWEXW\HV7KH\GLGKDYHWKHDELOLW\WRGHQ\WKH

      1$,53

      42UWRGHWHUPLQHWKHVSHFLILFWHUPVRI

      WKH1$,53WKDWZRXOGEHDSSURYHG"

      $,GRQ WNQRZZKDW\RXPHDQE\WHUPV

      <RXPHDQOLNHDXGLWPHWKRGRORJLHV"

      45LJKW

      $<HV

      >$&/5([KLELW1RZDV

      PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      4, YHVKRZQ\RX([KLELWZKLFKLVD

      FKDLQRI(PDLOVIURP-XQHEHWZHHQ6RQMD%URZQ

      DQG*LO0XFNHDPRQJRWKHUVDQGLI\RXORRNDW*LO




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA262
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 282 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       0XFNH V(PDLORQWKHILUVWSDJHIURP-XQH

       KHVDLG%DVHGRQ\RXU(PDLORI-XQHEHORZZH

       GRUHFRJQL]HWKHDXWKRULW\RI&3,XQGHU$SSHQGL[(

       QHZLVVXHVXEPLVVLRQDQGDSSURYDOSURFHVV6WHS

       &06VKDOOSURYLGHWKH5$&ZLWKDZULWWHQH[SODQDWLRQ

       DVWRWHUPVRIDFRQGLWLRQDODSSURYDOWRGLFWDWHWKH

       WHUPVRIWKHDFWXDODSSURYDO

       'R\RXVHHWKDW"

       $<HV,GR

      46R,PHDQGRHV$&/5DJUHHWKDW&06KDG

      WKHDXWKRULW\XQGHUWKHFRQWUDFWWRDV*LOVDLGWR

      GLFWDWHWKHWHUPVRIWKHDFWXDODSSURYDORIDQDXGLW

      LVVXH"

      05%21(//22EMHFWLRQFDOOVIRUDOHJDO

      FRQFOXVLRQ

      7+(:,71(66,ZRXOGVD\WKDWZLWKUHVSHFW

      WRWKHWHUPVLWZRXOGEHDWDXGLWPHWKRGRORJLHV,

      WKLQNWKLVLVDWHUPLQRORJ\WKLQJEXW\HV,ZRXOG

      DJUHH\RXNQRZZLWKUHVSHFWWRDXGLWPHWKRGRORJ\

      WKH\KDGWKHDELOLW\WRGRWKDW

      1RZRIFRXUVH,KDGWKHRSWLRQVR

      GLFWDWHLVDVWURQJZRUGEXW,DOVRKDGWKHRSWLRQ




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA263
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 283 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       QRWWRSXUVXHLWP\VHOI

       %<05325$'$

       46R$&/5ZRXOGDJUHHWKDW&06KDGWKH

       DXWKRULW\WRGHFLGHZKDWWKHPHWKRGRORJ\ZRXOGEHIRU

       DQDSSURYHGDXGLWLVVXH&RUUHFW"

       $7KDW VFRUUHFW

       05%21(//22EMHFWLRQ

       %<05325$'$

       4&RUUHFW"

      $&RUUHFW

      4$QGWKHQ\RXURWKHUSRLQWLVWKDW$&/5

      WKHQFRXOGGHFLGHLILWGLGQ WZDQWWRSURFHHGZLWK

      WKHDXGLWLVVXHXQGHUWKRVHXQGHUWKDWPHWKRGRORJ\

      WKDW&06KDGGHWHUPLQHGVKRXOGEHXVHG$&/5FRXOG

      GHFLGHQRWWRGRLW"

      $7KDW VFRUUHFWQRWRQO\WKDW7KH

      FRQWUDFWLQJRIILFHUDIWHUWKDWZDVDSSURYHGZHDOVR

      KDGWKHDXWKRULW\WRVWRSDQDXGLWDWDQ\SRLQWLQ

      WLPH

      4, PVRUU\:KRKDGWKHDXWKRULW\WR

      VWRSDQDXGLW"

      $:HGLG




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA264
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 284 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       $7KDW VFRUUHFW

       ,ZRXOGOLNHWRDPHQGVRPHWKLQJ,VDLGWKDW

       WKH\IROORZHGWKHSURWRFRO7KH\DFWXDOO\GLGQ W

       ,WZDVWKHUHVXOWVRIWKHLUUHYLHZWKDWDQG

       ZHUHHOLPLQDWHGIURPIXUWKHUUHYLHZ

       4$VDUHVXOWRI/HYDQWD VUHYLHZ"

       $7KDW VFRUUHFW

       >$&/5([KLELW1RZDV

       PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      4<RXKDYHLQIURQWRI\RXQRZ([KLELW

      ZKLFKLVDFKDLQRI(PDLOVRQ-XQHDORQJ

      ZLWKDQDWWDFKPHQWWKDWDSSHDUVWREH/HYDQWD V

      YDOLGDWLRQUHSRUWIRUWKHGXSOLFDWHSD\PHQW1$,53

      SULRUWR5),VJRLQJRXW,VWKDWZKDWWKLVLV"

      $<HVLWLV

      4$&/5UHFHLYHGWKLVDWWKHWLPHIURP&06

      LVWKDWFRUUHFW"

      $<HV

      4'LG$&/5XQGHUVWDQGWKDW/HYDQWD

      GLVDJUHHGZLWKVRPHRIWKHGXSOLFDWHSD\PHQWVWKDW

      KDGEHHQLGHQWLILHGDVSDUWRI$&/5 VDXGLWLVVXH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA265
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 285 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       SURFHVV"

       $<HV

       46RLI\RXORRNVWDUWLQJDWSDJHDW

       WKHERWWRPWKHUH VDVHFWLRQWKDWVD\VUHVXOWV

       GLVDJUHHGDQGWKHQLWOLVWVDIHZGLIIHUHQW

       FDWHJRULHVRIWKHGXSOLFDWHSD\PHQWVLGHQWLILHGE\

       $&/5WKDW/HYDQWDKDGGLVDJUHHGZLWK'R\RXVHH

       WKDW"

       $<HV,GR

      4$QGIRULQVWDQFHWKH\LGHQWLILHG

      SD\RUVWKDWKDGDYDFFLQDWLRQDGPLQLVWUDWLYHIHHDQG

      WKH\FRQFOXGHGWKDWXQGHUWKHUHYLVHG1$,53WKRVH

      ZHUHWREHUHPRYHG'R\RXVHHWKDW"

      $<HV,GR

      4'LG$&/5DJUHHZLWKWKDW"

      $<HVZHGLG

      4$QGIRUDQG WKH\LGHQWLILHG

      LWORRNVOLNHDERXWRUVRGXSOLFDWLYHSDLUV

      WKDWDOVRKDGWKHYDFFLQDWLRQDGPLQLVWUDWLYHIHHLQ

      WKHP,VWKDWVRPHWKLQJ$&/5DJUHHGWRUHPRYHDV

      ZHOO"

      $<HV




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA266
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 286 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       GD\V,WKLQNHYHQEHIRUHZHFRPPHQFHGLWLW

       PLJKWKDYHEHHQDSHULRGDVOLWWOHDVGD\V

       6R\RXNQRZWKHGD\EXLOWLQUHTXLUHPHQW

       WKHUHZDVSUHWW\H[SDQVLYH

       4%XWVRPHRIWKHVHSODQVSRQVRUVUHFHLYHG

       QRWLFHVRU,VKRXOGVD\UHFHLYHG5),VIRU

       SRWHQWLDOO\WKRXVDQGVRI3'(VWKDWZHUHLGHQWLILHG

       WKURXJK$&/5 VGXSOLFDWHSD\PHQWSURFHVV

       &RUUHFW"

      $8PKXP

      46RLQUHVSRQVHWRWKH5),ZKDWWKH\

      ZHUHEHLQJDVNHGWRGRDWOHDVWZDVWRVXEPLW

      XQGHUO\LQJGRFXPHQWDWLRQIRUHYHU\RQHRIWKRVH3'(V

      WRVXEVWDQWLDWHWKHP

      $7KDW VFRUUHFW

      4,VWKDWFRUUHFW"

      $7KDW VFRUUHFW

      46RSRWHQWLDOO\IRUWKRXVDQGVRI3'(V

      WKH\ZRXOGKDYHWRWU\WRSXOOWRJHWKHUWKH

      XQGHUO\LQJGRFXPHQWDWLRQDQGVXEPLWLWLQUHVSRQVHWR

      WKH5),WRWU\WRMXVWLI\WKHSD\PHQWDV

      QRQGXSOLFDWLYHLVWKDWFRUUHFW"




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA267
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 287 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       $7KDW VFRUUHFW

       05%21(//22EMHFWLRQIRUP

       %<05325$'$

       4'LG$&/5DIWHUWKLVVRUWRIIDOO

       WLPHIUDPHGLG$&/5OHDUQWKDWWKHLVVXHRIGRVDJH

       LQFUHDVHVSRWHQWLDOO\FDXVLQJIDOVHSRVLWLYHV

       FRQWLQXHGWREHDFRQFHUQIRU&06ZLWKWKHGXSOLFDWH

       SD\PHQWDXGLWLVVXH"

       $,NQRZWKDWWKHGRVDJHLQFUHDVHZDVD

      SUREOHPIRUWKHPEXWZLWKUHVSHFWWRIDOVH

      SRVLWLYHV,PHDQ\RXNQRZDIDOVHSRVLWLYHFDQ W

      RFFXUXQWLOZHDFWXDOO\UHQGHUDGHFLVLRQRUVWDWH

      WKDWZHEHOLHYHWKLVWREHDQLPSURSHUSD\PHQWRULQ

      SDUODQFHRIWKHFRQWUDFWXQWLOZHVXEPLW

      QRWLILFDWLRQOHWWHUVWRWKHSODQV

      46ROHWPHUHSKUDVHWKDWWKHQ'LG\RX

      OHDUQWKDW&06FRQWLQXHGWREHFRQFHUQHGWKDWWKH

      LVVXHRIGRVDJHLQFUHDVHVPLJKWEHFDXVLQJ$&/5WR

      KDYHLGHQWLILHGDVGXSOLFDWLYHWZRSD\PHQWVWKDW

      SHUKDSVZHUHQ WGXSOLFDWLYHEHFDXVHWKHUHZDVD

      GRVDJHLQFUHDVHLQYROYHG"

      $2ND\, PJRLQJWRKDYHWRSLFNWKDW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA268
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 288 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       4$QGWKHQDERYHWKDW*LO0XFNHKDG

       UHVSRQGHGRQWKHVDPHGDWHVWDWLQJWKDW$&/5ZDVQRW

       DYDLODEOHWRSHUIRUPWKLVW\SHRIZRUNXQWLORXU

       UHWXUQRQ'R\RXVHHWKDW"

       $<HV

       46RZK\ZDVWKDW":DVWKHHQWLUHFRPSDQ\

       VKXWGRZQIRUWKRVHRUGD\VRUZK\ZDVWKDW"

       $$FWXDOO\LWZDV,WZDVKXQWLQJ

       VHDVRQ:HKDYHDORWRIKXQWHUV

      ,QWKLVFDVHDQGXOWLPDWHO\ZHGLGQ WZDLW

      WKDWORQJ:HJRWEDFNDQGJRWWKHPXSORDGHG

      LPPHGLDWHO\EXWZKHQWKLVILUVWFDPHRXWWKHUHDVRQ

      ZHKDGWKDWLV,ZDVDFWXDOO\LQDORFDWLRQZKHUH,

      KDGWRWUDYHOWRWKHWRSRIDKLOOWRPDNHDSKRQH

      FDOO6RZHGLGQ WKDYHORWRIDFFHVVWRDQ\WKLQJ

      UHDOO\

      47KDWZDVDKXQWLQJWULS\RXZHUHRQ"

      $<HV

      4$WWKLVSRLQWLQWLPHZKRZDVLQYROYHG

      LQWKHGXSOLFDWHSD\PHQWDXGLWLVVXHSURFHVVIRU

      $&/5"<RX*LO0XFNHDQG7KDLV7KRPSVRQ:DV

      DQ\ERG\HOVHLQYROYHG"




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA269
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 289 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       $6KDZQ'RQRNH\-DVRQ%DUQHV,EHOLHYH

       DWWKHWLPHZDVVWLOORQWKHFRQWUDFWDQGWKHQZH

       DOVRKDGRWKHUSHRSOHWKDWZRXOGFRPHLQZKHQHYHUZH

       KDGGDWDWRJRWKURXJKWKLV

       7KHGXSOLFDWHSD\PHQWZDVDZKLOHDJR,

       GRQ WUHFDOOLWEHLQJRYHUO\EXUGHQVRPHIRUWKHPRVW

       SDUWEHFDXVHSODQVUHDOO\GLGQ WVXEPLWWKDWPXFK

       GDWD

       46REHFDXVHRIWKHKXQWLQJVHDVRQ$&/5

      DWOHDVW*LOKDGH[SUHVVHG$&/5ZDVQ WJRLQJWREH

      DEOHWRSHUIRUPDGHWDLOHGUHVSRQVHWR/HYDQWD V

      DQDO\VLVXQWLODIWHUWKHWKRI1RYHPEHULVWKDW

      ULJKW"

      $7KDWZDVKLVUHVSRQVHEXWWKDW VQRW

      KRZORQJLWWRRN

      4+HVD\VDWWKHERWWRPRIKLV(PDLO

      ,I&06ZDQWVWRKROGWKLVRIIVRWKDWZHPD\

      DGHTXDWHO\GLVSXWHHDFKDQGHYHU\ILQGLQJRI'9&ZH

      LQWHQGWRGRVR

      'R\RXVHHWKDW"

      $<HV

      46RZDVLWFRUUHFWWKDW$&/5GLVSXWHG




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA270
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 290 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       $)7(512216(66,21

       >SP@

       >$&/5([KLELW1RZDV

       PDUNHGIRULGHQWLILFDWLRQ@

       )857+(5(;$0,1$7,21%<&2816(/)25'()(1'$17

       %<05325$'$

       4, PVKRZLQJ\RXZKDWZH YHPDUNHGDV

       ([KLELW7KLVLVWKH'HFHPEHU

       GXSOLFDWHSD\PHQWUHYLHZ,353VXEPLVVLRQRI$&/5LV

      WKDWULJKW"

      $<HV7KDW VFRUUHFW

      47KLVGRFXPHQWZDVSUHSDUHGIROORZLQJ

      $&/5 VUHYLHZRIWKH3'(VDQGZKDWHYHU5),

      VXEPLVVLRQVLWUHFHLYHGIURPWKHSODQVSRQVRUVLQ

      UHVSRQVHWRWKH5),VLVWKDWULJKW"

      $7KDW VFRUUHFW

      4,I\RXORRNDWSDJH$DWWKHWRS

      FRUQHUWKHRYHUYLHZWKHUHUHIHUHQFHVSODQVWKDW

      UHFHLYHGDQ5),6RZRXOGWKDWKDYHEHHQWKHWRWDO

      QXPEHURISODQVWKDW$&/5KDGLGHQWLILHGDVKDYLQJ

      SRWHQWLDOGXSOLFDWHSD\PHQWVWKDWZHUHVHQWWKH5),V"

      $7KHDQGWKH




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA271
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 291 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       4:DVWKDWPLOOLRQQXPEHURI

       GXSOLFDWHSD\PHQWVWKHWRWDOZDVWKDWFDOFXODWHG

       XVLQJWKHUHYLVHGSURWRFROWKDWZHORRNHGDWLQ

       ([KLELWRUDGLIIHUHQWSURWRFRO"

       $,WZDVQR,WZDVWKHDSSURYHGDXGLW

       GXSOLFDWHSD\PHQWSURWRFROIRUWKHRULJLQDO1$,53RU

       WKHUHYLVHG1$,53

       46RLWZDVXVLQJWKHSURWRFROWKDWZDV

       FRQWDLQHGLQWKHUHYLVHG1$,53WKDWZDVVXEPLWWHG

      EDFNLQ0D\"

      $7KDW VFRUUHFW

      46RWKHQLI, PXQGHUVWDQGLQJFRUUHFWO\

      WKLVPLOOLRQWRWDOGRHVQRWWDNHLQWRDFFRXQW

      WKHUHYLVHGSURWRFROWKDWZDV([KLELWLVWKDW

      ULJKW"

      $:HOOLQVRIDUDVZHKDGWKHHYLGHQFH

      VXSSRUWLQJLW6R,WKLQN,PHQWLRQHGHDUOLHUWKDW

      ZHGLGQ WVXEPLWRUWKDW&06GLGQ WVHQGRXWWKH

      UHYLVHGH[FHSWLRQUHSRUW6R,UHYHUWHGEDFNWRWKH

      RULJLQDODSSURYHGSURWRFRO

      ,QRXUVXEVHTXHQWGHWHUPLQDWLRQVLILWZDVD

      GRVDJHFKDQJHZHZRXOGUHPRYHLW6RWKDW VZKDWZH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA272
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 292 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       GLG

       4,IWKHUHZDVGRFXPHQWDWLRQWR

       VXEVWDQWLDWHWKHGRVDJHFKDQJH"

       $7KDW VFRUUHFW

       4,I,FRXOGKDYH\RXWXUQWRWKHQH[W

       SDJHWKHUH VDVHFWLRQFDOOHG&3,&RQVLGHUDWLRQ'R

       \RXVHHWKDW"

       $<HV

       4,QWKHVHFRQGVHQWHQFH\RXVDLG:H

      DOVREHOLHYHKRZHYHUWKDWDXGLWVDUHIOXLGLQ

      QDWXUHDQGVKRXOGEHDGDSWLYHWRREVHUYDWLRQPDGH

      GXULQJWKHDXGLW

      'R\RXVHHWKDW"

      $8PKXP

      46RGLG$&/5DJUHHWKDWLVVXHVPLJKW

      DULVHDIWHUDQDXGLWZDVDSSURYHGWKDWPLJKWUHTXLUH

      FKDQJLQJWKHPHWKRGRORJ\RUWKHSURWRFROIRUSXUVXLQJ

      WKHDXGLW"

      $%DVHGRQREVHUYDWLRQV\HV

      4$QGWKDWFRXOGEHDSSURSULDWHLQVRPH

      FLUFXPVWDQFHVWRUHQGHUPRUHDFFXUDWHUHVXOWV"

      $<HV




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA273
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 293 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       WKHILUVWH[FOXGHGSURYLGHUDXGLWWKDWZHGLG,Q

       WKLVFDVHZHKDGDVROLG62:

       ,VXEPLWWKHUHFRUGV7KH\SHUIRUPWKH

       YDOLGDWLRQ,IWKH\GLVDJUHHGWKHUH VDSURFHVV

       EXLOWLQWKHFRQWUDFWIRUWKDW,QWKLVFDVHLWZDV

       DSSDUHQWWKDWWKH\GLGQ WHYHQUHYLHZRXUVXEPLVVLRQ

       \RXNQRZEHFDXVHWKHVXEPLVVLRQZKHQZHGLGRXU

       VXEPLVVLRQLIWKHUHZDVHYLGHQFHIRUDGRVDJH

       FKDQJHZHUHPRYHGLWSHULRG

      6RDJDLQLIWKH\ UHFRPLQJXSZLWKWKHH[DFW

      VDPHHUURUUDWHWKDWWKH\KDGEHIRUH,PHDQWRPH

      DWOHDVWFOHDUO\LW VVD\LQJWKDWWKH\GLGQ W

      UHYLHZWKHVXEPLVVLRQDQGP\XQGHUVWDQGLQJRIKRZ

      WKH\RSHUDWHDQGWKHSUREOHPVWKDWWKH\KDYHZLWK

      UHVSHFWWRSHUIRUPLQJWKHYDOLGDWLRQV\RXNQRZWKLV

      LVWKUHHZHHNVODWHU,GRXEWH[WUHPHO\YHU\PXFK

      WKDWWKH\ZRXOGKDYHHYHQVRUWHGWKHGDWDZH

      VXEPLWWHGRUWKHHYLGHQFHWKDWZDVVXEPLWWHG

      46RWKH(PDLOIURP0RQLTXH+DUULVDVNHG

      $&/5WRSURYLGHWKH'9&ZLWKWKHUHTXHVWHG

      LQIRUPDWLRQE\FORVHRIEXVLQHVV-DQXDU\

      'LG$&/5DFWXDOO\IXUWKHUUHVSRQGWR/HYDQWDDERXW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA274
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 294 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       WKHVHLVVXHV"

       $,GRQ WUHFDOO,WKLQNWKLV,

       EHOLHYHWKLVPLJKWKDYHEHHQP\ODVWUHVSRQVHRQLW

       DQGWKHQDIWHUWKDW,ZRXOGKDYHGHDOWVSHFLILFDOO\

       ZLWKRXUFRQWUDFWLQJRIILFHU

       >$&/5([KLELW1RZDV

       PDUNHGIRULGHQWLILFDWLRQ@

       %<05325$'$

       4,KDYHJLYHQ\RX([KLELWZKLFKLV

      WKH$QQXDO5HSRUW5HFRYHU\$XGLW6HUYLFHVLQ

      6XSSRUWRI3DUW'7KLVLVDQRWKHUDQQXDOUHSRUW

      WKDW$&/5SUHSDUHGLVWKDWULJKW"

      $<HV

      4/HWPHKDYH\RXWXUQWRSDJH$

      'RZQDWWKHERWWRPRIWKDWSDJH\RXWDONDERXW&06

      5XOH ) 'R\RXVHHWKDW"

      $<HV,GR

      47KHQLQWKHEROGWH[W\RXVD\WKDW

      7KHLVVXDQFHRIWKLVUXOHGHPRQVWUDWHGWKDW&06KDG

      ZLOOIXOO\HQJDJHGLQDSUHSODQQHGZHOOFRRUGLQDWHG

      HIIRUWWRGHOD\LPSOHPHQWDWLRQRIWKH3DUW'5$&

      WKDWLWLQWHQWLRQDOO\ZLWKKHOGVXFKLQIRUPDWLRQIURP




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA275
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 295 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       &RUUHFW"

       $7KDW VFRUUHFW\HV

       47KDWZDVWKHILQDOQXPEHUWKDW$&/5

       LGHQWLILHGDVWKHGXSOLFDWHSD\PHQWVIRU"

       $7KDW VFRUUHFW

       4$QGWKDWZDVXVLQJWKHPHWKRGRORJ\WKDW

       LVGHVFULEHGLQWKH,353WKDWZDV([KLELW"

       $7KDWZDVXVLQJWKHPHWKRGRORJ\ZDVLQ

       WKHDSSURYHG1$,53UHYLVHG1$,53

      4)URP0D\"

      $7KDW VFRUUHFW$JDLQ0U3RUDGDZLWK

      UHVSHFWWRWKDWUHYLVHG1$,53WKDWZDVDOVREDVHGRQ

      RXUILQGLQJVIURPWKHDXGLW\RXNQRZEDVHGRQWKH

      HYLGHQFHWKDWZDVVXEPLWWHGWRXV

      4,QUHVSRQVHWRWKH5),V"

      $7KDW VFRUUHFW:HMXVWGLGQ WUHO\RQ

      WKHDSSURYHGSURFHVV:HDFWXDOO\UHYLHZHGWKH

      GRFXPHQWDWLRQDVZHOOWRFRPHXSZLWKWKDWQXPEHU

      >$&/5([KLELW1RZDV

      PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      4,KDYHJLYHQ\RXKHUH([KLELW7KLV




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA276
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 296 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       LVDWHFKQLFDOGLUHFWLRQOHWWHUGDWHG$SULO

       IURP&06WR$&/5,WDNHLW\RXUHFHLYHGWKLVDQG

       UHYLHZHGLWDWWKHWLPH\RXJRWLW

       $<HVZHGLG

       4$QGGLG$&/5XQGHUVWDQGDIWHULW

       UHFHLYHGWKLVWHFKQLFDOGLUHFWLRQOHWWHUWKDW&06KDG

       UHVFLQGHGWKHSULRUDSSURYDOIRUWKHGXSOLFDWH

       SD\PHQWDXGLWLVVXHIRU<HDUVWKURXJK"

       $<HV

      >$&/5([KLELW1RZDV

      PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      4, YHVKRZQKDYH\RX([KLELWZKLFKLV

      WKH0DUFKFHUWLILHGFODLPVXEPLVVLRQIURP

      $&/5WR&06LVWKDWULJKW"

      $<HV

      4$QGWKLVLVLI\RXORRNDWWKHODVW

      SDJH\RXVLJQHGWKHOHWWHUDQG\RXVLJQHG

      FHUWLILFDWLRQ&RUUHFW"

      $7KDW VFRUUHFW

      47KLVZDVDFWXDOO\VXEPLWWHGWR&06SULRU

      WRWKHWHFKQLFDOGLUHFWLRQOHWWHUWKDWZHMXVWORRNHG




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA277
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 297 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       DWDV([KLELW5LJKW"

       $7KDW VFRUUHFW

       4/HWPHKDYH\RXWXUQWRWKHVHFWLRQWKDW

       VD\VUHOLHIUHTXHVWHGWKHVHFRQGWRWKHODVWSDJH

       QXPEHU1RDVNVIRUDQGLWVD\VLW V

       UHODWHGWRLPSURSHUSD\PHQWVLGHQWLILHGGXULQJWKH

       EDVHSHULRGRIWKHFRQWUDFW5LJKW"

       $7KDW VFRUUHFW

       46RWKDWZRXOGEHWKHFRQWLQJHQWIHHWKDW

      $&/5FODLPVWKDWLWZRXOGEHHQWLWOHGWRUHFHLYHRQ

      WKHPLOOLRQRIGXSOLFDWHSD\PHQWVWKDWLW

      LGHQWLILHG"

      $7KDW VFRUUHFW

      4:H OOVNLS1R

      1RUHTXHVWVDQGWKDWZRXOGEH

      WKHFRQWLQJHQWIHHWKDW$&/5FODLPVLWZRXOGKDYH

      UHFHLYHGLIWKHGXSOLFDWHSD\PHQWDXGLWKDG

      SURFHHGHGDQGWKHPLOOLRQLGHQWLILHGE\$&/5

      ZDVUHFRYHUHG&RUUHFW"

      $&RUUHFW

      42WKHUWKDQWKHDQGGXSOLFDWH

      SD\PHQWDXGLWLVVXHVLVLWFRUUHFWWKDW$&/5 V




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA278
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 298 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       GDPDJHVLQWKLVFDVHDUHQRWEDVHGRQWKHGHQLDORU

       WHUPLQDWLRQRIDQ\RWKHUUHFRYHU\DXGLWLVVXHVEH\RQG

       WKRVHWZRGXSOLFDWHSD\PHQWDXGLWLVVXHV",VWKDW

       ULJKW"

       $7KDW VFRUUHFW

       4'RHV$&/5NQRZZKHWKHU&06DFWXDOO\

       UHFRXSHGDQ\RIWKRVHDOOHJHGLPSURSHUSD\PHQWVIRU

       HLWKHUWKH RUGXSOLFDWHSD\PHQWDXGLW

       LVVXHV"

      $,FDQ WTXDOLI\WKDW,ZRXOGQ WEH

      VXUSULVHGLIWKH\KDG

      4%XW\RX UHQRWDZDUHRIDQ\LQIRUPDWLRQ

      DVWRZKHWKHUWKH\VSHFLILFDOO\GLGUHFRXSDQ\RI

      WKRVHDPRXQWV"

      $7KDW VFRUUHFW

      42UZKHWKHUWKH\UHFRXSHGDOORIWKRVH

      DPRXQWV"

      $7KDW VFRUUHFW

      41RXQGHUWKHUHOLHIUHTXHVWHGDVNV

      IRUIRUDPRXQWVH[SHQGHGUHDVRQDEOH

      H[SHFWDWLRQVRISURILWDQGQHWRIDPRXQWVDOUHDG\

      FROOHFWHGDULVLQJIURP$&/5HIIRUWVGXULQJVXEVHTXHQW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA279
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 299 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       PRGLILFDWLRQVRIWKHFRQWUDFW,VWKDWZKDW\RXZHUH

       GHVFULELQJHDUOLHUWRGD\DVDPRXQWVWKDW$&/5

       H[SHQGHGLQDQGQHWRIZKDWHYHULWUHFHLYHG

       LQFRQWLQJHQWIHHVIRUDXGLWLVVXHVGXULQJWKRVH

       \HDUV"

       $<HDKDQGLQWKLVFDVHZHZHUHORRNLQJ

       DWDOORIWKHVHDUHEDVHGRQUHDVRQDEOH

       H[SHFWDWLRQVRISURILWEXWLQWKLVFDVHULJKWKHUH

       ,OLPLWHGVLQFH,ZDVEDVHGLWRQDFWXDOWKHFRVW

      RIGHOD\V,OLPLWHGWKHUHDVRQDEOHH[SHFWDWLRQVWR

      ZKDWRXUSURILWH[SHFWDWLRQVRUZKDWRXUDFWXDO

      SURILWVKDGEHHQLQSULRU\HDUVEHIRUHZHJRWWKH&06

      FRQWUDFW

      46RWKDWZDVEDVHGRQSURILWSHUFHQWDJHV

      WKDW$&/5KDGUHDOL]HGGRLQJLWVSULRUZRUNLQ

      SULYDWHLQGXVWU\"

      $7KDW VFRUUHFW<RXNQRZIRUH[DPSOH

      LQWKHSHULRGZHGLGQ W\RXNQRZIRUWKHSHULRG

      RI DQG ZHGLGQ WDVNIRUDFRQWLQJHQF\IHH

      RQWKHELOOLRQGROODUVWKDWZHVXEPLWWHG7KLVZDV

      \RXNQRZRXUDSSURDFKKHUHZDVMXVWWRORRNDW

      UHDOO\WKHDPRXQWRIWLPHWKDWKDGEHHQH[SHQGHG




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA280
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 300 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       WU\LQJWRGHYHORSDQHZ62:

       46RWKLVSHULRGRIGHOD\LQDQG

       LVLWEDVHGRQ&06GHOD\VLQDSSURYLQJDQ\

       DXGLWLVVXHV"

       $:HOO,ZRXOGVD\WKDWWKH\GLGQ W

       DSSURYHDQ\WKLQJDWWKDWSRLQWLQWLPH7KHUHZDVQR

       DELOLW\IRUWKHPWRDSSURYHDXGLWLVVXHV

       ,PHDQWKH3:6ZDVVWLOOLQSODFH\RXNQRZ

       DQGXQGHUWKH3:6ZHPDGHDGHWHUPLQDWLRQRI

      LPSURSHUSD\PHQWVQRW&06DQG,WKLQNDV,

      WHVWLILHGHDUOLHUDWWKHHQGRIZHVXEPLWWHGD

      ELOOLRQGROODUV,RQFHDJDLQWROGWKHPWKDW,ZDV

      JRLQJWRVXEPLW\RXNQRZLQDFFRUGDQFHZLWKRXU

      3:6\RXNQRZLIQRWKLQJHOVHMXVWWRJHWPRYHPHQW

      ,WKDGEHHQWZR\HDUVVLQFHWKH\ILUVWJDYHXV

      DGUDIW62:DQGQRWKLQJZDVKDSSHQHG

      46RZKDWZDVWKHGHOD\LQDQG"

      :DVLWWKHGHOD\LQILQDOL]LQJWKH62:"

      $:HOOWKHUHZHUHPXOWLSOHGHOD\V

      $JDLQWKHWLPHOLQHVWKHPPHHWLQJWLPHOLQHVUHDOO\

      QHYHURFFXUUHG,WJRWVREDGWKHFRQWUDFWLQJ

      RIILFHUILQDOO\HOLPLQDWHGDOORIWKHP6RWKRVH




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA281
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 301 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       $:HOOZLWKUHVSHFWWRDJDLQJRLQJ

       EDFNWRWKHUHDVRQDEOHH[SHFWDWLRQRISURILWORQJ

       EHIRUHWKDWFRQWUDFWHYHQVWDUWHGEHIRUHZHZHUH

       DZDUGHG,ZDVDOUHDG\\RXNQRZPDNLQJWKRVH

       FDOFXODWLRQV,ILJXUHGE\WKDWWLPH,SRVVLEO\

       ZRXOGEHUHWLUHGDQGOLYLQJRQDQLVODQGDQ\ZKHUH,

       PHDQDWWKDWSRLQWLQWLPH,ILJXUHGZRXOGKDYH

       UHFHLYHGKXQGUHGVRIPLOOLRQVEDFNLQLPSURSHU

       SD\PHQWV

      ,I\RXORRNDWWKH$%SURJUDPLQWKUHH

      \HDUVWKH\KDGUHFRYHUHGDELOOLRQGROODUV3DUW'

      DXGLWVZHUHVLJQLILFDQWO\HDVLHUWKDQGHWHUPLQLQJWKH

      PHGLFDOQHFHVVLW\UHYLHZVLQ$DQG%

      4$OWKRXJK3DUW$DQG%3URJUDPVDUHPXFK

      ODUJHUWKDWWKDQ'WR\RXUXQGHUVWDQGLQJLVWKDW

      FRUUHFW"

      $,XQGHUVWDQGWKDWEXWVRDUHWKHUHYLHZ

      SURWRFROVIRUH[DPSOHPHGLFDOQHFHVVLW\WKDW

      UHTXLUHVLQWHQVHUHYLHZV$FWXDOO\,IRXQGRXWLQ

      GLVFRYHU\WKDWZHZHUHQ WHYHQZLWKRXWRXU

      NQRZOHGJHQRWDEOHWRJRDIWHUPHGLFDOQHFHVVLW\

      UHYLHZV




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA282
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 302 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       4:KDWGRFXPHQWDWLRQGRHV$&/5KDYHWKDW

       VXEVWDQWLDWHVRUGRFXPHQWVWKDWPLOOLRQLQWKH

       GHOD\GDPDJHVWKDW\RX UHFODLPLQJLQ1R",VLW

       ZKDWHYHU\RXVXEPLWWHGZLWKWKHFHUWLILHGFODLP"

       $,FDQ WUHPHPEHU, PVXUHWKDWWKRVH

       DPRXQWVZRXOGEHLQWKHUHEXW,GRNQRZWKDWLQ

       GLVFRYHU\IRUWKLVFDVH,GLGKDYHWRSURYLGHWKRVH

       FDOFXODWLRQV

       46RLVLW$&/5 VSRVLWLRQWKDWWKH

      FRPSDQ\KDVSURGXFHGGRFXPHQWVEH\RQGZKDWHYHUZDV

      LQFOXGHGZLWKWKHFHUWLILHGFODLPWKDWVXEVWDQWLDWH

      WKDWILJXUHLQSDUWLFXODUWKDWPLOOLRQILJXUH"

      $,W VP\WHVWLPRQ\WKDW,GRQ WUHPHPEHU

      ZKDWZDVLQWKHUHRUZKDWVXSSRUWLQJGRFXPHQWZDV

      VXEPLWWHGZLWKWKHFODLPEXWFHUWDLQO\ZHKDYH

      VLQFHVXEPLWWHGWKDWGRFXPHQWDWLRQ,GRUHFDOO

      GRLQJLWGXULQJGLVFRYHU\

      4:KDWW\SHVRIGRFXPHQWVGR\RXUHFDOO

      SURGXFLQJLQGLVFRYHU\WKDWUHODWHWRWKDW

      PLOOLRQFODLP"

      $,WKLQNWKHUHZHUHVRPHLQFRPHDQG

      SURILWORVVVWDWHPHQWV,FDQ WUHPHPEHULIWKHUH




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA283
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 303 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       ZHUHEDODQFHVKHHWV7KHUHZHUHDOVRRXUVSUHDGVKHHW

       FDOFXODWLRQVZLWKUHVSHFWWRKRZZHFDOFXODWHGWKH

       LQLWLDOLQFXUUHGDPRXQWV,GLGLWDWWZRGLIIHUHQW

       OHYHOV2QHZDVDPL[WXUHRIFRVWVLQFXUUHGDQG

       WKHQ,DOVRGLGDFDOFXODWLRQRQRXU*6$FRQWUDFWHG

       UDWHVIRUSHUVRQQHODQGWKHWLPHVSHQWRQWKDW

       FRQWUDFW,I,UHPHPEHUFRUUHFWO\ZHDYHUDJHGWKRVH

       WZRDPRXQWVDQGWKHQVXEWUDFWHGRXWUHFRYHULHV

       4:KHQ\RXVD\\RXVXEWUDFWHGRXW

      UHFRYHULHVGRHVWKDWPHDQ\RXVXEWUDFWHGRXWHYHU\

      GROODUWKDW$&/5UHFHLYHGLQFRQWLQJHQWIHHVGXULQJ

      DQG "

      $:HOOZHGLGQ WUHFHLYHDQ\PRQH\LQ

      EXWDQG ,WKLQNPD\EHHYHQXSWKURXJK

      WKHFODLP,FDQ WUHPHPEHUH[DFWO\ZKDWLWZDVEXW

      WKHDPRXQWZDVD,WKLQNZDVWKHDPRXQW

      WKDWZHUHGXFHG

      >$&/5([KLELW1RZDV

      PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      4,KDYHVKRZQ\RXQRZZKDWZHPDUNHGDV

      ([KLELWZKLFKLVDWDEOHWKDW VWLWOHG&RQWUDFW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA284
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 304 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       SHULRGV\HV

       46RDUH\RXVD\LQJWKDWDOORIWKHVH

       GLIIHUHQWVXEPLVVLRQVDQGGHFLVLRQVRFFXUUHGZLWKLQ

       WKDWWR WLPHIUDPH"

       $6RPHRIWKHVHZRXOGKDYHRFFXUUHG

       DIWHUZDUGV,WKLQNLQIDFWVRPHRIWKHPDUHQRWHG

       KHUHDVVWDUWLQJLQ

       45LJKW7KH1$,53GHQLDOVWKDWDUH

       GHVFULEHGWKHUHDOOVHHPWREHEXWZLWKUHVSHFW

      WRWKHUHFRYHU\DXGLWVLQWKHWRSWDEOHDUHWKRVH

      DOODXGLWVWKDWRWKHUWKDQWKHGXSOLFDWHSD\PHQWV

      DUHWKRVHRWKHURQHVDOODXGLWVWKDW&06DSSURYHGDQG

      WKDWSURFHHGHG"

      $7KDW VFRUUHFW\HV

      46RLQWHUPVRIWKHSHULRGRIGHOD\WKDW

      UHODWHVWR\RXUPLOOLRQGHOD\FODLPLVLW

      VLPSO\-DQXDU\WKURXJK'HFHPEHU"

      $<HV

      46RWKHVHVSHFLILFQXPEHURIGD\VKHUH

      WKDWDUHLGHQWLILHGIRUHDFKRIWKHVHSDUWLFXODU

      LVVXHVGRQ WUHODWHWRWKDWGHOD\FODLPEHFDXVHWKH

      GHOD\FODLPLVVLPSO\ERWK\HDUVLQWKHLUHQWLUHW\




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA285
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 305 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       WKLQNRIVXEPLWLW VOLNHDIRUPDOSURFHVV,PD\

       KDYHVKDUHGLWZLWKWKHPEXWDJDLQXQGHUWKH3:6

       WKDWZDVH[LVWLQJ\RXNQRZLWZDV\RXNQRZ,

       GLGQ WVXEPLW

       42ND\/HW VXVHWKHZRUGVKDUHWKHQ

       LIWKDW VZKDW\RXSUHIHU'R\RXUHFDOOVKDULQJ

       WKLVWDEOHZLWK&06SULRUWR"

       $1R,GRQ WUHFDOOLW

       4$QGFDQ\RXWHOOPHZKDWLVWKLVWDEOH

      UHIOHFWLQJRUUHSUHVHQWLQJ"

      $7KLVZDVRXUFDOFXODWLRQRIWKHLPSURSHU

      SD\PHQWVDVVRFLDWHGZLWKRXUGXSOLFDWHSD\PHQW

      SURWRFROIRUWKHGXSOLFDWHSD\PHQWVZHLGHQWLILHGLQ

      

      4)RU3D\PHQW<HDU"

      $7KDW VFRUUHFW

      46RLI\RXORRNDWWKHODVWSDJHWKHUH V

      DWRWDODWWKHYHU\ERWWRP7KDWVHHPVWREHWKH

      VDPHPLOOLRQQXPEHUWKDWFDUULHVIRUZDUGLQWR

      \RXUFRPSODLQWDVWKHDPRXQWRIGXSOLFDWHSD\PHQWV

      \RXEHOLHYH\RXLGHQWLILHGIRU&RUUHFW"

      $7KDW VFRUUHFW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA286
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 306 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       46RLI, PXQGHUVWDQGLQJWKLVWKLVWDEOH

       LVOLVWLQJHDFKFRQWUDFWRIUHFRUGLQZKLFK$&/5

       LGHQWLILHGDQ\DPRXQWRIZKDWLWEHOLHYHGZHUH

       GXSOLFDWHSD\PHQWVLVWKDWULJKW"

       $7KDW VFRUUHFW

       4$QGWKHQLWOLVWVWKHWRWDODPRXQWIRU

       HDFKFRQWUDFWRIWKHSD\PHQWVWKDW$&/5EHOLHYHGZHUH

       GXSOLFDWHV5LJKW"

       $7KDW VFRUUHFW

      47KLVWDEOHGRHVQ WLGHQWLI\WKHVSHFLILF

      3'(VLW VMXVWWKHWRWDODPRXQWIRUHDFKFRQWUDFW

      WKDW\RXEHOLHYHGZHUHGXSOLFDWLYHLVWKDWFRUUHFW"

      $7KDW VFRUUHFWDOWKRXJK,EHOLHYHLQ

      WKHFODLPLWVHOIZHVXEPLWWHGD&',EHOLHYHWKDW

      DOOWKH3'(VZHUHZLWKLWDVZHOOEXWZHGLGQRW

      SULQWRIIWKHH[FHSWLRQUHSRUWVIRUWKDW

      46RLW V\RXUEHOLHIWKDWDORQJZLWKWKH

      FHUWLILHGFODLPWKHUHZDVD&'WKDWZDVVXEPLWWHG

      WKDWKDGDOORIWKH3'(VIRUDOORIWKHVH

      PLOOLRQIRUGXSOLFDWHSD\PHQWV"

      $:HOOQRWMXVWWKDWEXWWKHWRWDOLW\RI

      RXUFODLP:HLQFOXGHGDOORIWKHHYLGHQFHLQWKHUH




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA287
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 307 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       LQFOXGLQJWKLVWDEOHIRUH[DPSOH7KHFODLPWKDW,

       ILOHGZLWKWKHPRUWKDW,HOHFWURQLFDOO\VXEPLWWHGWR

       &06,EHOLHYHRQO\LQFOXGHGWKHFODLPLWVHOIQRW

       DOOWKHVXSSRUWLQJGRFXPHQWV,EHOLHYHWKDWZH

       )HG([ GWKDWLQIRUPDWLRQWRWKHPRURYHUQLJKWHGLW

       WRWKHP

       4%XWLW V\RXUEHOLHIWKDWLQFRQQHFWLRQ

       ZLWKWKHFHUWLILHGFODLP\RXSURYLGHG&06ZLWKILOHV

       RIDOOWKHLQGLYLGXDO3'(VWKDWPDNHXSWKLV

      PLOOLRQ"

      $<HV,EHOLHYHVR0U3RUDGD,W V

      GLIILFXOWWRUHPHPEHUWKDWEXW, PDOPRVWSRVLWLYH

      WKDWZHGLG

      >$&/5([KLELW1RZDV

      PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      47DNHDORRNDW([KLELW7KLVLVD

      -XQHOHWWHUWR\RXIURP&067KLVLV&06 V

      UHVSRQVHWR$&/5 VFHUWLILHGFODLPWKDWZHORRNHGD

      PRPHQWDJR([KLELWLVWKDWULJKW"

      $7KDW VFRUUHFW

      4$&/5XQGHUVWRRGZKHQLWJRWWKLVWKDW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA288
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 308 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       05%21(//2,MXVWZDQWWRFODULI\<RX UH

       WDONLQJDERXWWKLVFDVH"

       %<05325$'$

       4,QWKLVFDVH\HVEHFDXVHLQWKLVFDVH

       \RX UHFODLPLQJGHOD\GDPDJHVIRUWKDWSHULRGRIWLPH

       LQOLHXRIGDPDJHVEDVHGRQFRQWLQJHQWIHHVIRU

       VXEPLVVLRQVWKDWZHUHGHQLHG,WKLQNWKDW VZKDW

       \RXWHVWLILHGHDUOLHU&RUUHFW"

       $:HOO, PVWDWLQJWKDWWKDWZDVQ WWKH

      GDPDJHVWKDWZHJRW,GRQ WNQRZWKDW,WHVWLILHG

      WKDW,GLGWKDWLQOLHXRIEXW\RXNQRZZHEDVHG

      LWRIIRIRXUFDOFXODWLRQRILQFXUUHGFRVWVRUDQ

      HVWLPDWHRIRXULQFXUUHGFRVWVDQGWKHDPRXQWVWKDW

      ZHGLGWKDWZHFDOFXODWHGIURPRXU*6$VFKHGXOH

      UDWHVOHVVWKHUHFRYHULHVWKDWZHUHFHLYHG

      46RLQWKLVFDVH\RX UHQRWVHHNLQJDQ\

      FRQWLQJHQWIHHVXQGHUWKDWELOOLRQGROODUVRIDOOHJHG

      LPSURSHUSD\PHQWVWKDW\RXVXEPLWWHGLQ1RYHPEHU

      &RUUHFW"

      $7KDW VFRUUHFW

      4/HWPHKDYH\RXORRNDWSDUDJUDSK

      3DUDJUDSKWDONVDERXW-XO\ZLWK&06QRWLI\LQJ




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA289
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 309 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       $&/5WKDW&06KDGUHVFLQGHGDQDSSURYDORIWKH

       DQG GXSOLFDWHSD\PHQWLVVXH$&/5LVQRW

       FODLPLQJDQ\GDPDJHVEDVHGRQFRQWLQJHQWIHHV

       FDOFXODWHGRIIRIWKDWPLOOLRQIRUDQG

       LVWKDWULJKW"

       $1RWIRUWKLVFRPSODLQWQR

       47KDWPLJKWEHLQWKHWKLUGFDVHLVWKDW

       ZKDW\RX UHVD\LQJ"

       $2UIXWXUHFODLPV1R,GRQ WWKLQNLW

      LVDFWXDOO\LQFOXGHGLQ$&/5RU$&/5

      42ND\7KHUHPLJKWEHDQ$&/5FRPLQJ"

      $<RX UHDVNLQJPHWRJXHVVEXW,GRQ W

      NQRZDWWKLVWLPH

      4&DQ,KDYH\RXORRNDWSDUDJUDSK

      7KLVLVWDONLQJDERXWWKHPLOOLRQLQGXSOLFDWH

      SD\PHQWVIRUDQGWKDWLVSDUWRIWKLVFDVHWKH

      GDPDJHV&RUUHFW"

      $7KDW VFRUUHFW

      45LJKWDQGLQWKDWSDUDJUDSK\RXVD\

      WKDW$&/5QRWLILHG&06WKDWLWVHGLWFKHFNGLGQRW

      PDWFKSODQVSRQVRUHYLGHQWLDU\VXEPLVVLRQVDQGZDVLQ

      HUURULQSHUFHQWRIDOOLQVWDQFHVLQZKLFKLW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA290
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 310 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       <HDK, PVXUHWKDWZHGLGLQGLVFRYHU\,

       GRQ WNQRZLVWKHVKRUWDQVZHU,NQRZWKDWWKH

       WRWDOFRVWVDVVRFLDWHGZLWKWKRVHUHFRUGVZHUH

       LQFOXGHG

       4,QWKHIRUPRIWKHDQQXDOILQDQFLDO

       VWDWHPHQWV"

       $7KDW VFRUUHFW

       46RWKDWZRXOGEHDVXPPDU\WRWDOIRUWKH

       \HDU&RUUHFW"

      $7KDW VFRUUHFW

      46REXWLQWHUPVRIPRUHVSHFLILFSD\UROO

      UHFRUGVRUWLPHNHHSLQJV\VWHPUHFRUGVWKDWVKRZZKR

      ZDVZRUNLQJRQZKDWLVVXHVDQGZKHQWKRVHW\SHVRI

      WKLQJVKDYHQ WEHHQSURGXFHGLVWKDWFRUUHFW"

      $<HDK:HGLGQ WWUDFNFRVWVWKDWZD\

      05%21(//2,WKLQN\RX UHJHWWLQJFORVHWR

      WKHHQG

      05325$'$,WKLQNZHDUH

      >$&/5([KLELW1RZDV

      PDUNHGIRULGHQWLILFDWLRQ@

      %<05325$'$

      46R\RXKDYHLQIURQWRI\RXQRZ([KLELW




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA291
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 311 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       7KHVHDUHWKHLQLWLDOGLVFORVXUHVIURP$&/5LQ

       WKLVFDVHLVWKDWULJKW"

       $<HV

       46HFWLRQ&FRQWDLQV$&/5 VFRPSXWDWLRQRI

       GDPDJHV'R\RXVHHWKDW"

       $<HV

       47KRVHDUHWKHVDPHDPRXQWVWKDWZH YH

       DOUHDG\WDONHGDERXWWKDWZHUHLQWKHFRPSODLQWDQG

       WKHFHUWLILHGFODLP&RUUHFW"

      $<HV

      46RZLWKUHVSHFWWRWKHFRQWLQJHQWIHH

      IRUWKHGXSOLFDWHSD\PHQWVRIDQGDKDOI

      PLOOLRQGROODUVLVWKDWVLPSO\DFDOFXODWLRQRI

      VHYHQDQGDKDOISHUFHQWZKLFKZDVWKHFRQWLQJHQW

      IHHXQGHUWKHEDVHFRQWUDFWWLPHVWKHPLOOLRQ

      LQWKHWRWDORIWKHDOOHJHGGXSOLFDWHSD\PHQWVIRU

      WKDW\HDU"

      $<HV

      42QWKHPLOOLRQGHOD\GDPDJHSLHFH

      \RXPHQWLRQHGWKDWWKHSURILWUDWHWKDW$&/5DSSOLHG

      ZDVEDVHGRQDKLVWRULFDOUDWHEHIRUHWKH&06

      FRQWUDFW:KDWUDWHZDVXVHG"'R\RXNQRZ"




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA292
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 312 of 514

&KULVWRSKHU0XFNH E                                        1RYHPEHU
                                  5HVWRQ9$

                                                                   3DJH
       $,ZDQWWRWKLQNLWZDVDERXWSHUFHQW

       WRSHUFHQW:HKDGKDGDQHQRUPRXVSURILW

       PDUJLQEXW,EHOLHYHLWZDVDQ\ZKHUHIURPWR

       SHUFHQW

       47KDWKDGEHHQ$&/5 VKLVWRULFDOSURILW

       UDWHRQWKHSULYDWHFRQWUDFWZRUN"

       $<HV

       4,VKRXOGVD\SULYDWHLQGXVWU\ZRUN

       $<HV

      42YHUZKDWSHULRGRIWLPHKDG$&/5

      UHDOL]HGWKDWSURILWUDWHLQWKHSDVW"

      $3UREDEO\VLQFHZHZHUHLQEXVLQHVV,

      PHDQLWZDVDOZD\VSUHWW\KLJK,W VGLIILFXOWWR

      VD\,QLWLDOO\ZKHQ,ZHQWRXWRQP\RZQ,WKLQN,

      WHVWLILHGLQ$&/5WKDWZHKDGWKDWWKHSUHYLRXV

      FRPSDQ\ZDV&RUSRUDWH7D[&RQVXOWDQWVDQGLWZDV

      WKRVHSHULRGVWKDWZHZHUHGRLQJLQLWLDOO\,ZDV

      DFRQWUDFWRUDQGLWZDVMXVWPHEXWWKHQDVZH

      H[SDQGHGWKRVHUDWHVZHUHDOZD\VSUHWW\FORVHWR

      WKDWDPRXQW

      6R\HDK,WZRXOGKDYHEHHQZHZHUHDOZD\V

      SUHWW\SURILWDEOH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA293
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 313 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       \HDUVWKDWRUWKRVHWZR\HDUVWKDWQRWKLQJZDV

       GRQHRUPRUHDFFXUDWHO\QRWPXFKZDVGRQH

       4)RUWKHQH[WSLHFHRIWKHGDPDJHVWKH

       PLOOLRQWKDW VEDVHGRQGXSOLFDWHSD\PHQW

       DXGLWLVVXHDQGWKHZD\\RXGHWHUPLQHGWKDWZDVLW

       VLPSO\E\WDNLQJWKHPLOOLRQLQWKHWRWDO

       DPRXQWRIWKHDOOHJHGGXSOLFDWHSD\PHQWVWKDW\RX

       LGHQWLILHGIRUDQGWDNLQJWKHSHUFHQW

       FRQWLQJHQWIHHRIIWKHILUVWPLOOLRQDQGWKHQ

      SHUFHQWRIIWKHUHPDLQLQJPLOOLRQ"

      $,EHOLHYHWKDW VWKHFDVH\HDK,

      ZRXOGKDYHWRJREDFNDQGORRNDWWKHFRQWUDFW2XU

      FRQWUDFWPLJKWKDYHJLYHQXVDKLJKHUSHUFHQWDJHRQ

      GXSOLFDWHSD\PHQWV7KDWQXPEHUZDVVHSDUDWHGEXW,

      GREHOLHYHLWZDVWKDWFDOFXODWLRQ

      46RLI\RXORRNDW([KLELWZKLFKZDV

      0RGLILFDWLRQRQSDJHRIDWWKHWRS

      ([KLELW

      $, PVRUU\2ND\

      46RWKDW VWKHWDEOHWKHUHWKDWFRQWDLQV

      WKHXSGDWHGFRQWLQJHQWIHHUDWHVIRUWKHGLIIHUHQW

      LVVXHV5LJKW"




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA294
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 314 of 514

&KULVWRSKHU0XFNH E                                       1RYHPEHU
                                 5HVWRQ9$

                                                                  3DJH
       $7KDW VFRUUHFW

       4$QGGXSOLFDWHSD\PHQWVLVQ WFDOOHGRXW

       DVDVSHFLDOLVVXHWKDWJRWVRPHWKLQJKLJKHUWKDQ

       WKDW,WMXVWJRWWKHSHUFHQWRIIWKHILUVW

       PLOOLRQDQGSHUFHQWRIIZKDWHYHULVRQWRSRIWKH

       PLOOLRQ

       $7KDW VFRUUHFW

       46RWKDW VKRZ\RXKDYHZRXOGFRPSXWHG

       WKDWPLOOLRQ"

      $<HV7KDW VFRUUHFW

      05325$'$,GRQ WWKLQN,KDYHDQ\IXUWKHU

      TXHVWLRQV

      05%21(//2+H OOUHDGDQGVLJQ

      >:KHUHXSRQDWSPWKHGHSRVLWLRQ

      FRQFOXGHG@

      >6LJQDWXUHQRWZDLYHG@

 

 

 

 

 

 




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA295
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 315 of 514




              TAB 91
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 316 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                     5HVWRQ9$

                                                                        3DJH
         ,17+(81,7('67$7(6&28572))('(5$/&/$,06

       [

       $&/5//&

                     3ODLQWLII&DVH1RF

          YV                             -XGJH&DPSEHOO6PLWK

       7+(81,7('67$7(6                 

                     'HIHQGDQW          

       [

  

             E      '(326,7,212)&+5,6723+(508&.(

                          5HVWRQ9LUJLQLD

                      0RQGD\6HSWHPEHU

                               DP

 

 

 

 

 

 

      -RE1R

      3DJHV

      5HSRUWHGE\(OL]DEHWK0LQJLRQH535




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA296
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 317 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                      3DJH
       FRUSRUDWHZRUNDQGJRLQJLQWREHJLQQLQJJRYHUQPHQW

       ZRUN:HKDGWRHVWDEOLVKZKHUHZHHVWDEOLVKHG

       \RXU*6$VFKHGXOH,EHOLHYHDWWKHWLPHZHPLJKW

       KDYHEHHQGRLQJVRPHUHVLGXDOWD[ZRUNEXWWKDW V

       DOO,FDQUHFDOO

             4      6RZDVWKLVWKHILUVWJRYHUQPHQWFRQWUDFW

       RQZKLFK$&/5VXEPLWWHGDUHVSRQVH"

             $      1R:HKDGGRQHZHKDGVXEPLWWHG

       SURSRVDOV,EHOLHYHIRUPD\EHWZRRUWKUHH

      GLIIHUHQWFRQWUDFWV,WKLQNRQHRUWZRRIWKHPPD\

      KDYHDOVREHHQZLWK+HDOWKDQG+XPDQ6HUYLFHV

            4      $VRIWKLVSRLQWLQWLPH2FWREHU

      KDG$&/5UHFHLYHGDQ\RWKHUJRYHUQPHQWFRQWUDFWV"

            $      1RZHKDGQRW

            4      :K\ZDVLWWKDW$&/5ZDVPDNLQJD

      WUDQVLWLRQIURPGRLQJFRUSRUDWHZRUNWRZDUGWU\LQJWR

      REWDLQJRYHUQPHQWFRQWUDFWV"

            $      7KHDIWHU,GHFLGHGWRPRYHDZD\IURP

      WD[ZRUN,UHFDOOHGP\HDUOLHUH[SHULHQFHVZRUNLQJ

      ZLWKRWKHUFRPSDQLHVZHGLGDORWRIJRYHUQPHQW

      FRQWUDFWLQJZRUNEDFNWKHQ$QG,NQHZWKDWWKHUH

      ZHUHRSSRUWXQLWLHVIRUUHFRYHULHVLQJRYHUQPHQW$QG




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA297
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 318 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                    5HVWRQ9$

                                                                       3DJH
             4      'LG\RXUHYLHZWKHHQWLUHW\RIWKH

       FRQWUDFWDWWKHWLPHDWWKHWLPH\RXVLJQHGLW"

             $      <HV,GLG

             4      'LG\RXXQGHUVWDQGDOOWKHWHUPVRIWKH

       FRQWUDFWDWWKHWLPH\RXVLJQHGLW"

             $      <HV,GLG

             4      $WWKDWWLPHWKHWLPHWKDW\RXZHUH

       DZDUGHG\RXEHLQJ$&/5ZHUHDZDUGHGWKHFRQWUDFW

       GLG\RXRUDQ\RQHHOVHDW$&/5DVN&06WRDOWHURU

      DPHQGDQ\RIWKHWHUPVRIWKHFRQWUDFWZKHQLWZDV

      DZDUGHG"

            $      $WWKHWLPHRIDZDUG"

            4      <HV

            $      1RZHGLGQRW

            4      ,VLWFRUUHFWWKDW$&/5XQGHUVWRRGDWWKH

      WLPHWKHFRQWUDFWZDVDZDUGHGWKDWLWZRXOGEHSDLG

      RQDFRQWLQJHQF\EDVLVE\&06LVWKDWULJKW"

            $      7KDW VFRUUHFW

            4      <RXPHQWLRQHGDPRPHQWDJRSHUFHQW

      7KDWVHHPVWREHWKHSHUFHQWRIWKHFRQWLQJHQWIHH

      OLVWHGLQ6HFWLRQ1XPEHURQSDJHRI

                   'R\RXVHHWKDW"




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA298
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 319 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
             $      <HV,GR

             4      6RWKDWZDVWKHUDWHWKDW$&/5KDG

       SURSRVHGWR&06IRUWKHFRQWUDFW"

             $      7KDW VFRUUHFW<HV

             4      'R\RXVHHWKHODQJXDJHLQWKHPLGGOHRI

       WKDWSDUDJUDSKWKHILIWKVHQWHQFH,EHOLHYHLW

       VD\V7KHUHFRYHU\DXGLWFRQWUDFWRUVKDOOQRW

       UHFHLYHDQ\SD\PHQWVIRUWKHLGHQWLILFDWLRQRIWKH

       XQGHUSD\PHQWVRURYHUSD\PHQWVQRWUHFRYHUHGVODVK

      FROOHFWHG

                   'R\RXVHHWKDW"

            $      <HV,GR

            4      6RLVLWFRUUHFWWKDW$&/5 VXQGHUVWDQGLQJ

      DWWKHWLPHWKHFRQWUDFWZDVLVVXHGZDVWKDW$&/5

      ZRXOGRQO\EHSDLGEDVHGRQDPRXQWVDFWXDOO\

      UHFRYHUHGRUFROOHFWHGE\&06"

            $      <HV7KDW VFRUUHFW

            4      ,V$&/5DZDUHRIDQ\RWKHUSURYLVLRQRI

      WKHFRQWUDFWKHUHDW([KLELWWKDWSURYLGHVIRU

      SD\PHQWWR$&/5RQDQ\WKLQJRWKHUWKDQD

      FRQWLQJHQWIHHEDVLV"

            $      1R




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA299
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 320 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                       3DJH
       RXURWKHUFOLHQWVDWWKDWSUHYLRXVWRWKDW$QG

       ZHMXVWXVHG&06WUDQVLWLRQHGWKDWRYHUWRWKH&06 V

       V\VWHPV

             4      'LG&06DQ\RQHDW&06DVN$&/5WRPDNH

       DQ\PRGLILFDWLRQVRUUHYLVLRQVWRWKH3:6DWWKHWLPH

       RIWKHLQLWLDOFRQWUDFWDZDUG"

             $      1R1RWWKDW,FDQUHFDOO

             4      6RWRWKHEHVWRI\RXUUHFROOHFWLRQWKH

       SHUIRUPDQFHZRUNVWDWHPHQWWKDWZDVUHIHUHQFHGLQWKH

      LQLWLDOFRQWUDFWZDVSHUFHQW$&/5 VZRUNSURGXFW"

            $      <HV

            4      <RXPHQWLRQHGDIHZPLQXWHVDJRWKDWLQ

      FRQQHFWLRQZLWKVXEPLWWLQJWKHSURSRVDOIRUWKLV

      FRQWUDFW\RXKDGUHFHLYHGDZKROHYDULHW\RISULRU

      2,*UHSRUWVDQGRWKHUUHSRUWVWR&RQJUHVVDQGWKLQJV

      RIWKDWQDWXUHUHODWHGWRWKH3DUW'SURJUDPLVWKDW

      ULJKW"

            $      7KDW VFRUUHFW<HV

            4      +DG$&/5HYHUSHUIRUPHGDQ\ZRUNLQ

      FRQQHFWLRQZLWKWKH3DUW'SURJUDPSULRUWRWKHDZDUG

      RIWKLVFRQWUDFW"

            $      ,WZDVLQGLUHFW, PWU\LQJWRUHPHPEHU




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA300
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 321 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                      3DJH
       RYHUSD\PHQWVLQWKRVHDUHDVDVZHOOEXWLWZDV

       SULPDULO\WD[

             4      'LG$&/5DWWKHWLPHLWZDVDZDUGHGWKLV

       FRQWUDFWWKLQNWKDWLWFRXOGDFKLHYHDKLJKHU

       VXFFHVVUDWHWKDQWKHSHUFHQWWKDW\RXUHSRUWHG

       IRUWKH3DUW$DQG%5$&GHPRQVWUDWLRQSURMHFW"

             $      %H\RQGGRXEWV\HV

             4      :KDWGR\RXUHFDOOZKDW\RXU

       H[SHFWDWLRQZDVDVWRWKHVXFFHVVUDWHWKDW$&/5

      VKRXOGEHDEOHWRDFKLHYH"

            $      ,ZRXOGVD\WKDWZHZRXOGEHDEOHWR

      DFKLHYHFORVHWRSHUFHQW,GLGQRWDQWLFLSDWH

      WKDWZHZRXOGUHFRYHUSHUFHQW

            4      6RZKDW VWKHGLVWLQFWLRQEHWZHHQEHLQJ

      DEOHWRDFKLHYHQHDUO\SHUFHQWEXWQRWH[SHFWLQJ

      WKDW\RXZRXOGEHDEOHWRDFKLHYHQHDUO\SHUFHQW"

            $      7KHSUHYLRXVURDGEORFN,EURXJKWXSLQ

      7KLVLQVWDQFH\RXDUHORRNLQJDWDQLQGXVWU\WKDWLV

      UHFHLYLQJDWOHDVWIRU0HGLFDUHWZRWRVHYHQ

      ELOOLRQGROODUVD\HDULQRYHUSD\PHQWV5HPRYLQJ

      WKDWNLQGRIFDVKIURPDEXVLQHVVLQGXVWU\ZLOOKDYH

      DQLPSDFW




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA301
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 322 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                       3DJH
       RUUHYLVLRQV,GRUHFDOODVNLQJDORWRITXHVWLRQV

       DERXWZKDWZDVLQFOXGHGLQWKHUH

             4      :HUHWKRVHTXHVWLRQVDQVZHUHGWR$&/5 V

       VDWLVIDFWLRQ"

             $      ,WKLQNXOWLPDWHO\\HV

             4      :KHQ\RXVD\XOWLPDWHO\GR\RXPHDQE\

       WKHWLPHWKLVVWDWHPHQWRIZRUNZDVLVVXHGDVSDUWRI

       PRGLILFDWLRQE\WKDWWLPH\RXUTXHVWLRQVKDGEHHQ

       DQVZHUHGWR\RXUVDWLVIDFWLRQ"

            $      <HV

            4      :DVLW$&/5 VXQGHUVWDQGLQJWKDWRQFHWKH

      VWDWHPHQWRIZRUNZDVLVVXHGWKHPHWKRGRISD\PHQW

      IRU$&/5ZRXOGFRQWLQXHWREHRQDFRQWLQJHQWIHH

      EDVLV"

            $      <HV

            4      $QGWKDWZRXOGFRQWLQXHWREHDFRQWLQJHQW

      IHHEDVHGRQDPRXQWVDFWXDOO\UHFRYHUHGE\&06"

            $      7KDW VFRUUHFW<HV

            4      6RWKHFRQWLQJHQWIHHZRXOGQ WEHEDVHGRQ

      DPRXQWVLGHQWLILHGE\$&/5DVRYHUSD\PHQWVRQO\RQ

      DPRXQWVUHFRYHUHG"

            $      7KDW VFRUUHFW




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA302
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 323 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                      3DJH
       GXULQJWKLVVWDWHPHQWRIZRUN

                  :HERWKORRNHGDWLWDQGUHDOL]HGWKDW

       WKHUHZDVQ WDQ\PRQH\WKHUH6RLWZDV\RXNQRZ

       ZHGHFLGHGQRWHYHQWRSURSRVHD1$,537KDWZDVD

       GLVFXVVLRQWKDWWRRNSODFHEHIRUHWKDW$QG,

       DQWLFLSDWHGWKDWVLPLODUGLVFXVVLRQVZRXOGRFFXUZLWK

       DOORIWKRVH:HGLGQRWH[SHFWDEMHFWGHQLDOV

             4      6RLWZDV$&/5 VH[SHFWDWLRQWKDWRQFHD

       1$,53ZKLFKLV1$,53ZKLFKVWDQGVIRU1HZ$XGLW

      ,VVXH5HYLHZ3DFNDJHLVWKDWULJKW"

            $      7KDW VFRUUHFW<HV

            4      6RLWZDV$&/5 VH[SHFWDWLRQWKDWRQFHLW

      VXEPLWWHGD1$,53LWZRXOGZRUNZLWK&06DQG&06

      DQG$&/5WRJHWKHUZRXOGGHFLGHZKHWKHUDQDXGLWLVVXH

      VKRXOGJRIRUZDUGRUQRW"

            $      $EVROXWHO\7KHVWDWXWHVWKHPVHOYHV,

      PHDQSXWWKHEXUGHQRIJRLQJDIWHUWKHVHLPSURSHU

      SD\PHQWVRQ&06<RXNQRZZHPHUHO\VDZRXUVHOYHV

      DVDQDJHQWRI&06LQDVVLVWLQJWKHPWRGRWKDW

            4      6RLIWKHVWDWHPHQWRIZRUNVD\VWKDW&06

      KDVWRDSSURYHDGGLWLRQDODXGLWLVVXHVLQ$&/5 V

      PLQGGLGWKDWLQFOXGHWKHDELOLW\WRQRWDSSURYHD




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA303
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 324 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                       3DJH
       QHZDXGLWLVVXHLI&06GHWHUPLQHGLWGLGQRWZDQWLW

       WRSURFHHG"

             $      <HV

             4      $IWHUWKHVWDWHPHQWRIZRUNZDVLVVXHGRQ

       WKLVFRQWUDFWGLG$&/5HYHUDVVHUWWR&06WKDW$&/5

       KDGWKHULJKWWRSURFHHGZLWKDQDXGLWDEVHQW

       DSSURYDOIURP&06"

             $      )RUWKHVWDWHPHQWRIZRUN"

             4      $IWHUWKHVWDWHPHQWRIZRUNZDVLVVXHG

            $      1R:H,GLGQRW:HGLGQRWEHOLHYH

      WKDWZHKDGWKDWULJKW

            4      /HWPHDVN\RXWRWXUQWR6HFWLRQRI

      WKHVWDWHPHQWRIZRUN<RXVHHWKDWVHFWLRQ"

            $      <HV,GR

            4      'R\RXUHPHPEHUVSHFLILFDOO\ZLWKUHJDUG

      WRWKLVVHFWLRQZDVWKLVWKHODQJXDJHWKDWZDV

      FRQWDLQHGLQWKHRULJLQDOSURSRVDOVIURP%RR]$OOHQ

      +DPLOWRQWKDW\RXGHVFULEHGRUKDGWKHUHEHHQ

      FKDQJHVPDGHWRWKHODQJXDJH"

            $      :HOO,GRQ WUHFDOOWKHUHEHLQJDQ\

      FKDQJHV,EHOLHYHLWZDVWKHVDPHODQJXDJHWKDWZDV

      WKHUHDVSURSRVHGLQ'HFHPEHURIRULQWKH




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA304
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 325 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
             4      $QGLI\RXQRWLFHWKLVYHUVLRQLQWKH

       XSSHUOHIWFRUQHURIHYHU\SDJHWKHUH VD$&/5

       %DWHVQXPEHUZKLFK, OOWHOO\RXLQGLFDWHVWKDW

       WKHVHZHUHSURGXFHGE\$&/5DVSDUWRIWKH

       OLWLJDWLRQ

                    'R\RXUHFDOOWKDW"

             $      <HV,GR

             4      :DVWKLVWKHUHGOLQHGYHUVLRQRIWKDW

       -DQXDU\VWDWHPHQWRIZRUNWKDW\RXGHVFULEHG

      \RXKDGUHFDOOHGVHHLQJLQWKHSDVW"

            $      7KDW VFRUUHFW<HV

            4      ,VLW$&/5 VXQGHUVWDQGLQJWKDWWKH

      UHYLVHGVWDWHPHQWRIZRUNFRQWLQXHGWRSURYLGHIRU

      SD\PHQWVWR$&/5RQO\RQDFRQWLQJHQWIHHEDVLV"

            $      7KDW VFRUUHFW

            4      $QGWKDWDJDLQZDVVWLOOEDVHGRQD

      FRQWLQJHQWIHHRIDPRXQWVDFWXDOO\UHFRYHUHGE\&06

      FRUUHFW"

            $      7KDW VFRUUHFW<HV

            4      ,VLW$&/5 VXQGHUVWDQGLQJWKDWWKLVZDV

      WKHYHUVLRQRIWKHVWDWHPHQWRIZRUNLQHIIHFWDWWKH

      WLPHWKDW$&/5VXEPLWWHGLWVVDOHVWD[DXGLW




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA305
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 326 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                      3DJH
       NQRZWKHDSSHDOSURFHVVHVZRXOGFKDQJH$ORWRI

       WKHSURFHVVHVFKDQJHG'HDGOLQHVZHUHH[WHQGHGDQG

       WKHOLNHEXWWKHUHZDVDQDSSHDOVSURFHVVLQLWLI

       WKDWDQVZHUV\RXUTXHVWLRQ%XWLWGLGFKDQJH

       DFWXDOO\ZLWKHYHU\UHYLHZWKDWZHGLG

             4      2ND\6REXWWKHZD\WKHSURFHVVZRUNHG

       RQFH$&/5ZRXOGLGHQWLI\SRWHQWLDORYHUSD\PHQWVDQG

       SODQVSRQVRUVZHUHQRWLILHGRIWKRVHSRWHQWLDO

       RYHUSD\PHQWVWKHSODQVSRQVRUVZRXOGKDYHDQ

      RSSRUWXQLW\WRUHEXWWKDWILQGLQJHVVHQWLDOO\"

            $      7KDW VFRUUHFW<HV

            4      $QGGLG$&/5XOWLPDWHO\UHFHLYHFRQWLQJHQW

      IHHSD\PHQWVIURP&06EDVHGRQWKHFRPSOHWLRQRI

      WKRVHDXGLWLVVXHVWKDWZHGHVFULEHGHDUOLHUWKH

      H[FOXGHGSURYLGHUVWKHXQDXWKRUL]HGSUHVFULEHUVDQG

      WKH'($VFKHGXOHGGUXJV"

            $      <HVZHGLG

            4      6RDWVRPHSRLQWWKHQDIWHUWKRVHDXGLWV

      ZHUHFRPSOHWHGZDV$&/5QRWLILHGE\&06DERXWWKH

      WRWDODPRXQWVWKDWKDGEHHQUHFRYHUHGRQWKRVHDXGLW

      LVVXHV"

            $      <HVZHKDG




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA306
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 327 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                      3DJH
             4      $QG\RXZHUHWKHQQRWLILHGZKDW\RXU

       FRQWLQJHQWIHHZRXOGEHEDVHGRQWKRVHUHFRYHUHG

       DPRXQWV"

             $      7KDW VFRUUHFW<HV

             4      :KHUHWKHUHDQ\RIWKHDSSURYHGDXGLWV

       WKDW$&/5FRPSOHWHGZKHUHSHUFHQWRIWKH

       LGHQWLILHGRYHUSD\PHQWVWKDWZHUHLGHQWLILHGE\$&/5

       ZHUHUHFRYHUHGE\&06"

             $      :HGLGQ WUHFHLYHZKDWZHLGHQWLILHG

      &RUUHFW,WZDVUHGXFHGGXULQJWKHDSSHDOVSURFHVV

            4      6RWKHWRWDORYHUSD\PHQWDPRXQWVZHUH

      UHGXFHGGXULQJWKHDSSHDOVSURFHVV"

            $      7KDWLVFRUUHFW<HV

            4      ,QVRPHRIWKRVHDSSURYHGDXGLWLVVXHVZDV

      $&/5 VUHFRYHU\UDWHVLJQLILFDQWO\EHORZWKH

      SHUFHQWWKDW\RXKDGSUHGLFWHGDWWKHWLPH\RX

      VXEPLWWHGWKHSHUIRUPDQFHZRUNVWDWHPHQW"

            $      :HOOLIWKHTXHVWLRQSHUWDLQVWR

      SHUFHQWDWWKHWLPHWKDWSHUFHQWZDVSUHGLFDWHG

      RQRXUSHUIRUPDQFHZRUNVWDWHPHQWZKHUHZHZRXOG

      GHWHUPLQHWKHLVVXHVDQGLWZDVSUHGLFDWHGRQJRLQJ

      DIWHUWKHHQWLUHXQLYHUVHRIRYHUSD\PHQWV7RWKH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA307
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 328 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       H[WHQWWKDW\RXUZKHWKHURUQRW\RXDUHDVNLQJLI

       WKHDPRXQWVWKDWZHVXEPLWWHGZHUHUHGXFHGE\

       DSSHDOVWKH\ZHUHUHGXFHG<HV

             4      'LGWKHUHFRYHU\UDWHYDU\VLJQLILFDQWO\

       IURPRQHDXGLWWRDQRWKHURIWKHDXGLWVWKDW$&/5

       FRPSOHWHG"

             $      ,WGHSHQGHGRQWKHFKDQJHVPDGHE\&06

       DIWHUWKHDXGLWLVVXHZDVDSSURYHG%XWLQVRPH

       FDVHVLWGLGQ W,QVRPHFDVHVLWGLG

                                      

                  $GRFXPHQWZDVPDUNHGDV'HSRVLWLRQ

      ([KLELW1XPEHU

                                      

                   %<05325$'$

            4      6R, YHVKRZQ\RXZKDWZH YHPDUNHGDV

      ([KLELW1XPEHU7KLVLVD*$2UHSRUWRI$XJXVW

      HQWLWOHG0HGLFDUH3DUW'&KDQJHV1HHGHGWR

      ,PSURYH&06 V5HFRYHU\$XGLW3URJUDP2SHUDWLRQVDQG

      &RQWUDFWRU2YHUVLJKW

                   'R\RXVHHWKDW"

            $      <HV,GR

            4      ,VWKLVDGRFXPHQWWKDW\RXZHUHIDPLOLDU




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA308
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 329 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       ZLWK"

               $    <HV,DP

               4    6R\RX YHUHYLHZHGLWEHIRUH"

               $    <HV,KDYH

               4    'RHV$&/5KDYHDQ\XQGHUVWDQGLQJDVWRZK\

       WKH*$2LQLWLDWHGWKLVSDUWLFXODULQYHVWLJDWLRQRU

       VWXG\"

               $    :HKDGPDGHVHYHUDOUHTXHVWVRIWKH:D\V

       DQG0HDQV&RPPLWWHHWRORRNLQWR&06 VSUDFWLFHV

      UHJDUGLQJWKH3DUNDQG5HFSURJUDP

              4    :KHQ\RXVD\ZHKDGPDGHWKRVHUHTXHVWV

      ZKRDW$&/5PDGHWKRVHUHTXHVWV"

              $    :HOO,ZRXOGKDYHPDGHWKRVHUHTXHVWV

      $&/5,PHDQFHUWDLQO\,ZRXOGKDYHWDONHGWR*LORQ

      WKRVHWKLQJVUHJDUGLQJWKHDSSURSULDWHQHVVRILWDQG

      WKHOLNHEXW,PDGHWKRVHUHTXHVWV

              4    +RZZDVLWWKDW\RXPDGHWKRVHUHTXHVWVWR

      WKH&RPPLWWHHRQ:D\VDQG0HDQVDWWKH+RXVHRI

      5HSUHVHQWDWLYHV"

              $    ,MXVWFRQWDFWHGWKHP,KDGPHWRQHRU

      WZRRIWKH:D\VDQG0HDQVWHDPVQRWFRPPLWWHH

      PHPEHUV,WKLQNDWWKDWWLPHEXWVRPHRIWKH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA309
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 330 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                      3DJH
       SHUVRQQHOWKDWVXSSRUWHGWKHPDQG,NQHZZKRWKH\

       ZHUH6R,FRQWDFWHGWKHPWKURXJKWKRVHRUWKH

       :D\VDQG0HDQV&RPPLWWHHWKURXJKWKHVHSHRSOH

             4      :HUHWKRVHVWDIISHRSOHRIFRQJUHVVPHQRU

       FRQJUHVVZRPHQ"

             $      7KDW VFRUUHFW<HV

             4      'R\RXUHPHPEHUVSHFLILFDOO\ZKLFKVWDII

       SHRSOH\RXFRQWDFWHGRUZKLFKUHSUHVHQWDWLYHVWKDW

       \RXZRUNHGIRU"

            $      ,QRXULQLWLDOGLVFXVVLRQVZLWKWKHP

      GXULQJDQGLWZRXOGKDYHEHHQWKURXJKWKH

      FKDLUPDQ VRIILFHZKLFK,EHOLHYHDWWKDWWLPHZDV

      &RQJUHVVPDQ0F&RWWHUDQGKLVFKLHIRIVWDII0DUWLQ

      9DQ9DONHQEXUJ'XULQJWKDWWLPHZHPHW,FDQ W

      UHFDOOKLVQDPH,EHOLHYHKLVILUVWQDPHZDV%ULDQ

      %XWWKHQLQRXUVXEVHTXHQWGHDOLQJVZLWKWKHP

      0F&RWWHUZDVQRORQJHUWKHFKDLUPDQDQGZHFRQWDFWHG

      WKRVHSHUVRQQHO

                 8OWLPDWHO\,EHOLHYHWKHQDPH1LFN

      8HKOHFNHZDVWKHRQHWKDWZHZRUNHGSULPDULO\ZLWK

      UHJDUGLQJWKH*$2UHSRUW

            4      :KDWZDVLWWKDWLQVSLUHG$&/5WRUHDFK




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA310
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 331 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                      3DJH
       RXWWRFRQJUHVVLRQDOVWDIIHUVWRWU\WRLQLWLDWHVRPH

       VRUWRI*$2SURFHVV"

             $      'XULQJWKHEDVH\HDUSHULRGRIWKH

       FRQWUDFWLWEHFDPHDSSDUHQWWKDW&06ZDVQ WDOORZLQJ

       XVWRH[HFXWHRXUFRQWUDFWDQGZDVQ WUHDOO\GHDOLQJ

       ZLWKXVDWDOO:HUDUHO\VSRNHZLWKRXU&275$Q\

       DWWHPSWVDWUHVROXWLRQZLWKUHVSHFWWRLPSOHPHQWLQJ

       WKHSURJUDPRUJHWWLQJVRPHRIWKHWLPHOLQHVPHWLQ

       WKHWKLQJLQWKHFRQWUDFWZHUHUHEXIIHG\RX

      NQRZZKHQZHKDGJRQHWRWKH2$*0

                 $QGZHUHFRJQL]HGVRPHWLPHLQWKHPLGGOH

      RIWKHFRQWUDFW\HDUWKDWZHMXVWZHUHQ WJRLQJWREH

      DEOHWRH[HFXWHWKHFRQWUDFWRUDWOHDVWLWORRNHG

      OLNHWKHUHZHUHVRPHSUREOHPVDVVRFLDWHGZLWKWKDW

      7KDWFXOPLQDWHGLQDPHHWLQJLQ1RYHPEHUZKHQLW

      EHFDPHFOHDUWKDWZHZHUHQ WWKH\ZHUHQ WJRLQJWR

      OHWXVH[HFXWHRXUFRQWUDFWLQIDFWGLUHFWHGXVWR

      VWRSRUPRUHDFFXUDWHO\QRWFRQWLQXHZRUNLQJ

      EHFDXVHLWZDVLQRXUEHVWLQWHUHVW

            4      1RYHPEHURIZKDW\HDUZDVWKDW"

            $      1RYHPEHULWZDV1RYHPEHURI

            4      8QGHUWKHLQLWLDO\HDURIWKHFRQWUDFW"




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA311
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 332 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                      3DJH
       WKHWLPH&06GLGQRWKDYHWKDWLQIRUPDWLRQDVZHOO

             4      6RIRUWKDWSDUWLFXODUDXGLWLVVXHLW

       ORRNVOLNHURXJKO\SHUFHQWRUVRRIWKHLPSURSHU

       SD\PHQWVLGHQWLILHGE\$&/5XOWLPDWHO\ZHUHQRW

       UHFRXSHG'RHVWKDWVHHPULJKW"

             $      7KDW VFRUUHFW<HV

             4      )RUWKHQH[WYHUVLRQRUDURXQGRIWKH

       H[FOXGHGSURYLGHUVWR$&/5LGHQWLILHG

       PLOOLRQRISRWHQWLDOLPSURSHUSD\PHQWVFRUUHFW"

            $      7KDW VFRUUHFW

            4      $QGWKHQ&06XOWLPDWHO\FROOHFWHG

      PLOOLRQRIWKDWDPRXQWFRUUHFW"

            $      7KDW VFRUUHFW

            4      6RWKDWRQHORRNVOLNHLWZDV

      SHUFHQWDJHZLVHVRUWRIDIOLSIURPWKHSULRU\HDU

      ZKHUHURXJKO\RIVRSHUFHQWRIWKHDPRXQW

      LGHQWLILHGDVLPSURSHUZDVFROOHFWHG

            $      <HV7KDWLVFRUUHFW,QWKLVFDVHZH

      GLGQ WSXUVXHH[FOXGHGSKDUPDFLHV

            4      6RIRUH[FOXGHGSURYLGHUVWKH

      GLVFUHSDQF\LQ\RXUYLHZFDPHIURPSXUVXLQJH[FOXGHG

      SKDUPDFLHVLVWKDWFRUUHFW"




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA312
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 333 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                      3DJH
       FDVHVWKHUHFRUGWKHRULJLQDOUHFRUGLVHOLPLQDWHG

       DQGDQHZUHFRUGUHSODFHVLW

             4      $QHZUHFRUGZLWKWKHFRUUHFWLQIRUPDWLRQ"

             $      7KDW VFRUUHFW

             4      6RWKHQZRXOG\RXDJUHHWKDW\RXFDQ W

       DOZD\VWHOOIURPORRNLQJDWWKH3'(UHFRUGV

       WKHPVHOYHVZKHWKHUDSD\PHQWLVLPSURSHURUSURSHU"

             $      1R

             4      1R\RXZRXOGQ WDJUHHRUQR

            $      1R,GRQ WDJUHHWKDWWKDW VWKHFDVH,

      EHOLHYHWKDWWKHUHDUHVRPHLQVWDQFHVIRUH[DPSOH

      LIZHZHUHGRLQJDPHGLFDOQHFHVVDU\UHYLHZZKHUHZH

      ZRXOGKDYHWRUHTXHVWDGGLWLRQDOLQIRUPDWLRQEXWLW

      LVP\EHOLHIWKDWXQGHU3DUW'UHJV\RXKDYH\RX

      NQRZP\XQGHUVWDQGLQJRIKRZWKHSURFHVVVKRXOG

      ZRUNWKDWWKHGDWDWKDWZHKDYHZRXOGEHVXIILFLHQW

            4      6RWKHUHDUHFHUWDLQW\SHVRILVVXHVWKHQ

      ZKHUH\RXZRXOGDJUHHVRPHRQHDXGLWLQJWKH3DUW'

      SD\PHQWVZRXOGQHHGWRORRNWRLQIRUPDWLRQEH\RQG

      ZKDW VMXVWLQWKH3'(UHFRUGWRXQGHUVWDQGLID

      SD\PHQWZDVSURSHURULPSURSHU"

            $      7KHUHZRXOGEHLQVWDQFHVRIWKDW<HV




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA313
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 334 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                       3DJH
             4      'R\RXZDQWWRWDNHDILYHPLQXWHEUHDN"

                                        

                       5HFHVVHGDWDP

                       5HFRQYHQHGDWDP

                                        

                    %<05325$'$

             4      6RGLGWKHUHFRPHDSRLQWLQWLPHZKHQ

       $&/5VXEPLWWHGDDXGLWSURSRVDOWRORRNDWWKHVDOHV

       WD[LVVXH"

            $      <HV

            4      2ND\,WKRXJKW\RXZRXOGVD\VR

                    'R\RXUHPHPEHUZKHQWKDWZDV"

            $      ,EHOLHYH$XJXVWRIRUWKHUHDERXWV

            4      'LG$&/5EHOLHYHWKDWWKH3'(GDWDWKDWLW

      KDGUHYLHZHGUHIOHFWHGVXEVWDQWLDO3DUW'

      RYHUSD\PHQWVEDVHGRQSD\PHQWVRIVDOHVWD["

            $      <HVZHGLG

            4      3ULRUWR$&/5 VVXEPLVVLRQRIWKHVDOHV

      WD[1$,53KDG$&/5KDGDQ\GLVFXVVLRQZLWKDQ\RQHDW

      &06DERXWSXUVXLQJDVDOHVWD[UHFRYHU\DXGLW"

            $      1R,WKLQNWKHRQO\WLPHLWHYHUFDPHXS

      ZDVLQWKHLQLWLDOUHVSRQVHWRWKHVRXUFHVVRXJKW




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA314
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 335 of 514

&KULVWRSKHU0XFNH E                                         6HSWHPEHU
                                    5HVWRQ9$

                                                                        3DJH
       QRWLFHPRVWO\EHFDXVHRIRXUH[SHULHQFHWKHUH

       7KHUHPD\KDYHEHHQGLVFXVVLRQVZKHQWKH

       DIWHUZHQRWLFHGWKRVHEXW,PHDQWKH\ZRXOGKDYH

       EHHQLQFRQVHTXHQWLDO,JXHVVZKDW, PVD\LQJLVWR

       WKHEHVWRIP\UHFROOHFWLRQ,GRQ WEHOLHYHZH

       GLVFXVVHGLWZLWKDQ\ERG\WKHUH

             4      2ND\6R\RXPHQWLRQHGLQUHVSRQVHWRWKH

       VRXUFHVVRXJKWQRWLFHZKLFKZDV([KLELW$&/5 V

       UHVSRQVH$&/5PLJKWKDYHPHQWLRQHGWKDWLPSURSHU

      VDOHVWD[ZDVVRPHWKLQJWKDWFRXOGEHORRNHGDWLV

      WKDWFRUUHFW"

            $      ,WKLQNWKDW VFRUUHFW<HV

            4      2ND\

            $      ,EHOLHYHLW VFRUUHFW<HV

            4      6RORRNLQJDW([KLELWWKHSDJHZLWKWKH

      %DWHVVWDPS$&/5GRZQDWWKHERWWRPRIWKDW

      SDJHLWVD\V$&/5FDQGHYLVHDQDWLRQDOUHFRYHU\

      DXGLWSODQIRU0HGLFDUH3DUW'WKDWLQFOXGHVDQG

      WKHQLWOLVWVDYDULHW\RIWKLQJV$QGRQHRIWKRVH

      WKLQJVLVLPSURSHUVDOHVWD['R\RXVHHWKDW"

            $      <HV,GR

            4      6RLVWKDWWKH\RXGHVFULEHGDPRPHQW




                              $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                           ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA315
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 336 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       DJRWKDW\RXUHFDOOHGPD\EHLQUHVSRQVHWRWKH

       VRXUFHVVRXJKWQRWLFH$&/5KDGPHQWLRQHGVDOHVWD[

       EXWWKDWZDVWKHRQO\WLPHSULRUWRVXEPLWWLQJWKH

       VDOHVWD[1$,53LVWKDWULJKW"

             $      7KDW VFRUUHFW<HV

             4      6RWKLVLQ([KLELWWKDWZHMXVWORRNHG

       DWWKDWZRXOGKDYHEHHQWKHSULRURFFDVLRQZKHQ$&/5

       KDGPHQWLRQHGLW"

             $      7KDW VFRUUHFW

            4      $QGSULRUWRWKH$XJXVW1$,53

      VXEPLVVLRQ$&/5KDGQ WVXEPLWWHGDQ\DXGLWSURSRVDOV

      IRUVDOHVWD[LVVXHVEHIRUHWKDWLVWKDWFRUUHFW"

            $      7KDW VFRUUHFW

            4      3ULRUWR$&/5 VVXEPLVVLRQLQ$XJXVW

      KDGDQ\RQHDW&06LQVWUXFWHG$&/5WRDQDO\]HVDOHV

      WD[HVRUWRSURSRVHDVDOHVWD[DXGLW"

            $      1R

            4      +DGDQ\RQHDW&06SULRUWRWKDWSRLQWLQ

      WLPHDVNHG$&/5WRDQDO\]HVDOHVWD[HVRUWRSURSRVH

      DVDOHVWD[DXGLW"

            $      1R

            4      'RHV$&/5NQRZRIDQ\RQHDW&06ZKRZDV




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA316
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 337 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       DZDUHWKDW$&/5ZDVJRLQJWRVXEPLWDVDOHVWD[DXGLW

       EHIRUHLWDFWXDOO\VXEPLWWHGWKHSURSRVDOLQ$XJXVW

       "

               $    ,FDQ WDQVZHUWKDWTXHVWLRQ,GRQ W

       EHOLHYHWKH\ZRXOGKDYHNQRZQ

               4    :KHQGLG$&/5EHJLQDQDO\]LQJWKHDQG

       3'(GDWDWRORRNDWSRWHQWLDOVDOHVWD[LVVXHV

       WRSUHSDUHWKDWVDOHVWD[GDWD"

               $    :HKDGORRNHGDWLQLWLDOO\,EHOLHYH

      LQRU $QGWKHQEXWORRNLQJDW DQG

       WRJHWKHUZHORRNHGDWWKHPDIWHUZHUHFHLYHGWKH

      GDWDLQ:KLFK,WKLQNLWZDV0D\RIWKDW\HDU

              4    6RLVLWFRUUHFWWKHQWKDW$&/5GLGQ W

      EHJLQWRDQDO\]HWKH3'(UHFRUGVIRUVDOHVWD[

      SD\PHQWVXQWLOLWKDGUHFHLYHGERWKWKHDQG

      3'(GDWD"

              $    :HOODJDLQZHKDGUHYLHZHGEHIRUH

      IRUWKHSXUSRVHVIRUWKLV1$,53:KHQZHZHUH

      SXWWLQJLWWRJHWKHUZHUHYLHZHGLWDJDLQZLWK

      GDWDDQGWKHQVXEPLWWHGLW

              4    ,VHH6R$&/5KDGORRNHGDWWKH3'(

      GDWDSUHYLRXVO\DQGWKHQORRNHGDWLWDJDLQRQFHLW




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA317
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 338 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
             4      $QGKRZGLG\RXFKDQJH\RXUHQWLUH

       DSSURDFK"

             $      :HOOLWZDVLQUHDFWLRQWRDLWZDV

       RXUUHVSRQVHZDVLQUHDFWLRQWRDZDONWKURXJK

       PHHWLQJWKDWZHKDGZLWK&3,PHPEHUVWKDWZHZRUNHG

       ZLWKDQGWKHFHQWHUIRU0HGLFDUHSODQQHGSD\PHQW

       JURXSVWKHUH,WZDVDSSDUHQWDIWHUWKDWPHHWLQJ

       WKDWWKHUHZDVJRLQJWREHQRFROODERUDWLRQVRZH

       WRRNDVWHSEDFNDQGZHORRNHGDWLVVXHVWKDWZRXOG

      EHPRUHVSHFLILF,QWKLVFDVHZHIRFXVHGRQWKH

      H[SLUHGSUHVFULSWLRQUHYLHZEHFDXVHZHNQHZWKDW

      WKHUHZDVRSSRUWXQLW\WKHUH

                  $QGWKHQZHZDLWHGOLNHHLJKWRUQLQH

      PRQWKVGRWKDW2UH[FXVHPH\HDK,EHOLHYH

      HLJKWPRQWKVEHIRUHZHVXEPLWWHGWKDW1$,53RUILYH

      PRQWKV,FDQ WUHPHPEHU

            4      :KDWZDVWKDWZDONWKURXJKWKDW\RX

      SDUWLFLSDWHGLQZKHUH\RXFKDQJHG\RXUFRXUVHRI

      DFWLRQ":KLFKDXGLWLVVXHGLGWKDWUHODWHWR"

            $      'LUHFWDQGLQGLUHFWUHPXQHUDWLRQ

            4      6R,EHOLHYH\RXVDLG$&/5UHFHLYHGWKH

      3'(GDWDLQ-XQHLVWKDWFRUUHFW"




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA318
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 339 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
             $      )RU"

             4      <HV

             $      <HV,EHOLHYHWKDW VFRUUHFW

             4      $QG\RXKDGSUHYLRXVO\UHFHLYHGWKH

       3'(UHFRUGVFRUUHFW"

             $      7KDW VFRUUHFW:HKDGDOVRSUHYLRXVO\

       UHFHLYHGDFRS\RIWKH3'(EXWWKHUHZHUH

       HUURUVLQLW6R&06LVVXHGJXLGDQFHVD\LQJWKDW

       WKH\ZHUHJRLQJWRIL[LWDQGWKHQUHLVVXHLWVR

            4      $QGVRH[FXVHPH*RDKHDG

            $      $QGVRWKDWZDVWKHGDWD:HORRNHGDW

      WKHFRUUHFWHGGDWD

            4      $QGZKHQ$&/5UHFHLYHGWKHFRUUHFWHG

      3'(GDWDWKDWZDVLQ-XQHFRUUHFW"

            $      ,EHOLHYHVR<HV

                                      

                  $GRFXPHQWZDVPDUNHGDV'HSRVLWLRQ

      ([KLELW1XPEHU

                                      

                   %<05325$'$

            4      , PVKRZLQJ\RXZKDW VEHHQPDUNHGDV

      ([KLELW1XPEHUZKLFKLVDVWULQJRIHPDLOVLQ




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA319
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 340 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       ZKLFKWKHVXEMHFWRIWKHHPDLOVLV3'(ILOHV

                  ,I\RXORRNDWWKHILUVWHPDLOZKLFKLV

       WKHODVWRQHLQWKHH[KLELWVHFRQGWRODVWSDJHLW

       ORRNVOLNHRQ'HFHPEHUVRPHRQHIURP&06

       LQIRUPHG%UXFH'L[RQWKDWWKH3'(ILOHVDUH

       DYDLODEOH,WVD\V,FDQVWDUWVHQGLQJWKHPQH[W

       ZHHNLI\RXDUHUHDG\

                    'R\RXVHHWKDW"

             $      <HV,GR

            4      $QGWKHQWKHUHZHUHVRPHPRUHHPDLOVEDFN

      DQGIRUWKDIWHUWKDW$QGLWORRNVOLNHRQ-DQXDU\

      &06LQIRUPHG0U'L[RQWKDW&06KDG

      VXEPLWWHGWKHSURJUDPWRWUDQVPLWZKDWORRNVOLNHWKH

      3'(ILOHV,VWKDW\RXUXQGHUVWDQGLQJ"

            $      <HV

            4      $QGWKHQDERYHWKDW%UXFH'L[RQKDVDVNHG

      VRPHRQHQDPHG-DPHV.HOO\DW06,$WODQWD&RPWROHW

      KLPNQRZZKHQWKHUHFRUGVKDGEHHQUHFHLYHG$QG

      0U.HOO\VDLGZHKDYHVWDUWHGUHFHLYLQJRQ-DQXDU\

      'R\RXVHHWKDW"

            $      <HV

            4      6RGRHVWKDWVRXQGULJKWWR\RXWKDWDW




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA320
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 341 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       WKHEHJLQQLQJRI-DQXDU\LVZKHQ$&/5UHFHLYHG

       WKH3'(UHFRUGV"

             $      7KDWLVFRUUHFW<HV

             4      $QGZKRGR\RXNQRZZKR-DPHV.HOO\DW

       06,$WODQWD&RPLV"

             $      <HV7KH\DUHRXU,7SHUVRQQHO

             4      $QGZKHQ\RXVD\WKH\DUH$&/5 V,7

       SHUVRQQHOZKDWGRHVWKDWPHDQVSHFLILFDOO\":KDW

       ZHUHWKH\VXSSRVHGWREHGRLQJ"

            $      :H YHFRQWUDFWHGWKHPRUZHFRQWUDFW

      ZLWKWKHPMXVWWRPDNHVXUHWKDWDOORXUV\VWHPVDUH

      LQSODFHPDNHVXUHWKDWWKH\DUHUXQQLQJSURSHUO\

      PDNHVXUHWKDWWKHEDFNXSVRFFXUFRUUHFWO\

            4      6RZKHQ&06WUDQVPLWWHG3'(UHFRUGVZHUH

      WKH\DFWXDOO\UHFHLYHGE\$&/5RQ$&/5 VFRPSXWHU

      VHUYHUVRUZHUHWKH\UHFHLYHGE\WKLV06,$WODQWD

      HQWLW\"

            $      ,WZRXOGKDYHEHHQUHFHLYHGRQ$&/5 V

      FRPSXWHUV2XUFRPSXWHUVHUYHUV,EHOLHYHWKDW

      IRUWKLVWKH\FDPHWKURXJKD7,%&2VHUYHU, PQRW

      UHDOO\VXUHEXW,EHOLHYHWKDWZDVWKHWLPHIUDPH

      IRUWKLVRQH$QGWKDWZRXOGKDYHEHHQRQRXU




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA321
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 342 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       ZRUNLQJZLWKWKHGDWD"

             $      :HZRXOGJHQHUDWHWKHUHSRUW$QGWKHQ

       ZH OOJHW,PHDQZHMXVWJHQHUDWHGUHSRUWV$QG

       VRPHWLPHVGXHWRWKHVL]HRIWKH3'(ILHOGVLWFRXOG

       WDNHDFRXSOHRIKRXUVWRUXQWKHUHSRUWV%XWWKHQ

       RQFHZH YHUXQWKHUHSRUWV\RXNQRZZHZRXOG

       PDQLSXODWHWKHGDWDWU\WRXQGHUVWDQG\RXNQRZ

       ZKDW VJRLQJRQWKHUHRUGRIXUWKHUILOWHULQJDQG

       WKHOLNH$QGWKDW VZKDWWKDWUHIHUVWR

            4      6R\RXUUHFROOHFWLRQLVWKDWLWWRRN$&/5

      DGD\RUPD\EHDIHZGD\VWRVRUWWKH3'(

      UHFRUGVWRFRPHXSZLWKWKHDPRXQWWKDWZDVLQWKH

      VDOHVWD[ILHOG"

            $      7KDWZRXOGEHFRUUHFW<HV

            4      $QGGLGDOOWKDWZRUNRFFXUVRPHWLPH

      EHWZHHQ-XQHZKHQ\RXJRWWKHFRUUHFWHG3'(

      UHFRUGVDQG$XJXVWZKHQ\RXVXEPLWWHGWKH

      VDOHVWD[1$,53"

            $      <HV7KDW VFRUUHFW

            4      'R\RXUHPHPEHUZKHQGXULQJWKDWURXJKO\

      WZRPRQWKEORFNRIWLPHWKDWDQDO\VLVZDVSHUIRUPHG"

            $      ,FDQ WUHPHPEHUWKHWLPLQJ




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA322
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 343 of 514

&KULVWRSKHU0XFNH E                                          6HSWHPEHU
                                     5HVWRQ9$

                                                                        3DJH
       FRUUHFWO\ZHZRXOGKDYHSURFHVVHGWKHGDWDIRUWKH

       RWKHULVVXHVILUVW

             4      5LJKW

             $      $QGWKHQZHZRXOGKDYHGRQHWKDW

             4      $QGZKHQ\RXVD\ZHZRXOGKDYHGRQHWKDW

       RQH\RXPHDQWKHVDOHVWD["

             $      7KDW VFRUUHFW<HV7KHGXSOLFDWH

       SD\PHQWGDWDPDQLSXODWLRQZDVDORWPRUHGLIILFXOW

       MXVWGXHWRWKHVL]HRIWKH3'(GDWD7KHVDOHVWD[

      RQHE\FRPSDULVRQZRXOGEHHDV\:HMXVWKDGWR

      JHQHUDWHWKHUHFRUGV

            4      :KRDW$&/5ZDVLQYROYHGLQDQDO\]LQJWKH

      3'(GDWDWRORRNDWWKHVDOHWD[LVVXH"

            $      ,ZDV

            4      $Q\ERG\HOVH"

            $      1R

            4      'LG$&/5WUDFNWLPHLQVXFKDZD\WKDW\RX

      UHFRUGHGRUWUDFNHGWKHDPRXQWRIWLPHWKDW\RXVSHQW

      RQSDUWLFXODUDXGLWLVVXHVOLNHWKHVDOHVWD[DXGLW

      LVVXH"

            $      1R

            4      'LG$&/5KDYHDFFHVVWRWKH3'(UHFRUGV




                               $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                            ZZZDOGHUVRQUHSRUWLQJFRP
                                    SA323
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 344 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       VSHFLILFDOO\UHFDOO,WPD\KDYHEHHQWUDQVPLWWHG

       EXW,VHHPWRUHFDOOLWEHLQJZHUHFHLYHGLWLQD

       KDUGGULYHRUPXOWLSOHKDUGGULYHV

             4      'LGGRHV$&/5KDYHDQ\XQGHUVWDQGLQJRI

       ZKHQ&06ILUVWEHFDPHDZDUHRIWKHLVVXHRIVDOHV

       WD[HVSRWHQWLDOO\EHLQJLQFRUUHFWO\FKDUJHRQ3DUW'

       SUHVFULSWLRQV"

             $      <HV

             4      $QGZKDWLV$&/5 VXQGHUVWDQGLQJ"

            $      %DVHGRQWKHGRFXPHQWDWLRQWKDWZH

      UHFHLYHGGXULQJGLVFRYHU\,EHOLHYHLWZDVEURXJKW

      XSE\D&06FRQWUDFWLQJRIILFHURUVRPHERG\LQ

      HDUO\PD\EHPD\EHLWZDV,FDQ W

      UHPHPEHUWKHH[DFWGDWHV,WZDVSULRUWRRXUEHLQJ

      FRQWUDFWHGWRVHUYHDVWKH3DUW'5$&

            4      $WWKHWLPHWKDW$&/5VXEPLWWHGLWVVDOHV

      WD[1$,53LQ$XJXVWGLG$&/5NQRZDWWKDWWLPH

      ZKHWKHU&06ZDVDOUHDG\DZDUHRIWKHLVVXHRIVDOHV

      WD[HVSRWHQWLDOO\EHLQJLPSURSHUO\FKDUJHGLQ3DUW'

      SUHVFULSWLRQV"

            $      7KHRQO\NQRZOHGJHWKDWZHKDGWKDWWKH\

      ZHUHDZDUHRILWZDVWKH/RXLVLDQDQRWLILFDWLRQVWKDW




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA324
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 345 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       WKH\PDGH,EHOLHYHLQPD\EH 

             4      7KRVH/RXLVLDQDPHPRVRUQRWLILFDWLRQV

       WKDW\RXPHQWLRQHGIURPRUZHUHWKRVH

       WKLQJVWKDW$&/5KDGUHYLHZHGSULRUWRVXEPLWWLQJWKH

       VDOHVWD[1$,53"

             $      <HVLWZDV

             4      6RDWWKHWLPHWKDW$&/5VXEPLWWHGWKH

       VDOHVWD[1$,53LWZDVQRW$&/5 VXQGHUVWDQGLQJWKDW

       LWZDVLQWURGXFLQJDQHZLVVXHWR&06WKDWLWKDGQ W

      H[SORUHGSUHYLRXVO\LVWKDWFRUUHFW"

            $      :HOO,ZRXOGQ WVD\WKDWEHFDXVHWKH

      UHYLHZVWKDWZHVDZZHUHOLPLWHGWR/RXLVLDQD6RDW

      DPDFUROHYHO\HV&06ZRXOGKDYHEHHQDZDUHWKDW

      WKH\KDGSUREOHPVZLWKVDOHVWD[$WDPLFUROHYHO

      ,GRQ WNQRZWKDWWKH\NQHZWKHH[WHQWRILWRUZLWK

      UHVSHFWWRRWKHUVWDWHVDQGWKHOLNH

                                       

                  $GRFXPHQWZDVPDUNHGDV'HSRVLWLRQ

      ([KLELW1XPEHU

                                       

                   %<05325$'$

            4      6RLI\RXWDNHDORRNDWZKDWZHKDYH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA325
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 346 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       PDUNHGDV([KLELWWKLVDSSHDUVWREH$&/5 VVDOHV

       WD[HUURU1$,53IRU\HDUVDQGWKDWZDV

       VXEPLWWHG$XJXVW,VWKDWFRUUHFW"

             $      7KDW VFRUUHFW

             4      ,I\RXORRNDWIRRWQRWHRQWKHILUVW

       SDJHLWVD\V$EVHQWFRQWUDFWPRGLILFDWLRQDOO5$&

       DFWLYLWLHVSHUWDLQLQJWRWKLV1$,53ZLOOFHDVHXSRQ

       &06GHQLDORUH[SLUDWLRQRIWKH1RYHPEHU

       1$,53DSSURYDOGHDGOLQH

                   'R\RXVHHWKDW"

            $      <HV,GR

            4      6RZDVLW$&/5 VXQGHUVWDQGLQJDWWKH

      WLPHLWVXEPLWWHGWKLVVDOHVWD[1$,53WKDW&06KDG

      WKHDXWKRULW\XQGHUWKHFRQWUDFWWRGHQ\WKH

      SURSRVDO"

            $      <HV

            4      /RRNLQJDWWKHSDUDJUDSKXQGHU3URFHVV

      6XPPDU\RQWKHILUVWSDJHWKHWKLUGVHQWHQFH,

      EHOLHYHLWLVVD\V7KHUHFRYHU\DXGLWUHYLHZ

      SURWRFROVRXWOLQHGLQWKLV1$,53DGGUHVVHUURUV

      DVVRFLDWHGZLWKVDOHVWD[FKDUJHGLQVWDWHVZKLFKGR

      QRWLPSRVHDVDOHVWD[6DOHVWD[UDWHVWKDW




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA326
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 347 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
             $      <HV

             4      :LWKRXWUHDFKLQJRXWWRVSRQVRUVIRUPRUH

       LQIRUPDWLRQDERXWDSDUWLFXODUFODLPFRUUHFW"

             $      ,EHOLHYHWKHUHZHUHWZRLQVWDQFHVRI

       DXGLWVZKHUHZHGLGEHOLHYHWKDWZHVKRXOGFRQGXFWD

       FRPSOH[UHYLHZEXWLQDOPRVWDOOLQVWDQFHVZH

       DQWLFLSDWHGDQDXWRPDWHGUHYLHZ

             4      $QGWKHZD\WKHDXWRPDWHGUHYLHZZRXOG

       ZRUNWKRXJKLVWKDW\RXZRXOGLGHQWLI\LPSURSHU

      SD\PHQWVEDVHGRQWKH3'(UHFRUGVDQGWKHQQRWLFHV

      ZRXOGEHVHQWRXWWRWKHVSRQVRUVLGHQWLI\LQJWKRVH

      UHFRUGVDQGDVNLQJIRUUHFRYHU\RIWKRVHDPRXQWV"

            $      7KDW VFRUUHFW

            4      :K\GLG$&/5EHOLHYHWKDWWKHVDOHVWD[

      UHYLHZZRXOGEHDSSURSULDWHWRGRDVDQDXWRPDWHG

      UHYLHZYHUVXVDFRPSOH[RQH"

            $      7KHUHZDVQRDPELJXLW\DERXWWKHGDWDWKDW

      ZHUHFHLYHG

            4      $QGZKDWGR\RXPHDQE\WKDW"

            $      :HOOZHZHUHDEOHWRLGHQWLI\\RXNQRZ

      ZKHUHWKHSDUWLFXODUWUDQVDFWLRQWRRNSODFH)RU

      H[DPSOHVHUYLFHSURYLGHUZRXOGEHORFDWHGLQ




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA327
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 348 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       0DU\ODQG9LUJLQLD0LQQHVRWDVRZHNQHZZKHUHWKH

       VLWHRIWKHWUDQVDFWLRQZDV$QGWKHQZHDOVRNQHZ

       MXVWEDVHGRQRXUNQRZOHGJHRIWKHODZVRUDQ\

       DGGLWLRQDOUHVHDUFKZHZRXOGKDYHGRQH\RXNQRZ

       ZKHWKHURUQRWVDOHVWD[FRXOGEHDSSOLHGWRLW$QG

       WKDWZDV\RXNQRZWKDWGDWDDORQHZRXOGEHHQRXJK

       WRPDNHWKDWLQWHUSUHWDWLRQ

             4      6R$&/5GLGQ WWKLQNWKDWSODQVSRQVRUV

       ZRXOGKDYHDGGLWLRQDOLQIRUPDWLRQWKDWPLJKWH[SODLQ

      ZK\ILJXUHVKDGEHHQUHFRUGHGLQWKHVDOHVWD[ILHOG

      WKDWPLJKWH[SODLQZK\WKH\ZHUHWKHUH"

            $      1R

            4      :RXOG\RXDJUHHWKDWWKHLVVXHRIZKHWKHU

      WKHSD\PHQWRIVDOHVWD[HVLVSURSHURULPSURSHULQ

      HDFKVWDWHZRXOGGHSHQGRQDQDQDO\VLVRIIHGHUDODQG

      VWDWHODZLQWKDWSDUWLFXODUVWDWH"

            $      :HOO,WKLQNLQWKHFDVHRIMXVWVDOHV

      WD[HV,WKLQNLWZRXOGEHVROHO\WKHVWDWHVDOHVDQG

      XVHWD[ODZVQRWIHGHUDOODZ%XWLQWKHFRQWH[WRI

      WKLVIHGHUDOODZZRXOGKDYHWREHFRQVLGHUHG

            4      :KRDW$&/5ZDVLQYROYHGLQUHYLHZLQJWKH

      ODZVRIDOOVWDWHVWRGHWHUPLQHZKHWKHUWKH\




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA328
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 349 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       /RXLVLDQDVWDWHODZDOORZVIRUDFHQWSUHVFULSWLRQ

       IHHRQ3DUW'SUHVFULSWLRQV"

             $      :HKDYHQ WGRQHWKDW

                     05%21(//2&DQZHWDNHOLNHD

       WZRPLQXWHEUHDN,NQRZKHKDGZDQWHGWRDVNPH

       VRPHWKLQJVR,ZDQWWRPDNHVXUHZRXOGWKLVEHD

       JRRGWLPHWR

                    05325$'$6XUH

                                      

                      5HFHVVHGDWDP

                      5HFRQYHQHGDWSP

                                     

                   %<05325$'$

            4      7KHSURFHVVWKDW\RXGHVFULEHGZKHUH\RX

      ORRNHGDWDVDPSOHRIDERXWRIWKH/RXLVLDQD

      SKDUPDF\3'(UHFRUGVGR\RXNQRZZKDWVSHFLILF

      ILHOGVLQWKH3'(UHFRUGV\RXH[DPLQHGDVSDUWRI

      WKDWPRUHGHWDLOHGVDPSOHWKDW\RXORRNHGDW"

            $      ,LGHQWLILHGWKHSKDUPDF\IURPWKHVHUYLFH

      SURYLGHU,',LGHQWLILHGWKHEHQHILFLDU\RQQXPEHU

      IURP,VKRXOGUHPHPEHUZKDWWKDWWKLQJLVWKHSHQ

      EHQHILFLDU\ILHOG7KHKLWFDPHIURPWKHEHQHILFLDU\




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA329
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 350 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       ILHOG$QGWKHQ,ORRNHGDWWKHFHQWELOOLQJLQ

       WKHVDOHVWD[ILHOG

             4      7KDWVDPSOHUHYLHZSURFHVV\RXHQJDJHGLQ

       WKDW VQRWGHVFULEHGLQWKH1$,53DQ\ZKHUHLVLW"

             $      1R

             4      'LG\RXRUGLG$&/5GRFXPHQWWKDWUHYLHZ

       RIWKHVDPSOHWKDW\RXHQJDJHGLQLQDQ\ZD\"

             $      ,FDQ WUHPHPEHU,WKLQNLWZDVMXVWIRU

       PHJRLQJLQWR&06 VV\VWHPVDQGORRNLQJDWHDFK

      EHQHILFLDU\E\EHQHILFLDU\WKDW,KDGVHOHFWHGIRU

      WKHVSHFLILF/RXLVLDQDSKDUPDFLHVDQGWU\LQJWR

      LGHQWLI\LIWKHUHZDVDQ\ZKDWWKHLUVWDWHZDV

      ZKHWKHULWZDV/RXLVLDQD$ODEDPDRUDQ\ZKHUH

            4      6R\RXGRQ WUHFDOONHHSLQJDQ\QRWHVRI

      WKDWRUZULWLQJDQ\ZULWWHQUHSRUWRIZKLFKVSHFLILF

      EHQHILFLDULHV\RXORRNHGDW"

            $      1R

            4      +RZGLG\RXGHFLGHZKLFKRIWKHURXJKO\

      EHQHILFLDULHVWRORRNDW"

            $      ,MXVWZHQWGRZQWKHVSUHDGVKHHWRI3'(V

      WKDW,KDGDQGMXVWUDQGRPO\VHOHFWHGWKHP,GLG

      QRWSHUIRUPDVWDWLVWLFDOVDPSOHMXVWUDQGRPO\




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA330
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 351 of 514

&KULVWRSKHU0XFNH E                                         6HSWHPEHU
                                    5HVWRQ9$

                                                                       3DJH
       VHOHFWLQJ3'(UHFRUGV

             4      $UH\RXIDPLOLDUZLWKWKHDVSDUWRI

       WKHUHSRUWWKDW VLQIURQWRI\RXIURPWKH1%,0(',&

       ([KLELWWKHDQDO\VLVWKDWWKH0(',&XQGHUWRRNWR

       ORRNDW3'(UHFRUGVLQ/RXLVLDQDWKDWKDGVRPHWKLQJ

       JUHDWHUWKDQFHQWVLQWKHVDOHVWD[ILHOG"/HWPH

       SRLQW\RXLILW VKHOSIXOWRSDJH7KHUH VD

       WDEOHDWWKHWRSWKHUH7DEOH

             $      2ND\

            4      +DYH\RXWDNHQDORRNDWWKDWEHIRUH"

            $      <HV,KDYH

            4      6RLVLW$&/5 VXQGHUVWDQGLQJWKDW

      DFFRUGLQJWRWKH0(',&VDQDO\VLVIRU\HDUDVRI

      -XQHWKHUH VWKHUHZDVDOLWWOHOHVVWKDQ

      OHIWLQWKHVDOHVWD[ILHOGVLQDPRXQWVWKDW

      ZHUHJUHDWHUWKDQFHQWV"

            $      <HV

            4      $QGIRUWKHUHZDVDOLWWOHRYHU

      OHIWLQWKHVDOHVWD[ILHOGWKDWZDVLQ

      DPRXQWVJUHDWHUWKDQFHQWVDVRI-XQH'R

      \RXVHHWKDW"

            $      7KDW VFRUUHFW




                              $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                           ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA331
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 352 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       WKDWLWORRNHGDWRQWKHVDOHVWD[LVVXHV"

             $      7KDW VFRUUHFW

             4      0\TXHVWLRQIRU\RXLVRQWKHSULRUSDJH

       \RXVD\$&/5LGHQWLILHGPLOOLRQLQLPSURSHU

       SD\PHQWV$QGWKHWDEOHRQWKHODVWSDJHVD\V

       

                    'R\RXVHHWKDW"

             $      0PKPP

             4      $QG, PZRQGHULQJZKDWWKHGLIIHUHQFHLV

      EHWZHHQWKHPLOOLRQUHSRUWHGRQWKHSULRUSDJH

      DQGWKHPLOOLRQRQWKHWDEOHLQWKHODVWSDJH"

            $      ,GRQ WNQRZ,I,ZHUHWRJXHVVLW

      ZRXOGEHDWUDQVFULSWLRQHUURURUVRPHWKLQJEXW,

      GRQ WNQRZWKHDQVZHU

            4      ,VLW$&/5 VSRVLWLRQWKDWLIWKHUH VDQ\

      LQFRUUHFWFKDUJHLQWKHVDOHVWD[ILHOGRQD3'(

      UHFRUGWKDWWKDWPDNHVWKHHQWLUHSD\PHQWDPRXQWRI

      WKDWFODLPDQLPSURSHUFODLP"

            $      <HV

            4      6RLW VQRWMXVWWKHLPSURSHUVDOHVWD[

      DPRXQWWKDW VLPSURSHULQ$&/5 VYLHZLW VWKH

      HQWLUHFODLPSD\PHQW"




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA332
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 353 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
             $      7KDW VFRUUHFW

             4      6RHYHQLIWKHUH VQRGLVSXWHWKDWD

       SUHVFULSWLRQZDVILOOHGSURSHUO\XQGHUWKH3DUW'

       SURJUDPLW V$&/5 VFRQWHQWLRQWKDWWKHHQWLUHFODLP

       LVLPSURSHULIHYHQDVLQJOHFHQWLVLQFOXGHGLQWKH

       VDOHVWD[ILHOGZKHUHLWVKRXOGQ WEH"

             $      7KDW VFRUUHFW

             4      +RZGRHV$&/5XQGHUVWDQGZKDWSODQ

       VSRQVRUVOHWPHVWULNHWKDW6WDUWRYHUDJDLQ

                 :KDWLV$&/5 VXQGHUVWDQGLQJDVWRKRZ

      SODQVSRQVRUVZRXOGFRUUHFWD3'(UHFRUGWKDW

      FRQWDLQVDQLPSURSHUDPRXQWLQWKHVDOHVWD[ILHOG"

            $      :HOOWKHUHZRXOGEHWZRPHWKRGVWKDWWKH\

      FRXOGGRLWXQGHU7KH\FRXOGGHOHWHWKHUHFRUGRU

      WKH\FRXOGFRUUHFWWKHUHFRUG

            4      $QGZKDWLV$&/5 VXQGHUVWDQGLQJDVWRZK\

      SODQVSRQVRUVPLJKWFKRRVHRQHSDWKYHUVXVWKHRWKHU"

            $      ,FRXOGQ WWHOO\RXZK\WKH\ZRXOGGHOHWH

      YHUVXVFRUUHFW,NQRZLQP\H[SHULHQFHWKH\KDYH

      GHOHWHGDQGUHVXEPLWWHGUHFRUGV,NQRZWKDWWKH\

      KDYHFRUUHFWHGUHFRUGV,NQRZWKDWWKH\KDYHMXVW

      GHOHWHGUHFRUGVEXW,FRXOGQ WDVFHUWDLQWKHLU




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA333
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 354 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       VXEVHTXHQWO\WXUQHGRXWLVWKDWZHRQO\UHYLHZHG

       UHFRQFLOHGGDWDQRFRUUHFWLRQVEHIRUHRUDIWHU

             4      6RZLWKUHVSHFWWRWKHVDOHVWD[LVVXHLQ

       SDUWLFXODULI\RXKDGD3'(UHFRUGFODLP

       SD\PHQWWKDWLQFOXGHGDRQHGROODUILJXUHLQWKH

       VDOHVWD[ILHOGLVLW$&/5 VSRVLWLRQWKDWWKH

       HQWLUHFODLPLVWKHLPSURSHUSD\PHQW"

             $      %DVHGRQRXULQWHUSUHWDWLRQRILPSURSHU

       SD\PHQWVRUGHILQLWLRQRILPSURSHUSD\PHQW\HV

            4      $QGVRXQGHUWKHFRQWUDFWZLWK&06WKHQ

      $&/5ZRXOGJHW,JXHVVDFRQWLQJHQWIHHRQWKDW

      SDUWLFXODUH[DPSOHSHUFHQWRIWKHFODLPLV

      WKDWULJKW"

            $      7KDW VFRUUHFW

            4      $QGWKHQLIWKHSODQVSRQVRUZHUHWR

      UHVXEPLWWKHVDPHFODLPEXWRPLWWKHGROODUIRUWD[

      RUUHVXEPLWDFODLPLQ$&/5 VYLHZWKDWFODLP

      ZRXOGQRORQJHUEHDQLPSURSHUFODLPLPSURSHU

      SD\PHQWDWWKDWSRLQWEHFDXVHLWQRORQJHULQFOXGHV

      WKHVDOHVWD[ULJKW"

            $      :HOOQR$JDLQZKHQZHGRRXUZRUN,

      RQO\ORRNDWSD\PHQWV:KHWKHUDSODQDIWHU




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA334
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 355 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       UHFRQFLOLDWLRQZKHWKHUDSODQVSRQVRUGHOHWHVRU

       FRUUHFWVDUHFRUGKDVQRLPSDFWRQWKHZRUNWKDWZH

       GR,W VQRWDSD\PHQW

                   &06UHVHUYHVWKHULJKWWRUHRSHQDSHULRG

       DQG\RXNQRZIRUDOOLQWHQWVDQGSXUSRVHVRU

       SUDFWLFDOSXUSRVHWKH\GRDFWXDOO\GRWKDW%XW&06

       FRXOGDOZD\VGHFLGHQRWUHRSHQDQSHULRG:HOOWKDW

       FRUUHFWHGFODLPXOWLPDWHO\ZRXOGQ WEHUHFRYHUHGE\

       &06LIWKH\GRQ WGRWKDWUHRSHQLQJEHFDXVHLW V

      MXVWDFKDQJH,WGRHVQ WLWGRHVQ WGRDQ\WKLQJ

      ,W VMXVWDGHOHWHGUHFRUGRUDFRUUHFWHGUHFRUGWKDW

      VLWVLQOLPERXQWLOUHRSHQLQJLVGRQH

            4      6RDWWKHWLPHRIUHRSHQLQJWKRXJKLI

      WKHUHZDVQRZDFRUUHFWHGFODLPIRUVLWWLQJLQ

      WKHUHWKDWGRHVQ WKDYHWKHRQHGROODULQWD[

      DQ\PRUHIURP$&/5 VSHUVSHFWLYHWKDWLI&06SDLG

      WKDWFODLPWKHWKDWZRXOGQRORQJHUEHDQ

      LPSURSHUFODLPRUSD\PHQWEHFDXVHWKHUH VQRGROODU

      WD[FRUUHFW"

            $      ,WZRXOGQ WEHIRUWKRVHSXUSRVHV

            4      <HVIRUWKRVHSXUSRVHVIRUWKHVDOHVWD[

      SXUSRVHV




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA335
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 356 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
             $      )RUVDOHVWD[SXUSRVHV\HV

             4      5LJKW6RLQWKDWZRUOGWKHQ&06ZRXOG

       DFWXDOO\EHORVLQJPRQH\ULJKWDVDUHVXOWRI$&/5

       SHUIRUPLQJWKHDXGLWEHFDXVH\RXZRXOGKDYHJRWWHQ

       SDLGDFRQWLQJHQWIHHRQWKHILUVWFODLPDQG

       WKHQWKHFODLPLVUHVXEPLWWHGDQGSDLGDWE\&06

       6RWKH\ZRXOGEHHQGXSSD\LQJPRUHWKDQWKH

       GROODUID[WKDWZDVUHFRYHUHG"

             $      ,I&06SHUPLWWHGWKHPWRFRUUHFWLW\HV

            4      :KDWLVWKHEDVLVIRU$&/5 VSRVLWLRQWKDW

      WKHHQWLUHW\WRRIWKHFODLPSD\PHQWLVWKHLPSURSHU

      SD\PHQWZKHQWKHUH VVRPHWKLQJLQFOXGHGLQWKHVDOHV

      WD[ILHOGWKDWVKRXOGQ WEHWKHUH"

            $      'HILQLWLRQRIDQLPSURSHUSD\PHQWV

            4      %XWZKHUHGLG\RXJHWWKDWGHILQLWLRQ"

            $      $RU6FKHGXOH&,WKLQNLVWKH

      GHILQLWLRQRIWKH20% VGHILQLWLRQRIDQLPSURSHU

      SD\PHQW

                                     

                  $GRFXPHQWZDVPDUNHGDV'HSRVLWLRQ

      ([KLELW1XPEHU

                                     




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA336
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 357 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       DOORZVXVWRJHWEDFNSD\PHQWVRQUHFRYHUHGDPRXQWV

             4      6R,MXVWZDQWWRPDNHVXUH, P

       XQGHUVWDQGLQJWKRXJK2WKHUWKDQWKHGHILQLWLRQRI

       DQLPSURSHUSD\PHQWWKHUH VQRWKLQJLQWKLVFLUFXODU

       WKDW$&/5ORRNHGWRRUUHOLHGXSRQWRKHOSLQIRUP

       WKDWFRQFOXVLRQDVWRKRZWRGHILQHWKHLPSURSHU

       SD\PHQWLQWKHFRQWH[WRIWKHVHVDOHVWD[FODLPVLQ

       SDUWLFXODU"

             $      :HOOZHUHYLHZHGWKHHQWLUHW\RIWKH

      PHPRUDQGXPEXWWKDWZDVWKHFRQFOXVLRQWKDWZHFDPH

      DZD\ZLWK

            4      %DVHGRQWKDWGHILQLWLRQDWSDJH"

            $      7KDWZRXOGEHFRUUHFW

            4      5HWXUQLQJWR$&/5VDOHVWD[1$,53ZKLFK

      ZDV([KLELW$&/5DOVRFRQFOXGHGWKDW0LQQHVRWD

      ODZGRHVQ WSURYLGHIRUDQ\VWDWHRUORFDOVDOHV

      WD[HVRQSUHVFULSWLRQVLVWKDWULJKW"

            $      7KDW VFRUUHFW

            4      $QGWKDWZDVDOVR\RX,WDNHLWMXVW\RX

      IRU$&/5ZKRPDGHWKDWGHWHUPLQDWLRQ"

            $      <HVLWZDV

            4      6RZDVLW$&/5 VFRQFOXVLRQWKDWDQ\




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA337
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 358 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                   5HVWRQ9$

                                                                     3DJH
       DPRXQWVWKDWZHUHUHSRUWHGLQWKHVDOHVWD[ILHOGIRU

       0LQQHVRWDSKDUPDFLHVZHUHLPSURSHUSD\PHQWVEHFDXVH

       WKH\UHIOHFWHGDQLPSURSHUDVVHVVPHQWRIVDOHVWD["

              $     7KDW VFRUUHFW

              4     /HW VPHDVN\RXWRWDNHDORRNEDFNDW

       ([KLELWSOHDVHLQWKH1$,53$QG\RXU

       GLVFXVVLRQRI0LQQHVRWDVWDUWVDWWKHERWWRPRIWKH

       SDJHZLWKWKH%DWHV1XPEHUDQGFDUULHVRQWRSDJH

           'R\RXVHHWKDW"

             $     ,DPVRUU\0\GLVFXVVLRQRI0LQQHVRWD"

             4     2I0LQQHVRWD

             $     <HV,VHHWKDW

             4     $QGDWWKHHQGRIWKDWSDUDJUDSKDERXW

      0LQQHVRWDRQSDJH\RXSXWDIRRWQRWHQXPEHU

      WKDWVD\VWKH5$&DQRQ\PRXVO\FRQWDFWHGWKHVWDWHDQG

      VHOHFWHGORFDOWD[DQGMXULVGLFWLRQV6WDWHDQG

      ORFDOUHSUHVHQWDWLYHVFRQILUPHGWKH5$& VFRQFOXVLRQV

      UHJDUGLQJWKHH[HPSWVWDWXVRISUHVFULSWLRQGUXJ

      VDOHVLQWKHVWDWH

                   7KDWZDVVSHFLILFWR0LQQHVRWD"

             $     7KDW VFRUUHFW<HV

             4     +RZZHUHWKHVWDWHDQGORFDOWD[LQJ




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA338
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 359 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       ,NQHZWKDWWKH\ZHUHORRNLQJDW0LQQHVRWD

             4      ,GLGDVNWKDWEHIRUHEXWP\TXHVWLRQZDV

       ZKHWKHU$&/5GLGQ WLQFOXGHDQ\WKLQJLQWKH1$,53

       DERXWWKHDSSOLFDELOLW\RIWKDWWZRSHUFHQWZKROHVDOH

       GLVWULEXWRUWD[FRUUHFW"

             $      7KDW VFRUUHFW

             4      %XWLVLW\RXUSRVLWLRQWKDW$&/5KDG

       ORRNHGLQWRWKDWWZRSHUFHQWZKROHVDOHWD[LQ

       0LQQHVRWDSULRUWRVXEPLWWLQJWKHVDOHVWD[1$,53"

            $      <HV

            4      $QG\RXKDGFRQFOXGHGDWWKHWLPH\RX

      VXEPLWWHGWKHVDOHVWD[1$,53WKDWWKHWZRSHUFHQW

      ZKROHVDOHUWD[XQGHU0LQQHVRWDODZFRXOGQRWEH

      SURSHUO\SDVVHGWKURXJKRQ3DUW'SUHVFULSWLRQV",V

      WKDWFRUUHFW"

            $      ,ZHOOWKDW VFRUUHFWEXWDWWKDW

      WLPH,ILJXUHG,KDGFRQFOXGHGLWZDVDPRRW

      SRLQW

            4      %XWZK\ZDVLWDPRRWSRLQW"

            $      %HFDXVHWKH\ZHUHQ WWKH\ZHUHZURQJ

            4      :HOOZKRZDVWKH\"

            $      ,ILWZDVDSURYLGHUWD[2QHRIWKH




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA339
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 360 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       ([KLELW1XPEHU

                                       

                    %<05325$'$

             4      , PVKRZLQJ\RXZKDWZH YHPDUNHGDV

       ([KLELW7KLVLVDQHPDLOIURP6RQ\D%URZQWR

       \RX6HSWHPEHU,VWKLVWKHHPDLO

       FRPPXQLFDWLRQ\RXUHFHLYHGIURP&06QRWLI\LQJ\RXRI

       WKHGHQLDORIWKHVDOHVWD[1$,53"

             $      <HV

            4      7KHHPDLOLQWKHVHFRQGVHQWHQFHUHIHUV

      WRWKHDXGLWLVVXHEHLQJFXUUHQWO\RSHQDQGDFWLYH

      ZLWKDQRWKHU&06FRQWUDFWRU'R\RXVHHWKDW"

            $      <HV,GR

            4      $WWKHWLPHWKDW\RXUHFHLYHGWKLVHPDLO

      GLG$&/5NQRZZKDWRWKHUFRQWUDFWRULWZDVZKR&06

      ZDVUHSRUWLQJFXUUHQWO\KDGWKHVDPHLVVXHRSHQDQG

      DFWLYH"

            $      1R

            4      $IWHU\RXUHFHLYHGWKLVHPDLORQ

      6HSWHPEHUGLG\RXKDYHDQ\IXUWKHU

      GLVFXVVLRQVRUFRPPXQLFDWLRQVZLWK&06DERXWWKH

      VDOHVWD[1$,53SULRUWRVXEPLWWLQJ$&/5 VFHUWLILHG




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA340
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 361 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
             4      2ND\:KDW\RXVD\ZHFRQVLGHUHGLW

       :KDWZDVWKHFRQVLGHUDWLRQSURFHVVZLWKLQ$&/5DVWR

       ZLWKLQWKDWRQHZHHNSHULRGDVWRZKHWKHUWRILOH

       DFHUWLILHGFODLPRUQRW"

             $      2K,WKLQNDWWKLVSRLQWLQWLPHWKLVZDV

       MXVWWKHODWHVWLQDORQJOLQHRIFRQWUDFWEUHDFKHV

       $QGVLQFHZHZHUHGRQHZLWKRXUFRQWUDFWVZHUHDOO\

       FRXOGQ WVXEPLWDQ\PRUHLVVXHVWKDWZHZRXOGJR

       DKHDGDQGMXVWILOHWKHFODLP

            4      'LG\RXJLYHDQ\FRQVLGHUDWLRQWR

      IROORZLQJXSZLWK6RQ\D%URZQLQUHVSRQVHWRWKH

      VDOHVWD[1$,53ZKHQVKHDVNHGLI\RXKDYHDQ\

      TXHVWLRQVWRFRQWDFWKHUUDWKHUWKDQILOLQJWKH

      FHUWLILHGFODLP"

            $      1R

            4      ,QSDUDJUDSKRIWKHFHUWLILHGFODLP

      WKHOHWWHUVWDWHVWKDWRQ0DUFK$&/5

      FRPPHQFHGGHYHORSPHQWRIWKHSD\PHQW\HDU DQG 

      VDOHVWD[HUURUV1$,537KDWLVWKDWFRUUHFW"

            $      <HV

            4      $QGWKDWZRXOGKDYHEHHQEHIRUH$&/5KDG

      UHFHLYHGWKHFRUUHFWHG3'(GDWDLQ-XQHRI




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA341
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 362 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                    5HVWRQ9$

                                                                     3DJH
       RILVWKDWFRQWLQJHQWIHHEDVHGRIIRI

       WKHWRWDODPRXQWRIWKH3'(FODLPVLQZKLFK$&/5

       LGHQWLILHGVRPHVDOHVWD[DPRXQWV"

             $      <HVLWLV

             4      7KHZD\\RXGHULYHWKDWLVLWFRUUHFW

       WKDW\RXXQGHUWKHFRQWUDFW\RXWRRNSHUFHQW

       RIIRIWKHILUVWPLOOLRQDQGWKHQSHUFHQW

       FRQWLQJHQWIHHRIIRIWKHUHPDLQLQJPLOOLRQ"

             $      7KDW VFRUUHFW

            4      'RHVWKDWFDOFXODWLRQWKDWFDOFXODWLRQ

      DVVXPHVWKDWHYHU\RQHRIWKH3'(UHFRUGVLQZKLFK

      $&/5KDGLGHQWLILHGDSRWHQWLDOLPSURSHUSD\PHQW

      ZRXOGLQIDFWEHGHHPHGWREHDQLPSURSHUSD\PHQWDQG

      UHFRXSHGLVWKDWFRUUHFW"

            $      7KDW VFRUUHFW

            4      $QGLWDOVRDVVXPHVWKDWWKHHQWLUHW\RI

      WKHFODLPDPRXQWIRUHYHU\RQHRIWKRVHFODLPVZRXOG

      EHUHFRXSHGQRWMXVWWKHVDOHVWD[DPRXQWFRUUHFW"

            $      7KDW VFRUUHFW

            4      $QGWKDWZDVEDVHGRQ\RXUSULRUUHYLHZRI

      WKDW20%FLUFXODU$WKDWZHWDONHGDERXWWKDW

      GHILQHVLPSURSHUSD\PHQW7KDW VKRZ\RXGHWHUPLQHG




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA342
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 363 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       WKDWWKHHQWLUHW\RIWKHFODLPDPRXQWZRXOGEHGHHPHG

       WREHLPSURSHUUDWKHUWKDQMXVWWKHVDOHVWD[

       FRPSRQHQW"

             $      :HOO,PHDQWKDW VSDUWRILWEXWWKDW

       ZDVDOVR&06 VSUDFWLFHV

             4      ,QWKHSULRUDXGLWV"

             $      ,QWKHSULRUDXGLWVDQGDVIDUDV,FDQ

       UHFDOOIRUWKH$DQG%DXGLWVDVZHOO

             4      :LWKUHVSHFWWRWKHSULRUDXGLWVWKDW$&/5

      FRPSOHWHGWKRVHLQYROYHGWKLQJVOLNHGXSOLFDWH

      SD\PHQWVZKHUHWKHUHZDVHVVHQWLDOO\DGRXEOHFKDUJH

      LVQ WWKDWFRUUHFW"2UDQH[FOXGHGSURYLGHUZKR

      VKRXOGQRWKDYHVXEPLWWHGDFODLPWKDWZDVSDLGDW

      DOOLVWKDWFRUUHFW"

            $      7KDW VFRUUHFW

            4      6RLQWKRVHVFHQDULRVWKHUHZDVDFODLP

      WKDWZDVSDLGWKDWQHYHUVKRXOGKDYHEHHQSDLGDW

      DOOHLWKHUEHFDXVHLWZDVDGXSOLFDWHRUEHFDXVH

      WKHSURYLGHURUSUHVFULEHUZDVQ WDXWKRUL]HGWRZULWH

      WKHSUHVFULSWLRQRUILOOWKHSUHVFULSWLRQLQWKH

      ILUVWSODFHLVWKDWULJKW"

            $      :HOOWKHUHDUHWZRDVSHFWVWRWKDW7KH\




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA343
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 364 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
             4      :LWKUHVSHFWWR\RXUFHUWLILHGFODLP

       DPRXQW,EHOLHYH\RXVDLGWKDWWKHFDOFXODWLRQLV

       EDVHGRQWKHDVVXPSWLRQWKDWHYHU\RQHRIWKH3'(

       UHFRUGVWKDW$&/5LGHQWLILHGDVLPSURSHUZRXOGLQ

       IDFWKDYHEHHQIRXQGWREHLPSURSHUDQGUHFRXSHG

       FRUUHFW"

             $      7KDW VFRUUHFW

             4      $QG$&/5NQHZDWWKHWLPHLWVXEPLWWHG

       WKLVFODLPWKDWRQWKHSULRUDXGLWV\RXKDG

      FRPSOHWHGIRU&06LQQRQHRIWKRVHKDG&06DFWXDOO\

      UHFRXSHGSHUFHQWRIWKHDPRXQWWKDWKDGEHHQ

      LGHQWLILHGLQWKH1$,53FRUUHFW"

            $      7KDW VFRUUHFW

            4      $QG\RXDOVRNQHZWKDWLQQRQHRIWKH

      SULRUDXGLWVWKDW$&/5KDGFRPSOHWHGZDV$&/5 V

      FRQWLQJHQWIHHFDOFXODWHGEDVHGRQSHUFHQWRIWKH

      FODLPVWKDWZHUHLQLWLDOO\LGHQWLILHGLQWKH1$,53V"

            $      7KDW VFRUUHFW

            4      &RUUHFW"'LG\RXJLYHDQ\FRQVLGHUDWLRQ

      ZKHQ\RXILOHGWKLVFODLPWRDGMXVWLQJWKHDPRXQW

      WKDW\RXZHUHFODLPLQJEDVHGRQVRPHFRQVLGHUDWLRQRI

      WKHOLNHOLKRRGRIUHFRXSLQJSHUFHQWRIWKH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA344
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 365 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       VXEPLWWHGLWWRWKH'9&LWZDVSHUFHQWLQ

       DFFRUGDQFHZLWKWKHDSSURYHGPHWKRGRORJ\7KRVHDUH

       WKHDPRXQWVWKDWZHVXEPLWWHG7KDWZRXOGEH

       DFFXUDWH

             4      2ND\6RQRWWKHDPRXQWVVWDWHGLQWKH

       1$,53V7KRVHZHUHHVWLPDWHVLVZKDW\RXDUHVD\LQJ"

             $      7\SLFDOO\\HV:H GJHWDVFORVHDVZH

       FRXOGEXWWKRVHDUHHVWLPDWHV7KLVRQH,WKLQNLV

       SUHWW\FORVHWRLWEHFDXVHLWZDVQ WLWZDVQ W

      WKDWGLIILFXOWWRUXQWKHDPRXQWVRQ

            4      %XW$&/5 VH[SHULHQFHLQWKHSULRUDXGLWV

      ZDVWKDWLWZRXOGSURSRVHDQDXGLWZLWKDQHVWLPDWHG

      DPRXQW:KHQWKHDXGLWZDVDSSURYHGDQGLWZHQW

      IRUZDUGWKHDPRXQWZRXOGEHUHILQHGDQGUHYLHZHGE\

      WKHGDWDYDOLGDWRU$QGWKDWDPRXQWXOWLPDWHO\ZRXOG

      EHVRPHWKLQJGLIIHUHQWIURPZKDWZDVLQWKHLQLWLDO

      1$,53FRUUHFW"

            $      ,WZDVDQWLFLSDWHG,PHDQIURPWKH

      EHJLQQLQJ,PHDQERWK&06DQGZHORRNHGDWHDFKRI

      WKHVHDVDQHVWLPDWH,WZDVQHYHUPHDQWWREH

      H[DFW,WZDVMXVWDSURSRVHG1$,53

                   7RJLYH\RXDQH[DPSOHLIZHZHUHWRGR




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA345
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 366 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       H[FOXGHGSURYLGHUVWRGD\ZHZRXOGLGHQWLI\DOORI

       WKRVHH[FOXGHGSURYLGHUVZHEHOLHYHGWREHH[FOXGHG

       IURP0HGLFDUHSDUWLFLSDWLRQ$IWHUZHZHQWWRWKDW

       SURFHVVDQGLWORRNHGOLNHZHZHUHJRLQJWRJHW

       DSSURYDORU&06DVNHGDGGLWLRQDOTXHVWLRQVZHZRXOG

       UHYLHZWKRVHGDWDLQJUHDWHUGHWDLO$QGWKDWPD\

       PDNHLWULVHRUHYHQJRGRZQLQSD\PHQWV

             4      'RHV$&/5KDYHDQ\LQIRUPDWLRQVXJJHVWLQJ

       WKDW&06DFWXDOO\UHFRYHUHGDQ\RIWKHDPRXQWVWKDW

      ZHUHLGHQWLILHGLQ$&/5 VVDOHVWD[1$,53"

            $      ,KDYHLQIRUPDWLRQLQGLFDWLQJWKDWLW

      ZDVQ WUHFRYHUHGEXW,GRKDYHLQIRUPDWLRQVKRZLQJ

      WKDWWKH\VRPHRIWKRVHUHFRUGVKDGEHHQHLWKHU

      FRUUHFWHGRUGHOHWHG

            4      $QGGRHV$&/5NQRZZKLFKLQWHUPVRI

      YROXPHRIUHFRUGVZHUHFRUUHFWHGRUGHOHWHG"

            $      ,WZDV\HV

            4      $QGZKDWLVWKDWLQIRUPDWLRQ\RXKDYH"

            $      ,WZDVVXSSOLHGWRXVGXULQJGLVFRYHU\

      VKRZLQJUHFRUGVWKDWZHUHGHOHWHGIRU/RXLVLDQD,

      GRQ WUHPHPEHUWKHH[DFWQXPEHU

            4      2WKHUWKDQ/RXLVLDQDGLG$&/5VHHDQ\




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA346
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 367 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       RUJDSHDQ\LQIRUPDWLRQWKDWVXJJHVWVWKDWDQ\RIWKH

       RWKHUDPRXQWVLGHQWLILHGDVLPSURSHUSD\PHQWVEDVHG

       RQVDOHVWD[HVZHUHUHFRYHUHGRUUHFRXSHGE\&06"

             $      7KHUHZDVQRRWKHUHYLGHQFHRIDQ\

       UHFRXSPHQWVRUUHFRYHULHV$QGDJDLQWKRVHDPRXQWV

       WKDWZHUHGHOHWHGZRXOGQRWKDYHEHHQUHFRYHUHGRU

       UHFRXSHG

             4      7KHFHUWLILHGFODLPSDUDJUDSKRIWKH

       UHOLHIUHTXHVWHGIRUWKHODVWSDJHVHHNVDQ

      DGGLWLRQDODPRXQWRIUHODWHGWRHVWLPDWHG

      LQWHUQDOFRUSRUDWHH[SHQVHVUHODWHGWRWKH

      SUHSDUDWLRQDQGILOLQJRIWKLVFODLPDVZHOODVDQ

      DPRXQWIRUUHDVRQDEOHDWWRUQH\VIHHVDQGUHODWHG

      H[SHQVHV'R\RXVHHWKDW"

            $      <HV,GR

            4      6RLVLW\RXUWHVWLPRQ\WKDW$&/5LQFXUUHG

      LQH[SHQVHVLQWKHZHHNEHWZHHQWKH1$,53

      GHQLDODQGWKLVVXEPLVVLRQLQWKHFRXUVHRISUHSDULQJ

      WKLVFHUWLILHGFODLP"

            $      <HV

            4      $QGKRZZDVLWWKDW\RXFDOFXODWHGWKDW

      DPRXQWWRSUHSDUHWKLVFHUWLILHGFODLP




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA347
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 368 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
             $      <RXNQRZ\RXDUHULJKW7KLVLVWKH

       QXPEHURIGROODUVWKDWZHLGHQWLILHGIRU0LQQHVRWD

       VDOHVWD[FKDUJHVRQWRWDO3DUW'FODLPVFRQWDLQLQJ

       0LQQHVRWDVDOHVWD[0\DSRORJLHV,ZDVPLVWDNHQ

             4      2ND\6RWKHPLOOLRQQXPEHURI

       FODLPVWKDW VMXVWWKH0LQQHVRWDFODLPVWKDWKDG

       VRPHWKLQJLQWKHVDOHVWD[ILHOG"

             $      7KDW VFRUUHFW

             4      2ND\7KDW VQRWDOO0LQQHVRWDFODLPVLQ

      WKHWLPHSHULRG"

            $      7KDW VFRUUHFW

            4      1RZLI\RXORRNEDFNDWWKHVDOHVWD[

      1$,53ZKLFKLV([KLELWWKDWDWWKHWLPH\RX

      VXEPLWWHGWKH1$,53$&/5LGHQWLILHGDERXW

      PLOOLRQ3'(UHFRUGVLQZKLFKWKHUHZDVVDOHVWD[

      IRXQGRUVRPHWKLQJIRXQGLQWKHVDOHVWD[ILHOGLV

      WKDWULJKW"

            $      7KDW VFRUUHFW

            4      6RWKHFRPSODLQWLVDOOHJLQJWKDWWKHUH

      ZHUHURXJKO\PLOOLRQDGGLWLRQDO3'(FODLPVLQ

      ZKLFK$&/5IRXQGVRPHWKLQJLQWKHVDOHVWD[ILHOG

      FRUUHFW"




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA348
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 369 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
             $      7KDW VFRUUHFW

             4      $QGOLNHZLVHWKHFRPSODLQWDOOHJHVWKDW

       WKHUHZDVDGGLWLRQDODGGLWLRQDODPRXQWVWKDWZHUH

       LGHQWLILHGDVLPSURSHUVDOHVWD[DPRXQWVE\TXLWHD

       ELWFRUUHFW"<RXKDYHLGHQWLILHGWRWDOFODLP

       SD\PHQWVIRU0LQQHVRWDRIPLOOLRQLQSDUDJUDSK

       RIWKHFRPSODLQWFRUUHFW"

             $      7KDW VFRUUHFW

             4      $QGLQ\RXUVDOHVWD[1$,53\RXKDGIRXQG

      DQGLGHQWLILHGDWWKDWSRLQWOLWWOHRYHUPLOOLRQ

      RIWRWDOFODLPSD\PHQWVLQ0LQQHVRWDLQZKLFKWKHUH

      ZDVVRPHWKLQJLQWKHVDOHVWD[ILHOGFRUUHFW"

            $      7KDW VFRUUHFW

            4      6RWKDW VDERXWPLOOLRQPRUHDOOHJHG

      LQWKHFRPSODLQWWKDQZDVLQWKH1$,53"

            $      7KDW VFRUUHFW

            4      /HWPHKDYH\RXORRNDWSDUDJUDSKRI

      WKHFRPSODLQW3DUDJUDSKLGHQWLILHVLPSURSHU

      VDOHVWD[FKDUJHVE\/RXLVLDQDSKDUPDFLHVLVWKDW

      ULJKW"

            $      7KDW VFRUUHFW

            4      $QGDOOHJHGLQSDUDJUDSKRIWKH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA349
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 370 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       FRPSODLQWLVWKDWWKHUHZHUH3DUW'FODLPV

       WKDWLQFOXGHGVDOHVWD[DPRXQWVLQ/RXLVLDQDLQWKRVH

       \HDUVLVWKDWULJKW"

             $      7KDW VFRUUHFW

             4      $QGORRNLQJEDFNDWWKHVDOHVWD[1$,53

       ([KLELWDWWKHWLPH\RXVXEPLWWHGWKH1$,53\RX

       LGHQWLILHG3'(UHFRUGVZLWKVRPHWKLQJLQ

       WKHVDOHVWD[ILHOGULJKW"

             $      7KDW VFRUUHFW

            4      6RWKDWZDVDQDGGLWLRQRIDFRXSOH

      KXQGUHGDGGLWLRQDO3'(UHFRUGV"

            $      <HV

            4      $QGWKHDPRXQWOLNHZLVHLQFUHDVHGE\DERXW

      E\DVPDOODPRXQWDVZHOOLVWKDWFRUUHFW"

            $      7KDW VFRUUHFW

            4      $ERXW"

            $      7KDW VFRUUHFW

            4      /HWPHKDYH\RXWDNHDORRNDWSDUDJUDSK

      RIWKHFRPSODLQW7KDWSDUDJUDSKUHODWHVWRWKH

      VWDWHVLQZKLFKRUH[FXVHPHWKHFODLPVLQZKLFK

      $&/5LGHQWLILHGDPRXQWVLQWKHVDOHVWD[ILHOGWKDW

      H[FHHGHGSHUFHQWRIWKHFODLPUHLPEXUVHPHQWVLV




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA350
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 371 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       WKDWULJKW"

             $      <HV

             4      $QGLQWKHFRPSODLQWSDUDJUDSK\RX

       KDYHDOOHJHGWKDW$&/5LGHQWLILHGFODLPVWKDW

       KDGVDOHVWD[LQWKHVDOHVWD[ILHOG$QGLQWKH

       VDOHVWD[1$,53IRUWKRVHVWDWHV\RXKDGDOOHJHG

       WKDW\RXKDGIRXQGWRWDOFODLPVLVWKDW

       ULJKW"

             $      7KDW VFRUUHFW

            4      6RWKDWKDGDOVRLQFUHDVHGE\RUVR

      3'(UHFRUGV"

            $      7KDW VFRUUHFW

            4      1RZ$&/5 VFHUWLILHGFODLPWKDWZHORRNHG

      DWZKLFKZDV([KLELWWKDWZDVEDVHGRQWKH

      QXPEHUVWKDWFDPHIURPWKHVDOHVWD[1$,53LVWKDW

      ULJKW"

            $      7KDW VFRUUHFW

            4      6R$&/5 VFHUWLILHGFODLPZDVQRWEDVHG

      RQWKHLQFUHDVHGFODLPQXPEHUVDQGGROODUDPRXQWV

      WKDWDUHFRQWDLQHGLQWKHFRPSODLQWLVWKDWULJKW"

            $      7KDW VFRUUHFW

            4      $QGLVLWFRUUHFWWKDW$&/5QHYHU




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA351
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 372 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                   5HVWRQ9$

                                                                     3DJH
       GLVFXVVHGWKHDGGLWLRQDOWR3'(UHFRUGVDQG

       FODLPSD\PHQWVWKDWDUHDOOHJHGLQWKHFRPSODLQW

       DERYHDQGEH\RQGWKHDPRXQWVWKDWZHUHLQWKH

       FHUWLILHGFODLPQHYHUGLVFXVVHGWKRVHZLWK&06

       EHIRUHILOLQJWKHFRPSODLQW"

             $      7KDW VFRUUHFW

             4      $QG$&/5QHYHUUHTXHVWHGDFRQWUDFWLQJ

       RIILFHU VGHFLVLRQRQWKHH[SDQGHGXQLYHUVHRIWKH

       3'(UHFRUGVWKDW VFRQWDLQHGLQWKHFRPSODLQWLV

      WKDWULJKW"

            $      7KDW VFRUUHFW

            4      1RZLQSDUDJUDSKVDQGRIWKH

      FRPSODLQWWKHFRPSODLQWDOOHJHVFHUWDLQFODLPVWKDW

      ZHUHLGHQWLILHGE\$&/5UHJDUGLQJHUURQHRXV0LQQHVRWD

      VDOHVWD[FKDUJHVIRUWRDQGWR

      'R\RXVHHWKDW"

            $      <HV,GR

            4      $&/5QHYHUVXEPLWWHGD1$,53WR&06

      SURSRVLQJD0LQQHVRWDVDOHVWD[DXGLWIRUWKRVH

      \HDUVLVWKDWULJKW"

            $      7KDW VFRUUHFW

            4      $QGVRLVLWFRUUHFWWKDW$&/5LVQRW




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA352
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 373 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       LWPRUHDFFXUDWHZHORRNHGDWERWKILHOGVERWKWKH

       SURYLGHUDQGWKHDOWHUQDWLYHSUHVFULEHUILHOG

                  6RE\GRLQJWKDWZHLGHQWLILHGPRUH03,V

       LQWKHDOWHUQDWLYHSURYLGHUVHUYLFHSURYLGHU,'

       ILHOG

             4      DQGWKDWLQIRUPDWLRQZDVLPSRUWDQWWR

       LGHQWLI\LQZKLFKVWDWHWKHSKDUPDF\ZDVVLWXDWHGIRU

       GHWHUPLQLQJZKLFKVWDWH VWD[ODZVZRXOGDSSO\DQ\

       RWKHUSXUSRVH"

            $      7KDW VFRUUHFW<HV

            4      6R$&/5IHOWWKDWWKHDQDO\VLVLW

      FRQGXFWHGWRSUHSDUHWKHFRPSODLQWZDVPRUHDFFXUDWH

      DQGFRPSOHWHWKDQWKHDQDO\VLVFRQWDLQHGLQWKH

      1$,53"

            $      7KDW VFRUUHFW

            4      :K\ZDVLWWKDWWKDWDQDO\VLVZDVQ W

      FRQGXFWHGDWWKHWLPHWKDW$&/5VXEPLWWHGWKHVDOHV

      WD[1$,53"

            $      $V,PHQWLRQHGHDUOLHUZKHQHYHUZH

      ZKHQHYHUZHVXEPLWWHGD1$,53LWZDVMXVWEDVLFDOO\

      DQHVWLPDWHRIZKDWZHWKRXJKWZDVWKHUH,QWKLV

      FDVHZHMXVWORRNHGDWWKHVHUYLFHSURYLGHU




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA353
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 374 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                  5HVWRQ9$

                                                                     3DJH
       LGHQWLILHUVZLWKLQWKHVHUYLFHSURYLGHULGHQWLILHU

       ILHOGDQGZHGLGQ WORRNDWWKHDOWHUQDWLYHRQH

                   +DGZHJRQHWKURXJKWKHZDONWKURXJK

       PHHWLQJDQGGRQHDGGLWLRQDOGLVFXVVLRQVEDFNDQG

       IRUWKZLWK&06WKHQZHZRXOGKDYHJRQHWKURXJKWKDW

       SURFHVVWKHQDQGGRQHWKDWDVZHOO

             4      ,VLWSRVVLEOHWKDWWKRVHWZRILHOGVFRXOG

       FRQWDLQGLIIHUHQWGDWDRQHILHOGLGHQWLI\LQJRQH

       ORFDWLRQDQGWKHRWKHUILHOGLGHQWLI\LQJDGLIIHUHQW

      ORFDWLRQ"

            $      7KH\FRQWDLQGLIIHUHQWGDWDEXWWKH\

      GRQ WFRQWDLQDWOHDVWLQP\H[SHULHQFHWKH\

      GRQ WFRQWDLQGDWDWKDWGHPRQVWUDWHVWKDWLW VD

      GLIIHUHQWORFDWLRQ,W VWKHVDPHSKDUPDF\7KH\

      MXVWKDYHWZRGLIIHUHQWQXPEHUV

            4      6RWKHDGGLWLRQDO3'(VWKDWDUHLGHQWLILHG

      DQGUHIHUHQFHGLQWKHFRPSODLQWWKRVHDUHWKHUH

      DUHDGGLWLRQDO3'(VWKDWDUHXQUHODWHGWRWKH3'(V

      WKDWZHUHLGHQWLILHGDWWKHWLPH\RXVXEPLWWHGWKH

      1$,53SURSRVDOVLVWKDWULJKW"

            $      :HOOWKH\DUHUHODWHGWRWKHSKDUPDFLHV

      EXWWKH\DUHQRWWKHVDPH3'(V7KH\ZRXOGEH




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                 SA354
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 375 of 514

&KULVWRSKHU0XFNH E                                        6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
       DGGLWLRQDO3'(VVLQFHWKHKLJKHUDPRXQWEXWWKH\DUH

       UHODWHGLQVRIDUDVWKH\DUHVDOHVWD[LPSURSHU

       SD\PHQWVLQ0LQQHVRWD

             4      $QGWKHRWKHUVWDWHV"

             $      $QGWKHRWKHUVWDWHV$OWKRXJKLQWKLV

       FDVH,WKLQN,WKRXJKWZHZHUHMXVWGRLQJ0LQQHVRWD

       EXW\HVLWZRXOGKDYHEHHQWKHVDPHIRUWKHRWKHU

       LVVXHVDVZHOO

             4      5LJKW/LNHWKHDGGLWLRQDORQHVLQ

      /RXLVLDQD"

            $      <HV

            4      2UWKHJUHDWHUWKDQSHUFHQWVWDWHV"

            $      7KDW VFRUUHFW

            4      6R,MXVWZDQWWRPDNHVXUH,XQGHUVWDQG

      6RWKHVHDUHDGGLWLRQDO3'(UHFRUGV\RXIRXQGWKDW

      DUHWKH\DUHGLIIHUHQWSUHVFULSWLRQVWKDWZHUH

      ILOOHGWKDW\RXLGHQWLILHGDVLPSURSHU"

            $      7KDW VFRUUHFW

            4      'LG$&/5REWDLQDQ\QHZRU3'(

      GDWDIURP&06WKDWLWXVHGWRUXQWKHVHUHYLVHG

      FDOFXODWLRQVRUZDVLWWKHVDPHGDWD\RXKDGDWWKH

      WLPHRIWKH1$,53VXEPLVVLRQ"




                             $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                          ZZZDOGHUVRQUHSRUWLQJFRP
                                  SA355
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 376 of 514

&KULVWRSKHU0XFNH E                                       6HSWHPEHU
                                    5HVWRQ9$

                                                                     3DJH
             4      $QGOLNHZLVHLQSDUDJUDSK%WKH

       UHIHUHQFHWRWKHPLOOLRQ3DUW'FODLPVWKDW

       FRPHVIURPWKHWRWDOFODLPQXPEHUVLQWKRVHVDPH

       SDUDJUDSKVDQG"

             $      , PVRUU\&DQ\RXVD\WKDWDJDLQ"

             4      6XUH/RRNLQJDWSDUDJUDSK%ZHWDONHG

       DERXWWKHGROODUDPRXQWEXWWKHWRWDOFODLPQXPEHU

       RIPLOOLRQWKDWWRWDOFODLPQXPEHUOLNHZLVH

       FRPHVIURPWKRVHVDPHSDUDJUDSKVSDUDJUDSKV

      DQG"

            $      7KH\VKRXOG\HV

            4      $QGWKHGDPDJHVWKDWDUHDOOHJHGLQWKH

      FRPSODLQWWKHODVWSDJHSDUDJUDSK

      GR\RXVHHWKDW"

            $      <HV,GR

            4      $QGLVWKDWVLPSO\EDVHGRQWKH5$&

      FRQWUDFWFRQWLQJHQWIHHUDWHPXOWLSOLHGE\WKDW

      ELOOLRQILJXUHIURPSDUDJUDSK%"

            $      <HVLWLV

                                      

                  $GRFXPHQWZDVPDUNHGDV'HSRVLWLRQ

      ([KLELW1XPEHU




                            $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                         ZZZDOGHUVRQUHSRUWLQJFRP
                                   SA356
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 377 of 514




              TAB 92
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 378 of 514




· · · · · ·· IN THE UNITED STATES COURT
· · · · · · · ·· OF FEDERAL CLAIMS
· ---------------------x
· ACLR, LLC
· · · · · · Plaintiff,
· -vs-· · · · · · · · · ··Civil Action No. 15-767
· THE UNITED STATES
· · · · · · Defendant.
· ---------------------x
· · · · · · · · · · · Monday, October 30, 2017
· · · · · · · · · · · Reston, Virginia
·
· · THE DEPOSITION OF CHRISTOPHER MARTIN MENDEZ
· · As Corporate Representative for Livanta, LLC
· · · · · · · · · · · 30(b)(6)
·
· · · · · · · · · · · Volume 1
·
·
·
·
·


                                  SA357
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 379 of 514
                                                                     Page 15
  Christopher Martin Mendez              ACLR, LLC v. United States of America
  Case No. 15-767                                        October 30, 2017

·1· · · ··A.· ·Well, they preceded the Part D RAC,

·2· ·and, in fact, the Part D -- our contract was

·3· ·framed on the A/B RAC validation contractor.

·4· · · ··Q.· ·And how was your contract framed on

·5· ·the A/B RAC data validation contractor?

·6· · · ··A.· ·Well, like one of the main things was

·7· ·the -- one of the main tasks was called an

·8· ·accuracy review.··And that terminology is pretty

·9· ·close to almost exactly what it was in the

10· ·A/B RAC validation contract.··And since their

11· ·contracts were before ours, it just makes sense,

12· ·you know, that it was based on theirs.

13· · · ··Q.· ·I think your testimony was that part

14· ·of your job was to assess whether the findings

15· ·of the RAC before they were sent out to the

16· ·plans as identifying improper payments -- you

17· ·were to validate those?

18· · · ··A.· ·Right.

19· · · ··Q.· ·And were you doing a sampling of the

20· ·RAC's findings, or were you doing --

21· · · ··A.· ·We were doing a 100 percent

22· ·validation.··The accuracy reviews were based on

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA358
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 380 of 514
                                                                      Page 16
   Christopher Martin Mendez              ACLR, LLC v. United States of America
   Case No. 15-767                                        October 30, 2017

·1· ·a sampling, but we were not instructed by CMS to

·2· ·perform it based on a sampling.··We were asked

·3· ·to do a 100 percent.

·4· · · ··Q.· ·And when would the RAC send out

·5· ·notification of improper payments to plans?

·6· · · ··A.· ·When?··In what context?··Do you mean

·7· ·in --

·8· · · ··Q.· ·You understand the RAC process?

·9· · · ··A.· ·Sure.

10· · · ··Q.· ·They would have an audit approved by

11· ·CMS?

12· · · ··A.· ·Right.

13· · · ··Q.· ·And then they would perform their

14· ·analysis?

15· · · ··A.· ·Right.

16· · · ··Q.· ·Then what would happen next?··Would

17· ·they submit it to --

18· · · ··A.· ·They would submit it to us for

19· ·validation, correct.

20· · · · · · ·If it was a complex review, they would

21· ·request supporting documentation from the plans

22· ·first.··And then they would do their analysis

                           Nicholson Reporting, Inc.
      (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA359
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 381 of 514
                                                                     Page 28
  Christopher Martin Mendez              ACLR, LLC v. United States of America
  Case No. 15-767                                        October 30, 2017

·1· · · ··A.· ·Right.

·2· · · ··Q.· ·Is that a correct description of

·3· ·accuracy reviews that you described --

·4· · · ··A.· ·That we talked about earlier, it is.

·5· ·And that's -- initially the contract was written

·6· ·so that we would perform accuracy reviews based

·7· ·on a sample.··But that's not the way CMS ended

·8· ·up tasking us.

·9· · · ··Q.· ·When did Livanta get tasked with

10· ·something other than doing accuracy reviews?

11· · · ··A.· ·It started with our very first

12· ·validation, the 2007 excluded providers.

13· · · ··Q.· ·And why did CMS say they wanted

14· ·something other than accuracy reviews?

15· · · ··A.· ·You'll have to ask them.

16· · · ··Q.· ·Did they provide you with any

17· ·description as to why?

18· · · ··A.· ·No.··They just asked us -- instructed

19· ·us to perform 100 percent validation.

20· · · ··Q.· ·Take a look at the next page.··At the

21· ·top it says under Framework --

22· · · ··A.· ·Yes.

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA360
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 382 of 514
                                                                      Page 35
  Christopher Martin Mendez               ACLR, LLC v. United States of America
  Case No. 15-767                                         October 30, 2017

·1· ·in a later version, because CMS did not task us

·2· ·to perform the accuracy reviews as are provided

·3· ·here in Task 4.··They asked us and instructed us

·4· ·to perform 100 percent validations.··So that

·5· ·task was added in a subsequent version of the

·6· ·statement of work.

·7· · · ··Q.· ·So as of March of 2012, there was no

·8· ·tasking for Livanta to perform validation?

·9· · · ··A.· ·That's correct.··There was -- the

10· ·statement of work is fairly fluid, and I think

11· ·the early 2000 not the 2007 excluded providers

12· ·was tasked under special-study-type action,

13· ·maybe even an accuracy-type review in terms of

14· ·what they want done, but not -- but it was not

15· ·based on a sample.··It was 100 percent.

16· · · ··Q.· ·When did you begin the 100 percent

17· ·validation?

18· · · ··A.· ·Right away.

19· · · ··Q.· ·But you didn't have it in the

20· ·statement of work?

21· · · ··A.· ·That's correct.··But like I said, the

22· ·statement of work is flexible.··If we were

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA361
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 383 of 514
                                                                      Page 37
   Christopher Martin Mendez              ACLR, LLC v. United States of America
   Case No. 15-767                                        October 30, 2017

·1· · · · · · ·It took a little bit of time, but it

·2· ·is in a subsequent version that describes more

·3· ·correctly the validations they were tasking us

·4· ·to perform.

·5· · · ··Q.· ·And do you know when, then, in the

·6· ·timeline that happened, where they tasked you to

·7· ·perform 100 percent validations?

·8· · · ··A.· ·They started in -- from the get-go it

·9· ·was 100 percent.··The 2007 excluded provider was

10· ·the very first validation we performed.··My

11· ·recollection, as I testified, it was early 2012,

12· ·and it was 100 percent validation.

13· · · · · · ·I don't recall how long it took for

14· ·CMS to adjust the statement of work, but it

15· ·certainly took a bit of time.

16· · · ··Q.· ·So it would have been sometime

17· ·after --

18· · · ··A.· ·Yes, sometime after --

19· · · ··Q.· ·-- March of 2012?

20· · · ··A.· ·Yes.··Probably even a year or more,

21· ·right.

22· · · ··Q.· ·Did you begin performing 100 percent

                           Nicholson Reporting, Inc.
      (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA362
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 384 of 514
                                                                    Page 129
  Christopher Martin Mendez              ACLR, LLC v. United States of America
  Case No. 15-767                                        October 30, 2017

·1· ·increases without looking at the scripts,

·2· ·because you need a new script if the dosage was

·3· ·increased.

·4· · · ··Q.· ·Wouldn't it be an obligation to put a

·5· ·dosage number in a PDE record?··Is that a field

·6· ·that's supposed to be included in the PDE

·7· ·record, the dosage amount?

·8· · · ··A.· ·Not to my knowledge.

·9· · · ··Q.· ·What about the quantity?

10· · · ··A.· ·I mean, we worked with the PDE records

11· ·as they were.··We had no say in what fields were

12· ·there, what fields weren't, why some were

13· ·populated, why some were not.··We had no -- it

14· ·was just, worked with the data.

15· · · ··Q.· ·Do you know what a service reference

16· ·number is?

17· · · ··A.· ·My recollection is that's a field in

18· ·the PDE record.··The service reference number.

19· ·It could be -- and I believe it is.··So let me

20· ·just say that I'm not 100 percent certain.··It's

21· ·been a while.··I think it's the ID that the

22· ·pharmacy signs for a prescription.

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA363
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 385 of 514




              TAB 93
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 386 of 514




· · · · · ·· IN THE UNITED STATES COURT
· · · · · · · ·· OF FEDERAL CLAIMS
· ---------------------x
· ACLR, LLC
· · · · · · Plaintiff,
· -vs-· · · · · · · · · ··Civil Action No. 16-309
· THE UNITED STATES
· · · · · · Defendant.
· ---------------------x
· · · · · · · · · · · Wednesday, June 28, 2017
· · · · · · · · · · ··Baltimore, Maryland
·
·
· · · · · · ·· C-O-N-F-I-D-E-N-T-I-A-L
·
· · ·· DEPOSITION OF MATTHEW EDWARD FARABAUGH
· · ·· as Corporate Representative for Health
· · · · · · · Integrity, LLC, 30(b)(6)
·
·
·
·


                                  SA364
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 387 of 514
                                                                   Page 10
Matthew Edward Farabaugh               ACLR, LLC v. THE UNITED STATES
Case No. 16-309                                         June 28, 2017




                       Nicholson Reporting, Inc.
  (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                               SA365
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 388 of 514
                                                                 Page 126
Matthew Edward Farabaugh              ACLR, LLC v. THE UNITED STATES
Case No. 16-309                                        June 28, 2017




                       Nicholson Reporting, Inc.
  (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                              SA366
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 389 of 514
                                                                 Page 127
Matthew Edward Farabaugh              ACLR, LLC v. THE UNITED STATES
Case No. 16-309                                        June 28, 2017




                       Nicholson Reporting, Inc.
  (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                              SA367
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 390 of 514
                                                                 Page 128
Matthew Edward Farabaugh              ACLR, LLC v. THE UNITED STATES
Case No. 16-309                                        June 28, 2017




                       Nicholson Reporting, Inc.
  (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                              SA368
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 391 of 514




              TAB 94
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 392 of 514

&KULVWSKHU0XFNH                                             6HSWHPEHU
                                   5HVWRQ9$

                                                                      3DJH
         ,17+(81,7('67$7(6&28572))('(5$/&/$,06

       [

       $&/5//&

                   3ODLQWLII&DVH1RF

           YV                          -XGJH&DPSEHOO6PLWK

       7+(81,7('67$7(6               

                   'HIHQGDQW          

       [

  

                  '(326,7,212)&+5,6723+(508&.(

                        5HVWRQ9LUJLQLD

                    7XHVGD\6HSWHPEHU

                             DP

 

 

 

 

 

 

      -RE1R

      3DJHV

      5HSRUWHGE\(OL]DEHWK0LQJLRQH535




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA369
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 393 of 514

&KULVWSKHU0XFNH                                                  6HSWHPEHU
                                      5HVWRQ9$

                                                                          3DJH
       2UDWOHDVWLQRXU$WODQWDRIILFHWKH\WRRNWKDW

       RYHU6RWKH\ZHUHQRORQJHUHPSOR\HGZLWKWKH

       FRPSDQ\

                    ,EHOLHYHWKDWZHUHWDLQHGWKUHHSHRSOH

       WKDWZHUHQRWWKDWZHUHQRWDVNHGRUWKDWZHUH

       QRWRIIHUHGDSRVLWLRQZLWKWKHQHZFRPSDQ\$QG

       WKHQWZRRIWKRVHSHRSOHOHIWUHODWLYHO\VRRQIRU

       RWKHUZRUN$QGDQRWKHULQGLYLGXDOVWD\HGRQIRU

       DERXWWKUHHRUIRXUPRQWKV

              4     $WWKHWLPHWKDWWKHQDPHZDVFKDQJHGIURP

      &RUSRUDWH7D[&RQVXOWDQWVWR$&/5GLGWKHEXVLQHVV

      KDYHDQ\JRYHUQPHQWFRQWUDFWLQJZRUNDWWKDWSRLQWLQ

      WLPH"

              $     1RZHGLGQRW

              4     &DQ\RXGHVFULEHIRUPHZKDW$&/5ZKDW

      LWVEXVLQHVVPRGHOLVZKDWW\SHVRIZRUNLWLV

      HQJDJHGLQSHUIRUPLQJ"

              $     5HFRYHU\DXGLWVRQDFRQWLQJHQF\IHH

      EDVLV

              4     +RZPDQ\HPSOR\HHVGRHV$&/5FXUUHQWO\

      KDYH"

              $     7KUHH




                                $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                             ZZZDOGHUVRQUHSRUWLQJFRP
                                     SA370
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 394 of 514

&KULVWSKHU0XFNH                                             6HSWHPEHU
                                 5HVWRQ9$

                                                                     3DJH
             4     6HWWLQJDVLGHIRUWKHPRPHQWWKHFRQWUDFW

       ZLWK&06IRUWKH3DUW'5$&SURJUDPDVWKHIRFXVRI

       WKLVFDVHFDQ\RXWHOOPHZKDWRWKHUW\SHVRI

       UHFRYHU\DXGLWZRUN$&/5KDVHQJDJHGLQVLQFHLWV

       LQFHSWLRQ"

             $     6DOHVWD[,W VSULPDULO\VDOHVWD[ZRUN

       RUVDOHVDQGXVHWD[HV7KHUHZHUHHIIRUWVLQ

       OLFHQVHWD[HVDQGZHDVVLVWHGLQSURSHUW\WD[ZRUN

       7KHUHZHUHVRPHSD\UROOWD[LVVXHVWKDWZHKDGWRGR

      ZLWKXQHPSOR\HGWD[HVEXWSULPDULO\LWZDVVDOHVDQG

      XVHWD[HV

            4     +DV$&/5VHFXUHGDQ\JRYHUQPHQWFRQWUDFWV

      RWKHUWKDQWKHFRQWUDFWZLWK&06DVWKHIRFXVRI

      WKLVFDVH"

            $     1RZHKDYHQRW

            4     6RWKHRWKHUZRUNWKDW\RXGHVFULEHG

      SHUIRUPLQJIRU$&/5WKDWZDVIRUSULYDWHFOLHQWV"

            $     7KDW VFRUUHFW

            4     :KDWW\SHVRILQGXVWULHVRUFOLHQWVKDYH

      \RXGRQHWKDWWKRVHUHFRYHU\DXGLWVIRU"

            $     7KHVDPHDV,EURXJKWXSEHIRUH

      PDQXIDFWXULQJUHVHDUFKDQGGHYHORSPHQWVHUYLFHV




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA371
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 395 of 514

&KULVWSKHU0XFNH                                             6HSWHPEHU
                                 5HVWRQ9$

                                                                    3DJH
             $     1RLWZDVQ W

             4     KDG\RXHYHUGRQHLWEHIRUH"

             $     , PVRUU\,KDGGRQHLWEHIRUH<HV

             4     ,QFRQQHFWLRQZLWKZKDWZRUN"

             $     7KHZRUNWKDW,GLGZLWK:LOO<DQFH\

             4     7KDWZDVLQFRQQHFWLRQZLWKWKHZRUNWKDW

       \RXVDLG\RXVDZVRPH3'(\RXVDZVRPH3DUW'

       GDWDFRUUHFW"%XWSULPDULO\WKDWSURMHFWIRFXVHGRQ

       WKH$DQG%=3,&ZRUNLVWKDWULJKW"

            $     1R$V,UHFDOO,GRQ WUHPHPEHUDQ\

      VSHFLILFSURMHFWWKDWZHGLG,NQRZWKDWZHKDGWKH

      GDWD,MXVW,FDQ WUHFDOOULJKWQRZZKDWWKDW

      SURMHFWZDVDVVRFLDWHGZLWKEXW, PUHODWLYHO\

      FRQILGHQWWKDWLWGLGQRWKDYHDQ\WKLQJWRGRZLWK

      WKH=3,&V

            4     6RWKHILUVWWLPHWKDW\RXKDGWRDQDO\]H

      3'(UHFRUGVIRUWKH3DUW'SURJUDPWRDVVHVVWKH

      SURSULHW\RISD\PHQWVZDVDVSDUWRIWKLVFRQWUDFW

      ZLWK&06IRUWKH3DUW'5$&"

            $     7KDWZRXOGEHFRUUHFW<HV

            4     %HIRUH\RXEHJDQSHUIRUPLQJWKHZRUNRQ

      WKH3DUW'5$&FRQWUDFWGLG\RXKDYHDQ\WUDLQLQJRQ




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA372
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 396 of 514

&KULVWSKHU0XFNH                                             6HSWHPEHU
                                 5HVWRQ9$

                                                                    3DJH
       UHYLHZLQJRULQWHUSUHWLQJ3DUW'3'(UHFRUGV"

             $   1R,KDGQRW

             4   :DVDQ\WUDLQLQJSURYLGHGWR$&/5 VRWKHU

       HPSOR\HHVRQKRZWRLQWHUSUHW3DUW'3'(UHFRUGV"

             $   ,WZRXOGKDYHEHHQIRU,SUHVXPHWKDW

       LWZRXOGKDYHEHHQIRU&LQG\6FKLOOLQJEXWQRWIRU

       DQ\RIWKHRWKHUSHRSOHRQWKHDQGSHUKDSV%UXFH

       'L[RQ+HGLGKDYHKHDOWKFDUHH[SHULHQFHZLWK

       UHVSHFWWRGDWDEXWKHPD\KDYHKDGVRPHWUDLQLQJRQ

      WKDWEXWQRWDQ\ERG\HOVHWKDW,FDQUHFDOO

            4   %XWGR\RXNQRZLI0U'L[RQKDGWKDW

      WUDLQLQJEHIRUHKHVWDUWHGZRUNLQJRQWKLVFRQWUDFW"

            $   ,GRQ WUHFDOOWKDW

            4   $QGZLWKUHVSHFWWR0V6FKLOOLQJGR\RX

      NQRZLIVKHKDGKDGDQ\WUDLQLQJEHIRUHWKLVFRQWUDFW

      RQLQWHUSUHWLQJ3DUW'3'(ILOHVRU

            $   ,GRQ WNQRZWKDW

            4   %HIRUHWKLVFRQWUDFWKDG\RXKDGDQ\

      WUDLQLQJRQWKH0HGLFDUH3DUW'UXOHV"

            $   1R,KDGQRW

            4   $QGDVSDUWRIWKLVEHJLQQLQJWKH

      SHUIRUPDQFHRIWKLVFRQWUDFWGLG\RXXQGHUJRDQ\




                           $OGHUVRQ&RXUW5HSRUWLQJ
)25'(32                                        ZZZDOGHUVRQUHSRUWLQJFRP
                                SA373
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 397 of 514




              TAB 95
Christopher Mucke
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 398 of 5141/10/2018
                               Reston, VA                              Page 1

  1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS

  2

  3    --------------------------------
                                      :
  4    ACLR, LLC,                     :
                                      :
  5               Plaintiff,          :
                                      :
  6         v.                        :                Civil Action Nos.
                                      :
  7    UNITED STATES OF AMERICA,      :                15-767C and 16-309C
                                      :
  8               Defendant.          :
                                      :
  9    --------------------------------

 10

 11               Deposition of CHRISTOPHER MUCKE, an expert

 12    witness herein, at the law offices of David, Brody &

 13    Dondershine, LLP, 12355 Sunrise Valley Drive, Suite

 14    650,      Reston, Virginia, commencing at 9:31 a.m. on

 15    Wednesday, January 10, 2018 and the proceedings being

 16    taken down by stenotype and transcribed by Catherine

 17    B. Crump, a Notary Public in and for the Commonwealth

 18    of Virginia.

 19

 20

 21

 22

                                 SA374
                            Alderson Court Reporting
1-800-FOR-DEPO                                          www.AldersonReporting.com
Christopher Mucke
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 399 of 5141/10/2018
                               Reston, VA                             Page 16

  1    laws to Part D prescriptions?

  2              A.    Yes.

  3              Q.    Do you consider yourself to be an expert

  4    on the law?

  5              A.    Yes.

  6              MR. BONELLO:       Objection, form.

  7    BY MR. PORADA:

  8              Q.    And in what way do you consider yourself

  9    to be an expert on the law, what aspects of the law?

 10              A.    Just from my work experience and history

 11    in dealing with, in this case, state laws and the

 12    imposition of taxes by states.

 13              Q.    Have you ever previously been recognized

 14    by any court as an expert on the interpretation of

 15    statutes or rules?

 16              A.    No.

 17              Q.    Have you ever been retained by anyone

 18    else prior to these cases to offer any expert

 19    opinions on the interpretation of statutes or

 20    regulations?

 21              A.    I'd ask for your interpretation or your

 22    meaning of the word "retained".

                                  SA375
                             Alderson Court Reporting
1-800-FOR-DEPO                                          www.AldersonReporting.com
Christopher Mucke
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 400 of 5141/10/2018
                               Reston, VA                             Page 25

  1    over everything.       So for me, I don't think that that

  2    would meet the definition of worse off.

  3              Q.    But in that hypothetical, CMS ultimately

  4    would end up having paid more out as a result of ACLR

  5    identifying the one dollar improper sales tax; would

  6    you agree with that?

  7              A.    I would.

  8              MR. BONELLO:      Objection, form.

  9              THE WITNESS:      I would agree to that if, in

 10    fact, they did go through reopening and paid that

 11    money out.

 12    BY MR. PORADA:

 13              Q.    On the adjusted PDE?

 14              A.    That's correct.

 15              Q.    For the no sales or use tax states that

 16    ACLR identified as part of the sales tax NAIRP that's

 17    discussed on page 2 of Exhibit 1, ACLR had identified

 18    five states that do not impose any sales tax on

 19    anything; is that correct?

 20              A.    That's correct.

 21              Q.    And those were Alaska, Delaware,

 22    Montana, New Hampshire, and Oregon.              Right?

                                 SA376
                            Alderson Court Reporting
1-800-FOR-DEPO                                         www.AldersonReporting.com
Christopher Mucke
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 401 of 5141/10/2018
                               Reston, VA                             Page 45

  1    documentation or processes for a non-Medicaid

  2    purpose.

  3              So, for example, in the Medicaid manuals and

  4    processes for collecting these fees, you know, they

  5    aren't even supposed to be separately stated.                  They

  6    are included in the dispensing fee and would not be

  7    separately stated as a tax in a sales tax field or

  8    anything subsequent to that.

  9              So the absence of the application of those two

 10    other things would indicate to me that, yes, they

 11    only intended it initially for Medicaid.

 12              Q.    But you had not seen anything from any

 13    Louisiana State entities that affirmatively said that

 14    the ten cent prescription fee only applied to

 15    Medicaid prescriptions; is that correct?

 16              MR. BONELLO:      Objection, form.

 17              THE WITNESS:      I would state that that's

 18    correct, but I wouldn't expect there to be.

 19    BY MR. PORADA:

 20              Q.    So it's your opinion as an expert on the

 21    law that, notwithstanding the Louisiana Department of

 22    Insurance taking the position in this directive that

                                 SA377
                            Alderson Court Reporting
1-800-FOR-DEPO                                         www.AldersonReporting.com
Christopher Mucke
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 402 of 5141/10/2018
                               Reston, VA                             Page 46

  1    the ten cent prescription fee applies to every

  2    prescription, it only should apply to Medicaid

  3    prescriptions?

  4              A.    In my expertise, I look at the law

  5    first.     I'm driven by the statute in the absence of

  6    case law.

  7              To the extent that there's case law on it, I

  8    would also look at that to get additional guidance

  9    from the courts on how it would be treated.                 I did

 10    not identify any case law pertaining in this

 11    transaction or this type of transaction.

 12              So I based my expertise or I based my opinion

 13    based on what the law says.             In my experience,

 14    Departments of Revenue typically change their mind.

 15    Administrations change and new ways of interpreting

 16    the laws are always applied.

 17              So I look at that guidance, but then, you

 18    know, if it meets what my experience demonstrates,

 19    then, you know, I would rely on my guidance.                 If it

 20    contradicts what my previous experience has shown to

 21    be true based on my review of other states, based on

 22    my review of case law in similar circumstances, I

                                 SA378
                            Alderson Court Reporting
1-800-FOR-DEPO                                         www.AldersonReporting.com
Christopher Mucke
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 403 of 5141/10/2018
                               Reston, VA                             Page 47

  1    would defer to that; and in this case right here, you

  2    know, we have the statute that states clearly that

  3    it's Medicaid health care services.

  4              Q.    And your recollection of the statute is

  5    that it says that the ten cent fee is to be assessed

  6    only on Medicaid prescriptions, not that it's to be

  7    assessed to fund the Medicaid program?

  8              MR. BONELLO:      Objection, form.

  9              THE WITNESS:      The first sentence of the

 10    imposition statute says that, I guess, the Department

 11    of Hospitals, I think, or Health Insurance -- I can't

 12    remember which department, but it says that the

 13    department can issue taxes on health care services,

 14    Medicaid health care services, and then after that,

 15    it lists -- then it says, "on all", and then it goes

 16    into saying things, for example, like every

 17    outpatient prescription filled by a pharmacy and

 18    certain out-of-state pharmacies, and then it lists

 19    that ten cent fee after that.

 20    BY MR. PORADA:

 21              Q.    Let me have you turn to the second page

 22    of that Exhibit 2, which quotes the statute, Section

                                 SA379
                            Alderson Court Reporting
1-800-FOR-DEPO                                         www.AldersonReporting.com
Christopher Mucke
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 404 of 5141/10/2018
                               Reston, VA                            Page 104

  1    identified for 2010 using the protocol that you

  2    believe should have been used?

  3              A.    That's correct.

  4                                    [Mucke Exhibit No. 8 was

  5                                    marked for identification.]

  6    BY MR. PORADA:

  7              Q.    I'm showing you what has been marked as

  8    Exhibit 8, which is ACLR's initial disclosures in the

  9    ACLR 1 case.      If you look at page 14, please, one of

 10    the components of ACLR's damages as claimed in ACLR 1

 11    is the $2,668,553 that you said represents amounts

 12    associated with direct labor costs and contract

 13    overhead requirements, reasonable expectations of

 14    profit net of whatever amounts ACLR received from

 15    CMS.

 16              Do you see that?

 17              A.    Yes, I do.

 18              Q.    And that $2.6 million, I believe you

 19    said that relates to ACLR's alleged costs and profits

 20    for 2012 and '13.        Correct?

 21              A.    Yes.     That's correct.

 22              Q.    There's no mention of that component of

                                 SA380
                            Alderson Court Reporting
1-800-FOR-DEPO                                         www.AldersonReporting.com
Christopher Mucke
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 405 of 5141/10/2018
                               Reston, VA                            Page 105

  1    the damages in what we looked at as Exhibit 7, the

  2    expert disclosure.        Do you agree with that?

  3              A.    That's correct.

  4              Q.    So is it correct, then, that you are not

  5    proposing to offer any testimony as an expert

  6    regarding that component of ACLR's alleged damages?

  7    Is that right?

  8              A.    That's correct.

  9              MR. PORADA:     I don't have any further

 10    questions.

 11              [Whereupon, at 11:52 p.m., the deposition

 12    concluded.]

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

                                 SA381
                            Alderson Court Reporting
1-800-FOR-DEPO                                         www.AldersonReporting.com
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 406 of 514




              TAB 96
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 407 of 514




· · · · · ··IN THE UNITED STATES COURT
· · · · · · · ··OF FEDERAL CLAIMS
·---------------------x
·ACLR, LLC
· · · · · ·Plaintiff,
·-vs-· · · · · · · · · ··Civil Action No. 15-767
·THE UNITED STATES
· · · · · ·Defendant.
·---------------------x
· · · · · · · · · · ·Thursday, October 19, , 2017
· · · · · · · · · · ·Baltimore, Maryland
·
· ··THE DEPOSITION OF SONJA JEFFERSON BROWN as
··Corporate Representative for the Department of
· · · ··Health and Human Services 30(b)(6)
·
· · · · · · · · · · ·Volume 1
·
·
·
·
·


                                  SA382
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 408 of 514
                                                                    Page 234
  Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
  Case No. 15-767                                     October 19, 2017

·1· ·And I'm referring to where in Exhibit 85.

·2· · · ··A.· ·It doesn't specifically say false

·3· ·positives.··But it is implied in the first full

·4· ·paragraph on A07300 where:··Plan sponsors

·5· ·contacted CMS to voice concerns regarding the

·6· ·burden of providing supporting documentation for

·7· ·what they believed were the identification of

·8· ·PDE records that did not appear to be improper

·9· ·submissions.

10· · · ··Q.· ·So was that basis for terminating the

11· ·audit, was the concern by the plan sponsors as

12· ·to the burden of providing supporting

13· ·documentation?

14· · · ··A.· ·No.··If you read further, it said:

15· ·CMS conducted an evaluation of ACLR's audit

16· ·methodology to determine if the plan sponsors'

17· ·concerns were valid.··CMS's evaluation concluded

18· ·there were significant flaws with the original

19· ·audit methodology used by ACLR.

20· · · ··Q.· ·And what was CMS's evaluation?··Was

21· ·that what the validation contractor did?

22· · · ··A.· ·That was only part of it.··As I said

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA383
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 409 of 514
                                                                    Page 242
   Sonja Jefferson Brown As              ACLR, LLC v. THE UNITED STATES
   Case No. 15-767                                    October 19, 2017

·1· ·improper payments, I think CMS just made the

·2· ·decision not to do that again.

·3· · · ··Q.· ·So CMS wasn't in a position at the

·4· ·time it issued the technical direction letter in

·5· ·which it quantified at all what false positives

·6· ·were generated by the new methodology that CMS

·7· ·wanted ACLR to use.··Is that true?

·8· · · ··A.· ·Yes.··I think the number, you know, of

·9· ·improper payments were reduced but still, you

10· ·know, couldn't validate whether they were

11· ·improper or not without going back out with

12· ·another RFI, and, again, CMS decided not to do

13· ·that.

14· · · ··Q.· ·So CMS's concern was it didn't want to

15· ·burden the plan sponsors with having to submit

16· ·any information in connection with the

17· ·duplicative payment audit?

18· · · ··A.· ·No.··That's not what I said.··I just

19· ·said that, as it said in the technical direction

20· ·letter, CMS had concerns with the validity of

21· ·the audit results, and that's enough to not move

22· ·forward and to rescind the approval.

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA384
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 410 of 514
                                                                    Page 243
   Sonja Jefferson Brown As              ACLR, LLC v. THE UNITED STATES
   Case No. 15-767                                    October 19, 2017

·1· · · ··Q.· ·And the concerns were a burden on the

·2· ·plan sponsors and the possibility of false

·3· ·positives?

·4· · · ··A.· ·They could have been the concerns.

·5· ·Those were the initial concerns, yes.

·6· · · ··Q.· ·Those were some of the concerns that

·7· ·the --

·8· · · ··A.· ·Once we got the -- yes.··Once we were

·9· ·notified by the plan sponsors that they were

10· ·incorrectly identified, yes.

11· · · ··Q.· ·Once the plan sponsors notify you that

12· ·there were -- improper payments were, in fact,

13· ·proper, then CMS revised the methodology to

14· ·address that issue?

15· · · ··A.· ·Yes.

16· · · ··Q.· ·But CMS wasn't confident that its

17· ·revised methodology addressed the false positive

18· ·issue?

19· · · · · · ·MR. CARNEY:··Objection,

20· ·mischaracterizes.

21· ·BY MR. BONELLO:

22· · · ··Q.· ·I'm just trying to understand.··So --

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA385
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 411 of 514




              TAB 97
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 412 of 514




· · · · · ·· IN THE UNITED STATES COURT
· · · · · · · ·· OF FEDERAL CLAIMS
· ---------------------x
· ACLR, LLC
· · · · · · Plaintiff,
· -vs-· · · · · · · · · ··Civil Action No. 16-309
· THE UNITED STATES
· · · · · · Defendant.
· ---------------------x
· · · · · · · · · · · Wednesday, August 16, 2017
· · · · · · · · · · ··Baltimore, Maryland
·
· ·· THE DEPOSITION OF SONJA JEFFERSON BROWN as
·· Corporate Representative for the Department of
· · · ·· Health and Human Services 30(b)(6)
·
· · · · · · · · · · · Volume 1
· · · · · · · ··Pages 1 through 216
·
·
·
·


                                  SA386
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 413 of 514
                                                                      Page 22
  Sonja Jefferson Brown As                ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                       August 16, 2017

·1· · · ··A.· ·Yes.··That's correct.

·2· · · ··Q.· ·What other obligations did CMS have

·3· ·under the statement of work?

·4· · · ··A.· ·I think those were the primary

·5· ·obligations.

·6· · · · · · ·The other obligation, I guess, was to

·7· ·notify plan sponsors of the potential improper

·8· ·payments and make plan sponsors aware of the

·9· ·appeal process.

10· · · ··Q.· ·Was that CMS's obligation or ACLR's

11· ·obligation?

12· · · ··A.· ·That was -- CMS sent the letters to

13· ·the plan sponsors.

14· · · ··Q.· ·Did CMS have any other obligations

15· ·under the statement of work other than what

16· ·you've testified here today?

17· · · ··A.· ·An obligation, I guess, to ensure that

18· ·ACLR was paid a contingency fee.

19· · · ··Q.· ·And how would CMS satisfy that

20· ·obligation?

21· · · ··A.· ·Through plan sponsor offsets, which

22· ·CMS is also responsible for.

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA387
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 414 of 514
                                                                      Page 23
   Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
   Case No. 16-309                                      August 16, 2017

·1· · · ··Q.· ·How would those offsets occur?

·2· · · ··A.· ·They occur in the division of plan

·3· ·operations -- payment operations within CMS, and

·4· ·those offsets are taken from plan sponsors'

·5· ·monthly capitation payments.

·6· · · ··Q.· ·Then how is ACLR paid the contingency

·7· ·fee?

·8· · · ··A.· ·They're paid -- whatever is

·9· ·recovered -- they are paid a percentage of

10· ·whatever is recovered, and the percentage varied

11· ·for each audit issue.

12· · · ··Q.· ·When you say recovered, what do you

13· ·mean recovered?

14· · · ··A.· ·It's the same as the offset, and

15· ·recouping the overpayments from the plan

16· ·sponsors was -- that process was done through

17· ·offsets.··That essentially was the recovery.

18· · · ··Q.· ·When did the offsets occur?

19· · · ··A.· ·There were several offsets.··I don't

20· ·have those dates in front of me.

21· · · ··Q.· ·When should they occur generally in

22· ·the process?

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA388
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 415 of 514
                                                                      Page 24
  Sonja Jefferson Brown As                ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                       August 16, 2017

·1· · · ··A.· ·At the end of the appeals process.

·2· · · ··Q.· ·What if there's no appeal process?

·3· · · ··A.· ·There's an appeals -- it's always been

·4· ·an appeals process.

·5· · · ··Q.· ·So if ACLR identifies an improper

·6· ·payment, then it's an automatic appeal process?

·7· · · ··A.· ·Yes.··The plan sponsor has the option

·8· ·to appeal or not.

·9· · · ··Q.· ·So it would be after the opportunity

10· ·to appeal?

11· · · ··A.· ·Yes.

12· · · ··Q.· ·Other than what you've testified to,

13· ·are there any other obligations by CMS under the

14· ·statement of work?

15· · · ··A.· ·Not that I can think of right now.

16· ·Those are the most important obligations.

17· · · ··Q.· ·Well, I want you to tell me if there

18· ·are any other obligations.

19· · · ··A.· ·No.··Not that I'm aware of.

20· · · ··Q.· ·Did CMS meet all of its obligations

21· ·under the statement of work?

22· · · ··A.· ·As far as I know, yes.

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA389
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 416 of 514
                                                                      Page 86
  Sonja Jefferson Brown As                ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                       August 16, 2017

·1· · · ··A.· ·Mostly requesting additional

·2· ·information from the plan sponsor as far as, you

·3· ·know, questioning the value that was put into

·4· ·that field.

·5· · · ··Q.· ·So it's administrative error if values

·6· ·are put into a sales tax field even though

·7· ·there's no legal basis to bill any sales tax?

·8· · · ··A.· ·That's correct.··Inputting -- keying

·9· ·errors can occur all of the time.··Remember,

10· ·these are people manually submitting these

11· ·numbers into these fields.··So it is very

12· ·possible that someone put maybe a dispensing fee

13· ·or some other type of fee in the sales tax field

14· ·that they had no knowledge of until it was

15· ·brought to their attention.

16· · · ··Q.· ·But that would still be an improper

17· ·payment, correct?··Because if you're not

18· ·supposed to bill sales tax and it was billed --

19· · · ··A.· ·If they can prove -- if they can prove

20· ·that it wasn't a sales tax and it was a

21· ·different fee, for whatever reason, that is

22· ·allowable by CMS, it would not be an improper

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA390
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 417 of 514
                                                                      Page 87
   Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
   Case No. 16-309                                      August 16, 2017

·1· ·payment.

·2· · · ··Q.· ·And how would CMS make that

·3· ·determination?

·4· · · ··A.· ·Again, you can't just look at the

·5· ·record and tell.··You would have to do further

·6· ·research, and basically that's by requesting

·7· ·information from the plan sponsor.

·8· · · ··Q.· ·So it's your position that improper

·9· ·payments are different than administrative

10· ·errors?

11· · · ··A.· ·They are.··If we deem it not allowable

12· ·under the program, that is deemed an improper

13· ·payment.

14· · · ··Q.· ·And how do you deem it as not

15· ·allowable?

16· · · ··A.· ·If we can prove that it shouldn't have

17· ·been there or the plan sponsor couldn't provide

18· ·us sufficient documentation, then we could say

19· ·that it's improper payment.··It just depends.

20· ·It's a case by case.

21· · · ··Q.· ·So if there's values billed in the

22· ·sales tax column and there's no legal basis to

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA391
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 418 of 514
                                                                      Page 91
  Sonja Jefferson Brown As                ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                       August 16, 2017

·1· · · ··A.· ·They could have, but I'm not aware of

·2· ·it right now.

·3· · · ··Q.· ·What does CMS know with respect to

·4· ·what the NBI MEDIC did with respect to the

·5· ·Minnesota sales tax issue?

·6· · · ··A.· ·There were some -- I guess it wasn't

·7· ·black and white, it wasn't clear, and so they

·8· ·didn't move forward with it.

·9· · · ··Q.· ·So NBI MEDIC didn't move forward on

10· ·the Minnesota sales tax issue?

11· · · ··A.· ·Correct.··Because there were issues

12· ·with the review itself.

13· · · ··Q.· ·What were the issues with the review?

14· · · ··A.· ·I just know there was some policy

15· ·issues as related to allowable charges.··And

16· ·those issues had not been resolved at the time

17· ·they were looking at it.··So it wasn't clear-cut

18· ·that sales tax or some value in that field could

19· ·not -- was not allowable.

20· · · ··Q.· ·So NBI MEDIC didn't continue with that

21· ·review on Minnesota, did they?

22· · · ··A.· ·Not that I'm aware of, no.

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA392
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 419 of 514
                                                                      Page 92
   Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
   Case No. 16-309                                      August 16, 2017

·1· · · ··Q.· ·Do you know when that review

·2· ·essentially stopped?

·3· · · ··A.· ·I think early '16 maybe.··I'm not

·4· ·sure.

·5· · · ··Q.· ·When was the last time the NBI MEDIC

·6· ·did any work, to your knowledge, on the

·7· ·Minnesota sales tax issue?

·8· · · ··A.· ·Probably early '16.

·9· · · ··Q.· ·Okay.··What had NBI MEDIC done with

10· ·respect to the sales tax issue in Minnesota from

11· ·the time of ACLR's sales tax NAIRP?

12· · · ··A.· ·I don't know exactly.··I just knew

13· ·that it was still open and active and they were

14· ·still looking at data.··That's all I know.

15· · · ··Q.· ·Does CMS have any knowledge as to what

16· ·NBI MEDIC was doing with respect to the

17· ·Minnesota sales tax issue after ACLR submitted

18· ·its sales tax NAIRP?

19· · · ··A.· ·Doing as far as what exactly?

20· · · ··Q.· ·That's what I'm asking you.

21· · · ··A.· ·Well, how specific?··I mean, they're

22· ·looking at data, so they're still trying to, I

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA393
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 420 of 514
                                                                      Page 93
  Sonja Jefferson Brown As                ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                       August 16, 2017

·1· ·guess, interpret whether they should move

·2· ·forward with it.··I don't know to what extent,

·3· ·you know, they were looking at it.··I just know

·4· ·they were looking at the data still.··They were

·5· ·trying to still --

·6· · · ··Q.· ·So it was CMS's belief when ACLR

·7· ·submitted its NAIRP that NBI MEDIC was

·8· ·continuing to review sales tax data related to

·9· ·Minnesota?

10· · · ··A.· ·That is my understanding, that they

11· ·were looking into it, yes, and it had not been

12· ·closed.··So I would say, yes, it was still open.

13· · · ··Q.· ·And that was part of the basis for

14· ·denying ACLR's sales tax NAIRP?

15· · · ··A.· ·Yes.

16· · · ··Q.· ·ACLR was contracted as a recovery

17· ·auditor for the Part D RAC as required by the

18· ·Affordable Care Act?

19· · · · · · ·MR. CARNEY:··Objection, compound.

20· · · · · · ·THE WITNESS:··Yes.

21· ·BY MR. BONELLO:

22· · · ··Q.· ·As a Part D RAC was ACLR contracted to

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA394
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 421 of 514
                                                                    Page 133
  Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                      August 16, 2017

·1· ·respect to the issue of Minnesota sales tax

·2· ·charges on PDE records, CMS wasn't engaged in

·3· ·any work or service?

·4· · · ··A.· ·Yes, they were -- well, if the MEDIC

·5· ·was still engaged, then CMS was involved.

·6· · · ··Q.· ·But putting aside whatever a

·7· ·contractor was doing, CMS itself was not engaged

·8· ·in any work in connection with the Minnesota

·9· ·sales tax issue after August 10th of 2015,

10· ·correct?

11· · · · · · ·MR. CARNEY:··Objection, vague.··What

12· ·do you mean by work?

13· ·BY MR. BONELLO:

14· · · ··Q.· ·After August 10 of 2015, what, if any,

15· ·activities was CMS itself, not contractors,

16· ·engaged in with respect to the issue of sales

17· ·taxes on PDE records in the state of Minnesota?

18· · · ··A.· ·As analysts, I'm sure they were

19· ·reviewing or at least consulting on the MEDIC on

20· ·the work that they were doing on this issue.

21· ·And I don't know what that would be other -- it

22· ·could be --

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA395
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 422 of 514
                                                                    Page 134
  Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                      August 16, 2017

·1· · · ··Q.· ·Well, I need to know what --

·2· · · ··A.· ·-- looking at records.

·3· · · ··Q.· ·What I'm asking is:··What work was

·4· ·being done, if any, by CMS in that regard?

·5· · · ··A.· ·And that's what I'm telling you.··I

·6· ·don't know specifically.

·7· · · ··Q.· ·Does CMS know anything generally if

·8· ·any work was being done after August 10th, 2015

·9· ·on the issue of Minnesota sales tax --

10· · · ··A.· ·Other than --

11· · · ··Q.· ·-- charges on PDE records?

12· · · ··A.· ·-- probably consulting with the

13· ·contractor.··I can't be more specific than that.

14· · · ··Q.· ·You're the representative for CMS.

15· ·Does CMS have any more information as to what,

16· ·if any, work it was doing after August 10th of

17· ·2015 on the issue of Minnesota's sales taxes on

18· ·PDE records?

19· · · ··A.· ·Again, I'm sure that work was being

20· ·looked at.··Data may have been being reviewed.

21· ·I can't confirm at this time exactly what was

22· ·being done.

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA396
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 423 of 514
                                                                    Page 141
  Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                      August 16, 2017

·1· · · ··Q.· ·That's what I'm asking for.··What is

·2· ·being done --

·3· · · ··A.· ·I don't specifically know what those

·4· ·activities are and what the dates are for those

·5· ·activities is what I'm saying.

·6· · · ··Q.· ·So CMS isn't sure what, if anything,

·7· ·was done with respect to the Minnesota sales tax

·8· ·issue within CMS after August 10th of 2015.

·9· ·Isn't that true?

10· · · · · · ·MR. CARNEY:··Objection,

11· ·mischaracterizes testimony.

12· ·BY MR. BONELLO:

13· · · ··Q.· ·Is that true?

14· · · ··A.· ·No, it's not true.··Because I

15· ·answered, if it were open, then CMS could

16· ·have -- I'm not going to specifically say what

17· ·they were doing.··But if it's open, then --

18· · · ··Q.· ·The question --

19· · · ··A.· ·-- CMS is still looking at it.

20· · · · · · ·MR. CARNEY:··Please let her finish.

21· · · · · · ·MR. BONELLO:··Sorry.

22· · · · · · ·THE WITNESS:··If CMS is still looking

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA397
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 424 of 514
                                                                    Page 142
   Sonja Jefferson Brown As              ACLR, LLC v. THE UNITED STATES
   Case No. 16-309                                     August 16, 2017

·1· ·at the audit issue, the fact that it was still

·2· ·open and active means that CMS was still

·3· ·actively looking at the audit issue.··Whether

·4· ·that, again, was reviewing data, reviewing

·5· ·policy, meeting with the contractors, getting

·6· ·information from whomever in CMS, then that's

·7· ·what was going on.

·8· · · ··Q.· ·And when you denied ACLR's NAIRP, that

·9· ·was based on your personal belief that there was

10· ·actually activities going on on a daily basis by

11· ·CMS with respect to the Minnesota sales tax

12· ·issue?

13· · · ··A.· ·That's incorrect.··It's not my

14· ·personal belief.··I confirm -- confirmed through

15· ·different channels that this was open and active

16· ·and work was still being done by the NBI MEDIC.

17· · · ··Q.· ·I'm not talking about the NBI MEDIC.

18· · · · · · ·Can an audit issue be open but no work

19· ·being done on the issue?

20· · · ··A.· ·It could be.··We could be waiting on

21· ·information.··It could be at a standstill.··It

22· ·could be on hold because we're waiting for

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA398
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 425 of 514
                                                                    Page 230
  Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                      August 17, 2017

·1··1.2.3 wording was based upon recommendations by a

·2··third party or another contractor.

·3·· · · · · · ··Does this refresh CMS's recollection as

·4··to how section 1.2.3 came about in terms of its

·5··wording?

·6·· · · ·A· · ··No.··I can't confirm that that's where it

·7··came from.

·8·· · · ·Q· · ··In the notice of deposition, section

·9··number 43 -- I'm sorry -- number 44 was whether

10··Minnesota could charge sales taxes on Medicare Part D

11··drug events since 2009.

12·· · · · · · ··Does CMS have a position on whether

13··Minnesota could charge sales taxes on Medicare Part D

14··prescription drug events since 2009?

15·· · · ·A· · ··No.··It still has not been resolved.

16·· · · ·Q· · ··Let's move on to category 45 on the

17··30(b)(6) notice.

18·· · · · · · ··At some point, CMS received a proposed

19··Minnesota tax alert to the Part D sponsors.··Correct?

20·· · · ·A· · ··I would have to see.··I don't know.··I

21··can't recall.

22·· · · · · · · · ··(The document referred to was

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA399
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 426 of 514
                                                                    Page 241
  Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                      August 17, 2017

·1·· · · ·Q· · ··Moving on to category 52 in the 30(b)(6)

·2··notice, can CMS identify PDE records from Minnesota

·3··where usage taxes were placed into the sales tax

·4··field for plan year 2012 to 2013?

·5·· · · ·A· · ··Not that I'm aware.

·6·· · · ·Q· · ··What is CMS's understanding of what usage

·7··taxes are in Minnesota as it relates to PDE records?

·8·· · · ·A· · ··That's not clear.··Again, the whole issue

·9··of taxes with Minnesota was never resolved.

10·· · · ·Q· · ··And moving on to category 53 in the

11··notice of deposition, can CMS identify PDE records

12··from Minnesota where the sales taxes were

13··attributable to administrative errors for plan year

14··2012 and 2013?

15·· · · ·A· · ··No.

16·· · · ·Q· · ··We may have already covered this, but

17··I'll just go in order here.

18·· · · · · · ··Moving on to 54 in the notice of

19··deposition:··As for instructions to plan sponsors

20··regarding Part D claims originating in Louisiana,

21··that included sales taxes, is there anything other

22··than -- I think you testified there was a letter sent

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA400
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 427 of 514
                                                                    Page 242
  Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                      August 17, 2017

·1··out to the plan sponsors about excluding -- you can't

·2··charge sales taxes when it's 10 cents or less, or you

·3··can charge?··Just clarify that for me.

·4·· · · ·A· · ··It was an allowable 10-cent fee --

·5··prescription fee that was allowable.··And that's the

·6··only notification that I'm aware of at this point,

·7··unless there is something else that I can point to.

·8·· · · ·Q· · ··Moving on to 55 -- I think we have

·9··covered this -- there are no instructions to plan

10··sponsors regarding Part D claims originating in

11··Minnesota that included sales taxes.··Correct?

12·· · · ·A· · ··Correct.

13·· · · ·Q· · ··We have already covered 56.

14·· · · · · · ··Category 57:··CMS's internal

15··communications during the period January 1, 2014, to

16··March 8, 2016, regarding Part D sales tax issues as

17··it relates to Louisiana, Minnesota, Alaska, Delaware,

18··Montana, New Hampshire, and Oregon.

19·· · · · · · ··I think we have probably already covered

20··Minnesota and Louisiana.

21·· · · · · · ··So, what about the other states?··Have

22··there been any internal communications during that

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA401
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 428 of 514
                                                                    Page 269
  Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                      August 17, 2017

·1··interim adjustment process?

·2·· · · ·A· · ··At what section are you?

·3·· · · ·Q· · ··I'm just asking in general, and if you

·4··want to refer to something --

·5·· · · ·A· · ··The interim adjustments, I believe, are

·6··the adjustments to the plan sponsor's monthly

·7··payments.

·8·· · · ·Q· · ··And those are after the RAC identifies

·9··improper payments.··Correct?

10·· · · ·A· · ··And once the appeals process has been

11··exhausted.

12·· · · ·Q· · ··And that occurs between the initial

13··reconciliation and re-opening.··Correct?

14·· · · ·A· · ··Yes.··This happens on a monthly basis.

15··Interim adjustments:··It happens every month.

16·· · · ·Q· · ··What do you mean, the payment to the plan

17··sponsors?

18·· · · ·A· · ··The plan sponsors, they received payments

19··every month for, you know, bennies that they provide

20··prescription drug services to.

21·· · · ·Q· · ··And if there is an improper payment

22··identified by ACLR as part of an approved audit, that

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA402
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 429 of 514
                                                                    Page 270
  Sonja Jefferson Brown As               ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                      August 17, 2017

·1··payment to a plan sponsor would be reduced based upon

·2··the improper payment?

·3·· · · ·A· · ··Yes.

·4·· · · ·Q· · ··How would ACLR be paid then?

·5·· · · ·A· · ··Once those adjustments are taken from the

·6··plan sponsor's monthly payments, we're notified that

·7··that transaction has happened.

·8·· · · · · · ··CMS would send an invoice to ACLR to --

·9··with the amount, which is a percentage of those

10··recoveries from plan sponsors.

11·· · · · · · ··MR. BONELLO:··Let's take a break for a

12··couple of minutes.

13·· · · · · · ··MR. CARNEY:··Sure.

14·· · · · · · · · ··(There was a break taken from

15·· · · · · · · · ··11:27 a.m. to 11:32 p.m.)

16·· · · · · · ··BY MR. BONELLO:

17·· · · ·Q· · ··So, just to confirm, ACLR is paid its

18··contingency fees once CMS is reimbursed and the

19··interim adjustment is complete.··Correct?

20·· · · ·A· · ··Yes.

21·· · · ·Q· · ··And this payment to ACLR occurs

22··regardless of whether the plans have deleted the PDE

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA403
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 430 of 514




              TAB 98
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 431 of 514




· · · · · ··IN THE UNITED STATES COURT
· · · · · · · ··OF FEDERAL CLAIMS
·---------------------x
·ACLR, LLC
· · · · · ·Plaintiff,
·-vs-· · · · · · · · · ··Civil Action No. 16-309
·THE UNITED STATES
· · · · · ·Defendant.
·---------------------x
· · · · · · · · · · ·Thursday, August 10, 2017
· · · · · · · · · · ·Baltimore, Maryland
·
· · · · ·THE DEPOSITION OF CAMILLE BROWN
·
· · · · · ·The deposition of CAMILLE BROWN was
·taken on Thursday, August 10, 2017, commencing
·at 9:56 a.m., at the Department of Health and
·Human services, Office of General Counsel, 7500
·Security Boulevard, Central Building, Baltimore,
·Maryland, before CHERYL NICHOLSON, CCR, CLR,
·Stenotype Reporter and Notary Public in and for
·the State of Maryland.


                                  SA404
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 432 of 514
                                                                      Page 22
   Camille Brown                          ACLR, LLC v. THE UNITED STATES
   Case No. 16-309                                       August 10, 2017

·1· ·held in comparison to when the NAIRP was

·2· ·submitted?

·3· · · ··A.· ·No.··I don't remember those time

·4· ·frames.

·5· · · ··Q.· ·And was that the first time that DPOA

·6· ·had sat down and had a meeting about the NAIRP

·7· ·that ACLR had submitted on the sales taxes?

·8· · · ··A.· ·Yes.

·9· · · ··Q.· ·And what happened next after that

10· ·meeting with respect to ACLR's sales tax NAIRP?

11· · · ··A.· ·After that point, because it was

12· ·brought to our attention -- my attention that it

13· ·was already being worked on and it was

14· ·considered a duplicative audit issue, I vetted

15· ·that through our senior leadership to determine

16· ·what the next steps would be.

17· · · ··Q.· ·So you have a meeting, and you're

18· ·advised that the NAIRP was duplicative.··Is that

19· ·your testimony?

20· · · ··A.· ·Yes.

21· · · ··Q.· ·Okay.··Did you make a determination as

22· ·to whether it was duplicative?

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA405
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 433 of 514
                                                                      Page 23
  Camille Brown                           ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                        August 10, 2017

·1· · · ··A.· ·No, I did not.··Not at that time.

·2· · · ··Q.· ·Did at any time you make the

·3· ·determination that it was duplicative?

·4· · · ··A.· ·I vetted that through our senior

·5· ·leadership, and once that was vetted through our

·6· ·senior leadership and they were aware that this

·7· ·was a duplicative issue and based on the

·8· ·feedback from them -- we received back from

·9· ·them, then there was a decision to say we cannot

10· ·move forward with this.

11· · · ··Q.· ·Did you advise the senior leadership

12· ·that the NAIRP was duplicative?

13· · · ··A.· ·Yes.

14· · · ··Q.· ·And you didn't make a determination

15· ·that the NAIRP was duplicative though?

16· · · ··A.· ·I made a determination based on the

17· ·feedback from the staff that it was duplicative

18· ·based on my knowledge of what they told me in

19· ·addition to the work that was being conducted by

20· ·the MEDIC.

21· · · ··Q.· ·When you were in the meeting with your

22· ·staff when you received a summary of the NAIRP,

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA406
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 434 of 514
                                                                      Page 24
   Camille Brown                          ACLR, LLC v. THE UNITED STATES
   Case No. 16-309                                       August 10, 2017

·1· ·what was your understanding of what work the

·2· ·MEDIC was doing on the issue?

·3· · · ··A.· ·The MEDIC was working on a sales tax

·4· ·audit issue that looked at Louisiana sales tax

·5· ·as well as Minnesota.

·6· · · ··Q.· ·How did you have an understanding as

·7· ·to what the MEDIC was doing with respect to

·8· ·sales tax?

·9· · · ··A.· ·My understanding from what the MEDIC

10· ·was doing, when I first came over to the area

11· ·and started sitting -- or attending, rather,

12· ·meetings, they were looking at -- or analyzing,

13· ·rather, PDE records that may have had a sales

14· ·tax imposed, and this was for Louisiana.··And

15· ·the project started based on a referral from the

16· ·OIG.

17· · · ··Q.· ·Do you know the status of the MEDIC

18· ·sales tax review as of the time ACLR submitted

19· ·its NAIRP?

20· · · ··A.· ·That occurred -- from what I can

21· ·recall, the status of that was still -- at that

22· ·time that particular audit issue was still open.

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA407
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 435 of 514
                                                                      Page 37
  Camille Brown                           ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                        August 10, 2017

·1· ·not from CPI.

·2· · · ··Q.· ·At the time ACLR's NAIRP was

·3· ·submitted, it's your testimony that CMS was

·4· ·still evaluating the appropriateness of sales

·5· ·tax charges in PDE records?

·6· · · ··A.· ·Uh-huh.··Yes.

·7· · · ··Q.· ·At that time was CMS evaluating

·8· ·anything else with respect to the work that the

·9· ·MEDIC was doing other than the Louisiana issue?

10· · · ··A.· ·I don't know.··I don't remember.··But

11· ·when you say were they evaluating anything else,

12· ·what do you mean by that?

13· · · ··Q.· ·At the time ACLR submitted its NAIRP,

14· ·was CMS evaluating anything else with respect to

15· ·the MEDIC sales tax review other than the

16· ·Louisiana sales tax issue?

17· · · ··A.· ·From what I recall, they were still

18· ·evaluating -- they were evaluating the Louisiana

19· ·sales tax issue.

20· · · ··Q.· ·But nothing other than that?

21· · · ··A.· ·When you say CMS, if you're talking

22· ·about the audit issue -- or are you talking

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA408
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 436 of 514
                                                                     Page 42
  Camille Brown                          ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                       August 10, 2017

·1· · · ··Q.· ·And you don't recall who was in the

·2· ·meeting that gave you the initial briefing?

·3· · · ··A.· ·I mentioned earlier Sonja Brown.

·4· · · ··Q.· ·She was in the meeting?

·5· · · ··A.· ·Uh-huh.

·6· · · ··Q.· ·Okay.··Then you said the conclusion

·7· ·from this meeting about ACLR's NAIRP between you

·8· ·and staff was that it was duplicative?

·9· · · ··A.· ·Correct.

10· · · ··Q.· ·And it was duplicative because MEDIC

11· ·was evaluating sales taxes?

12· · · ··A.· ·Correct.

13· · · ··Q.· ·Was it because MEDIC was evaluating

14· ·sales taxes in Louisiana?

15· · · ··A.· ·The MEDIC was -- it was because the

16· ·MEDIC was evaluating sales taxes.

17· · · ··Q.· ·At that time MEDIC wasn't evaluating

18· ·sales taxes in -- what states at that time when

19· ·ACLR submitted its NAIRP had MEDIC analyzed?

20· · · ··A.· ·The MEDIC had initially started off

21· ·and submitted a proposal for Louisiana.

22· · · ··Q.· ·That was the only state they had

                         Nicholson Reporting, Inc.
     (703) 371.9115    Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA409
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 437 of 514
                                                                      Page 50
   Camille Brown                          ACLR, LLC v. THE UNITED STATES
   Case No. 16-309                                       August 10, 2017

·1· ·MEDIC conduct its sales tax review and ACLR

·2· ·conduct its review considered in the --

·3· ·submitted in the NAIRP?

·4· · · · · · ·MR. PORADA:··Objection to form.

·5· · · · · · ·THE WITNESS:··I'm not sure I

·6· ·understand when you say --

·7· ·BY MR. BONELLO:

·8· · · ··Q.· ·Well, you said your concern with

·9· ·allowing ACLR to proceed, in part, was that

10· ·there could be two entities reaching out to plan

11· ·sponsors for information?

12· · · ··A.· ·Correct.

13· · · ··Q.· ·It's your understanding, isn't it

14· ·true, that NBI MEDIC hadn't reached out to any

15· ·plan sponsors yet to request any information --

16· ·isn't that true -- as of the date of the ACLR's

17· ·NAIRP?

18· · · ··A.· ·I wouldn't -- I can't attest to that

19· ·to say that that's true or not true.

20· · · ··Q.· ·Well, did you evaluate that?

21· · · ··A.· ·I did not see that, no.

22· · · ··Q.· ·So what else would be a concern about

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA410
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 438 of 514
                                                                      Page 51
   Camille Brown                          ACLR, LLC v. THE UNITED STATES
   Case No. 16-309                                       August 10, 2017

·1· ·having -- by CMS with respect to having ACLR

·2· ·pursue its NAIRP on the sales taxes other than

·3· ·what you've mentioned already?

·4· · · ··A.· ·There could be various concerns that

·5· ·you could probably think of.··But to me the one

·6· ·that stands out the most is that we would not

·7· ·want one contractor -- two contractors working

·8· ·on the same issue.

·9· · · ··Q.· ·And as of the time ACLR had submitted

10· ·its NAIRP, NBI MEDIC wasn't engaging in any

11· ·additional work on the sales tax review, was it?

12· · · ··A.· ·They were pending a decision from --

13· ·and next steps from CMS.··So I wouldn't say that

14· ·they didn't have additional work.··They were

15· ·waiting for a response from CMS on the next

16· ·steps.

17· · · ··Q.· ·So there was no additional work going

18· ·on on the sales tax review by NBI MEDIC at the

19· ·time ACLR submitted its NAIRP.··Isn't that true?

20· · · · · · ·MR. PORADA:··Objection.

21· · · · · · ·THE WITNESS:··I can't answer that

22· ·question because I've mentioned previously that

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA411
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 439 of 514
                                                                      Page 97
  Camille Brown                           ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                        August 10, 2017

·1· · · ··Q.· ·Was there any determination made by CM

·2· ·that they were using the sales tax field

·3· ·inappropriately?

·4· · · ··A.· ·I can't recall.

·5· · · ··Q.· ·So since July of 2015 has there been

·6· ·any determination by anybody at CMS about

·7· ·appropriateness of sales taxes in PDE records?

·8· · · · · · ·MR. PORADA:··Objection, foundation.

·9· ·BY MR. BONELLO:

10· · · ··Q.· ·That you're aware of.

11· · · ··A.· ·I'm not aware of that.

12· · · ··Q.· ·Was ACLR contracted as a recovery

13· ·auditor for Part D as required by the Affordable

14· ·Care Act?

15· · · · · · ·MR. PORADA:··Objection.

16· · · · · · ·THE WITNESS:··I'm not sure what you're

17· ·asking me.··I think you asked me a similar

18· ·question perviously about ACLR and the Part D

19· ·RAC contract, and I believe we -- I stated that

20· ·the contract allowed us to meet their

21· ·requirements under the ACA.

22· ·BY MR. BONELLO:

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA412
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 440 of 514




              TAB 99
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 441 of 514




· IN THE UNITED STATES COURT OF FEDERAL CLAIMS
· ---------------------x
· ACLR, LLC
· · · · · · Plaintiff,
· -vs-· · · · · · · · · ··Civil Action No. 15-767
· THE UNITED STATES· · · ·(Judge Campbell-Smith)
· · · · · · Defendant.
· ---------------------x
· · · · · · · · · · ··Monday, November 20, 2017
· · · · · · · · · · ··Baltimore, Maryland
·
· · THE DEPOSITION OF TANETTE NICOLE BURDEN-DOWNS
·
· · · · · · The deposition of TANETTE NICOLE
· BURDEN-DOWNS was taken on Monday, November 20,
· 2017, commencing at 11:12 a.m., at the
· Department of Health and Human services, Office
· of General Counsel, 7500 Security Boulevard,
· Central Building, Baltimore, Maryland, before
· CHERYL NICHOLSON, CCR, CLR, Stenotype Reporter
· and Notary Public in and for the State of
· Maryland.


                                  SA413
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 442 of 514
                                                                      Page 56
   Tanette Nicole Burden-Downs            ACLR, LLC v. THE UNITED STATES
   Case No. 15-767                                    November 20, 2017

·1· ·you off.

·2· · · ··Q.· ·No.··Go ahead.

·3· · · ··A.· ·Yeah.··From my understanding, I

·4· ·thought we attempted to finalize it on several

·5· ·occasions, but I thought ACLR didn't want to

·6· ·sign it.

·7· · · ··Q.· ·Do you recall participating in a

·8· ·conference call with ACLR on November 30th,

·9· ·2011?

10· · · ··A.· ·Do I recall?··I mean, it's quite

11· ·possible.··I mean, I may have participated in a

12· ·few phone calls with ACLR, so...

13· · · ··Q.· ·Do you recall a discussion on

14· ·November 30th, 2011 with ACLR about them sending

15· ·out the duplicate payment audit information to

16· ·the plan sponsors identifying overpayments?

17· · · ··A.· ·I do recall a conversation such as

18· ·that.

19· · · ··Q.· ·Tell me what you can recall about

20· ·that.

21· · · ··A.· ·Again, I think we were on a conference

22· ·call and ACLR stated that it was ready to send

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA414
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 443 of 514
                                                                     Page 57
  Tanette Nicole Burden-Downs            ACLR, LLC v. THE UNITED STATES
  Case No. 15-767                                    November 20, 2017

·1· ·out notification letters for the duplicate

·2· ·payment audit issue and we weren't prepared to

·3· ·move forward with them sending out the

·4· ·notification letters.··There were processes that

·5· ·needed to be established in order to even

·6· ·collect improper payments.··So the notices would

·7· ·have gone out.··Things weren't in place to be

·8· ·able to collect the improper payments.

·9· · · ··Q.· ·And what things needed to be in place?

10· · · ··A.· ·For example, I think the performance

11· ·work statement had ACLR collecting the

12· ·overpayments.··There was not a way for those

13· ·payments to be sent to ACLR from the Part D plan

14· ·sponsors.··I mean, and we ultimately decided to

15· ·offset their payments, and that's how we ended

16· ·up getting the money.

17· · · · · · ·So that was like a big one.··There

18· ·were just -- yeah, I think that was the big one

19· ·just in terms of how the improper payments would

20· ·be submitted to CMS.

21· · · ··Q.· ·How was that resolved?

22· · · ··A.· ·That's when we came up with the

                         Nicholson Reporting, Inc.
     (703) 371.9115    Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA415
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 444 of 514
                                                                      Page 58
   Tanette Nicole Burden-Downs            ACLR, LLC v. THE UNITED STATES
   Case No. 15-767                                    November 20, 2017

·1· ·process that we will offset the plan sponsor's

·2· ·payments.··So we offset their monthly payments,

·3· ·and then we paid ACLR out of the offset amount.

·4· · · ··Q.· ·And when was that process put in

·5· ·place?

·6· · · ··A.· ·I don't -- I don't remember.

·7· · · ··Q.· ·In the call did CMS tell ACLR not to

·8· ·send out the notice letters for the duplicate

·9· ·payments?

10· · · ··A.· ·I believe so.

11· · · ··Q.· ·Because CMS did not want them to send

12· ·out the notice letters to the plan sponsors

13· ·because there wasn't a way for CMS to recover

14· ·the payments?

15· · · ··A.· ·I believe that was the primary reason.

16· ·There could have been other reasons, but things

17· ·weren't fully fleshed out in terms of how this

18· ·recovery process was going to work.

19· · · ··Q.· ·So besides the collection of the

20· ·overpayments, what else at that time was causing

21· ·CMS to not want ACLR to send out those notice

22· ·letters to plan sponsors on the duplicate

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA416
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 445 of 514
                                                                      Page 63
  Tanette Nicole Burden-Downs             ACLR, LLC v. THE UNITED STATES
  Case No. 15-767                                     November 20, 2017

·1· · · · · · ·And then the email in response is

·2· ·Mr. Mucke's email stating that he's completed a

·3· ·review of the statement of work with no issues

·4· ·as written.

·5· · · · · · ·Were you ever advised that ACLR had no

·6· ·issues with the statement of work draft that

·7· ·they were provided with on April 19th of 2012?

·8· · · ··A.· ·I don't believe so.

·9· · · ··Q.· ·Would the proper process have been

10· ·that you would have been advised of ACLR's

11· ·position with respect to the proposed statements

12· ·of work that CMS came up with for the Part D RAC

13· ·program?

14· · · ··A.· ·Great.··If there were any questions or

15· ·any issues, comments, concerns, they would have

16· ·sent them to the program office, and if there

17· ·weren't, then they would have just went ahead

18· ·and executed the contract.··So if they had no

19· ·issues, I'm not sure why they did not execute

20· ·the contract at this time.

21· · · ··Q.· ·Do you know when the Part D RAC

22· ·appeals process was finalized?

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA417
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 446 of 514
                                                                     Page 64
  Tanette Nicole Burden-Downs            ACLR, LLC v. THE UNITED STATES
  Case No. 15-767                                    November 20, 2017

·1· · · ··A.· ·I do not remember.

·2· · · ··Q.· ·Do you recall there being -- that CMS

·3· ·was working on a revised appeals process --

·4· · · ··A.· ·I do.

·5· · · ··Q.· ·-- from what was set forth in the

·6· ·performance work statement?

·7· · · ··A.· ·Yes.

·8· · · ··Q.· ·Can you tell me about that?

·9· · · ··A.· ·Oh, gosh.··From what I recall, there

10· ·may have been two levels of review, and the new

11· ·appeals process was adding a third level.

12· · · ··Q.· ·Do you know why there was a third

13· ·level that CMS wanted to add to the process?

14· · · ··A.· ·I believe CMS wanted to be consistent

15· ·with the A/B RAC structure.

16· · · ··Q.· ·The A/B RAC structure includes three

17· ·levels of appeals?

18· · · ··A.· ·I believe so.

19· · · ··Q.· ·And how do you have the understanding

20· ·that they wanted -- CMS wanted three levels for

21· ·the Part D RAC appeals process?

22· · · ··A.· ·I think I was involved in meetings and

                         Nicholson Reporting, Inc.
     (703) 371.9115    Falls Church, VA     Cheryl@NicholsonReporting.com
                                 SA418
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 447 of 514
                                                                      Page 65
   Tanette Nicole Burden-Downs            ACLR, LLC v. THE UNITED STATES
   Case No. 15-767                                    November 20, 2017

·1· ·that's how I came to that understanding.

·2· · · ··Q.· ·Can you describe the appeals process

·3· ·for me, how it works?

·4· · · · · · ·MR. PORADA:··You mean in Part D?

·5· · · · · · ·MR. BONELLO:··Yeah.··I'm sorry.··In

·6· ·Part D.

·7· · · · · · ·THE WITNESS:··The plan sponsor could

·8· ·submit a -- I don't know the terminology.··The

·9· ·plan sponsor can appeal.··So there was the

10· ·first-level review, and we contracted that --

11· ·that was contracted out to a contractor to

12· ·review the appeals as they came in to determine

13· ·whether or not they were consistent or

14· ·inconsistent with the regulations or the reason

15· ·that was provided for the audit issue.

16· · · · · · ·Then there was a second-level review

17· ·that was in-house, in-house within the Center

18· ·for Program Integrity.··Another area was

19· ·responsible for reviewing at that level.··And

20· ·those were the only -- and coming up with the

21· ·final decision on the appeal.

22· ·BY MR. BONELLO:

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA419
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 448 of 514




           TAB 100
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 449 of 514




·   ·   ·   · · · · · · ·· IN THE UNITED STATES COURT
·   ·   ·   · · · · · · · · ·· OF FEDERAL CLAIMS
·   ·   ·   ·
·   ·   ·   · ACLR, LLC· · · · · · · ··*
·   ·   ·   · · · · · · · · · · · · ·· *
·   ·   ·   · · · · · ·· Plaintiff· · ·*
·   ·   ·   · · · · · · · · · · · · ·· *· · ·Civil Action
·   ·   ·   · · · · v.· · · · · · · · ·*
·   ·   ·   · · · · · · · · · · · · ·· *· · ·No. 15-767
·   ·   ·   · THE UNITED STATES· · · ··*
·   ·   ·   · · · · · · · · · · · · ·· *··(Judge Campbell-Smith)
·   ·   ·   · · · · · ·· Defendant· · ·*
·   ·   ·   · · · · · · · · ·· * * * * * * * * *
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   · · · · · ·· Pursuant to Notice, the deposition of
·   ·   ·   ·
·   ·   ·   · DESIREE WHEELER was taken on Wednesday, September
·   ·   ·   ·
·   ·   ·   · 27th, 2017, commencing at 11:37 a.m., at HHS Office
·   ·   ·   ·
·   ·   ·   · of General Counsel, 7500 Security Boulevard,
·   ·   ·   ·
·   ·   ·   · Central Building, Room C2-01-17, Baltimore,
·   ·   ·   ·
·   ·   ·   · Maryland 21244, before Kelly A. Taylor, Notary
·   ·   ·   ·
·   ·   ·   · Public.
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   · Reported by:··Kelly A. Taylor
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·
·   ·   ·   ·



                                  SA420
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 450 of 514
                                                                      Page 69
   Desiree Wheeler Was Taken On Wednesday       ACLR, LLC v. THE UNITED STATES
   Case No. 15-767                                     September 27, 2017

·1· · · · ·Q· ··And what was your understanding as

·2· ·contracting officer as to whether the performance

·3· ·work statement was binding or not?

·4· · · · ·A· ··That if it was a part of the contract

·5· ·then yes, it was binding.

·6· · · · ·Q· ··And if the performance work statement

·7· ·allowed ACLR to send out demand letters to recover

·8· ·improper payments then ACLR could proceed in that

·9· ·fashion, correct?

10· · · · ·A· ··I mean unless we gave them a reason not

11· ·to do that.··I mean you wouldn't want to work

12· ·against what the government believes should be

13· ·done.

14· · · · ·Q· ··If there's something in the contract

15· ·that permits ACLR to do something, can the

16· ·government without making any change to the

17· ·contract direct the contractor to do something

18· ·different?

19· · · · ·A· ··We should, but I'm sure that that's what

20· ·all of the talks were about, the revised statement

21· ·of work that needed to be done, because we, I think

22· ·we acknowledged that that performance work

                            Nicholson Reporting, Inc.
      (703) 371.9115      Falls Church, VA     Cheryl@NicholsonReporting.com
                                    SA421
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 451 of 514
                                                                      Page 70
   Desiree Wheeler Was Taken On Wednesday       ACLR, LLC v. THE UNITED STATES
   Case No. 15-767                                     September 27, 2017

·1· ·statement did not reflect what we actually needed

·2· ·ACLR to do.··So we were working together to come up

·3· ·with a revised statement of work.

·4· · · · ·Q· ··But if the performance work statement

·5· ·allows ACLR to send demand letters to the plan

·6· ·sponsors to recover improper payments, is there any

·7· ·contractual right for CMS to preclude ACL --

·8· · · · ·A· ··Not until we got done that --

·9· · · · ·Q· ··Wait until I finish.

10· · · · · · ··MR. BONELLO:··I'm sorry.··Can you read

11· ·that back?

12· · · ·(The reporter read the record as requested.)

13· · · · ·Q· ··If the CMS, if the Part D RAC contract

14· ·permitted ACLR to send out demand letters to

15· ·planned sponsors to recover improper payments, in

16· ·order to preclude that CMS would have to have a

17· ·contractual basis to do so, correct?

18· · · · ·A· ··Correct, if the statement of work said

19· ·that they were able to do something.··If we, in

20· ·fact, found out for some reason that they shouldn't

21· ·do that or if they weren't able to do that, then we

22· ·should revise that statement of work, yes.

                            Nicholson Reporting, Inc.
      (703) 371.9115      Falls Church, VA     Cheryl@NicholsonReporting.com
                                    SA422
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 452 of 514
                                                                      Page 87
   Desiree Wheeler Was Taken On Wednesday       ACLR, LLC v. THE UNITED STATES
   Case No. 15-767                                     September 27, 2017

·1· ·perspective you don't want that to happen.··I don't

·2· ·want Desiree to come back and say okay, Chris, I'm

·3· ·going to issue a cease and desist and kick you to

·4· ·the curb either, okay.··But I have an executable

·5· ·contract and if I don't execute that, that has

·6· ·additional problems for me.··If I have --

·7· · · · · · ··FEMALE VOICE:··I think you hear the

·8· ·contracting officer and program personnel telling

·9· ·you that you know, we don't think that's in the

10· ·best interest for you to do that, so I think we all

11· ·stand by that that we don't think it's in the best

12· ·interest for you do that until we work out all of

13· ·the issues to be resolved.

14· · · · · · ··MALE VOICE:··Desiree, and I'm not saying

15· ·that --

16· · · · ·Q· ··Who was the last person that was

17· ·speaking there?

18· · · · ·A· ··Desiree.

19· · · · ·Q· ··That's you?

20· · · · ·A· ··Uh-huh.··Yes.

21· · · · ·Q· ··And when you say in the call it's not in

22· ·the best interest for you to do that, you meant it

                            Nicholson Reporting, Inc.
      (703) 371.9115      Falls Church, VA     Cheryl@NicholsonReporting.com
                                    SA423
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 453 of 514
                                                                      Page 88
   Desiree Wheeler Was Taken On Wednesday       ACLR, LLC v. THE UNITED STATES
   Case No. 15-767                                     September 27, 2017

·1· ·wasn't in the best interest of ACLR to send out

·2· ·demand letters, correct?

·3· · · · ·A· ··I was saying it's in your statement of

·4· ·work that you can do, I'm not saying that you can't

·5· ·do, but it's not the best interest that you did do

·6· ·it.··I think that's what I was saying.

·7· · · · ·Q· ··What did you mean it's not in the best

·8· ·interest?

·9· · · · ·A· ··The program office was saying they

10· ·didn't want him to do it, it was simply reinforcing

11· ·that we didn't think he should do it.

12· · · · ·Q· ··Even though ACLR had the right to do

13· ·that under the Part D RAC contract, correct?

14· · · · · · ··MR. PORADA:··Objection to form.

15· · · · ·A· ··Correct.

16· · · · ·Q· ··Was there anything in the Part D RAC

17· ·contract which made it not in the best interest of

18· ·the ACLR to send out the demand letters?

19· · · · ·A· ··I just simply went with expertise of the

20· ·program office.

21· · · · ·Q· ··But not sending out the demand letters

22· ·was, would be inconsistent with the Part D RAC

                            Nicholson Reporting, Inc.
      (703) 371.9115      Falls Church, VA     Cheryl@NicholsonReporting.com
                                    SA424
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 454 of 514




           TAB 101
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 455 of 514




· · · · · ··IN THE UNITED STATES COURT
· · · · · · · ··OF FEDERAL CLAIMS
·---------------------x
·ACLR, LLC
· · · · · ·Plaintiff,
·-vs-· · · · · · · · · ··Civil Action No. 16-309
·THE UNITED STATES· · · ·(Judge Campbell-Smith)
· · · · · ·Defendant.
·---------------------x
· · · · · · · · · · ·Thursday, September 14, 2017
· · · · · · · · · · ·Baltimore, Maryland
·
· ·THE DEPOSITION OF ROSALIND MICHELLE ABANKWAH
·
· · · · · ·The deposition of ROSALIND MICHELLE
·ABANKWAH was taken on Thursday, September 14,
·2017, commencing at 1:04 p.m., at the Department
·of Health and Human services, Office of General
·Counsel, 7500 Security Boulevard, Central
·Building, Baltimore, Maryland, before CHERYL
·NICHOLSON, CCR, CLR, Stenotype Reporter and
·Notary Public in and for the State of Maryland.


                                  SA425
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 456 of 514
                                                                      Page 56
   Rosalind Michelle Abankwah             ACLR, LLC v. THE UNITED STATES
   Case No. 16-309                                   September 14, 2017

·1· ·all looked at it.··When I say the committee of

·2· ·folks, the team, we would have all looked at it

·3· ·and reviewed it and, you know, it's like, well,

·4· ·there's no money here.

·5· · · · · · ·Sometimes what would have been

·6· ·possible is -- let's say we looked at -- a

·7· ·couple of years we looked at NBI MEDIC.··It's

·8· ·possible, if there was money to be recovered,

·9· ·they'd say, you know what, ACLR, you do the

10· ·following years but there is no money.··There

11· ·was nothing to be recovered, so...

12· · · ··Q.· ·Because at the time that ACLR had

13· ·submitted its sales tax NAIRP, CMS had already

14· ·made the decision that it wasn't going to

15· ·proceed to do any recoveries on --

16· · · ··A.· ·Right.

17· · · ··Q.· ·-- sales taxes in PDE records?

18· · · ··A.· ·Yes.

19· · · ··Q.· ·And you were the supervisor of Sonja

20· ·Brown?

21· · · ··A.· ·Deputy supervisor, yeah.

22· · · ··Q.· ·So you were in the committee that made

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA426
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 457 of 514
                                                                      Page 59
  Rosalind Michelle Abankwah              ACLR, LLC v. THE UNITED STATES
  Case No. 16-309                                    September 14, 2017

·1· ·let's say it was deceased prescriber, because

·2· ·that was one we were trying to get them to take

·3· ·on but -- so if we had deceased prescriber -- so

·4· ·if the MEDIC did three years in the past and now

·5· ·we have two more years of recoverable funds,

·6· ·that could have been something ACLR could have

·7· ·taken on and reviewed and recovered money.

·8· · · ··Q.· ·So I guess the point is, then, when

·9· ·ACLR submitted its NAIRP on the sales taxes, CMS

10· ·had already concluded we're not proceeding on

11· ·collecting any sales tax?

12· · · ··A.· ·Because CM has let us know there's no

13· ·money to be recovered there.··So we're not going

14· ·to have a contractor look at something that's a

15· ·dead end.

16· · · ··Q.· ·The issue was over?

17· · · ··A.· ·Yes.··It was like there is no money to

18· ·be recovered, we cannot recover anything there.

19· · · ··Q.· ·Did you think CM's position was

20· ·correct?

21· · · ··A.· ·Can I just tell you it's not what I

22· ·think, it's CM, and at that time CM had -- so to

                          Nicholson Reporting, Inc.
     (703) 371.9115     Falls Church, VA     Cheryl@NicholsonReporting.com
                                  SA427
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 458 of 514




           TAB 102
                             Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 459 of 514
                                                             ORDER FOR SUPPLIES OR SERVICES                                                                                                                         PAGE OF

IMPORTANT: Mark all                                         wiih   ffilrmt    and/tr ordtr                                                                                                                           1

I, DAIE Of       OROER             2. COilTR/qCT NO. rqtarv)                                                                                                                       6_   SH|P TO:
                                   HHSM-500-2 005:0 00 13                 r
09/30/2017
3    OROER NO,

HHSM-500-T0002                                                      811-1-2308-01                                              t Applicable
5. ISSUING OFFEE
             fAddEs@nsp€,tdp@lo)                                                                                        b. STREET ADDRESS
CMS. OAGM, ASG, DPIEI,IC                                                                                                                                                                                                       dMlL-"o',g!J'
                                                                                                                                                                                                                                / **llvPrPosoor'co{-
7111 SECURITY BLVD., MS: 83-30-03
BALTIMORE MD 2],244-1850

                                                                                                                                                                                                                           e ZP   CODE



7.To:     Maria Caschetta                                                                                              t   SHIP VIA

..   NAME OF COi{TRACTOR
Livanta               LLC                                                                                                                                               E-   TYPE OF ORDER
b. COMPANY NAI'TE
                                                                                                                                                                                                   E      u.   orlrwnv
q STREETADDRESS
9090 Junction Drive                                                                                                                                                                                Ered fd blirq irskuctrrc o [E
                                                                                                                                                                                                   ffi,        thbdclisyqdsis
Suite            9                                                                                                                                                                                 s.triad to irEtretire     dlah.d ff
                                                                                                                                                                                                   thir cir:le oly of this lm ad ir
                                                                                                                       PlGc tuni$ fE fdliling fi th. tm3                                           bdJ6d s$i6d lo ItE tdmE -d
                                                                                                                       srd ddit rc spqrfied m bdr siJs d                                           srd'tims oa the Sovffi bsld
d. crTY                                                                                     I   ZP CODE                Ai. sdq md ff tE .tt .*Ed rlEd, il                                          dlited-
Annapolis                   Junctj.on                                                       20701-1140                  ffi.   ircAjdirB   d.riw     E6   indi5t   d-

9. ACCOUNTING          ANO APPROPRIATION DATA                                                                          IO. REOUISITIONING OFFICE
1 59   92      3 7   0-? 5x8393 -2522                                                                                  Medicare                           ram       Int rit
11. BUSINESS          CIASSIFICATION (CM< a,4Jopnate bx(es))                                                                                                                   12. F.O.B. PO|NT

     lX   e. SrrulJ-
                                              tr    b. oTHERTHANSUALL                   f l c DISADVAT{TAGED                       f    c senuce-
                                                                                                                                           DISAETED
                                                                                                                                                                              Destination
      T   a.   ranuexouneo                    f-l   e.   HUBzm                          Ll      f. EMERGING SMALL                          VETERAN-
                                                                                                 BUSTNESS
                                     13. PLACE OF                                      1.I, GO\GRNMENT B/L NO                                 ,5. DELTVER TO F.O.B, POIHT                                 I6, OISCOUNTTERUS
                                                                                                                                               ON OR BEFORE /Dare)
                                                                                                                                               09/29/20L2
                                                                                                                                                                                                                                  Net    30
                                                                                                17-   SCtlEDt   l.l (ss Ew         ,br Rqr.cdoil)

                                                                                                                       t(,AMrrrv                          UNTT                                                                 QUANTITY
 rTEf,l NO.                                         SUPPLIES OR SERVICES                                               )RDERED INIT                       PRICE                             ,(!!IOUNT                          ACCEPTEO
    (a)                                                      (b)                                                             (c)        (d)                (e)                                   (0

                      Tax ID Number: XX-XXXXXXX
                      DUNS Number: l-?2035300
                      Recovery Audit Contractor (RAC) VaLidation
                      Contract for Medicare Part D
                      Period of Performance: 09/3A/2011- to
                      og/29/20l-2
                      Continued ...

                       IE. SHIPPING POINT                                                '19. GROSS SHIPPING        tlrElGHT                  20.   twotcE       No.



                                                                                      21.   lrlAll   INVOICE TO:

                       a.   MilE                           ullHs , uFts , ut M, -E liG                                                                                                    L,492|o68.00
  SEEATIIJTVG
,wSrRt /C710r{S        b, STREET ADDRESS                   ufv.      or      !lnanclar                uPeratfons,
 OflFffRSE             {d P O. Aox)                        P.o- Box            ?520                                                                                                                                                     17(i)
                                                                                                                                                                                                                                        GRAND
                                                                                                                                                                                                                                        TOTAL


                       c    CITY                                                                                             ts. STATE        e.    ZP CODE
                                                                                                                                                                                          L,892,0              68    .00
                             Balt.imore
                                                                                                                             l*o               2]^207        -0520
     "[::"":'ff'il:"''                                                                                                                        23.   X ME f\rcd)
                                                                                                                                                    Desiree Wheeler
                                                         ),,/,lJJ,ut_tl, futlnu-bn                                                            TITLE: CoilTMCTINGiORDERING                     OFFICER

ru?HORI2ED FOR LOCAL REFR@{JCTION                                                                                                                                                                         OPnON         LF€iM?(ii..dt
PR€MOIJS EIITIOiT NOT USAE.E                                                                                                                                                                                   P'   ddrygfA{CfR$nI.}




                                                                                                                                                                                                                                  HHS02847

                                                                                                                   SA428
                Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 460 of 514
                                ORDER FOR SUPPLIES OR SERVICES


                                                                 ORDER NO,
DATE OF ORDER
                                                                 HHSM-500-T0002
09/30/20tL             -500-2005-000131
                                                                                                    OUANTTTV
 tTEl', NO                   SUPPLIESEERVICES
                                                                                                   ACCEPTED
                                                                                                       (c)
    (a)                             (b)


                                                                             1-,892,068 . 00
0001             Validation Contract for Medicare Part   D




             TOTAL CARRIED
                                                                                                                 m
                                                                                           M.dly   Oa Fm   (Icft)s2il(r)




                                                                                                           HHS02848

                                                        SA429
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 461 of 514




                                 Regionel Tesk Order Contract


Pursuant to the terms and conditiors of Contact EHSM-5fl1-200540013I and this task ordo,
the contastor shall perfonn the work required in accordance with the StatemeNrt of Work
entitld "Recovcry Audit Contactor (RAC) Velidation for Medicere Part D Contrector"




Signature ofthe Contrector below reprcsents ecceptence ofthis tesk order contrrct
awerd.




                                iil*-U6^4A--
                                   Mrrie IlL Crschettr
                                   President, Advrnte Medical Solutions, LLC
                                    MembenlivantallC                                          gF,0n0.    .l
Name of Contrrctor                                                                                Dete




iIOIE: oftly tlpse ontract sectkms whldr dltTer from the Umbdla IDIQ contsact Errt' and ondltlons, q pmdde morr
detalted hmomtadon sp€cffic b U{s parthJar Task Ordcr, arE prot,lded belorv. For thce @ntact sedons rc ldertfied
belo,v, all Erms and ondltiors of thc Umbdla IDIQ contsact remaln ln efiecL




                                                                                                                   HHS02849

                                                      SA430
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 462 of 514




        SECTION    B. SI]PPLIES OR SERVICES PRICES/COSTS
           8.3       DETERMINATION OF ORDER TYPE/PRICES/COSTS

             The Government anticipates award of a Firm-Fixed Price (FFP) type task order. It is
             estimated that the total cost to the Government for full performance of this contract will
             be in accordance with the Contact Line Item Numbe(s) (CLINs) set forth below.

CLIN         DESCRIPTION                     FIRM         AMOTINT           PERIOD OF PERFORMANCE
                                             FD(ED          PAII)
                                             PRICE
                                           AMOt'NT

 0001     Base Period                       s1.892.068    s1.892.068    Seotember 30. 201 I   - Seotember   29.2012
00002     Ootion   Period   One   (l        $2,045,540                  September 30, 2012    - September29, 2013
0003      Ootion   Period   Two (2)         $2.082.288                  Seotember 30. 2013    -September 29. 2014
 0004     Ootion   Period   Three (3)       s2.148.199                  Seotember 30.2014     - September   29.2015
000s      Option   Period   Four (4)        $2,201,409                  September   30, 201 5 - September   29, 2016
TOTAL                                      $10,369,505     $1,E92,06E

             The total potential firrn fixed price is $10369.505.

                      a. The total firnds crmently available forpayment and allotted to CLIN 0001 is
                       $1.892.058.

           8.5        INDIRECT COST RATES

             a.    In accordance with FAF.42.707, entitled "Cost Sharing Rates and Limitations on
                   lndirect Cost Rates," the following indirect cost ceiling(s) is hereby established:

                               Negotiated lndirect Cost Ceiling(s)

                                  Cost   Element/Pool    Rate

                                  (Fringe)               34.94%
                                  (G&A)                  30.80%

                   The Contractor is hereby limited to the negotiated indirect cost ceiling stated above.
                   However, if it appears that the Contractor may exceed this ceiling, the Government,
                   upon review of documentation submitted by the Contactor, may modiff the contract
                   to establish new ceilings, but in no case shall the government reimburse the
                   Contractor for more than the total estimated cost of each individual Task Order
                   Contract for which the rate(s) may be applied.

             b.    Pursuant to the provisions of FAR 52.216-7 entitled Allowable Cost & Payment, in
                   Section I of the umbrella conhac! the allowable Indirect Costs under this contract




                                                                                                               HHS02850

                                                         SA431
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 463 of 514




        shall be obtained by applying the final rates or rates negotiated to the appropriate
        bases. The period or periods for which such rates will be established shall correspond
        to the Contractor's fiscal year(s). The final rate proposal is to be submitted to the
        Contracting Officer at:

                Centers for Medicare and Medicaid Services
                Office of Acquisition and Grants Management (OAGM)
                Division of Medicare Support Contracts (DMSC)
                Attn: Contracting Officer
                7500 Security Boulevard, C2-21 -t5
                Baltimore, Maryland 21244-1850

        In the event that the final rate proposal is submitted to a cognizant audit agency other
        than CMS, the Contractor shall also provide a copy to the cognizant CMS Contracting
        Offrcer if requested.

   c.   Pending establishment of final rates for any period, provisional reimbursement will be
        made on the basis of the provisional rates shown below. To prevent substantial over
        or under payment, and to apply either retroactively or prospectively, provisional rates
        may, at the request of either party, be revised by mutual agreement.

               Type      Center
                           Cost                   Period Rate Base

               Provisional Fringe                       315!,%     (a)
               Provisional G&A                          27.80o/o $)
                   Notes:
                   (a) applied to Total Labor Dollars
                   (b) applied to Total Cost lnput

        Negotiated provisional indirect costs are IAW CMS Approved Provisional Billing
        Rate Agreement20l0-258 or Fiscal Year ending December 31, 2010 (July l, 2010).




                                                                                                   HHS02851

                                          SA432
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 464 of 514




SECTION F . DELIVERIES OR PERFORMANCE

   F.l      PERIOD OT'PERFORMANCE

   The base period of performance for this conmct shall be from twelve months from the date
   of contract award. Performance beyond the base period of the contract may be authorized
   by the GovErnment's right to rxrilaterally incorporate the following optional periods:


    CLIN   OOO2   Ontion Period One (1)      September 30, 2012   -   September 29, 2013

    CLIN   OOO3   Ootion Period Two (2)      September 30,2013    -   September 29,2014

    CLIN   OOO4   Ootion Period Three (3)    Seotember 30. 2014   -   Seotember 29 - 2015

    CLTN   OOO5   Ootion Period Four (4)     September 30,2015    -   September 29,2016




                                                                                              HHS02852

                                           SA433
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 465 of 514




SECTION G. CONTRACT ADIVIIMSTRATION DATA

   G.l     ACCOT]NTING AIYD APPROPRIATION DATA

       Requisition #          A,ooronriation #      CAN #      Obiect Class       Amount
     R-811-l-2308-0r          75X8393            t-5992370    2522               $1.892.068

   G.4 CONTRACTING OFFICER'S TECHMCAL
          REPRESENTATIVE/GOVERNMENT TASK LEADER

     1)   The following Contracting Officer Technical Representative (COTR)    will   represent
          the Govemment, for the ptrpose of this contract:

          Ms. Teresa Dangerfield
          CMS/OA/CPIA{PIG/DPOA
          Email: Teresa.Dangerheld/,{4icms.hhs.sov
          Phone: (410) 786-0960
          Mail stop: AR-I8-50

    2) The COTR is responsible for (l) monitoring the Contractor's technical progress,
       including the surveillance and assessment of performance and compliance with all
       substantive project objectives; (2) interpreting the statement of work and any other
       technical performance requirements; (3) performing technical evaluation as required;
       ({) performing technical inspections and acceptances required by this contract; (5)
       assisting in the resolution of technical problems encountered during performance; and
       (6) providing technical direction in accordance with Section G-14 entitled, "Technical
       Direction"; and (7) reviewing of invoices/vouchers.

    3) The COTR does not have the authority to act as an agent of the Government, under
       this contact. Ooly the Conkacting Officer has authority to (l) direct and/ore
       negotiate changes in the statement of work; (2) modiff or extend the period of
       performance; (3) change the delivery schedule; (4) authorize reimbursement to the
       Contactor of any costs incurred during performance of this conhact; or (5) otherwise
       change any terms and conditions of this contact.

    4) The Govenrment may unilaterally change its COTR designation. Government Task
       Leaders (GTL's) may assist the COTR. The CTL's will not have the authority to
       provide technical direction in accordance with Section G-12, entitled, "Technical
       Direction", however, they may be responsible for:

          a)     monitoring the Contractor's technical progress, including surveillance and
                 assessment of performance and compliance with all substantive project
                 objectives
          b)     interpreting the statement of work and any other technical performance
                 requirements
          c)     performing technical evaluation as required




                                                                                                  HHS02853

                                            SA434
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 466 of 514




      d)       perforrring tecbnical inspections and acceptances required by the contract
      e)       assisting in the resolution of technical problems encountered during
               performance; and
     0         reviewing of invoices/vouchers.

  G.8 HHSAR 352.2A.70 KEY PERSOT\II\EL
        The following individuals are considered key personnel:

        Kev   Personnel                          Position Title
        Christopher Mendez                       Program Manager
        Philip DeGele                            Audit Manager - Reimbursement (AMR)
        Michelle Lewis                           Senior Auditor
        Tom Dehart                               System Security Officer

        Subcontractor key personnel shall be:

        Kev Personnel                            Position Title
        Dana  Keller                             Chief Statistician (Halcyon Research)
        Deirdre Reed                             Audit Manager    -   Exarninations (Reed   &
                                                 Associates)

      Fursuant to the provisions of the key personnel clause of the MEDIC Umbrella
      contract no. HHSM-500-2005-00013I, the Government reserves the right to approve
      any proposed sucoessor to the above designated contractor/subcontractors key
      personnel.

  G.16 CONSENT TO SUBCOI{TRACT
        c.     Consent to Subcontract is hereby granted for the following entities:

               Advanta Goverament Senices, LLC.
               Helcyon Research,Inc.
               Reed end Associrtes, CPAs,Inc"




                                                                                                HH502854

                                         SA435
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 467 of 514




SECTION   H. SPECIAL CONTRACT REQUIREMENTS
H.2   ORGANIZATIONAL CONTLICTS O[' INTEREST

      "Organizational conflict of interest" as defined per FAR 2.101, "means that because of
      othei activities or relationships with other persons, a person is unable or potentially
      unable to render impartial assistance or advice to the Government, or the person's
      objectivity in performing the conhact work is or might be otherwise impaire4 or a person
      has an unfair competitive advantage."

      (A) Purpose: The purpose of this clause is to ensure that the Contactor (1) is not biased
      because of its financial, contractual, organizational, or other interests which relate to the
      work under this contract, and (2) does not obtain any unfair competitive advantage over
      other parties by virtue of its performance of this contract. This clause has been created to
      implement the organizational conllict of interest requirements of FAR 9.5.

      (B) Scope: The restrictions described herein shall apply to performance or participation
      by the Contractor and any of its affiliates or their successors in interest (hereinafter
      collectively referred to as "Contractor") in the activities covered by this clause as a prime
      contractor, subcontractor, co-slx)nsor, joint venture, consultant, or in any similar capaclty.
      For the purpose of this clause, affiliation occtus when a business concem is controlled by
      or has the power to conhol another or when a third party has the power to control both.

      (C) Use of Contractor's Work Product: If the Contractor performs advisory, consulting,
      analytical, evaluation, study, or similar work under this contrac! it shall be ineligible
      thereafter to participate in any capacity in Govemment contractual efforts (solicited or
      unsolicited) which stem directly from such work, and the Contractor agrees not to
      perform similar work for prospective Offeror's with respect to any such contractual
      efforts. The Contactor shall be ineligible to participate in any contracts, subcontacts, or
      proposals (solicited and unsolicited) which stem directly from the Contractor's
      performance of work under this contract for a period of one (l) vear after the completion
      of this contract. Furthermore, unless so directed in writing by the Contracting Officer, the
      Contractor shall not perform any system engineering or technical direction support work
      under this contract on any ofits products or services or the products or services of
      another firm if the Contractor is or has been substantially involved in their development
      or marketing. Nothing in this subparagraph shall preclude the Contractor from competing
      for follow-on contracts or subcontracts for advisory and assistance services.

          It
      (D) under this contract, the Contractor prepares a complete or essentially complete
      statement of work or specifications to be used in competitive acquisitions, the Contractor
      shall be ineligible to perform or participate in*y  capacity io  *yconEactual effort
      which is based on such statement of work or specifications. The Conhactor shall not
      incorporate its products or services in such statement of work or specifications unless so
      directed in writing by the Contracting Offrcer, in which case the restriction in this
      subparagraph shall not apply.




                                                                                                       HHS02855


                                             SA436
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 468 of 514




   (E) Access to and use of information:

          (l) If the Contractor, in the perfonnance of this conftact, obtains access to
          information, such as   Government   plans, policies, reports, studies, financial plans,
          intemal data protected by the Privacy Act of 1974 (5 U.S.C. 552a), or data which
          has not been released or otherwise made available to the public, the Contractor
          agrees that it shall not:

                  (a) Use such infonnation for any private purpose unless the information
                  has been released or otherwise made available to the public;

                  (b) Compete for work based on such information for a period of one (l)
                  vear after either the completion of this conhact, or until such information
                  is released or otherwise made available to the public, whichever is first;

                  (c) Submit an unsolicited proposal which is based on such information
                  until six (6) months after such information is released or otherwise made
                  available to the public; and,

                  (d) Release such information unless such information has previously been
                  released or otherwise made available to the public by the Govemment.

          (2) In addition, the Contractor agrees that to the extent it receives or is given
          access to proprietary  data data protected by the Privacy Act of 1974 (5 U.S.C.
           552a), or other confidential or privileged technical, business, or financial
          information under this contract, it shall treat such information in accordance with
          any restictions imposed on such information.

   (F) Disclosure after award:

          (1) The Contractor agrees that, if changes, including additions, to the facts
          disclosed by it prior to award of this Contract, occur during the performance of
          this Contract, it shall make an immediate and full disclosure of such changes in
          ,*iting to the Contracting Officer. Such disclostre shall include a description of
          any action which the Contractor has taken or proposes to take to avoid, neutralize,
          or mitigate any resulting conflict of interest. The Government may, however,
          terminate for convenience if it deems such termination to be in the best interest of
          the Government.

          (2) In the event that the Contractor was aware of facts required to be disclosed or
          the existence of an actual or potential organizational conflict of interest and did
          not disclose such facts or such conflict of interest to the Contracting Officer, the
          Contracting Officer may terminate for default.

   (G) Remedies: For breach of any of the above restictions or for nondisclosure or
   misrepresentation of any facts required to be disclosed conceming this contract, including




                                             l0


                                                                                                    HHS02856

                                           SA437
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 469 of 514




         the existence of an actual or potential organizational conflict of interest at the time of or
         after award, the Govemment may terminate for default, and pr:rsue such other remedies
         as may be permitted by law.


         (tI) Waiver: In accordance with FAR 9.503, any request for waiver must be in writing,
         shall set forth the extent ofthe conflict, and requires approval by the agency head or a
         designee. Agency heads shall not delegate waiver authority below the level of head of a
         contacting activity. The agency head or a designee may waive any general rule or
         procedure of this subpart by determining that its application in a particular situation
         would not be in the Government's intercst.

         (I) Subcontracts: This Organizational Conflict of lnterest clause shall flow down to all
         subcontactors unless an exemption is specifically approved by Contacting Officer,
         CMS.

H.   3   COhIFLICT OF INTEREST

         The Contractor shall disclose any known or potential conflicts of interest, in accordance
         with FAR Part 9.5, for the purpose of meeting the requirements of this contract. The
         Contractor agrees that if an actual or potential organizational conflict of interest is
         discovered after an award of a task order, the Confractor shall make full disclosure in
         writing to the Conhacting Officer. This disclosr:re shall include a description of actions
         that the Contractor has taken or proposes to take to mitigate the actual or potential
         conflict. The Contracting Offrcer shall determine whether a conflict of interest disclosed
         after award has been adequately resolved.




                                                   11




                                                                                                         HHS02857

                                                 SA438
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 470 of 514




ATTACHMENTS:

   J-l   STATEMENT OF WORK

   J-2   WAGE DETERMINATION




                                 t2


                                                                       HHS02858


                               SA439
 Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 471 of 514




DEPARTT]VIENT OF }IEALTH & HUUAN SNRVTCES
The Centers for Medicare& Medicaid Services
7500 Security Boulevard
                           -
Baltimore, Maryland 21244 1850
                                                  ['[NrER-( t:t]R i$EUIC{*i & Mtf)t{.Alf) strrvl(Es
                                                  CENTEE TON PROCRAM INTEGRITY
Cgl.iren roR PRoGRAM IlrrecRrry
Contract No. HHSM-S 00-2005-000 I 3I




Medicare Part D RAC Data Validation
Contractor (DVC)
Statement of Work


September 30, 2015




                                                                                                      HHS02912

                                          SA440
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 472 of 514


The Centcrs lbr Mcdicarc & Mcdicaid Scrviccs




                                               Table of Contents
1.0 IntroductionandBackground..............                                                     ......1 -3
     l.l       Commonll' Used Tcrms and Acronl'ms
     1.2 Other Resources and Information
     1.3 DVC Introduction and Scope
          1.3.1 DVC Scope
2.0 DVC Revierv Activities.....                                          ...................... 3 - 6
     2.1 Nerv Issue Revieu'
         2.I.1         Nerv Issue Revierv Reporting and Tracking
     2.2 Accurac.v and Improper Paymcnt Rcvicu'
         2.2.1 Accurac-v/Improper Payment Revierv Reporting and Tracking
     2.3 Validation of RAC Audit Findings
         2.3.1 DVCiRAC Dispute Resolution
3.0 Special Studies.........                                                         .................6
4.0 DVC Requirements/ Tasks to be Performed                                    ...............6 - 13
     4.1 Basic Requirements
     4.2 System Requirements
     4.3 Data Acccss Rcquiremcnts
5.0 Key PersonneUOther Personnel.....                                                 .......13 - 16
6.0 Qualitv Assurance....                                                            ........16 - 17
     6.1 DVC Oversight
     6.2 Cooperation/ Coordination
     6.3 Qualiq'
     6.4 Standard Operating Procedures
     6.5 CMS Systcm
7.0 Transitions. .   .                                                            ..................,17
Appendix A: Dispute Form for Neu' Issue and Accuraq                                    ... ... ... ... l8
Appendix B: Items to be furnished and delii,erable schedule ......               ................. .. I 9
Appendix C: CMS Contacts                                                                .............20




                                                                                                             HHS02913

                                                 SA441
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 473 of 514

'fhc Centcrs lbr Mcdicarc & Mcdicaid Scrviccs
ttnC Data Validation Contractor SOW - Drvision olPIan Oversiglrt and Accountabi[tr




1.0 Introduction and Background

Title I of the Medicare Prescription Dmg. Improvement and Modemization Act of 2003 (MMA) (P.L.
 108-173) uas signed into lali on Dccember 8.2003. The MMA established a neu voluntarJ outpatient
prescriptiou drug benefit r.urder Part D of Title XVIII of the Social Securitl'Act (the Act). The
prcscription dnrg bcncfit. rcfcrrcd to as Nlcdicarc Part D. as ucll as an cmplolcr subsidr for qualificd
rctiree health plans- began on Januan' 1.2006. Coverage for the dmg benefit *ill be provided bl prirate
prescription drug plans (PDPs) that offer drug-onl1' coverage or through Nledicare Advantage (MA) plans
that offer both prescription drug and health care co\ferage (knoun as IVIA-PD plans). These plans nrust
offer a standard drug benefit. but uill have the fleribilitr to van the dmg benefit rrithin certain
paramcters. The Centers for Medicare & Medicaid Sen'iccs (CMS) has identified 26 MA Regions and 34
PDP Regions. not including territorics. each of u'hich is its osn PDP region.

The Recoven Audit Contractor (RAC) Program. rihich is dcsigned to ensure proper pavments to
Sponsoring Organizations (SOs) and providers. u'as initiated through deurorrstration progranls urandated
b1'thc Nlcdicarc Modcmization Act of 2003. Thc succcss of thc initial pilot program for Mcdicarc Parts
A and B included the return of millions of dollars in overpavments to the Nledicare Tmst Fund. Bascd on
that success. the Medicare Parts A and B RAC Program \\'as pemansntlv established on a national level
through the Tax Relief and Healthcare Act of 2006.

Under the 20 l0 Patient Protection and Affordable Care Act (ACA) legislation enacted in March 20 10.
CMS is rcqr.rircd to cxpand thc RAC Program to thc Mcdicarc Part C (Mcdicarc Advantagc) and Part D
(Prescription Drug Benefit) programs. Section 641 l(b) of the ACA provides CN{S rlith general authorin'
to enter into contracts to conduct RAC audits in Medicare Part D. Under the Medicare Integritl' Program
(NIIP)- RACs are to identi! underpavmertts and ove{pavments and recoup an\ o\icrpavlnents made
associatcd u ith thc Mcdicarc progranl. Thc Part D RAC is dcdicatcd to idcntifi ing past irnpropcr
pavments in reconciled Medicare PDE claims and pror.iding information to CNIS to help prer,ent ftiture
inrproper palmeuts.

To measure the accuracv rate of the Part D RAC. CMS colltracts lith a Data Validation Contractor
(DVC). The DVC takes random samples of the improper pavments identified b1'the RA.C to determine if
ther are accurate. The DVC also revies and approve/disapprove improper pavnlcnt referrals. receive and
rct,icrt Ncrr Audit Issucs thc RAC *'ants to pursuc for impropcr pavmcnts. and providc rccommcndations
to the Ncu Issues Revien Board (NIRB)

l.l       Commonly Used Terms and Acronyms
For purposes of this Statement of Work (SOW). the folloriing list addresses somc of the commonlr used
terms n'ithin the Part D RAC Prograur.
    o ''Appeals Contractor" (Independent Revies.Entitl') handles the first level of appeals from MAOs
          challenging RAC findings
      .   "Audit Scope" is a list of audit issues the RAC is required to revieu. during a given vear.
      o   The "Center for Program lntegritlj'(CMS/CPI) senes as CMS'focal point for all national and
          state-s'ide program integritr'. fraud and abuse issues in the Mcdicare and Medicaid programs- and
          thc Childrcn's Hcalth Insurancc Program (CHIP) Spccificalll. thc Division of Plan Ovcrsight
          and Accountabilitr'(DPOA) is the division riithin the CMS/CPI Medicare Integritv Group
          responsible for ensuring progranr integrih'for Medicare Parts C and D- and oversees Medicare
          PartsCandDRAC.




                                                                                                              HHS02914

                                                        SA442
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 474 of 514


Tilc Ceutcrs tor Medicarc & Mctlicaid Scrvices
t{AC Data V:rlidation Contractor SOW - Division ol Plarr Oversight and Accountabilitv


     .   The ''Data Validation Contractor" (DVC) measures tlre accurao'rate of the RAC. The DVC
         rc'uicrrs I00% or takcs random samplcs of thc impropcr pa)mcnts idcntificd b1 thc RAC to
         determine if thev are accurate and rr ill revies' and approve/disapprove improper pa\ mcnt
         referrals- receive and revie*' nes. audit issues the RAC sants to pursue for in'tproper pa\ me11ts.
         and provide recommendations to the Nerr'Issues Revie$ Board (NIRB)
     .   "Irrrproper Pa]'ment Revierv Package'' (IPRP) is an improper palment file and the supportirrg
         documcntation tbr a particular audit issuc b1 contract and 1car.
     .   "Neu Audit Issue Revieu Package" (NAIRP) is the package of proposed audit issues for a
         specified contract ]'ear. a nerr. audit issue. an estimate of improper pa]'ment amount and thc audit
         methodologl'.
     o   The "Neu'Issues Reviex Board'' (NIRB) is the planncd CMS/CPI group that identifies. revie\\.s.
         and approves Part D RAC audit issues.
     o   The "Palment Recover] Information S)'stem" (PRIS) houses referrals made to CNIS/CPI after
         iurproper pa)'ulents are ideutified. The RAC and DVC revieu-the claims and their accompanving
         medical records and charges- either confirm or reject claims. and update thc records rvith an
         approval or rejection to rcquest monev from the provider.
     .   Thc "Rccovcr)' Audit Contractor" (RAC) is rcsponsiblc for rcducing Mcdicarc impropcr
         pavments through the efficient detection and collection of overpal ments. the identification of
         underpar ments. and assists s'ith the implementation of actions that s ill prevent future improper
         pavments. Originallf implemented for FFS Medicare. the ACA (Section 641l(b)) erpands the
         original RAC Program to Medicaro Parts C and D. RACs are paid for identified improper
         pa]ments on a contingencv fee basis.
     .   "Plan Sponsors are private organizations that contract riith CMS to administer Medicarc Parts C
         and/or D benefits and mav offer several different trpcs of Medicare Part C and/or Part D plans.
         Plan Sponsors include. but are not limited to. Medicare Adr.antage Organizations (MAOs).
         Medicare Advantage - Prescription Drug Plans (MA-PDPs). Prescription Drug Plans (PDPs).

1.2 Other Resources and Information
To gain additional knouledge potential bidders mav research the follouing documents:
   . The Debt Collection Inrprovement Act of 1996
   o The Federal Claims Collection Act. as amended and related regulations found in 42 CFR:
   . CMS Financial Report
        http://rru.u'.cms.gov/CFOReport/Dorrrloads/2009_CMS_Financial_Report.pdf
   . The Medicare Prescription Drug Benefit Manual:
          http://*rvu'.cms.gor,/ManualsilOM/itemdetail.asp?filterT]'pe=none&filterB) DID=-
          9-9_&sqrtB-I:DI_D.=.I_&ssrt0__rder ascending&_ileml_D=C_MS05048=i&intNunP._e.rPase*=1-0.
   r      Part D Claims Data:
         h!!p...1lxun...cms,g.sl:/-P-rc.i.qriptip..n.D..nrgC--o.r-G-.enId-Q..E-P..art-D-.D-aIa.a.sp-#.Iq-p-9.-f-P...ass
   r     Part D Program Analr sis:
         http://rvs'u'.cms.gov/PrescriptionDrugCovGenlr:./09_ProgramReports.asp#TopOfPage
   r     Part D Regulations:
         http ://rr's s'. cms. gov/PrescriptionDrugCovG cnln /PDR 4ist. asp#TopOff age
   r     Plan Communication Guide:
         http://rvu,s'.cms.gov/MAPDHelpDesk/02_Plan_Communications_User_Guide.asp
   o     Part D Reporting Requirernents:
         http://u'u l .cms.gov/PrescriptionDrugCovContra/08_RrContracting_ReportingOversight.asp




                                                                                                                          HH502915

                                                                  SA443
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 475 of 514

'I'hc Ccntcrs tbr Mcdicarc & Mcdicaid Scrviccs
RAC Data Validatlon Contractor SOW - Divisiou ol Plan Oversight and Accountabilitl


1.3 DVC Introduction and Scope
    1.3.1 DVC Scopa
The prirnan' pulpose of the RAC Data Validation Contractor (DVC) is to revierr RAC clainr
determinations on Medicare claims that uere paid under Part D of title XVIII of the Social Securitl Act.
and to ensure that the RAC onlv identifv and attempt to recover claims resulting in an overpavment to the
plan sponsors.

This SOW includcs thc folloning tasks rrhich arc dcfincd in dctail in subscqucnt scctions of this contract:

    o    Revieq'ing nes'issues the RAC wants to pursue for improper pavments u'here Part D plans have
         not been notified of an improper pa\-ment. The RVC u'ill submit reports to CMS on their
         findings.
    r    Revieuing claims on uhich the RAC has made overpavment detcrminations. The RVC nill also
         validate files used br the RAC to create overpavment notification letters (demand letters). The
         RVC u'ill submit reports to CMS on their findings.
    o    Meeting and communicating ri ith CMS and the RAC about their revieu findings. as rrell as
         developing public relations material upon CMS' request.

For the purposes of this SOW. CMS is not concerned sith a RAC missing a potential overpal'ment (i.e.. a
RA.C failing to identif' an overpavment). onlr that a RAC ma1, be inappropriatelf idcntiff ing an
overpa! ment.


2.0 DVC Review Activities
2,1 Nerv Issue Review
The DVC sl.rall revie*'the nerr issues that the RAC uishes to pursue for potential improper pavnlents.
Each proposed nerr issue rrill be revie'rred bascd on the method identificd bl the RAf- either automated
or complex revies.. Automated rcvieu' occurs u'hen dctermination is performed at the s1'stem level
nithout a human revies.of the pertinent documents. In situations uhere there is high probabilitr'(but not
ccrtaintl') that an impropcr pavmcnt rras madc outsidc thc scopc of automatcd rcl'iovs. complcr rcvic*'
uould   be necessan (i.e. for DIR validation).

The DVC shall revie*'each submitted claim. claim selection criteria. associated documentation (for
complex revieu's onll'). improper pavment finding. revierrer rational. and denial t1'pe and subtl'pe.

The DVC shall document the follos ing findings for each claim in the studl':
  o for automated revie*'s onh': uhether the criteria for automated revies' nas met (or *'hether the
     RAC should have performed complex revien' instead)
  o u'hcther the DVC agrees or disagrees u'ith the RAC's claim of improper pa)'ment determination
     (fu ll overpay'nrent. partial overpa)'ment. underpar.ment. etc.)
  . for each disagreement: indicate the correct determination. At CMS' discretion the DVC ma1'be
     required to recalculate recoupment amounts.
  o shcther the DVC agrees or disagrees *ith the RAC's error t\pe (no documentation. insufficient
     documcntation. or othcr) and subtl'pc (to bc providcd bi CMS) for thc claim dctcrmination
             o for each disagreement. indicatc the correct denial tlpe and subtlpe




                                                                                                              HHS02916

                                                         SA444
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 476 of 514


I'hc Ccutcrs lbr Mcdicarc & Mcdicaid Scrvices
I{AC Dala Validation Contractor SOW - Dir.ision oiPlalOt.erslSht and Accoturtabilitv


    2.I,1 Nnw ISSUE REVIEW                   RTPONUNG AND TNACXINC
The DVC shall submit to CN'IS one report per ne\\' issue. The DVC shall also provide a brief explanation
(one to t\\'o sentences) for each claim reviesed communicating the reason for the DVC's finding. The
DVC shall revies-previousll' submitted nerr' issnes and provide clarification and discussion upon CMS
request.

Thc DVC shall providc a comparison and contrast (C/C) rcport for similar (i.c. cdit paramctcrs. rationalc.
provider t1'pe) or same ne\\' issues proposed bv different RACs if CN{S implements multiple RACs to
handle Part D. The C/C report shall include a checklist including utich findings each neu' issue proposal
do or do not colltairl. This comparison and coutrast is deliverable to CMS rvith the DVC nen issue report
under revieu.

The DVC shall track and report identified policl'rulncrabilitf issucs during neu issue revierr'. The
rulnerabilitv report slull include recommended corrective actions thc agencv should undertake. This
rulnerabilitv report is a deliverable to CMS along s'ith the DVC neu' issue report under revierv. At CMS'
discrction. a standardized format for the report and/or tracking ma1'be required. Ifa standardized format
is required. CMS irill provide tl.re fomrat.

Nerv Issues Rer,'iervs can be accomplished as part of special studies as requested bv CMS. When using
this approach to accomplishing Nes' Issues Reviess. the DVC shall determine the appropriate protocols
to accomplish the uork. e.g.. anall'sis plan and audit plan. discuss the overall approach uith CMS. and
communicate the findings in a fomrat appropriate to the trpe of the reviel.- in accordance l ith a
timeframe and format that is mutuallr'agreeable bI CMS and the DVC.

Thc rcport shall bc dclivcrcd b1 thc 2-5th calcndar da1'. follo*ing thc DVC's rcccipt of thc claims. and
uill be in a format determined br CMS. The report shall be uploaded in PRIS or delivered to CMS.

2.2 Accuracy and Improper Payment Review
The DVC shall measure the accuracv rate for thc RAC bv revieu'ing a randonrlv selected sample of
claims or 1009'o of thc claims that thc RAC has rcviorcd. CMS uill providc Impropcr Parmcnt Rcvior
Packages (IPRP) to the DVC n'hich includes onc audit issue. one plan. and I audit 1,ear. The RAC rr ill
add the packages to PRIS: the IPRP sill be made available to the DVC for validation. The accurao'
revie* begins once the DVC receives claim detail information from PRIS or othenvise noted b1 CMS.
CMS trill determine u'hether the RAC's accurac]'shall be detcrmined b1'sampling or as a l00oZ revierv.
This decision sill be evaluated separatelv for each nes.audit issue

Ths DVC shall rcvicn cach submittcd impropcr pa) nlcnt rcviur packagc and randomlr sclcct a samplc
of claims from each package to revie* for accuracr'. The DVC shall also revies associated
documentation" edit paraureters. inrproper pa] ment finding. revie*'er rationale. communication to
provider. error t\pe and subtrpe. The DVC lr ill also revierv the letter sellt to the provider courmunicating
the improper pa) ment finding and *ill develop a standardized checklist to assist in this revie*, unless
othenrise directed bv CMS.

Thc DVC shall documcnt thc follorving findings for cach claim in thc studr':
    . for autorrrated revies s onh': nhether the criteria for automated ret ies $'as met (or l'hether the
      RAC should have performed complex revie*' instead)
    r rrhether the DVC agrees or disagrees rrith the RAC's clainr of impropcr pavment deternrination
      (fi.rll overpar ment. partial overpa! menl underpal rnent. etc)




                                                                                                                HH502917

                                                          SA445
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 477 of 514


Thc Ccnt,rrs lbr Mcdicarc & Mcdicaid Scrviccs
I{AC Data Validation Contractor SOW - Dr.ision olPlan Oversight and Accountabilitv


    r    for each disagreement: indicate the correct determination At Cw' 5' discretiorr the DVC mav be
         rcqucstcd to rccalculatc rccoupmcnt amount
    o    uhcthcr thc DVC agrccs or disagrccs s'ith thc RAC's crror t]'pc (no documcntation. insuft-rcicnt
         documentation. or other) and subt]?e (to be provided bv CMS) for the claim determination
              o for each disagree. indicate the correct denial tlpc and subtvpe
    e    nhether the DVC believes the language used b1'the RAC to communicate the improper pavment
         to the provider \\'as clear and accurate based on current CMS guidelines
    o    The DVC shall agree or disagree n'ith the follori ing calculations
              o      Improper Paurrent Amount
              o      RAC Contingencv Fee
              o      Medicare Trust Fund Amount
Accurao Reviervs can be accomplished      as part of special studies as requested bi'CN{S. When using this
approach to accomplishing Accuracv Revien s. the DVC shall determine the appropriate protocols to
accomplish thc rrork. c.g.. anallsis plan and audit plan. discuss thc ovcrall approach sith CMS. and
communicate the findings in a format appropriate to the subject of the revies'. in accordance rr ith a
tinreframe and format that is mutuallr'agreeable b1' CMS and the DVC.

    2.2,I     AcCunaCY/IMPRoPER PAYIIIENT REvIEw RepOnuNG AND TRACXTruC
The DVC shall subrnit to CMS via PRIS uuless othenvise determined b1'CMS one Validation Findings
report for each IPRP. The Validation Findings report shall describe the claim accurac]'rates as rvcll as a
bricf explanation (one to t\\ o sentences) for each improper pa\ ment revier ed communicating the reason
for the DVC's finding. The report shall also include a narrative scction nith information about pattems of
irrappropriate denials that can be seen from the data. The report shall be delivered b1'the 45'h da1'after
the DVC's receipt of the claims The report shall follorr the name filine conventions assigned b1' CMS
and uploading in PRIS or delivered to CMS via encrypted tools.

Anrruallr'. the DVC shall u'rite a curnulativc report of the accuracv rate studr'. The report shall include the
or crall accllrac] ratcs tbr thc RAC- and a narratir c scction rr ith information about pattcrns of
inappropriate denials that can be seen from the data as rvell as recommendations to CMS regarding an\
nccded policl (s) based on trcnds identified during revies'. Thc report shall also include corrective actions
the agencl'should undertake *'hen the DVC has identified a consistent pattern during accurac)'revicrrs.
The report shall be no more than ( l0) pages. The annual report shall be n'ritten in a format determined b1
CMS. CMS u'ill specifi'the sampling period for the annual report. The report is due 60 da1's after the end
of the fiscal 1'ear. A draft report is due to CMS 30 da1's after the fiscal l ear ends and a final report is due
30 dals aftcr thc draft.


2.3 Validation of IIAC Audit Findings
Thc DVC shall pcrform a rcvior of thc IPRP and to submit an IPRP validation finding to CMS. Thc
DVC nill follos'the same revie*'process as the RAC. The DVC u'ill also validate the UFR records. the
improper pavment amount. and the contingencl' fee. The DVC * ill have 45 calendar day's to complete its
rer,igrr- process.

The RAC must agree or disagree     iiith the validation findings submitted bv the DVC. Concurred
validation findings n'ill continue through the RAC process.




                                                                                                                   HH502918

                                                         SA446
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 478 of 514


Thc Ccntcrs tbr Mcdicarc & Mcdicaid Scrvices
I{AC Data Validatron Contractor SOW - Dvisiol of Plan Oversight and Accoturtabilitl'


    2.3.1 DVC/RAC Dtspure RrsoluuoN
When the RAC disagrees rvith the DVC nel' issue or accuracv detennination. the dispute process shall
follou u'ith the dispute form (DF) or bv a dispute indicator in PRIS. The DVC shall revies'the DF and
submit a response to CN{S u'ithin seven (7) da1's (Appendis A). The process rrill be subject to change at
CMS' request. The dispute process s'ill involr.e no rnore than five improper pa!'ment tlpe accurac\'
revieu's or lle\\ issues per RAC per rnonth. Issues ma1'corrsist of multiple clairrrs trith tlre sante derrial
rcason complctcd b1' automatcd rcvior.

For RAC findings the DVC disagrees u'ith. the DVC must provide a rejection reason and esplanaton'
comments. including their recoverl' calculations.

Thc RAC is rcquircd to rcviov all disagrccmcnts idcntit-rcd b1,'thc DVC and cithcr acccpt or rc-icct thc
DVC's validation findings. When the RAC agrees rsith a rejected IPRP Validation finding. the file is
considered validated: all associated findings riill be remol'cd from the Unavailable for Revieu (UFR)
file. Wren the RAC disagrees s'ith the DVC. ther must shou. support for their findings and offer
assistancc in undcrstanding thc proccss bchind dccisions to csclude thcsc disputcd findings. Thc RAC
should submit this nen'package riith updated data.

The DVC must collaborate *ith the RAC to attempt resolution of anl dispute. Disputes u'ill be entered
and trackcd through CMS svstcms. Thc DVC and RAC should attcmpt to rcsolt,c ant disputcs uithin 7
calendar da1's. If the DVC and RAC cannot come to a resolution. CMS shall make the final decision.
u'hich cannot be revies.ed or contested b1' either the RAC or DVC. CMS does not need an]' statuton'or
rcgulatory rcfcrcncc to dcnl a RAC finding. CMS also has ths right to cstablish minimums and thrcsholds
that RAC findings must meet to be considered for recoupment. The RAC shall submit a nes package
n'ith the final updated. CMS approved. audit findings.


3.0 Special Studies
The DVC shall    r*,ien additioual clainrs for special studies at CN{S' rcqucst. For each special studl . thc
DVC shall submit a rcport to CIvIS including. at a minimum. claim and dollar accurac! ratcs- a narratir,c
section n ith information about patterns of inappropriate denials that can be seen from the data. as *ell as
a brief esplanation (one to t\\'o selltellces) for each claim reviewed courmunicating the reason for the
DVC-s finding. The special studl' report shall also include recommendations and corrective actions for
an1'policl(s) during the revieu'. CMS has the discretion to request the DVC to recalculate recoupment
amounts. Esact parameters for each special studl'rvill be determined bv CMS prior to assignment.

Thc volumc. ficqucncr and cxtcnt of Spccial Studics shall bc assigncd and schcdulcd b1 CMS in
consideration of the DVC resource constraints and the erlent of concurrent Nen' Issues Reviervs and
Accuracv Rel'ie*'s. If at anr timc^ third pag' databases that require additional funding are required to
accomplish a studl'. the DVC shall bring the matter to the attention of CMS for a funding approval
decision.




                                                                                                                 HHS02919

                                                          SA447
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 479 of 514

'Ihc Ccntcrs tbr Mcdicarc & Medicaid Scn'iccs
Ii.AC Data Validation Co[tractor SOW   -   Division of Plan Oversight and Accouutabilitr



4.0 DVC Requirements/Tasks to be Performed
4.1 Basic Requirements
Indcpcndcntlr'- and not as an agant of thc Govcmmcnt. thc DVC shall furnish all thc ncccssary scn'iccs.
qualified personnel. rnaterial. equipment. and facilitics. not othenr ise provided b1' the Govemment. as
needed to perfon.n the rcquirements of this Statement of Work (SOW).

CMS rrill provide minimum administrative support rrtich maf include help communicating s'ith
Medicare contractors. polict interpretations. and other support deemed necessan'by' CMS to allou the
DVC to perfornr its tasks efficientlr'. CMS riill support changes it determines are necessan'but carrnot
guarantcc timcframcs or constants. ln changing s)'stcms to support grcatcr cfticicncics for CMS. thc end
product could resr.rlt in an administrative task bcing placed on the DVC that rr'as not previouslr'. These
administrative tasks u ill not ertend from the tasks in this contract and rvill be applicable to the reviel of
identification and recovery of the overpal ment/underpavment. CMS can periodicallv conduct onsite
visits to audit the DVC revierr ftlnctions and business practices.




         Kick-off lVleetine

The DVC shall n'ork rrith the Corrtracting Officcrs Representative (COR) to detennine a mutuallv
agrccablc timc to conduct thc Kickoffmccting. This mccting shall bc hcld no latcr than l4 calcndar dar s
after the contract is au'arded. The kickoff meeting shall include. at a minimum. the follo* ing information
     o Introduction ofkcr pcrsonncl
     o Discussion of the draft Project Work Plan and hon rrork uill be completed in order to meet
         deadlines
     o   List of all dclivcrablcs

Within 5 business dals from the kick-off rneeting. the DVC is required to electronicallv submit nlectlng
minutes.

         System Security Plan

The DVC shall ensure securitv of sensitire information as *ell as provide and implement a u'rittcn
securitl plan covering all aspects of this SOW. The Contractor shall maintain oversight of the ph1'sical
location of the protected medical information and other proprietan' information. The Contractor shall
store and dispose of the records/documents/files containing protected medical information and other
proprietary inforrnation irr accordance rrith CMS guidelines. and as instructed b1 the COR.

Specificalll. the DVC shall include a draft Svstem Securitl' Plan (SSP) using the current template
available at the CMS Inforn'ration Securitr' ''Virtual Handbook'' Web site at:
httUllwn'n'.cms                             . The details contained in the DVC's draft SSP shall be
commensurate *ith the size and complexitv of the other requirements of the SOW based on the Svstem
Categorization determined elseu'here in this document. The S1'stem Securitl' Plan shall be submitted no
later than l4 calendar da1-s after contract a*ard. Thc DVC shall be required to update and resubmit its
SSP to CMS cvcry,thrcc 1.cars (at a rninimum) follo*ing auard or rvhcn a ma.lor modification has bccn
made to its internal s) stem. as defined bv the CMS Chief Information Securitl' Officer (CISO).




                                                                                                                 HHS02920

                                                              SA448
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 480 of 514

Thc Ccntcrs lbr Mcdicarc & Mcdicaid Scrviccs
I{AC Data Vahdatron Contractor SOW - Dvisiorr ol Plan Oversight and Accountabihtr


         Proiect Work Plan

The DVC is required to submit a draft Project Work Plan (PWP) riithin 1.1 calendar dal s after the
contract is au'arded. The PWP is a description of ho\\' the DVC plans to accomplish the requirements     of
the SOW. Specificalll', the PWP should include:
     e The DVC's revies approach. staffing. scheduling. etc.
     .   All contact information for the DVC's staff
     o   Anticipated risk and risk mitigation

This document is subject to CMS revieu'and acceptance. Upon CMS revieu- the DVC n'ill submit a
finalized PWP electronically'. All PWPs shall be modified and updated continuousll'after the initial
submission to reflect anv major changes in the project. rv\ihen changes are identified" a revised PWP
should be submitted for revie* rrithin l0 dals of identif ing the change. If no revisions are received. the
rcsubmittod PWP should bc considcrcd final.

         Ouality Assurance Plan

The DVC shall develop a qualitv assurance (QA) plan to be approved b1'the COR. The plan shall
include. at a minimum. a revien'of l0% of all claims revien'ed. as s'ell as a second level of revierv if the
first-level revieu.er disagrees u'ith a RAC determination. The plarr shall also include a process for uhen
thc sccondJcvcl revior.cr disagrces with thc first-ln cl rcvicu.cr.
If required. the DVC shall spend up to t\\'o hours per n'eek at CMS discretion on activities aimed at
ensuring the consistencl'of claim revieu.s betneen CMS and its claim revics'entities. The Program
Director (PD) shall provide o'r,ersight of all issues under revien' includcd but not limitcd to nes' issue.
accurac\'. and spccial studics for qualitl assurancc. Thc DVC shall elcctronicallv imagc reviorcr's notcs
and an1-other documentation used to make an error determination. The RVC shall store these cases in
such a s'av that thel can be accessed immediatell'upon request. The DVC shall shred anv case that has
been successfulll imaged. The DVC shall retain the findings for each claim indefiniteh'.

         Monthlv Progress Reports

Thc DVC shall submit Monthll Progrcss Rcports to thc CORand b1 thc l0'h of cach month for thc
previous months' effort. The COR and the DVC shall agree upon the content and format of the Monthll'
Progress Report as this mav change periodicallr'. At a minimum. the monthl)'progress rcport should
include:
     e Number of netv issue claims revies'ed and agreerrrent rate
     . Number of accuracr- claims revieu ed and agreement rate
     o Number of special studt' claims revieu'ed and a summan' of studl'
     . Number of identified ttrlnerabilitv issues and a summan' each issue
     r Cumulative numbsr of ncrv issuc claims rcvigved incurrcd to datc
     r Cumulativc numbcr of accuracv claims rcviovcd incurrcd to datc
     o Cumulative number of special studl' clairts revieu ed incurred to date
    . Complications conrpleting any task
    o Communication rvith RACs
    . Communication ri'ith PRIS Contractor
    o    Action Items
    r    Problcms Encountcrcd
    r    Major Findings identit-led from nerr issue revieu.and RAC monthlv calls




                                                                                                               HHS02921

                                                       SA449
  Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 481 of 514

Tltc Ccutcrs tbr Mcdicarc & Mcdicaid Scrvices
RAC Data Validatlorl Conlractor SOIV - Drr islo1l ol Plan Oversight a1d   Accoyltalihlt

         DVC Operations Manual

The DVC shall develop arrd maintain au approved DVC Operations Manual. The draft manual shall be
submittcd to thc COR no latcr than 30 dals aftcr thc initial contract a*ard and at Icast quartcrll'
thereafter. If no comments are received from the COR $'ithin 30 da1's of submission of a draft manual
change. the DVC shall submit the fiual u'ithin l0 da1's after the COR comnlent period ends. The DVC
Manual is a living document and mav be updated rvithout contract modification. The contractor shall
provide nritten comments to the COR on changes. updates or corrections to the manual on a continual
basis so that it *'ill be kept current to accommodate s'orkload and other changes in the DVC processes as
rlecessan'. Changes identified in revisions to the revieu. manual are to be actcd upon onll if thel' fall
rvithin thc gcncral scopc of thc contract. Thc DVC manual documcnts thc various proccsscs that thc DVC
follous in its daill operations. including the process for obtaining. processing and revietving medical
records and claints. reporting procedures. and other processes and business rules as necessary'.

         Vulnerabilitv Trackins

The DVC shall track and communicate rulnerabilities to CMS via a Vulnerabilitl'Tracking report.
Vulnerabilities are identified in the folloning categories and tracked on an excel spreadsheet.
    l. Prctcedure Prutcess'. Vulnerabilities that mav affect current procedures or processes
    2. Regulaton': Vulnerabilities that ma1'affect current regulations
    3. Statuton''. Vulnerabilities that ma1' affect current statutes
    4. Secttritv Vulnorabilitics that ma1 bc a thrcat or ucakncss to CMS s]'stcms or data
The Vulnerabilitv Tracking report shall be submitted to CMS monthll vra QuickR or email to COR and
discussed during bi-s'eeklv conference calls.

         PRIS/RVC Intesration

Oncc thc DVC has cstablishcd conncctions *ith CMS ald thc RAC ovcr thc sccurc CIr{S Nct (formcrlr.
Nlcdicarc Data Communications Nctuork (MDCN) and Multiprotocol Labcl Suitching (MPLS)
connectir,it]'). the DVC shall integrate s.ith the PNS svstem u'ithin 60 day's. The DVC/PzuS integration
includes testing mock packages to cnsure that the DVC carr successfullv pick up. process. lnove througl.r
thc sr stcm and rctum back to CMS all packagcs.

Follo*ing DVC/PRIS integration. the DVC shall conduct training to appropriate staff(DVC/CMS) for
utilization of the DVC s) stem. The DVC shall use PRIS for all communication s ith regard to the three
rcviov tlpcs (ncu issuc" accuracl . and spccial studics) unlcss othcnvisc notcd bl CMS. All
communication in PRIS shall respond in the next 24 hours or the ne\t business dar.

CMS ma1 need to access the DVC svstem. At a minimum the DVC shall provide the "read-onlr"'
accessibilitv for CMS upon request.

       Conference Calls

CMS and the DVC shall meet bi-s'eekl1 via conference call for status updates and to discuss an)'process
issues or r.r:lnerabilities. CMS and the DVC shall have additional conference calls u'ith the RACs as
rlecessan' to discuss the validation studl'. At the request of CMS. the DVC team shall consult ri ith CMS
Division of Plan O"crsight and Accountabilitl (DPOA) staff for anr issr.rcs (polic1. ctc.) rclatcd to RAC
revieu-. The meeting schedule shall be flesible and can change as needed.




                                                                                                            HHS02922

                                                           SA450
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 482 of 514

Thc Ccutcrs tbr Mcdicarc & Mcdicaid Scrvices
I{AC Data Validatron Contractor SOIV - Divisiou of Plan Oversiglrt and Accountabilitv


Thc DVC shall provide phone lines for all scheduled bi-ueekll' calls. Bevond the initial kickoff and
planning calls. the DVC shall facilitate each call. rccord the meeting minutes- and distribute meeting
rrrinutes after the call.

The DVC shall participate in monthl)-user group calls l'ith DPOA and the MEDIC. The user group call
u'ill
    be usedto identift'trer.rds. s)stem issues. best practices. and upcoming e!ents.

             Ouarterlv Meetings

CN{S and the DVC shall meet in person quarterl}'for prqect status updates and to discuss cLlrrellt aud
nov audit issucs. RAC program rulnerabilitics. ctc. Quarlcrlv mcctings nill bc coordinatcd bctu.ccn
CN{S and the DVC for an agreeable date. time and location. DVC ke1'personnel are required to attend.

The DVC is required to electronicatll' submit ureeting nlinutes includirrg anl action items *'ithin -i
busincss da1 s liom thc mccting


4.2 System Requirements
Thc DVC shall posscss appropriatc harduarc- soft$arc- and tclecomrnunications cquipmcnt to undcrtakc
this SOW. Folloning au'ard of the contract. the DVC shall establish connections s'ith CMS and the RAC
over the secure CMS Net (formerly Medicare Data Commurrications Nets'ork (MDCN)) and
Illultiprotocol Labcl Ssitching (MPLS) conncctivitr and sitc to sitc VPN. This conncctivitl uill bc uscd
to access anr information sr stems CMS develops for the Part C and Part D recoverv auditing program.
This connectivitv shall also be used for sending Protected Health lnformation (PHI). and for
coutmunicating analvsis findings and nen'issucs electronicallv to CMS. Wherr utilizing the public
intcmct fbr communications that includc PHI or othcr scnsitivc data. SccurcZip or othcr FlPs-approvcd
product mav also b1'the RVC. Ercnpted CDs and esternal hard drives are also permified as
communication mechanisms rvhen either sending data among the parties bv Federal Express or some
other fornt of traceable mail and *hen rrraking hand-deliveries of larger or special data files.

The DVC shall include this requirement in anv subcontract au'arded under this prime contract. If this
SOW requires the DVC to ( l) process. (2) store. (3) facilitate trarlsport of. or (4) host/maintain Federal
information: pursuant to Federal. DHHS. and CMS Inforrnation Securitl'Program Policies the follon'ing
requirements applr':

             System Securitv Level

In the performance of this SOW. the DVC shall develop appropriate securitv controls for CMS securitv
requirentents (located on the CMS Information Securitr' ''Virtual tlandbook" Web site at:
lrttp://lr'u'rv.cuts.gerv/InformationSecurit)') in accordance u'ith the belos-listed parameters:

        a.   Inforntation T1'pe (as defined on the CMS Information               Securitr'"Virtual Handbook" Web site at:
             Itllp-,/ltnlr,_c:ns,Cat/lnfonuaU_oUSg_crrrit-\).
        b.   S]'stelns Securih' Level (Lon'. N4oderate. or High as dehned on the CMS Infonnation Securitl' "Virtual
             Handbook" Web sitc at: h.up://_*rru..Ctt1S.9_o._\_/.1.1{Aru!.A.tiSLlSAEunh.).
        c.   E-Authentication levcl (Level l. 2. 3. {. or N/A as applicable b1'NIST 800-53 controls IA-2 and IA-8 and
             as dcfincd on thc CMS Information Sccuritl "Virtual Handbook" Wcb site at:
             .http   lun   lr.,.e.u-s..   ca]'.4 dbruaup.u.Scsun b. ).




                                                                                                                            l0



                                                                                                                                 HHS02923

                                                                         SA451
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 483 of 514


f'hc Ccutcrs lbr Mcdicarc & Medicaid Scrvices
I{AC Data Validatron Contmctor SOW - Division ol Plarr Oversight and Accountabilitl


The DVC must coordinate u'ith CMS to develop and/or clarifi the above listed criteria rvithin 30 da1's of
contract an'ard or u'hen a major modification has been made to its internal s!'stem. as defined b1'the CNIS
Chief Information Securitl' Offrcer (CISO).

         Securitv Services

The DVC shall provide securin sen,ices in support of CMS. u'hich shall include coordination among the
CMS CISO. business o\\ncrs. and other stakeholders. The sites and related inllastructure services shall
have policies and procedures and implement controls or plans that fulfill the CMS Information Securitv
Policv requirenlents. including all applicable CMS standards and procedures. The collection of CMS
policics- proccdurcs. standards- and guidclincs arc locatcd on thc CMS lnformation Sccuritl"'Virtual
Handbook" Web site at: http://uulr.,_cuts.-s_q_t/ln-f_o.ru.e!i-otr_Seg-gr..r.t-t

         Trackins and Correcting Security Deficiencies

The DVC shall track and correct anr applicable securitl'deficiencies. conditions. u.eaknesses. findings-
and gaps identified b1' audits. revies's. Securitl'Assessments. and tests. including those identified in Chief
Financial Offrcer (CFO) Audits. FISMA Audits. Statement on Auditing Standards (SAS) 70 revierrs.
MMA Section 912 evaluations and tests. lnspector General Audits. A-123 audits. other applicable reviel's
and audits. and CIvIS Securitv Operations Center (SOC) continuous monitoring activities such as. but not
limited to. rulnerabilitv and compliance scanning of all the CMS infornration svsterrrs- in a tinrelr,
manncr.

         Incident ResDonse

A securitr incident is a violation. or an imminent threat of a violation. of an erplicit or implied securitr
policl'. acceptable use policies. or standard securitv practices. While certain adverse cvents. (e.g.. floods.
fires. electrical outages. and escessive heat) can cause svstem crashes. thel are not considered computer-
sccuritf incidcnts. A sccuritv incidcnt bccomcs a brcach *hcn thc incidcnt involvcs thc suspcctcd or
actual loss of pcrsonallv idcntif-rablc information. CMS information and information slstcm sccuritr
related incidents should be reported using the Computer Securitr Incident Report (CSIR) form. Incidents
tltat concem PII should be reported using the CSIR fonn set fofth in the CMS Iucident Handling
proccdurcs availablc at thc CMS Information Sccuritr "Virtual Handbook" Wcb sitc at:
Irttp,lllln.n,sms.,ga.!.{uf bma.t-iens-ecuril}

         Information Securitv Awareness Training

CMS policl' requires Contractors/Subcorrtractors receive secnritr trarning commensLlrate rvith their
responsibilities for performing u'ork under the tenrrs and conditions of their contracrual agreenlents.
The DVC shall retain the results of securitv a\rareness and role-based information securitv technical
training. CMS requires basic securitr a\\'arcness training for en,plovees and contractors that support the
operation of the DVC s)'stems. CMS rcquires information securitv technical training to information
s)'stem securitv roles. Training shall be consistent s'ith the requirernerrts contained in C.F.R. Part -i
Subpart C (-5 C.F.R. 930 301) and conductcd at lcast annualll.

         Privacv Documentation

Thc DVC shall bc rcsponsiblc for coordinating u ith thc CMS Privao Ofiicc
(hJ1p_;l/.lt_-rr.ti,,.Sttts.gat_{P_n}:As.l.Qfr.c_Sl) in prepanng and maintaining current all docurnentation including
but not lirnited to Svstem of Records Notification (SORN) and Privacl' Impact Assessments (PIA) rvhich
directll-and indirectll' relating to its program(s) designed to ensure the confidentialitl'. integritl'. and


                                                                                                                    ll


                                                                                                                         HHS02924

                                                          SA452
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 484 of 514


lhc Ceutcrs tbr Mcdicarc & Mcdicaid Scrviccs
RAC Data Vaudatiol Contractor SOW - l)irision      olPfal   O.\ersiSht and Accountabihtv


availabilitl' of Federal [nformation and Federal Information System. and its assets that enable its
possession or control.

             System Authorization and Assessment

The implementation of a Federal Go'vemment IT st'stem requires a fontul Governntent Authorization to
Operate (ATO)- formerll' certification and accreditation. of infrastructure s)'stems atrd/or all appfication
s) stems developed" hosted and/or maintained on behalf of CMS. NIST Special Publication 800-37-
(hereafter described as NIST 800-37) and CMS procedures (located on the CMS Information Securitv
''Virtual Handbook" Web site at: http://s nl:,c_ns.ga_!y'ld_o_rnatig{S9_culitl ) give guidelines for
pcrforming thc s1'stcm ATO proccss. Thc sl.stcm/application must havc a valid ATO (convcl'cd through
the CMS CIO authorization decision process) bcfore going into operation and processing CN{S
information. The failure to obtain and maintain a valid ATO ma1' be grounds for termination of the
colltract.

    I)   The DVC shall compll's'ith Authorization to Operate (ATO) requirements as mandated b1' Federal
         la*'s and policies. rncluding making available anl documentation- phvsical access. and logical access
         needed to support this requiremcnt. The Level of Effort for the ATO is based on the S1'stem's NIST
         Federal Information Processing Standard (FIPS) Publication I99 categorization and CMS procedures
         (located on the CMS Information Securitl- ''Virtual Handbook" Web site at:
         hltp_:/./.11rn,s$s_,g-o__!'llltfa_r1:ta_ti,o_qs_9_c-u.dtr'). The contractor shall coordinate u'ith the CMS business
         o\\ ncr to crcatc. maintain and updatc all applicablc ATO documcntation as dcfincd b1' CMS
         Information Securitl procedures.

2)       At the Moderate and High impact levels. all CMS sl stems and infrastructures must obtain an
         independcnt Securitl Assessment in accordance s ith CMS procedures (located on the CMS
         lnformation Securitl "Virtual Handbook" Web site at: !r.11p.1hy1y11.,9.ms,"S4.-yl[q-fqrmeti'o.nS.c-c-tiritf).
         The Contractor shall allos CNIS emplol'ees (or CMS designated third-part1'contractors) to conduct
         Sccuritl Asscssmcnt activitics to includc control rcviovs in accordancc nith NIST 800--53/tr'lST 800-
         53A and CMS proccdurcs (locatcd on thc CMS lnformation Sccuritl "Virtual Handbook'' Web sitc
         at: http-//r lrlt .c,ms.golAnfornatiqq,S,ecu-Lrty). This includes the general support s)'stem
         ir.rfrastructure.

3)       Identified gaps bet*'een rcquired controls and the DVC's implementation as documcnted in the
         Securitv Assessment report shall be tracked for mitigation in a Plan of Action and Milestones
         (POA&M) document completed in accordance nith CMS procedures (located on the CMS
         lnlbrmation Sccuritl "Virtual Handbook" Wcb sitc at: http://*n*.cms.gov/lntbrmationSccurit] ).
         Depending on the severitl of the gaps. the Government ma1'require them to be remediated before an
         Authorization to Operate is issued.

4)       The DVC shall be responsible for mitigating all applicable securit\ risks found during the ATO
         process and continuous monitoring activities. All high-risk mlnerabilities must be mitigated uithin
         30 da1's and all rtodcrate risk rulnerabilities rrrust be mitigated rvithin 90 da1's front the date
         r.ulncrabilitics arc formallr idcntrficd. Thc Govcrnment s'ill dctcrminc thc risk rating of
         r,ulnerabilities.

         Continuous Monitorins

    CMS has the right to perform manual or automated audits. scans. revie*'s. or other inspections of the
    Contractor's IT environment being used to provide or facilitate serv'ices for CMS in support of the Federal
    requirements to perform conti nu ou s monitoring.



                                                                                                                           t2



                                                                                                                                HHS02925

                                                              SA453
        Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 485 of 514


Thc Ccntcrs lbr N{cdicarc & Mcdicaid Scrviccs
RAC Data Validation Coltractor SOW - Dvision of Plan Oversight and Accountabilitv



Automated scans can be performed b1'Govemment personnel. or agents acting on behalf of the
Govemment- using Govenlurerlt operated equipment. and Government specified tools.

CMS cstablished a centralized Securitl' Operations Center (SOC) to provide a robust enterprise
continuous monitoring progranr to improre situational a\\.areness and provide llear real-time risk
management. The SOC provides information securitv oversight and monitoring of securit)'events across
all information s\,stems that support the operations and assets of CMS. and iiill notifl the appropriate
securitv operations staff of potentialll' malicious traffic.

In addition to thc rcquircmcnts to mcct all of the CMS lnformation Sccuritv rcquircmcnts documcntcd in
the http-.//*ns-.9.1rr.S,-s.-o..yll[&r.IlnA1ia.q.S.Cqu.r.ltJ Web sitc. the DVC shall *'ork closell-n'ith the SOC to
undertake securitl' related activities including but not limited to the follos ing:

I   )   Contractor shall bc rcsponsiblc for supporting thc CMS continuous monitoring program b1 providing
        automated data feeds to the SOC as required b1' the CNIS CISO. The SOC rr ill supplement this b1'
        conducting independent oversight continuous monitoring activities such as. but not limited to.
        vulnerabilitv and compliance scanning as rvell as other netu ork rnonitoring related activities of all the
        CMS information s1 stems.
2)      Contractor shall provide updated net$.ork architecture. IP address ranges. and securih'points of
        contact information for the s)'steuls ther- operate on behalf of CMS to the SOC on a quarterlv basis
        (Jan   l. April l. Jull I.   and Oct   l).
3)      Contractor shall maintain and providc changes to the sl stem accounts needed for the SOC
        credentialed scanning ttro s'eeks before the passrvords expire or shen other changes to the accounts
        are needed.
4)      Contractor shall provide rack space. cabling. connecti'r,it1'. and appropriate environmental support for
        SOC-managed s1'stems/appliances as required b1 the CMS CISO.

        Federal Desktop Core Confieuration (as applicable)

The DVC shall certifl'applications are flllll'frrnctional and opcrate correctlv as intended on svstems using
the Federal Dcsklop Core Configuration (FDCC) This includes Intemet Explorer configured to operate
on Windous. Thc standard installation. opcration. maintcnancc- updatcs. and/or patching of softuarc
shall not alter the configuration settings from the approved FDCC configuration. Thc information
technologl' should also use the Windon's Installer Senice for installation to the default "program files"
directon' and should be able to silentlf install and uninstall. Applications designed for normal end users
shall mn in thc standard uscr contcxt tr ithout clcvated slstcln administration pn"'ilcgcs. The DVC shall
use Securitl'Content Automation Protocol (SCAP) r,alidated tools n'ith FDCC Scanner capabilitv to
certifl' their products operate correctlv s ith FDCC configurations and do not alter FDCC settings.
Deviations must be approved b1'the CMS CISO.

The DVC shall monitor and adhere to all IT policies. standards. procedures. directives. templates. and
guidelines that govern the CMS IS Program. http,l1t-r.ls,,.st!.1_s.,hlu,g.a.y/jtfsr!.la,tip_ttse.e.u.rit1'. Some
applicablc rcfbrsnccs arc providcd bclorv:

        o   ('lv{,\ Policl,_/br in-lormation Seutrity (As amended) - The high level CMS polic1' for the CMS
            Information Securitv P rogram.
        c   ('lv{S Policy./itr the In/itrmqtion Seutrity Progrant (PL\P) (As amended) - Sets the ground rules
            under rvhich CMS shall operate and safeguard its infomration and information svstems to reduce
            the risk arrd minirrrize the effect of securitf incidents. This docurrrent sill subsequenth' reference
            Contractors/Subcontractors applicablc CMS sccuritl Standards and proccdurc.


                                                                                                                   t3



                                                                                                                        HHS02926

                                                        SA454
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 486 of 514

I'hc Ccntcrs lbr Mcdicarc & Mcdicaid Scrviccs
RAC Data Validation Contractor SOW    - Drvisiol of Plarr   Oversight and Accounlabllit]


    c    CMS Policl'.fbr Intestntent Jvfanagement and Governarice (As amended) - Establishes the policl'
         for sr stcmatic rcviqr'- sclcction/rcsclcction. implcmcntation/control. and continual cvaluation of
         IT investments at CNIS.

    Section 508

This SOW is subject to Section 508 of the Rehabilitation Act of 1973 (29 U.S.C. 794d) as amended bv
the *'orkforce Investment Act of 1998 (P.L. 105-220). Specificalll,. subsection 508 (aX I ) requires that
rvhcn thc Fcdcral Govcmmcnt procurcs Elcctronic and lnformation Tcchnologr' (ElT). thc EIT must
allos'Federal emplovees and individuals of the public nith disabilities comparable access to and use of
information and data that is provided to Federal emplovees and individuals of the public u-ithout
disabilities.

The EIT accessibilitv standards at 36 CFR Part I l9-l lere devcloped b1'the Architectural and
Transportation Barriers Compliance Board ("Access Board") and appl1'to contracts and task/delivery
ordcrs. arvardcd undcr indcfinitc quantitv contracts on or aftcr Junc 25. 200L

Each Electronic and Information Technologr' (EIT) product or sen'ice furnished under this contract shall
cornplv u'ith the Electronic and Informatiorr Technologt'Accessibilitr- Standards (36 CFR I 194). as
spccificd in thc contract, as a minimum. If thc Contracting Ofticcr dctcrmincs anl furnishcd product or
service is not in compliance s'ith the contract. the Contracting Officer s'ill promptlv inform the
Contractor in n'riting. The Contractor shall. u ithout charge to the Government. repair or replace the non-
compliant products or sen ices u'ithin the period of time to be specified b1'the Government in u'riting. If
such rcpair or rcplaccmcnt is not complctcd * ithin thc timc spccificd. thc Govcmmcnt shall havc thc
follouing   recourses:

                   l.    Canccllation ofthc contract- dclir,crr or task ordcr- purchasc or linc itcm lithout
                         termination liabilities: or
                   2.    In the case of custom Electronic and Information Technologl (EIT) bcing developed
                         bv a contractor for the Govemurent. the Govemrnent shall have the riglrt to have anr.
                         ncccssan'changcs madc or rcpairs pcrformcd bf itsclf or b1'anothcr firm for thc
                         noncompliant EIT. uith the contractor liable for reimbursement to the Government
                         for arl' expenses incurred therebl.

Thc DVC must cnsLrrc that all EIT products that ars lcss than fulll compliant u'ith thc acccssibilitl
standards are provided pursuant to estensive market research and are the most current compliant products
or sen,ices a,r,ailable to satisf'the contract requirements.

As discussed in the sections above. the RAC is required to complete the IPRP. No Determination Report.
IPRP Validation Findings dispute. and the Notification of Improper Pavment Letters. as applicable for
each audit issue/contract.


5.0 Key Personnel/Other Personnel
The DVC shall maintain a staff of ker personnel positions as necessan and lithin the requirements
identified belou'. Ker, personnel shall not sen,e dual responsibilities in ke1' functions unless approved br
the Contracting Officer. i.e.. the Program Director mav not also serve as the Audit Manager. Changes in
ke1'personnel positions shall be submitted to the Contractrng Officer in l'riting for approval $'ithin 30
days prior to an1'change.



                                                                                                             t4



                                                                                                                  HHS02927

                                                              SA455
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 487 of 514

Thc Ccntcrs lbr Mcdicarc & Mcdicaid Scrviccs
I{AC Data Valfdation Conlrac}or SOW - Dir isiol ol Plal OversiSht a1d Accoyttabilttl



A significant amount of confidential information riill be revien'ed under this contract. Therefore^ all
contractor and subcontractor personnel rvorking on this SOW shall subntit a signed Non-Disclosure
Statcmcnt.

When kev personnel positions are vacated due to unforeseen circumstances. a proposed replacement shall
be submitted in rrriting for approval no later than 30 calendar days from the date the position nas
vacated. Interim replacements should be identified nhen a permanent replacement cannot be identified
rvithin this time frame. CMS mav consider a 60-day interim replacement until a permanent replacement
is secured.

Unless othenr ise approved b1 the Contracting Officer. the kev personnel noted belorv shall possess the
follou'ing minimum uork experience and educational requirements:

Program Manager

The Program Manager shall possess:

Work Experience
Ten or more vears of professional experience n'ith at least three vears as a manager responsible for
managing complex s)'stems and n'ork flou'. Erperience in audit recoveries is required.

Educational Requirements
A bachelor's degree from an accredited institution. plus a master's degree from an accredited institution
or substitution of 4 additional vears of related *.ork erperience in lieu of the master's degree.

Audit Manager       -   Examinations (AME)

The Audit Nlanager shall possess:

Work Erpericnce
A minimum of 5 r'ears in an audit and reimbursement setting: Medicare audit and reimbursement setting
is preferred.

Understanding of Government Auditing Standards- audit procedures. and financial anall'sis techniques.

Educational Requirements
An advanced degree in firlance or accounting: Certified Public Accountant (CPA) or Certified
Management Accountant (CMA) certificate is desired.

Audit Manager - Reimbursement (AMR)

The Audit Manager shall possess:

Work Esp_erience
A minimum sf -5 1'ears in an audit and reimbursement setting: Medicare audit and reimbursement setting
is preferred.

Understanding of Government Auditing Standards. audit procedures. and financial analvsis techniques.




                                                                                                            l5



                                                                                                                 HHS02928


                                                          SA456
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 488 of 514

Tltc Ccntcrs lbr Mcdicarc & Mcdicaid Serviccs
I{AC Data Vrlldatlorl Con:ractor SOW - Drisfon olPlall Overslqht agd Agcourltablhtf


Educational Requirements
An advanced degree in finance or accounting: Certified Public Accountant (CPA) or Certified
Management Accouutant (CMA) certificate is desired

Systems Security Officer

The St'stems Securitr Offrcer shall possess:

Work Espprience:
A miniuruur of 5 r'ears of experience managing complex securitl,programs/svstems. irnplementing
ncccssarJ' safcguards. and ensuring all artifacts arc currcnt and up-to-datc.

Educational Requirements :
A bachelor's and a master's degree; 5 additional years of related work experience may be
substituted in lieu of master's degree.

Lead Statistician

The Lead Statistician shall possess the follorring:

Work Experience
A minimum of 5 vears experience using statistics to support corporate/business information needs.

Experience in statistical detection of fraud. fuzzv logic, development of mathematical models. neural
netx'orks. and data mining or other analltical methods. Demonstrated esperience and knou'ledge of
health care information (health claims data. provider identifiers. etc).

Educational Rcqr.rircmcnts
Bachelor's degree in statistics or related field.



         Other Personnel

Although not considered kev personnel positions. the follos'ing labor category personnel mav bc required
for this SOW. When required. the respective job classification requirernents are essential for perfonnance
undcr this contract. Waiver(s) from thc csscntial pcrsonncl rcquircmcnts mav bc submittcd in u riting to
the Contracting Officer for approval. All u'aiver requests should include a cop]'of a resume along n'ith
supporting rationale for the deviation from these requirements.


Data Analyst

The Data Anall'st shall possess the follou'ing:

Work Erpcricncc
A minimum of 3'n'ears of erperience using various data sources to support corporate/business information
needs.

Espcricncc in managing. analrzing. intcrprcting and transforming data in thc dotcction of fraud. u'astc.
and abuse. Demonstrated experience and knou'ledge of health care information (health claims data.




                                                                                                           t6



                                                                                                                HHS02929

                                                          SA457
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 489 of 514


Tltc Ccntcrs tbr Mcdicarc & Mcdicaid Scrviccs
RAC Data Vahdation Contractor SOW - Dvision of Plan Oversight ald Acconntabihtt


provider identifi ers. etc. ).

Educational Requirements
Bachclor's dcgrcc in busincss administration. statistics. information tcchnologr or rclatcd ficld.

Pharmacist

The Pharmacist shall possess the following:

Work Experience
A minimum of 5 1'cars crpcricncc in prcscription drug bcncfit managcmcnt rr ith thrcc 3 r'cars crpcricncc
managing a prescription drug formulan'. medication therapl' management. and drug interaction program.

The Phannacist shall have experience in the development of plans and the revies'of claints to ensure
chnicalll appropriatc utilization. This shall includc cxpcricncc in claims analvsis. claims data rcvior tbr
abnormalities. auditing of claims. and setting up edits and audits to ensure proper utilization of
benefits. The Phamracist shall also have knou'ledge and experience conceming the current uscs of
medications. ne\\'or emerging issues. issues related to electronic prescribing. among other general
knos'ledge and esperience in the prescription drug benefits. A minimum of l-2 r,ears e:iperience s'orking
in a retail pharmacv as a licensed pharmacist is strongll'preferred.

Educational Rcquircmcnts
The Pharmacist shall be a board trained certified pharmacist rvith a Doctorate of Phannacr' (Pharm.D) and
trained in Biochemistry'. Chemistry and Pharmacokinetics.


6.0 Quality Assurance
CMS rvill utilize a number of qualitl' assurance procedures to ensure contractor compliancc n ith this
SOW. Examplcs includc inspcction of dclivcrablcs. rcvies'of rcports. onsitc progrcss mcctings.
performancc cr,aluations. etc.

The DVC shall develop and maintain qualitl assurance procedures for lrork paper revieu's. IT
requirements. etc. The DVC shall also ensure that data is ph1'sicalll'secured and Personal Health
Information (PHI) data is handlcd confidcntialll'. This is rcquircd for subcontractors as lcll. Thcsc
should be provided to CMS upon request.

6.1 DVC Oversight
CMS rrill conduct DVC oversight at either the DVC's site or at the appropriate CMS office. CMS has
the right to request/revieu anl-u'ork performed b1 the contractor at an1'time: this includes nork papers.
reports. support for findings. etc. After completion of the engagement. CMS ma1' hold a conference u'ith
the DVC to discuss anv issues. CMS mar.choose to r.'isit the DVC site to assess their performance.


6.2 Cooperation/Coordination
The DVC shall cooperate and coordinate $'ith stakeholders other than CMS. including Affiliated
Contractors (ACs). and other entities as appropriate. Contractor performance *ill be evaluated using
measures including. but not limited to:
    r Demonstration of ongoing dialogue or meetings u ith the appropriate and necessarl' parties:


                                                                                                          t7



                                                                                                               HH502930

                                                       SA458
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 490 of 514


Thc Centcrs tbr Mcdicare & Medicaid Scrviccs



    r    Feedback from other entities: and
    r    Number and tlpe of issues that arise and indicate communication. or lack of communication,
         bctrrccn appropriatc entities and thc Contractor.


6.3 Quality
Thc DVC shall maintain thc highcst dcgrcc of qualitl, for all activities performcd throughout thc pcriod of
performance of the contract. CMS rvill evaluate the DVC performance using measures including, but not
limited to:
    o    Completeness and accurac\,ofdata analysis:
    o    Completeness and accurac)'of all deliverables


6.4 Standard Operating Procedures
The DVC shall follorv the procedures that are outlined in the SOPs submitted bl, CMS/CPI.




6.5 CMS Systems
The DVC shall maintain CMS system access to revierv Medicare Part D Data and to store and track
Medicare Part D improper pa]'ments.

Government Property:

Govemment propert)'has been issued on this contract. rshich CMS granted Permission for Livanta to use
properq,from the MEDIC RDS Task Order. Livanta currentll'submits inventorl' requests to the CMS
propcrt), administrator t'ith a copl' to the Contracting Officcr in Octobcr of cach 1'car.


7.4 Transitions

From time to time in the DVC program transitions from one DVC to another DVC u'ill need to occur. It
is in the best interest of all parties that these transitions occur smoothll'.

Thc transition plan will includc spccific dates with rcgard to any outstanding reports for nov issuc
revierls, accuracy reviervs, and special studies. The transition plan will be communicated to all affected
parties (including subcontractors) b-v- CMS lvithin 60 days of its enactment.




                                                                                                             l8



                                                                                                                  HHS02931

                                                  SA459
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 491 of 514

Thc Ccntcrs lbr Mcdicarc & Mcdicaid Scrvices
IIAC Data Validation Contractor SOW - Dvision of Plan Oversight and Accountabilitr




APPENDIX A         - Dispute Form for New Issue or Accuracy
                    NEW ISSUE & ACCURACY REVIEW DISPUTE FORM


RAC: Choose an item.                                                       Dispute Type: Choose an item.


Date/Time: Click here to enter a date.                                     Determination: Choose an item.

New Issue or Claim Number:                                                  Review Type: Choose an item.




Clearly identify all areas that are being disputed.




Provide detailed reasoning and rationale for each disputed area.




List all questions that you have for the RVC and/or CMS regarding the disputed areas
identified above.




                                                                                                            l9


                                                                                                                 HHS02932

                                                          SA460
   Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 492 of 514

Thc Centcrs tbr Mcdicarc & Mcdicaid Scrviccs
RAC Data Validation Contractor SOW - Division olPlan Oversight and Accountabilitr




APPENDIX B - ITEMS TO BE FURNISHED AND DELIVERABLE SCTIEDULE

TheDVC shall submit all required reports and deliverables in accordance with the statement of
work and the following schedule:

 ITEM SECTION
   NO.          NO.           DESCRIPTION                       RECIPIENT                 DELIVERY
                           New Issue Review Report                    COR           25 days after receipt
                2.1.1
                                                                                         of claims
                               Validation Findings                    COR           45 days after receipt
      2         221
                                       Report                                            of claims
                              Cumulative Accuracy                     COR                   Annually
                                    Rate Report                                       Draft due 30 days
      3         2.2.1                                                               after the end offiscal
                                                                                     year. Final due 30
                                                                                    days following draft
                                                                                     deliverable to CMS
                                   Dispute Form                       COR           7 days after receipt   o1
      4         231
                                                                                              form
                             Special Studies Report                   COR                  As needed
      5          3.0

                              System Security Plan                    COR           l4   days after contract
      6          4.1
                                                                                             award
                                Project Work Plan                     COR           l4   days after contract
      7          4.1
                                                                                           award
                             Quality Assurance Plan                   COR           30 days after contract
      8          4.1                                                                 award; updated as
                                                                                             needed
                            Monthly Progress Report                   COR           lOth day of the month
      9          4.7                                                                   for the previous
                                                                                       month's effort
                            DVC Operations Manual                     COR           30 days after contract
      10         4.1                                                                  award; quarterly
                                                                                           thereafter
                             Vulnerability Tracking                   COR                   Monthly
      1l         4.7

                                 Conference Calls                     COR           Biweekly/As needed
      t2         4.7




                                                                                                                20



                                                                                                                     HHS02933

                                                         SA461
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 493 of 514

The Ccuters for Medicare & Medicaid Scrviccs
IIAC Data Validation Contractor SOW - Dl'ision of Plan Oversight and Accountabililv




APPENDIX C - CMS Contacts

Contracting Officer
Nicole Hoey
410-786-0489
7500 Securit-v Boulevard
Baltimore, MD21244
Nicole.Hoev@cms.hhs. gov

Contracting Specialist
Justin Mcnefee
4t0-786-7629
7500 Securilv Boulevard
Baltimore, MD 21244
Ju_s_tin,M_en_efe_e.^@_c_m.s,hhs.g-o_y


Contracting Offrcer's Representative
Monique Harris
410-786-l 152
7500 Securit-v Boulevard
Baltimore, MD 21244
Mpntq,U_e*Llalr$-@cms.hh.S,ggV




                                                                                      21




                                                                                           HHS02934

                                                          SA462
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 494 of 514




           TAB 103
      Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 495 of 514
                                                                      11 Jt EXHIBIT                  d, 5


DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
7500 Security Boulevard, Mail Stop ~3-15-25
Baltimore, Maryland 21244-1850
                                                                        CA#S
                                                        CENTERS for MEO/CARE & MEJ)/CA/0 SERVICES
OFFICE OF INFORMATION SERVICES
                                                                       MEMORANDUM


                     OCT - 7 2011
DATE:
TO:               Director
                  Medicare Program Integrity Group (MPIG)
FROM:             Chief Information Officer, and
                  Director, Office of Information Services (OIS)
SUBJECT:          Authorization Decision for Recovery Audit Contractor Part D ACLR (RAC Part
                  DACLR)

      ACTION REQUIRED 30 DAYS FROM THE DATE OF THIS MEMORAl'l"DUM

The Recovery Audit Contractor Part D ACLR (RAC Part D ACLR) system is a Moderate system
located at a co-location data in Atlanta, Georgia. The business function for which ACLR was
contracted is to retrieve Medicare Part D prescription drug event data for audit and recovery of
improper payments.
On September 1, 2011, you certified the controls for the system and submitted along with your
certification the other required documentation to obtain an authority to operate for the RAC Part
D ACLR. However, the most recent Security Assessment has indicated that there is an overall
higher volume of moderate and low risk findings than are typical for comparable CMS systems.
These aggregate findings present an overall higher risk than is typical for this class of system.
Therefore, I have determined, through a thorough review of the authorization package that the
risk to CMS information and information systems resulting from the operation of RAC Part D
ACLR is acceptable predicated on the completion of the actions described in the attachment.
Accordingly, I am issuing an Authorization to Operate (ATO) for RAC Part D ACLR to
operate in its current environment and configuration until October 15, 2012. This ATO allows
sufficient time to lower the overall risk of the system by closing the large number of open
findings.
This security authorization decision is my formal declaration that adequate security controls have
been implemented in the information system and that a satisfactory level of security is present in
the system. The security authorization of the information system will remain in effect as long as:
(i) the required security status reports for the system are submitted to this office in accordance
with current CMS policy; (ii) the vulnerabilities reported during the continuous monitoring
process do not result in additional agency-level risk that is deemed unacceptable; and (iii) the
system has not exceeded the maximum allowable time period between security authorizations in
accorda_nce with Federal or CMS policy.
The attachment provides information on requirements not met, as well as corrective actions
needed to bring them into compliance. The actions set forth in the attachment must be entered




                                                 SA463
          Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 496 of 514


              CMS SENSITIVE INFORJvlATION - REQUIRES SPECIAL HANDLING
                                                                   Attachment

          Recovery Audit Contractor Part D ACLR (RAC Part D ACLR)
                                                  Authorization Decision


                          Authorization decision is reauired for the followin2: reason(s):
                    X     New System
                          Major system modification
                          Serious security violation
                          Changes in the threat environment
                          Expired authorization to operate


I.       Authorization Decision
     I have reviewed the information concerning the request for an Authorization to Operate and, with
     consideration of the recommendations provided by my staff; I concur with the assessment of the
     security risk. This risk has been weighed against the business operational requirements and
     security measures that have or will be implemented. I have detennined the following
     authorization decision is appropriate.

                  Authorization to Operate
        X               The current risk is deemed to be acceptable. The applicable system is authorized to operate until
                        the desi011ated date, subject to the authorization actions in Section II.
                  Interim Authorization to Operate
                        The current risk is deemed to be higher than desired. The applicable system may operate for a
                        limited period without authorization until the designated date, subject to completion of
                        authorization actions in Section D, after which, verification and resubmission of the authorization
                        oackaQe is reouired.

     This authorization will expire on: October 15, 2012.                 This authorization may be withdrawn at the
     discretion of the Authorizing Official for lack of progress on the authorization actions in Section II, or any security
     violations deemed to increase the risk to CMS beyond a tolerable level.



                   Denial of Authorization to Operate
                        The current risk is deemed to be unacceptable. The applicable system may not operate until the
                        authorization actions listed in Section II are completed, after which, verification of corrective
                        actions and resul;>mission of the authorization package is reauired.




                                                                      (Authorizing Official Signature and Date)
                                                                      Tony Trenkle
                                                                      CMS Chief Information Officer



                CMS SENSITIVE !NFORMATION - REQUIRES SPECIAL HANDLING
                                      Page 1 of-2




                                                               SA464
     Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 497 of 514


         CMS SENSITIVE INFORMATION - REQUIRES SPECIAL HANDLING
                                                                                        Attachment

     Recovery Audit Contractor Part D ACLR (RAC Part D ACLR)
II. Authorization Actions
 Failure to meet the assigned due dates without prior approval invalidates this authorization to
 operate. The following specific actions are to be completed by the date(s) indicated:


      Vulnerability                 Control/Action Description                      Due Date
      The Privacy Impact       Vet the PIA docwnent, obtain a CMS Privacy          January 9, 2012
   Assessment (PIA) has not    Officer's signature, and post the PIA document
     been vetted through or    inCFACTS.
  signed by the CMS Privacy
            Office.
  Information in CFACTS is     Update contacts in CF ACTS to reflect current       January 9, 2012
    inconsistent or missing.   CMS positions. Include the identification
                               section, security controls tab, interconnections
                               section, inventory (including Systems), and
                               consider ISAs with external entities.
  The System Security Plan     SSP must be updated to include the description      January 9, 2012
    (SSP) is incomplete.       of the business process, operational information,
                               system information, and the system
                               environment.




          CMS SENSITIVE INFORMATION - REQUIRES SPECIAL HAl'lDLING
                                              Page 2 of-2




                                                  SA465
    Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 498 of 514


        CMS SENSITIVE INFORMATION - REQUIRES SPECIAL HANDLING
                                                                                           Attachment
    Recovery Audit Contractor Part D ACLR (RAC Part D ACLR)
     Vulnerability                      ControVAction Description                      Due Date
There are an excessive        Even though there are no high risk findings,             June 15, 2012
number of open medium risk    there are an excessive number of open findings,
findings.                     presenting an excessive aggregate risk to
                              sensitive information being processed on behalf
                              of CMS. The following open findings, along
                              with the applicable non-compliant CMS
                              minimum security requirements, are:
                                  •      RAC Part D ACLR_D_201 1_2-AC-6 ~
                                         Privjlege,
                                  •      RAC Part D ACLR D 2011 3 - CM-7 Least
                                         Functionality. - -     -
                                  •      RAC Part D ACLR_D_201 I_4 • CM-7 Least
                                         Functionality,
                                  •      RAC Part D ACLR_D_2011 _5- SC- 13 Use of
                                         Cryptography,
                                  •      RAC Part D ACLR_D_20l 1_6 · SC-13 lli£..fil
                                         Czyptography,
                                  •      RAC Part D ACLR_D_2011 _8 • CP-2
                                         Conringencv Plan,
                                  •      RAC Part D ACLR_D_20l 1_9 - RA-3 Risk
                                         Assessment,
                                  •      RAC Part D ACLR_D_20 1l_l0 · AC-4
                                         lnfo[!!!arion Flow Enforccmen!,
                                  •      RAC Part D ACLR_D_201 I_ I I · AC-3 Access
                                         Enforcement,
                                  •      RAC Part D ACLR D 201 1 12 • AC-5
                                         Separation of Duties, -     -
                                  11>    RAC Part D ACLR_D_20 I 1_13 - PL-2 ~
                                         Security Plan {$SP},
                                  •      RAC Part D ACLR_D_2011_14 - SA-3 Life
                                         Cycle Support.
                                  •      RAC Part D ACLR D 2011 15 • PE-2 ~
                                         Access Authorizations~PE-6-1\fonitoring
                                         Physical Access.
                                  •      RAC Part D ACLR_D_2011 _ 16 · S1-2 Flaw
                                         Remediation,
                                         RAC Pan D ACLR_D_2011 _ 17 - Access
                                  "      Control,
                                  •      RAC Part D ACLR_D_2011 _ 18 · AU-6 Audit
                                         ReYi!:w, A!llllysjs, and B,!:129ning, and
                             "-   •      RAC Part D ACLR_D_20I 1_20 - AC-2 Account
                                         Management.
                              The action is to close the open findings and
                              become compliant with the applicable CMS
                              minimum securitv reouirements.

                                            END OF ACTIONS




        CMS SENSITIVE INFORJVlATION - REQUIRES SPECIAL HANDLING
                                Page 3 of3




                                                     SA466
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 499 of 514




           TAB 104
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 500 of 514




                              SA467
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 501 of 514




                              SA468
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 502 of 514




                              SA469
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 503 of 514




                              SA470
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 504 of 514




                              SA471
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 505 of 514




                              SA472
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 506 of 514




           TAB 105
Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 507 of 514




                              SA473
       Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 508 of 514

                                                                  2011 Regional Prescription Drug
                                                                  Event Data Technical Assistance
                                                                                Participant Guide

                                                             PART D PAYMENT METHODOLOGY


MODULE 1 – PART D PAYMENT METHODOLOGY

Purpose (Slide 2)

Introduce Part D payment mechanisms so plans understand the statutorily established payment
methodologies and the financial data needed to support Part D payment.

Learning Objectives (Slide 3)

At the completion of this module, participants will be able to:

x    Identify and define the four legislative payment mechanisms.
x    Describe payments subject to reconciliation and risk sharing.
x    Establish other context for understanding PDE data reporting and reconciliation processes.
x    Understand the provisions of the Affordable Care Act, including the Coverage Gap Discount Program
     and coverage for generics in the Coverage Gap.


    ICON KEY
    Definition                      
    Example                         ¼
    Reminder
    Resource


1.1 Overview

In December 2003, Congress passed the Medicare Prescription Drug Benefit, Improvement, and
Modernization Act (MMA), amending the Social Security Act (the Act) by adding Part D under Title 18.
The new benefit allows Medicare payment to plans that contract with CMS to provide qualified Part D
prescription drug coverage. The law provides four payment mechanisms and, as a condition of payment,
requires that plans submit data and information necessary for CMS to carry out those payment
provisions.

The Affordable Care Act, as enacted in section 3301, and amended by section 1101 of the Health Care
and Education Reconciliation Act of 2010 (H.R. 4872) (HCERA), phases in a reduction in beneficiary cost-
sharing for non-low income beneficiaries when they purchase drugs in the Coverage Gap Phase of the
Medicare Part D benefit through the Coverage Gap Discount Program and coverage for generic drugs in
the Coverage Gap.

1.2 Part D Payment Methodologies (Slide 4)

All Part D plans are required to provide a minimum set of prescription drug benefits, typically referred to
as the “basic” benefit (see Module 4 entitled, The Basic Benefit). The MMA mandated either a specific
benefit design called the Defined Standard benefit or an alternative that is considered to be actuarially
equivalent. For an extra premium, plans can offer benefits that exceed the basic amount (see Module 7
entitled, Enhanced Alternative Benefit), but the government only pays for the basic benefit.



                                                    1-1
                                                  SA474
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 509 of 514

                                                                     5HJLRQDO3UHVFULSWLRQ'UXJ
                                                                     (YHQW'DWD7HFKQLFDO$VVLVWDQFH
                                                                                   3DUWLFLSDQW*XLGH
                                                                                                    
                                                                                      '$7$)250$7


                          7$%/(0±3'(5(&25'/$<287 &217,18(' 
                                      3'(5(&25''(7±'(7$,//(9(/
),(/'    326,7,21   68%0,66,21 1&3'3 ),(/'1$0(                                   (;3/$1$7,21
 12                    67$786    ),(/'
       ±       0DQGDWRU\                   5HFRUG,'       7KLVILHOGVKRXOGDOZD\VEHSRSXODWHGZLWK
                                                                     ³'(7´
       ±      0DQGDWRU\                   6HTXHQFH        7KLVILHOGLGHQWLILHVWKHGHWDLOUHFRUGVXEPLWWHG
                                                    1XPEHU          7KHILUVWGHWDLOUHFRUGLQDEDWFKPXVWEHJLQZLWK
                                                                     $OOVXFFHVVLYHGHWDLOVHTXHQFHQXPEHUV
                                                                     LQWKHEDWFKPXVWEHLQFUHPHQWHGE\RQH
       ±     2SWLRQDO                    &ODLP&RQWURO   7KLVRSWLRQDOILHOGPD\EHXVHGE\WKHSODQWR
                                                    1XPEHU          LGHQWLI\WKH'(7UHFRUGVXEPLWWHG7KHILHOG
                                                                     DOORZVXSWRDOSKDQXPHULFFKDUDFWHUV/HIW
                                                                     MXVWLI\DQGHQWHUVSDFHVQRW]HURVLQXQXVHG
                                                                     VSDFHV
       ±     0DQGDWRU\                   +,&1            7KH+HDOWK,QVXUDQFH&ODLP1XPEHUIRUWKH
                                                                     EHQHILFLDU\7KLVLVDFKDUDFWHUDOSKDQXPHULF
                                                                     ILHOG
       ±     0DQGDWRU\          &   &DUGKROGHU,'   3ODQDVVLJQHGEHQHILFLDU\LGHQWLILFDWLRQQXPEHU
                                                                     WKDWPDSVWRWKH+,&1LQILHOG7KLVLVD
                                                                     SRVLWLRQDOSKDQXPHULFILHOG/HIWMXVWLI\DQGHQWHU
                                                                     VSDFHVQRW]HURVLQXQXVHGVSDFHV
       ±     2SWLRQDO           &   3DWLHQW'2%     7KLVRSWLRQDOILHOGPD\EHSRSXODWHGZLWKWKH
                                                                     SDWLHQW¶VGDWHRIELUWKDQGXVHGWRYHULI\WKDWWKH
                                                                     FRUUHFWEHQHILFLDU\ZDVVXEPLWWHG,IWKHILHOGLV
                                                                     SRSXODWHGLWPXVWEHIRUPDWWHGDV&&<<00''
                                                                     ,IWKLVILHOGLVSRSXODWHG''36ZLOOHGLWWKLVILHOG
                                                                     DJDLQVWWKHLQIRUPDWLRQRQILOHDWWKH0%',IQR
                                                                     '2%LVVXEPLWWHGILOOZLWKVSDFHVRU]HURV
       ±    0DQGDWRU\          &   3DWLHQW*HQGHU 7KLVILHOGFRGHVWKHJHQGHURIWKHEHQHILFLDU\,W
                                                                     ZLOOEHXVHGWRFRQILUPEHQHILFLDU\LGHQWLW\0XVW
                                                                     EHSRSXODWHGZLWKHLWKHUD³´RUD³´QR]HURV
       ±   0DQGDWRU\          '   'DWHRI6HUYLFH 7KLVILHOGLGHQWLILHVWKHGDWHWKHSUHVFULSWLRQZDV
                                                                     ILOOHGDQGPXVWEHVXEPLWWHGLQ&&<<00''
                                                                     IRUPDW7KLVILHOGVKRXOGQRWFRQWDLQGDWHV
                                                                     DVVRFLDWHGZLWKSODQSD\PHQWRUWUDQVDFWLRQ
                                                                     DGMXVWPHQWV
       ±   0DQGDWRU\IRU               3DLG'DWH       7KLVILHOGLGHQWLILHVWKHGDWHRQZKLFKWKHSODQ
                      )DOOEDFNSODQV                               RULJLQDOO\SDLGWKHSKDUPDF\IRUWKHSUHVFULSWLRQ
                      2SWLRQDOIRUDOO                              GUXJDQGPXVWEHVXEPLWWHGLQ&&<<00''
                      RWKHUV                                        IRUPDW7KLVILHOGZLOOEHXVHGWRUHFRQFLOHFRVWV
                                                                     DJDLQVWGUDZGRZQDFFRXQWVIRU)DOOEDFN3ODQV
                                                                     RQO\'HIDXOWYDOXHVIRUQRQ)DOOEDFNSODQVDUH
                                                                     HLWKHUVSDFHVRI]HURV




                                                     
                                                    SA475
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 510 of 514

                                                                      5HJLRQDO3UHVFULSWLRQ'UXJ
                                                                      (YHQW'DWD7HFKQLFDO$VVLVWDQFH
                                                                                    3DUWLFLSDQW*XLGH
                                                                                                     
                                                                                       '$7$)250$7


                          7$%/(0±3'(5(&25'/$<287 &217,18(' 
                                       3'(5(&25''(7±'(7$,//(9(/
),(/'    326,7,21   68%0,66,21 1&3'3 ),(/'1$0(                                  (;3/$1$7,21
 12                    67$786    ),(/'
      ±   0DQGDWRU\           '   3UHVFULSWLRQ    $VRI-DQXDU\DSKDUPDF\LVVXHG
                                                     6HUYLFH         FKDUDFWHUQXPHULFFRGHZDVLPSOHPHQWHGLQ
                                                     5HIHUHQFH12    SUHSDUDWLRQIRU1&3'3'VWDQGDUGLQWR
                                                                      LGHQWLI\DGLVSHQVHGSUHVFULSWLRQLVXVHGWR
                                                                      SRSXODWHWKLVILHOG3ODQVVKRXOGULJKWMXVWLI\WKH
                                                                      QXPEHUDQGILOOZLWKILYHOHDGLQJ]HURV,QFDVHV
                                                                      ZKHUHWKLVILHOGLVQRWVXEPLWWHGE\WKH
                                                                      SKDUPDF\WKHSODQPXVWDVVLJQDQXPEHUWKDWLV
                                                                      XQLTXHIRUDQ\'26DQG6HUYLFH3URYLGHU,'
                                                                      FRPELQDWLRQ
      ±   0DQGDWRU\                    )LOOHU          0XVWEHSRSXODWHGZLWKVSDFHV7KH³)LOOHU´
                                                                      ILHOGDOORZVIRUDGGLWLRQDOILHOGVLQWKHIXWXUH
      ±   0DQGDWRU\           '   3URGXFW         1DWLRQDO'UXJ&RGH 1'& GLJLWIRUPDW
                                           RU   6HUYLFH,'      ,GHQWLILHVWKHGLVSHQVHGGUXJ)RUFRPSRXQG
                                           7(                        GUXJVVXEPLWWKH1'&IRUWKHPRVWH[SHQVLYH
                                                                      3DUW'&RYHUHGGUXJ
      ±   0DQGDWRU\           %   6HUYLFH         ,QGLFDWHVWKHVRXUFHRIWKHFRGHXVHGLQILHOG
                                                     3URYLGHU,'
                                                     4XDOLILHU
      ±   0DQGDWRU\           %   6HUYLFH         7KLVILHOGLGHQWLILHVWKHSKDUPDF\RUSK\VLFLDQV
                                                     3URYLGHU,'     RIILFHZKHUHWKHSUHVFULSWLRQZDVILOOHG,Q
                                                                      VWDQGDUGIRUPDW3'(VSRSXODWHWKHILHOGZLWKWKH
                                                                      1&3'3QXPEHURU13,,QQRQVWDQGDUGIRUPDW
                                                                      3'(VXVHWKH83,16WDWH/LFHQVH1XPEHURU
                                                                      )HGHUDO7D[,GHQWLILFDWLRQ1XPEHU1&3'3
                                                                      QXPEHURI13,
      ±   0DQGDWRU\           '   )LOO1XPEHU     ,QGLFDWHVWKHQXPEHURIWKHFXUUHQWILOO
      ±   0DQGDWRU\IRU       +'   'LVSHQVLQJ      7KLVILHOGSURYLGHVWKHGLVSHQVLQJVWDWXVRID
                      6LWXDWLRQDO             6WDWXV          SUHVFULSWLRQ0DQGDWRU\ILHOGLVEODQN!IRU
                      SULRUWR                                  3'(VZLWK'26-DQXDU\DQGIRUZDUG
                                                                      6LWXDWLRQDORQ3'(VZLWK'26SULRUWR-DQXDU\
                                                                      DVEODQN!SDUWLDOILOO µ3¶ RUFRPSOHWLRQ
                                                                      RISDUWLDOILOO µ&¶ 
      ±   0DQGDWRU\           '   &RPSRXQG        ,QGLFDWHVLIWKHGLVSHQVHGGUXJZDVFRPSRXQGHG
                                                     &RGH            RUQRW
      ±   0DQGDWRU\           '   'LVSHQVHDV     7KLVILHOGUHSRUWVWKHLQVWUXFWLRQVSURYLGHGE\WKH
                                                     :ULWWHQ '$:    3UHVFULEHUUHJDUGLQJVXEVWLWXWLRQRIJHQHULF
                                                                      HTXLYDOHQWV
      ±   0DQGDWRU\           (   4XDQWLW\        7KLVILHOGOLVWVWKHQXPEHURIXQLWV HJSLOOV
                                                     'LVSHQVHG       PLOOLOLWHUV WKDWZHUHGLVSHQVHG
      ±   0DQGDWRU\                    )LOOHU          0XVWEHSRSXODWHGZLWKVSDFHV7KH³)LOOHU´
                                                                      ILHOGDOORZVIRUDGGLWLRQDOILHOGVLQWKHIXWXUH
      ±   0DQGDWRU\           '   'D\V6XSSO\     ,QGLFDWHVWKHQXPEHURIGD\VRIPHGLFDWLRQ
                                                                      SURYLGHGE\WKHFXUUHQWSUHVFULSWLRQ
      ±   0DQGDWRU\IRU       (=   3UHVFULEHU,'   'HVFULEHVWKHGDWDVRXUFHRIWKHFRGHXVHGLQ
                                                4XDOLILHU       ILHOG




                                                       
                                                     SA476
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 511 of 514

                                                                     5HJLRQDO3UHVFULSWLRQ'UXJ
                                                                     (YHQW'DWD7HFKQLFDO$VVLVWDQFH
                                                                                   3DUWLFLSDQW*XLGH
                                                                                                    
                                                                                      '$7$)250$7


                          7$%/(0±3'(5(&25'/$<287 &217,18(' 
                                       3'(5(&25''(7±'(7$,//(9(/
),(/'    326,7,21   68%0,66,21 1&3'3 ),(/'1$0(                                   (;3/$1$7,21
 12                    67$786    ),(/'
      ±   0DQGDWRU\IRU      '%   3UHVFULEHU,'  3RSXODWHWKLVILHOGZLWKHLWKHUWKH'UXJ
                                               1XPEHU         (QIRUFHPHQW$JHQF\ '($ 1XPEHURUWKH13,
                                                                    83,1RU6WDWH/LFHQVHQXPEHUWKDWLGHQWLILHVWKH
                                                                    SUHVFULEHULQFDVHVZKHUHWKH'($LVQRW
                                                                    DYDLODEOH
      ±   0DQGDWRU\                   'UXJ&RYHUDJH ,QGLFDWHVLIWKHGLVSHQVHGGUXJLVD3DUW'GUXJ
                                                    6WDWXV&RGH    RUQRW
      ±   6LWXDWLRQDO                 $GMXVWPHQW    7KLVILHOGLVXVHGWRLGHQWLI\UHFRUGVIRUHLWKHU
                                                    'HOHWLRQ&RGH  GHOHWLRQRUDGMXVWPHQW,IQHLWKHUDFWLRQLV
                                                                    UHTXLUHGWKHILHOGLVOHIWEODQN
      ±   6LWXDWLRQDO                 1RQ6WDQGDUG   7KLVILHOGLVFRGHGRQO\ZKHQGDWDDUHFROOHFWHG
                                                    )RUPDW&RGH    LQQRQVWDQGDUGIRUPDW%ODQNLQGLFDWHVVWDQGDUG
                                                                    IRUPDW
      ±   6LWXDWLRQDO                 3ULFLQJ        ,QGLFDWHV3'(VXVLQJSULFLQJUXOHVWKDWGLIIHU
                                                    ([FHSWLRQ&RGH IURPWKHSODQ¶VQHJRWLDWHGSULFH
      ±   2SWLRQDOIRU                &DWDVWURSKLF   2SWLRQDOIRU3'(VZLWK'26-DQXDU\DQG
                      0DQGDWRU\              &RYHUDJH&RGH IRUZDUG0DQGDWRU\RQ3'(VZLWK'26SULRUWR
                      SULRUWR                                -DQXDU\
                                                                   7KLVILHOGLGHQWLILHVWKHEHQHILFLDU\¶VVWDWXVLQWKH
                                                                    EHQHILW,WLVSRSXODWHGZKHQWKHEHQHILFLDU\
                                                                    HLWKHUUHDFKHVWKH2237KUHVKROG FRGH $ RU
                                                                    LVDERYHWKH2237KUHVKROG FRGH & 7KLVILHOG
                                                                    LVOHIWEODQNIRUEHQHILFLDULHVEHORZWKH223
                                                                    7KUHVKROG)RUDQ\EHQHILFLDU\ZLWKD³&´FRGHLQ
                                                                    WKLVILHOGWKHUHZLOOXVXDOO\EHRQHSUHYLRXV
                                                                    UHFRUGFRGHG³$´WRLQGLFDWHWKHGUXJHYHQW
                                                                    DVVRFLDWHGZLWKFURVVLQJWKH223WKUHVKROG
      ±   0DQGDWRU\          )   ,QJUHGLHQW     3RSXODWHWKLVILHOGZLWKWKHGROODUDPRXQWSDLGWR
                                                    &RVW3DLG      WKHSKDUPDF\IRUWKHGUXJLWVHOIGRQRWLQFOXGH
                                                                    FRVWVVXFKDVGLVSHQVLQJIHHVRUVDOHVWD[:KHQ
                                                                    FRVWVDUHQRWGLVDJJUHJDWHGHQWHUWKHWRWDOFRVW
                                                                    RIWKHGUXJLQWKLVILHOG
      ±   0DQGDWRU\          )   'LVSHQVLQJ)HH 3RSXODWHWKLVILHOGZLWKWKHGROODUDPRXQWSDLGWR
                                                    3DLG           WKHSKDUPDF\IRUDFWLYLWLHVUHODWHGWRWKHWUDQVIHU
                                                                    RIWKHGUXJIURPWKHSKDUPDF\WRWKH
                                                                    EHQHILFLDU\,QFOXGHFKDUJHVIRUPL[LQJGUXJV
                                                                    GHOLYHU\DQGRYHUKHDG'RQRWLQFOXGH
                                                                    DGPLQLVWUDWLYHRURWKHUFRVWVLQWKLVILHOG
      ±   6LWXDWLRQDO        )1   $PRXQW         7KLVILHOGUHSUHVHQWVWKHGROODUDPRXQWRIVDOHV
                                                    $WWULEXWHGWR  WD[LIDQ\DVVRFLDWHGZLWKWKHSUHVFULSWLRQGUXJ
                                                    VDOHVWD[      HYHQW
      ±   0DQGDWRU\                   *URVV'UXJ       6XPILHOGVWRFDOFXODWHJURVVGUXJFRVWV
                                                    &RVWV%HORZ      7KLVILHOGLVSRSXODWHGE\DQDFWXDOGROODUDPRXQW
                                                    2XWRI3RFNHW    ZKHQWKHEHQHILFLDU\LVDWRUEHORZWKH223
                                                    7KUHVKROG        WKUHVKROGDQGWKHGUXJLVDFRYHUHG3DUW''UXJ
                                                     *'&%            2WKHUZLVHHQWHUD]HURGROODUDPRXQW




                                                     
                                                    SA477
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 512 of 514

                                                                         5HJLRQDO3UHVFULSWLRQ'UXJ
                                                                         (YHQW'DWD7HFKQLFDO$VVLVWDQFH
                                                                                       3DUWLFLSDQW*XLGH
                                                                                                        
                                                                                          '$7$)250$7


                         7$%/(0±3'(5(&25'/$<287 &217,18(' 
                                       3'(5(&25''(7±'(7$,//(9(/
),(/'    326,7,21   68%0,66,21 1&3'3 ),(/'1$0(                                      (;3/$1$7,21
 12                    67$786    ),(/'
      ±   0DQGDWRU\                   *URVV'UXJ          6XPILHOGVWRFDOFXODWHJURVVGUXJFRVWV
                                                    &RVWV$ERYH         7KLVILHOGLVSRSXODWHGE\DQDFWXDOGROODUDPRXQW
                                                    2XWRI3RFNHW       ZKHQWKHEHQHILFLDU\LVDERYHWKH223
                                                    7KUHVKROG           WKUHVKROGDQGWKHGUXJLVDFRYHUHG3DUW''UXJ
                                                     *'&$               2WKHUZLVHHQWHUD]HURGROODUDPRXQW
      ±   0DQGDWRU\          )   3DWLHQW3D\         3RSXODWHWKLVILHOGZLWKWKHGROODUDPRXQWSDLGE\
                                                    $PRXQW              WKHEHQHILFLDU\
      ±   0DQGDWRU\                   2WKHU7U223         7KLVILHOGLQGLFDWHVWKHGROODUDPRXQWSDLGRQ
                                                    $PRXQW              EHKDOIRIWKHEHQHILFLDU\E\WKLUGSDUW\7U223
                                                                         HOLJLEOHSD\HUV
      ±   0DQGDWRU\                   /RZ,QFRPH          3ODQVSRSXODWHWKLVILHOGZLWKWKHGROODUDPRXQW
                                                    &RVW6KDULQJ        DWWULEXWHGWR/,&6
                                                    6XEVLG\ /,&6 
                                                    $PRXQW
      ±   0DQGDWRU\                   3DWLHQW/LDELOLW\   7KLVILHOGLVSRSXODWHGZLWKWKHGROODUDPRXQW
                                                    5HGXFWLRQ'XH       SDLGE\HQWLWLHVWKDWUHGXFHSDWLHQWOLDELOLW\FRVW
                                                    WR2WKHU3D\HU      EXWGRQRWFRXQWDV7U223
                                                    $PRXQW
                                                     3/52 
      ±   0DQGDWRU\                   &RYHUHG'3ODQ      7KLVILHOGUHSRUWVWKHQHWDPRXQWWKHSODQSDLG
                                                    3DLG$PRXQW         IRUD&RYHUHG3DUW''UXJXQGHUWKH'HILQHG
                                                     &33                6WDQGDUGEHQHILW,I'UXJ&RYHUDJH6WDWXV&RGH
                                                                         LVFRGHG³(´RU³2´WKHQWKLVILHOGPXVWEH
                                                                         SRSXODWHGZLWKD]HURDPRXQW
      ±   0DQGDWRU\                   1RQ&RYHUHG         7KLVILHOGUHSRUWVWKHQHWDPRXQWWKHSODQSDLG
                                                    3ODQ3DLG           IRUEHQHILWVEH\RQGWKHVWDQGDUGEDVLFEHQHILW
                                                    $PRXQW 133         7KLVGROODUDPRXQWVKRXOGLQFOXGHQRQ3DUW'
                                                                         GUXJV27&'UXJV($'UXJVDQG($FRVW
                                                                         VKDULQJ
      ±   0DQGDWRU\                   (VWLPDWHG           7KHDPRXQWRIWKHUHEDWHWKHSODQSDVVHG
                                                    5HEDWHDW326       WKURXJKWRWKHSKDUPDF\
      ±   0DQGDWRU\                   9DFFLQDWLRQ         $PRXQWWKHSODQSDLGIRUDGPLQLVWHULQJD
                                                    $GPLQLVWUDWLRQ      YDFFLQDWLRQ
                                                    )HH
      ±   0DQGDWRU\IRU      '-   3UHVFULSWLRQ        Required on PDEs with DOS January 1, 2010 and
                      2SWLRQDO               2ULJLQ&RGH         forward. Indicates the origin of the prescription with
                      SULRUWR                                     values: QRWVSHFLILHG µ¶ ZULWWHQ µ¶ WHOHSKRQH
                                                                          µ¶ (OHFWURQLF µ¶ IDFVLPLOH µ¶ DQG
                                                                         <blank>.On PDEs with DOS prior to January 1, 2010,
                                                                         “0” = Not Specified and blank are also allowed.
      ±   0DQGDWRU\IRU               'DWH2ULJLQDO       ,QGLFDWHVGDWH3DUW'VSRQVRUUHFHLYHGRULJLQDO
                                               &ODLP5HFHLYHG      FODLP5HTXLUHGIRU3'(VZLWK'26-DQXDU\
                                                                         DQGIRUZDUG3'(VSULRUWR-DQXDU\
                                                                         PXVWEHEODQNRU]HURV5HTXLUHGIRUDOO
                                                                         /,1(73'(VVXEPLWWHGUHJDUGOHVVRI'26




                                                     
                                                    SA478
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 513 of 514

                                                                    5HJLRQDO3UHVFULSWLRQ'UXJ
                                                                    (YHQW'DWD7HFKQLFDO$VVLVWDQFH
                                                                                  3DUWLFLSDQW*XLGH
                                                                                                   
                                                                                     '$7$)250$7


                         7$%/(0±3'(5(&25'/$<287 &217,18(' 
                                       3'(5(&25''(7±'(7$,//(9(/
),(/'    326,7,21   68%0,66,21 1&3'3 ),(/'1$0(                                (;3/$1$7,21
 12                    67$786    ),(/'
      ±   0DQGDWRU\IRU             &ODLP            ,QGLFDWHVGDWHDQGWLPHVSRQVRUEHJDQ
                                             $GMXGLFDWLRQ     DGMXGLFDWLQJWKHFODLPLQ*UHHQZLFK0HDQ7LPH
                                                  %HJDQ            5HTXLUHGRQ3'(6ZLWK'26-DQXDU\DQG
                                                  7LPHVWDPS        IRUZDUG3'(VSULRUWR-DQXDU\PXVWEH
                                                                    EODQNRU]HURV
      ±   0DQGDWRU\IRU             7RWDO*URVV      7KLVILHOGUHSRUWVWKHVXPRIDEHQHILFLDU\¶V
                                             &RYHUHG'UXJ     FRYHUHGGUXJFRVWVIRUWKHEHQHILW\HDUNQRZQ
                                                  &RVW 7*&'&      LPPHGLDWHO\SULRUWRDGMXGLFDWLQJWKHFODLP
                                                  $FFXPXODWRU      5HTXLUHGRQ3'(VZLWK'26-DQXDU\DQG
                                                                    IRUZDUG3'(VSULRUWR-DQXDU\PXVWEH
                                                                    EODQNRU]HURV
      ±   0DQGDWRU\IRU             7UXH2XWRI      7KLVILHOGUHSRUWVWKHVXPRIDEHQHILFLDU\¶V
                                             3RFNHW           LQFXUUHGFRVWVIRUWKHEHQHILW\HDUNQRZQ
                                                   7U223           LPPHGLDWHO\SULRUWRDGMXGLFDWLQJWKHFODLP
                                                  $FFXPXODWRU      5HTXLUHGRQ3'(VZLWK'26-DQXDU\DQG
                                                                    IRUZDUG3'(VSULRUWR-DQXDU\PXVWEH
                                                                    EODQNRU]HURV
      ±   0DQGDWRU\IRU             %UDQG*HQHULF    ,GHQWLILHVZKHWKHUWKHSODQDGMXGLFDWHGWKHFODLP
                                             &RGH             DVDEUDQGRUJHQHULFGUXJ5HTXLUHGRQ3'(V
                                                                    ZLWK'26-DQXDU\DQGIRUZDUG3'(V
                                                                    SULRUWR-DQXDU\PXVWEHEODQN$SSOLHV
                                                                    WRFRYHUHGGUXJVRQO\9DOLGYDOXHVµ%¶ EUDQG
                                                                    µ*¶ JHQHULF
      ±   0DQGDWRU\IRU             %HJLQQLQJ        7KLVILHOGLGHQWLILHVWKHSODQGHILQHGEHQHILW
                                             %HQHILW3KDVH    SKDVHLQHIIHFWLPPHGLDWHO\SULRUWRWKHWLPHWKH
                                                                    VSRQVRUEHJDQDGMXGLFDWLQJWKHLQGLYLGXDOFODLP
                                                                    EHLQJUHSRUWHG5HTXLUHGRQ3'(VZLWK'26
                                                                    -DQXDU\DQGIRUZDUG3'(VSULRUWR
                                                                    -DQXDU\PXVWEHEODQN$SSOLHVWR
                                                                    FRYHUHGGUXJVRQO\9DOLGYDOXHVµ'¶ 'HGXFWLEOH
                                                                    µ1¶ ,QLWLDO&RYHUDJH3KDVHµ*¶ &RYHUDJH*DS
                                                                    µ&¶ &DWDVWURSKLF
      ±   0DQGDWRU\IRU             (QGLQJ%HQHILW   7KLVILHOGLGHQWLILHVWKHSODQGHILQHGEHQHILW
                                             3KDVH            SKDVHLQHIIHFWXSRQFRPSOHWLQJDGMXGLFDWLRQRI
                                                                    WKHLQGLYLGXDOFODLPEHLQJUHSRUWHG5HTXLUHGRQ
                                                                    3'(VZLWK'26-DQXDU\DQGIRUZDUG
                                                                    3'(VSULRUWR-DQXDU\PXVWEHEODQN
                                                                    $SSOLHVWRFRYHUHGGUXJVRQO\9DOLGYDOXHV
                                                                    µ'¶ 'HGXFWLEOHµ1¶ ,QLWLDO&RYHUDJH3KDVH
                                                                    µ*¶ &RYHUDJH*DSµ&¶ &DWDVWURSKLF
      ±   0DQGDWRU\IRU             5HSRUWHG*DS     7KLVILHOGLGHQWLILHVWKHUHSRUWHGDPRXQWWKH3DUW
                                             'LVFRXQW         'VSRQVRUDGYDQFHGDWSRLQWRIVDOHIRUWKH*DS
                                                                    'LVFRXQWIRUDSSOLFDEOHGUXJV5HTXLUHGRQ3'(V
                                                                    ZLWK'26-DQXDU\DQGIRUZDUG3'(V
                                                                    SULRUWR-DQXDU\PXVWEHEODQNRU]HURV
                                                                    &RXQWVWRZDUGV7U223




                                                   
                                                 SA479
         Case 1:15-cv-00767-PEC Document 54-1 Filed 05/25/18 Page 514 of 514

                                                                          5HJLRQDO3UHVFULSWLRQ'UXJ
                                                                          (YHQW'DWD7HFKQLFDO$VVLVWDQFH
                                                                                        3DUWLFLSDQW*XLGH
                                                                                                         
                                                                                           '$7$)250$7


                             7$%/(0±3'(5(&25'/$<287 &217,18(' 
                                           3'(5(&25''(7±'(7$,//(9(/
),(/'    326,7,21       68%0,66,21 1&3'3 ),(/'1$0(                                   (;3/$1$7,21
 12                        67$786    ),(/'
       ±     0DQGDWRU\IRU                 7LHU             )RUPXODU\WLHULQZKLFKWKH3DUW'VSRQVRU
                                                                      DGMXGLFDWHGWKHFODLP5HTXLUHGRQ3'(VZLWK
                                                                           '26-DQXDU\DQGIRUZDUG3'(VSULRUWR
                                                                           -DQXDU\PXVWEHEODQN$SSOLHVWR
                                                                           FRYHUHGGUXJVRQO\9DOLGYDOXHV 
       ±     0DQGDWRU\IRU                 )RUPXODU\        ,QGLFDWHVLIWKHGUXJLVRQWKHSODQ¶VIRUPXODU\
                                                    &RGH             3'(VSULRUWR-DQXDU\PXVWEHEODQN
                                                                           $SSOLHVWRFRYHUHGGUXJVRQO\9DOLGYDOXHV
                                                                           µ)¶ IRUPXODU\µ1¶ QRQIRUPXODU\
       ±     )RUIXWXUHXVH                *DS'LVFRXQW     9DOXHV7%'0XVWEHEODQN
                                                         3ODQ2YHUULGH
                                                         &RGH
       ±     0DQGDWRU\                     ),//(5          0XVWEHSRSXODWHGZLWKVSDFHV7KH³)LOOHU´
                                                                          ILHOGDOORZVIRUDGGLWLRQDOILHOGVLQWKHIXWXUH
       ±       5HWXUQ)LOH                  &06&DOFXODWHG $PRXQWFDOFXODWHGE\&06GXULQJRQOLQH3'(
                                                          *DS            HGLWLQJEDVHGRQGDWDUHSRUWHGLQWKH3'(
       ±       5HWXUQ)LOH                  3%3RI5HFRUG  7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  $OWHUQDWH      7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
                                                          6HUYLFH
                                                          3URYLGHU,'
                                                          4XDOLILHU 
       ±       5HWXUQ)LOH                  $OWHUQDWH      7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
                                                          6HUYLFH
                                                          3URYLGHU,' 
                5HWXUQ)LOH                  2ULJLQDO       7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
                                                          6XEPLWWLQJ
                                                          &RQWUDFW 
       ±       5HWXUQ)LOH                  33&RQWUDFW   7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
                                                          RI5HFRUG 
       ±       5HWXUQ)LOH                 &RUUHFWHG      7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
                                                          +,&1 
       ±       5HWXUQ)LOH                  (UURU&RXQW    7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU        7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU        7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU        7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU        7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU        7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU        7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU        7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU        7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU        7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  (UURU       7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV
       ±       5HWXUQ)LOH                  ([FOXVLRQ      7KLVILHOGVKRXOGEHVXEPLWWHGZLWKVSDFHV7KLV
                                                          5HDVRQ&RGH  ILHOGLVWKHVXEFDWHJRU\UHMHFWFRGHIRUDQ1'&
                                                                          (UURU&RGHRILGHQWLILHGLQ(UURUV
       ±       0DQGDWRU\                    )LOOHU         0XVWEHSRSXODWHGZLWKVSDFHV7KH³)LOOHU´
                                                                          ILHOGDOORZVIRUDGGLWLRQDOILHOGVLQWKHIXWXUH
    7KHVHILHOGVZLOOEHSRSXODWHGDVQHFHVVDU\GXULQJGDWDSURFHVVLQJ



                                                           
                                                        SA480
